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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

   ASSOCIATION OF NEW JERSEY         )
   RIFLE & PISTOL CLUBS, INC., et    ) Civil Action No. 3:18-cv-10507-PGS-
   al.                               ) LHG
                                     )
                  Plaintiffs,        )
                                     )
        v.
                                     )
   MATTHEW PLATKIN, et al.
                                     )
                                     )
                  Defendants.
                                     )
   _________________________________
                                     )
                                     )
   MARK CHEESEMAN, et al.
                                     )
                  Plaintiffs,        )
                                     ) Civil Action No. 3:22-cv-4360-PGS-
        v.                           ) LHG
   MATTHEW PLATKIN, et al.           )
                                     )
                  Defendants.        )
   _________________________________ )
                                     )
   BLAKE ELLMAN, et al.              )
                                     )
                  Plaintiffs,        )
        v.                           )
   MATTHEW PLATKIN, et al.           )
                                     ) Civil Action No. 1:22-cv-4397-PGS-
                  Defendants.        ) LHG
                                     )

                DECLARATION OF DANIEL L. SCHMUTTER




                                       1
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            1.   I, Daniel L. Schmutter, am an attorney at the law firm of Hartman &

   Winnicki, P.C., attorneys of record for Plaintiffs in the 18-cv-10507 and 22-cv-

   4397 actions captioned above. I have personal knowledge of the facts set forth

   herein and, if called and sworn as a witness, could and would testify competently

   thereto.

            2.   Attached hereto as Exhibit A is Defendants’ expert report of Lucy P.

   Allen;

            3.   Attached hereto as Exhibit B is Defendants’ expert report of Dennis

   Barron;

            4.   Attached hereto as Exhibit C is Defendants’ expert report of Saul

   Cornell;

            5.   Attached hereto as Exhibit D is Defendants’ expert report of Stephen

   Hargarten;

            6.   Attached hereto as Exhibit E is Defendants’ expert report of Louis

   Klarevas;

            7.   Attached hereto as Exhibit F is Defendants’ expert report of

   Randolph Roth;

            8.   Attached hereto as Exhibit G is Defendants’ expert report of Robert J.

   Spitzer, Ph.D.;

                                           2
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          9.        Attached hereto as Exhibit H is Defendants’ expert report of Daniel

   W. Webster.

          10.       Attached hereto as Exhibit I is Defendants’ expert report of; James E.

   Yurgealitis.



      I declare under penalty of perjury that the foregoing is true and correct. Executed within the

   United States.



           /s/ Daniel L. Schmutter                    10/6/2023
      Daniel L. Schmutter                             Date




                                                3
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                        EXHIBIT “A”




                        EXHIBIT “A”
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

    ASSOCIATION OF NEW JERSEY
    RIFLE & PISTOL CLUBS, INC., et al.,

         Plaintiffs,

    v.
                                             Civil Action No. 3:18-cv-10507
    PLATKIN, et al.,

       Defendants.
    CHEESEMAN, et al.,

         Plaintiffs,

    v.                                       Civil Action No. 1:22-cv-4360

    PLATKIN, et al.,

       Defendants.
    ELLMAN, et al.,

         Plaintiffs,

    v.                                       Civil Action No. 3:22-cv-04397

    PLATKIN, et al.,

         Defendants.



                              Expert Report of Lucy P. Allen

                                          June 16, 2023
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             I, Lucy P. Allen, the undersigned, declare as follows:

             1.      I am a Senior Managing Director of NERA Economic Consulting (“NERA”), a

     member of NERA’s Securities and Finance Practice and Chair of NERA’s Product Liability and

     Mass Torts Practice. NERA provides practical economic advice related to highly complex

     business and legal issues arising from competition, regulation, public policy, strategy, finance,

     and litigation. NERA was established in 1961 and now employs approximately 500 people in

     more than 20 offices worldwide.

             2.      In my over 25 years at NERA, I have been engaged as an economic consultant or

     expert witness in numerous projects involving economics and statistics. I have been qualified as

     an expert and testified in court on various economic and statistical issues relating to the flow of

     guns into the criminal market. I have testified at trials in Federal and State Courts, before the

     New York City Council Public Safety Committee, the American Arbitration Association, and the

     Judicial Arbitration Mediation Service, as well as in depositions.

             3.      I have an A.B. from Stanford University, an M.B.A. from Yale University, and

     M.A. and M. Phil. degrees in Economics, also from Yale University. Prior to joining NERA, I

     was an Economist for both President George H. W. Bush’s and President Bill Clinton’s Council

     of Economic Advisers. My resume with recent publications and testifying experience is included

     as Exhibit A.

             4.      I have been asked by the New Jersey Office of the Attorney General to address

     the following issues: (a) the number of rounds of ammunition fired by individuals using a gun in

     self-defense1 and (b) the outcomes when assault weapons and large-capacity magazines are used

     in public mass shootings, including the associated number of casualties. NERA is being

     compensated for time spent by me and my team at standard billing rates and for out-of-pocket

     expenses at cost. NERA currently bills for my time at $1,150 per hour. NERA’s fees are not in

     any way contingent upon the outcome of this matter.

 1
     I have also been asked to analyze the percent of incidents in which rifles were used in self-defense
     according to The Heritage Foundation’s “Defensive Gun Uses in the U.S.” database.


                                                          2
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                                          SUMMARY OF FINDINGS
             5.   Regarding the number of rounds fired by individuals using a gun in self-defense, I

     analyzed almost 1,000 real-life incidents of self-defense and found that it is extremely rare for a

     person, when using a firearm in self-defense, to fire more than 10 rounds. In particular, I

     performed an analysis of 736 incidents in the NRA Armed Citizen database, as well as our own

     systematic analysis of 200 Factiva news stories from a random sample of approximately 4,800

     news stories describing incidents of self-defense with a firearm and found only 2 incidents where

     more than 10 rounds were used.2

             6.   Regarding the outcomes when assault weapons and large-capacity magazines are

     used in public mass shootings, I analyzed almost 200 mass shootings from four different sources

     between 1982 and 2022 and found that: (1) assault weapons and large-capacity magazines are

     often used in mass shootings; (2) both injuries and fatalities were higher in mass shootings that

     involved assault weapons and/or large-capacity magazines than in other mass shootings; (3) it is

     common for offenders to fire more than 10 rounds when using an assault weapon or a

     large-capacity magazine in mass shootings; and (4) the majority of guns used in mass shootings

     were obtained legally. These findings are consistent with other studies that have analyzed mass

     shootings, including studies based on alternate sets of mass shootings, covering different years

     and defining mass shootings somewhat differently.




 2
     Note that these two incidents with more than 10 bullets fired by the defender were added to the NRA
     Armed Citizen database after an earlier analysis that I had conducted of the database in another case that
     was cited and relied upon by the court. See Kolbe v. O'Malley,. 42 F. Supp. 3d 768 (D. Md. 2014)
     (“Allen’s use of the NRA database is appropriate and acceptable.” The Court also found that “The
     defendants’ expert, Lucy Allen, confirms that it is rare for a self-defender to fire more than ten rounds”).
     In addition, according to the news stories on these two incidents, the defenders did not appear to need to
     fire more than 10 shots to defend themselves. See “York County homeowner shoots at intruder,” NRA-
     ILA Armed Citizen, December 12, 2016 and “Homeowner fired at intruders,” NRA-ILA Armed Citizen,
     May 24, 2017.


                                                           3
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                                                 OPINIONS

           A.     Use of Guns in Self-Defense

                  i.     The number of rounds used by individuals in self-defense
             7.        Plaintiffs claim the large-capacity magazines (magazines capable of holding more

     than ten rounds, “Large Capacity Magazines”) and “assault weapons” covered by New Jersey

     Revised Statutes § 2C:39 and § 2C:583 are commonly used for lawful purposes, including for

     self-defense.4

             8.        The number of rounds commonly needed by individuals to defend themselves

     cannot be practically or ethically determined with controlled scientific experiments and there is

     no source that systematically tracks or maintains data on the number of rounds fired by

     individuals in self-defense. Due to these limitations, I have analyzed available data sources to

     estimate the number of rounds fired by individuals to defend themselves. In particular, I have

     analyzed data from the NRA Institute for Legislative Action, as well as my own study of news

     reports on incidents of self-defense with a firearm. In all, I have analyzed almost 1,000 incidents

     of self-defense with a firearm and found that it is extremely rare for a person, when using a

     firearm in self-defense, to fire more than 10 rounds.

             9.        The NRA maintains a database of “Armed Citizen” stories describing private

     citizens who have successfully defended themselves, or others, using a firearm (“NRA Armed

     Citizen database”). According to the NRA, the “Armed Citizen” stories “highlight accounts of

     law-abiding gun owners in America using their Second Amendment rights to defend self, home




 3
     Under New Jersey Revised Statutes § 2C:39-1(w), a firearm is classified as an assault weapon if it is one
     of the firearm types and models listed or is “substantially identical” to any of the listed firearms.
     Examples of assault weapons include the “Armalite AR-180 type,” “Bushmaster Assault Rifle,” and
     “Calico M-900.” See, New Jersey Revised Statutes § 2C:39-1(w).
 4
     See, for example, Complaint for Declaratory and Injunctive Relief, filed July 1, 2022, (the “Ellman
     Complaint”) ¶¶1, 24, First Amended Complaint for Declaratory and Injunctive Relief, filed July 14, 2022
     (the “Cheeseman Complaint”), ¶¶2-3, and Amended Complaint for Declaratory and Injunctive Relief,
     filed October 28, 2022 (the “ANJRPC Complaint”), ¶¶1, 29.


                                                         4
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      and family.”5 Although the methodology used to compile the NRA Armed Citizen database of

      stories is not explicitly detailed by the NRA, the NRA Armed Citizen database is a useful data

      source in this matter for at least three reasons. First, the Armed Citizen database was the largest

      collection of accounts of citizen self-defense compiled by others that I was able to find.6 Second,

      the incidents listed in the Armed Citizen database highlight the very conduct that Plaintiffs claim

      the New Jersey law impedes (i.e., the use of firearms by law-abiding citizens for self-defense).7

      Third, the Armed Citizen database is compiled by an entity that actively opposes restrictions on

      magazine capacity and restrictions on the possession and use of firearms in general.8 In light of

      the positions taken by the entity compiling the data, I would expect that any selection bias would

      be in favor of stories that put use of guns in self-defense in the best possible light and might

      highlight the apparent need of guns and/or multiple rounds in self-defense incidents.

              10.     My team and I performed an analysis of incidents in the NRA Armed Citizen

      database that occurred between January 2011 and May 2017.9 For each incident, the city/county,
      state, venue (whether the incident occurred on the street, in the home, or elsewhere) and the

      number of shots fired were tabulated.10 The information was gathered for each incident from




 5
      NRA Institute for Legislative Action, Armed Citizens, https://www.nraila.org/gun-laws/armed-citizen/,
      accessed May 28, 2017.
 6
      Note that in 2020, after the time my research was conducted, The Heritage Foundation began an online
      database of its own sample of defensive gun use incidents
      (https://datavisualizations.heritage.org/firearms/defensive-gun-uses-in-the-us).
 7
      See, for example, Ellman Complaint, ¶¶1, 24, Cheeseman Complaint, ¶¶2-3, and ANJRPC Complaint,
      ¶¶1, 29.
 8
      See, for example, NRA Civil Rights Defense Fund website, http://www.nradefensefund.org/current-
      litigation.aspx, accessed October 12, 2018.
 9
      My collection and coding of the NRA Armed Citizen stories was last performed in mid-2017.
 10
      The following incidents were excluded from the analysis: (1) duplicate incidents, (2) wild animal attacks,
      and (3) one incident where the supposed victim later pleaded guilty to covering up a murder. When the
      exact number of shots fired was not specified, we used the average for the most relevant incidents with
      known number of shots. For example, if the story stated that “shots were fired” this would indicate that at
      least two shots were fired and thus we used the average number of shots fired in all incidents in which
      two or more shots were fired and the number of shots was specified.


                                                           5
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      both the NRA synopsis and, where available, an additional news story. An additional news story

      was found for over 95% of the incidents in the NRA Armed Citizen database.

              9.      According to this analysis of incidents in the NRA Armed Citizen database, it is

      extremely rare for a person, when using firearms in self-defense, to fire more than 10 rounds.

      Out of 736 incidents, there were 2 incidents (0.3% of all incidents), in which the defender was

      reported to have fired more than 10 bullets.11 Defenders fired 2.2 shots on average.12 In 18% of

      incidents the defender did not fire any shots; in 80% of incidents the defender fired 1 to 5 shots;

      in 2% of incidents the defender fired 6 to 10 shots; and in 0.3% of incidents the defender fired

      more than 10 shots. 13,14 These incidents highlight the fact that in many instances defenders are
      able to defend themselves without firing any shots. For example, according to one of the

      incidents in the NRA Armed Citizen Database:
              “A man entered a Shell station in New Orleans, La. and attempted to rob a cashier, by
              claiming he was carrying a gun. The cashier responded by retrieving a gun and leveling it
              at the thief, prompting the criminal to flee. (The Times Picayune, New Orleans, La.
              09/02/15)”15

              10.      The table below summarizes these findings. (Note that we did not perform a New

      Jersey-specific analysis, as there were only six incidents in the NRA Armed Citizen database that



 11
      As discussed above, these two incidents with more than 10 shots fired by the defender were added to the
      NRA Armed Citizen database after an earlier analysis that I had conducted of the database. Further, the
      defenders in these two incidents did not appear to need to fire more than 10 shots to defend themselves.
      See footnote 2 above.
 12
      Note that the analysis is focused on shots fired when using a gun in self-defense and therefore the average
      includes instances when no shots are fired. If one calculates the average excluding incidents of self-
      defense with a gun without firing shots, the average is still low, 2.6 shots when at least one shot is fired.
 13
      The number of incidents, as well as the breakdown of incidents by number of shots fired, is similar for
      incidents inside the home vs. outside the home.
 14
      A separate study of incidents in the NRA Armed Citizen database for an earlier period (the five-year
      period from 1997 through 2001) found similar results. Specifically, this study found that, on average, 2.2
      shots were fired by defenders and that in 28% of incidents of armed citizens defending themselves the
      individuals fired no shots at all. See, Claude Werner, “The Armed Citizen – A Five Year Analysis,”
      https://tacticalprofessor.files.wordpress.com/2014/12/tac-5-year-w-tables.pdf, accessed January 26, 2023.
 15
      “Gas station clerk scares off robber,” NRA-ILA Armed Citizen, September 9, 2015.


                                                            6
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      occurred in New Jersey. We found no indication that more than 10 shots were fired in any of

      these New Jersey incidents.)


              Breakdown of Incidents in NRA Armed Citizen Database
                            by Number of Shots Fired
                            January 2011 - May 2017


                                         # of Shots           # of         % of
                                           Fired           Incidents     Incidents

                                                  0           134          18.2%
                                                1-5           587          79.8%
                                               6-10            13           1.8%
                                       More than 10             2           0.3%

                                     Average Number of Shots Fired: 2.2

            Notes and Sources:
              Data from NRA Armed Citizen database covering 736 incidents from January 2011 through
              May 2017. Excludes duplicate incidents, wild animal attacks and one incident where the
              supposed victim later pleaded guilty to covering up a murder.

              11.     In addition to our analysis of incidents in the NRA Armed Citizen database, we

      performed a systematic, scientific study of news reports on incidents of self-defense with a

      firearm in the home, focusing on the same types of incidents as the NRA stories and covering the

      same time period.16

              12.     To identify relevant news stories to include in our analysis, we performed a

      comprehensive search of published news stories using Factiva, an online news reporting service

      and archive owned by Dow Jones, Inc. that aggregates news content from nearly 33,000



 16
      This analysis was initially conducted to research issues regarding self-defense in the home, which was a
      focus of federal Second Amendment jurisprudence before the 2022 New York State Rifle & Pistol
      Association v. Bruen Supreme Court decision. The analysis of the NRA Armed Citizen incidents
      described above indicates that the number of shots fired in self-defense outside the home is similar to
      those inside the home.


                                                          7
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      sources.17 The search was designed to return stories about the types of incidents that are the

      focus of the NRA Armed Citizen database and that Plaintiffs claim the New Jersey law impedes

      – in particular, the use of firearms for self-defense.18 The search identified all stories that

      contained the following keywords in the headline or lead paragraph: one or more words from

      “gun,” “shot,” “shoot,” “fire,” or “arm” (including variations on these keywords, such as

      “shooting” or “armed”), plus one or more words from “broke in,” “break in,” “broken into,”

      “breaking into,” “burglar,” “intruder,” or “invader” (including variations on these keywords) and

      one or more words from “home,” “apartment,” or “property” (including variations on these

      keywords).19 The search criteria matched approximately 90% of the NRA stories on self-defense
      with a firearm in the home, and an analysis of the 10% of stories that are not returned by the

      search shows that the typical number of shots fired in these incidents was no different than in

      other incidents. The search covered the same period used in our analysis of incidents in the NRA

      Armed Citizen database (January 2011 to May 2017). The region for the Factiva search was set

      to “United States.” The search returned approximately 35,000 stories for the period January 2011

      to May 2017.20


 17
      Factiva is often used for academic research. For example, a search for the term “Factiva” on Google
      Scholar yields over 28,000 results. As another example, a search on Westlaw yields at least 83 expert
      reports that conducted news searches using Factiva.
 18
      NRA Institute for Legislative Action, Armed Citizens, https://www.nraila.org/gun-laws/armed-citizen/,
      accessed May 28, 2017. See, also Ellman Complaint, ¶¶1, 24, Cheeseman Complaint, ¶¶2-3, and
      ANJRPC Complaint, ¶¶1, 29.
 19
      The precise search string used was: (gun* or shot* or shoot* or fire* or arm*) and (“broke in” or “break
      in” or “broken into” or “breaking into” or burglar* or intrud* or inva*) and (home* or “apartment” or
      “property”). An asterisk denotes a wildcard, meaning the search includes words which have any letters in
      place of the asterisk. For example, a search for shoot* would return results including “shoots,” “shooter”
      and “shooting.” The search excluded duplicate stories classified as “similar” on Factiva.
 20
      The effect of using alternative keywords was considered. For example, removing the second category
      (“broke in” or “break in” or “broken into” or “breaking into” or burglar* or intrud* or inva*) and
      including incidents in which the assailant was already inside the home and/or was known to the victim
      was considered. A priori, there was no reason to believe that a larger number of shots would be used in
      these incidents and based on an analysis of the NRA stories we found that the number of shots fired in
      incidents when defending against someone already in the home was not different than those with an
      intruder.


                                                          8
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                 13.   Using a random number generator, a random sample of 200 stories was selected

      for each calendar year, yielding 1,400 stories in total.21 These 1,400 stories were reviewed to

      identify those stories that were relevant to the analysis, i.e., incidents of self-defense with a

      firearm in or near the home. This methodology yielded a random selection of 200 news stories

      describing incidents of self-defense with a firearm in the home out of a population of

      approximately 4,800 relevant stories.22 Thus, out of the over 70 million news stories aggregated

      by Factiva between January 2011 and May 2017, approximately 4,800 news stories were on

      incidents of self-defense with a firearm in the home. We analyzed a random selection of 200 of

      these stories.

                 14.   For each news story, the city/county, state and number of shots fired were

      tabulated. When tabulating the number of shots fired, we used the same methodology as we used

      to analyze stories in the NRA Armed Citizen database.23 We then identified other stories
      describing the same incident on Factiva based on the date, location and other identifying

      information, and recorded the number of times that each incident was covered by Factiva news

      stories.

                 15.   To determine the average number of shots fired per incident, we first determined

      the average number of shots fired per story and then analyzed the number of stories per incident.

      According to our study of a random selection from approximately 4,800 relevant stories on

      Factiva describing incidents of self-defense with a firearm in the home, the average number of

 21
      The random numbers were generated by sampling with replacement.
 22
      The approximately 4,800 relevant news stories were estimated by calculating the proportion of relevant
      news stories from the 200 randomly selected stories each year and applying that proportion to the number
      of results returned by the search for each year of the analysis. For example, in 2017, 33 out of 200 (17%)
      randomly selected news stories involved incidents of self-defense with a firearm in the home. Applying
      that proportion to the 1,595 results from the Factiva search in 2017 yields 263 relevant news stories in
      2017. This process was repeated every year to arrive at a total of 4,841 relevant news stories from 2011-
      2017.
 23
      When the exact number of shots fired was not specified, we used the average for the most relevant
      incidents with known number of shots. For example, if the story stated that “shots were fired” this would
      indicate that at least two shots were fired and thus we used the average number of shots fired in all
      incidents in which two or more shots were fired and the number of shots was specified.


                                                          9
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      shots fired per story was 2.61. This is not a measure of the average shots fired per incident,

      however, because the number of stories covering an incident varies, and the variation is not

      independent of the number of shots fired. We found that there was a statistically significant

      relationship between the number of shots fired in an incident and the number of news stories

      covering the incident.24 We found that on average the more shots fired in a defensive gun use

      incident, the greater the number of stories covering the incident. For example, as shown in the

      chart below, we found that incidents in Factiva news stories with zero shots fired were covered

      on average by 1.8 news stories, while incidents with six or more shots fired were covered on

      average by 10.4 different news stories.




 24
      Based on a linear regression of the number of news stories as a function of the number of shots fired, the
      results were statistically significant at the 1% level (more stringent than the 5% level commonly used by
      academics and accepted by courts. See, for example, Freedman, David A., and David H. Kaye,
      “Reference Guide on Statistics,” Reference Manual on Scientific Evidence (Washington, D.C.: The
      National Academies Press, 3rd ed., 2011), pp. 211-302, and Fisher, Franklin M., “Multiple Regression in
      Legal Proceedings,” 80 Columbia Law Review 702 (1980).


                                                          10
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                                              Average Number of News Stories by Number of Shots Fired
                                                            January 2011 - May 2017
                                   12
                                                                                                                10.4 stories
                                   10
          Number of News Stories




                                   8

                                   6

                                                                                           3.8 stories
                                   4
                                                                    2.8 stories
                                               1.8 stories
                                   2

                                   0
                                                   0                   1 to 2                3 to 5               6 or more
                                                                          Number of Shots Fired
          Notes and Sources:
          Based on stories describing defensive gun use in a random selection of Factiva stories between 2011 to May 2017.




                                        16.     After adjusting for this disparity in news coverage, we find that the average

      number of shots fired per incident covered is 2.34.25 Note that this adjustment does not take into

      account the fact that some defensive gun use incidents may not be picked up by any news story.

      Given the observed relationship that there are more news stories when there are more shots fired,

      one would expect that the incidents that are not written about would on average have fewer shots

      than those with news stories. Therefore, the expectation is that these results, even after the



 25
      The adjustment reflects the probability that a news story on a particular incident would be selected at
      random from the total population of news stories on incidents of self-defense with a firearm in the home.
      The formula used for the adjustment is:
      ∑

                                    ∑


      where:
      𝑛 = random selection of news stories on incidents of self-defense with a firearm in the home
      𝑅 = number of search results on Factiva in the calendar year of incident 𝑖
      𝐶 = number of news stories covering incident 𝑖


                                                                                  11
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   adjustment, are biased upward (i.e., estimating too high an average number of shots and

   underestimating the percent of incidents in which no shots were fired).

          17.     As shown in the table below, according to the study of Factiva news stories, in

   11.6% of incidents the defender did not fire any shots, and simply threatened the offender with a

   gun. In 97.3% of incidents the defender fired five or fewer shots. There were no incidents where

   the defender was reported to have fired more than 10 bullets.




                                                  12
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          Number of Shots Fired in Self-Defense in the Home
          Based on Random Selection of Articles from Factiva
                                    January 2011 - May 2017

                                                                                     Incidents in
                                                                                      the Home

           Estimated population of news reports in Factiva                               4,841
           on self-defense with a firearm in the home

           Random selection of news reports                                                200

           Average Number of Shots Fired                                                   2.34
           Median Number of Shots Fired                                                    2.03

           Number of Incidents with No Shots Fired                                           23
           Percent of Incidents with No Shots Fired                                      11.6%

           Number of Incidents with <=5 Shots Fired                                        195
           Percent of Incidents with <=5 Shots Fired                                     97.3%

           Number of Incidents with >10 Shots Fired                                          0
           Percent of Incidents with >10 Shots Fired                                      0.0%

         Notes and Sources:
           Based on news stories describing defensive gun use in a random selection of Factiva
           stories 2011 to May 2017 using search string (gun* or shot* or shoot* or fire* or
           arm*) and ("broke in" or "break in" or "broken into" or "breaking into" or burglar*
           or intrud* or inva*) and (home* or "apartment" or "property") with region set to
           United States and excluding duplicate stories classified as "similar."
           Calculated using weights reflecting the probability that a news story on a particular
           incident would be selected at random from the total population of news stories on
           incidents of self-defense with a firearm in the home.



          18.     In sum, an analysis of incidents in the NRA Armed Citizen database, as well as

   my own study of a random sample from approximately 4,800 news stories describing incidents

   of self-defense with a firearm, indicates that it is extremely rare for a person, when using a

   firearm in self-defense, to fire more than 10 rounds. I have analyzed almost 1,000 incidents of


                                                    13
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      self-defense (736 incidents from the NRA Armed Citizen database and 200 stories from Factiva)

      and in only 2 incidents were more than 10 rounds used. 26 Thus, in only 0.2% of reported

      incidents of self-defense with a firearm were more than 10 rounds used. However, given that this

      rate excludes incidents with no news coverage, the 0.2% rate is an overestimation of the percent

      of self-defense incidents in which more than 10 rounds were used because fewer shots means

      less news coverage.

                    ii.     Percent of incidents in which rifles were used in self-defense
                            according to the Heritage Defensive Gun Uses Database

              19.         I have been asked to analyze The Heritage Foundation’s “Defensive Gun Uses in

      the U.S.” database (“Heritage DGU Database”), a database of defensive gun incidents that was

      first published after my research on the number of rounds used by individuals in self-defense was

      performed.27 In particular, I have been asked to analyze the percent of incidents in which rifles
      were used in self-defense according to the Heritage DGU Database. The analysis of the Heritage

      DGU Database indicates that it is rare for a rifle to be used in self-defense.

              20.         The Heritage Foundation is a think tank focused on “formulat[ing] and

      promot[ing] public policies based on the principles of free enterprise, limited government,

      individual freedom, traditional American values, and a strong national defense.”28 According to

      The Heritage Foundation, “[t]he right of the people to keep and bear arms is a fundamental part

      of American liberty, serving as an important individual defense against crime and a collective

      defense against tyranny.”29



 26
      As discussed above, these two incidents with more than 10 shots fired by the defender were added to the
      NRA Armed Citizen database after an earlier analysis that I had conducted of the database. Further, the
      defenders in these two incidents did not appear to need to fire more than 10 shots to defend themselves.
      See footnote 2 above.
 27
      “Defensive Gun Uses in the U.S.,” The Heritage Foundation, as of October 7, 2022,
      https://datavisualizations.heritage.org/firearms/defensive-gun-uses-in-the-us.
 28
      “About Heritage,” The Heritage Foundation, https://www.heritage.org/about-heritage/mission.
 29
      “Firearms,” The Heritage Foundation, https://www.heritage.org/firearms.


                                                         14
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              21.     In April 2020, The Heritage Foundation began publishing and periodically

      updating a database of news stories describing incidents in the U.S. in which individuals

      purportedly defended themselves using firearms.30 The Heritage Foundation notes that its

      database is not comprehensive but meant to “highlight” stories of successful self-defense.31,32

              22.     As of October 7, 2022, the Heritage DGU Database included 2,714 incidents from

      January 1, 2019 through October 6, 2022.33 The Heritage DGU Database codes the following

      information for each incident:34
               Date of the incident;
               Website link to the news story;
               Location (city and state);
               Context (e.g., domestic violence, home invasion, robbery, etc.);
               Whether the defender had a concealed-carry permit;
               Whether there were multiple assailants;
               Whether shots were fired; and
               Firearm type (handgun, shotgun, rifle, pellet rifle, long gun, or unknown).35
              23.     I performed an analysis of all 2,714 incidents in the Heritage DGU Database as of

      October 7, 2022, to determine what number and percent of the incidents involved a rifle. I found

      there were 51 incidents indicating a rifle was involved. These 51 incidents represent 2% of all

      incidents in the database and 4% of incidents with a known gun type.36 The table below shows

      the breakdown of incidents by coded firearm type for the 2,714 incidents.



 30
      “Defensive Gun Uses in the U.S.,” The Heritage Foundation.
 31
      “Defensive Gun Uses in the U.S.,” The Heritage Foundation.
 32
      Note that a review of the news stories cited in the database indicates that a number of the incidents may
      not involve individuals defending themselves. For example, in one incident (“Two Burglary Suspects
      Caught By Victim’s Brother And Friend, Held At Gunpoint For Police,” 5NewsOnline, February 11,
      2019), a homeowner’s brother and friend appear to have found and apprehended burglars on the roadside.
 33
      “Defensive Gun Uses in the U.S.,” The Heritage Foundation.
 34
      “Defensive Gun Uses in the U.S.,” The Heritage Foundation.
 35
      A review of the data and linked news stories from the Heritage DGU Database indicates that the firearm
      type corresponds to the firearm associated with the defender.
 36
      This analysis is based on The Heritage Foundation’s coding of these incidents. We have not
      independently verified the coding of these incidents.


                                                         15
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                                   The Heritage Foundation
                                  Defensive Gun Uses Database

                   Firearm Type         Incidents1      % of Total        % of Known
                           (1)               (2)             (3)                 (4)


                       Handgun             1,113             41%                90%
                       Shotgun                78              3%                 6%
                       Rifle                  51              2%                 4%
                       Long Gun                1              0%                 0%
                       Pellet Rifle            1              0%                 0%
                       Unknown             1,473             54%
                       Total known:        1,241
                              Total:       2,714

                   Source:
                     "Defensive Gun Uses in the U.S.," The Heritage Foundation .
                       Data as of October 7, 2022.
                   1
                       Note that three incidents are coded as having more than one
                       firearm type and thus the sum by firearm type is larger than
                       the total number of incidents.



             24.       I conducted the same analysis of the Heritage DGU Database excluding incidents

      that occurred in states that had restrictions on assault weapons in 2022. In particular, I excluded

      incidents in California, Connecticut, Hawaii, Maryland, Massachusetts, New Jersey, and New

      York, as well as Washington D.C.37 In states without assault weapons restrictions, the Heritage


 37
      See, “Assault Weapons,” Giffords Law Center, https://giffords.org/lawcenter/gun-laws/policy-
      areas/hardware-ammunition/assault-weapons/. Delaware is not excluded since restrictions in Delaware
      were enacted in June 2022. See, “Governor Carney Signs Package of Gun Safety Legislation,”
      Delaware.gov, June 30, 2022, https://news.delaware.gov/2022/06/30/governor-carney-signs-package-of-
      gun-safety-legislation/.



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   DGU Database has 48 incidents indicating a rifle was involved. These 48 incidents represent 2%

   of incidents in these states and 4% of incidents with a known gun type in these states. The table

   below shows the breakdown of incidents by coded firearm type for states that do not restrict

   assault weapons.


                               The Heritage Foundation
                             Defensive Gun Uses Database
                      States Without Assault Weapon Restrictions

                 Firearm Type          Incidents1        % of Total   % of Known
                          (1)              (2)              (3)              (4)


                      Handgun             1,033             41%             90%
                      Shotgun                63              3%              6%
                      Rifle                  48              2%              4%
                      Long Gun                0              0%              0%
                      Pellet Rifle            1              0%              0%
                      Unknown             1,357             54%
                      Total known:        1,142
                             Total:       2,499

                 Source:
                   "Defensive Gun Uses in the U.S.," The Heritage Foundation.
                   Data as of October 7, 2022. Excludes the following states
                      with assault weapon restrictions: California, Connecticut,
                      Hawaii, Maryland, Massachusetts, New Jersey, and New York
                      as well as Washington D.C. Classification from Giffords
                      Law Center. Incidents in Delaware not excluded as
                      restrictions were enacted in June 2022.
                  1
                      Note that three incidents are coded as having more than one
                      firearm type and thus the sum of the individual firearm
                      types is larger than the total number of incidents.


                                                    17
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            B.      Public Mass Shootings
              25.     We analyzed the use of assault weapons and Large-Capacity Magazines38 in

      public mass shootings using four sources for identifying public mass shootings: Mother Jones,39

      the Citizens Crime Commission of New York City,40 The Washington Post,41 and The Violence

      Project.42, 43 The analysis focused on public mass shootings because it is my understanding that

      the state of New Jersey is concerned about public mass shootings and enacted the challenged

      law, in part, to address the problem of public mass shootings.44




 38
      My analysis is based on the definitions of assault weapons (“Assault Weapons”) provided by California
      law, specifically: California Penal Code sections 30510 and 30515, and California Code of Regulations,
      title 11, section 5499. California law defines Assault Weapons based on either their “make and model” or
      on certain “features.” See, for example, California Department of Justice: “What is considered an assault
      weapon under California law?” and “What are AK and AR-15 series weapons?”
      https://oag.ca.gov/firearms/regagunfaqs, accessed October 25, 2018.
 39
      “US Mass Shootings, 1982-2022: Data From Mother Jones’ Investigation,” Mother Jones, updated
      November 23, 2022, http://www.motherjones.com/politics/2012/12/mass-shootings-mother-jones-full-
      data.
 40   “
       Mayhem Multiplied: Mass Shooters and Assault Weapons,” Citizens Crime Commission of New York
      City, February 2018 update. Additional details on the mass shootings were obtained from an earlier
      source by the Citizens Crime Commission. “Mass Shooting Incidents in America (1984-2012),” Citizens
      Crime Commission of New York City, http://www.nycrimecommission.org/mass-shooting-incidents-
      america.php, accessed June 1, 2017.
 41
      “The terrible numbers that grow with each mass shooting,” The Washington Post, updated May 12, 2021,
      https://www.washingtonpost.com/graphics/2018/national/mass-shootings-in-america/.
 42
      “Mass Shooter Database,” The Violence Project, https://www.theviolenceproject.org/mass-shooter-
      database/, updated May 14, 2022.
 43
      When I began research in 2013 on mass shootings, I found Mother Jones and Citizens Crime Commission
      to maintain the most comprehensive lists of relevant mass shootings. More recently, two additional
      sources, The Washington Post and The Violence Project, have compiled lists of public mass shootings.
      The Violence Project began work on its mass shootings database in September 2017 and its database first
      went online in November 2019, while The Washington Post first published its mass shootings database on
      February 14, 2018. There is substantial overlap between the mass shootings in all four sources. For
      example, the Mother Jones data contains 93% of the mass shootings in the Citizens Crime Commission
      data for the years covered by both data sources, 1984 to 2016, while The Washington Post contains 94%
      of the mass shootings in The Violence Project data for the years covered by both data sources, 1966 to
      2019.
 44
      See, for example, State of New Jersey Senate Resolution No. 51, February 24, 2020, (“In 1990 New
      Jersey recognized that assault weapons posed a serious threat…”).


                                                         18
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              26.       The type of incident considered a mass shooting is generally consistent across the

      four sources: all four sources consider an event a mass shooting if four or more people were

      killed in a public place in one incident, excluding incidents involving other criminal activity such

      as a robbery.45




 45
      Citizens Crime Commission describes a mass shooting as “four or more victims killed” in “a public
      place” that were “unrelated to another crime (e.g., robbery, domestic violence).” Citizens Crime
      Commission notes that its sources include “news reports and lists created by government entities and
      advocacy groups.” “Mayhem Multiplied: Mass Shooters and Assault Weapons,” Citizens Crime
      Commission of New York City, February 2018 update.
      Mother Jones describes mass shootings as “indiscriminate rampages in public places resulting in four or
      more victims killed by the attacker,” excluding “shootings stemming from more conventionally motivated
      crimes such as armed robbery or gang violence.” Although in January 2013 Mother Jones changed its
      definition of mass shooting to include instances when three or more people were killed, for this report we
      only analyzed mass shootings where four or more were killed to be consistent with the definition of the
      other three sources. “A Guide to Mass Shootings in America,” Mother Jones, updated November 23,
      2022, http://www.motherjones.com/politics/2012/07/mass-shootings-map. See also, “What Exactly is a
      Mass Shooting,” Mother Jones, August 24, 2012. http://www.motherjones.com/mojo/2012/08/what-is-a-
      mass-shooting.
      The Washington Post describes a mass shooting as “four or more people were killed, usually by a lone
      shooter” excluding “shootings tied to robberies that went awry” and “domestic shootings that took place
      exclusively in private homes.” The Washington Post notes that its sources include “Grant Duwe, author of
      ‘Mass Murder in the United States: A History,’ Mother Jones and Washington Post research,” as well as
      “Violence Policy Center, Gun Violence Archive; FBI 2014 Study of Active Shooter Incidents; published
      reports.” “The terrible numbers that grow with each mass shooting,” The Washington Post, updated May
      12, 2021, https://www.washingtonpost.com/graphics/2018/national/mass-shootings-in-america/.
      The Violence Project indicates that it uses the Congressional Research Service definition of a mass
      shooting: “a multiple homicide incident in which four or more victims are murdered with firearms—not
      including the offender(s)—within one event, and at least some of the murders occurred in a public
      location or locations in close geographical proximity (e.g., a workplace, school, restaurant, or other public
      settings), and the murders are not attributable to any other underlying criminal activity or commonplace
      circumstance (armed robbery, criminal competition, insurance fraud, argument, or romantic triangle).”
      The Violence Project notes that its sources include “Primary Sources: Written journals / manifestos /
      suicide notes etc., Social media and blog posts, Audio and video recordings, Interview transcripts,
      Personal correspondence with perpetrators” as well as “Secondary Sources (all publicly available): Media
      (television, newspapers, magazines), Documentary films, Biographies, Monographs, Peer-reviewed
      journal articles, Court transcripts, Law Enforcement records, Medical records, School records, Autopsy
      reports.” “Mass Shooter Database,” The Violence Project,
      https://www.theviolenceproject.org/methodology/, accessed January 17, 2020.


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              27.     Each of the four sources contains data on mass shootings covering different time

      periods. The Mother Jones data covers 112 mass shootings from 1982 to October 13, 2022,46 the

      Citizens Crime Commission data covers 80 mass shootings from 1984 to February 2018,47 The

      Washington Post data covers 185 mass shootings from 1966 to May 12, 2021,48 and The

      Violence Project data covers 182 mass shootings from 1966 to May 14, 2022.49, 50

              28.     Note that the two more recently compiled sources of mass shootings, The

      Washington Post and The Violence Project, include additional mass shootings that were not

      covered by either Mother Jones or Citizens Crime Commission. In general, we found that these

      additional mass shootings were less covered by the media and involved fewer fatalities and/or

      injuries than the ones previously identified by Mother Jones or Citizens Crime Commission. For

      example, using the mass shooting data for the period 1982 through 2019, we found that the

      median number of news stories for a mass shooting included in Mother Jones and/or Citizens


 46
      “A Guide to Mass Shootings in America,” Mother Jones, updated November 23, 2022,
      http://www.motherjones.com/politics/2012/07/mass-shootings-map. Excludes mass shootings where only
      three people were killed. Note this analysis of the Mother Jones data may not match other analyses
      because Mother Jones periodically updates its historical data.
 47   “
      Mayhem Multiplied: Mass Shooters and Assault Weapons,” Citizens Crime Commission of New York
      City, February 2018 update.
 48
      “The terrible numbers that grow with each mass shooting,” The Washington Post, updated May 12,
      2021, https://www.washingtonpost.com/graphics/2018/national/mass-shootings-in-america/.
 49
      “Mass Shooter Database,” The Violence Project https://www.theviolenceproject.org/mass-shooter-
      database/, updated May 14, 2022.
 50
      Note that I have updated this mass shooting analysis to include more recent incidents, as well as more
      recently available details. In my 2017 declaration in Duncan v. Bonta, I included data on mass shootings
      through April 2017. In my 2018 declaration in Rupp v. Becerra, I updated the analysis to include data on
      mass shootings through September 2018. The analyses in both of these declarations included mass
      shootings only from Mother Jones and the Citizens Crime Commission. In my 2020 declaration in James
      Miller v. Becerra, I updated the analysis to include mass shootings through December 2019 and added
      mass shootings from two more sources, The Washington Post and The Violence Project. The number of
      mass shootings, as well as some details about the shootings, are not identical across these declarations for
      three main reasons. First, I have updated the analysis to include more recent incidents as well as more
      recently available details. Second, starting in 2020, I added two more sources (The Washington Post and
      The Violence Project), which include additional mass shootings and details not included in the initial
      sources. Third, even though Mother Jones included instances when three or more people were killed, for
      my declarations and reports starting in 2020, I only included mass shootings where four or more were
      killed to be consistent with the definition of the other three sources.


                                                           20
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      Crime Commission was 317, while the median for the additional mass shootings identified in

      The Washington Post and/or The Violence Project was 28.51 In addition, using the mass shooting

      data through 2019, we found an average of 21 fatalities or injuries for a mass shooting included

      in Mother Jones and/or Citizens Crime Commission, while only 6 fatalities or injuries for the

      additional mass shootings identified in The Washington Post and/or The Violence Project.

              29.        We combined the data from the four sources for the period 1982 through October

      2022, and searched news stories on each mass shooting to obtain additional details on the types

      of weapons used and data on shots fired where available. We compared the details on the

      weapons used in each shooting to the list of prohibited firearms and features specified in

      California law to identify, based on this publicly available information, which mass shootings

      involved the use of Assault Weapons. In addition, we identified, based on this publicly available

      information, which mass shootings involved the use of Large-Capacity Magazines. See attached

      Exhibit B for a summary of the combined data, and Exhibit C for a summary of the weapons

      used in each public mass shooting based on Mother Jones, Citizens Crime Commission, The

      Washington Post, The Violence Project, and news reports.52

                    i.     The use of Assault Weapons in public mass shootings
              30.        Based on the 179 mass shootings through October 2022, we found that Assault

      Weapons are often used in public mass shootings. Whether an Assault Weapon was used in a

      mass shooting can be determined in 153 out of the 179 incidents (85%) considered in this

      analysis. Out of these 153 mass shootings, 36 (or 24%) involved Assault Weapons. Even

      assuming the mass shootings where it is not known whether an Assault Weapon was used all did

      not involve an Assault Weapon, 36 out of 179 mass shootings, or 20%, involved Assault

      Weapons.

 51
      The search was conducted over all published news stories on Factiva. The search was based on the
      shooter’s name and the location of the incident over the period from one week prior to three months
      following each mass shooting.
 52
      Note that the Citizens Crime Commission data was last updated in February 2018 and The Washington
      Post was last updated in May 2021.


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                ii.       The use of Large-Capacity Magazines in public mass shootings
          31.          Based on the 179 mass shootings through October 2022, we found that Large-

   Capacity Magazines (those with a capacity to hold more than 10 rounds of ammunition) are often

   used in public mass shootings. Magazine capacity is known in 115 out of the 179 mass shootings

   (or 64%) considered in this analysis. Out of the 115 mass shootings with known magazine

   capacity, 73 (or 63%) involved Large-Capacity Magazines. Even assuming the mass shootings

   with unknown magazine capacity all did not involve Large-Capacity Magazines, 73 out of 179

   mass shootings or 41% of mass shootings involved Large-Capacity Magazines.

                iii.      Casualties in mass shootings involving Assault Weapons or Large-
                          Capacity Magazines
          32.          Based on our analysis, casualties were higher in the mass shootings that involved

   Assault Weapons than in other mass shootings. In particular, we found an average number of

   fatalities or injuries of 36 per mass shooting with an Assault Weapon versus 10 for those

   without. Focusing on just fatalities, we found an average number of fatalities of 12 per mass

   shooting with an Assault Weapon versus 6 for those without.

          33.          Based on our analysis, casualties were higher in the mass shootings that involved

   weapons with Large-Capacity Magazines than in other mass shootings. In particular, we found

   an average number of fatalities or injuries per mass shooting with a Large-Capacity Magazine

   was 25 versus 9 for mass shootings where a Large-Capacity Magazine was not used. Focusing on

   just fatalities, we found that the average number of fatalities per mass shooting with a Large-

   Capacity Magazine was 10 versus 6 for those without.

          34.          In addition, we found that casualties were higher in the mass shootings that

   involved both Assault Weapons and Large-Capacity Magazines. In particular, we found an

   average number of fatalities or injuries of 40 per mass shooting with both an Assault Weapon

   and a Large-Capacity Magazine versus 8 for those without either. Focusing on just fatalities, we
   found an average number of fatalities of 13 per mass shooting with both an Assault Weapon and

   a Large-Capacity Magazine versus 6 for those without either. (See table below.)




                                                       22
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                 Numbers of Fatalities and Injuries in Public Mass Shootings
                                    1982 - October 2022

                                                        # of                          Average # of

                   Weapon Used                        Incidents        Fatalities        Injuries          Total


    Assault Weapon                                        36               12               24               36
    No Assault Weapon                                    117                6                4               10
    Unknown                                               26                5                3                9


    Large-Cap. Mag.                                       73               10               16               25
    No Large-Cap. Mag.                                    42                6                3                9
    Unknown                                               64                5                3                7


    Assault Weapon & Large-Cap. Mag.                      31               13               27               40
    Large-Cap. Mag. Only1                                 36                 8               7               15
                                            2
    No Assault Weapon or Large-Cap. Mag.                  41                 6               3                8
             3
    Unknown                                               71                 5               3                8

Notes and Sources:
    Casualty figures exclude the shooter. Assault Weapon and large-capacity magazine classification and casualties
    updated based on review of stories from Factiva/Google searches.
1
    Shootings involving large-capacity magazine and no Assault Weapon.
2
    Shootings involving neither a large-capacity magazine nor Assault Weapon.
3
    Shootings where it is either unknown whether a large-capacity magazine was involved or unknown whether an
    Assault Weapon was involved.




                 35.    Our results are consistent with those of other studies that have analyzed mass

       shootings. Importantly, although the other studies are based on alternate sets of mass shootings,

       including covering different years and defining mass shootings somewhat differently, the results

       are consistent in finding that the number of fatalities and injuries is greater in mass shootings in

       which large capacity magazines and assault weapons are involved. A 2019 academic article

       published in the American Journal of Public Health by Klarevas et al. found that “[a]ttacks



                                                            23
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      involving LCMs resulted in a 62% higher mean average death toll.”53 This study found an

      average number of fatalities of 11.8 per mass shooting with a large-capacity magazine versus 7.3

      for those without. The results in this study were based on 69 mass shootings between 1990 and

      2017.54 An analysis of the mass shootings detailed in a 2016 article by Gary Kleck yielded

      similar results: 21 average fatalities or injuries in mass shootings involving large-capacity

      magazines versus 8 for those without.55 The Kleck study covered 88 mass shooting incidents

      between 1994 and 2013.56 In a 2018 study, Koper et al. found that mass shootings involving

      assault weapons and large-capacity magazines resulted in an average of 13.7 victims versus 5.2
      for other cases.57 The Koper et al. study covered 145 mass shootings between 2009 and 2015.58

      The table below summarizes their results.




 53
      Louis Klarevas, Andrew Conner, and David Hemenway, “The Effect of Large-Capacity Magazine Bans
      on High-Fatality Mass Shootings, 1990–2017,” American Journal of Public Health (2019).
 54
      The Klarevas et al. study defines mass shootings as “intentional crimes of gun violence with 6 or more
      victims shot to death, not including the perpetrators” and, unlike my analysis, does not exclude incidents
      in private places or incidents involving other criminal activity such as robbery.
 55
      Kleck, Gary, “Large-Capacity Magazines and the Casualty Counts in Mass Shootings: The Plausibility of
      Linkages,” 17 Justice Research and Policy 28 (2016).
 56
      The Kleck study defines a mass shooting as “one in which more than six people were shot, either fatally
      or nonfatally, in a single incident.” See, Kleck, Gary, “Large-Capacity Magazines and the Casualty
      Counts in Mass Shootings: The Plausibility of Linkages,” 17 Justice Research and Policy 28 (2016).
 57
      Koper et al., “Criminal Use of Assault Weapons and High-Capacity Semiautomatic Firearms: an Updated
      Examination of Local and National Sources,” Journal of Urban Health (2018).
 58
      The Koper et al. study defined mass shootings as “incidents in which four or more people were murdered
      with a firearm, not including the death of the shooter if applicable and irrespective of the number of
      additional victims shot but not killed.”


                                                          24
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                      Comparison of Studies on the Use of Large-Capacity Magazines in Mass Shootings


                                                   Criteria                            Time            # of     Avg. # of Fatalities + Injuries / Fatalities
            Source                 # Victims         Other Criteria                   Period        Incidents     With LCM                Without LCM
              (1)                      (2)                   (3)                       (4)             (5)              (6)                      (7)

     Allen (2023)1                 at least 4   Includes shootings "in a        1982-October 2022      179           25 / 10                     9/6
     Allen (2020)2                 killed3      public place in one incident,   1982-2019              161           27 / 10                     9/6
                                                and exclude[s] incidents
                                                involving other criminal
                                                activity such as a robbery"


     Kleck et al. (2016)4          more than    Excludes "spree shootings"      1994-2013               88           21 / n/a                  8 / n/a
                                   6 shot       and includes shootings in
                                                both "public" and "private"
                                                places

     Klarevas et al. (2019)5       at least 6   Includes “intentional crimes    1990-2017               69           n/a / 12                  n/a / 7
                                   killed3      of gun violence"

     Koper et al. (2018)6          at least 4   Includes shootings in both      2009-2015              145           14 / n/a                  5 / n/a
                                   killed3      public and private places

 Notes and Sources:
 1
     Exhibit B of this report.
 2
     Declaration of Lucy P. Allen in Support of Defendants' Opposition to Motion for Preliminary Injunction in James Miller et al. v. Xavier Becerra
     et al., dated January 23, 2020.
 3
     Excluding shooter.
 4
     Kleck, Gary, “Large-Capacity Magazines and the Casualty Counts in Mass Shootings: The Plausibility of Linkages,” 17 Justice Research and
     Policy 28 (2016).
 5
     Klarevas et al., “The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings 1990-2017,” American Journal of Public Health
     (2019).
 6
     Koper et al., “Criminal Use of Assault Weapons and High-Capacity Semiautomatic Firearms: an Updated Examination of Local and National
     Sources," Journal of Urban Health (2018). Note that the Koper et al study includes shootings involving both LCM and assault weapons.




                            iv.      The number of rounds fired in public mass shootings with Assault
                                     Weapons or Large-Capacity Magazines
                    36.           The data on public mass shootings indicates that it is common for offenders to fire

       more than 10 rounds when using an Assault Weapon. Of the 36 mass shootings we analyzed

       through October 2022 that are known to have involved an Assault Weapon, there are 24 in which

       the number of shots fired is known. Shooters fired more than ten rounds in all 24 incidents, and

       the average number of shots fired was 149. In contrast, the average number of shots fired in mass

       shootings that did not involve an Assault Weapon was 38.




                                                                                 25
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             37.         In addition, the data indicates that it is common for offenders to fire more than 10

      rounds when using a gun with a Large-Capacity Magazine in mass shootings. Of the 73 mass

      shootings that are known to have involved a Large-Capacity Magazine, there are 49 in which the

      number of shots fired is known. Shooters fired more than ten rounds in 46 of the 49 incidents (or

      94%), and the average number of shots fired was 99. In contrast, the average number of shots

      fired in mass shootings that did not involve a Large-Capacity Magazine was 16.

                   v.       The percent of mass shooters’ guns legally obtained

             38.         The data on public mass shootings indicates that the majority of guns used in

      these mass shootings were obtained legally.59 Of the 179 mass shootings analyzed through

      October 2022, there are 112 where it can be determined whether the gun was obtained legally.

      According to the data, shooters in 79% of mass shootings obtained their guns legally (89 of the

      112 mass shootings) and 80% of the guns used in these 112 mass shootings were obtained legally

      (202 of the 252 guns). (Even if one assumed that the guns were illegally obtained in all of the

      mass shootings where this question of legality is unknown, then one would find that in 50% of

      the mass shootings the guns were obtained legally and that 62% of the guns themselves were

      obtained legally.)

                   vi.      Trends in the number of mass shootings

             39.         According to the data since 1982, the first year in our analysis, the number of

      public mass shootings per year has been increasing. The following chart shows the number of

      mass shootings per year during this period, along with a fitted trendline:




 59
      The determination of whether guns were obtained legally is based on Mother Jones and The Washington
      Post reporting.


                                                          26
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                                                                     Trend in Public Mass Shootings
                                                                               1982 - 2021
                                       12




                                       10
     Number of Public Mass Shootings




                                        8


                                                                                         Trendline
                                        6




                                        4




                                        2




                                        0


     Notes and Sources:
     Data from Appendix B. The dotted line is calculated as a linear time series regression of the number of mass shootings from 1982 to 2021.




                                            40.   Focusing only on public mass shootings involving Large-Capacity Magazines, the

   data similarly shows that the number of public mass shootings with Large-Capacity Magazines

   has been increasing. The following chart shows the number of public mass shootings involving

   Large-Capacity Magazines per year, along with a fitted trendline:




                                                                                  27
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                                                                                           Trend in Public Mass Shootings Involving Large-Capacity Magazines
                                                                                                                       1982 - 2021
                                                                             7
        Number of Public Mass Shootings Involving Large-Capacity Magazines




                                                                             6



                                                                             5



                                                                             4



                                                                             3                                                 Trendline



                                                                             2



                                                                             1



                                                                             0


     Notes and Sources:
     Data from Appendix B. The dotted line is calculated as a linear time series regression of the number of mass shootings involving large-capacity
     magazines from 1982 to 2021.


                                                                                 41.   Focusing on a broader set of shooting incidents also shows an upward trend over

   time. In particular, data from the Gun Violence Archive (“GVA”) on shootings in which four or

   more victims were killed or injured in either a public place or a home shows that the number of

   shooting incidents within this broader category has also been increasing.60 GVA maintains a

   “database of incidents of gun violence and gun crime,” based on information from “police,

   media, data aggregates, government and other sources” and has data starting in 2014.61 Note that

   the data indicates there is less news coverage for this broader set of shooting incidents versus

   public mass shootings and thus less information about the type of magazine used. 62 The

   60
                                       “General Methodology,” Gun Violence Archive Website, accessed on April 19, 2023.
   61
                                       “General Methodology,” Gun Violence Archive Website, accessed on April 19, 2023.
   62
                                       Analysis of the number of news stories covering shootings indicated that there is more news coverage
                                       on public mass shootings than mass shootings in the home. For example, our analysis indicated that
                                       the median number of news stories covering public mass shootings is approximately four times larger
                                       than for mass shootings in the home. See “Declaration of Lucy P. Allen,” dated February 6, 2023, in



                                                                                                                          28
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   following chart shows the number of shootings with four or more fatalities or injuries per year

   according to the GVA data, along with a fitted trendline:

                                                                                     Trend in Shootings With Four or More Injuries or Fatalities
                                                                   800                                      2014 - 2021
    Number of Shootings With Four or More Injuries or Fatalities




                                                                   700



                                                                   600
                                                                                                                          Trendline

                                                                   500



                                                                   400



                                                                   300



                                                                   200



                                                                   100



                                                                     0
                                                                            2014        2015         2016        2017        2018         2019        2020        2021
                 Notes and Sources:
                 Data from the Gun Violence Archive. The dotted line is calculated as a linear time series regression of the number of shootings with four or more
                 casualties from 2014 to 2021.




                                                                      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

   United States of America that the foregoing is true and correct.




                                                                                                                                    Lucy P. Allen



                                                                   Oregon Firearms Federation, Inc., et al., v. Tina Kotek, et al. In addition, the data indicates that when
                                                                   fatalities and/or casualties are higher there is more news coverage. For example, our analysis indicates
                                                                   that there are approximately four times more news stories covering mass shootings with six or more
                                                                   fatalities than those with fewer than six fatalities.


                                                                                                                    29
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                                                                      Lucy P. Allen
                                                                      Senior Managing Director

                                                                      NERA Economic Consulting
                                                                      1166 Avenue of the Americas
                                                                      New York, New York 10036
      Exhibit A                                                       Tel: +1 212 345 5913 Fax: +1 212 345 4650
                                                                      lucy.allen@nera.com
                                                                      www.nera.com




                                    LUCY P. ALLEN
                              SENIOR MANAGING DIRECTOR

     Education
                    YALE UNIVERSITY
                    M.Phil., Economics, 1990
                    M.A., Economics, 1989
                    M.B.A., 1986

                    STANFORD UNIVERSITY
                    A.B., Human Biology, 1981


     Professional Experience
     1994-Present          National Economic Research Associates, Inc.
                           Senior Managing Director. Responsible for economic analysis in the areas
                           of securities, finance and environmental and tort economics.
                           Managing Director (2016-2023).
                           Senior Vice President (2003-2016).
                           Vice President (1999-2003).
                           Senior Consultant (1994-1999).

     1992-1993             Council of Economic Advisers, Executive Office of the President
                           Staff Economist. Provided economic analysis on regulatory and health care
                           issues to Council Members and interagency groups. Shared responsibility
                           for regulation and health care chapters of the Economic Report of the
                           President, 1993. Working Group member of the President’s National
                           Health Care Reform Task Force.

     1986-1988             Ayers, Whitmore & Company (General Management Consultants)
     1983-1984             Senior Associate. Formulated marketing, organization, and overall
                           business strategies including:
                           Plan to improve profitability of chemical process equipment manufacturer.
                           Merger analysis and integration plan of two equipment manufacturers.
                           Evaluation of Korean competition to a U.S. manufacturer.



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                                                                                     Lucy P. Allen


                         Diagnostic survey for auto parts manufacturer on growth obstacles.
                         Marketing plan to increase international market share for major accounting
                         firm.

     Summer 1985         WNET/Channel Thirteen, Strategic Planning Department
                         Associate. Assisted in development of company’s first long-term strategic
                         plan. Analyzed relationship between programming and viewer support.

     1981-1983           Arthur Andersen & Company
                         Consultant. Designed, programmed and installed management information
                         systems. Participated in redesign/conversion of New York State’s
                         accounting system. Developed municipal bond fund management system,
                         successfully marketed to brokers. Participated in President’s Private Sector
                         Survey on Cost Control (Grace Commission). Designed customized
                         tracking and accounting system for shipping company.

     Teaching
     1989- 1992          Teaching Fellow, Yale University
                         Honors Econometrics
                         Intermediate Microeconomics
                         Competitive Strategies
                         Probability and Game Theory
                         Marketing Strategy
                         Economic Analysis


     Publications
           “Snapshot of Recent Trends in Asbestos Litigation: 2022 Update,” (co-author), NERA
           Report, 2022.

           “Snapshot of Recent Trends in Asbestos Litigation: 2021 Update,” (co-author), NERA
           Report, 2021.

           “The Short-Term Effect of Goodwill Impairment Announcements on Companies’ Stock
           Prices” (co-author), International Journal of Business, Accounting and Finance,
           Volume 14, Number 2, Fall 2020.

           “Snapshot of Recent Trends in Asbestos Litigation: 2020 Update,” (co-author), NERA
           Report, 2020.

           “Snapshot of Recent Trends in Asbestos Litigation: 2019 Update,” (co-author), NERA
           Report, 2019.

           “Snapshot of Recent Trends in Asbestos Litigation: 2018 Update,” (co-author), NERA
           Report, 2018.



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                                                                                   Lucy P. Allen


          “Trends and the Economic Effect of Asbestos Bans and Decline in Asbestos
          Consumption and Production Worldwide,” (co-author), International Journal of
          Environmental Research and Public Health, 15(3), 531, 2018.

          “Snapshot of Recent Trends in Asbestos Litigation: 2017 Update,” (co-author), NERA
          Report, 2017.

          “Asbestos: Economic Assessment of Bans and Declining Production and
          Consumption,” World Health Organization, 2017.

          “Snapshot of Recent Trends in Asbestos Litigation: 2016 Update,” (co-author), NERA
          Report, 2016.

          “Snapshot of Recent Trends in Asbestos Litigation: 2015 Update,” (co-author), NERA
          Report, 2015.

          “Snapshot of Recent Trends in Asbestos Litigation: 2014 Update,” (co-author), NERA
          Report, 2014.

          “Snapshot of Recent Trends in Asbestos Litigation: 2013 Update,” (co-author), NERA
          Report, 2013.

          “Asbestos Payments per Resolved Claim Increased 75% in the Past Year – Is This
          Increase as Dramatic as it Sounds? Snapshot of Recent Trends in Asbestos Litigation:
          2012 Update,” (co-author), NERA Report, 2012.

          “Snapshot of Recent Trends in Asbestos Litigation: 2011 Update,” (co-author), NERA
          White Paper, 2011.

          “Snapshot of Recent Trends in Asbestos Litigation: 2010 Update,” (co-author), NERA
          White Paper, 2010.

          “Settlement Trends and Tactics” presented at Securities Litigation During the Financial
          Crisis: Current Development & Strategies, hosted by the New York City Bar, New
          York, New York, 2009.

          “Snapshot of Recent Trends in Asbestos Litigation,” (co-author), NERA White Paper,
          2009.

          “China Product Recalls: What’s at Stake and What’s Next,” (co-author), NERA
          Working Paper, 2008.

          “Forecasting Product Liability by Understanding the Driving Forces,” (co-author), The
          International Comparative Legal Guide to Product Liability, 2006.

          “Securities Litigation Reform: Problems and Progress,” Viewpoint, November 1999,
          Issue No. 2 (co-authored).


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                                                                                    Lucy P. Allen


          “Trends in Securities Litigation and the Impact of the PSLRA,” Class Actions &
          Derivative Suits, American Bar Association Litigation Section, Vol. 9, No. 3, Summer
          1999 (co-authored).

          “Random Taxes, Random Claims,” Regulation, Winter 1997, pp. 6-7 (co-authored).



     Depositions & Testimony (4 years)
          Deposition Testimony before the United States District Court for the Central District of
          California in In re Prime Healthcare ERISA Litigation, 2023.

          Deposition Testimony before the United States District Court for the Southern District
          of Texas in Delaware County Employees Retirement System v. Cabot Oil & Gas
          Corporation, et al., 2023.

          Testimony and Deposition before the United States District Court for the District of
          Oregon in Oregon Firearms Federation, Inc. et al. v. Tina Kotek et al., 2023.

          Testimony and Depositions before the United States District Court for the Southern
          District of Texas, Houston Division in Miriam Edwards, et al. v. McDermott
          International, Inc., et al., 2023.

          Deposition Testimony before the United States District Court for the District of Harris
          County, Texas in Boxer Property Management Corp. et al. v. Illinois Union Ins. Co. et
          al., 2022.

          Testimony before the Supreme Court of the State of New York, County of New York,
          in MUFG Union Bank, N.A. (f/k/a Union Bank, N.A.) v. Axos Bank (f/k/a Bank of
          Internet USA), et al., 2022.

          Deposition Testimony before the United States District Court for the Eastern District of
          Virginia, in Plymouth County Retirement System, et al. v. Evolent Health, Inc., et al.,
          2022.

          Deposition Testimony before the United States District Court for the Northern District
          of Georgia, in Public Employees’ Retirement System of Mississippi v. Mohawk
          Industries, Inc., et al., 2022.

          Deposition Testimony before the United States District Court for the Southern District
          of New York, in SEC v. AT&T, Inc. et al., 2022.

          Deposition Testimony before the Superior Court of New Jersey, Hudson County, in
          Oklahoma Firefighters Pension and Retirement System vs. Newell Brands Inc., et al.,
          2022.




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                                                                                   Lucy P. Allen


          Deposition Testimony before the United States District Court for the District of
          Pennsylvania, in Allegheny County Employees, et al. v. Energy Transfer LP., et al.,
          2022.

          Deposition Testimony before the United States District Court, District of Tennessee, in
          St. Clair County Employees’ Retirement System v. Smith & Acadia Healthcare
          Company, Inc., et al., 2022.

          Deposition Testimony before the United States District Court, District of Colorado, in
          Cipriano Correa, et al. v. Liberty Oilfield Services Inc., et al., 2022.

          Deposition Testimony before the Superior Court of New Jersey, Hudson County, in
          Oklahoma Firefighters Pension and Retirement System vs. Newell Brands Inc., et al.,
          2021.

          Deposition Testimony before the Superior Court of New Jersey, Middlesex County, in
          Dana Transport, Inc. et al., vs. PNC Bank et al., 2021.

          Deposition Testimony before the United States District Court, Western District of North
          Carolina, in Cheyenne Jones and Sara J. Gast v. Coca-Cola Consolidated Inc., et al.,
          2021.

          Testimony and Deposition Testimony before the Court of Chancery of the State of
          Delaware in Bardy Diagnostics Inc. v. Hill-Rom, Inc. et al., 2021.

          Deposition Testimony before the United States Bankruptcy Court, Southern District of
          Texas, Houston Division, in Natixis Funding Corporation v. Genon Mid-Atlantic, LLC,
          2021.

          Testimony and Deposition Testimony before the United States District Court, Southern
          District of California, in Miller et al. v. Becerra et al., 2021.

          Deposition Testimony before the Court of Chancery of the State of Delaware in
          Arkansas Teacher Retirement System v. Alon USA Energy, Inc., et al., 2021.

          Deposition Testimony before the United States District Court, Western District of
          Oklahoma, in Kathleen J. Myers v. Administrative Committee, Seventy Seven Energy,
          Inc. Retirement & Savings Plan, et al., 2020.

          Deposition Testimony before the United States District Court, Middle District of
          Tennessee, in Nikki Bollinger Grae v. Corrections Corporation of America, et al., 2020.

          Deposition Testimony before the Supreme Court of the State of New York, County of
          New York, in MUFG Union Bank, N.A. (f/k/a Union Bank, N.A.) v. Axos Bank (f/k/a
          Bank of Internet USA), et al., 2020.




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                                                                                   Lucy P. Allen


          Deposition Testimony before the United States District Court, Western District of
          Washington at Seattle, in In re Zillow Group, Inc. Securities Litigation, 2020.

          Deposition Testimony before the United States District Court, Middle District of
          Tennessee, in Zwick Partners LP and Aparna Rao v. Quorum Health Corporation,
          2019.

          Testimony and Declaration before the United States District Court, Southern District of
          Iowa, in Mahaska Bottling Company, Inc., et al. v. PepsiCo, Inc. and Bottling Group,
          LLC, 2019.

          Testimony before the United States District Court, Southern District of New York, in
          Chicago Bridge & Iron Company N.V. Securities Litigation, 2019.

          Deposition Testimony before the United States District Court, Middle District of
          Florida, in Jacob J. Beckel v. Fagron Holdings USA, LLC et al., 2019.




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                                                                    Exhibit B
                                                            Public Mass Shootings Data
                                                                 1982 – Oct. 2022
                                                                   Large                                                          Total                       Gun(s) Offender(s)'
                                                                  Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                          a              b                c                c                 c           d              e
             Case and Location              Date         Source   Mag.?       Weapon?        Fatalities       Injuries          Injuries         Fired       Legally?       Guns
                    (1)                      (2)          (3)       (4)          (5)            (6)              (7)               (8)            (9)          (10)         (11)


 1. Raleigh spree shooting                 10/13/22 MJ              -            -                    5                2                 7              -      -              2
        Hedingham, NC
 2. Highland Park July 4 parade shooting    7/4/22 MJ               Yes          -                    7            48                55            83 ba       Yes            1
        Highland Park, IL
 3. Tulsa medical center shooting           6/1/22 MJ               -            -                    4                9 bb          13 bb         37 bc       Yes            2
        Tulsa, OK
 4. Robb Elementary School massacre        5/24/22 MJ               Yes          Yes              21               17                38           164 bd       Yes            1 be
        Uvalde, TX
 5. Buffalo supermarket massacre           5/14/22 MJ/VP            Yes          Yes              10                   3             13            60 bf       Yes            1
        Buffalo, NY
 6. Sacramento County church shooting      2/28/22 MJ               Yes          -                    4                0                 4              -      Yes bg         1
        Sacramento, CA
 7. Oxford High School shooting            11/30/21 MJ/VP           Yes          No                   4                7             11            30 bh       Yes bi         1
        Oxford, MI
 8. San Jose VTA shooting                  5/26/21 MJ/VP            Yes          No                   9                0                 9         39 bj       Yes bk         3
        San Jose, CA
 9. Canterbury Mobile Home Park shooting    5/9/21 WaPo             Yes          -                    6                0                 6         17 bl       -              1
        Colorado Springs, CO
10. FedEx warehouse shooting               4/15/21 MJ/VP/WaPo       Yes          Yes                  8                7             15                 -      Yes            2 bm
        Indianapolis, IN
11. Orange office complex shooting         3/31/21 MJ/VP/WaPo       -            -                    4                1                 5              -      -              1
        Orange, CA
12. Essex Royal Farms shooting             3/28/21 WaPo             -            -                    4                1                 5              -      Yes bn         1
        Baltimore County, MD
13. King Soopers supermarket shooting      3/22/21 MJ/VP/WaPo       Yes          Yes              10                   0             10                 -      Yes            2
        Boulder, CO




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                                                                     Exhibit B
                                                             Public Mass Shootings Data
                                                                  1982 – Oct. 2022
                                                                    Large                                                          Total                       Gun(s) Offender(s)'
                                                                   Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                           a              b                c                c                 c           d              e
              Case and Location               Date       Source    Mag.?       Weapon?        Fatalities       Injuries          Injuries         Fired       Legally?       Guns
                      (1)                      (2)           (3)     (4)          (5)            (6)              (7)               (8)            (9)          (10)         (11)

14. Atlanta massage parlor shootings         3/16/21 MJ/VP/WaPo      Yes          -                    8                1                 9              -      Yes bo         1
         Atlanta, GA
15. Hyde Park shooting                        1/9/21 WaPo            -            -                    5                2                 7              -      -              1
         Chicago, IL
16. Englewood block party shooting            7/4/20 WaPo            -            -                    4                4                 8              -      -               -
         Chicago, IL
17. Springfield convenience store shooting   3/15/20 MJ/VP/WaPo      -            -                    4                2                 6              -      Yes bp         2
         Springfield, MO
18. Molson Coors shooting                    2/26/20 MJ/VP/WaPo      -            -                    5                0                 5         12 bq       -              2 br
         Milwaukee, WI
19. Jersey City Kosher Supermarket           12/10/19 MJ/VP/WaPo     -            No                   4                3                 7              -      Yes            5
         Jersey City, NJ
20. Football-watching party                  11/17/19 WaPo           -            No                   4                6             10                 -      -              2
         Fresno, CA
21. Halloween Party                          11/1/19 WaPo            -            -                    5                0                 5              -      -              1
         Orinda, CA
22. Tequila KC bar                           10/6/19 WaPo            -            No                   4                5                 9              -      No             2
         Kansas City, KS
23. Midland-Odessa Highways                  8/31/19 MJ/VP/WaPo      -            Yes                  7            25                32                 -      No             1
         Odessa, TX
24. Dayton                                    8/4/19 MJ/VP/WaPo      Yes          Yes                  9            27                36            41 f        Yes           1/2
         Dayton, OH
25. El Paso Walmart                           8/3/19 MJ/VP/WaPo      Yes          Yes              22               26                48                 -      Yes            1
         El Paso, TX
26. Casa Grande Senior Mobile Estates        6/19/19 WaPo            -            -                    4                0                 4              -      -              1
         Santa Maria, CA




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                                                             Exhibit B
                                                     Public Mass Shootings Data
                                                          1982 – Oct. 2022
                                                               Large                                                          Total                       Gun(s) Offender(s)'
                                                              Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                      a              b                c                c                 c           d            e
             Case and Location         Date        Source     Mag.?       Weapon?        Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                     (1)                (2)         (3)         (4)          (5)            (6)              (7)               (8)            (9)          (10)       (11)

27. Virginia Beach Municipal Center   5/31/19 MJ/VP/WaPo        Yes          No               12                   4             16                 -      Yes          2
        Virginia Beach, VA
28. Henry Pratt Co.                   2/15/19 MJ/VP/WaPo        -            No                   5                6             11                 -      No           1
        Aurora, IL
29. SunTrust Bank                     1/23/19 MJ/VP/WaPo        -            No                   5                0                 5              -      Yes          1
        Sebring, FL
30. Borderline Bar & Grill            11/7/18 MJ/VP/WaPo        Yes          No               12                   1             13            50 g        Yes          1
        Thousand Oaks, CA
31. Tree of Life Synagogue            10/27/18 MJ/VP/WaPo       -            Yes              11                   6             17                 -      Yes          4
        Pittsburgh, PA
32. T&T Trucking                      9/12/18 MJ/VP/WaPo        No           No                   5                0                 5              -      -            1
        Bakersfield, CA
33. Capital Gazette                   6/28/18 MJ/VP/WaPo        -            No                   5                2                 7              -      Yes          1
        Annapolis, MD
34. Santa Fe High School              5/18/18 MJ/VP/WaPo        No           No               10               13                23                 -      -            2
        Santa Fe, TX
35. Waffle House                      4/22/18 MJ/VP/WaPo        -            Yes                  4                4                 8              -      Yes          1
        Nashville, TN
36. Detroit                           2/26/18 VP                -            No                   4                0                 4              -      -             -
        Detroit, MI
37. Stoneman Douglas HS               2/14/18 CC/MJ/VP/WaPo     Yes          No               17               17                34                 -      Yes          1
        Parkland, FL
38. Pennsylvania Carwash              1/28/18 MJ/VP/WaPo        -            -                    4                1                 5              -      -            3h
        Melcroft, PA
39. Rancho Tehama                     11/14/17 MJ/VP/WaPo       Yes          Yes                  4            10                14            30 i        No           2
        Rancho Tehama, CA




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                                                            Exhibit B
                                                    Public Mass Shootings Data
                                                         1982 – Oct. 2022
                                                              Large                                                          Total                       Gun(s) Offender(s)'
                                                             Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                     a              b                c                c                 c           d            e
             Case and Location        Date      Source       Mag.?       Weapon?        Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                      (1)             (2)           (3)        (4)          (5)            (6)              (7)               (8)            (9)          (10)       (11)

40. Texas First Baptist Church       11/5/17 CC/MJ/VP/WaPo     Yes          Yes              26               20                46           450 j        Yes          1
         Sutherland Springs, TX
41. Las Vegas Strip                  10/1/17 CC/MJ/VP/WaPo     Yes          Yes              58             422                480          1100 k        Yes         23
         Las Vegas, NV
42. Taos and Rio Arriba counties     6/15/17 WaPo              No           No                   5                0                 5              -      -            1
         Abiquiu, NM
43. Fiamma Workplace                  6/5/17 CC/MJ/VP/WaPo     No           No                   5                0                 5              -      -            1
         Orlando, FL
44. Marathon Savings Bank            3/22/17 VP/WaPo           -            No                   4                0                 4              -      -            2
         Rothschild, WI
45. Club 66                           2/6/17 VP/WaPo           -            -                    4                0                 4              -      -            1
         Yazoo City, MS
46. Fort Lauderdale Airport           1/6/17 CC/MJ/VP/WaPo     No           No                   5                6             11            15 l        Yes          1
         Fort Lauderdale, FL
47. Cascade Mall                     9/23/16 CC/MJ/VP/WaPo     Yes          No                   5                0                 5              -      -            1
         Burlington, WA
48. Dallas Police                     7/7/16 CC/MJ/VP/WaPo     Yes          Yes                  5            11                16                 -      Yes          3
         Dallas, TX
49. Walgreens Parking Lot            6/29/16 WaPo              -            -                    4                0                 4              -      -            1
         Las Vegas, NV
50. Orlando Nightclub                6/12/16 CC/MJ/VP/WaPo     Yes          Yes              49               53               102           110 m        Yes          2
         Orlando, FL
51. Franklin Avenue Cookout           3/9/16 VP/WaPo           Yes          Yes                  6                3                 9         48 n        No           2
         Wilkinsburg, PA
52. Kalamazoo                        2/20/16 MJ/VP/WaPo        Yes          No                   6                2                 8              -      Yes          1
         Kalamazoo County, MI




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                                                         Exhibit B
                                                 Public Mass Shootings Data
                                                      1982 – Oct. 2022
                                                             Large                                                          Total                       Gun(s) Offender(s)'
                                                            Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                    a              b                c                c                 c           d            e
             Case and Location       Date      Source       Mag.?       Weapon?        Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                     (1)             (2)        (3)           (4)          (5)            (6)              (7)               (8)            (9)          (10)       (11)

53. San Bernardino                  12/2/15 CC/MJ/VP/WaPo     Yes          Yes              14               22                36           150 o        Yes          4
         San Bernardino, CA
54. Tennessee Colony campsite      11/15/15 VP/WaPo           -            -                    6                0                 6              -      -            1
         Anderson County, TX
55. Umpqua Community College        10/1/15 CC/MJ/VP/WaPo     -            No                   9                9             18                 -      Yes          6
         Roseburg, OR
56. Chattanooga Military Center     7/16/15 CC/MJ/VP/WaPo     Yes          Yes                  5                2                 7              -      Yes          3
         Chattanooga, TN
57. Charleston Church               6/17/15 CC/MJ/VP/WaPo     Yes          No                   9                3             12                 -      Yes          1
         Charleston, SC
58. Marysville High School         10/24/14 CC/MJ/VP/WaPo     Yes          No                   4                1                 5              -      No           1
         Marysville, WA
59. Isla Vista                      5/23/14 MJ/VP/WaPo        No           No                   6            13                19            50 p        Yes          3
         Santa Barbara, CA
60. Alturas Tribal                  2/20/14 MJ/VP/WaPo        -            No                   4                2                 6              -      -            2
         Alturas, CA
61. Washington Navy Yard            9/16/13 CC/MJ/VP/WaPo     No           No               12                   8             20                 -      Yes          2
         Washington, D.C.
62. Hialeah                         7/26/13 CC/MJ/VP/WaPo     Yes          No                   6                0                 6         10 q        Yes          1
         Hialeah, FL
63. Santa Monica                     6/7/13 CC/MJ/VP/WaPo     Yes          Yes                  5                3                 8         70 r        Yes          2
         Santa Monica, CA
64. Federal Way                     4/21/13 MJ/VP/WaPo        -            No                   4                0                 4              -      Yes          2
         Federal Way, WA
65. Upstate New York                3/13/13 MJ/VP/WaPo        -            No                   4                2                 6              -      Yes          1
         Herkimer County, NY




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                                                           Exhibit B
                                                   Public Mass Shootings Data
                                                        1982 – Oct. 2022
                                                             Large                                                          Total                       Gun(s) Offender(s)'
                                                            Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                    a              b                c                c                 c           d            e
             Case and Location       Date        Source     Mag.?       Weapon?        Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                    (1)              (2)           (3)        (4)          (5)            (6)              (7)               (8)            (9)          (10)       (11)

66. Newtown School                 12/14/12 CC/MJ/VP/WaPo     Yes          Yes              27                   2             29           154          No          4/3
        Newtown, CT
67. Accent Signage Systems          9/27/12 CC/MJ/VP/WaPo     Yes          No                   6                2                 8         46          Yes          1
        Minneapolis, MN
68. Sikh Temple                      8/5/12 CC/MJ/VP/WaPo     Yes          No                   6                4             10                 -      Yes          1
        Oak Creek, WI
69. Aurora Movie Theater            7/20/12 CC/MJ/VP/WaPo     Yes          Yes              12               70                82            80          Yes          4
        Aurora, CO
70. Seattle Café                    5/30/12 CC/MJ/VP/WaPo     No           No                   5                1                 6              -      Yes          2
        Seattle, WA
71. Oikos University                 4/2/12 CC/MJ/VP/WaPo     No           No                   7                3             10                 -      Yes          1
        Oakland, CA
72. Su Jung Health Sauna            2/22/12 MJ/WaPo           -            No                   4                0                 4              -      Yes          1
        Norcross, GA
73. Seal Beach                     10/14/11 CC/MJ/VP/WaPo     No           No                   8                1                 9              -      Yes          3
        Seal Beach, CA
74. IHOP                             9/6/11 CC/MJ/VP/WaPo     Yes          Yes                  4                7             11                 -      Yes          3
        Carson City, NV
75. Akron                            8/7/11 VP                No           No                   7                2                 9         21 s        -             -
        Akron, OH
76. Forum Roller World              7/23/11 WaPo              -            No                   5                4                 9              -      -            1
        Grand Prairie, TX
77. Grand Rapids                     7/7/11 CC                Yes          No                   7                2                 9         10          -            1
        Grand Rapids, MI
78. Family law practice              6/2/11 WaPo              -            -                    5                1                 6              -      -            1
        Yuma, AZ




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                                                            Exhibit B
                                                    Public Mass Shootings Data
                                                         1982 – Oct. 2022
                                                              Large                                                          Total                       Gun(s) Offender(s)'
                                                             Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                     a              b                c                c                 c           d            e
              Case and Location       Date        Source     Mag.?       Weapon?        Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                      (1)             (2)          (3)         (4)          (5)            (6)              (7)               (8)            (9)          (10)       (11)

79. Tucson                            1/8/11 CC/MJ/VP/WaPo     Yes          No                   6            13                19            33          Yes          1
         Tucson, AZ
80. Jackson                          9/11/10 VP                No           No                   5                0                 5         12 t        -             -
         Jackson, KY
81. City Grill                       8/14/10 VP/WaPo           -            No                   4                4                 8         10 u        -            1
         Buffalo, NY
82. Hartford Beer Distributor         8/3/10 CC/MJ/VP/WaPo     Yes          No                   8                2             10            11          Yes          2
         Manchester, CT
83. Yoyito Café                       6/6/10 CC/VP/WaPo        No           No                   4                3                 7           9v        -             -
         Hialeah, FL
84. Hot Spot Café                     4/3/10 VP/WaPo           -            No                   4                2                 6         50 w        -            1
         Los Angeles, CA
85. Coffee Shop Police              11/29/09 CC/MJ/VP/WaPo     No           No                   4                0                 4              -      No           2
         Parkland, WA
86. Fort Hood                        11/5/09 CC/MJ/VP/WaPo     Yes          No               13               32                45           214          Yes          1
         Fort Hood, TX
87. Worth Street                     11/1/09 VP/WaPo           -            Yes                  4                0                 4         16 x        No           1
         Mount Airy, NC
88. Binghamton                        4/3/09 CC/MJ/VP/WaPo     Yes          No               13                   4             17            99          Yes          2
         Binghamton, NY
89. Carthage Nursing Home            3/29/09 CC/MJ/VP/WaPo     No           No                   8                2             10                 -      Yes          2
         Carthage, NC
90. Skagit County                     9/2/08 VP/WaPo           -            No                   6                4             10                 -      No           2
         Alger, WA
91. Atlantis Plastics                6/25/08 CC/MJ/VP/WaPo     No           No                   5                1                 6              -      Yes          1
         Henderson, KY




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                                                              Exhibit B
                                                      Public Mass Shootings Data
                                                           1982 – Oct. 2022
                                                                  Large                                                          Total                       Gun(s) Offender(s)'
                                                                 Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                         a              b                c                c                 c           d            e
              Case and Location          Date       Source       Mag.?       Weapon?        Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                     (1)                  (2)        (3)           (4)          (5)            (6)              (7)               (8)            (9)          (10)       (11)

 92. Black Road Auto                     3/18/08 VP/WaPo           -            No                   4                0                 4         17 y        -            1
         Santa Maria, CA
 93. Northern Illinois University        2/14/08 CC/MJ/VP/WaPo     Yes          No                   5            21                26            54          Yes          4
         DeKalb, IL
 94. Kirkwood City Council               2/7/08 CC/MJ/VP/WaPo      No           No                   6                1                 7              -      No           2
         Kirkwood, MO
 95. Youth With a Mission and New Life   12/9/07 VP/WaPo           Yes          Yes                  4                5                 9         25 z        -            3
     Church
 96. Westroads Mall                      12/5/07 CC/MJ/VP/WaPo     Yes          Yes                  8                5             13            14          No           1
         Omaha, NE
 97. Crandon                             10/7/07 CC/MJ/WaPo        Yes          -                    6                1                 7         30 aa       Yes          1
         Crandon, WI
 98. Virginia Tech                       4/16/07 CC/MJ/VP/WaPo     Yes          No               32               17                49           176          Yes          2
         Blacksburg, VA
 99. Trolley Square                      2/12/07 CC/MJ/VP/WaPo     No           No                   5                4                 9              -      No           2
         Salt Lake City, UT
100. Amish School                        10/2/06 CC/MJ/VP/WaPo     No           No                   5                5             10                 -      Yes          3
         Lancaster County, PA
101. The Ministry of Jesus Christ        5/21/06 VP/WaPo           -            No                   5                1                 6              -      -            1
         Baton Rouge, LA
102. Capitol Hill                        3/25/06 CC/MJ/VP/WaPo     Yes          Yes                  6                2                 8              -      Yes          4
         Seattle, WA
103. Goleta Postal                       1/30/06 CC/MJ/VP/WaPo     Yes          No                   7                0                 7              -      Yes          1
         Goleta, CA
104. Sash Assembly of God                8/29/05 VP/WaPo           -            No                   4                0                 4              -      -            2
         Sash, TX




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                                                            Exhibit B
                                                    Public Mass Shootings Data
                                                         1982 – Oct. 2022
                                                                Large                                                          Total                       Gun(s) Offender(s)'
                                                               Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                       a              b                c                c                 c           d            e
               Case and Location        Date      Source       Mag.?       Weapon?        Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                       (1)              (2)        (3)           (4)          (5)            (6)              (7)               (8)            (9)          (10)       (11)

105. Red Lake                          3/21/05 CC/MJ/VP/WaPo     No           No                   9                7             16                 -      No           3
          Red Lake, MN
106. Living Church of God              3/12/05 CC/MJ/VP/WaPo     Yes          No                   7                4             11                 -      Yes          1
          Brookfield, WI
107. Fulton County Courthouse          3/11/05 VP/WaPo           -            No                   4                0                 4              -      No           1
          Atlanta, GA
108. Damageplan Show                   12/8/04 CC/MJ/VP/WaPo     No           No                   4                3                 7         15 ab       Yes          1
          Columbus, OH
109. Hunting Camp                     11/21/04 CC/VP/WaPo        Yes          Yes                  6                2                 8         20          -            1
          Meteor, WI
110. ConAgra Foods Plant                7/3/04 VP/WaPo           -            No                   6                1                 7         10 ac       -            2
          Kansas City, KS
111. Stateline Tavern                 10/24/03 VP/WaPo           Yes          No                   4                0                 4         14 ad       -            1
          Oldtown, ID
112. Windy City Warehouse              8/27/03 CC/VP/WaPo        No           No                   6                0                 6              -      -             -
          Chicago, IL
113. Lockheed Martin                    7/8/03 CC/MJ/VP/WaPo     -            No                   6                8             14                 -      Yes          5
          Meridian, MS
114. Labor Ready                       2/25/03 VP/WaPo           -            No                   4                1                 5              -      -            1
          Huntsville, AL
115. Bertrand Products                 3/22/02 VP/WaPo           -            No                   4                2                 6              -      -            2
          South Bend, IN
116. Burns International Security      9/10/01 VP/WaPo           Yes          Yes                  5                2                 7        200 ae       -            2
          Sacramento, CA
117. Bookcliff RV Park                  7/3/01 VP/WaPo           No           No                   4                3                 7           6 af      -            1
          Rifle, CO




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                                                                 Exhibit B
                                                         Public Mass Shootings Data
                                                              1982 – Oct. 2022
                                                                    Large                                                          Total                       Gun(s) Offender(s)'
                                                                   Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                            a             b                c                c                 c           d            e
               Case and Location           Date        Source      Mag.?        Weapon?       Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                       (1)                  (2)         (3)          (4)           (5)           (6)              (7)               (8)            (9)          (10)       (11)

118. Navistar                              2/5/01 CC/MJ/VP/WaPo      Yes          No                   4                4                 8              -      Yes          4
          Melrose Park, IL
119. Houston                               1/9/01 VP                 -            No                   4                0                 4              -      -             -
          Houston, TX
120. Wakefield                            12/26/00 CC/MJ/VP/WaPo     Yes          -                    7                0                 7         37          Yes          3
          Wakefield, MA
121. Mount Lebanon                        4/28/00 VP/WaPo            No           No                   5                1                 6              -      Yes          1
          Pittsburgh, PA
122. Mi-T-Fine Car Wash                   3/20/00 VP/WaPo            -            No                   5                1                 6              -      -             -
          Irving, TX
123. Hotel                                12/30/99 CC/MJ/VP/WaPo     No           No                   5                3                 8              -      Yes          2
          Tampa, FL
124. Xerox                                11/2/99 CC/MJ/VP/WaPo      Yes          No                   7                0                 7         28          Yes          1
          Honolulu, HI
125. Wedgwood Baptist Church              9/15/99 CC/MJ/VP/WaPo      Yes          No                   7                7             14            30          Yes          2
          Fort Worth, TX
126. Atlanta Day Trading                  7/29/99 MJ/VP/WaPo         -            No                   9            13                22                 -      Yes          4
          Atlanta, GA
127. Albertson's Supermarket               6/3/99 VP/WaPo            -            No                   4                1                 5              -      -            1
          Las Vegas, NV
128. Columbine High School                4/20/99 CC/MJ/VP/WaPo      Yes          Yes              13               23                36           188          No           4
          Littleton, CO
129. St. John Fellowship Baptist Church   3/10/99 VP/WaPo            -            No                   4                4                 8              -      -            1
          Gonzalez, LA
130. Thurston High School                 5/21/98 CC/MJ/VP/WaPo      Yes          No                   4            25                29            50          No           3
          Springfield, OR




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                                                            Exhibit B
                                                    Public Mass Shootings Data
                                                         1982 – Oct. 2022
                                                              Large                                                          Total                       Gun(s) Offender(s)'
                                                             Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                      a             b                c                c                 c           d            e
              Case and Location       Date        Source     Mag.?        Weapon?       Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                      (1)             (2)          (3)         (4)           (5)           (6)              (7)               (8)            (9)          (10)       (11)

131. Westside Middle School          3/24/98 CC/MJ/VP/WaPo     Yes          No                   5            10                15            26          No         9/10
          Jonesboro, AR
132. Connecticut Lottery              3/6/98 CC/MJ/VP/WaPo     Yes          No                   4                0                 4           5         Yes          1
          Newington, CT
133. Caltrans Maintenance Yard      12/18/97 CC/MJ/VP/WaPo     Yes          Yes                  4                2                 6        144          Yes          1
          Orange, CA
134. Erie Manufacturing              12/3/97 VP                -            No                   4                0                 4         12 ag       -             -
          Bartow, FL
135. R.E. Phelon Company             9/15/97 CC/MJ/VP/WaPo     No           No                   4                3                 7              -      No           1
          Aiken, SC
136. News and Sentinel               8/20/97 VP/WaPo           -            Yes                  4                4                 8              -      -            2
          Colebrook, NH
137. Fire Station                    4/25/96 VP/WaPo           -            No                   5                3                 8              -      -            3
          Jackson, MS
138. Fort Lauderdale                  2/9/96 CC/MJ/VP/WaPo     No           No                   5                1                 6         14 ah       Yes          2
          Fort Lauderdale, FL
139. Little Chester Shoes           12/19/95 VP/WaPo           Yes          No                   5                3                 8              -      -            1
          New York, NY
140. Piper Technical Center          7/19/95 CC/VP/WaPo        Yes          No                   4                0                 4              -      -             -
          Los Angeles, CA
141. Walter Rossler Company           4/3/95 CC/MJ/VP/WaPo     No           No                   5                0                 5              -      Yes          2
          Corpus Christi, TX
142. Puppy creek                    12/31/94 VP                -            -                    5                1                 6              -      -             -
          Hoke County, NC
143. Air Force Base                  6/20/94 CC/MJ/VP/WaPo     Yes          Yes                  4            23                27            50 ai       Yes          1
          Fairchild Base, WA




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                                                           Exhibit B
                                                   Public Mass Shootings Data
                                                        1982 – Oct. 2022
                                                             Large                                                          Total                       Gun(s) Offender(s)'
                                                            Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                     a             b                c                c                 c           d            e
             Case and Location       Date        Source     Mag.?        Weapon?       Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                     (1)             (2)           (3)        (4)           (5)           (6)              (7)               (8)            (9)          (10)       (11)

144. Chuck E. Cheese               12/14/93 CC/MJ/VP/WaPo     No           No                   4                1                 5              -      -            1
         Aurora, CO
145. Long Island Railroad           12/7/93 CC/MJ/VP/WaPo     Yes          No                   6            19                25            30          Yes          1
         Garden City, NY
146. Unemployment Office            12/2/93 VP/WaPo           -            -                    4                4                 8              -      -             -
         Oxnard, CA
147. Family Fitness Club           10/14/93 VP/WaPo           -            No                   4                0                 4              -      Yes          1
         El Cajon, CA
148. Luigi's Restaurant              8/6/93 CC/MJ/VP/WaPo     No           No                   4                8             12                 -      Yes          3
         Fayetteville, NC
149. Washington County Bar           7/8/93 WaPo              -            -                    5                0                 5              -      -            1
         Jackson, MS
150. 101 California Street           7/1/93 CC/MJ/VP/WaPo     Yes          Yes                  8                6             14            75          No           3
         San Francisco, CA
151. Card club                      11/8/92 VP/WaPo           -            No                   6                1                 7              -      -            1
         Paso Robles, CA
152. Watkins Glen                  10/15/92 CC/MJ/VP/WaPo     No           No                   4                0                 4              -      Yes          1
         Watkins Glen, NY
153. Lindhurst High School           5/1/92 CC/MJ/VP/WaPo     No           No                   4            10                14                 -      Yes          2
         Olivehurst, CA
154. Phoenix                        3/15/92 VP                -            -                    4                0                 4              -      -             -
         Phoenix, AZ
155. Royal Oak Postal              11/14/91 CC/MJ/VP/WaPo     Yes          No                   4                4                 8              -      Yes          1
         Royal Oak, MI
156. Restaurant                    11/10/91 VP/WaPo           No           No                   4                0                 4           6 aj      No           1
         Harrodsburg, KY




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                                                                Exhibit B
                                                        Public Mass Shootings Data
                                                             1982 – Oct. 2022
                                                                    Large                                                          Total                       Gun(s) Offender(s)'
                                                                   Capacity     Assault                                         Fatalities &      Shots       Obtained Number of
                                                                            a             b                c                c                 c           d            e
              Case and Location            Date       Source       Mag.?        Weapon?       Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                      (1)                   (2)        (3)           (4)           (5)           (6)              (7)               (8)            (9)          (10)       (11)

157. University of Iowa                   11/1/91 CC/MJ/VP/WaPo      No           No                   5                1                 6              -      Yes          1
         Iowa City, IA
158. Luby's Cafeteria                     10/16/91 CC/MJ/VP/WaPo     Yes          No               23               20                43           100          Yes          2
         Killeen, TX
159. Post office                          10/10/91 VP/WaPo           Yes          Yes                  4                0                 4              -      -            2
         Ridgewood, NJ
160. GMAC                                 6/18/90 CC/MJ/VP/WaPo      Yes          No                   9                4             13            14          Yes          2
         Jacksonville, FL
161. Standard Gravure Corporation         9/14/89 CC/MJ/VP/WaPo      Yes          Yes                  8            12                20            21          Yes          5
         Louisville, KY
162. Stockton Schoolyard                  1/17/89 CC/MJ/VP/WaPo      Yes          Yes                  5            29                34           106          Yes          2
         Stockton, CA
163. Montefiore School                    9/22/88 VP/WaPo            No           No                   4                2                 6              -      -            1
         Chicago, IL
164. Old Salisbury Road                   7/17/88 VP/WaPo            -            No                   4                5                 9              -      -            1
         Winston-Salem, NC
165. ESL                                  2/16/88 CC/MJ/VP/WaPo      No           No                   7                4             11                 -      Yes          7
         Sunnyvale, CA
166. Shopping Centers                     4/23/87 CC/MJ/VP/WaPo      Yes          No                   6            14                20            40 ak       Yes          3
         Palm Bay, FL
167. United States Postal Service         8/20/86 CC/MJ/VP/WaPo      No           -                14                   6             20                 -      Yes          3
         Edmond, OK
168. Anchor Glass Container Corporation   3/16/85 VP/WaPo            No           No                   4                1                 5              -      -            1
         South Connellsville, PA
169. Other Place Lounge                   7/24/84 VP/WaPo            No           No                   4                1                 5              -      -            1
         Hot Springs, AR




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                                                            Exhibit B
                                                    Public Mass Shootings Data
                                                         1982 – Oct. 2022
                                                                 Large                                                          Total                       Gun(s) Offender(s)'
                                                               Capacity      Assault                                         Fatalities &      Shots       Obtained Number of
                                                                         a             b                c                c                 c           d            e
              Case and Location       Date        Source        Mag.?        Weapon?       Fatalities       Injuries          Injuries         Fired       Legally?     Guns
                     (1)              (2)           (3)           (4)           (5)           (6)              (7)               (8)            (9)          (10)       (11)

170. San Ysidro McDonald's           7/18/84 CC/MJ/VP/WaPo        Yes          Yes              21               19                40           257          Yes          3
         San Ysidro, CA
171. Dallas Nightclub                6/29/84 CC/MJ/VP/WaPo        Yes          No                   6                1                 7              -      No           1
         Dallas, TX
172. Alaska Mining Town              5/17/84 VP/WaPo              No           No                   7                0                 7              -      -            1
         Manley Hot Springs, AK
173. College Station                10/11/83 VP                   -            No                   6                0                 6              -      -             -
         Collge Station, TX
174. Alaska Back-County               3/1/83 VP/WaPo              -            No                   6                2                 8              -      -            2
         McCarthy, AK
175. Upper West Side Hotel            2/3/83 VP                   No           No                   4                1                 5              -      -            1
         New York, NY
176. The Investor                     9/6/82 WaPo                 -            No                   8                0                 8              -      -            1
         Noyes Island, AK
177. Welding Shop                    8/20/82 MJ/VP/WaPo           No           No                   8                3             11                 -      Yes          1
         Miami, FL
178. Western Transfer Co.             8/9/82 VP/WaPo              -            No                   6                4             10                 -      -            3
         Grand Prairie, TX
179. Russian Jack Springs Park        5/3/82 VP/WaPo              -            No                   4                0                 4              -      No           1
         Anchorage, AK

                                                                                      Total: 1,272           1,417              2,689

                                                   Large-Capacity Magazine Average:             10               16                25            99
                                             Non-Large-Capacity Magazine Average:                   6                3                 9         16

                                                              Assault Weapon Average:           12               24                36           149
                                                          Non-Assault Weapon Average:               6                4             10            38


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                                                                                   Exhibit B
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                                                                                1982 – Oct. 2022
                                                                                         Large                                                        Total                      Gun(s) Offender(s)'
                                                                                       Capacity      Assault                                      Fatalities &      Shots       Obtained Number of
                                                                                                 a             b              c               c                c            d            e
                 Case and Location                      Date           Source           Mag.?        Weapon?       Fatalities      Injuries         Injuries        Fired       Legally?     Guns
                          (1)                            (2)              (3)              (4)         (5)             (6)             (7)             (8)            (9)         (10)       (11)


Notes and Sources:
     Public Mass Shootings from Mother Jones ("US Mass Shootings, 1982-2022: Data from Mother Jones' Investigation," updated October 14, 2022). MJ indicates
     a mass shooting identified by Mother Jones.
     The Citizens Crime Commission of New York City ("Mayhem Multiplied: Mass Shooters and Assault Weapons," February 2018 update, and "Citizens Crime
     Commission of New York City, Mass Shooting Incidents in America (1984-2012)," accessed June 1, 2017). CC indicates a mass shooting identified by Citizens
     Crime Commission of New York City data.
     The Washington Post ("The Terrible Numbers That Grow With Each Mass Shooting,", updated May 12, 2021). WaPo indicates a mass shooting identified by
     The Washington Post.
     The Violence Project ("Mass Shooter Database," updated May 14, 2022). VP indicates a mass shooting identified by the Violence Project.
 a
     Large capacity magazines are those with a capacity to hold more than 10 rounds of ammunition. Stories from Factiva and Google searches reviewed to determine

     whether an LCM was involved.
 b
     See Exhibit C for details.
 c
     Offender(s) are not included in counts of fatalities and injuries. Stories from Factiva and Google searches reviewed to determine number of fatalities and injuries.
 d
     Except where noted, all data on shots fired obtained from CC.
 e
     The determination of whether guns were obtained legally is based on Mother Jones and The Washington Post reporting.
ba
     "'This is the norm in our country': Highland Park Mayor speaks to Senate committee about gun violence," CBS Chicago , July 20, 2022.
bb
     MJ reported "fewer than 10" injuries for this incident.
bc
     "Update: Man among those killed held door to allow others to escape, Tulsa police chief says," TulsaWorld , June 2, 2022.




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                                                                                  Exhibit B
                                                                          Public Mass Shootings Data
                                                                               1982 – Oct. 2022
                                                                                       Large                                                       Total                     Gun(s) Offender(s)'
                                                                                      Capacity     Assault                                      Fatalities &    Shots       Obtained Number of
                                                                                               a             b               c              c               c           d            e
                Case and Location                      Date           Source           Mag.?       Weapon?          Fatalities   Injuries        Injuries       Fired       Legally?     Guns
                          (1)                           (2)              (3)             (4)          (5)              (6)          (7)             (8)          (9)          (10)       (11)

bd
     "The gunman in Uvalde carried more ammunition into Robb Elementary School than a U.S. soldier carries into combat," CBS News , May 27, 2022. Note the

     number of shots fired has been updated since Allen 2022 in Duncan v. Rob Bonta which listed 315 shots fired based on the number of rounds found at the school.
be
     "Uvalde gunman legally bought AR rifles days before shooting, law enforcement says," The Texas Tribune , May 25, 2022.
bf
     "Buffalo shooting suspect says his motive was to prevent 'eliminating the white race'," NPR , June 16, 2022.
bg
     "Sacramento Church Mass Shooting Follows Disturbing Trend of Domestic Violence, Mass Shooting Connection; Rise of Ghost Guns," Everytown , March 7, 2022.
bh
     "Oxford High School shooter fired 30 rounds, had 18 more when arrested, sheriff says," Fox2Detroit , December 1, 2021.
bi
     "Father of suspected Oxford High School shooter bought gun 4 days before shooting," Fox 2 Detroit , December 1, 2021.
bj
     "VTA shooter fired 39 rounds during attack; carried 32 high-capacity magazines," KTVU Fox 2 , May 27, 2021.
bk
     "Sam Cassidy legally owned guns used in San Jose VTA shooting: Sheriff," Kron4 , May 28, 2021.
bl
     "Colorado Springs shooter who killed 6 at party had “displayed power and control issues,” police say," The Denver Post , May 11, 2021.
bm
     "Indianapolis FedEx Shooter Who Killed 4 Sikhs Was Not Racially Motivated, Police Say," NPR , July 28, 2021.
bn
     "Police Investigate Three Separate Fatal Shooting Incidents In Baltimore County," Baltimore County Government Website , March 29, 2021.
bo
     "Atlanta Shooting Suspect Bought Gun on Day of Rampage," Courthouse News , March 26, 2021.
bp
     "Search warrant reveals new information in Springfield Kum & Go shooting," Springfield News-Leader , April 8, 2020.
bq
     "'There was no warning this was going to happen,' Miller shooting witnesses told investigators," WISN 12 News , November 24, 2020.
br
     "Milwaukee Miller brewery shooting: Six Molson Coors workers, including shooter, dead in rampage," Milwaukee Journal Sentinel , February 26, 2020.
 f
     "The Dayton gunman killed 9 people by firing 41 shots in 30 seconds. A high-capacity rifle helped enable that speed," CNN , August 5, 2019.



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                                                                                Exhibit B
                                                                        Public Mass Shootings Data
                                                                             1982 – Oct. 2022
                                                                                     Large                                                        Total                     Gun(s) Offender(s)'
                                                                                   Capacity      Assault                                       Fatalities &    Shots       Obtained Number of
                                                                                             a              b              c               c               c           d            e
               Case and Location                     Date           Source          Mag.?        Weapon?        Fatalities      Injuries        Injuries       Fired       Legally?     Guns
                        (1)                           (2)              (3)             (4)         (5)             (6)             (7)             (8)          (9)          (10)       (11)

g
    "Authorities Describe 'Confusion And Chaos' At Borderline Bar Shooting In California," NPR , November 28, 2018.
h
    "Suspect in quadruple killing at car wash dies," CNN, January 30, 2018.
i
    "California gunman fired 30 rounds at elementary school, left when he couldn't get inside," ABC News , November 15, 2017.
j
    "'Be quiet! It's him!' Survivors say shooter walked pew by pew looking for people to shoot," CNN , November 9, 2017.
k
    "Sheriff Says More than 1,100 Rounds Fired in Las Vegas," Las Vegas Review Journal , November 22, 2017
l
    "Fort Lauderdale Shooting Suspect Appears in Court, Ordered Held Without Bond," Washington Post , January 9, 2017.
m
    "'We Thought It Was Part of the Music': How the Pulse Nightclub Massacre Unfolded in Orlando," The Telegraph , June 13, 2016.
n
    "Two men charged with homicide in connection with Wilkinsburg backyard ambush," Pittsburgh's Action News , June 24, 2016.
o
    "San Bernardino Suspects Left Trail of Clues, but No Clear Motive," New York Times , December 3, 2015.
p
    "Sheriff: Elliot Rodger Fired 50-plus Times in Isle Vista Rampage," Los Angeles Times , June 4, 2014.
q
    "Shooter Set $10,000 on Fire in Hialeah Shooting Rampage," NBC News , July 28, 2013.
r
    "Police Call Santa Monica Gunman 'Ready for Battle,'" New York Times , June 8, 2013.
s
    "Questions linger in slayings; investigation continues in rampage as community searches for answers on why gunman shot eight people," The Beacon Journal ,

    August 14, 2011.
t
    "Kentucky Tragedy: Man Kills Wife, Five Others, in Rampage Over Cold Eggs, Say Cops," CBS News , September 13, 2010.
u
    "Ex-gang member guilty of shooting 5 in deadly 17-second rampage," NBC , April 1, 2011.
v
    "Hialeah Gunman's Rage Over Estranged Wife Leaved 5 Dead," Sun-Sentinel , June 7, 2010.



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                                                                                  Exhibit B
                                                                          Public Mass Shootings Data
                                                                               1982 – Oct. 2022
                                                                                        Large                                                     Total                     Gun(s) Offender(s)'
                                                                                     Capacity      Assault                                     Fatalities &    Shots       Obtained Number of
                                                                                               a             b              c              c               c           d            e
                Case and Location                      Date           Source            Mag.?      Weapon?         Fatalities   Injuries        Injuries       Fired       Legally?     Guns
                          (1)                           (2)              (3)             (4)          (5)             (6)          (7)             (8)          (9)          (10)       (11)

w
     "Man convicted of killing 4 at Los Angeles restaurant," Associated Press , March 15, 2016.
x
     "4 Victims In Mount Airy Shooting Related, Police Say," WXII 12 News , November 2, 2009.
 y
     "Arrested suspect might have warned of Santa Maria shooting", Associated Press , March 20, 2008.
 z
     "Profile: New information released on Matthew Murray, gunman in church-related shootings in Colorado; Larry Bourbannais, wounded in one of the shootings,

     discusses his experience," NBC News, December 11, 2007.
aa
     "Small Town Grieves for 6, and the Killer," Los Angeles Times , October 9, 2007.
ab
     "National Briefing | Midwest: Ohio: Shooter At Club May Have Reloaded," New York Times , January 15, 2005.
ac
     "Sixth person dies of injuries from shooting at Kansas meatpacking plant," Associated Press , July 3, 2004.
ad
     "Four Killed In Oldtown Shooting," The Miner , October 30, 2003.
ae
     "Sacramento shooter unscathed before killing self, autopsy shows," Associated Press , September 14, 2001.
af
     "Gunman kills 3, wounds 4 in Rifle rampage; mental patient is arrested," The Denver Post , April 2, 2015.
ag
     "Unfinished business," Dateline NBC , December 21, 2006.
ah
     "5 Beach Workers in Florida are Slain by Ex-Colleague," New York Times , February 10, 1996.
ai
     "Man Bent On Revenge Kills 4, Hurts 23 -- Psychiatrist Is First Slain In Rampage At Fairchild Air Force Base," The Seattle Times , June 21, 1994.
aj
     "Man Killed Estranged Wife, Three Others as They Drove to Dinner," Associated Press , November 11, 1991.
ak
     "6 Dead in Florida Sniper Siege; Police Seize Suspect in Massacre," Chicago Tribune , April 25, 1987.




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                                 Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 58 of 926 PageID: 2846
                                                                                      Exhibit C
                                                                    List of Firearms Used in Public Mass Shootings
                                                                                   1982 – Oct. 2022
                                                                                                            Weapon Description From                                                       Assault
                                                                                                      a                                     b                                 c                     d
               Case                  Location         Date                  Citizens Crime Commission                        Mother Jones                    Washington Post             Weapon?

                (1)                      (2)           (3)                             (4)                                          (5)                               (6)                   (7)



 1. Raleigh spree shooting       Hedingham, NC       10/13/22                                                       shotgun, semiautomatic handgun                                         -
      Highland Park July 4                                                                                          AR-15 style rifle, possibly
 2.                              Highland Park, IL     7/4/22                                                                                                                              -
      parade shooting                                                                                               modified for rapid fire
      Tulsa medical center
 3.                              Tulsa, OK             6/1/22                                                       AR-15 style rifle                                                      -
      shooting
      Robb Elementary School
 4.                              Uvalde, TX           5/24/22                                                       semiautomatic rifles                                                   Yes ca
      massacre
      Buffalo supermarket                                                                                           Bushmaster XM-15
 5.                              Buffalo, NY          5/14/22                                                                                                                              Yes
      massacre                                                                                                      semiautomatic rifle
      Sacramento County church
 6.                              Sacramento, CA       2/28/22                                                       AR-15-style "ghost gun"                                                -
      shooting
      Oxford High School
 7.                              Oxford, MI          11/30/21                                                       Sig Sauer 9mm pistol                                                   No cb
      shooting
 8. San Jose VTA shooting        San Jose, CA         5/26/21                                                       semiautomatic handguns                                                 No cc
      Canterbury Mobile Home     Colorado Springs,
 9.                                                    5/9/21                                                                                        Smith & Wesson handgun                -
      Park shooting              CO
                                                                                                                                                     Ruger AR 556, HM Defense
10. FedEx warehouse shooting     Indianapolis, IN     4/15/21                                                       semiautomatic rifle                                                    Yes cd
                                                                                                                                                     HM15F Rifle
    Orange office complex
11.                              Orange, CA           3/31/21                                                       semiautomatic handgun            Glock semiautomatic handgun           -
    shooting
    Essex Royal Farms            Baltimore County,
12.                                                   3/28/21                                                                                        -                                     -
    shooting                     MD
    King Soopers supermarket
13.                              Boulder, CO          3/22/21                                                       Ruger AR-556                     Ruger AR 556 pistol, 9mm pistol       Yes ce
    shooting
    Atlanta massage parlor
14.                              Atlanta, GA          3/16/21                                                       semiautomatic handgun            9mm handgun                           -
    shootings
15. Hyde Park shooting           Chicago, IL           1/9/21                                                                                        .45-caliber pistol                    -
    Englewood block party
16.                              Chicago, IL           7/4/20                                                                                        -                                     -
    shooting
    Springfield convenience                                                                                         SKS 7.62-caliber rifle; Glock
17.                              Springfield, MO      3/15/20                                                                                        Glock 9mm, SKS 7.62-caliber rifle     -
    store shooting                                                                                                  9mm
18. Molson Coors shooting        Milwaukee, WI        2/26/20                                                       semiautomatic handgun            Handgun                               -
                                                                                                                                                     mossberg 12-gauge; .22-caliber
    Jersey City Kosher                                                                                                                               ruger Mark IV; AR-15-style rifle;
19.                              Jersey City, NJ     12/10/19   -                                                   -                                                                      No
    Supermarket                                                                                                                                      Ruger 9mm semiautomatic pistol;
                                                                                                                                                     9mm glock 17

20. Football-watching party      Fresno, CA          11/17/19   -                                                   -                                two semiautomatic handguns            No


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                                 Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 59 of 926 PageID: 2847
                                                                                    Exhibit C
                                                                  List of Firearms Used in Public Mass Shootings
                                                                                 1982 – Oct. 2022
                                                                                                          Weapon Description From                                                            Assault
                                                                                                    a                                       b                                      c                     d
                Case                 Location       Date                  Citizens Crime Commission                        Mother Jones                         Washington Post             Weapon?

                 (1)                     (2)         (3)                             (4)                                          (5)                                     (6)                  (7)

21. Halloween Party              Orinda, CA         11/1/19   -                                                   -                                      -                                    -
22. Tequila KC bar               Kansas City, KS    10/6/19   -                                                   -                                      Handgun                              No

23. Midland-Odessa Highways      Odessa, TX         8/31/19   -                                                   semiautomatic rifle                    AR-style rifle                       Yes e
                                                                                                                                                         23 caliber anderson AM-15 pistol
                                                                                                                  AR-15-style rifle, with a 100-
24. Dayton                       Dayton, OH          8/4/19   -                                                                                          modified to function like an AR-     Yes cf
                                                                                                                  round capacity ammunition drum
                                                                                                                                                         15 rifle, shotgun
25. El Paso Walmart              El Paso, TX         8/3/19   -                                                   AK-47-style rifle, per authorities     7.62 caliber AK-47 style rifle       Yes
      Casa Grande Senior
26.                              Santa Maria, CA    6/19/19   -                                                   -                                      -                                    -
      Mobile Estates
                                                                                                                  .45-caliber handguns; noise
      Virginia Beach Municipal   Virginia Beach,                                                                                                         .45 caliber handgun with noise
27.                                                 5/31/19   -                                                   suppressor (silencer); several high-                                        No
      Center                     VA                                                                                                                      suppressor, .45 caliber handgun
                                                                                                                  capacity magazines
                                                                                                                  Smith & Wesson handgun, with a         .40-caliber Smith & Wesson
28. Henry Pratt Co.              Aurora, IL         2/15/19   -                                                                                                                               No
                                                                                                                  green sighting laser                   semiautomatic handgun
29. SunTrust Bank                Sebring, FL        1/23/19   -                                                   9 mm handgun                           9mm semiautomatic handgun            No
                                 Thousand Oaks,                                                                   Glock 21, .45 caliber; high-
30. Borderline Bar & Grill                          11/7/18   -                                                                                          Glock 21 .45-caliber handgun         No
                                 CA                                                                               capacity magazine
                                                                                                                                                         Colt AR-15 semiautomatic rifle;
31. Tree of Life Synagogue       Pittsburgh, PA    10/27/18   -                                                   AR-15; Glock .357                                                           Yes f
                                                                                                                                                         three glock .357 pistols
32. T&T Trucking                 Bakersfield, CA    9/12/18   -                                                   -                                      .50-caliber Smith & Wesson 500       No g

33. Capital Gazette              Annapolis, MD      6/28/18   -                                                   12-gauge pump-action shotgun           2 gauge shotgun                      No
34. Santa Fe High School         Santa Fe, TX       5/18/18   -                                                   shotgun; .38 revolver                  .38 caliber revolver, shotgun        No

35. Waffle House                 Nashville, TN      4/22/18   -                                                   AR-15                                  AR-15-style semiautomatic rifle      Yes h

36. Detroit                      Detroit, MI        2/26/18   -                                                   -                                      -                                    No

                                                                                                                                                         .223 caliber smith & wesson M&P
37. Stoneman Douglas HS          Parkland, FL       2/14/18   -                                                   AR-15                                                                       No i
                                                                                                                                                         15 semiautomatic ar 15 rifle

                                                                                                                  semiautomatic rifle and                AR-15 .223-caliber semiautomatic            j
38. Pennsylvania Carwash         Melcroft, PA       1/28/18   -                                                                                                                               -
                                                                                                                  semiautomatic handgun                  rifle; 9mm handgun
                                 Rancho Tehama,                                                                                                          two semiautomatic rifles; two
39. Rancho Tehama                                  11/14/17   -                                                   Two illegally modified rifles                                               Yes k
                                 CA                                                                                                                      handguns




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                                 Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 60 of 926 PageID: 2848
                                                                                    Exhibit C
                                                                  List of Firearms Used in Public Mass Shootings
                                                                                 1982 – Oct. 2022
                                                                                                          Weapon Description From                                                        Assault
                                                                                                    a                                     b                                    c                   d
                Case                 Location       Date                  Citizens Crime Commission                        Mother Jones                      Washington Post            Weapon?

                 (1)                     (2)         (3)                             (4)                                         (5)                                  (6)                  (7)

                                                                                                                  Ruger AR-556; Kelley also
                                 Sutherland                                                                       possessed semiautomatic            9mm Glock pistol; Ruger .22-
40. Texas First Baptist Church                      11/5/17   -                                                                                                                           Yes l
                                 Springs, TX                                                                      handguns                           caliber; Ruger AR-556

                                                                                                                  AR-15-style and AK-47-style
                                                                                                                  rifles and "a large cache of
                                                                                                                  ammunition"; four Daniel
41. Las Vegas Strip              Las Vegas, NV      10/1/17   -                                                                                      -                                    Yes m
                                                                                                                  Defense DDM4 rifles, three FN-
                                                                                                                  15s and other rifles made by Sig
                                                                                                                  Sauer.
      Taos and Rio Arriba
42.                              Abiquiu, NM        6/15/17   -                                                   -                                  .38 caliber revolver                 No
      counties
                                                                                                                                                     semiautomatic rifle (2); handgun
43. Fiamma Workplace             Orlando, FL         6/5/17   -                                                   semiautomatic handgun                                                   No
                                                                                                                                                     (2)
44. Marathon Savings Bank        Rothschild, WI     3/22/17   -                                                   -                                  Rifle, handgun                       No
45. Club 66                      Yazoo City, MS      2/6/17   -                                                   -                                  -                                    -
                                 Fort Lauderdale,                                                                 Walther 9mm semi-automatic
46. Fort Lauderdale Airport                          1/6/17   -                                                                                      9mm semiautomatic handgun            No
                                 FL                                                                               pistol
47. Cascade Mall                 Burlington, WA     9/23/16   -                                                   Ruger .22-caliber                  Ruger .22-caliber rifle              No n
                                                                                                                  Izhmash-Saiga 5.45mm (AK-
                                                                                                                  style) semiautomatic rifle with
48. Dallas Police                Dallas, TX          7/7/16   -                                                   large capacity magazines; Glock    SKS-type semiautomatic rifle         Yes o
                                                                                                                  9mm handgun, .25-caliber
                                                                                                                  semiautomatic handgun
49. Walgreens Parking Lot        Las Vegas, NV      6/29/16   -                                                   -                                  -                                    -
                                                                                                                  Sig Sauer MCX rifle, Glock 17      .223-caliber Sig Sauer MCX
50. Orlando Nightclub            Orlando, FL        6/12/16   -                                                   9mm; high-capacity magazines       semiautomatic rifle; 9mm             Yes p
                                                                                                                  (30 rounds)                        semiautomatic glock 17 pistol
                                                                                                                                                     AK-47-style rifle, .40-caliber
51. Franklin Avenue Cookout      Wilkinsburg, PA     3/9/16   -                                                   -                                                                       Yes
                                                                                                                                                     handgun
                                 Kalamazoo                                                                        9 mm handgun (ammo used            Walther P-99 9mm semiautomatic
52. Kalamazoo                                       2/20/16   -                                                                                                                           No
                                 County, MI                                                                       unclear)                           handgun
                                                                                                                  Two semiautomatic AR-15-style
                                                                                                                  rifles—one a DPMS A-15, the        DPMS AR-15-style rifle; Smith
                                                                                                                  other a Smith & Wesson             & Wesson M&P AR-15-style
                                 San Bernardino,
53. San Bernardino                                  12/2/15   -                                                   M&P15, both with .223 calibre      rifle; Llama semiautomatic 9mm       Yes q
                                 CA
                                                                                                                  ammunition. Two 9mm                pistol; Smith & Wesson
                                                                                                                  semiautomatic handguns. High       semiautomatic 9mm pistol
                                                                                                                  capacity magazines.


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                             Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 61 of 926 PageID: 2849
                                                                                  Exhibit C
                                                                List of Firearms Used in Public Mass Shootings
                                                                               1982 – Oct. 2022
                                                                                                        Weapon Description From                                                          Assault
                                                                                                  a                                       b                                      c                 d
                 Case            Location         Date                  Citizens Crime Commission                          Mother Jones                      Washington Post            Weapon?

                 (1)                (2)            (3)                             (4)                                          (5)                                   (6)                  (7)

      Tennessee Colony       Anderson County,
54.                                              11/15/15   -                                                   -                                   -                                     -
      campsite               TX
                                                                                                                9 mm Glock pistol, .40 caliber
      Umpqua Community                                                                                          Smith & Wesson, .40 caliber
55.                          Roseburg, OR         10/1/15   -                                                                                       rifle; five pistols                   No r
      College                                                                                                   Taurus pistol, .556 caliber Del-
                                                                                                                Ton; (ammo details unclear)
                                                                                                                                                    AR-15-style semiautomatic rifle;
      Chattanooga Military                                                                                      AK-47, AR-15, and 30-round
56.                          Chattanooga, TN      7/16/15   -                                                                                       9mm pistol; AK-47-type                Yes s
      Center                                                                                                    magazines; 9mm handgun
                                                                                                                                                    semiautomatic rifle
                                                                                                                .45-caliber Glock (model 41, with
57. Charleston Church        Charleston, SC       6/17/15   -                                                                                       .45-caliber glock 41 pistol           No
                                                                                                                13-round capacity magazine)

58. Marysville High School   Marysville, WA      10/24/14   -                                                   Beretta .40-caliber handgun         .40-caliber beretta pistol            No
                                                                                                                Two Sig Sauer P226
                                                                                                                semiautomatic pistols and Glock
                                                                                                                34 pistol, and hundreds of rounds   Sig Sauer P226s pistol; Glock 34
59. Isla Vista               Santa Barbara, CA    5/23/14   -                                                                                                                             No
                                                                                                                of ammo. A 6- inchand 8-inch        pistol; Sig Sauer P226s pistol
                                                                                                                “SRK” and “Boar Hunter” hunting
                                                                                                                knives.
60. Alturas Tribal           Alturas, CA          2/20/14   -                                                   9mm semi-automatic handgun          Unknown                               No

                                                                                                                Remington 870 Express 12-gauge      beretta pistol; Remington 970
61. Washington Navy Yard     Washington, D.C.     9/16/13   -                                                                                                                             No
                                                                                                                shotgun; Beretta handgun            Express 12-gauge shotgun

62. Hialeah                  Hialeah, FL          7/26/13   -                                                   Glock 17                            Glock 17 pistol                       No

                                                                                                                .223-caliber semi-automatic
                                                                                                                                                    Black powder .33-caliber
                                                                                                                assault rifle, about 40 high
63. Santa Monica             Santa Monica, CA      6/7/13   -                                                                                       handgun; AR-15 type .223-             Yes t
                                                                                                                capacity magazines, "black
                                                                                                                                                    caliber semiautomatic rifle
                                                                                                                powder" handgun (likely antique)
                                                                                                                .40 caliber semi-automatic          .40 caliber semiautomatic pistol;
64. Federal Way              Federal Way, WA      4/21/13   -                                                                                                                             No u
                                                                                                                handgun, pistol grip shotgun        pistol grip shotgun
                             Herkimer County,
65. Upstate New York                              3/13/13   -                                                   Unknown                             Unknown                               No v
                             NY




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                             Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 62 of 926 PageID: 2850
                                                                             Exhibit C
                                                           List of Firearms Used in Public Mass Shootings
                                                                          1982 – Oct. 2022
                                                                                                                  Weapon Description From                                                         Assault
                                                                                                        a                                          b                                  c                     d
              Case               Location       Date                     Citizens Crime Commission                                  Mother Jones                     Washington Post             Weapon?

               (1)                  (2)          (3)                                    (4)                                               (5)                                (6)                    (7)

                                                          An unknown make and model .22-caliber rifle, a
                                                          Bushmaster XM15 .223-caliber semiautomatic assault
                                                          rifle equipped with a 30-round large capacity ammunition
                                                          magazine, and a GLOCK 10mm handgun were used.                                                       9mm SIG Sauer P226 pistol
                                                                                                                            10mm Glock, 9mm SIG Sauer
                                                          According to the Danbury State's Attorney, police also                                              ;Savage Mark II bolt-action .22-
                                                                                                                            P226 semiautomatic handguns;
                                                          recovered in Lanza's possession a SIG SAUER P226 9mm                                                caliber rifle; .223 Bushmaster
                                                                                                                            .223 Bushmaster XM15-E2S
66. Newtown School           Newtown, CT       12/14/12   handgun and three loaded 30-round large capacity ammunition                                         XM15-E2S semiautomatic rifle;        Yes w
                                                                                                                            semiautomatic rifle; Izhmash
                                                          magazines for the Bushmaster. Six additional 30-round large                                         izhmash Saiga 12-gauge
                                                                                                                            Saiga-12 12-gauge semiautomatic
                                                          capacity ammunition magazines were recovered at the scene.                                          semiautomatic shotgun; 10mm
                                                                                                                            shotgun
                                                          A loaded unknown make and model 12-gauge shotgun was                                                Glock pistol
                                                          found in the passenger compartment of the car (later moved to
                                                          the trunk by police). All of the guns used in the shooting were
                                                          purchased by Lanza's mother.

                                                          GLOCK 19 9mm semiautomatic pistol equipped with a 15-
                                                          round large capacity ammunition magazine. Engeldinger
                                                          purchased the firearm one year before the shooting at KGS
                                                                                                                            9mm Glock semiautomatic
67. Accent Signage Systems   Minneapolis, MN    9/27/12   Guns and Ammo in Minneapolis after passing a background                                             9mm glock pistol                     No
                                                                                                                            handgun
                                                          check and obtaining a permit to purchase. Police reportedly
                                                          found packaging for 10,000 rounds of ammunition and
                                                          another handgun in Engeldinger's home.


                                                          Springfield Armory XD(M) 9mm semiautomatic handgun
                                                          equipped with a 19-round large capacity ammunition
                                                          magazine. Weeks before the shooting, Wade legally purchased
                                                          the handgun and three 19-round large capacity ammunition
                                                          magazines from a federal firearms licensed dealer in nearby
                                                          West Allis, WI. According to media reports, Wade served in
                                                          the U.S. Army from 1992 until 1998, when he was given an
                                                                                                                            9mm Springfield Armory XDM        9mm springfield armory XDM
68. Sikh Temple              Oak Creek, WI       8/5/12   other-than-honorable discharge or general discharge. In 1994,                                                                            No
                                                                                                                            semiautomatic handgun             pistol
                                                          while stationed at Fort Bliss in Texas, he was arrested by El
                                                          Paso police, and pled guilty to a misdemeanor charge of
                                                          criminal mischief. Federal law does not prohibit persons with
                                                          convictions for misdemeanors other than domestic violence
                                                          misdemeanors or persons who have been discharged from the
                                                          military for reasons other than "dishonorably" from
                                                          purchasing firearms.




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                                                              List of Firearms Used in Public Mass Shootings
                                                                             1982 – Oct. 2022
                                                                                                                Weapon Description From                                                            Assault
                                                                                                      a                                          b                                     c                     d
                 Case          Location         Date                     Citizens Crime Commission                                Mother Jones                       Washington Post              Weapon?

                   (1)            (2)            (3)                                   (4)                                               (5)                                  (6)                    (7)


                                                          A Smith & Wesson M&P15 assault rifle equipped with a
                                                          100-round drum large capacity ammunition magazine, a
                                                          Remington Model 870 12-gauge pump shotgun, and two
                                                                                                                         Two .40-caliber Glock
                                                          GLOCK .40 caliber handguns, were recovered at the scene by                                         .40-caliber glock pistol; 12-gauge
                                                                                                                         semiautomatic handguns; .223-
                                                          police. In the months leading to the shooting, Holmes                                              pump-action Remington 870
                                                                                                                         caliber Smith & Wesson
69. Aurora Movie Theater   Aurora, CO           7/20/12   purchased the weapons and 6,000-rounds of ammunition at                                            shotgun; .223-caliber Smith &          Yes x
                                                                                                                         M&P15 semiautomatic rifle; 12-
                                                          gun shops and over the Internet. In addition to the weapons                                        Wesson M&P15 semiautomatic
                                                                                                                         gauge Remington 870 pump-
                                                          used in the shooting, Holmes booby-trapped his apartment,                                          AR-15-style rifle
                                                                                                                         action shotgun
                                                          rigging trip wire to detonate 30 plastic shells stuffed with
                                                          gunpowder, several glass jars filled with gasoline and
                                                          gunpowder, and 10 gallons of gasoline in canisters.
                                                                                                                         Two .45-caliber semiautomatic
70. Seattle Café           Seattle, WA          5/30/12   -                                                                                                  .45-caliber pistol (2)                 No
                                                                                                                         handguns
                                                                                                                         .45-caliber semiautomatic
71. Oikos University       Oakland, CA           4/2/12   -                                                                                                  .45-caliber pistol                     No
                                                                                                                         handgun
                                                                                                                         .45-caliber semiautomatic
72. Su Jung Health Sauna   Norcross, GA         2/22/12   -                                                                                                  -                                      No
                                                                                                                         handgun
                                                                                                                         .45-caliber Heckler & Koch, 9mm
                                                                                                                         Springfield semiautomatic
73. Seal Beach             Seal Beach, CA      10/14/11   -                                                                                                  -                                      No
                                                                                                                         handguns; .44 Magnum Smith &
                                                                                                                         Wesson revolver

                                                          AK-47 type assault rifle equipped with a 30-round large        AK-47 Norinco Arms variant,
                                                                                                                                                             AK-47 variant semiautomatic
74. IHOP                   Carson City, NV       9/6/11   capacity ammunition magazine. Two additional guns and two      AK-47 Romarm Cugir variant                                                 Yes y
                                                                                                                                                             rifle
                                                          more magazines were found in his vehicle.                      rifles; .38-caliber Colt revolver

75. Akron                  Akron, OH             8/7/11   -                                                              -                                   -                                      No z

76. Forum Roller World     Grand Prairie, TX    7/23/11   -                                                              -                                   -                                      No aa
                                                          GLOCK 9mm semiautomatic pistol (unknown model)
                                                                                                                         -
77. Grand Rapids           Grand Rapids, MI      7/7/11   equipped with a 30-round large capacity ammunition                                                 -                                      No
                                                          magazine.
78. Family law practice    Yuma, AZ              6/2/11   -                                                              -                                   -                                      -

                                                          GLOCK 19 9mm semiautomatic pistol equipped with a 33-
                                                          round large capacity ammunition magazine. Loughner was
                                                          also carrying two 15-round large capacity ammunition
                                                                                                                         9mm Glock 19 semiautomatic
79. Tucson                 Tucson, AZ            1/8/11   magazines, and a knife. The ATF determined Loughner legally                                        9mm glock 19 pistol                    No
                                                                                                                         handgun
                                                          purchased the GLOCK pistol with an extended magazine and
                                                          one box of Winchester ammunition on November 30, 2010,
                                                          from Sportsman's Warehouse in Tucson.

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                                                                 List of Firearms Used in Public Mass Shootings
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                                                                                                                   Weapon Description From                                                       Assault
                                                                                                         a                                           b                                  c                  d
                 Case               Location       Date                     Citizens Crime Commission                                Mother Jones                    Washington Post            Weapon?

                  (1)                  (2)          (3)                                   (4)                                               (5)                              (6)                   (7)

80. Jackson                     Jackson, KY        9/11/10   -                                                               -                               -                                    No ab
81. City Grill                  Buffalo, NY        8/14/10   -                                                               -                               9mm pistol                           No
                                                             Two Ruger SR9 9mm semiautomatic pistols equipped with 17-
                                                                                                                             Two 9mm Ruger SR9
82. Hartford Beer Distributor   Manchester, CT      8/3/10   round magazines. Thornton purchased both firearms legally                                       9mm Ruger SR9 pistol (2)             No
                                                                                                                             semiautomatic handguns
                                                             from an East Windsor, CT gun dealer.
                                                                                                                             -
83. Yoyito Café                 Hialeah, FL         6/6/10   -                                                                                               .45-caliber Glock pistol             No ac

84. Hot Spot Café               Los Angeles, CA     4/3/10   -                                                               -                               -                                    No ad
                                                                                                                             9mm Glock 17 semiautomatic
                                                                                                                                                             .38-caliber Smith & Wesson
85. Coffee Shop Police          Parkland, WA      11/29/09   -                                                               handgun; .38-caliber Smith &                                         No
                                                                                                                                                             revolver; 9mm Glock 17 pistol
                                                                                                                             Wesson revolver
                                                             FN Herstal 5.7 Tactical Pistol equipped with 20-round large
                                                             capacity ammunition magazine. When Hasan was
                                                             apprehended, investigators found in his possession 177-rounds
                                                             in 30-round and 20-round large capacity ammunition              FN Five-seven semiautomatic
86. Fort Hood                   Fort Hood, TX      11/5/09                                                                                                   FN Five-seven pistol                 No
                                                             magazines, another handgun, a revolver, and two gunsights       handgun
                                                             (for different lighting conditions). Hasan purchased the FN
                                                             Herstal 5.7 Tactical Pistol legally at Guns Galore, a shop in
                                                             Killeen, TX
87. Worth Street                Mount Airy, NC     11/1/09   -                                                               -                               High-powered assault-style rifle     Yes
                                                             Beretta .45-caliber semiautomatic pistol, Beretta 9mm
                                                                                                                             9mm Beretta, .45-caliber
                                                             semiautomatic pistol (models unknown), and two 30-round                                         9mm Beretta pistol; .45-caliber
88. Binghamton                  Binghamton, NY      4/3/09                                                                   Springfield semiautomatic                                            No
                                                             large capacity ammunition magazines and two 15-round large                                      Springfield pistol
                                                                                                                             handguns
                                                             capacity ammunition magazines.
                                                                                                                                                             .357 magnum revolver;
                                                                                                                             Winchester 1300 pump-action
89. Carthage Nursing Home       Carthage, NC       3/29/09   -                                                                                               Winchester 1300 pump-action          No
                                                                                                                             shotgun; .357 Magnum revolver
                                                                                                                                                             shotgun
                                                                                                                                                             lever-action winchester rifle,
90. Skagit County               Alger, WA           9/2/08   -                                                               -                                                                    No
                                                                                                                                                             handgun
                                                                                                                             .45-caliber Hi-Point
91. Atlantis Plastics           Henderson, KY      6/25/08   -                                                                                               .45-caliber Hi-Point pistol          No
                                                                                                                             semiautomatic handgun
92. Black Road Auto             Santa Maria, CA    3/18/08   -                                                               -                               semiautomatic handgun                No




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                                                                                                                       Weapon Description From                                                          Assault
                                                                                                             a                                          b                                   c                     d
                Case                 Location        Date                      Citizens Crime Commission                                 Mother Jones                    Washington Post               Weapon?

                 (1)                    (2)           (3)                                    (4)                                               (5)                                (6)                     (7)

                                                               SIG SAUER Kurz 9mm semiautomatic pistol, Hi-Point CF380
                                                               .380 caliber semiautomatic pistol, GLOCK 19 9mm
                                                               semiautomatic pistol, Remington Sportsman 48 12-gauge
                                                                                                                                 9mm Glock 19, Hi-Point CF380,
                                                               shotgun, and 33-round and 15-round large capacity                                                  12-gauge Remington Sportsman
                                                                                                                                 9mm Kurz SIG Sauer P232
    Northern Illinois                                          ammunition magazines. Kazmierczak purchased all four                                               48 sawed-off shotgun; 9mm glock
93.                              DeKalb, IL          2/14/08                                                                     semiautomatic handguns; 12-                                             No ae
    University                                                 weapons from Tony's Gun & Ammo in Champaign, IL                                                    19 pistol; 9mm Kurz SIG Sauer
                                                                                                                                 gauge Remington Sportsman 48
                                                               between August 3, 2007 and February 9, 2008. Kazmierczak                                           P232 pistol; Hi-Point CF380 pistol
                                                                                                                                 sawed-off shotgun
                                                               also purchased gun accessories from a website operated by
                                                               TGSCOM, Inc., the same company patronized by the VA
                                                               Tech shooter.
                                                                                                                                 .40-caliber Smith & Wesson
                                                                                                                                                                  .40-caliber Smith & Wesson
                                                                                                                                 semiautomatic handgun; .44
94. Kirkwood City Council        Kirkwood, MO         2/7/08   -                                                                                                  pistol; .44 Magnum Smith &             No
                                                                                                                                 Magnum Smith & Wesson Model
                                                                                                                                                                  Wesson Model 29 revolver
                                                                                                                                 29 revolver
                                                                                                                                                                  A pistol, .223-caliber
      Youth With a Mission and   Colorado Springs,
95.                                                  12/9/07   -                                                                 -                                Bushmaster XM16 rifle, .40-            Yes
      New Life Church            CO
                                                                                                                                                                  caliber Beretta pistol
                                                               WASR-10 semiautomatic assault rifle and two 30-round              WASR-10 Century Arms             WASR-10 Century Arms
96. Westroads Mall               Omaha, NE           12/5/07                                                                                                                                             Yes af
                                                               large capacity ammunition magazines.                              semiautomatic rifle              semiautomatic rifle
97. Crandon                      Crandon, WI         10/7/07   -                                                                 AR-15 SWAT semiautomatic rifle   AR-15-style semiautomatic rifle        -      ag


                                                               GLOCK 19 9mm semiautomatic pistol and Walther P22 .22-
                                                               caliber semiautomatic pistol. Investigators found a total of 17
                                                               empty magazines at the scene of the shooting, a mix of several
                                                               15-round, and 10-round magazines loaded with hollow-point
                                                               rounds (bullets with the tip hollowed out, designed to expand
                                                               upon impact). He possessed over 400 rounds of ammunition.
                                                               Cho ordered the Walther P22 from a website operated by
                                                               TGSCOM, Inc. Kazmierczak patronized the same company
                                                               before the NIU shooting. On February 9, 2007, Cho picked up       9mm Glock 19, .22-caliber
                                                                                                                                                                  .22-caliber Walther P22 pistol;
98. Virginia Tech                Blacksburg, VA      4/16/07   the pistol from J-N-D Pawn-brokers, located across the street     Walther P22 semiautomatic                                               No
                                                                                                                                                                  9mm Glock 19 pistol
                                                               from the VA Tech campus. In compliance with the state law         handguns
                                                               limiting handgun purchases to one every 30 days, Cho
                                                               purchased the GLOCK 19 on March 13, 2007. He also
                                                               purchased five 10-round magazines from eBay in March.
                                                               Cho's purchase of these firearms was in violation of federal
                                                               law; he was disqualified from purchasing or possessing a
                                                               firearm and ammunition, because a special justice of the
                                                               Montgomery County General District Court had found him to
                                                               be a danger to himself on December 14, 2005.



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                    (1)                (2)             (3)                                 (4)                                            (5)                                  (6)                    (7)

                                                                                                                           Mossberg Maverick 88 Field          .38-caliber Smith & Wesson M36
 99. Trolley Square             Salt Lake City, UT    2/12/07   -                                                          shotgun; .38-caliber Smith &        revolver; Mossberg Maverick 88        No
                                                                                                                           Wesson M36 revolver                 Field shotgun
                                                                                                                           Springfield semiautomatic           12-gauge Browning pump-action
                                Lancaster County,                                                                          handgun; .30-06 Ruger bolt-action   shotgun; .30-06 Ruger bolt-action
100. Amish School                                     10/2/06   -                                                                                                                                    No ah
                                PA                                                                                         rifle; 12-gauge Browning pump-      rifle; Springfield 9mm
                                                                                                                           action shotgun                      semiautomatic handgun
       The Ministry of Jesus
101.                            Baton Rouge, LA       5/21/06   -                                                          -                                   -                                     No ai
       Christ
                                                                                                                           .40-caliber Ruger, one other
                                                                                                                           semiautomatic handgun;
                                                                                                                           Bushmaster XM15 E2S                 12-gauge pump-action Winchester
102. Capitol Hill               Seattle, WA           3/25/06   -                                                          semiautomatic rifle; 12-gauge       Defender shotgun; .40-caliber         Yes aj
                                                                                                                           Winchester Defender pump-action     Ruger pistol
                                                                                                                           shotgun with extended tube and
                                                                                                                           pistol grip
                                                                Smith & Wesson 915 9mm semiautomatic handgun equipped
                                                                with a 15-round large capacity ammunition magazine. San    9mm Smith & Wesson 915
103. Goleta Postal              Goleta, CA            1/30/06                                                                                                  9mm Smith & Wesson 915 pistol         No
                                                                Marco purchased the firearm at a pawn shop in New Mexico   semiautomatic handgun
                                                                in August 2005.
                                                                                                                                                               9mm semiautomatic pistol, .38-
104. Sash Assembly of God       Sash, TX              8/29/05   -                                                          -                                                                         No
                                                                                                                                                               caliber revolver
                                                                                                                           .40-caliber Glock 23, .22-caliber
                                                                                                                                                               .22-caliber Ruger pistol (2); 12-
105. Red Lake                   Red Lake, MN          3/21/05   -                                                          Ruger semiautomatic handguns;                                             No
                                                                                                                                                               gauge Remington 870 shotgun
                                                                                                                           12-gauge Remington 870 shotgun
                                                                                                                           9mm Beretta semiautomatic
106. Living Church of God       Brookfield, WI        3/12/05   -                                                                                              9mm beretta pistol                    No
                                                                                                                           handgun
107. Fulton County Courthouse   Atlanta, GA           3/11/05   -                                                          -                                   9mm pistol                            No
                                                                                                                           9mm Beretta 92FS semiautomatic
108. Damageplan Show            Columbus, OH          12/8/04   -                                                                                              9mm beretta 92FS pistol               No
                                                                                                                           handgun
                                                                SKS 7.62mm semiautomatic assault rifle equipped with a     -                                   7.62mm SKS semiautomatic
109. Hunting Camp               Meteor, WI           11/21/04                                                                                                                                        Yes ak
                                                                20-round large capacity ammunition magazine.                                                   rifle
110. ConAgra Foods Plant        Kansas City, KS        7/3/04   -                                                          -                                   9mm pistol, revolver                  No
111. Stateline Tavern           Oldtown, ID          10/24/03   -                                                          -                                   semiautomatic pistol                  No
                                                                                                                           -
112. Windy City Warehouse       Chicago, IL           8/27/03   -                                                                                              .38-caliber Walther pistol            No al




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                   (1)                (2)           (3)                                   (4)                                               (5)                                  (6)                     (7)


                                                                                                                             .45-caliber Ruger P90
                                                                                                                             semiautomatic handgun; .22-
                                                                                                                                                                 .223-caliber Ruger Mini-14 rifle;
                                                                                                                             caliber rifle with scope, .223-
113. Lockheed Martin           Meridian, MS         7/8/03   -                                                                                                   12-gauge Winchester 1300               No am
                                                                                                                             caliber Ruger Mini-14 rifle; 12-
                                                                                                                                                                 shotgun
                                                                                                                             gauge Winchester 1300 shotgun;
                                                                                                                             .22 Magnum derringer

114. Labor Ready               Huntsville, AL      2/25/03   -                                                               -                                   semiautomatic 9mm pistol               No
                                                                                                                                                                 .22-caliber rifle, sawed-off
115. Bertrand Products         South Bend, IN      3/22/02   -                                                               -                                                                          No
                                                                                                                                                                 shotgun
       Burns International                                                                                                                                       AK-47-type semiautomatic rifle,
116.                           Sacramento, CA      9/10/01   -                                                               -                                                                          Yes an
       Security                                                                                                                                                  9mm pistol
117. Bookcliff RV Park         Rifle, CO            7/3/01   -                                                               -                                   .38 caliber Charter Arms revolver      No
                                                                                                                             SKS 1954R, .30-caliber              12-gauge Remington pump-action
                                                                                                                             Winchester rifles; 12-gauge         shotgun; SKS 1954R rifle; .30-
118. Navistar                  Melrose Park, IL     2/5/01   -                                                                                                                                          No ao
                                                                                                                             Remington pump-action shotgun;      caliber Winchester rifle; .38-
                                                                                                                             .38-caliber revolver                caliber revolver;
119. Houston                   Houston, TX          1/9/01   -                                                               -                                   -                                      No ap
                                                                                                                             .32-caliber Retolaza
                                                             AK-47-type semiautomatic assault rifle, unknown make                                                .32-caliber Retolaza pistol; AK-47
                                                                                                                             semiautomatic handgun; AK-47
                                                             and model 12-gauge shotgun, unknown make and model .32-                                             variant semiautomatic rifle; 12-              aq
120. Wakefield                 Wakefield, MA      12/26/00                                                                   variant semiautomatic rifle; 12-                                           -
                                                             caliber semiautomatic pistol, and 60-round large capacity                                           gauge Winchester 1300 pump-
                                                                                                                             gauge Winchester 1300 pump-
                                                             ammunition magazine.                                                                                action shotgun
                                                                                                                             action shotgun
121. Mount Lebanon             Pittsburgh, PA      4/28/00   -                                                               -                                   .357 Magnum revolver                   No
122. Mi-T-Fine Car Wash        Irving, TX          3/20/00   -                                                               -                                   semiautomatic .9mm pistol              No
                                                                                                                             9mm Lorcin semiautomatic
                                                                                                                                                                 .38-caliber Charter Arms revolver;
123. Hotel                     Tampa, FL          12/30/99   -                                                               handgun; .38-caliber Charter Arms                                          No
                                                                                                                                                                 9mm Lorcin pistol
                                                                                                                             revolver
                                                             GLOCK 17 9mm semiautomatic pistol and three 17-round
                                                             large capacity ammunition magazines, loaded with hollow
                                                                                                                             9mm Glock 17 semiautomatic
124. Xerox                     Honolulu, HI        11/2/99   point bullets (bullets with the tip hollowed out, designed to                                       9mm Glock 17 pistol                    No
                                                                                                                             handgun
                                                             expand upon impact). Uyesugi legally purchased the GLOCK
                                                             in 1989.
                                                             Ruger P85 9mm semiautomatic pistol, unknown make and
                                                             model .380 caliber semiautomatic pistol, and three 15-round
                                                                                                                             .380-caliber, 9mm Ruger P85         .380-caliber revolver; 9mm Ruger
125. Wedgwood Baptist Church   Fort Worth, TX      9/15/99   large capacity ammunition magazines. Ashbrook legally                                                                                      No
                                                                                                                             semiautomatic handguns              P85 pistol
                                                             acquired both weapons from federally licensed firearms
                                                             dealers in 1992.


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                 Case                Location      Date                      Citizens Crime Commission                                   Mother Jones                      Washington Post                Weapon?

                  (1)                    (2)        (3)                                    (4)                                                  (5)                                 (6)                      (7)


                                                                                                                                .45-caliber Colt 1911-A1, 9mm       .45-caliber Colt 1911-A1 pistol;
                                                                                                                                Glock 17, .25-caliber Raven Arms    .22-caliber Harrington &
126. Atlanta Day Trading         Atlanta, GA       7/29/99   -                                                                  MP-25 semiautomatic handguns;       Richardson revolver; .25-caliber        No
                                                                                                                                .22-caliber Harrington &            Raven Arms Mp-25 pistol; 9mm
                                                                                                                                Richardson revolver                 Glock 17 pistol

127. Albertson's Supermarket     Las Vegas, NV      6/3/99   -                                                                  -                                   12-gauge pump-action shotgun            No

                                                             Savage Springfield 67H 12-gauge pump-action shotgun,
                                                             Savage Stevens 311D 12-gauge sawedoff shotgun, Hi-Point
                                                             995 9mm semiautomatic rifle, INTRATEC TEC-DC9
                                                             9mm semiautomatic pistol, and thirteen 10-round magazines,         9mm Intratec DC-9
                                                                                                                                                                    9mm Hi-Point 995 carbine; 12-
                                                             one 52-, one 32-, one 28-round large capacity ammunition           semiautomatic handgun; 9mm
                                                                                                                                                                    gauge sawed-off Savage Stevens
                                                             magazines. Harris and Klebold illegally acquired the shotguns      Hi-Point 995 carbine rifle; 12-
                                                                                                                                                                    311D shotgun; 12-gauge sawed-
128. Columbine High School       Littleton, CO     4/20/99   and Hi- Point rifle through a "straw purchase" (a transaction in   gauge sawed-off Savage Stevens                                              Yes ar
                                                                                                                                                                    off Savage Springfield 67H pump-
                                                             which a legal buyer makes a purchase for someone who               311D, 12-gauge sawed-off Savage
                                                                                                                                                                    action shotgun; 9mm Intratec DC-
                                                             cannot legally purchase the firearm). Their friend, Robyn          Springfield 67H pump-action
                                                                                                                                                                    9 machine pistol
                                                             Anderson, purchased the three firearms at the Tanner Gun           shotguns
                                                             Show from unlicensed sellers in December of 1998. A pizza
                                                             shop employee, Mark Manes, illegally sold them the
                                                             INTRATEC TEC-DC9.

       New St. John Fellowship
129.                             Gonzalez, LA      3/10/99   -                                                                  -                                   semiautomatic pistol                    No
       Baptist Church

                                                             GLOCK 19 9mm semiautomatic pistol, Ruger (unknown
                                                             model) .22-caliber semiautomatic pistol, Ruger (unknown            9mm Glock, .22-caliber Ruger        9mm Glock pistol; .22-caliber
130. Thurston High School        Springfield, OR   5/21/98   model) .22-caliber rifle, and a 50-round large capacity            semiautomatic handguns, .22-        Ruger pistol; .22-caliber Ruger         No as
                                                             ammunition magazine. The GLOCK and rifle were legally              caliber Ruger rifle                 rifle
                                                             purchased by Kinkel's father.
                                                                                                                                FIE 380, .380-caliber Star
                                                                                                                                semiautomatic handguns; .44
                                                             Universal M1 Carbine .30-caliber replica, Davis Industries .38-                                        .22-caliber Double Deuce
                                                                                                                                Magnum Ruger, .30-06
                                                             caliber two-shot derringer, Double Deuce Buddie .22-caliber                                            revolver; .380-caliber Star pistol;
                                                                                                                                Remington 742, .30-caliber
                                                             two-shot derringer, Charter Arms .38-caliber revolver, Star                                            .357-caliber Ruger Security six
                                                                                                                                Universal M-1 carbine replica
                                                             .380-caliber pistol, FIE .380-caliber pistol, Ruger Security Six                                       revolver; .44 Magnum Ruger
                                                                                                                                rifles; .38-caliber Charter Arms,
131. Westside Middle School      Jonesboro, AR     3/24/98   .357-caliber revolver,                                                                                 revolver; .30-caliber Universal M-      No at
                                                                                                                                .357-caliber Ruger Security Six,
                                                             Ruger .44 magnum rifle, Smith & Wesson .38-caliber                                                     1 carbine; .38-caliber Charter
                                                                                                                                .38-caliber Smith & Wesson
                                                             revolver, Remington 742 .30-06-caliber rifle, 15-round large                                           Arms revolver; .38-caliber Smith
                                                                                                                                revolvers; .22-caliber Double
                                                             capacity ammunition magazines, three 30-round large capacity                                           & Wesson revolver; FIE 380
                                                                                                                                Deuce Buddie two-shot, .38-
                                                             ammunition magazines, and over 150-rounds of ammunition.                                               pistol; .30-06 Remington 742 rifle
                                                                                                                                caliber Davis Industries two-shot
                                                                                                                                derringers

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                                                                     List of Firearms Used in Public Mass Shootings
                                                                                    1982 – Oct. 2022
                                                                                                                        Weapon Description From                                                      Assault
                                                                                                              a                                           b                                c                   d
                Case                 Location          Date                     Citizens Crime Commission                                  Mother Jones                   Washington Post           Weapon?

                    (1)                  (2)            (3)                                   (4)                                                (5)                               (6)                 (7)


                                                                 GLOCK model unknown 9mm semiautomatic pistol equipped
132. Connecticut Lottery         Newington, CT          3/6/98   with a 19-round large capacity ammunition magazine. Beck         9mm semiautomatic handgun       9mm pistol                          No
                                                                 had a permit for the 9mm pistol used in the shooting.

                                                                 Chinese-made AK-47-type 7.62mm semiautomatic assault
                                                                 rifle and five 30-round large capacity ammunition magazines.     7.62mm AK-47 Chinese variant    7.62mm AK-47 Chinese variant
133. Caltrans Maintenance Yard   Orange, CA           12/18/97                                                                                                                                        Yes
                                                                 Torres legally purchased the rifle on April 30, 1988, from       semiautomatic rifle             semiautomatic rifle
                                                                 B&B Gun Sales in Orange County, CA.

134. Erie Manufacturing          Bartow, FL            12/3/97   -                                                                -                               -                                   No au
135. R.E. Phelon Company         Aiken, SC             9/15/97   -                                                                9mm semiautomatic handgun       9mm pistol                          No
136. News and Sentinel           Colebrook, NH         8/20/97   -                                                                -                               9mm pistol, AR-15-style rifle       Yes av
                                                                                                                                                                  Mac 11 machine pistol, Tec 9
137. Fire Station                Jackson, MS           4/25/96   -                                                                -                               automatic pistol, .45-caliber       No
                                                                                                                                                                  semiautomatic handgun
                                 Fort Lauderdale,                                                                                 9mm Glock semiautomatic         9mm Glock pistol; .32-caliber
138. Fort Lauderdale                                    2/9/96   -                                                                                                                                    No
                                 FL                                                                                               handgun; .32-caliber revolver   revolver
139. Little Chester Shoes        New York, NY         12/19/95   -                                                                -                               .9mm semiautomatic pistol           No
                                                                                                                                  -
140. Piper Technical Center      Los Angeles, CA       7/19/95   -                                                                                                Glock semiautomatic pistol          No aw
                                                                                                                                  9mm Ruger semiautomatic         .32-caliber revolver; 9mm Ruger
141. Walter Rossler Company      Corpus Christi, TX     4/3/95   -                                                                                                                                    No
                                                                                                                                  handgun; .32-caliber revolver   pistol
142. Puppy creek                 Hoke County, NC      12/31/94   -                                                                -                               -                                   -

                                                                 Chinese-made Mak-90 semiautomatic assault rifle
                                                                 equipped with a 75-round drum large capacity ammunition
                                 Fairchild Base,                 magazine. He purchased the assault rifle on June 15, 1994,                                       MAK-90 semiautomatic AK-
143. Air Force Base                                    6/20/94                                                                    MAK-90 semiautomatic rifle                                          Yes ax
                                 WA                              five days before the shooting, and the following day purchased                                   style rifle
                                                                 80 rounds of 7.62x39mm ammunition and a 75-round drum
                                                                 large capacity ammunition magazine.
                                                                                                                                  .25-caliber semiautomatic
144. Chuck E. Cheese             Aurora, CO           12/14/93   -                                                                                                .25-caliber pistol                  No
                                                                                                                                  handgun
                                                                 Ruger P89 9mm semiautomatic pistol and four 15-round large
                                                                                                                                  9mm Ruger P89 semiautomatic
145. Long Island Railroad        Garden City, NY       12/7/93   capacity ammunition magazines. Ferguson legally acquired the                                     9mm Ruger P89 pistol                No
                                                                                                                                  handgun
                                                                 weapon in California at an outlet of Turner's Outdoorsman.

146. Unemployment Office         Oxnard, CA            12/2/93   -                                                                -                               Rifle                               -
147. Family Fitness Club         El Cajon, CA         10/14/93   -                                                                -                               12-gauge shotgun                    No

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                                                                List of Firearms Used in Public Mass Shootings
                                                                               1982 – Oct. 2022
                                                                                                                Weapon Description From                                                          Assault
                                                                                                       a                                          b                                    c                   d
                   Case          Location         Date                    Citizens Crime Commission                               Mother Jones                      Washington Post             Weapon?

                   (1)               (2)           (3)                                  (4)                                              (5)                                (6)                    (7)

                                                                                                                         .22-caliber rifle; two 12-gauge    12-gauge shotgun (2); .22-caliber
148. Luigi's Restaurant      Fayetteville, NC      8/6/93   -                                                                                                                                     No ay
                                                                                                                         shotguns                           rifle
149. Washington County Bar   Jackson, MS           7/8/93   -                                                            -                                  -                                     -

                                                            Two INTRATEC TEC-DC9 semiautomatic pistols, Colt
                                                            (unknown model) .45-caliber semiautomatic pistol, and 40-
                                                            round and 50-round large capacity ammunition magazines
                                                                                                                         Two Intratec DC-9, .45-caliber     .45-caliber Colt pistol; Intratec
150. 101 California Street   San Francisco, CA     7/1/93   loaded with a mix of Black Talon and standard ammunition.                                                                             Yes az
                                                                                                                         Colt semiautomatic handguns        DC-9 machine pistols
                                                            According to the Las Vegas Metropolitan Police Department,
                                                            Ferri purchased the pistols from two stores in Las Vegas:
                                                            Super Pawn and Pacific Tactical Weapons.

151. Card club               Paso Robles, CA      11/8/92   -                                                            -                                  -                                     No ba
                                                                                                                         9mm Llama semiautomatic
152. Watkins Glen            Watkins Glen, NY    10/15/92   -                                                                                               9mm Llama pistol                      No
                                                                                                                         handgun
                                                                                                                         .22-caliber sawed-off rifle; 12-   .22-caliber sawed-off rifle; 12-
153. Lindhurst High School   Olivehurst, CA        5/1/92   -                                                                                                                                     No bb
                                                                                                                         gauge pump-action shotgun          gauge pump-action shotgun
154. Phoenix                 Phoenix, AZ          3/15/92   -                                                            -                                  -                                     -
                                                                                                                         .22-caliber Ruger sawed-off        .22-caliber Ruger sawed-off
155. Royal Oak Postal        Royal Oak, MI       11/14/91   -                                                                                                                                     No bc
                                                                                                                         semiautomatic rifle                semiautomatic rifle
156. Restaurant              Harrodsburg, KY     11/10/91   -                                                            -                                  .357 Magnum                           No
157. University of Iowa      Iowa City, IA        11/1/91   -                                                            .38-caliber Taurus revolver        .38-caliber Taurus revolver           No
                                                            GLOCK 17 9mm semiautomatic pistol, Ruger P89
                                                            semiautomatic pistol, and 17-round and 15- round large
                                                                                                                         9mm Glock 17, 9mm Ruger P89        9mm Glock 17 pistol; 9mm Ruger
158. Luby's Cafeteria        Killeen, TX         10/16/91   capacity ammunition magazines. Hennard legally purchased                                                                              No
                                                                                                                         semiautomatic handguns             P89 pistol
                                                            the weapons from Mike's Gun Shop in Henderson, NV, in
                                                            February and March of 1991.
                                                                                                                                                            9mm Uzi machine pistol, .22-
159. Post office             Ridgewood, NJ       10/10/91   -                                                            -                                                                        Yes br
                                                                                                                                                            caliber machine gun
                                                            Universal M1 .30-caliber semiautomatic assault rifle,
                                                                                                                         .30-caliber Universal M1 carbine   .30-caliber Universal M1 carbine;
160. GMAC                    Jacksonville, FL     6/18/90   unknown make and model .38-caliber revolver, and a 30-                                                                                No bd
                                                                                                                         rifle; .38-caliber revolver        .38-caliber revolver
                                                            round large capacity ammunition magazine.
                                                            Chinese-made AK-47-type semiautomatic assault rifle,
                                                            two INTRATEC MAC-11 semiautomatic assault pistols, SIG       Two Intratec MAC-11, 9mm SIG       9mm SIG Sauer pistol; AK-47
                                                            SAUER unknown model 9mm semiautomatic pistol, unknown        Sauer semiautomatic handguns;      Chinese variant semiautomatic
       Standard Gravure
161.                         Louisville, KY       9/14/89   make and model .38-caliber revolver, and 30-round large      AK-47 Chinese variant              rifle; Intratec MAC-11 machine        Yes
       Corporation
                                                            capacity ammunition magazines. Wesbecker legally purchased   semiautomatic rifle; .38-caliber   pistol; .38-caliber revolver; 9mm
                                                            the AK-47-type assault rifle from Tilford's Gun Sales in     revolver                           SIG Sauer pistol
                                                            Louisville.


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                                                                  List of Firearms Used in Public Mass Shootings
                                                                                 1982 – Oct. 2022
                                                                                                                   Weapon Description From                                                              Assault
                                                                                                          a                                           b                                     c                     d
                  Case              Location        Date                     Citizens Crime Commission                                 Mother Jones                       Washington Post              Weapon?

                   (1)                  (2)          (3)                                  (4)                                                 (5)                                     (6)                 (7)


                                                              Chinese-made AK-47-type semiautomatic assault rifle,
                                                              Taurus unknown model 9mm semiautomatic pistol, a 75-round
                                                              large capacity ammunition drum magazine, a 75-round large
                                                              capacity ammunition rotary magazine, and four 35-round large    9mm Taurus semiautomatic            9mm Taurus pistol; AK-47
162. Stockton Schoolyard        Stockton, CA        1/17/89   capacity ammunition banana magazines. Purdy legally             handgun; AK-47 Chinese variant      Chinese variant semiautomatic          Yes
                                                              purchased the AK-47-type rifle at Sandy Trading Post, in        semiautomatic rifle                 rifle
                                                              Sandy, OR on August 3, 1988, and the Taurus 9mm pistol at
                                                              Hunter Loan and Jewelry Co. in Stockton, CA on December
                                                              28, 1988.

163. Montefiore School          Chicago, IL         9/22/88   -                                                               -                                   .38-caliber revolver                   No
                                Winston-Salem,
164. Old Salisbury Road                             7/17/88   -                                                               -                                   .22-caliber rifle                      No
                                NC
                                                                                                                              .380 ACP Browning, 9mm Smith        .22 Sentinel WMR revolver; 9mm
                                                                                                                              & Wesson semiautomatic              Smith & Wesson pistol; Mossberg
                                                                                                                              handguns; Ruger M-77 .22-250        12-gauge pump-action shotgun;
                                                                                                                              bolt-action rifle with scope;       Ruger M-77 .22-250 bolt-action
165. ESL                        Sunnyvale, CA       2/16/88   -                                                               Mossberg 12-gauge pump-action,      rifle with scope; .380 AP              No be
                                                                                                                              12-gauge Benelli semiautomatic      Browning pistol; 12-gauge Benelli
                                                                                                                              shotguns; .357 Magnum Smith &       semiautomatic shotgun; .357
                                                                                                                              Wesson, .22 Sentinel WMR            Magnum Smith & Wesson
                                                                                                                              revolvers                           revolver;

                                                              Strum, Ruger Mini-14 semiautomatic assault rifle equipped
                                                              with a 30-round large capacity ammunition magazine, five 30-
                                                              round large capacity ammunition magazines, 180 rounds of        Sturm, Ruger Mini-14                .357 Ruger Blackhawk revolver;
                                                              ammunition, a shotgun (unknown make and model), and a           semiautomatic rifle; 20-gauge       Ruger Mini-14 semiautomatic
166. Shopping Centers           Palm Bay, FL        4/23/87                                                                                                                                              No bf
                                                              pistol (unknown make and model). Cruse ordered the assault      Winchester pump-action shotgun;     rifle; Sturm; 20-gauge Winchester
                                                              rifle on March 21, 1987. On April 17, 1987, he purchased 100-   .357 Ruger Blackhawk revolver       pump-action
                                                              rounds of ammunition and six 30-round large capacity
                                                              ammunition magazines.

                                                                                                                              .22-caliber, two .45-caliber Colt   .45-caliber Colt Model 1911-A1
       United States Postal                                                                                                                                                                                     bg
167.                            Edmond, OK          8/20/86   -                                                               Model 1911-A1 semiautomatic         pistol; .45-caliber Colt Model         -
       Service
                                                                                                                              handguns                            1911-A1 pistol; .22-caliber pistol

       Anchor Glass Container   South
168.                                                3/16/85   -                                                               -                                   .38-caliber snub-nosed revolver        No
       Corporation              Connellsville, PA

169. Other Place Lounge         Hot Springs, AR     7/24/84   -                                                               -                                   .45-caliber semiautomatic pistol       No



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                                                                                            1982 – Oct. 2022
                                                                                                                            Weapon Description From                                                               Assault
                                                                                                                     a                                       b                                     c                        d
                  Case                     Location            Date                      Citizens Crime Commission                            Mother Jones                       Washington Post               Weapon?

                   (1)                        (2)               (3)                                   (4)                                            (5)                                  (6)                       (7)


                                                                                                                                     9mm Browning P35 Hi-Power
                                                                                                                                                                         9mm Israeli Military industries
                                                                                                                                     semiautomatic handgun; 9mm
                                                                                                                                                                         Uzi Model A machine pistol, 12-
                                                                                                                                     Israeli Military Industries Uzi
170. San Ysidro McDonald's            San Ysidro, CA          7/18/84    -                                                                                               gauge Winchester 1200 pump-               Yes
                                                                                                                                     Model A carbine semiautomatic
                                                                                                                                                                         action shotgun, 9mm Browning
                                                                                                                                     rifle; 12-gauge Winchester 1200
                                                                                                                                                                         P35 Hi-Power pistol
                                                                                                                                     pump-action shotgun
                                                                                                                                     9mm Smith & Wesson 459
171. Dallas Nightclub                 Dallas, TX              6/29/84    -                                                                                               9mm Smith & Wasson 459 pistol             No bh
                                                                                                                                     semiautomatic handgun
                                      Manley Hot                                                                                                                         .30-06-caliber Ruger single-shot
172. Alaska Mining Town                                       5/17/84    -                                                           -                                                                             No
                                      Springs, AK                                                                                                                        rifle
173. College Station                  Collge Station, TX    10/11/83     -                                                           -                                   -                                         No bi
                                                                                                                                                                         .223-caliber Ruger Mini-14
174. Alaska Back-County               McCarthy, AK             3/1/83    -                                                           -                                   semiautomatic rifle, .22-caliber          No
                                                                                                                                                                         pistol
175. Upper West Side Hotel            New York, NY             2/3/83    -                                                           -                                   -                                         No bj

176. The Investor                     Noyes Island, AK         9/6/82    -                                                           -                                   .22-caliber                               No
                                                                                                                                     Mossberg 500 Persuader pump-
177. Welding Shop                     Miami, FL               8/20/82    -                                                                                               12-gauge shotgun                          No
                                                                                                                                     action shotgun with pistol grip
                                                                                                                                                                         .38-caliber revolver, .25-caliber
178. Western Transfer Co.             Grand Prairie, TX        8/9/82    -                                                           -                                                                             No
                                                                                                                                                                         semiautomatic pistol, carbine rifle

179. Russian Jack Springs Park        Anchorage, AK            5/3/82    -                                                           -                                   .38-caliber pistol                        No


 Notes and Sources:
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  a
      Description of weapons from "Citizens Crime Commission of New York City, Mass Shooting Incidents in America (1984-2012)," accessed June 1, 2017,
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                                                                                         1982 – Oct. 2022
                                                                                                                               Weapon Description From                                                                 Assault
                                                                                                                        a                                         b                                      c                        d
                 Case                     Location            Date                      Citizens Crime Commission                                  Mother Jones                        Washington Post               Weapon?

                  (1)                         (2)              (3)                                       (4)                                             (5)                                   (6)                          (7)


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                                                                                                                     a                                            b                                  c                       d
                 Case                     Location            Date                      Citizens Crime Commission                                  Mother Jones                        Washington Post            Weapon?

                  (1)                        (2)               (3)                                    (4)                                                (5)                                   (6)                   (7)

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                                                                                                                          a                                           b                               c                        d
                 Case                      Location             Date                       Citizens Crime Commission                                   Mother Jones                 Washington Post                Weapon?

                  (1)                          (2)               (3)                                      (4)                                               (5)                             (6)                        (7)

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                                     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 76 of 926 PageID: 2864
                                                                                            Exhibit C
                                                                          List of Firearms Used in Public Mass Shootings
                                                                                         1982 – Oct. 2022
                                                                                                                            Weapon Description From                                                                Assault
                                                                                                                     a                                        b                                     c                         d
                 Case                     Location            Date                      Citizens Crime Commission                              Mother Jones                        Washington Post               Weapon?

                  (1)                        (2)               (3)                                    (4)                                             (5)                                  (6)                          (7)


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                         EXHIBIT “B”




                         EXHIBIT “B”
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY



    ASSOCIATION OF NEW JERSEY
    RIFLE
    & PISTOL CLUBS, INC., et al.,

         Plaintiffs,
                                        Civil Action No. 3:18-cv-10507
    v.

    PLATKIN, et al.,

       Defendants.
    CHEESEMAN, et al.,

         Plaintiffs,

    v.                                  Civil Action No. 1:22-cv-4360

    PLATKIN, et al.,

       Defendants.
    ELLMAN, et al.,

         Plaintiffs,

    v.                                  Civil Action No. 3:22-cv-04397

    PLATKIN, et al.,

         Defendants.




                             Expert Report of Dennis Baron
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                              EXPERT REPORT OF DENNIS BARON

   I, Dennis Baron, the undersigned, declare as follows:

          1.      I have been retained by the New Jersey Attorney General’s Office to provide expert

   opinion and testimony regarding Corpus Linguistics research. I am professor of English and

   linguistics, emeritus, at the University of Illinois at Urbana-Champaign. I have written ten books

   on various aspects of the English language, with two of them focused on language and law. I am

   being compensated at a rate of $350 per hour.

          2.      For this report I have examined the historical use of the terms arms and

   accoutrements in the Founding Era (1760–1820) and during the Civil War and Reconstruction era

   (1860–1890). It is my opinion that,

          a) during those periods the words “arms” and “accoutrements” typically signified two

               distinct lexical or semantic categories.

          b) during those periods, ammunition containers were typically categorized as

               “accoutrements,” not “arms.”

          3.      The present case involves firearm magazines. I have found that the term

   “magazine” was not generally used to describe an ammunition container until well into the

   nineteenth century, and that use of “magazine” did not become common until the early twentieth

   century. The detachable ammunition containers from the Founding Era to the later nineteenth

   century were typically referred to as “cartridge cases,” “cartridge boxes,” or “cartouch cases” (the

   words “cartridge” and “cartouch” both derive from the same French word and are synonymous in

   English during the Founding Era; of this pair, “cartouch” eventually falls out of use and “cartridge”

   is the term that remains in use today). Because both the cartridge case and the modern magazine

   are ammunition containers, it made the most sense to treat the cartridge case as an analogue to the




                                                     1
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   modern firearms magazine. In the Founding Era and during and after the Civil War, cartridge cases

   were typically considered accoutrements, not arms.

          4.      I have also examined the lexical evidence for repeater air guns, which are

   sometimes referred to as “wind guns,” and the rare terms “magazine wind-gun” and “magazine

   gun” in the Founding Era. “Air guns” used compressed air instead of gunpowder to propel a ball.

   Repeater air guns were capable of firing multiple shots before requiring the user to reload the

   weapon. Although a few artisans did invent air guns capable of firing multiple balls without

   reloading the ammunition or recharging the air cylinder, such guns were rare in England and

   America. In addition, although magazine firearms were patented as early as 1860, they remained

   military weapons during and shortly after the Civil War, with only a few references to them in the

   corpora before the 1880s.


                               BACKGROUND AND QUALIFICATIONS

          5.      I am currently Professor Emeritus and Research Professor at the University of

   Illinois, where I have served as a member of both the Department of English and the Department

   of Linguistics since 1975. I served as Head of the Department of English for six years and before

   that as Director of Rhetoric at the University for 11 years. I earned my Ph.D. in English language

   and literature from the University of Michigan in 1971, with a dissertation on historical aspects of

   the English language from Old English to Present-Day English, and I continue to publish widely

   on matters of historical language use, in addition to topics related to language and law. I am a life

   member of the Linguistic Society of America, the American Dialect Society, and the Modern

   Language Association, as well as a member of the National Council of Teachers of English. I have

   held a Fulbright Fellowship (to France), a National Endowment for the Humanities Fellowship for

   work on a book on language and law, and, most recently, a Guggenheim Fellowship for work on




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   my latest book on language and law. I have also published books on language reform, on usage,

   and on gender in language.

          6.      Most relevant for this report, I published two books on language and law: The

   English-Only Question: An Official Language for Americans? (Yale Univ. Press, 1990) and You

   Can’t Always Say What You Want: The Paradox of Free Speech (Cambridge Univ. Press, 2023).

   In addition, I served as lead author on what came to be called “the Linguists’ Brief” in District of

   Columbia v. Heller, 554 U.S. 570 (2008), a brief cited both by Justice Scalia in the majority

   opinion, and by Justice Stevens in his dissent. I was a co-author on another brief by professors of

   linguistics and corpus linguistics, cited in New York State Rifle and Pistol Ass’n. v. Bruen, 142 S.

   Ct. 2111 (2022), which Justice Breyer cited in his dissent. In that dissent, Justice Breyer also

   quoted directly from my essay “Corpus Evidence Illuminates the Meaning of ‘Bear Arms’”

   (Hastings Constitutional Law Quarterly, 46.3: 2019). I have spoken about historical meaning and

   the Second Amendment at the Federalist Society at the University of Chicago Law School, at the

   Neubauer Symposium on Historical Semantics at the University of Chicago, at Brigham Young

   University Law School, at Stanford University, and at the conference “Heller after Ten Years” at

   Hastings College of Law. I have also written opinion essays on historical meaning and the Second

   Amendment for the Washington Post and the Los Angeles Times. And I have submitted

   declarations or reports in a number of cases, including Kenneally v. Raoul, et al., No. 3:22-cv-

   50039 (N.D. Ill.); Herrera v. Raoul, No. 23-cv-532 (N.D. Ill.); Harrel v. Raoul, No. 23-cv-141-

   SPM (S.D. Ill.); Langley v. Kelly, No. 23-cv-192-NJR (S.D. Ill.); Barnett v. Raoul, No. 23-cv-209-

   RJD (S.D. Ill.); Federal Firearms Licensees of Illinois v. Pritzker, 23-cv-215-NJR (S.D. Ill.);

   Gates v. Polis, No. 1:22-cv-1866-GPG-SKC (D. Colo.); Rocky Mountain Gun Owners, et al. v.

   Town of Superior, et al., No. 1:22-cv-02680 (D. Colo.) Ocean State Tactical, LLC, et al. v. State




                                                    3
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   of Rhode Island, No. 1:22-cv-00246-JJM-PAS (D.R.I.); Hanson, et al, v. District of Columbia, et

   al., No. 1:22-cv-02256-RC (D.D.C.); Delaware State Sportsmen’s Association, Inc., et al., v.

   Delaware Department of Safety and Homeland Security, et al., No. 1:22-cv-00951-RGA, (D.

   Del.); Capen, et al., v. Campbell, et al., No. 22-cv-11431-FDS (D. Mass.); National Association

   for Gun Rights, et al., v. Lamont, et al., No. 3:22-CV-1118 (D. Conn.); National Association for

   Gun Rights, et al., v. Lopez, No. 1:22-cv-404-DKW-RT (D. Haw.); Oregon Firearms Federation,

   et al, v. Kotek, et al., (lead case with three additional, consolidated) No. 2:22-cv-01815-IM (D.

   Or.); Wiese v. Bonta, No. 2:17-cv-00903-WBS-KJN (E.D. Cal.); Rupp, et al., v. Bonta, No. 8:17-

   cv-00746-JLS-JDE (C.D. Cal.); Duncan, et al. v. Bonta, No. 3:17-cv-01017-BEN-JLB (S.D. Cal.);

   and Fouts, et al., v. Bonta, No. 3:19-cv-01662-BEN-JLB (S.D. Cal.). I have testified by deposition

   and at trial in the following case: Oregon Firearms Federation, et al. v. Kotek, No. 2:22-cv-01815-

   IM (D. Or.). In the past twenty years I have also served as an expert in nineteen cases involving

   document interpretation.

          7.      My recent essay, “Look It Up in Your Funk and Wagnalls: How Courts Define the

   Words of the Law,” an analysis of how judges incorporate information from dictionaries and

   digitized corpora as they ascertain legal meaning, appears in Dictionaries: Journal of the

   Dictionary Society of North America, vol. 43.2 (2022): 95–144.

          8.      This report is made based on my professional knowledge and expertise, and on my

   research using accepted scientific linguistic methodology in the field of Corpus Linguistics, the

   analysis of one or more large, digitized corpora consisting of many millions of words.



                                          Theory and Methodology

          9.      Corpus linguistics as a field developed in the late 1960s, when scholars began using

   computer programs to analyze large bodies of digitized text. Initial work in corpus linguistics did


                                                   4
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   not typically involve legal issues. Literary scholars, taking advantage of the ability of computers

   to search large digitized databases, facilitated their analysis of print materials by developing

   computerized concordances to the works of Shakespeare, Milton, and other major English writers.

   They plotted the frequency of words and phrases in order to develop a picture of an author’s style,

   and to determine authorship of a particular work when the provenance was in doubt. Soon, in

   addition to solving literary mysteries, linguists successfully applied computerized textual analysis

   in a number of criminal cases in the United States and in England involving, for example, the

   authorship of a ransom note or an email. Lexicographers, who began compiling analog databases

   of text in the late nineteenth century, began to digitize their data and to add to that material,

   assembling computerized databases of historical and contemporary text and, more recently, of

   spoken language as well, in order to arrive at more precise definitions of the multiple senses of

   words and phrases.

          10.     The Oxford English Dictionary (OED) is the standard dictionary of the English

   language compiled on historical principles. As a graduate student at the University of Michigan in

   1970, I coded analog texts from the relevant OED files to help build the computerized database

   for the Dictionary of Early Modern English, which covers the period from 1500–1800 and is

   particularly relevant to the language of the Founding Era. Today, major dictionaries like the OED

   and the Merriam-Webster suite of dictionaries rely on public databases of oral and written

   language, as well as their own proprietary databases, in order to revise older definitions and to

   track the spread of new words and meanings. The major dictionary makers working on other

   languages use similar databases in their own work.

          11.     Over the past twenty years, legal corpus linguistics (LCL) has developed as a subset

   of corpus linguistics. LCL involves the analysis of digitized corpora of current and historical




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   English to establish meaning—often referred to as “original public meaning”—in statutes and in

   the Constitution. LCL often provides more information about the meaning of words and phrases

   than can be gleaned from dictionary definitions. Over the past decade, LCL has become an

   important tool in helping to determine original public meaning when such meaning is in doubt. In

   Muscarello v. United States, 524 U.S. 125 (1998), we find an early computer search to help

   determine the meaning of a word in a statute. In Muscarello, the Supreme Court considered

   whether “a person who knowingly possesses and conveys firearms in a vehicle, including in its

   glove compartment or trunk, can be deemed to be within the scope of the statutory phrase ‘carries

   a firearm.’” To answer that question in the affirmative, Justice Breyer searched two computerized

   newspaper databases (Lexis/Nexis, for the New York Times, and Westlaw, for “US News”) to

   clarify the meaning of the words “carry,” “vehicle,” and “weapon.” In 2012, Judge Richard Posner,

   of the Seventh Circuit, was perhaps the first jurist to use a general internet search in order to

   determine a word’s meaning in a statute. Not satisfied with the dictionary definition that the

   government relied on in the case before him, Judge Posner ran a Google search to confirm that the

   word “harbor” in the Immigration Act of 1917 does not mean ‘shelter,’ as the government claimed,

   but rather ‘hide, conceal from view,’ as he felt it must mean in the context of the statute. United

   States v. Costello, 666 F.3d 1040 (7th Cir. 2012).

          12.     More principled, scientific database searches soon followed, and in 2018 Justice

   Thomas Lee, of the Utah Supreme Court, a long-time champion of corpus linguistics, together

   with the legal scholar Stephen Mouritsen, summarized the latest research in corpus linguistics and

   LCL as a way to determine ordinary meaning, and more specifically, original public meaning, with

   more clarity (Thomas Lee and Stephen Mouritsen, “Judging Ordinary Meaning,” Yale Law

   Journal 127(2018): 788–879). Jurists over the past few years have found that in several cases, LCL




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   proves more useful than the period dictionaries (for example, the dictionaries of Samuel Johnson

   and Noah Webster) that courts have often relied on to determine historical meaning. LCL often

   supplements the historical interpretations found in older dictionaries and in the Oxford English

   Dictionary, as well, allowing a more precise interpretation of historical text data.

          13.     In addition to the publication of several significant law review articles by experts

   in the field of corpus linguistics, there have been several conferences on legal corpus linguistics in

   the past few years, and a number of continuing-education seminars on LCL are now offered for

   judges and lawyers. As a result, corpus linguistics has drawn increased attention from the courts,

   including a recent mention in the Sixth Circuit (Wilson v. Safelite Grp., Inc., 930 F.3d 429, 440

   (6th Cir. 2019) (Thapar, J., concurring)), as well as a comment by Justice Alito in his concurrence

   in Facebook, Inc. v. Duguid, 141 S. Ct. 1163 (2021), where he suggested that LCL may one day

   provide a useful alternative to the canons of interpretation.

          14.     Several large databases have come online in the past few years that facilitate LCL

   research. The Center for Law and Corpus Linguistics at Brigham Young University (BYU) hosts

   the Corpus of Founding Era American English (COFEA), with more than 126,000 texts,

   comprising close to 137 million words and covering the years 1760–1799. BYU’s Corpus of Early

   Modern English (COEME), with data from 1475–1800, contains over 40,000 texts and 1.1 billion

   words. For the nineteenth century, the Corpus of Historical American English (COHA), initially

   developed at BYU but now independent of that institution, currently contains 475 million words

   of text from 1820–2020. The size of these databases continues to grow as more works are digitized,

   coded, and added to the corpora. In compiling this report, I reviewed each of these databases. Some

   of the corpora provided data for some lexical searches, but not for others. The examples cited

   below specify which corpus they are drawn from.




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          15.     Critics of LCL have objected that databases like COFEA and COEME contain only

   texts written by “elites,” whose language may differ from that of “ordinary people” who do not

   write at all, or who for various reasons do not write texts likely to be included in the available

   corpora. It is certainly the case that many printed books and periodicals, along with documents

   like the Constitution, its amendments, and state and federal statutes, tend to be written by educated

   specialists and professional writers. Although “ordinary people” are expected to understand the

   language of the Constitution, the Declaration of Independence, and other founding documents, as

   well as the laws that govern the nation, such texts typically require specialized knowledge. A

   reading-difficulty formula like the commonly used Flesch-Kincaid scale suggests that the

   Declaration of Independence and the Constitution require a fifteenth-grade reading level, while

   according to one comprehensive study, Adult Literacy in America (National Center for Education

   Statistics, U.S. Department of Education, 1993; https://nces.ed.gov/pubs93/93275.pdf), the

   average American adult tends to have a seventh- or eighth-grade reading level. The National

   Center for Education Statistics no longer uses “grade level,” instead rating literacy levels for

   Americans between ages 16 and 65 on a scale from 1 to 5; measurements conducted in 2003

   showed no significant change from the 1993 NCES report; and the most recent data, from 2014,

   confirm that most adult Americans still test at or below level 2, with 4.1% testing below level 1

   (https://nces.ed.gov/pubs2019/2019179/index.asp).

          16.     In order to counter any “elite” bias that may be found in databases like COFEA,

   COEME, and COHA, I rely as well on five digitized newspaper databases covering the period

   1750–1900, focusing for this report on the Founding Era and on the period of Reconstruction after

   the passage of the Fourteenth Amendment. Newspapers of the eighteenth and nineteenth centuries

   were the principal means of communicating news and information. As such, they embodied much




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   of the language of the “ordinary people” who read them. These early newspapers also provide

   researchers with more data for the nineteenth century than a corpus like COHA, which covers the

   same period but tends to focus on literary and specialized texts rather than material for the general

   reader. 1 Newspapers in the Founding Era and later, during Reconstruction, provided average

   Americans with their principal access to all the critical events and documents of their time, along

   with coverage of local and international news. Although newspaper subscribers tended to be

   “elites,” newspaper content was widely shared by word of mouth: ultimately, most Americans in

   the Founding Era, including those who would be classified as illiterate or poorly educated by

   today’s standards, got their news from newspapers.

            17.      Since the 1960s, database compilers have been able to track contemporary spoken

   English more successfully, though none of the databases for the Founding Era and for the post-

   Civil War period cover the spoken language of Americans. Although scholars can reconstruct

   some of that oral language, we are always doing so through the lens of print versions purporting

   to represent or comment on ordinary speech.

            18.      The newspaper databases that I have examined are Readex Historical American

   Newspapers; Chronicling America (newspapers digitized by the Library of Congress); the British

   Newspaper Archive (compiled by the British Library); and two private subscription services,

   newspapers.com and newspaperarchive.com. For this report, both Readex and newspapers.com

   provide the most-complete picture of the language of the Founding Era newspapers as well as the

   ordinary language of the later nineteenth century.

            1
               Because of changes in print technology and the spread of literacy, Founding Era newspapers differed from
   the newspapers of the post-Civil War era. Print technology remained relatively static between the 1450s, when printing
   presses first appeared in Europe, and the early nineteenth century, when the Industrial Revolution drastically changed
   printing methods. The first printing press was adapted by Gutenberg from the design of the traditional wine press, and
   for centuries, printing was a slow and labor-intensive process. As a result, newspapers in the founding era were small
   by today’s standards, averaging four to eight pages. Publication was less frequent as well. Papers tended to appear
   weekly or semi-weekly, rather than daily.



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           19.      All the databases contain some duplicates. COFEA and COEME digitize multiple

   editions of the same work. The newspaper databases duplicate some, though not all, of one

   another’s content; in addition, they contain a number of duplicate stories because, particularly in

   the period of newspaper growth during the nineteenth century—in an age before the wire services

   and syndication appeared, and before the larger papers began to set up news bureaus in key areas

   around the country and around the world—newspapers routinely printed each other’s stories,

   sometimes acknowledging their source and sometimes not. (I therefore exclude duplicate citations

   from all my corpus searches). The databases often offer more insight into the meaning of words

   and phrases than simply going to a dictionary. Jurists from Learned Hand2 and Felix Frankfurter3

   to Frank Easterbrook4 and Richard Posner5 have warned their colleagues not to make a fortress of

   the dictionary. Like dictionaries, corpora are by necessity incomplete. LCL does not replace

   dictionaries, but it does provide an important supplement to them. Typical LCL analyses are

   conducted using a keyword and a few words surrounding it, to supply context. Sometimes a limited

   specific citation is ambiguous. And sometimes, a search of the data set returns only small number

   of citations, perhaps ten or twenty rather than a few hundred. In such cases, I supplement my use

   of LCL with a reading of the full context of the citations in order better to determine the keyword’s

   meaning and the relevance of the citation to the search question.



       The meaning of arms and accoutrements in the databases

           20.      There are more than 150,000 citations for the word “arms” alone in the various

   databases that I consulted, many of them referring not to weapons but to limbs or, in some cases,

           2
             Cabell v. Markham, 148 F.2d 737, 739 (2d Cir. 1945).
           3
             Dennis v. United States. 341 U.S. 494, 523 (1951) (Frankfurter, J., concurring).
           4
             Frank H. Easterbrook, “Text, History, and Structure in Statutory Interpretation,” Harvard Journal of Law
   and Public Policy 61, 67 (1994).
           5
             United States v. Costello, 666 F.3d 1040, 1043 (7th Cir. 2012).



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   heraldic symbols (that is, a coat of arms). I selected a random sample of about 500 citations from

   COFEA and newspapers.com to see what a search for “arms” alone might turn up. I found that the

   cites where “arms” referred to weapons did not generally specify what constituted an “arm,” but I

   did find that in many of the cites “arms” appears in collocation with “accoutrements,” with

   “ammunition,” or with both “accoutrements” and “ammunition.” I then searched for the phrase

   “arms and accoutrements” in the Founding Era and during the period following the adoption of

   the Fourteenth Amendment. I also asked whether the term “magazine” as used today falls within

   the meaning of the term “arms” when used on a standalone basis during those eras, or whether the

   magazine and its earlier analogues, the cartridge case and cartouch box, are treated as accessories

   or accoutrements, rather than arms. I look as well at lexical evidence in the Founding Era on the

   “air rifle,” or “air gun,” and assess any lexical evidence about the availability and popularity of the

   repeater air gun and the use of the term “magazine” in association with such guns.

          21.     In the eighteenth and nineteenth centuries, “magazine” was a word that meant

   “storehouse, depot.” A magazine was a place, often a building or warehouse, to store goods and

   supplies. When used in a military sense, a magazine was a building designated for storing

   gunpowder, and because gunpowder was an explosive substance, it was subject to strict regulation:

   some towns banned or heavily regulated the storage of gunpowder within city limits. The word

   “magazine” was not typically used to refer to the compartment of a gun containing bullets until

   late in the nineteenth century. Although the term “magazine” appears in the phrase “magazine

   wind gun” in 1744, that usage is marked as “rare” by the Oxford English Dictionary, which also

   marks the phrase “magazine wind gun” as “obsolete.” References to “magazine guns,” “magazine

   rifles,” or “magazine carbines” appear as early as 1860, when C. M. Spencer received a patent for

   a “magazine gun” (U.S. Patent No. 27,393, March 6, 1860). B. T. Henry patented a “magazine fire




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   arm” that same year (U.S. Patent No. 30,446, Oct. 16, 1860). And N. King patented another

   “magazine fire arm" in 1866 (U.S. Patent 55,012, May 22, 1866).

           22.     Although patents for guns with “magazines” capable of holding multiple bullets

   appear as early as 1860, in its separate, main entry for “magazine,” the OED gives the earliest use

   of “magazine” meaning ‘a bullet storage container’ as 1868, typically associated with weapons

   designed for military rather than civilian use. Though repeater guns began to be used by the

   military during and shortly after the Civil War, the corpus data suggests that use was not common,

   even in the military, nor were they commonly used by civilians at the time.

           23.     The data suggests that “cartridge boxes,” which I treated as analogous to today’s

   LCMs, would have been viewed as accoutrements, the ancillary equipment associated with

   soldiering, or service in the military.

           24.     The OED defines “accoutrements” as, “items of apparel; (more generally)

   additional pieces of dress or equipment, trappings; (Military) the outfit of a soldier other than

   weapons and garments.” [OED online, s.v. “accoutrement”; the word typically appears as a plural.]

           25.     Thus, the military sense of “accoutrements” generally refers, not to weapons, but

   to other accessories worn or carried by soldiers. The OED illustrates this second, military, sense,

   with an example from the Duke of Wellington’s dispatches in 1813: “In order to collect the

   wounded and their arms and accoutrements.” Here Wellington, widely recognized as a

   consummate soldier who would be well aware of military terminology, and who would soon defeat

   Napoleon at the Battle of Waterloo in 1815, makes a clear distinction between “arms” and

   “accoutrements.”

           26.     The OED definitions are instructive. But in order to determine more specifically

   whether the term “accoutrements” included “cartridge boxes,” the predecessor to modern




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   magazines, I consulted two digitized historical databases: COFEA and COEME. A COFEA search

   returns these examples where “cartridge boxes” and “cartouch boxes” are specifically included in

   the category of accoutrements, not arms

              a. 1776 – “The General is surprised to find the Militia applying for Cartouch Boxes
                 and other Accoutrements.” (George Washington, General Orders, February 17;
                 here Washington, who certainly knew his military terminology, refers to the fact
                 that militia members often failed to come equipped with their accoutrements,
                 including cartridge or cartouch boxes; see also Carl Bogus, Madison’s Militia,
                 Oxford Univ. Press, 2023, for a discussion of the militia’s general unpreparedness
                 for battle during the Revolutionary War).

              b. 1777 – “Many of their Arms are indifferent, and almost the whole [of
                 Washington’s troops] are destitute of pouches and Other necessary
                 Accoutrements.” (George Washington, Letter to John Hancock, October 10–11;
                 the pouches in question are ammunition holders; another instance where
                 Washington distinguishes between arms and accoutrements).

              c. 1777 – “The cartouch boxes and every other species of military accoutrements
                 annexed to the persons of the officers and soldiers of General Burgoyne’s army,
                 ought, agreeably to the spirit of the Convention, and the technical interpretation of
                 the word arms in similar cases, to have been delivered up…. though the surrender
                 of arms only is specified . . . yet the cartouch boxes and other military
                 accoutrements belonging to the noncommissioned officers and privates were
                 without hesitation given up to the commissaries of the American Army.”
                 (Journals of the Continental Congress 9, December, 1777, p. 1059). An
                 interesting example where the first part suggests that accoutrements are “arms” to
                 be surrendered, while the second part suggests that, although the terms of
                 surrender required the losing British to give up their “arms only,” they also
                 voluntarily gave the Americans their accoutrements. Given that the Americans
                 were eager to acquire as much war equipment as possible, the victors in this case
                 surely wanted to get everything they could from the British soldiers.

              d. 1778 – “[T]he board, on the 17th of April, impowered a Capt. Starr of Middleton
                 in Connecticut to receive a quantity of public leather of Colo. Trumbull, and get it
                 made up into shoes and accoutrements, half of each, the cartridge boxes upon the
                 new model; and to send on both to the main army….” (Timothy Pickering, Letter
                 to George Washington, June 9, 1778. At the time, cartridge boxes were made of
                 wood or leather, or a combination of the two).

              e. 1783 – “And as to cartridge boxes and other leathern accoutrements, saddles &
                 other furniture for dragoons….” (Timothy Pickering, Letter to George
                 Washington, April 22; the word “other” sweeps “cartridge boxes” into the general




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                   category of accoutrements).

          27.    And COEME adds this example, where “cartridge box” appears in a list that
   includes “accoutrements” but not “arms”:

                a. 1788 – “If you could only tell us how to keep papa at home, my drum, spontoon,
                   cartouch box, and accoutrements, should all be yours.” (The Children’s Friend,
                   Translated from the French).

          28.      My review of the corpora also confirmed that “accoutrements” are regularly

   referred to separately from “arms.” A COFEA search for the occurrence of “accoutrements” within

   six words of “arms” returned 873 hits (including a small number of duplicates). A similar search

   of COEME returned 126 hits, the earliest from 1656. I determined that the two search terms,

   “arms” and “accoutrements,” often appear together as a single phrase, “arms and accoutrements,”

   typically in military contexts having to do with an army or militia unit. “Accoutrements” often

   occurs in a list alongside, but separate from, ammunition: “arms, accoutrements, (and)

   ammunition,” though when ammunition is not listed separately, the term “accoutrements” will

   generally include ammunition. The second OED citation for “accoutrements,” dated 1902,

   differentiates “ammunition” from “accoutrements”: “When they landed they brought on shore

   besides a quantity of ammunition and accoutrements…and large stores of flour, sugar and tobacco,

   &c.” (G. S. Whitmore, Last Maori War i. 4).

          29.      “Arms” as a stand-alone term refers to weapons. “Arms” almost never includes

   ammunition or ammunition storage containers such as cartridge boxes. These are the three

   examples that a COHA search returns:

          a. 1780 – “It is necessary to obtain ammunition, arms and accoutrements, and as many
             horses as you can get” (William Dobein James, “A Sketch of the life of Brig. Gen.
             Francis Marion and a history of his brigade,” 1820—although this account was
             published in 1820 it quotes from a letter dated 1780).




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          b. 1909 – “Lyon was ordered to deliver to Governor Yates 10,000 stand of arms with
             accoutrements and ammunition.” (Robert J. Rombauer, “The Union Cause in St.
             Louis in 1861”).

          c. 1949 – “It will be necessary that arms, ammunition, accoutrements, tents and camp
             equipage be deposited there for them the troops.” (Francis F. Beirne, “War of 1812”).


          30.     The “cartridge box” or “cartouch box”—the precursor to today’s “magazine”—is

   typically mentioned in lists of accoutrements, often in connection with other items worn with a

   soldier’s uniform. The “cartridge box” almost never appears to be included among a soldier’s

   weapons. The OED defines “cartridge box” as “a box for storing or carrying cartridges; the case

   in which a soldier carries his supply of cartridges” (OED online; this definition covers “cartouch

   box” as well). The OED cites the definition in Smyth and Belcher’s Sailor’s Word-Book (1867) to

   illustrate its function. Here is the full definition of “cartridge-box” in that dictionary of navy

   terminology: “a cylindrical wooden box with a lid sliding upon a handle of small rope, just

   containing one cartridge, and used for its safe conveyance from the magazine to the gun—borne

   to and fro by the powder-monkeys (boys) of old. The term is loosely applied to the ammunition-

   pouch” (Admiral W. H. Smyth and Vice-Admiral Sir E. Belcher, The Sailor’s Word-Book: An

   Alphabetical Digest of Nautical Terms, London, 1867; see ¶ 58, below, for the authors’ definition

   of “magazine” as a gunpowder storeroom either on land or on a ship). The OED offers an 1892

   citation for “magazine” as the equivalent of a cartridge box, calling such usage “obsolete and rare”:

   “W. W. Greener, Breech-loader 184 Cartridges are best carried in a magazine of solid leather”

   (OED online, s.v. magazine, IV (d)). By that time, “magazine” was more typically used in the

   sense we use it today, “A container or (detachable) receptacle in a repeating rifle, machine-gun,

   etc., containing a supply of cartridges which are fed automatically to the breech” (OED online, s.v.

   magazine, sense IV (b)).




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           31.     A search of Readex America’s Historical Newspapers for “cartridge box,” and the

   synonymous “cartouch-box,” for the Founding Era years 1750–1790 returns 176 citations.

   including multiple duplicates. A Readex search for the period after the adoption of the Fourteenth

   Amendment, from 1868–1890, returns 1,306 citations, also with many duplicates. The following

   examples show instances where “cartouch boxes” or “cartridge boxes,” are categorically separate

   from arms or appear in the list of accessories to arms (examples (a), (b), (d), (e), (g), (h), (i)). And

   examples (f), (j), (k), (l), (n), (o), (p), (q), and (r) clearly show that cartridge boxes are

   accoutrements, not arms:

       a. 1756 – “Every such Male Person . . . provide himself with one well fixed Musket, or
          Fuzee, with a Worm and Priming Wire, one Cartouch Box, with nine charges of Gun
          Powder, and Ball suitable therein, and three good Flints … and shall keep such Arms and
          Ammunition by him, in good Order.” Pennsylvania Gazette, May 13, 1756. The parallel
          structure of arms and ammunition suggests that the Musket and Fuzee are arms, the rest,
          accoutrements.

       b. 1774 – “That each man be provided with a good firelock and bayonet fitted thereon, half
          a pound of powder, two pounds of lead, and a cartouch box, or powder-horn and bag for
          ball, and be in readiness to act on any emergency.” Proceedings of the Continental
          Congress, Pennsylvania Journal, December 21, 1774. Again, the parallel structure
          suggests that firelock and bayonet are the arms, while powder, lead, and cartouch box are
          accessories.

       c. 1775 – “That each Inhabitant, or Person, as aforesaid, who shall provide Arms for
          himself, well fixed with a good Bayonet and Cartouch-Box, shall be paid a minimum of
          10s.” The Massachusetts Gazette, May 19, 1775. Here again, arms and cartouch boxes
          seem separate categories.

       d. 1775 – “We hear from Charlestown, South-Carolina, that on the 21st of March, at Night,
          about eight Hundred Stand of Small Arms, 2 Hundred Cutlasses, and all the Cartouch-
          Boxes, fit for Service, with several Bundles of Match & some Flints, were taken out of
          the public Armoury.” New Hampshire Gazette, June 2, 1775.

       e. 1775 – “Deserted from Colonel Woodridge’s regiment . . . Martin Nash . . . carried away
          a long gun of Gen. Pomeroy’s make, a cartridge box and good stock of ammunition
          belonging to the province.” New England Chronicle, November 9, 1775.

       f. 1778 – “List of Necessaries and Accoutrements for each Horseman: 1. A well-tempered
          sword . . . 2. A carbine, fusee, or short blunderbuss . . . 3. A pair of pistols and holsters. 4.
          A sword-belt—a belt for the carbine . . . 5. A cartridge-box to buckle round the waist,


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          with twelve tin pipes for the cartridges. 6. A helmet . . . 7. A saddle….” New-Jersey
          Gazette March 25, 1778. The mention of the cartridge box further down this list suggests
          that it is an accessory.

      g. 1785 – “A Neapolitan officer was killed in the same engagement by a cartouch box
         taking fire while charging the guns.” South-Carolina Weekly Gazette, August 4, 1785.

      h. 1787 – Abstract from the Militia Law. “That every non-commissioned officer and private
         soldier of the said militia . . . shall equip himself . . . with a good fire-arm, with a steel or
         iron ramrod, a spring to retain the same, a worm, priming wire and brush, a bayonet fitted
         to his fire-arm, and a scabbard and belt for the same, a cartridge box that will hold fifteen
         cartridges at least, six flints, one pound of powder, forty leaden balls suitable for his fire-
         arm, a haversack, blanket, and canteen.” Massachusetts Gazette, February 2, 1787.

      i. 1787 – “All persons liable to do Militia Duty . . . must provide themselves with proper
         arms and accoutrements, viz. a musket and bayonet, a cartouch box or pouch that will
         contain twenty-four cartridges.” State Gazette of South Carolina, July 16, 1787. Parallel
         structure here suggests that musket and bayonet are arms, cartouch box, pouch, and
         cartridges are accoutrements.

      j. 1793 – Cartridge boxes appear under the category “military stores” in this multi-page
         “List of Ordnance, Arms, and Military Stores” in American State Papers, Senate, 3rd
         Congress, First Session, vol. 1, p. 45. Items on this list also include “bullet pouches,”
         “gun rods,” “worms,” and “fuses.”

      k. On p. 47, “cartouch boxes” and “cartridge boxes” appear under “military stores.” On p.
         49, “musket cartridges” themselves are listed as “military stores.” Suggesting that these
         lists may be regarded as ad hoc rather than definitional, on p. 50, “cartouch boxes” are
         listed under “arms.” But on pp. 52 and 57, “cartouch boxes” appear under “Military
         Stores.” On p. 60, “cartridge boxes” and “musket cartridges” are listed under “stores.” In
         sum, “cartridgte boxes” and synonyms are most commonly listed as stores, not arms.
         https://memory.loc.gov/cgi-
         bin/ampage?collId=llsp&fileName=016/llsp016.db&recNum=49

      l. 1868 – “Government Sale at Watertown Arsenal Mass. . . . Lot of cavalry accoutrements,
         consisting of Cartridge Boxes, Pistol Holsters, Sabre Belts, Knots, &c.: lot of Infantry
         accoutrements, consisting of Bayonet Scabbards, Cap Pouches, Cartridge Boxes, Gun
         Slings.” Evening Star (Washington, D.C.), January 9, 1868. [Perhaps the clearest and
         most direct citation specifying cartridge boxes, a term that persists during the
         Reconstruction Era, as accoutrements.]

      m. 1868 – Another government sale lists weapons (carbines, muskets, rifles, and pistols)
         followed by a list of items that are separate from weapons: “254 carbine cartridge boxes,”
         carbine slings, cavalry sabre belts, bayonet scabbards, cap pouches, “1,619 cartridge
         boxes,” “257 cartridge-box Belts,” gun slings, waist belts, “and various other articles.”
         Daily Morning Chronicle (Washington, D.C.), April 22, 1868.




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      n. 1869 – This account describes the new French “Mitrailleuse,” a field weapon which
         would seem to be analogous to what we call a machine gun today, and the cartridge box
         would be the equivalent of we call today a detachable magazine. The Mitrailleuse is “a
         new ‘ball syringe’ in the shape of a small cannon. . . . It contains thirty-seven common
         infantry cartridges, arranged like cigars in a bundle. As soon as it is attached to the breech
         of the cannon, the Mitrailleuse is loaded. A man sitting on the carriage fires it by turning
         a crank. . . . The crank is turned once more and the cartridge box is removed from the
         cannon; a man to the right takes it, removes it from the ‘cigar box’; the men to the left put
         a new one in.” Missouri Republican (St. Louis), September 3, 1869, p.2. It is important to
         note in this citation that “cartridge box” is used to refer to what today we would call a
         detachable magazine that both contains ammunition and feeds it. Although the term
         “magazine” was available at the time to refer to an “ammunition container,” it was still
         not a common term, and the writer uses the apparently more-familiar term “cartridge
         box” here.

      o. 1870 – In this description of the French National Guard, the writer notes the importance
         of rapid-fire rifles for defense against the Prussian troops. Several paragraphs later, the
         cartridge box is listed along with a guard’s uniform requirements: “a uniform will be
         obligatory for all. Each one must be provided with a weather-proof knapsack. . . , a
         cartridge-box or pouch, and a half-woolen covering of the material of a tent.” New York
         Tribune, November 5, 1870.

      p. 1871 – Article about a memorial statue in which the cartridge box is identified as part of
         the soldier’s uniform: “a soldier dressed in full uniform (overcoat, cartridge box, belt,
         etc.,) leaning on his musket.” Boston Journal, November 12, 1870.

      q. 1872 – This list of government ordnance and ordnance stores for sale groups weapons
         and accoutrements separately, with cartridge boxes clearly identified as accoutrements.
         The weapons for sale are muskets, rifled muskets, and revolvers, followed by this
         comment, “Nearly all the Starr’s Revolvers and about two-thirds of the other arms are in
         fair order.” After the arms list comes the list of accoutrements, consisting of cap pouches,
         waist belts, bayonet scabbards, “cartridge box and belt plates,” musket and pistol
         appendages, “and an assortment of other accoutrements and appendages.” Daily Morning
         Chronicle (Washington, D.C.), February 3, 1872.

      r. 1876 – In this description of a dead body of a soldier found on a beach, the cartridge box
         is described as an article of the deceased’s uniform: “The body was clothed in a blue
         overcoat and pants, and had on waist-belt, cross-belt and cartridge-box.” Wilmington
         Morning Star (North Carolina), February 8, 1876.

      s. 1879 – The cartridge box forms part of a new military uniform: “In the rest of the brigade
         the multiplicity of belts is done away with, and in place is substituted a simple body belt
         to which the bayonet scabbard and cartridge box is attached. Equipped in such a uniform
         . . . the brigade will present a solid and soldierly appearance.” New Haven Register, July
         28, 1879.




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          32.      In sum, in the vast majority of examples, arms referred to weapons. Arms generally

   did not include ammunition or other weapon accessories, including the cartridge box, the historical

   analog to magazines. Instead, “cartridge boxes” and “cartouch boxes” were considered

   “accoutrements,” or accessories, like the other military equipment (scabbards, belts, and so forth)

   that was separate from, and did not include, arms.

          33.      But English usage is never simple. As linguists often put it, “all grammars leak”—

   which is to say, there are always a few counterexamples in the data. The existence of such outliers

   does not invalidate the data or undercut an interpretation; it simply shows that although the users

   of a language share a common sense of what words and grammatical constructions mean, variation

   in meaning and usage occurs in all human language. Given the volume of samples, that is not

   surprising. In addition to the 1777 entry in the Journals of the Continental Congress (above), where

   “arms” seems to include accoutrements in one part of the sentence and in the next it seems to

   exclude accoutrements, this example from COFEA shows that “accoutrements” may occasionally

   encompass arms:

                a. 1789 – A few years since, some boys, equipped in mock military accoutrements,
                   such as paper-caps, paper-belts, wooden swords, &c. were beating up for recruits
                   in Parliament-street, Boston. [The American jest book: Part I[-II]; emphasis
                   added; here military accoutrements includes toy swords.]

          34.      In these four citations from the Readex newspaper corpus, it is not always clear

   from the context whether cartridge boxes are arms or accoutrements, or if they are simply not being

   categorized:

                a. 1753 – “[E]very listed Soldier and other Householder . . . be always provided with
                   a well-fix’d Firelock . . . a Snapsach, Cartouch Box, one Pound of Powder, twenty
                   Bullets fit for his Gun, twelve Flints, a good Sword or Cutlass, a Worm and
                   Priming Wire, on penalty of six Shillings for want of such Arms as is hereby
                   required, and two Shillings for each other Defect.” Boston Post-Boy, April 30,
                   1753. Considering citation (c), below, dated 1756, it is likely that the fine for not
                   having a cartouch box in this example would not be the higher fine for a weapons



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                   defect, but rather the lower fine of 2s. levied for “other defects.”

                b. 1755 – “whoever provides himself a good Firelock, Sword or Hatchet, Belt and
                   Cartridge-Box, to receive 16s. more . . . . but the Arms to be returned when the
                   Service is over.” Boston Gazette, April 21, 1755. It is not clear from the context
                   whether the cartridge boxes are part of the arms that must be returned. In other
                   articles, cartridge boxes are treated as personal items. They may bear a variety of
                   decorations, and they are sometimes listed along with other uniform items in a
                   description of a soldier’s funeral.

                c. 1756 – “That every Male Person . . . shall . . . provide himself with one well fixed
                   Musket, or Fuzee, with a Worm and Priming Wire, one Cartouch Box with nine
                   Charges of Gun Powder, and Ball suitable therein, and three good Flints . . . and
                   shall keep such Arms and Ammunition by him, in good Order, and fit for Service,
                   at all Times . . . under the Penalty of Twenty Shillings for Want of a well fixed
                   Musket or Fuzee, with a Worm and Priming Wire, and Two Shillings for the
                   Want of every Cartouch Box, and Two Shillings for the Want of nine Charges of
                   Gun Power and Ball, and three Flints, or any of them.” Pennsylvania Gazette,
                   May 13, 1756. The larger fine for lack of arms, along with lower fines for missing
                   Cartouch Boxes and ammunition, suggest that cartouch boxes and cartridge boxes
                   do not belong to the category “arms” but are instead a form of accessory.

                d. 1785 – “His European weapons consisted of a musket, bayonet and cartouch-box;
                   a fowling piece; two pair of pistols; and two or three swords or cutlasses.” History
                   of Capt. Cook’s Voyage, Massachusetts Centinel, January 15, 1785. Here
                   cartouch box appears among the list of weapons carried by an islander that Cook
                   encountered.

          35.      Another cite, from 1777, refers to firearms and other military accoutrements,

   implying, by the use of the word “other,” that arms may be a subcategory of “accoutrements”:

          “any drafted soldier . . . who is unprovided with a fire-arm, and other military
          accoutrements prescribed by the militia law.” Massachusetts, Acts & Laws, March Session,
          Colony of Massachusetts Bay, 1777, p. 10 (but see ¶ 37, ex. a).

          36.      “Arms” are sometimes included as a subcategory of accoutrements, when

   “accoutrements” is used in its most general sense, referring to ‘the equipment of a soldier,’ but that

   does not mean that “arms” typically includes accessories or other “accoutrements.”




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          37.        Despite a handful of exceptions like those just cited, in literally hundreds of cases,

   “arms” and “accoutrements” are treated as separate categories of military gear. Here are some

   typical examples from the Founding Era:

          a. 1776 – “The Sum of ten Shillings … to purchase said Fire Arms and Accoutrements”
             (Acts and Laws March Session, Colony of Massachusetts Bay). Here arms and
             accoutrements are separate, unlike the citation from 1777, above in ¶ 35, from the
             same source, where arms and accoutrements are lumped together).

          b. 1780 – “arms, ammunition, accoutrements, drums and fifes in possession of the
             respective regiments” (George Washington, General Orders January 22).

          c. 1783 – “Such of the Noncommissioned officers and privates … shall be allowed the
             fire arms and accoutrements as an extra reward” (George Washington, General
             Orders, May 1).

          d. 1795 – “you will march …. with arms and accoutrements in good order.” (Incidents
             of the Insurrection in the Western Part of Pennsylvania, in the year 1774). This
             example is from COEME; the other examples in this list are from COFEA.

          e. 1798 – “To hold his powder and his ball, his gun, accoutrements and all ….” (French
             Arrogance, or, “The Cat Let Out of the Bag”). This poetic example shows that the
             idiomatic phrase arms and accoutrements has become part of the general language
             available not just to military specialists but also to poets and novelists.


          38.        A newspapers.com search for “accoutrements” returns 1,392 hits. There are 692

   matches for the exact phrase “arms and accoutrements.”

          39.        Here is a mid-eighteenth-century British example from the newspapers.com corpus

   where “arms” and “accoutrements” are separate categories, as is “ammunition”: “This Militia shall

   receive their Arms, Accoutrements, and Ammunition from the Ordnance.” Derby Mercury, March

   19, 1756, p. 3.

          40.        Similarly, there is this “ploughshares into swords” example of a Cambridge

   University library to be converted to military use: “[T]he new Building intended for a publick

   Library . . . may be converted into a Barrack, and be supplied with Provisions, Arms, and




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  Accoutrements, at the Expence of the University” Jackson’s Oxford Journal, March 20, 1756, p.

  2.

         41.        A search of “arms and accoutrements” in the Readex database of America’s

  Historical Newspapers returns 3,103 hits from 1750–1800; and 2,036 hits from 1868–1880. An

  early example from the colonial period appeared in the Boston Evening Post in 1750. It

  distinguishes “arms” from uniforms, “accoutrements,” and other military equipment: “All

  Gentlemen Volunteers [in Nova Scotia] . . . shall be completely Cloathed in blue Broad Cloth,

  receive Arms, Accoutrements, Provisions, and all other Things necessary for a Gentleman Ranger”

  (Boston Evening Post, September 10, 1750, p. 2).

         42.        This cite from the Pittsburgh Gazette in 1789 reflects a clear sense that “arms” and

  “accoutrements” are distinct categories in the new nation as well: “The militia . . . must be

  considered as the palladium of our security …. The formation and discipline of the militia of the

  continent should be absolutely uniform; and that the same species of arms, accoutrements, and

  military apparatus, should be introduced in every part of the United States” (Pittsburgh Gazette,

  February 14, 1789, p. 1).

         43.        The text of a bill in Congress to establish a uniform militia appeared in the New

  York Journal in 1790. It confirms the Founding-Era sense that “arms,” “ammunition,” and

  “accoutrements” make up distinct and separate elements of a soldier’s kit: “There shall be

  appointed an adjutant general for each state … whose duty it shall be to … report[] the actual

  situation of their arms, accoutrements, and ammunition…. Every non-commissioned officer or

  private … for appearing at such meeting or rendezvous without his arms, ammunition, or

  accoutrements, as directed by this act, shall pay the sum of twenty-five cents” (New York Journal,

  July 23, 1790).




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         44.     And this cite from 1868 clearly distinguishes what counts as “arms,” and what

  counts, separately, as “accoutrements”: “At Watertown Arsenal, Massachusetts … the following

  Arms, &c., will be sold:10,699 rifled and smooth-bore Muskets … ; 261 Carbines … ; 305 Sabres

  … ; lot of cavalry accoutrements, consisting of Bayonet Scabbards, Cap Pouches, Cartridge Boxes,

  Gun Slings, Waist Belts, &c.” Daily Morning Chronicle (Washington, D.C.), January 7, 1868, p.4.

         45.     The newspaper data parallels that of COFEA: the phrase “arms and accoutrements”

  is almost always military. The phrase sometimes occurs alongside “ammunition” as a separate list

  item. “Accoutrements,” when it appears alone in a military context in these newspapers, is a more

  general term, used for gear and rarely, for arms as well.

         46.     It is clear that “arms and accoutrements” was, during the eighteenth and nineteenth

  centuries, a common military phrase, in both England and America. English often yokes terms

  commonly found together into idiomatic pairings, sometimes called binomials, like “bacon and

  eggs” or “salt and pepper.” Such pairs take on the characteristics of a formula and often appear in

  the same order (this order may be dictated by logical succession of events, or it may be random).

  For example, “eggs and bacon” is rarer than “bacon and eggs.” Such ordered pairs are called

  “irreversible binomials,” though there is often nothing but custom to prevent anyone from

  reversing the order.

         47.     The word “accoutrements” typically occurs in a list after “arms” (more rarely, it

  may occur before “arms” as well), and it is typically a separate category from “arms” (though not

  always, as the above examples show).

         48.     There are over 47,000 citations in newspapers.com for “arms” or “accoutrements”

  in the period 1868–1900, and 15,799 cites for the exact phrase “arms and accoutrements.”

  Examining a selection of the 15,799 citations of the phrase confirms that both in England and the




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  United States, “arms” and “accoutrements” are separate categories. Here is one example from

  Gloucestershire, in England, in 1868: “[A] letter was received from the Home Secretary, pointing

  out the danger of permitting an accumulation of arms and accoutrements to take place in prisons,

  and requesting, if there were any arms or munitions of war stored in the prison, that they should

  be removed to the nearest military depot.” Gloucester Chronicle, January 4, 1868, p. 2.

         49.     A similar cite from Iowa in 1868 states, “Persons having in their possession any

  arms, accoutrements or ammunition belonging to the State, are requested to return the same at once

  to the Adjutant General, as proper places have been provided by the State for the safe keeping of

  all such property.” Cedar Falls Gazette (Iowa), January 10, 1868, p. 3.

         50.     And this, from Stroudsburg, Pennsylvania, also 1868, states: “More than half of the

  Seventh Cavalry (Custer’s) decamped with their horses, arms, and accoutrements, and probably

  made their way to the gold regions of Colorado and Montana.” The Jeffersonian (Stroudsburg,

  Pennsylvania), January 9, 1868, p. 2.

         51.     The circa-1868 data confirmed the Founding Era data that “accoutrements” is

  primarily a military term, and that when “accoutrements” co-occurs with “arms,” the terms refer

  to separate categories of equipment.

         52.     One final note on “accoutrements”: the United States Supreme Court’s recent

  decision in New York State Rifle and Pistol Association v. Bruen, 142 S. Ct. 2111 (2022) references

  North Carolina v. Huntley, 25 N.C. 418 (1843), a decision by the North Carolina Supreme Court

  affirming Huntley’s conviction for carrying a shotgun illegally “to the terror of the people,” as

  forbidden by the Statute of Northampton in 1328. In that decision, the North Carolina Supreme

  Court stated, “A gun is an ‘unusual weapon,’ wherewith to be armed and clad. No man amongst

  us carries it about with him, as one of his everyday accoutrements—as a part of his dress …”




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         53.     In the citation above, “accoutrements” does not refer to weaponry, but to the more

  general category of “everyday attire, or clothing.” The court is saying that it may be normal to

  wear a shirt, or a belt, or shoes, but it is not normal to wear a gun in North Carolina in 1843. It is

  legal—the court agrees—to carry a gun for any lawful purpose, “either of business or

  amusement”—but it is not normal or typical to do so. In affirming Huntley’s conviction, the court

  noted that his purpose in carrying a shotgun was not a legal one.


     What does it mean to go “armed”?

         54.     Many Founding Era laws restrict persons from “going armed” in particular

  circumstances. Searching COFEA for occurrences of “armed” within six words of “ammunition”

  yields nine citations, of which the following are relevant:

         a. 1776 – If Nine Months ago the Colonies had assumed Governments, they would
            have been infinitely better armed, trained, furnished with Ammunition, salt Petre,
            Powder Works—they would have been rid of the Plague of Toryism. (From John
            Adams to William Heath, 15 April 1776;
            https://founders.archives.gov/documents/Adams/06-04-02-0042)

         b. 1777 – A detachment of 900 men and twelve light horsemen, with proper officers, to
            furnish themselves with three days provisions, cooked, and parade at 2 o’Clock this
            afternoon, behind the park of Artillery, completely armed, accoutered and furnished
            with ammunition, and with their blankets slung. (General Orders, 21 June 1777;
            https://founders.archives.gov/documents/Washington/03-10-02-0091)

         c. 1778 – I desire you to send a party of 150 Men, under a good Officer, well armed and
            completed with Ammunition to Bartholomews Tavern. (From George Washington to
            Brigadier General John Lacey, Jr., 2 March 1778;
            https://founders.archives.gov/documents/Washington/03-14-02-0021)

         d. 1779 – The soldiers of such militia, if not well armed and provided with ammunition,
            shall be furnished with the arms and ammunition of the county, and any deficiency in
            these may be supplied from the public magazines or if the case admit not that delay,
            by impressing arms and ammunition of private property; which ammunition, so far as
            not used, and arms, shall be duly returned, as soon as they may be spared. (6. A Bill
            Making Provision against Invasions and Insurrections, 18 June 1779;
            https://founders.archives.gov/documents/Jefferson/01-02-02-0132-0004-0006)




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         e. 1785 – same language as above, used in a Virginia militia law. (Collection of All
            Such Public Acts of the General Assembly and Ordinances of the Conventions of
            Virginia, Passed since the year 1768.
            https://heinonline.org/HOL/P?h=hein.sstatutes/pagava0001&i=1)

         f. 1790 – The Warriors of the Creeks have been stated at various numbers from four to
            six thousand, and are said to be generally well armed, and furnished with
            ammunition. (To George Washington from Henry Knox, 4 January 1790;
            https://founders.archives.gov/documents/Washington/05-04-02-0353)

         g. 1790 – such armed vessel, with her tackle, appurtenances, ammunition . . . . (Annals
            of the Congress of the United States 1st Congress to 18th Congress, 1st Session
            (1789-1924); https://heinonline.org/HOL/P?h=hein.congrec/aoc0009&i=1)

         55.     For the same dates, searching “arms” and “ammunition” yields more than 973 hits;

  in all of these, “arms” and “ammunition” are separate categories, as shown in my earlier discussion

  of these terms. Some of the lists mention accoutrements as well. Here are some samples: arms,

  accoutrements, and ammunition (1776); arms, ammunition, and clothing (1776); arms, blankets,

  cloathing, kettles, and ammunition (1776); arms, ammunition, and blankets (1776); arms,

  ammunition, and stores (1776); arms, ammunition, and warlike stores (1776); arms, ammunition,

  cannon, and other implements of war (1776); arms, ammunition, money, or other stores (1776);

  arms, ammunition, money, cloathing, or other articles (1776); arms, ammunition, flints, and lead

  (1776); arms, gun powder, ammunition, provisions (1777); Cloathing and particularly shoes —

  Arms, dragoons and Horse Equipments, Ammunition of every kind (1781).

         56.     Searching COEME for the dates 1641–1800 for “armed” within six words of

  “ammunition” yields 23 hits, of which the following are relevant (some duplicates have been

  removed):

         a. 1641 – great ships full of ammunition and armed men (The life of Merlin, sirnamed
            Ambrosius his prophesies and predictions interpreted; eebo.A43598).

         b. 1642 – completely armed and well furnished with ammunition. (September 29. 1642.
            The persons to whom the militia of the Citie of London is committed, for the safetie
            of the said Citie, have thought fit, and hereby declare. EEBO eebo.A88439).



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         c. 1658 – exceeding well armed and furnished with excellent ammunition (A compleat
            history of the life and raigne of King Charles from his cradle to his grave collected
            and written by William Sanderson, Esq.; eebo.A62144).

         d. 1658 – The County were not so many, ill trained, dispersed, meanly armed, slender
            Ammunition, and such Commanders as in like cases are more for reputation, then
            direction or execution. (A compleat history of the life and raigne of King Charles
            from his cradle to his grave collected and written by William Sanderson, Esq.)

         e. 1662 – Neither excellently armed nor plentifully stored with ammunition (The history
            of the worthies of England who for parts and learning have been eminent in the
            several counties : together with an historical narrative of the native commodities and
            rarities in each county, endeavoured by Thomas Fuller. eebo.A40672).

         f. 1680 – well provided both of Victuals and Ammunition, and armed with Ordnance
            both great and small. (The history of the Turkish empire from the year 1623 to the
            year 1677 containing the reigns of the three last emperours / by Paul Rycaut, Esq.;
            eebo.A57996).

         g. 1687 – these Powerful Perſons would by no means conceal their triumph over Us, but
            the next day are guarded from their residence in the City with multitudes of armed
            Men and Ammunition in a hostile and warlike manner to Westminſser. (Basiliká the
            works of King Charles the martyr: with a collection of declarations, treaties, and other
            papers; eebo.A31771).

         h. 1688 – the Souldiers raised and armed, and the Victuals and Ammunition provided.
            (The royal commentaries of Peru, in two parts the first part, treating of the original of
            their Incas or king; eebo.A42257).

         i. 1775 – five private men, all well armed, with plenty of ammunition, two wall-pieces,
            and three days provision. (Journal of the Resolution's voyage: in 1772, 1773, 1774,
            and 1775. On discovery to the southern hemisphere; ecco.K111410.000).

         57.     COEME and COEFA do not cover the post-Civil War period, and newspaper

  searches for that period for the “armed” together with “ammunition” are not practical because

  these databases do not permit collocate searches. From my searches of COFEA and COEME, I

  conclude being “armed” in the Founding Era typically refers to weapons, while “ammunition,”

  when it is mentioned, is typically listed as a separate category, along with other items like food or

  accoutrements. In addition, “arms” and “ammunition” are routinely treated as separate categories

  before and during the Founding Era, both in England and in the U.S. “Ammunition,” when it occurs




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  in lists, often appears in the pair of items “arms and ammunition” or in the three item list, “arms,

  ammunition, and accoutrements.” But “ammunition” does not always appear immediately before

  or after “arms.” In several cases “arms” occurs first, then there are one or more intervening list

  items, such as food, blankets, or clothing, and then “ammunition.” This further supports my

  conclusion         that       “arms”          does        not         include        “ammunition.”



     Some early use of the words “magazine” and “magazine wind gun,” along with instances
     of repeater or magazine guns in the Founding Era and the years 1860–1880

         58.     Although most uses of the word “magazine” today still refer to printed periodicals,

  during the nineteenth century, one sense of the term “magazine” narrows, referring more and more

  to an “ammunition container,” a primary sense of the word in reference to firearms today. The

  OED defines magazine, sense IV b, as “A container or (detachable) receptacle in a repeating rifle,

  machine-gun, etc., containing a supply of cartridges which are fed automatically to the breech,”

  with the earliest citation in this sense from 1868 (OED online). It is noteworthy that as late as

  1867, the British naval dictionary The Sailor’s Word-Book retains the older definition of

  “magazine” as a gunpowder storage facility on land or at sea: “A place built for the safe-keeping

  of ammunition; afloat it is confined to a close room, in the fore or after part, or both, of a ship’s

  hold, as low down as possible; it is lighted occasionally by means of candles fixed in the light-

  room adjoining it, and no person is allowed to enter it with a lamp or candle” (Admiral W. H.

  Smyth and Vice-Admiral Sir E. Belcher, The Sailor’s Word-Book: An Alphabetical Digest of

  Nautical Terms, London, 1867; the authors suggest that the placement of the magazine room “as

  low down as possible” minimizes the risk of a direct hit by enemy fire, and they note as well that

  no one is permitted to carry a lighted flame into the ship’s magazine room to minimize the risk of

  an accidental explosion; see ¶ 30, above, for the Smyth and Belcher definition of the term




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  “cartridge-box” to refer to the box or pouch used for transporting ammunition to a small arm or a

  large gun). In addition, Smyth and Belcher define “repeating fire-arm” as “One by which a number

  of charges, previously inserted, may be fired off in rapid succession, or after various pauses. The

  principle is very old, but the effective working of it is new.” Their definition—which does not

  mention “magazine” in connection with such guns—acknowledges the existence of earlier repeater

  guns, but judges them to have been ineffective. Only the repeater guns designed and manufactured

  in quantity during the period just before the dictionary’s publication in 1867 are actually judged to

  be “effective.” The earliest example in COHA of “magazine” referring to the ammunition

  compartment is dated 1882: “Solitary travelers still find it prudent to make a display of a magazine

  rifle, and to keep a sharp eye on any roving bands” (E. V. Smalley, “The New North-West,”

  Century, September, 1882, pp. 769–79). COHA lists only 40 examples of “magazine rifle,”

  occurring a bit later, between 1890 and 1930. “Magazine gun” appears in the COHA data 16 times

  between 1920–2010. And an 1893 editorial in the New York Times refers to the army’s “new

  magazine rifle” (“New Powder for the Army,” New York Times, December 7, 1893, p. 4).

  However, as with a very few instances of “accoutrements” including “arms,” there are an

  extremely small number of early counterexamples between 1744 and 1820 where “magazine”

  refers to the bullet compartment of a gun—not a pistol or rifle using conventional gunpowder and

  bullets, but an air gun.

          59.     The common, single-shot “wind gun” or “air gun” used compressed air rather than

  ignited gunpowder to propel a ball, and was much quieter than a traditional gun. Although the air

  gun did not require powder or a match, the user had to re-charge the compressed air cylinder once

  the air had been expended. The novelist and essayist Oliver Goldsmith found air guns to be useful

  for experiments in physics, adding, “THIS, however, is but an instrument of curiosity, and




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  sometimes of mischief” (Oliver Goldsmith, A survey of experimental philosophy, considered in its

  present state of improvement, 1776). This newspaper story from the same period reports that the

  scientist Joseph Priestley was injured by an accidental discharge of an air gun: “We hear from

  Birmingham, that the celebrated Dr Priestley, in a late trial of some experiments with an air gun,

  was badly wounded by an accidental discharge of it; the ball with which it was loaded, passing

  thro’ one of his hands, and shattering it to pieces” (The Leeds Intelligencer and Yorkshire General

  Advertiser, June 5, 1781, p. 3).

         60.     A number of newspaper references suggest that its relative quietness made the air

  gun popular with criminals, and many references to air guns refer either to accidental discharges

  or to criminal assaults (to cite an example of the latter, numerous newspaper accounts in 1785

  suggested that the weapon which broke a window in an attack on King George III’s carriage was

  an air gun).

         61.     Air guns typically fired a single shot. However, there are references in the corpora

  to approximately eight inventors between 1744 and 1820 who built air guns capable of firing

  anywhere from 9 to 50 balls without reloading the ammunition or recharging the compressed-air

  cylinder. Lexical evidence suggests almost all of these repeater air guns were experimental models

  rather than guns available for military or civilian use.

         62.     The OED dates the term “magazine wind-gun” to 1744 in a reference to an air gun

  capable of firing more than one shot without reloading. “Magazine wind-gun” is the term used by

  its inventor, a man named L. Colbe. I have found no other examples of the term “magazine wind

  gun” in any database, suggesting that the phrase is a hapax legomenon, or “oncer,” terms that

  lexicographers use to define a word that merits a definition, but that does not appear anywhere

  else. Colbe also uses the term “magazine gun” for his device, and that term does occur twice more




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  in the data, suggesting that it was never a common term. In an entry separate from its entry for

  “magazine,” the OED marks the usage of both “magazine wind gun” and “magazine gun” as “rare”

  and “obsolete”:

               a. †magazine wind-gun n. Obsolete rare a type of wind-gun fitted with a magazine of
                  bullets. 1744 J. T. Desaguliers Course Exper. Philos. II. 399 An ingenious
                  Workman call’d L. Colbe has very much improv’d it [sc. the old Wind-Gun], by
                  making it a Magazine Wind-Gun; so that 10 Bullets are so lodg’d in a Cavity…that
                  they may be…successively shot. [Oxford English Dictionary Online, s.v. magazine
                  wind-gun.]

         63.      The OED citation is from John Theophilus Desaguliers, A Course of Experimental

  Philosophy (London, 1744), vol. II: 399–402. Desaguliers, an assistant to Isaac Newton, was a

  member of the Royal Society who specialized in mechanics and hydraulics. In his treatise,

  Desaguliers offers an elaborate description of the common, single-shot wind gun, more typically

  referred to as an air gun, along with a three-page description of Colbe’s so-called “Magazine Wind-

  Gun,” accompanied by a detailed drawing of the mechanism of that gun. I have found no

  biographical information about L. Colbe, inventor of the gun, and I have found no lexical evidence

  that Colbe made more than one such gun, or if he did, that it was produced in any significant

  numbers. Although Desaguliers suggests that this “magazine gun” may be “the best Defence

  against Highway-men, or Robbers that Travellers are aware of because when they have cause to

  suspect them, they may make five or six Discharges before a Thief can come within Pistol-Shot”

  (Id. at 402), there is no evidence in any of the corpora that Colbe’s invention was ever used either

  by the military for any purpose, or by civilians for individual self defense. And there is no lexical

  evidence that the other repeater air guns invented before the mid-nineteenth century were ever

  more than curiosities until workable models of what we now call machine guns or automatic or

  semiautomatic weapons, using conventional gunpowder and bullets, not compressed air and balls,

  were produced during and after the Civil War.



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         64.     As further confirmation that the magazine wind gun was an anomalous and

  uncommon term, the OED definition of “magazine,” updated most recently in 2022, gives the

  earliest date of the sense of the word as ‘ammunition container’ as 1868. The corpus evidence

  confirms that the magazine wind gun is correctly dated by the OED as 1744, and I have found only

  two references to “magazine guns” in the 1790s and early 1800s, confirming that this usage of the

  word remained rare. “Magazine wind-gun” and “magazine gun” do not appear in the COEME or

  COFEA corpora. I have found no information in the corpora on the availability or popularity of

  such guns, but the sparse lexical data suggests that they were not in common use.

         65.     A small number of references to later repeater wind guns indicate they were made,

  not by armorers, but by clockmakers and other highly-skilled artists or artisans. There is no

  indication in the lexical evidence that repeater air guns were ever mass produced or publicly

  available in the Founding Era. Several of the citations I found treat these guns as curiosities and

  their owners charged a small fee to anyone interested in looking at them (and in one case, trying

  the gun out). Like Colbe’s wind gun, they seem to be rare inventions or curiosities, not weapons

  commonly available to the military or to the American or English public. Besides Colbe’s gun,

  there are only two examples from the data that use the word “magazine” in connection with a

  repeater air gun:

         a. 1784 – “An artist of this town [Birmingham, Eng; the artist is also identified as a
            compass maker] has lately invented a magazine gun, that will discharge 45 bullets
            separately in two minutes and a half, each bullet would kill an ox at 40 yards
            distance; it is only charged once, and aim is taken with more certainty than with the
            fowling piece” (New York Packet and American Advertiser, New York, NY, August
            5, 1784).

         b. 1815 – Advertisement for “one magazine Gun, when once loaded can be discharged
            ten times in a minute” (New York Gazette, Aug. 30, 1815).




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        66.    The corpora contain just nine other references to repeater air guns, none of them

  using the word “magazine”:

        a. 1783 – “Vienna. A watchmaker has invented an Air Gun, which, without recharging,
           fires 15 times successively. A corps of Hunters are to be armed with these guns.”
           (The Newcastle Weekly Courant (England), May 10, 1783, p. 3). There is no follow-
           up to indicate whether the corps of Viennese hunters did employ such a weapon.

        b. 1792 – A number of American newspapers report on the invention by a man, only
           identified as someone from Rhode Island, of a repeating air gun capable of firing
           twenty times without reloading. Here is one: “A person in Rhode Island has invented
           an Air-gun, which can be discharged, to do execution, 20 times, each time it is
           loaded.—As nothing is cheaper, and easier to be transferred, than the ammunition for
           the above pieces; and as saving much expense, they recommend themselves strongly
           to the Secretary at War, to be used in the approaching campaign against the Indians”
           (National Intelligencer: National Gazette, April 26, 1792, p. 3). There is no
           indication that the Secretary of War knew of the invention or acted on this suggestion.
           In fact, the following advertisement suggests that the repeater air gun in question was
           treated as a curiosity to be admired in a museum:

        c. 1792 – “An air-gun, made by a young man, a native of Rhode-Island, but now
           resident in this city [New York], and which has been purchased by the subscriber,
           with a view eventually to make it the property of the American museum but wishes to
           reimburse himself in the following manner, viz. He will exhibit it to the examination
           of all persons desirous of viewing it, and of discharging a shot, for which they shall
           pay six-pence. This gun, when properly filled with air, will do execution twenty
           times, without renewing the charge, and for several times will send a ball thro’ an
           inch board, at the distance of sixty yards, to be seen at the subscribers, No. 13 Maiden
           Lane, every day in the week, from 10 to 12 in the forenoon, and from 3 to 5 in the
           afternoon, Tuesday and Friday afternoons excepted, at which time it may be seen at
           the Museum. Gardiner Baker, Keeper of the Museum” (New York Daily Advertiser,
           February 9, 1792).

        d. 1796 – “This carabine, lighter and smaller than the common ones, is composed of
           two barrels, the smallest of which contains 25 balls: and by a slight movement, they
           pass from the one to the other; which ball, by lowering the firelock, goes off with the
           same rapidity and carries further than if fired with powder, without the least noise,
           and that as often as a hundred times alternately, during the space of 8 or 10 minutes;
           after which, the reservoir being exhausted, it requires to pump in fresh air, which
           takes up at most, 16 minutes (The Independent Gazetteer (Philadelphia), August 6,
           1796, p. 1). This report adds that the repeater air gun, invented in the reign of
           Emperor Joseph II (reg. 1765–1790), was distributed to German troops, and that a
           sample weapon was given to the Prince of Wales. The writer suggests such guns
           would be useful at sea, since they are not affected by dampness. But there is no
           indication in the corpora that the Royal Navy ever considered such a weapon.




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       e. 1797 – “An Air GUN has been constructed by Messrs. Darlings and Wilkinson, of
          Cumberland, Rhode Island, upon a plan entirely new. It can be discharged twelve
          times with once loading, and will do execution with great exactness, at fifty yards
          distance” (Columbian Centinel (Boston), June 21, 1797).

       f. 1801 – Multiple newspapers run the story of a repeater air gun invented by a man
          known as Girardami, identified as a peasant, artist, and watchmaker, and variously
          referred to in gun history articles as Girandoni or Girardoni (those spellings do not
          appear in the corpora that I consulted): “Girardami, a Tyrolese peasant, and self-
          taught artist, has invented an air-gun, which may be discharged fifty times without
          pumping again. The first twenty shots penetrate through a door at an uncommon
          distance. Girardami makes these air-guns himself, and likewise very good wooden
          watches” (The Caledonian Mercury (Edinburgh), March 2, 1801, p. 2). There are
          indications that Austrian troops used Girardami (or Girardoni) air guns among other
          weapons at the Battle of Austerlitz in 1805, where Napoleon won an important
          victory over the Austrian forces. In that battle, the air gun seems not to have been an
          effective weapon. In any case, there is no indication that it was ever adopted by
          English or American troops.

       g. 1802 – The Newly-Invented Philosophical Air Gun That can be used as Gun or Pistol,
          and discharge 20 balls with one loading of the globe [that is, the compressed-air
          cylinder], unless the charge of air is let out at once. To be seen at Mr. Wyant’s tavern,
          Market street, both night and day. Admittance one fourth of a dollar (Telegraphe and
          Daily Advertiser (Baltimore), March 17, 1802). “Philosophical” in this sense is often
          used to refer to physicists experimenting with air guns to measure air temperature,
          pressure, and volume, among other things (see, for example, the work of Desaguliers
          and the experiments of Goldsmith and Priestley mentioned above).

       h. 1807 – An ad for an auction includes, among other items, “an air gun in compleat
          order which, when loaded will discharge twenty five times after being pumped”
          (American Citizen (New York, NY), May 28, 1807).

       i. 1814 – One article in the corpora refers to a repeater air gun taken by Lewis and
          Clark on their expedition to the Pacific some eight years earlier, though the article
          itself has nothing to do with the expedition. Instead, this letter to the newspaper,
          criticizing a politician for repeating the same things that he has been saying for years,
          suggests as well that the Lewis and Clark repeater air gun was used not for hunting or
          warfare but rather to dazzle the Indians that the explorers encountered with their
          “great medicine,” thereby ensuring a peaceful encounter: “he [the politician in
          question], forthwith, becomes a “great medicine,” as the Shoshones called captain
          Lewis’ air gun”(National Advocate, Mar. 23, 1814). This article was written ten years
          after the start and eight years after the completion of the expedition. I did not find any
          contemporaneous articles or firsthand accounts in the corpora of such a gun or how it
          may have been used.




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         j. 1819 – Finally, there is an ad for a French repeater air gun, for sale at 90 crowns:
            “which discharges 20 times before the air is expended” (Salem Gazette
            (Massachusetts), February 5, 1819).

         67.     To summarize: the corpus data shows that the terms “magazine gun,” “magazine

  wind gun,” and “magazine air gun” are extremely rare, occurring a mere three times in the corpora,

  along with nine instances of repeater air guns that do not include the word “magazine.” In contrast,

  there are approximately 1,200 references to the single-shot “air gun” in the several databases that

  I consulted. Subtracting an estimated 150 duplicates, that leaves about 1,050 references to a single-

  shot air gun. Two of the references, ¶ 66 (b) and (d) in the list above, suggest that they would be

  useful weapons for the military; one, ¶ 66 (a) above, recommends their use to hunters; and one

  writer, Desaguliers, in 1744 (above, ¶ 63), speculates that the weapon could be useful for self-

  defense. But for the most part, the references listed above to early repeater guns seem to be treated

  as curiosities: marvels of engineering constructed by clockmakers or other skilled artisans, items

  to be seen in a museum or exhibited at a tavern (see examples ¶ 66 (c) and (g) above). There is no

  lexical evidence that they were manufactured in quantity. Their mechanisms were complex,

  requiring a clockmaker’s skill to design, make, and repair. And it took time to re-charge the air

  cylinder (one source in the list above, ¶ 66 (d), suggests sixteen minutes for one such repeater air

  gun, which would render them suboptimal in battle situations). A couple of entrepreneurs charged

  admission to view them (¶ 66 (c) and (g) above), and in one case, in ¶ 66 (c) above, patrons may

  pay six pence to try shooting the gun. The writer who cites the Lewis and Clark repeater gun (¶ 66

  (i)) suggests that the explorers used the gun to “impress” potentially hostile Native Americans

  rather than as a weapon against them. It too may have been a one-off. Furthermore, only three of

  the twelve references to repeater air guns refer to the bullet container as a “magazine,” a further

  indication that this usage of “magazine” is extremely rare before 1820.




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         68.     With advances in the design and manufacture of guns and ammunition, by the mid-

  nineteenth century, the term “magazine” starts to appear in the sense ‘ammunition container’

  (gradually replacing the earlier terms “cartridge box” or “cartridge case”), not in air guns but in

  ones using gunpowder and bullets.

         69.     COFEA and COEME do not cover the period past 1800. COHA, which does have

  nineteenth century coverage, turns up only a handful of uses of “magazine” in collocation with

  bullets, guns, rifles, or weapons in the 1890s, and only three such uses cited above before 1820.

  Most COHA cites for “magazine” refer to print magazines; a smaller number from 1820–1880

  refer to gunpowder storehouses.

         70.     Searching the word “magazine” in newspapers.com results in more than 3.3 million

  hits, the vast majority of them also referring to print journals. It is not currently possible to tease

  out the subset of these citations to determine exactly how many refer to weapons rather than print

  journals. In addition to the patents granted in 1860 (see above), I have found twelve citations in

  newspapers.com for “magazine carbine” and “magazine rifle” from 1860 to 1880:

         a. 1864 – Advertisement for “Henry’s Magazine Rifle, 15 shots” along with other
            firearms. Chicago Tribune, January 25, 1864, p. 1.

         b. 1864 – The War Department establishes a Board of Officers “for the purpose of
            examining, testing and recommending for adoption a suitable breech-loader for
            muskets and carbines, and a repeater or magazine carbine.” New York Times, Dec. 22,
            1864. A few other newspapers carry notices of this commission and later report on its
            findings.

         c. 1865 – “The Meriden Manufacturing Company have a contract for 5,000 breech-
            loading magazine carbines, Trippett’s patent, for the State of Kentucky.” Sunbury
            (Pennsylvania) Gazette, June 3, 1865, p. 3. No follow-up information in the corpora.

         d. 1866 – “The Board would be unwilling to dispense entirely with magazine arms, and
            as these same can be used ordinarily as single-loaders.” The military Board of
            Officers (see (a), concluded that the repeater gun patented by Spencer had promise,
            though it was not yet ready for service until improvements could be made to the
            mechanisms. Chicago Tribune, Dec, 19, 1866, p. 4.




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          e. 1868 – Report of another trial of various weapons under the auspices of the Board of
             Officers, including “magazine and single breech loaders,” (one of them patented by
             Spencer). New York Daily Herald, July 7, 1868, p. 8.

          f. 1873 – Marksmanship contest sponsored by the National Rifle Association includes
             one contestant firing a “magazine carbine” and 36 contestants firing other rifles.
             Brooklyn Daily Eagle, September 1, 1873, p. 4.

          g. 1874 – Another NRA-sponsored contest at Creedmoor offers a second prize in one
             competition for NY State National Guard members, “an elegant Ward-Burton
             magazine carbine” valued at $50. New York Times, September 17, 1874, p. 2.

          h. 1877 – A museum in Birmingham, England, displays Russian and Turkish rifles,
             including one Turkish “Winchester magazine gun.” Birmingham Daily Post,
             December 29, 1877, p. 5.

          i. 1878 – A display in Sidney, Australia, of a variety of firearms, including “some
             novelties from America . . . [including] the Evans Magazine carbine.” Sydney
             Morning Herald, April 29, 1878, p. 5.

          j. 1879 – Under “Military Items,” this notice: “An invoice of Hotchkiss Magazine
             Carbines were received here this week.” Vancouver (Canada) Independent, August
             14, 1879, p. 5.

          k. 1880 – Under the heading “Maryland Military Affairs,” report on the Maryland
             National Guard. “Each infantry organization is armed with . . . breech-loading
             magazine carbines.” Baltimore Sun, January 16, 1880, p. 1.

          l. 1880 – Advertisement of F. Lassetter & Co. includes “Evans’ Magazine Military
             Carbines [that] will carry twenty-two rounds.” Otago (New Zealand) Witness, May
             15, 1880, p. 1. The advertisement ran on multiple days in multiple newspapers.

          71.    A number of these references are optimistic about the future of such weapons, but

  several note that single-shot weapons will predominate until the repeater mechanisms of these new

  rifles are improved. Perhaps because the term was largely associated with military weapons, it

  remained relatively rare until the 1920s. In any case, before mid-nineteenth century, bullets were

  kept in “cartridge boxes,” sometimes called “cartouch boxes,” or “cartridge cases” or pouches, and

  these bullet storage containers were part of the general category of military accoutrements, not

  arms.




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          72.     I did try to estimate, indirectly, the frequency of the gun-specific use of “magazine”

  by running a Google n-gram search. Google’s n-gram viewer searches the corpus of digitized

  Google Books. It can give a rough approximation of a word’s frequency in relation to the other

  words in the Google Books corpus. The results appear as a graph. The n-gram viewer is capable

  of showing the relative frequency of several words on the same graph. My n-gram search showed

  that between 1750–1880 the word “magazine” occurs with a frequency of 0.0005121511% in 1789

  and a frequency of 0.0007324368 in 1880.6 A search for “magazine gun” returns no hits for that

  same period. But a search for “magazine rifle” shows that it does not appear in the database before

  1813; there are few instances from 1813 to 1820, with a frequency of 0.0000000185%; and then a

  sharp rise between 1863 and 1880, when the frequency reaches a high of 0.000000936%, reflecting

  both the increased use of the revolver and the invention of repeating rifles and machine guns during

  the Civil War.7 Still, it remains a rare term. Searching “magazine carbine” from 1860–1880 shows

  the term to be even rarer than “magazine rifle,” with no occurrences in 1860, a peak frequency in

  1866 of 0.0000002185%, and a sharp drop thereafter.8 In contrast, an n-gram search for “carbine”

  during those years shows that “carbine” occurs about 370 times more frequently than “magazine

  carbine” in the Google Books corpus.9 The Google n-gram data shows that the use of “magazine”

  in the Founding Era was not associated with guns. By 1880, the association with guns had become

  more common. Comparing the use of “magazine” in 1880 in all contexts with the use of “magazine

  rifle” that same year, it appears that the gun-related sense of “magazine” represents approximately


          6
            https://books.google.com/ngrams/graph?content=magazine&year_start=1750&year_end=1880&corpus=e
  n-2019&smoothing=3).
          7
            (https://books.google.com/ngrams/graph?content=magazine+rifle&year_start=1750&year_end=1880&cor
  pus=en-2019&smoothing=3).
          8
            https://books.google.com/ngrams/graph?content=magazine+carbine&year_start=1860&year_end=1880&c
  orpus=en-2019&smoothing=3.
          9
            https://books.google.com/ngrams/graph?content=carbine&year_start=1860&year_end=1880&corpus=en-
  2019&smoothing=3.



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  0.0012% of the occurrences of the word “magazine.” In other words, the association exists in the

  period surrounding the ratification of the Fourteenth Amendment, but it is still a rare term.

         73.     The n-gram estimate, together with the sparse evidence in COHA and the OED, all

  suggest that “magazine” in the sense of ‘device for holding bullets’ forms only a very small subset

  of the 3.3 million occurrences of “magazine” in the newspaper corpora. Although “magazine” in

  the gun-related sense shows a distinct rise between 1864 and 1880, it took another thirty to forty

  years for the ‘bullet holder’ sense of the word “magazine” to become more common. Even then,

  text references to ammunition magazines often appear, not in general discourse, but in legislation

  passed early in the twentieth century restricting their size or use.




  Fig. 1 Google n-gram showing the frequency of “magazine.”




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  Fig. 2 Google n-gram showing the frequency of “magazine rifle”




  Fig. 3 Google n-gram showing the frequency of “magazine carbine.”

     Conclusion

         74.    To repeat, there is virtually no lexical data that I have found showing that “arms”

  includes “accoutrements,” “cartridge boxes,” “cartouch boxes,” “magazines,” or any parts of

  weapons. To the contrary, while “arms” is used as a general term for weapons (typically swords,


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               Exhibit A
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     Positions held:

          Research Professor of English and linguistics, University of Illinois, 2018–present.
          Professor English, Emeritus, University of Illinois, 2018–present.
          Professor of English and Linguistics, University of Illinois at Urbana-Champaign, 1984–2018.
          Head, Department of English, University of Illinois at Urbana-Champaign, 1998–2003.
          Acting Head, Department of English, Univ. of Illinois at Urbana-Champaign, 1997–98.
          Director of Rhetoric, University of Illinois, 1985–97.
          Director, Writing Outreach Workshop, Univ. of Illinois, 1985–88.
          Professor, Campus Honors Faculty, Univ. of Illinois, 1988–2018.
          Professor, College of Education, UIUC, Summer 1988.
          Associate Professor of English and Linguistics, Univ. of Illinois, Urbana-Champaign, 1981–84.
          Assistant Professor of English and Linguistics, Univ. of Illinois, Urbana-Champaign, 1975–81.
          Assistant Professor of English, The City College of CUNY, 1973–74.
          Assistant Professor of English, Eastern Illinois University, 1971–73.

     Fellowships and Grants:

          John Simon Guggenheim Memorial Foundation Fellow, 2016–17.
          Faculty Fellow, Program for the Study of Cultural Values and Ethics, Univ. of Illinois, Spring 1992.
          National Endowment for the Humanities Fellowship, calendar year 1989.
          Newberry Library National Endowment for the Humanities Fellowship, 1988–89 (offered, not held).
          IBM Project Excel Grant C-41, 1986-87: “Computer Analysis of Student Writing.”
          Associate, Center for Advanced Study, University of Illinois 1984–85.
          Fulbright Lecturer, University of Poitiers, France, 1978–79.
          Fellow, Center for Advanced Study, University of Illinois, 1978 (offered, not held).
          University of Illinois Research Board grants, multiple years, 1978–2017.

     Books:

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     5.   The English-Only Question: An Official Language for Americans? Yale University Press, 1990;
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          Book Review Digest; American Journal of Sociology; Publishers Weekly; College English; Modern
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          Publishers Weekly; Patriot Ledger (Quincy, MA); The Washington Times Magazine; John Simon, The
          New Leader; Chronicle of Higher Education; Los Angeles Times; Library Journal; Insight;
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          Psychology Today; Virginia Quarterly Review; The Toronto Star; ETC.; Book Review Digest; Chicago
          Tribune; Akron (OH) Beacon Journal; Clearwater (FL) Sun; Corpus Christi (TX) Caller-Times;
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          Renaissance; Lingua; Modern Language Review; Review 9; American Speech; Southern Quarterly
          Review; Signs; Language; JEGP; Frontiers; Anglia; Journal of English Linguistics Nominated for the
          Mina P. Shaughnessy Medal of the Modern Language Association.

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          distribution as an affiliate publication of the NCTE.
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              2000 and on CD-rom. Approx. 8 pp.
         169. “Ebonics and the Politics of English.” World Englishes 19 (March, 2000): 5-19.
         170. “Technology’s Impact on Writing.” Letter. Chronicle of Higher Education, Jan. 21, 2000, B11.
         171. “To Sir, or Ma’am, with Love.” Education Week. Sept. 8, 1999, 45.

     The Web of Language: a blog running from 2007 to the present dealing with issues of language and technology:
     http://bit.ly/1B29f6v Over 1.5 million page views..

     Recent Invited Lectures, Workshops and Conference Presentations:

         1.  “Corpus Linguistics and the Original Meaning of the Second Amendment.” University of Chicago
             Law School, 12 January, 2021.
         2. Author interviews, “What’s Your Pronoun?” New York Public Library, 4 February, 2020; Politics
             and Prose Books (Washington, DC), 5 February; Cuyahoga County Public Library. 6 February;
             Kansas City Public Library (MO), 11 February; Town Hall Seattle, 16 February; Powells Books,
             Portland OR, 17 February; City Lights Books, San Francisco, 18 February.
         3. “Guns and Grammar: Big Data and the Meaning of ‘bear arms’ in the Second Amendment.”
             Conference on Law and Corpus Linguistics, Brigham Young Univ. Law School, Feb. 6-8, 2019.
         4. “Corpus evidence and the meaning of ‘bear arms.’” Symposium: District of Columbia v. Heller 10
             years on, Hastings College of Law, San Francisco, CA, Jan. 18, 2019.
         5. “What’s Your Pronoun?” Language Policy Forum, Sheffield Hallam University, UK, June 1,
             2018.
         6. “America’s War on Language,” Invited Lecture, University of Pennsylvania, April 19, 2018.
         7. “Guns and Grammar: The Linguistics of the Second Amendment,” Neubauer Symposium on
             Historical Semantics, University of Chicago, April 13, 2018.
         8. “Speak the Language of Your Flag: Language and Immigration in the US, 1918-2018,” Language
             and Borders Conference, University of Bristol, UK, March 26, 2018.
         9. “Pronoun Showdown,” Invited lecture, University of Essex, UK, Nov. 23, 2017.
         10. “Going native: Brexit prompts linguistic cleansing.” Conference on UK Language Policy after
             Brexit. Sheffield Hallam University (Sheffield, UK), Sept. 15, 2016.
         11. “Pronoun Showdown: Are nonbinary pronouns and singular they ruining the language or making
             English great again?” Univ. of Tennessee (Knoxville), April 11, 2016.
         12. “Speak the language of your flag.” Present-Day English Discussion Group, Modern Language
             Association. Jan. 9, 2014.
         13. “#twitterrevolution: Destabilizing the world, 140 characters at a time.” Univ. of Sussex (Brighton,
             UK). March 21, 2013.
         14. “Speak the language of your flag.” In “creative” conversation, with Michael Erard. Modern
             Language Association. Boston, Jan. 3, 2013. Speakers invited by MLA Executive Director
             Rosemary Feal.
         15. “Official English from the school house to the White House.” Englishes in Europe Conference.
             Univ. of Sheffield. April, 2012.
         16. “#twitterrevolution: Destabilizing the world, 140 characters at a time.” Temple Contemporary,
             Temple University Art Museum. Oct. 11, 2012.
         17. “Guns and grammar: Linguistic authority and legal interpretation in Washington, D.C., v. Heller”
             Stanford University. Nov. 10, 2011.
         18. “Should everybody write? The destabilizing technologies of communication.” Univ. of Chicago
             Semiotics Workshop, March 11, 2010.
         19. “Guns and grammar: The linguistics of the Second Amendment.” Law and Society Annual
             Conference, Denver, CO, June 30, 2009.
         20. “Let’s go to the phones.” Univ. of Michigan invited lecture. Dec. 5, 2008.
         21. “Policing English in America from the White House to the schoolhouse.” Conference on
             prescriptivism in language. Univ. of Paris VII (Sorbonne), Paris, FR. Nov. 15, 2007.
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                                                                                   Dennis Baron, Vita, 12


       22. “It’s All Your Fault: Who’s Really to Blame for the Literacy Crisis?” Conference on College
           Composition and Communication. New York City, March 2007.
       23. “No University Student Left Behind: Writing and the Secretary of Education’s Commission on
           Higher Education.” Conference on College Composition and Communication. Chicago, March
           2006.
       24. “The Perils of the new SAT Writing Test.” Conference on College Composition and
           Communication. San Francisco. March 17, 2005.
       25. “Spanish, English and the New Nativism.” Modern Language Association. Philadelphia. Dec. 30,
           2004.
       26. “Reading and Writing in the Digital Age.” Invited presentation. Illinois Library Association,
           Chicago, September 30, 2004.
       27. “Language Policies and Language Politics in the United States.” “English and Minority Languages
           in the 2000 Census.” Invited lectures, Univ. of Ryukyu, Okinawa, Japan, June, 2004.
       28. “TeknoFear.” Invited lecture, Northeastern Illinois University, April 15, 2004.
       29. “Standards: They’re Not for Everybody.” Conference on College Composition and
           Communication. San Antonio, TX, March 25, 2004.
       30. “The New Technologies of the Word.” Plenary lecture. International Association of World
           Englishes Conference, Univ. of Illinois, October 17, 2002.
       31. “Writing Effective Promotion Dossiers,” Provost’s Seminar, Univ. of Illinois, Sept. 7, 2001.
       32. “Promotion and Tenure,” a workshop for new executive officers, Association of Departments of
           English seminar, Monterey, California, June 29, 2001.
       33. “From Pencils to Pixels: The New Technologies of Literacy.” Invited lecture, UC Davis, March 2,
           2001.
       34. “The Illinois Professional Learning Partnership.” Conference on College Composition and
           Communication, Denver, CO, March 15, 2001.
       35. “Writing Effective Third-Year Faculty Reviews,” Provost’s Seminar, Univ. of Illinois, Feb. 26,
           2001.
       36. “Outreach for the Humanities,” response to Graham Spanier; Chancellor’s Conference, Univ. of
           Illinois, Jan. 31, 2001.
       37. “Other Teachers’ Students.” Conference on College Composition and Communication,
           Minneapolis, MN, April 15, 2000.

       Recent Media Interviews

       1.  Interviews for What’s Your Pronoun? 2020-21: CBS Radio (NYC); NPR Weekend All Things
           Considered; CAP Radio (Sacramento, CA); Wisconsin Public Radio; KPBS San Diego; KWGS,
           Tulsa, OK; Slate: The Gist; KERA Radio; KATU TV, Portland, OR; KQED, San Francisco Public
           Radio; KPCC, Los Angeles; Talk the Talk (podcast); The Vocal Fries (podcast); That Word Chat
           (podcast).
       2. “Tapestry,” CBC-Radio “The Longing for Belonging,” interview on pronouns, June 28, 2018.
       3. “Air Talk,” Larry Mantle, KPCC-NPR Los Angeles, Pronouns, Mar. 6, 2018.
       4. “Do Official English laws work?” interview, KCBS, San Francisco. Aug. 24, 2017.
       5. “Latinos in America.” PBS documentary, aired October, 2013.
       6. Various radio appearances on WILL-AM discussing language issues 1984-present.
       7. “Extension 720” with Milt Rosenberg. WGN radio, Oct. 16, 2009. 2-hour interview about A Better
           Pencil.
       8. Steve Fast, “The Classroom Connection” Oklahoma Public Radio, interview about A Better
           Pencil. Oct. 1, 2009.
       9. Valerie Richardson Show. WPKN, Bridgeport CT, April 21, 2009. Half-hour interview about my
           work on usage and on technology.
       10. Jim Brown, “The Current.” CBC-Radio, Canada. July 15, 2008. Interview on Esperanto.
       11. “The Peter Laufer Show”, Green Radio 960 (San Francisco). 60 min. interview on Broadcast
           English, Dec. 28, 2008.
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                                                                                    Dennis Baron, Vita, 13


         12. “Official English in Small Town America,” Eight Forty-Eight, WBEZ-FM (Chicago public radio),
             June 13, 2007. Lead interview for the show, also featured on the WBEZ web site:
             http://www.wbez.org/Program_848_Segment.aspx?segmentID=11395
         13. “The English Language.” Focus 580, WILL-AM, multiple appearances each year from 1982-
             present.
         14. “Good English.” The Robin and Maynard Show. KQBZ-FM (Seattle), May 3, 2005.
         15. “Pronunciation in American English.” Interview by Avi Arditti and Roseann Skirble broadcast on
             “Coast to Coast” by Voice of America (4/24/03); posted on voanews.com/wordmaster.
         16. “The English Language,” The Joan Rivers Show, WOR-AM, New York, June 25, 2001.
         17. “The New Oxford Dictionary of English,” “Sandy Rios Live,” WYLL-FM, Chicago, Aug. 14,
             1998.

         Editorships and Commissions:

             Chair, Committee on Public Policy, Conference on College Composition and
                      Communication, National Council of Teachers of English, 2003-06.
             Member, Board of Advisors for the television series “Do You Speak American?” with
                      Robert MacNeil.
             Member, PMLA Advisory Committee, 1998-2001.
             Member, editorial advisory board, Liverpool Studies in Language and Discourse, 1993-
                      present.
             Member, MLA Delegate Assembly, 1998-2003.
             Chair, MLA Division on Language and Society, 2001-02.
             Member, Commission on Language, National Council of Teachers of English, 1984-87;
                      1999-2002.
             Editor, Publication of the American Dialect Society (monograph series) 1984-93.
             Member, Committee on Language and the Schools, Linguistic Society of America, 1992-
                      1997.
             Associate Editor, Publication of the American Dialect Society, 1982-84.


     Memberships in Professional Organizations:

         American Dialect Society (life member; member, Committee on New Words, 1975-82;
              member, Committee on Usage, 1982-present; member, Centennial Publications
              Committee; Centennial Publicity Committee; Centennial Documentaries Committee).
         Modern Language Association (member, Delegate Assembly, 1996-99).
         National Council of Teachers of English (member, Commission on the English Language,
              two terms). Chair, Committee on Public Language, 2009-12.
         Conference on College Composition and Communication.
         Conference of Editors of Learned Journals, 1985-93.
         Linguistic Society of America; member, Committee on Language in the Schools, 1992-94.
         Illinois Association of Teachers of English (member, program committee, 1987-88).

     Biographical Notices:

             Who’s Who in America
             Directory of American Scholars
             Contemporary Authors
             Who’s Where Among Writers
             International Authors and Writers Who’s Who
             International Linguistic Directory
             Who’s Who in American Education
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                                                                                       Dennis Baron, Vita, 14


            Who’s Who in the World
            Who’s Who in the Humanities

     Consulting:

            Legal consulting and expert witness reports and testimony for a variety of law firms and
            for the Sate of California Attorney General..

            Media consulting for television, radio, and newspapers, including ABC’s Nightline,
            Champaign-Urbana News-Gazette, The Chicago Tribune, Cincinnati Enquirer, Los
            Angeles Times, The McNeil-Lehrer Report, The New York Times, Newsweek, Orlando
            Sentinel, Prentice-Hall, Scripps-Howard Newspapers, Scott-Foresman, Inc., Springfield
            (IL) Register, USA Today, U.S. News and World Report, WICD-TV (Champaign, IL),
            William Safire.

            Professional consulting for numerous academic and university presses.
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                       EXHIBIT “C”




                       EXHIBIT “C”
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


  ASSOCIATION OF NEW JERSEY
  RIFLE & PISTOL CLUBS, INC., et al.,

                 Plaintiffs,              Civil Action No. 3:18-cv-10507
  v.

  PLATKIN, et al.,

             Defendants.
  CHEESEMAN, et al.,

                 Plaintiffs,              Civil Action No. 1:22-cv-4360
  v.

  PLATKIN, et al.,

               Defendants.
  ELLMAN, et al.,

        Plaintiffs,                       Civil Action No. 3:22-cv-04397
  v.

  PLATKIN, et al.,

        Defendants.




                               Expert Report of Saul Cornell
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      I.       INTRODUCTION

           I have been asked by the Office of the Attorney General for the State of New Jersey to

  provide an expert opinion on the history of firearms regulation in the Anglo-American legal

  tradition, with a particular focus on how the Founding era understood the right to bear arms, as

  well as the understanding of the right to bear arms held at the time of the ratification of the

  Fourteenth Amendment to the United States Constitution. In New York State Rifle & Pistol

  Association, Inc. v. Bruen, the U.S. Supreme Court underscored that text, history, and tradition are

  the foundation of modern Second Amendment jurisprudence. This modality of constitutional

  analysis requires that courts analyze history and evaluate the connections between modern gun

  laws and earlier approaches to firearms regulation in the American past. I have also been asked to

  evaluate the statute at issue in this case, particularly regarding its connection to the tradition of

  firearms regulation in American legal history.


      II.      BACKGROUND AND QUALIFICATIONS

           I received my BA from Amherst College and MA and PhD from the University of

  Pennsylvania. I currently hold the Paul and Diane Guenther Chair in American History at Fordham

  University. The Guenther Chair is one of three endowed chairs in the history department at

  Fordham and the only one in American History. In addition to teaching constitutional history at

  Fordham University to undergraduates and graduate students, I teach constitutional law at

  Fordham Law School. I have been a Senior Visiting research scholar on the faculty of Yale Law

  School, the University of Connecticut Law School, and Benjamin Cardozo Law School. I have

  given invited lectures, presented papers at faculty workshops, and participated in conferences on

  the topic of the Second Amendment and the history of gun regulation at Yale Law School, Harvard

  Law School, Stanford Law School, UCLA Law School, the University of Pennsylvania Law




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  School, Columbia Law School, Duke Law School, Pembroke College Oxford, Robinson College,

  Cambridge, Leiden University, and McGill University.1


        My writings on the Second Amendment and gun regulation have been widely cited by state

  and federal courts, including the majority and dissenting opinions in Bruen.2 My scholarship on

  this topic has appeared in leading law reviews and top peer-reviewed legal history journals. I

  authored the chapter on the right to bear arms in The Oxford Handbook of the U.S. Constitution

  and co-authored the chapter in The Cambridge History of Law in America on the Founding era and

  the Marshall Court, the period that includes the adoption of the Constitution and the Second

  Amendment.3 Thus, my expertise not only includes the history of gun regulation and the right to

  keep and bear arms, but also extends to American legal and constitutional history broadly defined.

  I have provided expert witness testimony in Rocky Mountain Gun Owners v. Hickenlooper, No.

  14-cv-02850 (D. Colo.); Chambers v. City of Boulder, No. 2018-cv-30581 (Colo. D. Ct., Boulder

  Cty.); Zeleny v. Newsom, No. 14-cv-02850 (N.D. Cal.); Miller v. Smith, No. 2018-cv-3085 (C.D.

  Ill.); Jones v. Bonta, 3:19-cv-01226 (S.D. Cal.); Baird v. Bonta, No. 2:19-cv-00617 (E.D. Cal.);

  Worth v. Harrington, No. 21-cv-1348 (D. Minn.); Miller v. Bonta, No. 3:19-cv-01537 (S.D.

  Cal.); and Duncan v. Bonta, No. 3:17-cv-01017 (S.D. Cal.); Renna v. Bonta, No. 20-cv-2190

  (S.D. Cal.); Boland v. Bonta, No. 8:22-cv-1421 (C.D. Cal.); Rupp v. Bonta, No. 8:17-cv-746


                                  
         1
           For a full curriculum vitae listing relevant invited and scholarly presentations, see
  Exhibit 1.
         2
             N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022).
         3
          Saul Cornell, The Right to Bear Arms, in THE OXFORD HANDBOOK OF THE U.S.
  CONSTITUTION 739–759 (Mark Tushnet, Sanford Levinson & Mark Graber eds., 2015); Saul
  Cornell & Gerald Leonard, Chapter 15: The Consolidation of the Early Federal System, in 1
  THE CAMBRIDGE HISTORY OF LAW IN AMERICA 518–544 (Christopher Tomlins & Michael
  Grossberg eds., 2008).

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  (C.D. Cal.); B&L Productions, Inc. v. Newsom, No. 21-cv-1718 (S.D. Cal.); NAGR v. Campbell,

  No.1:22-cv-11431 (D. Mass.); NAGR v. Lamont, No. 3:22-cv-0118 (D. Conn.); NAGR v. Lopez,

  No. 1:22-cv-404 (D. Haw.); Rhode Island v. Ortiz, No. 19-0672AG (R.I. Super.); Nastri v.

  Dykes, No. 3:23-cv-00056 (D. Conn.)

        I am being compensated for services performed in the above-entitled case at an hourly rate

  of $750 for reviewing materials, participating in meetings, and preparing reports; $1000 per hour

  for depositions and court appearances. My compensation is not contingent on the results of my

  analysis or the substance of any testimony.

      III.       SUMMARY OF OPINIONS

        Understanding text, history, and tradition requires a sophisticated grasp of historical context.

  One must canvass the relevant primary sources, secondary literature, and jurisprudence to arrive

  at an understanding of the scope of permissible regulation consistent with the Second

  Amendment’s original understanding. It is impossible to understand the meaning and scope of

  Second Amendment protections without understanding the way Americans in the Founding era

  approached legal questions and rights.

        In contrast to most modern lawyers, the members of the First Congress who wrote the words

  of the Second Amendment and the American people who enacted the text into law were well

  schooled in English common law ideas. Not every feature of English common law survived the

  American Revolution, but there were important continuities between English law and the common

  law in America.4 Each of the new states, either by statute or judicial decision, adopted multiple




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             4
          William B. Stoebuck, Reception of English Common Law in the American Colonies, 10
  WM. & MARY L. REV. 393 (1968); MD. CONST. OF 1776, DECLARATION OF RIGHTS, art. III, § 1;
  Lauren Benton & Kathryn Walker, Law for the Empire: The Common Law in Colonial
  America and the Problem of Legal Diversity, 89 CHI.-KENT L. REV. 937 (2014).

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  aspects of the common law, focusing primarily on those features of English law that had been in

  effect in the English colonies for generations. 5

        The concept of the peace was central to common law. 6 As one early American justice of the

  peace manual noted: “the term peace, denotes the condition of the body politic in which no person

  suffers, or has just cause to fear any injury.” 7 Blackstone, a leading source of early American views

  about English law, opined that the common law “hath ever had a special care and regard for the

  conservation of the peace; for peace is the very end and foundation of civil society.” 8 The use of

  Blackstone as an authority on how early Americans understood their inheritance from England has

  been reiterated by the Supreme Court.9 T h u s , the dominant understanding of the Second

  Amendment and its state constitutional analogues at the time of their adoption in the Founding

  period forged an indissoluble link between the right to keep and bear arms with the goal of

  preserving the peace.10
                                 
         5
           9 STATUTES AT LARGE OF PENNSYLVANIA 29-30 (Mitchell & Flanders eds. 1903);
  FRANCOIS XAVIER MARTIN, A COLLECTION OF STATUTES OF THE PARLIAMENT OF ENGLAND IN
  FORCE IN THE STATE OF NORTH-CAROLINA 60–61 (Newbern, 1792); Commonwealth v. Leach, 1
  Mass. 59 (1804).
         6
           LAURA F. EDWARDS, THE PEOPLE AND THEIR PEACE: LEGAL CULTURE AND THE
  TRANSFORMATION OF INEQUALITY IN THE POST-REVOLUTIONARY SOUTH (University of North
  Carolina Press, 2009).
         7
             JOSEPH BACKUS, THE JUSTICE OF THE PEACE 23 (1816).
         8
             1 WILLIAM BLACKSTONE, COMMENTARIES *349.
         9
            N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022).; District of Columbia v.
  Heller, 554 U.S. 570, 626−627 (2008), and n. 26. Blackstone and Hawkins, two of the most
  influential English legal writers consulted by the Founding generation, described these types of
  limits in slightly different terms. The two different formulations related to weapons described as
  dangerous and unusual in one case and sometimes as dangerous or unusual in the other instance,
  see Saul Cornell, The Right to Carry Firearms Outside of the Home: Separating Historical Myths
  from Historical Realities, 39 FORDHAM URB. L.J. 1695134 (2012). The phrase was an example of
  the archaic grammatical and rhetorical form hendiadys; see Samuel Bray, ‘Necessary AND
  Proper’ and ‘Cruel AND Unusual’: Hendiadys in the Constitution, 102 VIRGINIA L. REV. 687
  (2016). The proper rendering of the term thus becomes “unusually dangerous.”
         10
           On Founding-era conceptions of liberty, see JOHN J. ZUBLY, THE LAW OF LIBERTY
  (1775). The modern terminology to describe this concept is “ordered liberty.” See Palko v.
  Connecticut, 302 U.S, 319, 325 (1937). For a more recent elaboration of the concept, see generally
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         The most basic right of all at the time of Founding was the right of the people to regulate

  their own internal police. Although modern lawyers and jurists are accustomed to thinking of state

  police power, the Founding generation viewed this concept as a right, not a power. 11 The first state

  constitutions clearly articulated such a right — including it alongside more familiar rights such as

  the right to bear arms.12 Pennsylvania’s Constitution framed this estimable right succinctly: “That

  the people of this State have the sole, exclusive and inherent right of governing and regulating the

  internal police of the same.” The term police encompassed more than law enforcement, it also

  included the right of the people to legislate for the common good. 13

        Thus, any argument that rights must be understood as they were at the time of founding,

  such as the right to bear arms, must also apply to the scope of the right of the people to regulate

  their internal police by enacting laws to promote the security and welfare of the people. The history

  of regulation, including guns, in the decades after the right to bear arms was codified in both the

  first state constitutions and the federal bill of rights underscores this important point about the

  scope of legislative authority in this area.

       In the years following the adoption of the Second Amendment and its state analogues,

  firearm regulation increased. Indeed, the people of the individual states exercised their right to

  regulate to address longstanding issues and novel problems created by firearms in American
                                  
  JAMES E. FLEMING & LINDA C. MCCLAIN, ORDERED LIBERTY: RIGHTS, RESPONSIBILITIES, AND
  VIRTUES (Harvard University Press, 2013). On Justice Cardozo and the ideal of ordered liberty,
  see Palko v. Connecticut, 302 U.S, 319, 325 (1937); John T. Noonan, Jr., Ordered Liberty: Cardozo
  and the Constitution, 1 CARDOZO L. REV. 257 (1979); Jud Campbell, Judicial Review, and the
  Enumeration of Rights, 15 GEO. J.L. & PUB. POL’Y 569 (2017).
          11
            On the transformation of the Founding era’s ideas about a “police right” into the more
  familiar concept of “police power,” See generally Aaron T. Knapp, The Judicialization of Police,
  2 CRITICAL ANALYSIS OF L. 64 (2015); Christopher Tomlins, Necessities of State: Police,
  Sovereignty, and the Constitution, 20 J. OF POL’Y HIST. 47 (2008).
          12
         PA. CONST. of 1776, ch. I, art. III; MD. DECLARATION OF RIGHTS, art. IV (1776); N.C.
  DECLARATION OF RIGHTS, art. I, § 3 (1776); and VT. DECLARATION OF RIGHTS, art. V (1777).

          13
          Markus Dirk Dubber, The Police Power: Patriarchy and the Foundations of American
  Government (2005); Gary Gerstle, Liberty and Coercion: The Paradox of American
  Government, From the Founding to the Present (Princeton Univ. Press, 2015).
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  society. Over the eighteenth and nineteenth century, American regulation increased with the

  advancement of firearm technology, from the manufacturing, storage, and sale of gunpowder, to

  regulating where firearms and other dangerous weapons cannot be carried. The response of states

  to the emergence of new firearms that threatened the peace was more regulation. When faced with

  changes in technology and consumer behavior, as well as novel threats to public safety, the

  individual states enacted laws to address these problems. In every instance apart from a few outlier

  cases in the Antebellum South, courts upheld such limits on the unfettered exercise of the right to

  keep and bear arms. The primary limit identified by courts in evaluating such laws was the

  threshold question about infringement: whether the law negated the ability to act in self-defense. 14

  In keeping with the clear imperative hard-wired into the Second Amendment, states singled out

  weapons that posed a particular danger for regulation or prohibition. Responding in this fashion

  was entirely consistent with Founding-era conceptions of ordered liberty and the Second

  Amendment. The Founding generation and their successors sought to create a well-regulated

  society in which ordered liberty, not anarchy prevailed. 15


      IV.        The Right to Keep and Bear Arms in Historical Context: Liberty and
                 Regulation in Founding Era Constitutional Thought.

                    A. The Difficulty of a Historical Inquiry In This Context
            The United States Supreme Court’s decisions in Heller, McDonald,16 and Bruen have

  directed courts to look to text, history, and tradition when evaluating the scope of permissible

  firearms regulation under the Second Amendment. Legal texts must not be read in a



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            14
            On southern gun rights exceptionalism, see Eric M. Ruben & Saul Cornell, Firearms
  Regionalism and Public Carry: Placing Southern Antebellum Case Law in Context, 125 YALE
  L.J. F. 121, 128 (2015).
            15
            Joseph Postell, Regulation During the American Founding: Achieving Liberalism and
  Republicanism, 5 AM. POL. THOUGHT 80 (2016) (examining the importance of regulation to
  Founding political and constitutional thought).
         16
            McDonald v. City of Chicago, 561 U.S. 742 (2010).

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  decontextualized fashion detached from the web of historical meaning that made them

  comprehensible to Americans living in the past. Similarly, a mechanistic strategy of digital

  searching for historical gun laws would be incapable of answering the historical inquiries required

  under Bruen. Instead, understanding the public meaning of constitutional texts requires a solid

  grasp of the relevant historical contexts—how firearms technology has changed, how consumer

  demand has waxed and waned, and how the people, acting through their representatives, responded

  to societal ills created by those changes.17

         In the years between Heller and Bruen, historical scholarship has expanded our

  understanding of the history of arms regulation in the Anglo-American legal tradition, but much

  more work needs to be done to fill out this picture. 18 Indeed, such research is still ongoing and

  new materials continue to emerge; and even since Bruen was decided, additional evidence about

  the history of regulation has surfaced and new scholarship interpreting it has appeared in leading

  law reviews and other scholarly venues.19

         Each provision of the Bill of Rights, including the original Second Amendment was a result

  of interest balancing undertaken by the people themselves in framing the federal Constitution and

  the Bill of Rights. Bruen, 142 S. Ct. at 2131; Heller, 554 U.S. at 635. Thus, from its outset, the

  Second Amendment recognizes both the right to keep and bear arms and the right of the people to


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         17
         See Jonathan Gienapp, Historicism and Holism: Failures of Originalist Translation, 84
  FORDHAM L. REV. 935 (2015).
         18
         Eric M. Ruben & Darrell A. H. Miller, Preface: The Second Generation of Second
  Amendment Law & Policy, 80 L. & CONTEMP. PROBS. 1 (2017).
         19
           Symposium — The 2nd Amendment at the Supreme Court: “700 Years Of History” and
  the Modern Effects of Guns in Public, 55 U.C. DAVIS L. REV. 2495 (2022); NEW HISTORIES OF
  GUN RIGHTS AND REGULATION: ESSAYS ON THE PLACE OF GUNS IN AMERICAN LAW AND SOCIETY
  (Joseph Blocher, Jacob D. Charles & Darrell A.H. Miller eds., forthcoming 2023).

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  regulate arms to promote the goals of preserving a free state. Although rights and regulations are

  often cast as antithetical in the modern gun debate, the Founding generation saw the two goals as

  complimentary.

         Comparing the language of the Constitution’s first two amendments and their different

  structures and word choice makes this point crystal clear. The First Amendment prohibits

  “abridging” the rights it protects. In standard American English in the Founding era, to “abridge”

  meant to “reduce.” Thus, the First Amendment prohibits a diminishment of the rights it protects.

  The Second Amendment’s language employs a very different term, requiring that the right to bear

  arms not be “infringed.”20 In Founding-era American English, the word “infringement” meant to

  “violate” or “destroy.” In short, when read with the Founding era’s interpretive assumptions and

  legal definitions in mind, the two Amendments set up radically different frameworks for evaluating

  the rights they enshrined in constitutional text. Members of the Founding generation would have

  understood that the legislature could regulate the conduct protected by the Second Amendment

  and comparable state arms bearing provisions as long as such regulations did not destroy the

  underlying right. An exclusive focus on rights and a disparagement of regulation is thus antithetical

  to the plain meaning of the text of the Second Amendment.

         John Burn, author of an influential eighteenth-century legal dictionary, illustrated the

  concept of infringement in the context of his discussion of violations of rights protected by the



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            The distinction emerges clearly in a discussion of natural law and the law of nations in
  an influential treatise on international law much esteemed by the Founding generation: “Princes
  who infringe the law of nations, commit as great a crime as private people, who violate the law of
  nature,” J.J. BURLAMAQUI, THE PRINCIPLES OF NATURAL LAW (Thomas Nugent trans., 1753) at
  201. This book was among those included in the list of important texts Congress needed to
  procure, see Report on Books for Congress, [23 January] 1783,” Founders Online, National
  Archives, https://founders.archives.gov/documents/Madison/01-06-02-0031.
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  common law. Liberty, according to Burns, was not identical to that “wild and savage liberty” of

  the state of nature. True freedom, by contrast, only existed when individuals created civil society

  and enacted laws and regulations that promoted ordered liberty. Regulation was the indispensable

  correlate of rights in Founding era constitutionalism. 21

         Similarly, Nathan Bailey’s Dictionarium Britannicum (1730) defined “abridge” as to

  “shorten,” while “infringe” was defined as to “break a law.” 22 And his 1763 New Universal

  Dictionary repeats the definition of “abridge” as “shorten” and “infringe” as “to break a law,

  custom, or privilege.”23 Samuel Johnson’s Dictionary of the English Language (1755) defines

  “infringe” as “to violate; to break laws or contracts” or “to destroy; to hinder.” 24 Johnson’s

  definition of “abridge” was “to shorten” and “to diminish” or “to deprive of.” 25 And Noah

  Webster’s An American Dictionary of the English Language (1828) largely repeats Johnson’s

  definitions of “infringe” and “abridge.”26 Although today the two terms are conflated by some, the

  meanings of abridge and infringe were and remain distinct. The Founding generation was far more

  nuanced in distinguishing between the differences between these two terms.

         For the framers, ratifiers, and other relevant legal actors in the Founding era, robust

  regulation was not understood to be an “infringement” of the right to bear arms, but rather the



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         21
            Liberty, A NEW LAW DICTIONARY (1792) See also, Jud Campbell, Natural Rights,
  Positive Rights, and the Right to Keep and Bear Arms, 83 LAW & CONTEMP. PROBS. 31, 32–33
  (2020)
         22
              Abridge, DICTIONARIUM BRITANNICUM (1730).
         23
              Abridge, NEW UNIVERSAL DICTIONARY (1763).
         24
              Infringe, DICTIONARY OF THE ENGLISH LANGUAGE (1755).
         25
              Abridge, DICTIONARY OF THE ENGLISH LANGUAGE (1755).
         26
              Abridge, Infringe, AN AMERICAN DICTIONARY OF THE ENGLISH LANGUAGE (1828).

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  necessary foundation for the proper exercise of that right as required by the concept of ordered

  liberty.27 As one patriotic revolutionary era orator observed, almost a decade after the adoption of

  the Constitution: “True liberty consists, not in having no government, not in a destitution of all

  law, but in our having an equal voice in the formation and execution of the laws, according as they

  effect [sic] our persons and property.”28 By allowing individuals to participate in politics and enact

  laws aimed at promoting the health, safety, and well-being of the people, liberty flourished. 29

         The key insight derived from taking the Founding era conception of rights seriously and

  applying the original understanding of the Founding era’s conception of liberty is the recognition

  that regulation and liberty are both hard wired into the Amendment’s text. The inclusion of rights

  guaranteed in constitutional texts was not meant to place them beyond the scope of legislative

  control. “The point of retaining natural rights,” originalist scholar Jud Campbell reminds us “was

  not to make certain aspects of natural liberty immune from governmental regulation. Rather,

  retained natural rights were aspects of natural liberty that could be restricted only with just cause




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         27
             Dan Edelstein, Early-Modern Rights Regimes: A Genealogy of Revolutionary Rights, 3
  CRITICAL ANALYSIS L. 221, 233–34 (2016). See generally GERALD LEONARD & SAUL CORNELL,
  THE PARTISAN REPUBLIC: DEMOCRACY, EXCLUSION, AND THE FALL OF THE FOUNDERS’
  CONSTITUTION, 1780s–1830s, at 2; Victoria Kahn, Early Modern Rights Talk, 13 YALE J.L. &
  HUMAN. 391 (2001) (discussing how the early modern language of rights incorporated aspects of
  natural rights and other philosophical traditions).
         28
           Joseph Russell, An Oration; Pronounced in Princeton, Massachusetts, on the
  Anniversary of American Independence, July 4, 1799, at 7 (July 4, 1799), (text available in the
  Evans Early American Imprint Collection) (emphasis in original).
         29
            See generally Quentin Skinner, Liberty Before Liberalism (1998) (examining neo-
  Roman theories of free citizens and how it impacted the development of political theory in
  England); THE NATURE OF RIGHTS AT THE AMERICAN FOUNDING AND BEYOND (Barry Alan
  Shain ed., 2007) (discussing how the Founding generation approached rights, including the
  republican model of protecting rights by representation).
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  and only with consent of the body politic.”30 Thus, rather than limiting rights, regulation was the

  essential means of preserving rights, including self-defense. 31

           In fact, without robust regulation of arms, it would have been impossible to implement the

  Second Amendment and its state analogues. Mustering the militia required keeping track of who

  had weapons and included the authority to inspect those weapons and fine individuals who failed

  to store them safely and keep them in good working order. 32 The individual states also imposed

  loyalty oaths, disarming those who refused to take such oaths. No state imposed a similar oath as

  pre-requisite to the exercise of First Amendment-type liberties. 33 Thus, some forms of prior

  restraint, impermissible in the case of expressive freedoms protected by the First Amendment or

  comparable state provisions, were understood by the Founding generation to be perfectly

  consistent with the constitutional right to keep and bear arms. 34 The plain text of the Second

  Amendment not only protects the right to keep and bear arms, it acknowledges that this right is

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           30
           Jud Campbell, The Invention of First Amendment Federalism, 97 TEX. L. REV. 517,
  527 (2019) (emphasis in original). See generally Saul Cornell, Half Cocked: The Persistence of
  Anachronism and Presentism in the Academic Debate Over the Second Amendment, 106 J. OF
  CRIM. L. & CRIMINOLOGY 203, 206 (2016) (noting that the Second Amendment was not
  understood in terms of the simple dichotomies that have shaped modern debate over the right to
  bear arms).
           31
             See Jud Campbell, Judicial Review and the Enumeration of Rights, 15 GEO. J.L. &
  PUB. POL’Y 569, 576–77 (2017); SAUL CORNELL, THE POLICE POWER AND THE AUTHORITY TO
  REGULATE FIREARMS IN EARLY AMERICA 1–2 (2021),
  https://www.brennancenter.org/sites/default/files/2021-06/Cornell_final.pdf
  [https://perma.cc/J6QD-4YXG] and Joseph Blocher, Response: Rights as Trumps of What?, 132
  HARV. L. REV. 120, 123 (2019).
           32
           H. Richard Uviller & William G. Merkel, The Militia And The Right To Arms, Or, How
  The Second Amendment Fell Silent 150 (2002).
        Saul Cornell, Commonplace or Anachronism: The Standard Model, the Second Amendment,
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  and the Problem of History in Contemporary Constitutional Theory, 16 CONST. COMMENT. 228–30
  (1999).
           34
                Id.

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  designed to encourage the security of a free state. Actions that undermine this security are clearly

  not protected by the Amendment.

         In keeping with the clear public meaning of the Second Amendment’s text and comparable

  state provisions, early American governments enacted laws to preserve the rights of law-abiding

  citizens to keep and bear arms and encourage the equally vital goal of promoting public safety.

  The proper metric for deciding if such laws were constitutional was and remains the same today:

  whether a regulation infringes on the core right protected by the Second Amendment. 35

                 B. Arms And Accoutrements: Taking Founding-Era Texts Seriously
         The text of the Second Amendment references arms. In Founding Era American English

  the term arm did not include “ammunition” or any of the other “accoutrements” essential to

  militia service. Thus, the claim that, as a matter of history and original meaning, modern large

  capacity magazines (LCMs) are either lineal descendants or analogs to the Founding era arms

  protected by the Second Amendment is false. As a matter of history, it is my opinion that these

  items indisputably do not fall under the Second Amendment’s protections. Indeed, the Second

  Amendment and early American militia laws acknowledge that government had both a

  compelling interest and ample authority to regulate and proscribe the types of arms, ammunition,

  and accoutrements that may be purchased in the marketplace. The Founding era term that

  incorporates all three of these parts of the equipment of a militiaman was “a stand of arms.” The

  Second Amendment references arms, not “a stand of arms.” 36 In his dictionary, Noah Webster



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         35
           Saul Cornell and Nathan DeDino, A Well Regulated Right: The Early American
  Origins of Gun Control, 73 FORDHAM L. REV. 487 (2004).
         36
             See the relevant entries in Noah Webster, A DICTIONARY OF THE ENGLISH LANGUAGE
  (1832) s.v.

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  defined “a stand of arms as follows: “A stand of arms consists of a musket, bayonet, cartridge-

  box and belt, with a sword. But for common soldiers a sword is not necessary.” 37

         A search of the phrase “arms and accoutrements” in the Brigham Young University Corpus

  of Founding Era English, a standard source in any originalist inquiry into constitutional meaning

  yields close to nine hundred occurrences of these two terms. A computer search of the Founders

  Online archive, another standard source consulted by originalist scholars also reveals hundreds of

  uses that underscore the irrefutable fact that arms and accoutrements were two distinct categories

  of military items.

          One need not depend on the methods of corpus linguistics alone to document this basic

  fact about how “arms,” “ammunition,” and “accoutrements” were typically used in Founding era

  English. William Duane’s important military dictionary published during the Founding era made

  it clear that arms and accoutrements were distinct categories of equipage: “Accoutrements, by

  contrast, refers to equipage, including ‘belts, pouches, and cartridges.’” 38 Similarly, ammunition,

  which was sometimes combined with accoutrements into a single category, was distinct from arms.

  The definition of ammunition from the Founding period included “all sorts of powder and ball,

  shells, bullets cartridges, and grape shot.”39

         Accoutrements were often listed separately from arms and ammunition. This order from

  General Washington underscores the seriousness with which the Continental Army scrutinized the

  condition of Arms, ammunition, and accoutrements in the possession of its soldiers:

              Twice a week (Wednesdays and Saturdays) the officers of each company are
              carefully to inspect the arms, ammunition, and accoutrements of their men, to
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         37
             1 Encyclopædia Britannica: Or, a Dictionary of Arts, Sciences, and Miscellaneous
  Literature; Enlarged and Improved (1823) at 673.
          38
              William Duane, MILITARY DICTIONARY (1810) at 2-3.
          39
              Id.
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                see that they are in perfect order and that nothing is wanting. At the first
                inspection they are to take an exact account of every article belonging to each
                man; and if afterwards any be missing, they are immediately to report the same
                to the officer commanding their regiment, that the matter may be enquired into,
                if he judges it proper, by a regimental court martial, and the delinquent punished
                if deserving it, and charged with the articles lost, to be deducted from his
                wages.40
           Further evidence of the importance of the distinction between arms, ammunition, and

  accoutrements can be gleaned from the range of fines levied for failing to appear at muster

  adequately armed and accoutered. Persons too indigent to purchase these items were supplied out

  of the public arms and this included arms, ammunition, and accoutrements. 41

           Fines levied by Massachusetts for Deficient Equipment 42

      Item                             Category                           Fine
      Musket                           Arms                               One dollar
      Cartridge Box                    Ammunition                         Thirty Cents
      Cartridges                       Ammunition                         Thirty Cents
      Good Powder                      Ammunition                         Thirty Cents
      Flints                           Accoutrements                      Twenty Cents
      Wire Brush                       Accoutrements                      Twenty Cents




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           40
             General Orders, 11 October 1777,” Founders Online, National Archives,
  https://founders.archives.gov/documents/Washington/03-11-02-0488. [Original source: The
  Papers of George Washington, Revolutionary War Series, vol. 11, 19 August 1777 – 25 October
  1777, ed. Philander D. Chase and Edward G. Lengel. Charlottesville: University Press of
  Virginia, 2001, pp. 480–482.]
           41
            Kevin M. Sweeney, Firearms Ownership and Militias in Seventeenth and Eighteenth
  Century England and America, in A RIGHT TO BEAR ARMS?: THE CONTESTED ROLE OF HISTORY
  IN CONTEMPORARY DEBATES ON THE SECOND AMENDMENT (Jennifer Tucker et al. eds., 2019).
         42
            Revised Statutes of the Commonwealth of Massachusetts Passed November 4, 1835 to
  which are Subjoined, as Act in Amendment Thereof, and an Act Expressly to Repeal the Acts
  Which are Consolidated Therein, both Passed in February 1836 (1836) at 120. See also, Acts and
  Laws of the State of Connecticut, in America. United States (1784). “Table of Fines, Forfeitures,
  and Penalties,” A Collection of All Such Acts of the General Assembly of Virginia of a Public and
  Permanent Nature as Have Passed Since the Session of (1808) at 223. 

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                    C. From Muskets To Pistols: Change And Continuity In Early American
                       Firearms Regulations

       Guns have been regulated from the dawn of American history.43 At the time Heller was

  decided, there was little scholarship on the history of gun regulation and a paucity of quality

  scholarship on early American gun culture.44 Fortunately, a burgeoning body of scholarship has

  illuminated both topics, deepening scholarly understanding of the relevant contexts needed to

  implement Bruen.45

       Anglo-American law venerated the natural right of self-defense but the legal understanding

  of this doctrine had been shaped by centuries of common law adjudication. The right of self-

  defense protected by Anglo-American law was not unlimited; it was shaped by the need to preserve

  human life and promote the peace. 46 Statutory law, both in England and America functioned to

  further these inter-related goals. The use of deadly force was extremely limited. At the time of

  the Second Amendment, retreat, not stand your ground was the legal norm. 47 Given these

  indisputable facts the right to keep and bear arms was never understood to prevent government

  from enacting a broad range of regulations to promote the peace and maintain public safety. 48 To

  deny such an authority would be to convert the Constitution into a suicide pact and not a charter

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         43
            Robert J. Spitzer, Gun Law History in the United States and Second Amendment
  Rights, 80 L. & CONTEMP. PROBS. 55 (2017).
         44
              Id.
         45
              Ruben & Miller, supra note 18, at 1.
         46
            Saul Cornell, The Right to Keep and Carry Arms in Anglo-American Law: Preserving
  Liberty and Keeping the Peace, 80 L. & CONTEMP. PROBS. 11 (2017).
         47
             The three notable exceptions to this principle were the “castle doctrine,” defense
  against threat when there was no opportunity to escape or seek help, and defense against
  felonious assault, see the arguments made by John Adams in his defense of the soldiers in the
  Boston Massacre trial, “Adams’ Argument for the Defense: 3–4 December 1770,” Founders
  Online, National Archives, https://founders.archives.gov/documents/Adams/05-03-02-0001-
  0004-0016. [Original source: The Adams Papers, Legal Papers of John Adams, vol. 3, Cases 63
  and 64: The Boston Massacre Trials, ed. L. Kinvin Wroth and Hiller B. Zobel. Cambridge, MA:
  Harvard University Press, 1965, pp. 242–270
          48
             McDonald, 561 U.S. at 785 (noting “‘[s]tate and local experimentation with reasonable
  firearms regulations will continue under the Second Amendment’”).

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  of government. In keeping with this principle, the Second Amendment and its state analogues were

  understood to enhance the concept of ordered liberty, not undermine it. 49

        Bruen’s methodology requires judges to distinguish between the relevant history necessary

  to understand early American constitutional texts and a series of myths about guns and regulation

  that were created by later generations to sell novels, movies, and guns themselves. 50 Unfortunately,

  many of these myths continue to cloud legal discussions of American gun policy and Second

  Amendment jurisprudence.51

        Although it is hard for many modern Americans to grasp, there was no comparable societal

  ill to the modern gun violence problem for Americans to solve in the era of the Second

  Amendment. A combination of factors, including the nature of firearms technology and the

  realities of living life in small, face-to-face, and mostly homogenous rural communities that

  typified many parts of early America, militated against the development of such a problem. In

  contrast to modern America, homicide was not the problem that government firearm policy needed

  to address at the time of the Second Amendment. 52

        The surviving data from New England is particularly rich and has allowed scholars to

  formulate a much better understanding of the dynamics of early American gun policy and relate it

  to early American gun culture.53 Levels of interpersonal gun violence among those of white
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         49
            See generally Saul Cornell, The Long Arc Of Arms Regulation In Public: From Surety
  To Permitting, 1328-1928, 55 U.C. DAVIS L. REV. 2547 (2022)
         50
         PAMELA HAAG, THE GUNNING OF AMERICA: BUSINESS AND THE MAKING OF AMERICAN
  GUN CULTURE (2016).
         51
         RICHARD SLOTKIN, GUNFIGHTER NATION: THE MYTH OF THE FRONTIER IN TWENTIETH-
  CENTURY AMERICA (1993); JOAN BURBICK, GUN SHOW NATION: GUN CULTURE AND AMERICAN
  DEMOCRACY (2006).
         52
           RANDOLPH ROTH, AMERICAN HOMICIDE 56, 315 (2009). Roth’s data makes clear that
  gun violence was not a major problem at the Founding.
         53
            It is important to recognize that there were profound regional differences in early
  America. See JACK P. GREENE, PURSUITS OF HAPPINESS: THE SOCIAL DEVELOPMENT OF EARLY
  MODERN BRITISH COLONIES AND THE FORMATION OF AMERICAN CULTURE (1988). These
  differences also had important consequences for the evolution of American law. See generally
  David Thomas Konig, Regionalism in Early American Law, in 1 THE CAMBRIDGE HISTORY OF
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  European ancestry in the era of the Second Amendment were relatively low compared to modern

  America. These low levels of violence among persons of European ancestry contrasted with the

  high levels of violence involving the almost constant state of war that existed between the tribal

  populations of the region and their American neighbors.

        Limits in Founding-era firearms technology militated against the use of guns as effective

  tools of interpersonal violence in this period. Eighteenth-century muzzle-loading weapons,

  especially muskets, took too long to load and were therefore seldom used to commit crimes. Nor

  was keeping guns loaded a viable option because the black powder used in these weapons was not

  only corrosive, but it attracted moisture like a sponge. Indeed, the iconic image of rifles and

  muskets hung over the mantle place in early American homes was not primarily a function of

  aesthetics or the potent symbolism of the hearth, as many today assume. As historian Roth notes:

  “black powder’s hygroscopic, it absorbs water, it corrodes your barrel, you can’t keep it loaded.

  Why do they always show the gun over the fireplace? Because that’s the warmest, driest place in

  the house.”54 Similar problems also limited the utility of muzzle-loading pistols as practical tools

  for self-defense or criminal offenses. Indeed, at the time of the Second Amendment, over 90% of

  the weapons owned by Americans were long guns, not pistols. 55 Simply put, there was not a serious

  homicide problem looming over debates about the Second Amendment. Nor were guns the primary

  weapon of choice for those with evil intent during this period.56 The skill and time required to load

  and fire flintlock muzzle loading black powder weapons meant that these types of firearms were

  less likely to be used in crimes of passion. The preference for storing them unloaded also meant

  they posed fewer dangers to children from accidental discharge.


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  LAW IN AMERICA 144 (Michael Grossberg & Christopher Tomlins eds., 2008).
         54
             Randolph Roth, Transcript: Why is the United States the Most Homicidal in the
  Affluent World, NATIONAL INSTITUTE OF JUSTICE (Dec. 1, 2013),
  https://nij.ojp.gov/media/video/24061 (last visited June 2, 2023).
         55
              Sweeney, supra note 41.
         56
              HAAG, supra note 50.

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        In short, the Founding generation did not confront a gun violence problem similar in nature

  or scope to the ills that plague modern America. Rather, they faced a different, but no less serious

  problem: American reluctance to purchase the type of weapons needed to effectively arm their

  militias. Americans were far better armed than their British ancestors, but the guns most Americans

  owned and desired were those most useful for life in an agrarian society: fowling pieces and light

  hunting muskets.57 Killing pests and hunting were the main concern of farmers, and their choice

  of firearm reflected these basic facts of life. Nobody bayoneted turkeys, and pistols were of limited

  utility for anyone outside of a small elite group of wealthy, powerful, and influential men who

  needed these weapons if they were forced to face an opponent on the field of honor in a duel, as

  the tragic fate of Alexander Hamilton so vividly illustrates.58

        Despite repeated efforts to exhort and legislate to promote this goal, many states were failing

  to adequately equip the militia with suitable firearms that could withstand the rigors of the type of

  close-quarters hand-to-hand combat required by the military tactics of the time. A gun had to be

  able to receive a bayonet and serve as a bludgeon if necessary. The light-weight guns favored by

  the overwhelmingly rural population of early America were well designed to put food on the table

  and rid fields of vermin, but were not well suited to eighteenth-century ground wars. In particular,

  fowling pieces, loaded with shot, not bullets or musket balls were especially useful in a

  predominantly agrarian society.59 When the U.S. government surveyed the state of the militia’s

  preparedness shortly after Jefferson took office in 1800, the problem had not been solved.

  Although Massachusetts boasted above 80% of its militia armed with military quality weapons,

  many of the southern states lagged far behind, with Virginia and North Carolina hovering at about

  less than half the militia properly armed. 60

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            57
                 Sweeney, supra note 41.
            58
                 Joanne B. Freeman, AFFAIRS OF HONOR: NATIONAL POLITICS IN THE NEW REPUBLIC
  (2001).
            59
                 Sweeney, supra note 41.
            60
                 Id.

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          As a result, the government took an active role in encouraging the manufacturing of arms

  and had a vested interest in determining what types of weapons would be produced. The American

  firearms industry in its infancy was thus largely dependent on government contracts and subsidies.

  The industry was also regulated to prevent sub-standard weapons from being sold and from

  military weapons being diverted from the militia. 61

          One important form of government regulation of the firearms industry, a practice that began

  in the era of the Second Amendment and persisted throughout the nineteenth century included

  inspection of weapons and Government-imposed safety standards on the firearms industry. Indeed,

  without such interventions it is likely that the industry would never have survived. The danger

  posed by defective arms, or poorly manufactured ones could be catastrophic. A burst barrel of a

  musket or fowling piece could turn a firearm into a pipe bomb, maiming or killing an unfortunate

  user.

          In 1805 Massachusetts enacted a law requiring all guns to be inspected before they could be

  sold in the Commonwealth.62 As stated in the law’s preamble, the law’s purpose was to prevent

  harm to residents from the sale of unsafe firearms. The law required the appointment of inspectors,

  up to two per county, who would “prove,” i.e. test and inspect, all musket barrels and pistol barrels.

  The law detailed the manner in which these inspections were to be conducted, which included

  testing the firearm to ensure it would not fail and that it could carry a shot over a certain distance.

  If the firearm passed inspection, then the inspector would stamp it with the inspector’s initials and

  the year onto the barrel so that the stamp could not be erased or disfigured. Only firearms that

  passed inspection and were stamped could be sold, and the sale of firearms without a stamp was

  subject to a fine. The standards that all muskets and pistols had to meet to pass inspection were



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           61
            Lindsay Schakenbach Regele, A Different Constitutionality for Gun Regulation, 46
  HASTINGS CONST. L.Q. 523, 524 (2019); Andrew J. B. Fagal, American Arms Manufacturing and
  the Onset of the War of 1812, 87 NEW ENG. Q. 526, 526 (2014).
           62
           1804 Mass. Acts. 111, ch. 81, “An Act to Provide for the Proof of Fire Arms
  Manufactured Within this Commonwealth.”
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  updated in 1814.63

        Maine imposed a similar requirement on firearms in 1821, and continued the practice

  through the end of the century.64 Similar to the Massachusetts proving law, the Maine law required

  the governor to appoint inspectors of firearms who would then ensure that firearms met certain

  safety standards and stamped prior to their sale. The Maine and Massachusetts laws persisted

  throughout the nineteenth century.65

        The federal armory in Springfield, Massachusetts, began producing muskets in 1794. The

  presence of the armory served as a spur to innovation among local gun smiths. In fact, this

  confluence of factors helped Western Massachusetts become the leading small arms producer in

  America on the eve of the War of 1812. The Springfield armory, a federal entity, was governed by

  federal law (not Massachusetts law) but it nonetheless extensively scrutinized and inspected all

  arms made at its facilities and any arms produced by local gunsmiths under government contract.

  The quality of these weapons, literally being stamped with government approval, made these guns

  particularly valuable in the civilian arms market when government surplus guns were sold to

  consumers in times of peace.66 Federal weapons not made in Massachusetts were also stamped to

  discourage theft. In 1776, George Washington ordered all Continental Army firearms stamped

                                 
         63
             1814 Mass. Acts 464, An Act In Addition To An Act, Entitled “An Act To Provide For
  The Proof Of Fire Arms, Manufactured Within This Commonwealth,” ch. 192, § 1 (“All musket
  barrels and pistol barrels, manufactured within this Commonwealth, shall, before the same shall
  be sold, and before the same shall be stocked, be proved by the person appointed according to the
  provisions of an act . . .. . .”); § 2 (“That if any person of persons, from and after the passing of
  this act, shall manufacture, within this Commonwealth, any musket or pistol, or shall sell and
  deliver, or shall knowingly purchase any musket or pistol, without having the barrels first proved
  according to the provisions of the first section of this act, marked and stamped according the
  provisions of the first section of the act.”)
         64
              “An Act to Provide for the Proof of Fire Arms,” 2 Laws State of Maine (1821) at 685-
  86.
         65
            1 The General Statutes of the Commonwealth of Massachusetts: Enacted December 28,
  1859, to Take Effect June 1, 1860 (2d ed., William A. Richardson & George P. Sanger, eds.) 255
  (1873).
  66
     Lindsay Schakenbach Regele, Manufacturing Advantage: War, The State, And The Origins Of
  American Industry, 1776–1848 (2019) at 63-65.

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  with an insignia: “U.S.XIII.” Government marked weapons in this fashion to make it easier to

  identify cases where arms were being illegally sold in a secondary market to private individuals or

  sold to person who were not allowed to own firearms.67 In 1780, George Washington also ordered

  that the Continental Army ensure all gun barrels were sufficiently proved to avoid buying poor

  quality guns.68

        Stamping and marking firearms aided government efforts to keep track of weapons and

  enforce manufacturing standards. These types of policies were understood at the time of the

  Second Amendment and its various state analogs to be perfectly consistent with the right to keep

  and bear arms.69

        The market for firearms in early America shared very few features with the contemporary

  world of firearms commerce. Today’s Americans have a myriad of choices of the type and style

  of weapon when they wish to acquire a firearm. Gun shows, gun supermarkets, and internet sales

  are a few of the many ways Americans acquire firearms today. Although estimates vary, it is likely

  that there are now more guns than people in contemporary America. 70

        Early American firearms production in the era of the Second Amendment, in contrast, was

  dominated by artisan production.71 Apart from the wealthiest Americans, most households could

  not afford to own multiple weapons. Local gun smiths, not big box stores such as Walmart, were

  responsible for selling most firearms.




                                 
         67
             E. Wayne Carp, To Starve The Army At Pleasure: Continental Army Administration
  And American Political Culture, 1775-1783 (1984) at 66-67.
          68
              Letter from George Washington to Henry Knox (Nov. 30, 1780), in The Writings of
  George Washington from the Original Manuscript Sources 1745-1799 (John C. Fitzpatrick, ed.)
  (“I think it will be best for you to give orders to the Officer superintending the Laboratory to have
  the Barrels sufficiently proved before they are delivered to Mr. Buel, as I suspect that they are
  most of them of the trash kind which Mr. ... Lee charges Mr. Deane[']s Agent with purchasing.”)
          69
               Regele, supra note 61.
          70
              Terry L. Schell, Samuel Peterson, Brian G. Vegetabile, Adam Scherling, Rosanna
  Smart, and Andrew R. Morral, State-Level Estimates of Household Firearm Ownership. Santa
  Monica, CA: RAND Corporation, 2020. https://www.rand.org/pubs/tools/TL354.html.
          71
              Merritt Roe Smith, Harpers Ferry Armory and the New Technology: The Challenge of
  Change (1977).
                                                   ϮϮ
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  Fire Arms ownership in New England During the Era of the Second Amendment, 1770-1798 72
      Years                  % Inventories with     % Inventories with      % Inventories with
                             firearms               muskets                 pistols
      1770-1775              51                     .9                      5
      1783-1786              46                     .5                      2.5
      1795-1798              32                     1.5                     1.5


          Most sellers and buyers of firearms in early America were members of the same community.

  Moreover, given the nature of eighteenth-century firearms technology gun owners needed to

  maintain an on-going relationship with their local gun smith to keep their guns in good working

  order. The informal ties of kin and community that defined the close-knit communities of early

  America meant that individuals were effectively vetted and monitored by their neighbors in ways

  that share little with the largely anonymous world of modern firearms commerce. 73

          The calculus of individual self-defense changed dramatically in the decades following the

  adoption of the Second Amendment.74 The early decades of the nineteenth century witnessed a

  revolution in the production and marketing of guns.75 The same technological changes and

  economic forces that made wooden clocks and other consumer goods such as Currier and Ives

  prints -- common items in many homes -- also transformed American gun culture. 76 These same

  changes also made handguns and a gruesome assortment of deadly knives, including the dreaded

  Bowie knife, more common. The culmination of this gradual evolution in both firearms and
                                 
              72
             Data adapted from Sweeney, supra note 41. Probate data does not perfectly correlate
  with total number of weapons in circulation so these figures must be used with some caution. In
  some cases, arms were passed on to family members before probate. These numbers do,
  however, offer a useful way to capture the relative number of different categories of arms owned
  by the population.
          73
              Scott Paul Gordon, The Ambitions of William Henry, 136 PENNSYLVANIA MAGAZINE
  OF HISTORY AND BIOGRAPHY 253 (2012). Pennsylvania was one of the main regions of early
  American gunsmithing. M.L. Brown, Firearms In Colonial America: The Impact On History And
  Technology, 1492-1792 (1980).
          74
             Cornell, supra note 3, at 745.
              75
          Lindsay Schakenbach Regele, Industrial Manifest Destiny: American Firearms
  Manufacturing and Antebellum Expansion, 93 BUS. HIST. REV. 57 (2018).
              76
          Sean Wilentz, Society, Politics, and the Market Revolution, in THE NEW AMERICAN
  HISTORY (Eric Foner ed., 1990).

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  ammunition technology was the development of Samuel Colt’s pistols around the time of the

  Mexican-American War.77 Economic transformation was accompanied by a host of profound

  social changes that gave rise to America’s first gun violence crisis. As cheaper, more dependable,

  and easily concealable handguns proliferated in large numbers, Americans, particularly

  southerners, began sporting them with alarming regularity. The change in behavior was most

  noticeable in the case of handguns. 78


                  D. The Myth of Founding Era Repeaters

        Virtually all firearms in common use in the era of the Second Amendment were single-

  shot, muzzle-loading black powder weapons. Guns capable of firing more than a single round,

  repeaters, could best be described as exceedingly rare and exotic. Thus, the claim that firearms

  capable of firing more than ten rounds without reloading “are nothing new” and the related

  claim that such weapons were familiar to Americans in the Founding era is deceptive at best.

  The existence of such weapons did not mean that they were common, nor did it mean that the

  average American would have understood that such weapons were generally understood to fall

  within the protection of the Second Amendment. There is no evidence to support such a

  conclusion.

        Moreover, the claim that “repeaters” and other rare weapons were widely believed to be

  protected by the Second Amendment is not consistent with the originalist framework employed

  in Bruen. An analysis of history, text, and tradition requires a contextually sensitive assessment

  of what types of weapons were in common use at the time and which weapons were singled out

  by governments for heighted forms of legal protection or treated simply as property subject to

  the normal range of regulation.79 Thus, the relevant historical question is not what firearms

                                 
         77
              William N. Hosley, Colt: The Making of an American Legend (1st ed. 1996).
         78
             Cornell, supra note 3, at 716.
         ϳϵ
            Kevin Sweeney and Saul Cornell, All Guns Are Not Created Equal, CHRONICLE OF
  HIGHER EDUCATION. January 28, 2013; Priya Satia, What Guns Meant in Eighteenth-century
  Britain 5 PALGRAVE COMMUN 104 (2019). 

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  technology existed at the time of the Second Amendment. The constitutionally pertinent question

  is: did the average reader of the Constitution and the first ten amendments understand repeaters

  to be among those weapons the Second Amendment was intended to protect? 80

        Few if any Americans would have ever encountered these types of weapons and even

  fewer owned such weapons, an indisputable fact that makes the argument that these types of

  weapons were encompassed by the Second Amendment highly improbable. 81

        The best way to understand the historical importance (or irrelevance) of these weapons is

  to analyze the discussion of arms in the print culture of the period, paying close attention to how

  repeating weapons were discussed in newspapers, books, and to a lesser extent private

  correspondence.82 If one consults the standard sources associated with originalist scholarship

  and jurisprudence the silence is deafening. These types of weapons were rarely mentioned and

  when they were discussed they were described as rare and “curious.” 83 Founding era newspapers

  often contained advertisements for the sale of firearms. Although one must approach data gained

  from this type of digital searching with some historical sophistication and caution, the evidence

  clearly shows that “repeating” weapons were neither common nor readily available in the period

  between the American Revolution and enactment of the Second Amendment. Given this fact it

  strains credulity to claim that such weapons were originally understood to be encompassed

  within the protections afforded by the Second Amendment. During the almost two-decade

  period between the Declaration of Independence and the adoption of the Second Amendment


                                 
         80
          William Baude & Stephen E. Sachs, Originalism and the Law of the Past, 37 LAW &
  HISTORY REVIEW 809-820 (2019).
         81
            See discussion below infra Section IV.D.
         ϴϮ
           Saul Cornell, Reading the Constitution, 1787–91: History, Originalism, and
  Constitutional Meaning Id., 821–45.
         83
              See discussion below infra Section IV.D.
                                                  Ϯϱ
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  there were a total of five advertisements for the sale of air rifles in American newspapers. 84 In

  the same period there were over four thousand advertisements for the sale of guns of various

  types, most notably muskets of one type or another.     The advertisement reproduced in Figure

  One below illustrates the exotic nature of these weapons, which were described as “singular” and

  “curious.”85


                                                 Figure One86




        These guns were so rare and expensive that a New York Museum from the period decided

  to showcase an air gun alongside other curiosities such as mammoth bones and a full-size

  working guillotine. For an additional fee beyond the price of admission one could purchase an

  opportunity to fire one these “singular” weapons. 87




                                 
         84
              [New York] Royal Gazette October 1, 1783 at 3; Pennsylvania Packet July 21, 1789
  at 3 ; id. July 28, at 1; id., July 31 at 1; id., August 13, at 1. 
         85
            “To be Sold at Private Sale,” [New York] ROYAL GAZETTE October 1, 1783          at 3
         86
            Id.
         87
              Lawrence W. Levine, Highbrow/Lowbrow (2009) at 149.
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                                                Figure Two 88




        The notion that the Second Amendment was widely understood to protect weapons that

  were rarely advertised for sale and that generally recognized to be of a “singular” and “curious”

  nature is not credible; nor is such a claim consistent with Heller and Bruen’s originalist

  methodology which requires that texts be interpreted according to their ordinary public meaning

  in the eighteenth century. Weapons described as “singular and curious” are a poor choice for

  understanding the ordinary meaning of the term “arms” in Founding era English.

        Visitors to today’s NRA’s museum of firearms may be treated to an impressive exhibit

  featuring the type of Girondoni air rifle that Lewis and Clark carried on their Expedition of

  Discovery. 89 Although modern gun rights advocates and antiquarian firearms enthusiasts are

  well acquainted with this weapon, few Americans in the era of Lewis and Clark could make a

  comparable claim. Indeed, in the first published account of the Corps of Discovery’s mission

  there are less than a handful of references to the air gun carried by Lewis and Clark. The


                                 
         88
            “To the Curious,” [New York] DAILY ADVERTISER, February 9, 1792.
         89
             https://www.nramuseum.org/guns/the-galleries/a-prospering-new-republic-1780-to-
  1860/case-8-romance-of-the-long-rifle/girardoni-air-rifle-as-used-by-lewis-and-clark.aspx (last
  visited on 6/1/23).
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  primary use of the weapon was not for war, hunting, or individual self-defense, but the weapon

  was a show piece used to impress the different Indian nations the Corps encountered with the

  superiority of American technology.90 But, few Americans at the time of the Lewis and Clark

  exhibition would have had the opportunity to ever see one of these weapons or any other

  repeating gun up close.

        Under ideal conditions priming the Girardoni air gun required 1500 strokes of a pump.

  The Austrian military, one of the few armed forces in the world to purchase these types of

  weapons, quickly abandoned them because they were ill suited to battle-field conditions. In

  1789, an Austrian officer complained that the weapons were of little military value because of

  the difficulty of using them and their tendency to malfunction:
                  Due to their construction, these guns were much more difficult to
                  use effectively than normal, as one had to handle them much more
                  cautiously and carefully. In addition, the soldiers using them had to
                  be supervised extremely carefully, as they were unsure about the
                  operation. The guns became inoperable after a very short time—so
                  much so that after a while no more than one-third of them were still
                  in a usable state. We needed the whole winter to repair and replace
                  them.91
  William Duane’s popular military dictionary (1810) devoted a short entry to air guns, noting that

  the gun’s performance was so unreliable, “it has long been out of use among military men.” 92


                 E. The Police Power And Firearms Regulation

        The 1776 Pennsylvania Constitution, the first revolutionary constitution to assert a right to

  bear arms, preceded the assertion of this right by affirming a more basic rights claim: “That the

  people of this State have the sole, exclusive and inherent right of governing and regulating the


                                
         90
            2 History of the Expedition Under the Command of Captains Lewis and Clark...in
  Two (ed., Paul Allen, 1814) at 136, 28,364. For a discussion of the Corps of Discovery’s use of
  technology to over-awe Indian peoples and impress upon them the superiority of American
  technology, see James P. Rhonda, LEWIS AND CLARK AMONG THE INDIANS (1984) at
  225.
         91
            Frederick J. Chiaventone, The Girardoni Air Rifle: The Lewis and Clark
         Expedition’s Secret Weapon 14 MILITARY HERITAGE (2015), 19.
         92
            William Duane, A MILITARY DICTIONARY (1810) at 5.
                                                   Ϯϴ
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  internal police of the same.”93 The phrase “internal police” had already become common,

  particularly in laws establishing towns and defining the scope of their legislative authority. 94 By

  the early nineteenth century, the term “police” was a fixture in American law.95 Thus, an 1832

  American encyclopedia confidently asserted that police, “in the common acceptation of the word,

  in the U. States and England, is applied to the municipal rules, institutions and officers provided

  for maintaining order, cleanliness &c.”96 The Founding era’s conception of a basic police right

  located in legislatures was transmuted during the Marshall Court’s era into the judicial doctrine of

  the police power and would become a fixture in American law.

        The power to regulate firearms and gunpowder has always been central to the police power

  and historically was shared among states, local municipalities, and the federal government when

  it was legislating conduct on federal land and in buildings.97 The adoption of the Constitution and

  the Bill of Rights did not deprive states of their police powers. Indeed, if it had, the Constitution

  would not have been ratified and there would be no Second Amendment today. Ratification was

  only possible because Federalists offered Anti-Federalists strong assurances that nothing about the

  new government threatened the traditional scope of the individual state’s police power authority,



                                  
         93
              PA. CONST. OF 1776, Ch. I, art iii.
         94
            For other examples of constitutional language similar to Pennsylvania’s provision, N.C.
  CONST. OF 1776, DECLARATION OF RIGHTS, art. II; VT. CONST. OF 1777, DECLARATION OF RIGHTS,
  art. IV. For other examples of this usage, see An Act Incorporating the residents residing within
  limits therein mentioned, in 2 NEW YORK LAWS 158 (1785) (establishing the town of Hudson,
  NY); An Act to incorporate the Town of Marietta, in LAWS PASSED IN THE TERRITORY NORTHWEST
  OF THE RIVER OHIO 29 (1791). For later examples, see 1 STATUTES OF THE STATE OF NEW JERSEY
  561 (rev. ed. 1847); 1 SUPPLEMENTS TO THE REVISED STATUTES. LAWS OF THE COMMONWEALTH OF
  MASSACHUSETTS, PASSED SUBSEQUENTLY TO THE REVISED STATUTES: 1836 TO 1849, INCLUSIVE
  413 (Theron Metcalf & Luther S. Cushing, eds. 1849).
         95
            ERNST FREUND, THE POLICE POWER: PUBLIC POLICY AND CONSTITUTIONAL RIGHTS 2,
  n.2 (1904).
         96
              10 ENCYCLOPEDIA AMERICANA 214 new edition (Francis Lieber ed.).
         97
          Harry N. Scheiber, State Police Power, in 4 ENCYCLOPEDIA OF THE AMERICAN
  CONSTITUTION 1744 (Leonard W. Levy et al. eds., 1986).

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  including the authority to regulate guns and gun powder. 98

           Federalists and Anti-Federalists bitterly disagreed over many legal issues, but this one point

  of accord was incontrovertible. Brutus, a leading Anti-Federalist, emphatically declared that “[I]t

  ought to be left to the state governments to provide for the protection and defence [sic]of the citizen

  against the hand of private violence, and the wrongs done or attempted by individuals to each other

      . . . .”99 Federalist Tench Coxe concurred, asserting that: “[t]he states will regulate and administer

  the criminal law, exclusively of Congress.” States, he assured the American people during

  ratification, would continue to legislate on all matters related to the police power “such as

  unlicensed public houses, nuisances, and many other things of the like nature.” 100

           State police power authority was at its pinnacle in matters relating to guns or gun powder. 101

  Every aspect of the manufacture, sale, and storage of gun powder was regulated due to the

  substance’s dangerous potential to detonate if exposed to fire or heat. Firearms were also subject

  to a wide range of regulations, including laws pertaining to the manufacture, sale, and storage of

  weapons.102

           Thus, Massachusetts enacted a law that prohibited storing a loaded weapon in a home, a

  firearms safety law that recognized that the unintended discharge of firearms posed a serious threat

  to life and limb.103 New York City even granted broad power to the government to search for gun

  powder and transfer powder to the public magazine for safe storage:

                                     
             98
          Saul Cornell, THE OTHER FOUNDERS: ANTIFEDERALISM AND THE DISSENTING
  TRADITION IN AMERICA, 1788-1828 (1999).
             99
           Brutus, Essays of Brutus VII, reprinted in 2 THE COMPLETE ANTIFEDERALIST 358, 400–
  05 (Herbert J. Storing ed., 1981).
             100
          Tench Coxe, A Freeman, Pa. Gazette, Jan. 23, 1788, reprinted in FRIENDS OF THE
  CONSTITUTION: WRITINGS OF THE “OTHER” FEDERALISTS 82 (Colleen A. Sheehan & Gary L.
  McDowell eds., 1998).
             101
                   Cornell and DeDino, supra note 35.
             102
                   Id.
             103
            Act of Mar. 1, 1783, ch. XIII, 1783 Mass. Acts 37, An Act in Addition to the Several
  Acts Already Made for the Prudent Storage of Gun Powder within the Town of Boston, § 2.

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        [I]t shall and may be lawful for the mayor or recorder, or any two Alderman of the
        said city, upon application made by any inhabitant or inhabitants of the said city,
        and upon his or their making oath of reasonable cause of suspicion (of the
        sufficiency of which the said mayor or recorder, or Aldermen, is and are to be the
        judge or judges) to issue his or their warrant or warrants, under his or their hand
        and seal, or hands and seals for searching for such gun powder, in the day time, in
        any building or place whatsoever.104
        New Hampshire enacted a law in 1825 penalizing the sale or offer to sell “by retail any

  gunpowder in any highway, or in any street, lane, or alley, or on any wharf, or on parade or

  common.”105

        Other examples of state laws delegating authority to local governments to regulate the sale

  of gunpowder for public safety include but are not limited to:

                 a. 1845 Iowa Laws 119, An Act to Incorporate and Establish the City of Dubuque,

                     chap 123, § 12 (delegating authority to cities “to regulate by ordinance the

                     keeping and sale of gunpowder within the city”);

                 b. An Act Incorporating the Cities of Hartford, New Haven, New London, Norwich

                     and Middletown, 1836 Conn. Acts 105 (Reg. Sess.), chap. 1, § 20 (delegating

                     authority to “prohibit[] and regulat[e] the bringing in, and conveying out” of

                     gunpowder);

                 c. An Act to Reduce the Law Incorporating the City of Madison, and the Several

                     Acts Amendatory thereto Into One Act, and to Amend the Same, 1847 Ind. Acts

                     93, chap 61, § 8, pt. 4 (delegating authority “[t]o regulate and license, or provide

                     by ordinance for regulating and licensing . . . the keepers of gunpowder”).

        The purpose of these gunpowder regulations was to promote public safety. Early American

  governments recognized the danger posed by gun powder and regulated every aspect of its

  production, sale, and storage. Early American governments also regulated shooting galleries for
                                   
         104
            An Act to Prevent the Storing of Gun Powder, within in Certain Parts of New York
  City, 2 LAWS OF THE STATE OF NEW-YORK, COMPRISING THE CONSTITUTION, AND THE ACTS OF
  THE LEGISLATURE, SINCE THE REVOLUTION, FROM THE FIRST TO THE FIFTEENTH SESSION,
  INCLUSIVE at 191-2 (Thomas Greenleaf, ed., 1792).
         105
               1825 N.H. Laws 74, ch. 61, § 5
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  similar reasons.106

        There were also laws that required the inspection of gunpowder. In 1809, Massachusetts

  established requirements for the quality and composition of gunpowder; authorized the

  appointment of inspector. Before being placed in any public magazine gunpowder that passed

  inspection was placed in a cask and marked with the inspector’s initials; gunpowder that was

  marked condemned or that had not yet passed inspection could not be sold. 107 Four other states,

  including Rhode Island, New Jersey, New Hampshire, and Pennsylvania, adopted similar

  gunpowder inspection laws in the late eighteenth and early nineteenth centuries. 108

        The regulation of firearms and ammunition was singled out as the quintessential example of

  state police power by Chief Justice John Marshall in his 1827 discussion of laws regulating gun

  powder in Brown v. Maryland.109 This was so even though gunpowder was essential to the

  operation of firearms at that time and gun powder regulations necessarily affected the ability of

  gun owners to use firearms for self-defense, even inside the home.

        A slow process of judicializing this concept of police, transforming the Founding era’s idea

  of a “police right” into a judicially enforceable concept of the “police power” occurred beginning

                                  
         106
               John C. White, Digest of the Laws and Ordinances of the Parish of East Feliciana,
  Adopted by the Police Jury of the Parish Page 80 (1848); Ordinances and Joint Resolutions of
  the City of San Francisco; Together with a List of the Officers of the City and County, and Rules
  and Orders of the Common Council Page 220 (1854); Chas. Ben. Darwin, Ordinances of the City
  of Burlington, with Head Notes and an Analytic Index Page 149-150 (1856); Rhode Island:
  1851 R.I. Pub. Laws 9, An Act In Amendment Of An Act Entitled An Act Relating To
  Theatrical Exhibitions And Places Of Amusement, §§ 1-2; Samuel Ames, The Revised Statutes
  of the State of Rhode Island and Providence Plantations: To Which are Prefixed, The
  Constitutions of the United States and of the State Page 204-205(1857); William H. Bridges,
  Digest of the Charters and Ordinances of the City of Memphis, Together with the Acts of the
  Legislature Relating to the City, with an Appendix Page 148-149 (1863);Henry Jefferson Leovy,
  The Laws and General Ordinances of the City of New Orleans, Together with the Acts of the
  Legislature, Decisions of the Supreme Court. And Constitutional Provisions Relating to the City
  Government. Revised and Digested, Pursuant to an Order of the Common Council. New Edition
  Page 257 (1870)͘
          107
              1808 Mass. Acts 444, ch. 52, An Act Providing for the Appointment of Inspectors,
  and Regulating the Manufactory of Gun-Powder.
          108
              1776 R.I. Pub. Laws 25 (Oct. Sess.); 1776-77 N.J. Laws 6-7, ch. 6; 1820 N.H. Laws
  274, ch. 25; 1794 Pa. Laws 764, ch. 337.
          109
              25 U.S. (12 Wheat.) 419, 442-43 (1827) (“The power to direct the removal of
  gunpowder is a branch of the police power”).

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  with the Marshall Court and continuing with the Taney Court. 110 Nor was Chief Justice John

  Marshall unique in highlighting the centrality of this idea to American law. 111 The ubiquity of

  the police power framework for evaluating the constitutionality of legislation regarding firearms

  reflected the centrality of this approach to nearly every question of municipal legislation

  touching health or public safety in early America.112 Massachusetts Judge Lemuel Shaw, one of

  the most celebrated state jurists of the pre-Civil War era elaborated this point in his influential

  1851 opinion in Commonwealth v. Alger, a decision that became a foundational text for lawyers,

  judges, and legislators looking for guidance on the meaning and scope of the police power.

  Shaw described the police power in the following manner:
        [T]he power vested in the legislature by the constitution, to make, ordain and
        establish all manner of wholesome and reasonable laws, statutes and
        ordinances, either with penalties or without, not repugnant to the constitution,
        as they shall judge to be for the good and welfare of the commonwealth, and
        of the subjects of the same. It is much easier to perceive and realize the
        existence and sources of this power, than to mark its boundaries, or prescribe
        limits to its exercise. There are many cases in which such a power is exercised
        by all well-ordered governments, and where its fitness is so obvious, that all
        well regulated minds will regard it as reasonable. Such are the laws to prohibit
        the use of warehouses for the storage of gunpowder. 113
        In short, there was unanimous agreement among leading antebellum jurists, at both the
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         110
              Eras of Supreme Court history are typically defined by the tenure of the Chief Justice.
  The Marshall Court Period covered the years 1801-1835. For a brief overview, see The Marshall
  Court, 1801-1835, SUPREME COURT HISTORICAL SOCIETY (last visited Oct. 5, 2022),
  https://supremecourthistory.org/history-of-the-court-history-of-the-courts/history-of-the-court-
  history-of-the-courts-the-marshall-court-1801-1835/. The Taney Court period covered the years
  1836-1864. See The Taney Court, 1836-1864, SUPREME COURT HISTORICAL SOCIETY (last visited
  Oct. 5, 2022), https://supremecourthistory.org/history-of-the-court-history-of-the-courts/history-
  of-the-courts-history-of-the-courts-the-taney-court-1836-1864/.
         111
             In the extensive notes he added as editor of the 12 th edition of James Kent’s classic
  Commentaries an American Law, Oliver Wendell Holmes, Jr., wrote that regulation of firearms
  was the locus classicus of the police power. See 2 JAMES KENT COMMENTARIES ON AMERICAN
  LAW (340) 464 n.2 (Oliver Wendell Holmes, Jr., ed. 12 ed. 1873).
         112
          FREUND, supra note 95, at 2, n.2 (1904). WILLIAM J. NOVAK, THE PEOPLE’S WELFARE:
  LAW AND REGULATION IN NINETEENTH-CENTURY AMERICA (1996).
         113
             Commonwealth v. Alger, 61 Mass. (7 Cush.) 53 (1851). For another good discussion
  of how state jurisprudence treated the concept, see Thorpe v. Rutland, 27 Vt. 140, 149 (1855).

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  federal and state level, that the regulation of arms and gun powder was at the core of the police

  power enjoyed by legislatures. Indeed, the scope of government power to regulate, prohibit, and

  inspect gunpowder has been among the most far reaching of any exercise of the police power

  throughout American history.114 A Maine law enacted in 1821 authorized town officials to enter

  any building in town to search for gun powder:

         Be it further enacted, That it shall, and may be lawful for any one or more of the
         selectmen of any town to enter any building, or other place, in such town, to search
         for gun powder, which they may have reason to suppose to be concealed or kept,
         contrary to the rules and regulations which shall be established in such town,
         according to the provisions of this Act, first having obtained a search warrant
         therefore according to law.115

        No jurisdiction enumerated the full contours of the police power they possessed in a single

  text or in a single statute or ordinance. Rather, it was well understood that the exercise of this

  power would need to adapt to changing circumstances and new challenges as they emerged. This

  conception of law was familiar to most early American lawyers and judges who had been schooled

  in common law modes of thinking and analysis.116 Throughout the long sweep of Anglo-American

  legal history, government applications of the police power were marked by flexibility, allowing

  local communities to adapt to changing circumstances and craft appropriate legislation to deal with

  the shifting challenges they faced. 117 This vision of the police power was articulated forcefully by

  the Supreme Court in the License Cases when Justice McClean wrote this about the scope of state

  police power:




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         114
               CORNELL, THE POLICE POWER, supra note 31.
         115
           1821 Me. Laws 98, An Act for the Prevention of Damage by Fire, and the Safe
  Keeping of Gun Powder, chap. 25, § 5.
         116
           KUNAL M. PARKER, COMMON LAW HISTORY, AND DEMOCRACY IN AMERICA, 190-
  1900: LEGAL THOUGHT BEFORE MODERNISM (2013).
         117
               William J. Novak, A State of Legislatures, 40 POLITY 340 (2008).

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                  It is not susceptible of an exact limitation, but must be exercised under
                  the changing exigencies of society. In the progress of population, of
                  wealth, and of civilization, new and vicious indulgences spring up,
                  which require restraints that can only be imposed by new legislative
                  power. When this power shall be exerted, how far it shall be carried,
                  and where it shall cease, must mainly depend upon the evil to be
                  remedied.118
        One of the most important early American gun-related cases discussed in Heller, State v.

  Reid, offers an excellent illustration of the way police power jurisprudence was used by antebellum

  judges to adjudicate claims about gun rights and the right of the people to regulate. 119 The case is

  a classic example of antebellum police power jurisprudence. The Supreme Court of Alabama

  evaluated the statute by focusing on the scope of state police power authority over guns. “The

  terms in which this provision is phrased,” the court noted, “leave with the Legislature the authority

  to adopt such regulations of police, as may be dictated by the safety of the people and the

  advancement of public morals.”120 In the court’s view, the regulation of arms was at the very core

  of state police power.121 The judicial determination was straightforward: was the challenged law a

  legitimate exercise of the police power or not?

        Modern-day legislative efforts to ban large-capacity magazines, semi-automatic weapons,

  and machine guns fit squarely within the long Anglo-American tradition of limiting public access

  to weapons capable of provoking terror. During American’s first gun violence crisis in the

  Jacksonian era, states targeted pistols that were easily concealed, and in the New Deal era, states

  singled out gangster weapons such as the notorious Thompson sub-machine gun (or “Tommy

  Gun”), treating these weapons as sufficiently dangerous or unusual to warrant extensive regulation,

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         118
           License Cases (Thurlow v. Massachusetts; Fletcher v. Rhode Island; Peirce v. New
  Hampshire), 5 How. (46 U.S.) 504, 592 (1847).
         119
               See State v. Reid, 1 Ala. 612, 612 (1840).
         120
               Id. at 616.
         121
             Apart from rare outlier decisions, such as Bliss v. Commonwealth, 12 Ky. (2 Litt.) 90,
  92 (1822) courts employed a police power framework to adjudicate claims about the scope of state
  power to regulate arms. For a useful discussion of Bliss in terms of the police power, see FREUND,
  supra note 95, at 91.

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  or prohibition. The same imperatives and constitutional logic guided both regulatory regimes. 122


                 F. Reconstruction And State Police Power To Regulate Firearms (1863-
                    1877)


        Founding-era constitutions treated the right of the people to regulate their internal police

  separately from the equally important right of the people to bear arms. These two rights were

  textually distinct in the Founding era but were mutually reinforcing in both theory and practice:

  both were exercised in a manner that furthered the goal of ordered liberty. Reconstruction-era

  constitutions adopted a new textual formulation of the connection between these two formerly

  distinct rights, fusing the two together as one single constitutional principle. 123 This change

  reflected two profound transformations in American politics and law between 1776 and 1868.

  First, the judicial concept of police power gradually usurped the older notion of a police right

  grounded in the idea of popular sovereignty.124 As a result, state constitutions no longer included

  positive affirmations of a police right. Secondly, the constitutional “mischief to be remedied” had

  changed as well.125 Constitution writers in the era of the American Revolution feared powerful

  standing armies and sought to entrench civilian control of the military. 126 By contrast, constitution

  writers in the era of the Fourteenth Amendment were no longer haunted by the specter of tyrannical
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         122
              Spitzer, supra note 43.
          123
              Saul Cornell, The Right to Regulate Arms in the Era of the Fourteenth Amendment:
  The Emergence of Good Cause Permit Schemes in Post-Civil War America, 55 U.C. DAVIS L.
  REV. 65 (2022).
          124
               See Knapp supra note 11.
          125
              The mischief rule was first advanced in Heydon’s Case, (1584) 76 Eng. Rep. 637 (KB)
  — the legal principle that the meaning of a legal text was shaped by an understanding of the state
  of the common law prior to its enactment and the mischief that the common law had failed to
  address and legislation had intended to remedy — continued to shape Anglo-American views of
  statutory construction, and legal interpretation more generally, well into the nineteenth century.
  For Blackstone’s articulation of the rule, see 1 B LACKSTONE, supra note 8, at *61. The relevance
  of common law modes of statutory construction to interpreting antebellum law, including the
  mischief rule, is clearly articulated in 1 ZEPHANIAH SWIFT, A DIGEST OF THE LAWS OF THE STATE
  OF CONNECTICUT 11 (New Haven, S. Converse 1822). For a modern scholarly discussion of the
  rule, see Samuel L. Bray, The Mischief Rule, 109 GEO. L.J. 967, 970 (2021).
          126
              Noah. Shusterman, ARMED CITIZENS: THE ROAD FROM ANCIENT ROME TO
  THE SECOND AMENDMENT (2020).
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  Stuart Kings using their standing army to oppress American colonists. In place of these older fears,

  a new apprehension stalked Americans: the proliferation of especially dangerous weapons and the

  societal harms they caused.127

        The new language state constitutions employed to describe the right to bear arms enacted

  during Reconstruction responded to these changed circumstances by adopting a new formulation

  of the venerable right codified in 1776, linking the right to bear arms inextricably with the states

  broad police power to regulate conduct to promote health and public safety.128 For example, the

  1868 Texas Constitution included new language that underscored the indissoluble connection that

  Anglo-American law had long recognized between the right to keep and bear arms and regulation

  of guns. “Every person shall have the right to keep and bear arms, in the lawful defence of himself

  or the government, under such regulations as the Legislature may prescribe.” 129 Texas was not an

  outlier in this regard. Sixteen state constitutions adopted during this period employed similarly

  expansive language.130 Americans living in the newly organized western states and newly

  reconstructed states of the former Confederacy adopted constitutional provisions that reflected this

  new formulation of the right to bear arms. Thus, millions of Americans were living under

  constitutional regimes that acknowledged that the individual states’ police power authority over

  firearms was at its apogee when regulating guns.131



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         127
             On the change in state constitutional arms bearing provisions, See McDonald, 561 U.S.
  at 767–68. For an analysis of the different mischiefs shaping the structure of state arms bearing
  provisions in these two periods, see Cornell, supra note 123.
         128
               Cornell, supra note 123.
         129
             TEX. CONST. OF 1868, Art. I, § 13; for similarly expansive constitutional provision
  enacted after the Civil War, see IDAHO CONST. OF 1889, art. I, § 11 (“The people have the right to
  bear arms for their security and defense; but the legislature shall regulate the exercise of this right
  by law.”); UTAH CONST OF 1896, art. I, § 6 (“[T]he people have the right to bear arms for their
  security and defense, but the legislature may regulate the exercise of this right by law.”).
         130
               Cornell, supra note 123, at 75–76.
         131
               Id.

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        This expansion of regulation was entirely consistent with the Fourteenth Amendment’s

  emphasis on the protection of rights and the need to regulate conduct that threatened the hard-won

  freedoms of recently free people of the South and their Republican allies. The goals of

  Reconstruction were therefore intimately tied to the passage and enforcement of racially neutral

  gun regulations.132

        Reconstruction ushered in profound changes in American law, but it did not fundamentally

  alter the antebellum legal view that a states’ police powers were rooted in the people’s right to

  make laws to protect the peace and promote public safety. Nor did Reconstruction challenge the

  notion that these powers were at their zenith when dealing with guns and gun powder. In fact, the

  Republicans who wrote the Fourteenth Amendment were among the most ardent champions of an

  expansive view of state police power. As heirs to the antebellum Whig vision of a well-regulated

  society, Reconstruction-era Republicans used government power aggressively to protect the rights

  of recently freed slaves and promote their vision of ordered liberty. 133

        Indeed, the passage of the Fourteenth Amendment was premised on the notion that the

  individual states would not lose their police power authority to the federal government. The author

  of Section One of the Fourteenth Amendment, John Bingham, reassured voters that the states

  would continue to bear the primary responsibility for “local administration and personal

  security.”134 As long as state and local laws were racially neutral and favored no person over any



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         132
             ERIC FONER, THE SECOND FOUNDING: HOW THE CIVIL WAR AND RECONSTRUCTION
  REMADE THE CONSTITUTION (2019); Brennan Gardner Rivas, Enforcement of Public Carry
  Restrictions: Texas as a Case Study, 55 U.C. DAVIS L. REV. 2603 (2022).
         133
             Robert J. Kaczorowski, Congress’s Power to Enforce Fourteenth Amendment Rights:
  Lessons from Federal Remedies the Framers Enacted, 42 HARV. J. ON LEGIS. 187 (2005);
  Christopher Tomlins, To Improve the State and Condition of Man: The Power to Police and the
  History of American Governance 53 BUFFALO L. REV. 1215 (20052006).
         134
            John Bingham, Speech, CINCINNATI DAILY GAZETTE (Sept. 2, 1867), as quoted in Saul
  Cornell and Justin Florence, The Right to Bear Arms in the Era of the Fourteenth Amendment:
  Gun Rights or Gun Regulation, 50 SANTA CLARA L. REV. 1043, 1058 (2010).

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  other, the people themselves, acting through their representatives, were free to enact reasonable

  measures necessary to promote public safety and further the common good. 135

        It would be difficult to understate the impact of this new paradigm for gun regulation on

  post-Civil War legislation. Across the nation legislatures took advantage of the new formulation

  of the right to bear arms included in state constitutions and enacted a staggering range of new laws

  to regulate arms. Indeed, the number of laws enacted skyrocketed, increasing by over four hundred

  percent from antebellum levels.136 Not only did the number of laws increase, but the number of

  states and localities passing such laws also expanded. 137 The expansion of regulation did not

  represent a new constitutional principle, but it did embody a new application that represented an

  adaptation to changed circumstances of post-Civil War America.

        Henry Campbell Black, the author of Black’s Law Dictionary, described the police power as

  “inalienable” and echoed the view of a long line of jurists who noted that the scope of the power

  was not easily defined and the determination of its limits was best left to courts on a case-by-case

  basis.138 Indeed, even the most ardent critics of the police power, such as conservative legal scholar

  Christopher G. Tiedeman, acknowledged that the “police power of the State extends to the

  protection of the lives, limbs, health, comfort and quiet of all persons, and the protection of all

  property within the State.”139

        In keeping with the larger goals of Reconstruction, Republicans sought to protect the rights

  of African Americans to bear arms but were equally insistent on enacting strong racially neutral


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           135
           For a discussion of how the courts wrestled with the meaning of the Amendment, see
  WILLIAM E. NELSON, THE FOURTEENTH AMENDMENT: FROM POLITICAL PRINCIPLE TO JUDICIAL
  DOCTRINE (1998).
           136
                 See Spitzer, supra note 43, at 59–61 tbl. 1.
           137
                 Id.
           138
                 HENRY CAMPBELL BLACK, HANDBOOK OF CONSTITUTIONAL LAW, 334–344 (2d ed.,
  1897).
           139
           CHRISTOPHER G. TIEDEMAN, A TREATISE ON THE LIMITATIONS OF THE POLICE POWER
  IN THE UNITED STATES 4–5 (1886) (citing Thorpe v. Rutland R.R., 27 Vt. 140, 149-50 (1854)).

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  regulations aimed at public safety. Violence directed against African Americans, particularly the

  campaign of terror orchestrated by white supremacist para-military groups prompted Republican

  dominated legislatures in the Reconstruction South to pass a range of racially neutral gun

  regulations.140 The racially neutral gun laws enacted by Republicans were in part a reaction to the

  discriminatory black codes passed by neo-confederate legislatures earlier in Reconstruction. The

  Black Codes violated the Second Amendment, but the wave of firearms legislation passed by

  Republican controlled state legislatures in the South were consciously crafted to honor the Second

  Amendment and protect individuals from gun violence. 141

        The laws adopted to address these problems underscore the fact that robust regulation of

  firearms during Reconstruction was not a novel application of the police power, but an expansion

  and continuation of antebellum practices. Moreover, these efforts illustrated a point beyond

  dispute: the flexibility inherent in police power regulations of guns. American states had regulated

  arms since the dawn of the republic and Reconstruction simply renewed America’s commitment

  to the idea of well-regulated liberty and the use of police power to promote public safety.


      V.         CONCLUSION: The Scope Of Permissible Regulation


        The power to regulate and in some cases prohibit dangerous or unusual weapons has always

  been central to the police power authority of states and localities.142 Political scientist Robert

  Spitzer’s overview of the history of firearms regulation underscores a basic point about American

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           140
             Mark Anthony Frassetto, The Law and Politics of Firearms Regulation in
  Reconstruction Texas, 4 TEX. A&M L. REV. 95, 113–17 (2016); Brennan G. Rivas, An Unequal
  Right to Bear Arms: State Weapons Laws and White Supremacy in Texas, 1836-1900, 121
  SOUTHWESTERN QUARTERLY 284 (2020).
           141
              See Darrell A. H. Miller, Peruta, The Home-Bound Second Amendment, and Fractal
  Originalism, 127 HARV. L. REV. 238, 241 (2014); see also Robert J. Kaczorowski, Congress’s
  Power to Enforce Fourteenth Amendment Rights: Lessons from Federal Remedies the Framers
  Enacted, 42 HARV. J. ON LEGIS. 187, 205 (2005) (discussing Republican use of federal power to
  further their aims, including to enforce the Fourteenth Amendment).
          142
              Spitzer, supra note 43.

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  law: “The lesson of gun regulation history here is that new technologies bred new laws when

  circumstances warranted.”143 States and localities have regulated arms and ammunition since the

  earliest days of the American Republic. The statutes at issue in this case are analogous to a long-

  established tradition of firearms regulation in America, beginning in the colonial period and

  stretching across time to the present. This venerable tradition of using police power authority to

  craft specific laws to meet shifting challenges has continued to the present day. 144 The adaptability

  of state and local police power provided the flexibility governments needed to deal with the

  problems created by changes in firearms technology and gun culture. Weapons have been subject

  to regulation since before the Founding and this power has been at the core of state police power

  from time immemorial.145




                          I declare that the foregoing is true and correct to the best of my knowledge.


                                                                      Saul Cornell
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                                                                                   Saul Cornell


                                                              June 2, 2023
                                                    __________________________________
                                                                                         Date




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         143
               Id.
         144
               GERSTLE, supra note 13.
         145
             Robert C. Post, Between Governance and Management: The History and Theory of
  the Public Forum 34 UCLA L. REV. 1713, 1769 (1986-1987).
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                                    Exhibit 1
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1989-1991          Assistant Professor, History               College of William and Mary

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  •   2001 American Council of Learned Societies (ACLS)
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                                       Prizes and Awards
   •   2006 Langum Prize in Legal History 2006
   •   2006 History News Network, Book of the Month
   •   2006 History News Network, Top Young Historian
   •   2001 Society of the Cincinnati, History Book Prize, a Triennial Award for the Best Book on the
       American Revolutionary Era
   •   2000 Choice Outstanding Academic Book

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                          Scholarly Articles, Book Chapters, and Essays:

“History and Tradition or Fantasy and Fiction: Which Version of the Past Will the Supreme
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“A Right to Bear Quills or Kill Bears? A Critical Commentary on the Linkage between the 1st and 2nd
 Amendment in Recent Constitutional Theory,” in The Limits of Freedom in A Democratic Society
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“The Irony of Progressive Historiography: The Revival of Anti-Federalism in Contemporary
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“Mere Parchment Barriers? Anti-Federalists, the Bill of Rights, and the Question of Rights
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 Berkhofer, Jr. Beyond the Great Story” American Quarterly (1998): 349-357
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“The Bill of Rights,” in The Blackwell Companion to American Thought, eds., James Kloppenberg
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“Splitting the Difference: Textualism, Contexualism, and Post-Modern History,” American Studies
  (1995): 57-80
“Canon Wars II: The Return of the Founders,” Reviews in American History 22 (1994): 413-417
“Moving Beyond the Canon of Traditional Constitutional History: Anti-Federalists, the Bill of Rights and
 the Promise of Post-Modern Historiography,” Law and History Review (1994): 1-28
“Early American History in a Post-Modern Age,” William and Mary Quarterly 50 (1993): 329-341
“Liberal Republicans, Republican Liberals?: The Political Thought of the Founders Reconsidered,”
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“Politics of the Middling Sort: The Bourgeois Radicalism of Abraham Yates, Melancton Smith, and the
  New York Anti-Federalists,” in New York in the Age of the Constitution (New York Historical
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“Aristocracy Assailed: Back-Country Opposition to the Constitution and the Problem of Anti-Federalist
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“The Changing Historical Fortunes of the Anti-Federalists,” Northwestern University Law Review
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 Unpublished History of the Ratification of the Federal Constitution,” The Pennsylvania Magazine of
 History and Biography (1988): 103-130
                                            Book Reviews:
   •   Journal of American History
   •   William and Mary Quarterly
   •   American Studies Journal of the Early Republic
   •   Pennsylvania Magazine of History and Biography
   •   American Quarterly
   •   American Journal of Legal History
   •   Law and History Review
                                        Journal Manuscript Referee:
   •   Journal of American History
   •   William and Mary Quarterly
   •   Diplomatic History
   •   Pennsylvania Magazine of History and Biography
   •   Law and History Review
   •   Harvard Law Review

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   •   Stanford Law Review
   •   Yale Law Journal

                                        Book Manuscript Reviewer:
   •   University Press of Virginia
   •   University of North Carolina Press
   •   Stanford University Press
   •   University of Massachusetts Press
   •   Oxford University Press
   •   Cambridge University Press
   •   University of Michigan Press
   •   Harvard University Press

                                         Invited Lectures:
“Race, Regulation, and Guns: The Battleground in the Debate Over the Second Amendment,”
Haber/Edelman Lecture: University of Vermont, Fall 2021

“Second Amendment Myths and Realities,” University of Tampa, Honors College Symposium,
  November 30, 2018.
“The Common Law and Gun Regulation: Neglected Aspects of the Second Amendment Debate,” Guns
  in Law, Amherst College, Law Justice and Society (2016)
“The New Movement to End Gun Violence.” UCLA Hammer Museum (2016)
“No Person May Go Armed”: A Forgotten Chapter in the History of Gun Regulation” The Elizabeth
 Battelle Clark Legal History Series, Boston University College of Law, 2016
Legacy Speaker Series: “Guns in the United States,” University of Connecticut (2016) “How does the
 Second Amendment Apply to Today?”
American Constitution Society/ Federalist Society Debate, Tulane Law School, New Orleans (2016)
“The Second Amendment and The Future of Gun Regulation: Forgotten Lessons From U.S. History,”
  Constitution Day Lecture, Goucher College, (2015)
Keynote Lecture: “The Second Amendment and American Cultural Anxieties: From Standing Armies to
 the Zombie Apocalypse” Firearms and Freedom: The Relevance of the Second Amendment in the
 Twenty First Century, Eccles Center, British Library (Spring 2015)
“Narratives of Fear and Narratives of Freedom: A Short Cultural History of the Second Amendment,”
 Comparing Civil Gun Cultures: Do Emotions Make a Difference? Max Plank Institute, Berlin (2014)
“History and Mythology in the Second Amendment Debate,” Kollman Memorial Lecture, Cornell
 College, Iowa (Spring, 2013)
“Will the Real Founding Fathers Please Stand Up or Why are so few Historians Originalists”
 Constitution Day Lecture, Lehman College, Fall 2011
“Lawyers, Guns, and Historians: The Second Amendment Goes to Court,” SHEAR/HSP Public Lecture,
  Philadelphia, July, 2008
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The Robert H. and Alma J. Wade Endowment Lecture, Kentucky Wesleyan University, “The Early
 American Origins of Gun Control” (2006)
“Jefferson, Mason, and Beccaria: Three Visions of the Right to Bear Arms in the Founding Era,” Bill of
  Rights Lecture, Gunston Hall Plantation, Fairfax, VA (2003)
“A New Paradigm for the Second Amendment,” Finlay Memorial Lecture, George Mason University,
 (2001)
“Academic Gunsmoke: The Use and Abuse of History in the Second Amendment Debate,” Cadenhead
 Memorial Lecture, University of Tulsa, (2000)
“Why the Losers Won: The Rediscovery of Anti-Federalism in the Reagan Years,” Thomas Jefferson
 Inaugural Lecture, University of Leiden, Netherlands, (1995)

                                           Presentations:

“From Ideology to Empiricism: Second Amendment Scholarship After Heller, “ Hastings Constitutional
  Law Quarterly Symposium, Heller at Ten, January 18, 2019
“Firearms and the Common Law Tradition,” Aspen Institute, Washington, DC (2016)
“The Original Debate over Original Meaning Revisited, ” British Group in EarlyAmerican History,
  Annual Meeting, Cambridge, England (2016)
“Second Amendment Historicism and Philosophy” The Second Generation of Second Amendment
  Scholarship” Brennan Center, NYU 2016
“The Reception of the Statute of Northampton in Early America: Regionalism and the Evolution of
  Common Law Constitutionalism” OIEAHC and the USC/Huntington Library Early Modern Studies
  Institute May 29–30, 2015
“The Right to Travel Armed in Early America: From English Restrictions to Southern Rights,” British
  Group in Early American History, Annual Conference Edinburgh, Scotland (2014)
“Progressives, Originalists, and Pragmatists: The New Constitutional Historicism and the Enduring
  Legacy of Charles Beard,” Charles Beard, Economic Interpretation and History, Rothmere Center,
  Oxford University (2012)
CUNY Early American Seminar, “The People’s Constitution v. the Lawyer’s Constitution,” 2011
Roundtable : “The Work of J.R. Pole,” SHEAR , Philadelphia, Pennsylvania 2011)
“The Right to Bear Arms in the Era of the Fourteenth Amendment: Gun Rights or Gun Regulation?”
  Bearing Arms, Policy, Policing, and Incorporation After Heller, Santa Clara Law School (2010)
“Re-envisioning Early American History,” American Historical Association Annual Meeting, San Diego
  (2010)
“The Ironic Second Amendment” Firearms, the Militia, and Safe Cities: Merging History, Constitutional
  Law and Public Policy, Albany Law School ( 2007)
“District of Columbia v. Heller and the Problem of Originalism,” University of Pennsylvania
  Constitutional Law Workshop, Philadelphia ( 2007)


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“Progressives and the Gun Control Debate,” American Constitution Society, Harvard Law School,
  (2006)
“The Problem of Popular Constitutionalism in Early American Constitutional Theory,” American
  Association of Law Schools, Annual Conference (2006)
“Popular Constitutionalism and the Whiskey Rebellion,” Symposium on Larry Kramer’s The People
  Themselves, Chicago-Kent Law School (2005)
Roundtable Discussion on the Second Amendment and Gun Regulation, NRA/ GMU Student’s For the
  Second Amendment Symposium (2005)
“The Early American Origins of the Modern Gun Control Debate: The Right to Bear Arms, Firearms
  Regulation, and the Lessons of History,” Gun Control: Old Problems, New Problems, Joint
  Conference Sponsored by the John Glenn Institute and Stanford Law School (2005)
“Original Rules for Originalists?” University of Minnesota Law School (2005)
“The Fourteenth Amendment and the Origins of the Modern Gun Debate,” UCLA, Legal History
  Workshop (2004)
“Beyond Consensus, Beyond Embarrassment: The Use and Abuse of History in the Second Amendment
  Debate,” American Society of Legal History, Austin, TX (2004)
“Armed in the Holy Cause of Liberty: Guns and the American Constitution,” NYU Legal History
  Colloquium (2004)
“Digital Searches and Early American History,” SHEAR Brown University (2004)
“Well Regulated: The Early American Origins of Gun Control,” The Second Amendment and the Future
  of Gun Regulation,” Joint Conference Sponsored by the John Glenn Institute and Fordham Law
  School, New York (2004)
“Minuteman, Mobs, and Murder: Forgotten Contexts of the Second Amendment,” Department of
  History, University of California Berkeley (2003)
“History vs. Originalism in the Second Amendment Debate,” Federalist Society/ American Constitution
  Society, George Washington University Law School, Washington D.C. (2003)
“Self-defense, Public Defense, and the Politics of Honor in the Early Republic,” Lake Champlain Early
  American Seminar, Montreal (2003)
“The Ironic Second Amendment” "Gun Control: Controversy, Social Values, and Policy,” University of
  Delaware Legal Studies Conference, Newark, Delaware (2003)
“Individuals, Militias, and the Right to Bear Arms: The Antebellum Debate Over Guns,” Institute for
   Legal Studies, University of Wisconsin School of Law (2004)
“Guns in the British Atlantic World: New Research, New Directions” Society for the Historians of the
  Early American Republic, Ohio State University (2003)
“Neither Individual nor Collective: A New Paradigm for the Second Amendment,” American Bar
  Foundation, Chicago (2003)
“The Changing Meaning of the Armed Citizen in American History,” “Americanism Conference,”
  Georgetown University (2003)

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“A New Paradigm for the Second Amendment?” Supreme Court Historical Society, Washington, D.C.
  (2002)
“Constitutional History as Cultural History: The Case of the Second Amendment” European American
  Studies Association, Bordeaux, France (2002)
“Don’t Know Much About History: The Current Crises in Second Amendment Scholarship,” Salmon P.
  Chase College of Law, Symposium, “The Second Amendment Today,” (2002)
“History, Public Policy, and the Cyber-Age: Gun Control Policy after the Emerson Decision,” Sanford
  Institute of Public Policy, Duke University (2002)
“Constitutional History After the New Cultural History: The Curious Case of the Second Amendment,”
  Society of the Historians of the Early American Republic, Baltimore (2001)
Roundtable Discussion, “The State of Second Amendment Scholarship,” American Historical
  Association (2001)
“Armed in the Holy Cause of Liberty: Critical Reflections on the Second Amendment Debate,”
  Vanderbilt University Law School (2001)
“Neither Individual nor Collective: A New Paradigm for the Second Amendment,” Boston University
  Law School, (2000)
“The Current State of Second Amendment Scholarship,” National Press Club Washington, D.C.
  American Bar Association, (2000)
“Taking the Hype out of Hyper-Text, Or What Should Textbook Companies Being Doing for us on the
  Web,” OAH St. Louis, Missouri (1999)
“The Ironies of Progressive Historiography: The Revival of Anti-Federalism in Contemporary
  Constitutional Theory,” European American Studies Association, Lisbon, Portugal (1998)
“Deconstructing the Canon of American Constitutional History” American Society of Legal History,
  Seattle, Washington (1998)
“Beyond Meta-narrative: The Promise of Hypertext,” American Studies Association, Seattle,
  Washington (1998)
“Text, Context, Hypertext,” American Historical Association, Washington D.C. (1998)
“Jefferson and Enlightenment,” International Center for Jefferson Studies, Charlottesville, VA, (1998)
“Copley’s Watson and the Shark: Interpreting Visual Texts with Multi-media Technology,” American
  Studies Association, Washington, D.C. (1997)
“Multi-Media and Post-Modernism,” H-Net Conference, Technology and the Future of History, East
  Lansing, Michigan (1997)
Comment on Jack Rakove’s Original Meanings, Society of the Historians of the Early Republic, State
  College, PA (1997)
“Teaching with Multi-Media Technology,” Indiana University, spring 1997 “Constitutional History from
  the Bottom Up: The Second Amendment as a Test Case,” McGill University, Montreal, Canada
  (1996)



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“Just Because You Are Paranoid, Does Not Mean the Federalists Are Not Out to Get You: Freedom of
   the Press in Pennsylvania,” University of Pennsylvania (1995)
“Multi-Media and Post-Modernism: The Future of American Studies?” Lecture, Erasmus University,
  Rotterdam, Netherlands (1995)
“Post-Modern American History? Ratification as a Test Case,” St. Cross College, Oxford University,
  Oxford, England (1994)
“The Other Founders," NYU Legal History Seminar,” NYU Law School (1994)
“Reading the Rhetoric of Ratification,” paper presented at “Possible Pasts: Critical Encounters in Early
  America,” Philadelphia Center for Early American Studies, Philadelphia, PA (1994)
“American Historiography and Post-Modernism,” Organization of American Historians, Atlanta, GA
  (1994)
“The Anti-Federalist Origins of Jeffersonianism,” Columbia Seminar on Early American History (1994)
“American History in a Post-Modern Age?” American Historical Association, San Francisco, CA (1994)
“Post-Modern Constitutional History?” Indiana University School of Law, Bloomington, IN (1993)
Participant, Institute of Early American History and Culture, planning conference, "New Approaches to
  Early American History," Williamsburg, VA (1992)
“Mere Parchment Barriers? Federalists, Anti-Federalists and the Problem of Rights Consciousness,”
  American Studies Association, Baltimore, MD (1991)
“James Madison and the Bill of Rights: a comment on papers by Jack Rakove, Ralph Ketcham and Max
   Mintz,” Organization of American Historians and Center for the Study of the Presidency Conference,
   "America's Bill of Rights at 200 Years," Richmond, VA, (1991)
Symposium participant, “Algernon Sidney and John Locke: Brothers in Liberty?” Liberty Fund
  Conference, Houston, TX (1991)
“Mere Parchment Barriers? Antifederalists, the Bill of Rights and the Question of Rights
  Consciousness,” Capitol Historical Society, Washington, D.C. (1991)
“Anti-Federalism and the American Political Tradition,” Institute of Early American History and Culture
Symposium, Williamsburg, VA (1989)


         Interviews, Editorials, Essays, Podcasts:

   •   “Clarence Thomas’ Latest Guns Decision Is Ahistorical and Anti-Originalist”
              SLATE June 24, 2022




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  •   Cherry-picked history and ideology-driven outcomes: Bruen’s originalist
      distortions,” SCOTUSblog (Jun. 27, 2022, 5:05 PM),

  • “The Right Found a New Way to Not Talk About a School Shooting,” SLATE May 25, 2022
  • “The Horror in New York Shows the Madness of the Supreme Court’s Looming Gun Decision,”
    Slate May 19, 2022
  • “Guns, Guns Everywhere: Last week’s subway Shooting was Horrifying. If the Supreme Court
    Creates a National Right to Carry, the Future will be Worse,” New York Daily News Apr 17,
    2022
  • “The Supreme Court’s Latest Gun Case Made a Mockery of Originalism” Slate November 10,
    2021
  • "‘Originalism’ Only Gives the Conservative Justices One Option On a Key Gun
    Case,” Washington Post, November 3, 2021
  • “Neither British Nor Early American History Support the Nearly Unfettered Right to Carry
    Arms,” Slate November 02, 2021
  • “Will the Supreme Court Create Universal Concealed Carry Based on Fantasy Originalism?”
    Slate November 1, 2021
  • “Biden was Wrong About Cannons, but Right About the Second Amendment,” Slate June 29,
    2021
  • “Barrett and Gorsuch Have to Choose Between Originalism and Expanding Gun Rights,” Slate
    April 29, 2021 Slate
  • “What Today’s Second Amendment Gun Activists Forget: The Right Not to Bear Arms,”
    Washington Post, January 18, 2021
  • “Could America’s Founders Have Imagined This?” The New Republic, December 20, 2019
  • “Don’t Embrace Originalism to Defend Trump’s Impeachment” The New Republic, December 5,
    2019
  • “The Second-Amendment Case for Gun Control” The New Republic, August 4, 2019
  • “The Lessons of a School Shooting—in 1853” Politico, March 24, 2018.
  • “Originalism and the Second Amendment in District of Columbia v. Heller,” University of
    Chicago Law Review, Podcast, Briefly 1.9, Wed, 04/11/2018
  • “Sandy Hook and the Original Meaning of the Second Amendment,” Time December, 2017
  • “The State of the Second Amendment,” National Constitution Center, Podcast October, 2017
  • “Gun Anarchy and the Unfree State: The Real History of the Second Amendment,” The Baffler
    On-line October 2017
  • “Five Types of Gun Laws the Founding Fathers Loved” Salon October 22, 2017
  • “Half Cocked,” Book Forum April 2016
  • “Let’s Make an Honest Man of Ted Cruz. Here’s how we Resolve his “Birther” Dilemma with
    Integrity” Salon January 23, 2016
  • “Guns Have Always Been Regulated,” The Atlantic Online December 17, 2015
  • “The Slave-State Origins of Modern Gun Rights” The Atlantic Online 30, 2015 [with Eric
    Ruben]
  • PBS, “Need to Know: ‘Debating the Second Amendment: Roundtable’” April 26, 2013
  • “All Guns are not Created Equal” Jan 28, 2013 Chronicle of Higher Education [with Kevin
    Sweeney]


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   •   “What the ‘Right to Bear Arms’ Really Means” Salon January 15, 2011 “Elena Kagan and the
       Case for an Elitist Supreme Court,” Christian Science Monitor May 20, 2010
   •   “Gun Points,” Slate, March 8, 2010 (With Justin Florence, and Matt Shors)
   •   “What’s Happening to Gun Control,” To the Point, NPR. March 11, 2010
   •   “Getting History Right,” National Law Journal, March 1, 2010
   •   “History and the Second Amendment,” The Kojo Nnamdi Show , WAMU (NPR) March 17, 2008
   •   “The Court and the Second Amendment,” On Point with Tom Ashbrook, WBUR (NPR) March
       17, 2008
   •   “Aim for Sensible Improvements to Gun Regulations,” Detroit Free Press, April 29, 2007
   •   “A Well Regulated Militia,” The Diane Rehm Show, WAMU (NPR) Broadcast on Book TV
       ( 2006)
   •   “Taking a Bite out of the Second Amendment,” History News Network, January 30, 2005
   •   “Gun Control,” Odyssey, Chicago NPR September 8, 2004
   •   “Loaded Questions,” Washington Post Book World February 2, 2003
   •   “The Right to Bear Arms,” Interview The Newshour, PBS May 8, 2002
   •   “Real and Imagined,” New York Times, June 24, 1999


                                  Other Professional Activities
   •   Editorial Board, Constitutional Study, University of Wisconsin Press (2014-present)
   •   Advisory Council, Society of Historians of the Early American Republic (SHEAR) (2007-2009)
   •   Program Committee, Annual Conference, Society of the Historians of the Early American
       Republic, Philadelphia, PA 2008
   •   Editorial Board, American Quarterly (2004-2007)
   •   Director, Second Amendment Research Center, John Glenn Institute for Public Service and
       Public Policy, 2002- 2007
   •   Fellow, Center for Law, Policy, and Social Science, Moritz College of Law, Ohio State
       University 2001- 2004
   •   Local Arrangements Committee, Annual Conference, Society of the Historians of the Early
       American Republic, Columbus, OH 2003
   •   Project Gutenberg Prize Committee, American Historical Association, 2004, 2002
   •   Program Committee, Annual Conference, Society of the Historians of the Early Republic, 2001
   •   Co-Founder Ohio Early American Studies Seminar
   •   NEH Fellowship Evaluator, New Media Projects, Television Projects
   •   Multi-media Consultant and Evaluator, National Endowment for the Humanities, Special,
       Projects, Division of Public Programs, Grants Review Committee (1999)


              Court Citations, Amicus Briefs and Expert Witness Reports

                                         US Supreme Court:

N.Y. State Rifle & Pistol Ass’n v. Bruen, 597 U.S. __, 50 2022 U.S. Lexis 3055 (2022)


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(Breyer, J. dissenting)
McDonald v. City of Chicago, Ill., 561 U.S. 742, 900, 901 n.44 (2010) (Stevens, J., dissenting).
McDonald v. City of Chicago, Ill., 561 U.S. 742, 914, 933 (2010) (Breyer, J., dissenting).
D.C. v. Heller, 554 U.S. 570, 666 n.32, 671, 685 (2008) (Stevens, J., dissenting).

                                           Federal Courts:
Jones v. Bonta, United States Court of Appeals, Ninth Circuit. May 11, 2022 --- F.4th ---- 2022 WL
1485187.

Duncan v. Bonta, United States Court of Appeals, Ninth Circuit. November 30, 2021 19 F.4th 1087
2021

Young v. Hawaii, 992 F.3d 765, 785-86 (9th Cir. 2021) (en banc).
Kanter v. Barr, 919 F.3d 437, 446 n.6, 457, 462, 464 (7th Cir. 2019) (Barrett, J., dissenting).
Medina v. Whitaker, 913 F.3d 152, 159 (D.C. Cir.), cert. denied sub nom. Medina v. Barr, 140 S. Ct.
 645 (2019).
Young v. Hawaii, 896 F.3d 1044, 1066 (9th Cir. 2018), reh'g en banc granted, 915 F.3d 681 (9th Cir.
 2019).
Young v. Hawaii, 896 F.3d 1044, 1077 (9th Cir. 2018) (Clifton, J., dissenting), reh'g en banc granted,
 915 F.3d 681 (9th Cir. 2019).
Teixeira v. Cty. of Alameda, 873 F.3d 670, 684–85 (9th Cir. 2017).
Kolbe v. Hogan, 813 F.3d 160, 175 (4th Cir. 2016), on reh'g en banc, 849 F.3d 114 (4th Cir. 2017).
Binderup v. Attorney Gen. United States of Am., 836 F.3d 336, 348 (3d Cir. 2016).
Binderup v. Attorney Gen. United States of Am., 836 F.3d 336, 370–71, 371 n.17, 372 n.19 (3d Cir.
 2016) (Hardiman, J., concurring).
Binderup v. Attorney Gen. United States of Am., 836 F.3d 336, 389 n.85, 405 n.187 (3d Cir. 2016)
 (Fuentes, J., concurring).
Peruta v. Cty. of San Diego, 824 F.3d 919, 935 (9th Cir. 2016).
Peruta v. Cty. of San Diego, 742 F.3d 1144, 1185, 1188 (9th Cir. 2014) (Thomas, J., dissenting).
Nat'l Rifle Ass'n, Inc. v. Bureau of Alcohol, Tobacco, Firearms, & Explosives, 714 F.3d 334, 342 n.19,
 343 n.23 (5th Cir. 2013) (Jones, J., dissenting).
Kachalsky v. Cty. of Westchester, 701 F.3d 81, 95 & n.21 (2d Cir. 2012).
Moore v. Madigan, 702 F.3d 933, 935 (7th Cir. 2012).
Nat'l Rifle Ass'n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms, & Explosives, 700 F.3d 185,
 200, 202–03 (5th Cir. 2012).
United States v. Carpio-Leon, 701 F.3d 974, 980 (4th Cir. 2012).

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United States v. Greeno, 679 F.3d 510, 519 (6th Cir. 2012).
United States v. Yancey, 621 F.3d 681, 684 (7th Cir. 2010).
United States v. Rene E., 583 F.3d 8, 12, 15–16 (1st Cir. 2009).
Miller v. Sessions, 356 F. Supp. 3d 472, 481 (E.D. Pa. 2019).
Grace v. D.C., 187 F. Supp. 3d 124, 138 n.11 (D.D.C. 2016).
Powell v. Tompkins, 926 F. Supp. 2d 367, 386 (D. Mass. 2013), aff'd, 783 F.3d 332 (1st Cir. 2015).
United States v. Tooley, 717 F. Supp. 2d 580, 589–591 (S.D.W. Va. 2010), aff'd, 468 F. App'x 357 (4th
 Cir. 2012).
United States v. Boffil-Rivera, No. 08-20437-CR, 2008 WL 8853354, 6 (S.D. Fla. Aug. 12, 2008),
 report and recommendation adopted sub nom.
United States v. Gonzales-Rodriguez, No. 08-20437-CR, 2008 WL 11409410 (S.D. Fla. Sept. 22, 2008),
 aff'd sub nom.
United States v. Boffil-Rivera, 607 F.3d 736 (11th Cir. 2010).

                                             State Courts:

Norman v. State, 215 So. 3d 18, 30 & nn.11–12 (Fla. 2017).
Posey v. Com., 185 S.W.3d 170, 179–180 (Ky. 2006).
Posey v. Com., 185 S.W.3d 170, 185 n.3 (Ky. 2006) (Scott, J., concurring).
State v. Craig, 826 N.W.2d 789, 796 (Minn. 2013).
People v. Handsome, 846 N.Y.S.2d 852, 858 (N.Y. Crim. Ct. 2007).
Zaatari v. City of Austin, No. 03-17-00812-CV, 2019 WL 6336186, 22 (Tex. App. Nov. 27, 2019)
 (Kelly, J., dissenting).
State v. Roundtree, 2021 WI 1, 395 Wis. 2d 94, 952 N.W.2d 765
State v. Christen, 2021 WI 39, 958 N.W.2d 746


                                           Amicus Briefs:
 Amicus Brief, Harper v. Moore, No. 21-1271 (U.S. Supreme Court, 2022) [ISLT and
 Gerrymandering]
 Amicus Brief KOX V. STATE OF GEORGIA, SUPREME COURT STATE OF GEORGIA Case
 No. S23A0167 [Second Amendment and Campus Carry]
 Amicus Brief, NYSRPA v. Bruen, No. 20-843 (U.S. Supreme Court, 2021) [2nd Amendment]
 Amicus Brief, Young v. State of Hawaii N O . 12-17808 (9th Cir. 2020) [2nd Amendment]
 Amicus Brief, Gould v. Morgan, No. 17-2202 (1st Cir. 2018) [2nd Amendment]
 Amicus Brief, Flanagan vs. Becerra, Central District of California Case (2018) [2nd Amendment]
 Amicus Brief, Gill v. Whitford (US Supreme Court, 2017) [Partisan Gerrymandering]
 Amicus Brief, Woollard v Gallagher, (4th Cir. 2013) [Second Amendment]

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 Amicus Brief Heller v. District of Columbia [Heller II] (US Court of Appeals for D.C.) (2010) [2nd
 Amendment]
 Amicus Brief, McDonald v. City of Chicago (US Supreme Court,2010) [14th Amendment]
 Amicus Brief, District of Columbia v. Heller (US Supreme Court 2008) [2nd Amendment]
                                                              th
 Amicus Brief, Silvera v. Lockyer, case on appeal( 9               Circuit 2003) [2nd Amendment]
                                                         th
 Amicus Brief, Emerson v. U.S. case on appeal (5 Circuit 1999) [2nd Amendment]
 Pro-bono Historical Consultant State of Ohio, McIntyre v. Ohio, (U.S. Supreme Court, 1995) [1st
 Amendment]



                                                  Expert Witness Reports

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Chambers, et al., v. City of Boulder, 2018 CV 30581 (Colo. D. Ct. City of Boulder, filed June 14, 2018).
Zeleny v. Newsom, 14-cv-02850 (N.D. Cal.).
Miller, et al v. Smith, et al., 2018 cv 3085 (C.D. Ill.).
Jones v. Bonta United States Court of Appeals, --- F.4th ---- , 2022 WL 1485187 (9th Cir., May 11,
2022).
Baird v. Bonta, No. 2:19-cv-00617 (E.D. Cal.).
Worth v. Harrington, 21-cv-1348 (D. Minn.).




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     Second Amendment:
 “The Second Amendment and the Future of Gun Regulation: Historical, Legal, Policy, and Cultural Perspectives,” 73
Fordham L. Rev. 487 (2004).
“Gun Control: Old Problems, New Paradigms” 17 Stan. L. & Pol'y Rev. 671 (2006).
“A Symposium on Firearms, the Militia and Safe Cities: Merging History, Constitutional Law and Public Policy,” 1 Alb.
Gov't L. Rev. 292 (2008).
”The 2nd Amendment at the Supreme Court: “700 Years of History” and the Modern Effects of Guns in Public,” 55 U.C.
Davis L. Rev. 2545 (2022).
        New Originalism:
“The New Originalism” 82 Fordham L. Rev. 721 (2013).
“Historians and the New Originalism: Contextualism, Historicism, and Constitutional Meaning”84 Fordham L. Rev. 915
(2015).




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                      EXHIBIT “D”




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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY



 ASSOCIATION OF NEW JERSEY
 RIFLE
 & PISTOL CLUBS, INC., et al.,

       Plaintiffs,
                                      Civil Action No. 3:18-cv-10507
 v.

 PLATKIN, et al.,

    Defendants.
 CHEESEMAN, et al.,

       Plaintiffs,

 v.                                   Civil Action No. 1:22-cv-4360

 PLATKIN, et al.,

    Defendants.
 ELLMAN, et al.,

       Plaintiffs,

 v.                                   Civil Action No. 3:22-cv-04397

 PLATKIN, et al.,

       Defendants.




                          Expert Report of Stephen Hargarten




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          1.   My name is Stephen W. Hargarten, M.D., M.P.H. I am an emergency medicine

specialist, having practiced emergency medicine for over 35 years. I have been board certified

across four decades. My curriculum vitae, which is attached as Exhibit A, documents my clinical,

educational, and research experience in detail.

          2.   I am being compensated for my services in this case at the rate of $250/hour.

                            BACKGROUND AND QUALIFICATIONS

          3.   I received my Medical Degree from the Medical College of Wisconsin in 1975,

completed my internship at Gorgas Hospital, a U.S. Army hospital in the Canal Zone, Panama in

1976, and received my Master’s Degree in Public Health at the Bloomberg School of Public Health

at The Johns Hopkins University in 1984.

          4.   I was a clinically active emergency medicine physician in the Milwaukee area for

over 35 years, most recently serving as an Attending Physician at Froedtert Hospital until 2018. As

an emergency medicine physician, I treated patients who sustained gunshot wounds.

          5.   In addition to practicing emergency medicine, I continue to serve as Professor of

Emergency Medicine at the Medical College of Wisconsin (MCW). I have served as Chairman of

the Department of Emergency Medicine and as the Associate Dean for Global Health at MCW. In

2001, I founded the Injury Research Center, which later was reorganized to become the

Comprehensive Injury Center at MCW, where I served as Founding Director and am now the

Senior Injury and Policy Advisor.

          6.   The Comprehensive Injury Center focuses on the sciences of injury prevention and

control, including violence prevention, through a multidisciplinary public health approach. This

includes community engagement, research, education, and collaboration with multidisciplinary

partners. The Center conducts research in a variety of areas, including interpersonal violence, gun

violence, and opioid use.

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          7.    I serve on a number of National and International Committees, including as a

founding member of the Network to Prevent Gun Violence in the Americas (2020-present), Vice-

Chair of the Community Preventive Services Task Force of the U.S. Department of Health and

Human Services (CDC, 2018-present), and member of the Executive Committee of the

Transportation Research Board of the National Academies of Science, Engineering, and Medicine,

(2018-present). I have been a member of the National Academy of Medicine since 2011.

          8.    Over the course of my career, I have been awarded more than $20 million in research

grants and awards, including awards by the State of Wisconsin Department of Health Services,

United States Department of Justice, National Institute of Justice, and the Centers for Disease

Control and Prevention. In addition, I have published more than 100 original papers in journals such

as Academic Emergency Medicine, The Annals of Emergency Medicine, and The New England

Journal of Medicine.

          9.    In the past four years, I have served as an expert in the following cases involving

firearms regulations: Viramontes v. The County of Cook, Case No. 21-cv-04595 (N.D. Ill.), National

Association for Gun Rights v. City of Highland Park, Illinois, Case No. 22-cv-04774 (N.D. Ill.).,

and Barnett v. Raoul, Case No. 23-cv-00209 (S.D. Ill.). I have also reviewed medicalဨlegal cases for

attorneys representing healthcare providers and patients. In the past four years, I have served as an

expert in that capacity in Liebfried et al. v Caterpillar, Inc., Case No. 20-cv-1874 (E.D. Wis.).

          10.   I hold my opinions to a reasonable degree of medical and scientific certainty. My

opinions are based on my education, training, research, and clinical experience, as well as my

knowledge of relevant medical literature and the application of scientific principles to wounding

ballistics. Also relevant to the formation of my opinions is my knowledge of accepted standards of

medical practice as they apply to emergency medicine.



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                                                    OPINIONS

          11.       Each year, more than 45,000 people die from gun-related injuries in the United

States.1 Many shooting victims do not make it to the hospital, and those who survive are often left

with serious complications, lifelong disabilities, and psychological trauma.2

          12.       Firearms and the bullets they carry, cause damage to a body by transferring kinetic

energy to the target, which ripples through tissues and organs. The bullet penetrates the body,

leaving a temporary and permanent cavity in its wake.3 The amount of energy a bullet transfers into

a target is a function of the bullet’s velocity and mass. The energy delivered to the target increases

geometrically along with increases in mass, and exponentially with increases in velocity. The larger

a projectile’s surface area, the greater its ability to transfer its energy to the intended target.4

          13.       Assault weapons5 present an especially serious public health problem in the United

States. Assault weapons release projectiles at a relatively high velocity and can fire more bullets

and thus release more kinetic energy per minute than other kinds of firearms. And due to a variety

of factors, including the velocity of the bullet, spin of the bullet, and size of the bullet, bullets fired

by assault weapons penetrate tissue to create relatively large temporary cavities and permanent

wound channels that are generally more severe than other kinds of weapons. Assault weapon bullets


          1
            John Gramlich, “What the data says about gun deaths in the U.S.,” Pew Research Center (April 26, 2023),
available at https://www.pewresearch.org/fact-tank/2022/02/03/what-the-data-says- about-gun-deaths-in-the-u-s/
(noting that “[i]n 2021, the nost recent year for which complete data is available, 48,830 people died from gun-related
injuries in the U.S.”),
        2
          See, e.g., Arlene Greenspan & Arthur L. Kellerman, “Physical and Psychological Outcomes 8 Months after
Serious Gunshot Injury,” The Journal of Trauma 53(4), at 709–16 (Oct. 2002).
          3
          Alex Yablon, “The Simple Physics That Makes Some Bullets Deadlier Than Others,” The Trace (June 21,
2017), available at https://www.thetrace.org/2017/06/physics-deadly-bullets-assault-rifles/.
          4
              Id.
          5
            For purposes of this declaration, I use “assault weapons” to refer to firearms like the AR-15, which typically
are capable of firing rounds at relatively high velocity and with a high rate of delivery, are lightweight and easy to
maneuver, have low recoil, and display a high degree of accuracy at long range. This kind of weapon is encompassed by
the definition of “assault weapon” in Superior, Colo. Code § 10-9-20, Boulder, Colo. Rev. Code § 5-8-2, Boulder
County, Colo. Ord. No. 2022-5 § 1(a), and Louisville, Colo. Code § 9.80.010.


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cause extreme damage to the tissue and organs of shooting victims (especially to solid organs such

as the liver and spleen), leading to relatively high fatality and complication rates in victims.6

I.        The Energy Release of Bullets Fired by Assault Weapons Typically Results in More
          Destructive Potential than Other Weapons.

          14.     For the past two years, I have researched the energy release and damage to human

tissue of different types of weapons at the Comprehensive Injury Center at MCW, in collaboration

with the Department of Biomedical Engineering at MCW and Marquette University. Over the past

several years, I, along with a group of collaborators, have sought to perform wound ballistics

modeling with stateဨofဨtheဨart video technology and sensors. Specifically, we designed an

experiment to gain a greater understanding of how a bullet “behaves” and transfers energy in

simulated human tissue (gelatin). We wanted to quantify the scope and nature of the energy release,

as summarized by this equation: Kinetic Energy equals ½ mass times velocity squared.7 We wanted

to measure the size of the permanent and temporary cavities created by the bullet as it travels

through the human body model. We sought to measure energy release and cavity size because both

are wounding predictors in the human body.

          15.     To do so, we partnered with the Wisconsin Crime Lab, Division of Firearms and

Toolmark Examiners, in Milwaukee, Wisconsin, where we identified and utilized firearms and

bullets from their laboratory. Specifically, we conducted biomechanical testing of the bullets

released from several different types of firearms, with the standard ammunition associated with




          6
           See, e.g., Gina Kolata and C. J. Chivers, “Wounds from Military-Style Rifles? ‘A Ghastly Thing to See’,”
The New York Times (Mar. 4, 2018), available at https://www.nytimes.com/2018/03 /04/health/parkland-shooting-
victims-ar15.html; Heather Sher, “What I Saw Treating the Victims from Parkland Should Change the Debate on
Guns,” The Atlantic (Feb. 22, 2018), available at https://www.theatlantic.com/politics/archive/2018/02/what-i-saw-
treating-the-victims-from- parkland-should-change-the-debate-on-guns/553937/.
         7
           Panagiotis K. Stefanopoulos et al., “Wound ballistics of military rifle bullets: An update on controversial
issues and associated misconceptions,” Journal of Trauma and Acute Care Surgery 87(3), at 696 (Sept. 2019).


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those weapons.8 We used three handguns (all pistols with .25 caliber, .32 caliber, and .40 caliber

rounds), a bolt-action Remington hunting rifle (.30ဨ06 caliber), an AR-15 style rifle (5.56 NATO

bullets), a Thompson Machine gun rifle (.45 caliber ACP bullet), and a musket model (musket ball).

These weapons were chosen to compare the energy output and resulting cavity size from different

types of weapons and bullets.

          16.     The bullets were shot into gelatin. We chose to use gelatin because it simulates, with

a similar projectile depth of penetration and permanent damage, the damage done to human soft

tissue. Gelatin blocks allow researchers to measure and visualize the energy transfer, temporary

cavity, and permanent wound channels created by a projectile.9

          17.     When conducting the experiment, science leaders, technicians, and doctoral students

from the BioဨEngineering Department of the Medical College of Wisconsin/Marquette University

set up the video technology sensors and gelatin, while the Wisconsin Crime Lab personnel set up

the stand for the firearms. The distance from the firearm to the gelatin was approximately 10 feet.

          18.     We tested several bullets associated with different types of firearms to record and

quantify the scope and nature of the permanent and temporary cavities and to quantify the energy

release of the bullets with two energy sensors affixed into the gelatin. The system was set up so that

when the bullet was released from the firearm, the passage of the bullet thru the gelatin was




          8
           The size of the bullet can affect wound severity. In general, holding all else equal, larger caliber rounds are
more likely to cause more severe injuries because they increase the surface area of affected tissue. See, e.g., Anthony A.
Braga & Philip J. Cook, “The Association of Firearm Caliber With Likelihood of Death From Gunshot Injury in
Criminal Assaults,” JAMA Network Open 1(3) (July 27, 2018), available at
https://jamanetwork.com/journals/jamanetworkopen/ fullarticle/2688536.

          9
          See, e.g., D.J. Carr et al., “The use of gelatine in wound ballistics research,” International Journal of Legal
Medicine 132(6), at 1659–64 (Apr. 25, 2018), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6208714/.
For a helpful video demonstration of a similar gelatin experiment comparing a bullet fired by a 9mm handgun and one
from an AR-15, see this 60 Minutes episode “What makes the AR-15 style rifle the weapon of choice for mass
shooters?” (May 29, 2022), available at https://www.cbsnews.com/news/ar-15-mass-shootings-60-minutes-2022-05-29/.


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recorded by high-speed video technology and the energy release was quantified by the two energy

sensors.

          19.   The two pressure transducers with range 0 – 50 megapascals (Entran Sensors &

Electronics, Fairfield, NJ) were inserted about ten millimeters deep into the gelatin, perpendicular to

the bullet path and recorded at 300 kHz. One sensor, the near sensor, was close to the front of the

gelatin block; the other sensor, the far sensor, was close to the back of the gelatin block. Data

capture was triggered after the bullet was fired using a sound-triggering device (Woods Electronics,

Poway, CA). Pressure was filtered at 2.5 kHz using a lowဨpass Butterworth filter (MATLAB, The

MathWorks, Inc., Natick, Massachusetts) and analyzed over time to evaluate peaks for maximum

pressure.

          20.   The experiment measured a number of metrics; the results of the experiment are

summarized in Exhibit B. We are submitting our work for peer review publication.

          21.   First, the experiment measured pressure caused by the bullet. Pressure, which was

measured by the two different sensors at different points in the gelatin, represents the transferred

energy of the bullet as it enters and travels through the gelatin (i.e., the simulated human tissue).

The pressure readings show the amount of energy release that is exerted on human tissue.

          22.   Second, the experiment measured the temporary cavity and permanent cavity formed

by the bullet. A permanent cavity is formed by the mass of the bullet traveling through the gelatin,

which causes direct crushing and tearing of the gelatin, similar to what occurs in human tissue and

organs. The temporary cavity is formed by the dispersion of the kinetic energy radially from the

permanent cavity path, resulting in the stretching and tearing of the gelatin, again similar to what

occurs in human tissue and organs..




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          23.   Third, the experiment measured energy lost by the bullet as it transferred through the

gelatin. This was measured by calculating the different energies from the first and second

transducer, thus resulting in a calculated transfer of energy to the gelatin. This represents the energy

that human tissue will absorb as the bullet passes through the body.

          24.   Fourth, we measured the percentage of the bullet’s energy transferred to the gelatin

by the bullet. This was calculated by taking the energy transferred and comparing it to the kinetic

energy of the bullet leaving the chamber. Occasionally a bullet will fragment when it enters the

gelatin (which also occurs with human tissue). Energy transfer generally increases when a round

fragments because energy is released into the fragments and spread over a greater surface area.

          25.   We found that the energy release of a 5.56 NATO round fired by an AR-15 style rifle

(1,055.05 joules) is significantly greater than that of a round fired by a handgun (54.13 joules for

a .25 caliber, 108.73 joules for a .32 caliber, and 265.99 joules for a .40 caliber), a .45 caliber round

fired by a Thompson Machine gun (301.81 joules), and a musket ball fired by a musket (111.27

joules). In fact, the energy release is approximately three times greater than a Thompson Machine

gun bullet, approximately four to nineteen times greater than the handguns (depending on the

caliber), and approximately ten times greater than a musket. The energy release is even larger in a

5.56 NATO round when the bullet fragments, which it did in our second testing of the 5.56 NATO

(1,138.13 joules).

          26.   Furthermore, the temporary cavity caused by the 5.56 NATO bullet was significantly

larger than the cavity sizes caused by the handguns, Thompson Machine gun, and the musket. And

again, the temporary cavity of the AR-15 increased, by nearly 2 inches, with fragmentation.

          27.   The only bullet that came close to producing temporary cavities comparable to the

5.56 NATO round was the .30-06 round from the Remington hunting rifle, which released more



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energy than the 5.56 NATO round (2,126.55 joules) and is often used to hunt large game. However,

a shooter firing an AR-15 style weapon is capable of firing substantially more rounds per minute

than someone shooting the Remington hunting rifle for a variety of reasons, including because the

hunting rifle requires the shooter to pull the bolt back before firing each round (i.e., the hunting rifle

requires the shooter to manually cycle the round); the hunting rifle produces a higher recoil, which

means the shooter typically must re-aim after each shot; and the hunting rifle has a magazine of

only 3-5 rounds, which requires more frequent reloading. Because the shooter firing the AR-15

style weapon is capable of firing substantially more rounds per minute than the shooter firing the

hunting rifle, the AR-15, in effect, releases significantly more energy on a per-minute basis than the

hunting rifle.

          28.    It is my opinion that the AR-15 style bullet’s kinetic energy release with its

associated greater permanent and temporary cavities is more destructive than those fired by the

Thompson Machine gun rifle, handguns, and muskets.

          29.    Additionally, when considering the number of rounds per minute that each type of

firearm is capable of firing, it is my opinion that an AR-15 style weapon is capable of causing

significantly more destruction than a hunting rifle.

          30.    Large-capacity magazines increase this destructive potential by increasing the

number of rounds someone can fire without having to reload, thereby increasing the number of

bullets that can be fired during a given time period.

II.       AR-15 Style Weapons Produce More Damage to the Human Body Than Other
          Weapons.

          31.    The significant differences in energy transfer and temporary and permanent cavity

sizes associated with rounds fired by AR-15 style weapons as compared to rounds fired by other

weapons (including on a per-minute basis) have direct implications for injury and death.


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          32.       AR-15 style weapons are capable of inflicting enormous damage on the human body,

especially for children. Specifically, critical solid organs are more at risk, and the relative proximity

of vital organs to each other in children increases the likelihood of serious injury or death, from

gunshot wounds caused by an AR-15 style weapons than those caused by a lower-velocity weapon.

Organs such as the liver and spleen, which are relatively inelastic organs due to their cellular

structures (versus lung tissue, which is very elastic due to its need to inflate and constrict) are more

severely lacerated due to the greater temporary cavity formation by these bullets, resulting in veins

and arteries torn, which increases the risk of catastrophic bleeding. In addition, bullets from AR-15

style rifles are more likely to cause significant damage to bones and skeletal structure due to their

higher energy release.

          33.       In my opinion, this reality is borne out by the experiences of those who have recently

treated victims of mass shootings involving assault rifles. For example, a trauma surgeon who

treated a victim of the Parkland shooting “opened a young victim in the operating room, and found

only shreds of the organ that had been hit by a bullet from an AR-15. . . . nothing was left to

repair. . . . ”10

          34.       The damage to the human body of bullets fired by assault rifles is amplified when

there are multiple bullet wounds and in smaller bodies such as children. In a multiple-gunshot case,

there are multiple cavities with energy being transferred to different places inside the body, which

means the victim’s wounds are typically more complex, carry a higher likelihood of injury requiring




          10
           Sher, “What I Saw Treating the Victims from Parkland Should Change the Debate on Guns,” supra note 6;
see also Leana Wen, “What Bullets Do to Bodies,” The New York Times (June 15, 2017), available at
https://www.nytimes.com/2017/06/15/opinion/virginia-baseball- shooting-gun-shot- wounds.html?_r=1.


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surgical intervention, and carry a higher likelihood of death at the scene or on arrival in an

emergency department.11

          35.     In this study of Carr et al, they found that multiple gun shot wounds were associated

with higher mortality, more intensive care unit days, and longer hospital length of stay. Multiple

bullet wounding patterns seem to have increased morbidity and mortality associated with firearm

injuries as postulated by the researchers.

          36.     Finally, while the likelihood of serious injury and death from a wound caused by an

assault weapon bullet is high for adult victims, the likelihood of serious injury or death for pediatric

victims is even greater. Because children have smaller torsos, relatively more compressed/adjacent

vital organs, and smaller blood reserves, the energy release and greater temporary and permanent

cavities associated with AR-15 style bullets are even more likely to cause serious damage to

children as compared to teenagers or adults. Not a single child wounded by an assault weapon bullet

at Sandy Hook survived, for example.12 Those patients who do survive after having been struck by

these bullets often face surgical challenges, recurring operative procedures, and longဨterm recovery

and disability.

                                                             ___________________________________
                                                                    ___________
                                                                             _ ___
                                                              Dr. Stephen
                                                                    ephen W. HHargarten,
                                                                                arg      M.D., M.P.H.

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        11
           Brendan G. Carr et al., “Outcomes related to the number and anatomic placement of gunshot wounds,”
Journal of Trauma 64(1), at 197–202 (Jan. 2008), available at https://pubmed.ncbi.nlm.nih.gov/18188121/.
          12
            Report of the State’s Attorney for the Judicial District of Danbury on the Shootings at Sandy Hook
Elementary School and 36 Yogananda Street, Newton, Connecticut on December 14, 2012 (Nov. 25, 2013) at p. 10,
https://portal.ct.gov/-/media/DCJ/SandyHookFinalReportpdf.pdf.


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                  Exhibit A
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                                    2994
                               CURRICULUM VITAE (Dec. 2022)
                                 Professor of Emergency Medicine

    Home Address:            2411 E. Menlo Boulevard
                             Shorewood, WI 53211

    Office Address:          The Hub for Collaborative Medicine
                             8701 W Watertown Plank Rd.
                             Milwaukee, WI 53226
                             Email: hargart@mcw.edu

    Birth date:              January 5, 1949

    Marital Status:          Married, 1987 - Janis
                             Children: Beth, Jordan, Leah

    Education:

             1984            MPH, Johns Hopkins School of Public Health and Hygiene

             1975            MD, Medical College of Wisconsin

             1971            BA, University of Wisconsin, Milwaukee

    Postgraduate Training:

             1975-1976       Rotating Internship, Gorgas Hospital, Canal Zone, Panama

    Faculty Appointments:

             2020-present    Senior Injury and Policy Advisor, Comprehensive Injury Center at the Medical
                             College of Wisconsin

             2017-2019       Co-Director, Global Health Pathway, Medical College of Wisconsin

             2014-2016       Faculty Representative, Board of Trustees, Medical College of Wisconsin

             2013-2017       Director, Global Health Pathway, Medical College of Wisconsin

             2013-2017       Adjunct Faculty, Joseph J. Zilber School of Public Health, University of
                             Wisconsin

             2012-present    Graduate Faculty, Graduate School of Biomedical Sciences, Medical College of
                             Wisconsin

             2010-2021       Associate Dean, Global Health, Medical College of Wisconsin

             2010-2014       Institute for Health and Society, Medical College of Wisconsin

             2008–present    Adjunct Professor, Department of Population Health Sciences
                             University of Wisconsin School of Medicine and Public Health

             2001-2020       Director, Comprehensive Injury Center at the Medical College of Wisconsin

             1998-present    Professor, Department of Emergency Medicine, Medical College of Wisconsin
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                                                                                                       -2-
                                                                            Stephen W. Hargarten, MD, MPH

             1998-2018                Chairman, Department of Emergency Medicine, Medical College of Wisconsin

             1998-2001                Director, Wisconsin Injury Research Center, Department of Emergency
                                      Medicine, Medical College of Wisconsin

             1997-2002                Director, Firearm Injury Center, Department of Emergency Medicine, Medical
                                      College of Wisconsin

             1994-1997                Associate Professor, Interim Chairman, Department of Emergency Medicine,
                                      Medical College of Wisconsin

             1994-1996                Instructional Academic Staff Preceptor, Physician Assistant Program,
                                      Department of Family Medicine & Practice, University of Wisconsin Medical
                                      School - Madison, WI

             1994-2004                Health Policy Institute, Medical College of Wisconsin

             1989-1994                Assistant Professor of Emergency Medicine, Medical College of
                                      Wisconsin

             1985-1988                Assistant Clinical Professor, Department of Trauma and Emergency Medicine,
                                      Medical College of Wisconsin

    Hospital and Administrative Appointments:

             1995-2018                Attending Staff, Froedtert Hospital

             1992-1997                Associate Attending Staff, Children’s Hospital of Wisconsin

    Hospital Appointments: (past)

             1989-1995                Associate Attending Staff, John L. Doyne Hospital, Milwaukee, WI

             1985-1988                Staff Physician, Emergency Department, St. Luke’s Hospital

             1984-1985                Staff Physician, Emergency Department, St. Joseph’s Hospital

             1977-1983                Staff Physician, Emergency Department, St. Mary’s Hospital

             1976-1977                Staff Physician, Emergency Department, St. Joseph’s Hospital

    Other Appointments:

              2014-2020               President and CEO, Milwaukee Global Health Consortium, Milwaukee, WI

    Specialty Certification:

             2000                     Board Re-certified, American Board of Emergency Medicine

             1991                     Board Re-certified, American Board of Emergency Medicine

             1987-2010                Examiner, American Board of Emergency Medicine
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                                                                                                     -3-
                                                                          Stephen W. Hargarten, MD, MPH
            1987-2003                 Instructor, Advanced Trauma Life Support

            1983-2005                 Fellow, American College of Emergency Physicians

            1982                      Board Certified, American Board of Emergency Medicine

    Licensure:
            National Board of Medical Examiners - July 1976 - #154341
            State of Wisconsin - July 1976 - #20218

    Awards/Honors
            2019                      Distinguished Service Award, Medical College of Wisconsin

            2018                      Appointment to the Community Preventive Services Task Force (CPSTF)
                                      of the U.S. Department of Health and Human Services

            2017                      International Institute of Wisconsin’s Dorothy Von Briesen World Citizen
                                      Award in recognition of dedication to the promotion of international
                                      cooperation and understanding between diverse cultural communities

            2016                      The Leonard Tow 2016 Humanism in Medicine Award in recognition of
                                      exemplary compassion, competence and respect in the delivery of care
                                      (presented by The Arnold P. Gold Foundation)

            2015                      Distinguished Achievement Award, Milwaukee Academy of Medicine

            2012                      Outstanding Pathways Advisor for the 2012 Academic Year
                                      Medical College of Wisconsin

            2012                      Outstanding Medical Student Teacher for the 2011-2012 Academic Year
                                      Medical College of Wisconsin

            2011                      Election to the National Academy of Medicine, (Formally the Institute of Medicine) of
                                      The National Academy of Sciences

            2011                      Selected to be a Johns Hopkins Scholar

            2008                      Outstanding Medical Student Teacher for the 2007-2008 Academic Year
                                      Medical College of Wisconsin

            2000                      Prevention Achievement Award – presented by the Brain Injury
                                      Association of Wisconsin

            2000                      President’s Award, Milwaukee Academy of Medicine

            1996                      Contributions to the 1996 Healthy People 2000 Progress Review, and in
                                      recognition of leadership in the area of Violence Prevention, on behalf of the
                                      National Center for Injury Prevention and Control, Centers for Disease Control
                                      and Prevention, Washington, DC, November

            1995                      Public Citizen of the Year, National Association of Social Workers - Wisconsin
                                      Chapter

            1994                      Physician of the Year State Medical Society – Wisconsin
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                                    2997
                                                                                                       -4-
                                                                            Stephen W. Hargarten, MD, MPH
            1990                       Rookie of the Year Award (presented by the Emergency Medicine Residents, Medical
                                       College of Wisconsin-MCWAH)


    Memberships in Professional and Honorary Societies:

            Society for Research Excellence
            Community Preventive Services Task Force (US Dept of Health & Human Services)
            The National Academy of Medicine (fka Institute of Medicine)
            Johns Hopkins Society of Scholars
            Society for Academic Emergency Medicine
            American Public Health Association
            Advocates for Highway and Auto Safety
            Wisconsin Public Health Association
            International Travel Medicine Society
            Society for Advancement of Violence and Injury Research

    Consultant:

            Florida Department of Health
            Colorado Department of Health

    Journal Reviewer:

            Academic Emergency Medicine
            Annals of Emergency Medicine
            Accident Analysis and Prevention
            American Journal of Emergency Medicine
            Journal of Global Health
            Journal of the American Medical Association
            Journal of Injury Prevention
            Chinese Journal of Emergency Medicine, Editorial Board


    Peer Grant Reviewer

             NCIPC - Elimination of Health Disparities through Translation Research (R18), 2008


    National Advisory Committees/Boards:

            Chair, Network to Prevent Gun Violence in the Americas, 2020-present

            Member, Global Violence Prevention Forum of the National Academies of Sciences, Engineering and
            Medicine, 2019-present

            Member, Community Preventive Services Task Force of the U.S. Department of Health and Human
            Services, 2018-present

            Member, Executive Committee, Transportation Research Board of the National Academies of
            Sciences, Engineering and Medicine, 2018-present

            Member, Executive Committee, Transportation Research Board of the National Academies, 2018-
            present
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                                    2998
                                                                                                       -5-
                                                                            Stephen W. Hargarten, MD, MPH
            Member, Scientific Committee, Consortium of Universities for Global Health, 2013

            Special Government Employee, Board of Scientific Counselors, National Center for Injury
            Prevention and Control, 2013-2017

            Member, Institute of Medicine, Global Health Board, 2012-2018

            Member, Scientific Advisory Committee, University of Michigan Injury Center, 2011-present

            Board Member, Community Advocates, Urban Strategies, 2010-present

            Board Member, Great Lakes Transportation Enterprise Institute, 2010-2013

            Founding President, Society for Advancement of Violence and Injury Research, 2005-2007

            President, Association of Academic Chairs of Emergency Medicine, 2004-2005

            President, National Association of Injury Control Research Centers, 2004-2005

            Member, Advisory Committee, National Center of Injury Prevention and Control, Acute Care
            Research Committee, 2004-2005

            Board Member, St. Charles Youth and Family Services, 2001-present

            Participant, Injury Research Grant Review Committee, Centers for Disease Control and Prevention,
            National Center for Injury Prevention and Control, June 7-8, 1998

            Member, Senator Russ Feingold Health Care East Advisory Committee, 1999–2010

            Co-Chair, Advocates for Highway & Auto Safety, 1998 – 2002

            Public Health Task Force, Society for Academic Emergency Medicine 1998 - 2000

            Member, Education Advisory Committee, Association for the Advancement of Automotive Medicine, 1996 –
            1997

            Board Member, Advocates for Highway & Auto Safety, 1994– present

            Member, Public Health and Injury Prevention Committee - American College of Emergency Physicians,
            1991-1995

            Member, Program Committee, Society for Academic Emergency Medicine, 1993 - 1995

            Board Member, Association for Advancement of Automotive Medicine, 1992 - 1995

            Member, Public Health Committee - Society for Academic Emergency Medicine, 1990 - 1993

            Member, Trauma Subcommittee American College of Emergency Physicians, 1990 – 1991


    State/Local Advisory Committee/Boards:

            Faculty Member, Board of Trustees, Medical College of Wisconsin, 2014-2016

            Member, Committee on Inmate/Youth Death, Department of Corrections, 2005-2007
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                                    2999
                                                                                                          -6-
                                                                               Stephen W. Hargarten, MD, MPH

            Member, Public Health Council, Department of Health and Family Services, 2004-2006

            Task Force Member, Governors Task Force on Terrorism, 2001-2003

            Chair, State Trauma Advisory Committee, 1999-2003

            Chair, State Medical Society Council on Health of the Public, 1999-2000

            Eastern Regional Health Care Advisory Committee of Senator Feingold, 1998-2000

            Chair, Policies and Practice Work Group, Fighting Back, 1998

            Board Member, Fighting Back, 1997-2000

            Chair, State Medical Society Injury Control Commission, 1996 - 1999

            Chair, Public Health and Education Committee, Milwaukee Academy of Medicine, 1993 – 1999

            Tom Dooley Heritage - Board Member (Private, Voluntary Organization), 1981 - 1995

            Chairman, Safe Transportation Commission Wisconsin State Medical Society, 1990 - 1994

            Board Member, Wisconsin Division American Trauma Society, 1990 - 1993

            President, Wisconsin Public Health Association, 1992 - 1993

            Co-Chairman, Wisconsin Safety Belt Coalition, Madison, Wisconsin, 1986 - 1991

            Milwaukee County Medical Society Public Health Committee, 1989 - 1991

            Commissioner, Milwaukee Safety Commission, 1987 - 1990

            Medical Director, St. Luke's International Travel Clinic, 1985 - 1988

            Board Member/President, Wisconsin Indochina Refugee Relief (WICRR) – Wisconsin, 1980 - 1982

            Wisconsin Indochina Refugee Relief (WICRR) (Private, Voluntary non-profit organization), Volunteer Physicians -
            Tom Dooley Memorial Hospital Thailand, 1980

            Co-Founder, Board Member West of the River Community Center, Milwaukee, Wisconsin, 1977 – 1979

    Research Grants, Contracts, and Awards:

        1. “Remembering the Lost: How Investigation of Military Suicides Can Improve Prevention Resources”
           AWARD FOR FISCAL YEARS 2020-22
           $316,576
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Advancing a Healthier Wisconsin Endowment

        2. “Using Hospital Records of Patients Presenting to Froedtert Hospital to Predict Risk of Opioid Use Disorder
           (OUD), Fatal and Non-fatal Opioid Overdose, and ED Readmission”
           AWARD FOR FISCAL YEARS 2020-2021
           $50,000
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
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                                    3000
                                                                                                     -7-
                                                                         Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Clinical and Translational Science Institute through Advancing a Healthier Wisconsin
           Endowment

       3. “Project Zero”
          AWARD FOR FISCAL YEARS 2021-2023
          $316,760
          PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
          FUNDING AGENCY: Advancing a Healthier Wisconsin Endowment

       4. “Project Aware”
          AWARD FOR FISCAL YEARS 2019-2024
          $300,000
          PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
          FUNDING AGENCY: (Sub-contract) State of Wisconsin Department of Health Services

       5. “WVDRS and SUDORS Contract”
          AWARD FOR FISCAL YEARS 2019-2020
          $170,440
          PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
          FUNDING AGENCY: (Sub-contract) State of Wisconsin Department of Health Services

       6. FY20 DOC Contract
          AWARD FOR FISCAL YEARS 2019-2020
          $99,874
          PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
          FUNDING AGENCY: Wisconsin Department of Corrections

       7. “Destination Zero: Zero Suicide in Fond du Lac County”
          AWARD FOR FISCAL YEARS 2018-2020
          $419,691
          PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
          FUNDING AGENCY: Healthier Wisconsin Partnership Program

       8. “MCW Blue Center Research Award”
          INITIAL AWARD FOR FISCAL YEARS: 2017-2020
          $600,000
          PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
          FUNDING AGENCY: Medical College of Wisconsin, Office of Research

       9. “Scudder Travel Scholarship”
          AWARD FOR FISCAL YEARS: 2017-2021
          $15,000
          PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
          FUNDING AGENCY: Dr. James H. Taylor and Dr. Susan P. Taylor

       10. “Dr. Elaine Kohler Summer Academy in Global Health Research and Electives”
           AWARD FOR FISCAL YEARS: 2017-2021
           TOTAL AWARD: $250,000
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: John Michael Kohler Family Foundation

       11. “The Cardiff Model: Strengthening Community Capacity to Reduce Violence:
           AWARD FOR FISCAL YEARS 2016-2018
           $499,693
           PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 213 of 926 PageID:
                                    3001
                                                                                                        -8-
                                                                             Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: US Department of Justice

       12. “Developing a Community-Based Approach to Reduce Drug Overdoses in Milwaukee County”
           AWARD FOR FISCAL YEAR 2016
           TOTAL AWARD $25,000
           PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Milwaukee County

       13. “Addressing Racial Disparities in the Ascertainment and Identification of Depression,
           Suicidal Ideation, and Death by Suicide”
           AWARD FOR FISCAL YEARS 2016-2017
           TOTAL AWARD $37,347
           PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Charles E. Kubly Foundation

       14. “Creating a Jackson County that Supports Mental Health”
           AWARD FOR FISCAL YEARS 2015-2017
           TOTAL AWARD: $374,504
           PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Healthier Wisconsin Partnership Program

       15. “Wisconsin Violent Death Reporting System” (WVDRS)
           AWARD FOR FISCAL YEAR 2015
           AWARD: $69,773
           PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: (Sub-Contract) State of Wisconsin, Department of Health Services

       16. “Integrating Emergency Data with Law Enforcement, Emergency Medical Service and
            Community Data to Reduce Violence”
           AWARD FOR FISCAL YEAR 2015
           PRINCIPAL INVESTIGATORS: Stephen Hargarten, MD, MPH and Jennifer Hernandez-Meier, MSW
           FUNDING AGENCY: National Institute of Justice

       17. “Criminal Background Characteristics of Homicide Perpetrators and Victim’s and
            Suicide Decedents: A Model State Analysis”
           AWARD FOR FISCAL YEARS 2014-2016
           PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: New Venture Fund for a Safer Future

       18. “Training Administration Support”
           AWARD FOR FISCAL YEARS 2012-present
           TOTAL AWARD: $6,200
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Varies

       19. “M4 University of the Philippines College of Medicine Global Health Elective”
           AWARD FOR FISCAL YEARS: 2012-2013
           TOTAL AWARD: $1,000
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: David E. Engelhardt, MD

       20. “Changing the Culture of Risky Drinking Behavior: Policy Change”
           AWARD FOR FISCAL YEARS: 2012-2017
           TOTAL AWARD: $748,267
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 214 of 926 PageID:
                                    3002
                                                                                                      -9-
                                                                           Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Healthier Wisconsin Partnership Program

       21. “Child Maltreatment and Partner Violence: Bridging the Medical/Social/Science Gap”
           AWARD FOR FISCAL YEAR 2011-2012
           TOTAL AWARD $7,142
           FUNDING AGENCY: NICHHD/Sub-contract from Washington University-St. Louis

       22. “M4 Global Health Elective Travel Scholarship”
           AWARD FOR FISCAL YEARS: 2011-2017
           TOTAL AWARD: $70,000
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: St. Joseph’s Hospital Professional Emergency Services, Inc. (PES) Fund Award

       23. “M4 Global Health Elective Travel Scholarship”
           AWARD FOR FISCAL YEARS: 2011-2017
           TOTAL AWARD: $70,000
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Ewens WIcare Fund

       24. “Dr. Elaine Kohler Summer Academy in Global Health Research and Electives”
           AWARD FOR FISCAL YEARS: 2011-2016
           TOTAL AWARD: $255,000
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: John M. Kohler Foundation

       25. “Violence Prevention Initiative Research and Evaluation Team”
           AWARD FOR FISCAL YEARS: 2010-2015
           TOTAL AWARD: $1,241,473
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Healthier Wisconsin Partnership Program

       26. “Strengthening Emergency Care in Belize”
           AWARD FOR FISCAL YEARS: 2010-2012
           TOTAL AWARD: $21,360
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Wagner Foundation

       27. Changing the Culture of Risky Drinking Behavior”
           AWARD FOR FISCAL YEARS: 2009-2012
           TOTAL AWARD: $300,000
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Healthier Wisconsin Partnership Program

       28. “Elaine Kohler Nicaragua Award”
           AWARD FOR FISCAL YEARS: 2008-2016
           TOTAL AWARD: $5,000
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Julilly Kohler WI Care

       29. “Kenosha County Suicide Prevention Initiative”
           AWARD FOR FISCAL YEARS: 2008-2011
           TOTAL AWARD: $450,000
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Healthier Wisconsin Partnership Program
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                                    3003
                                                                                                     - 10 -
                                                                           Stephen W. Hargarten, MD, MPH
       30. “Train the Trainer Alcohol Screening and Intervention”
           AWARD FOR PERIOD: June-September 2008
           TOTAL AWARD $20,000
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Wisconsin Department of Transportation

       31. “Comprehensive Injury Center at the Medical College of Wisconsin”
           AWARD FOR FISCAL YEARS: 2007-2012
           TOTAL AWARD: $4,424,025
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Centers for Disease Control and Prevention

       32. “Public Health Injury Surveillance and Program Development”
           AWARD FOR FISCAL YEAR: 2007-2008
           TOTAL AWARD: $106,034
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services

       33. “Changing the Culture of Risky Drinking Behavior”
           AWARD FOR FISCAL YEARS: 2007-2008
           TOTAL AWARD: $49,944
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Healthier Wisconsin Partnership Program

       34. “Medical Student Training in Aging and Injury Research”
           AWARD FPR FOSCA: UEARS: 2007-2012
           TOTAL AWARD: $391,068
           CO-PROGRAM DIRECTOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: National Institutes of Health/National Institute on Aging

       35. “Public Health Injury Surveillance and Program Development”
           AWARD FOR FISCAL YEAR: 2006-2007
           TOTAL AWARD: $68,870
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services

       36. “Strengthening Public Health Policymaking for a Healthier Milwaukee”
           AWARD FOR FISCAL YEARS: 2006-2008
           TOTAL AWARD: $49,816
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Healthier Wisconsin Partnership Program

       37. “Youth Suicide Prevention and Early Intervention”
           AWARD FOR FISCAL YEARS: 2006-2009
           TOTAL AWARD: $100,000
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Milwaukee Mental Health Association via Substance Abuse and Mental Health Services
           Administration

       38. “Public Health Injury Surveillance and Program Development”
           AWARD FOR FISCAL YEAR: 2005-2006
           TOTAL AWARD: $93,228
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services
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                                    3004
                                                                                                      - 11 -
                                                                            Stephen W. Hargarten, MD, MPH
       39. “Toward Regional Priorities for Injury Prevention”
           AWARD FOR FISCAL YEAR: 2003
           TOTAL AWARD: $22,727
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Wisconsin Department of Health and Family Services

       40. “Deaths to US Travelers Abroad”
           AWARD FOR FISCAL YEAR: 2002
           TOTAL AWARD: $50,000
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Center for Disease Control and Prevention

       41. “Annie E. Casey Foundation”
           AWARD FOR FISCAL YEAR: 2002
           TOTAL AWARD: $68,181
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Annie E. Casey Foundation

       42. “Comprehensive Injury Center at the Medical College of Wisconsin”
           AWARD FOR FISCAL YEARS: 2001-2007
           TOTAL AWARD: $5,180,275
           PRIMARY INVESTIGATOR: Stephen W. Hargarten MD, MPH
           FUNDING AGENCY: Centers for Disease Control and Prevention

       43. “Grants for Injury Control Research Centers – Small Project 4”
           AWARD FOR FISCAL YEARS: 2001-2004
           TOTAL AWARD: $ 66,672
           CO-INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Centers for Disease Control and Prevention

       44. “Grants for Injury Control Research Centers – Large Project 4”
           AWARD FOR FISCAL YEARS: 2001-2006
           TOTAL AWARD: $ 204,000
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Centers for Disease Control and Prevention

       45. “Grants for Injury Control Research Centers – Large Project 3”
           AWARD FOR FISCAL YEARS: 2001-2006
           TOTAL AWARD: $100,000
           CO-INVESTIGATOR (IN KIND): Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Centers for Disease Control and Prevention

       46. “Grants for Injury Control Research Centers – Core A”
           AWARD FOR FISCAL YEARS: 2001-2006
           TOTAL AWARD: $ 137,380
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Centers for Disease Control and Prevention

       47. “2nd Annual Emerging Injury Conference: International Travel Related Injury”
           AWARD FOR FISCAL YEARS: 2001-2002
           TOTAL AWARD: $ 50,000
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Centers for Disease Control and Prevention

       48. “NVDRS – Intentional Injuries and Assaults”
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                                    3005
                                                                                                       - 12 -
                                                                             Stephen W. Hargarten, MD, MPH
           AWARD FOR FISCAL YEARS: 2001-2002
           TOTAL AWARD: $ 75,774
           PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Wisconsin Office of Justice Assistance

       49. “Improving Patient Safety: Health Systems Reporting, Analysis, and Safety Improvement Research
           Demonstrations”
           AWARD FOR FISCAL YEARS: 2001-2004
           TOTAL AWARD: $1,418,594
           CO-PI: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Agency for Healthcare Research and Quality

       50. “International Injuries and Assaults”
           AWARD FOR FISCAL YEARS: 2001-2002
           TOTAL AWARD: $ 68,196
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: State of Wisconsin

       51. “Building a National Firearm Injury Reporting System”
           AWARDED FOR FISCAL YEARS: 2000 - 2001
           TOTAL AWARD: $50,000
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Funder’s Collaborative for Gun Violence Prevention by Harvard School of Public Health
           National Violent Injury Statistics System (NVISS)

       52. “Preventing Firearm Suicides and Unintentional Deaths”
           AWARD FOR FISCAL YEARS: 2000-2001
           TOTAL AWARD: $60,000
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Funder’s Collaborative for Gun Violence Prevention by Johns Hopkins Center for Gun Policy
           & Research

       53. “A Comprehensive Model for Firearm Injury Reporting, Analysis and Information” – Joyce 5
           AWARD FOR FISCAL YEARS: 1999-2002
           TOTAL AWARD: $771,924
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Joyce Foundation

       54. “Closing the Gap: Applying Injury Control Science to Patient Safety”
           AWARD FOR FISCAL YEARS: 1999-2000
           TOTAL AWARD: $24,316 and $30,000
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Centers for Disease Control and Prevention

       55. “In the Wake of a Gunshot”
           AWARD FOR FISCAL YEARS: 1999-2000
           TOTAL AWARD: $10,000
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Wisconsin Humanities Council and the National Endowment for the
           Humanities

       56. “Strategic Development of State Firearm Injury Reporting Systems”
           AWARD FOR FISCAL YEARS: 1999-2000
           TOTAL AWARD: $116,911
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
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                                    3006
                                                                                                    - 13 -
                                                                          Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Open Society Institute

       57. “Wisconsin Firearm Injury Reporting Systems (FIRS) – Joyce 4
           AWARD FOR FISCAL YEARS: 1998-1999
           TOTAL AWARD: $95,912
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Joyce Foundation

       58. “Wisconsin Drug Abuse Emergency Room Registry”
           AWARD FOR FISCAL YEARS: 1998-1999
           TOTAL AWARD: $1500
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: State of Wisconsin, Dept. of Health & Family Services

       59. “National Firearm Information Center” – Joyce 3
           AWARD FOR FISCAL YEARS: 1997-2000
           TOTAL AWARD: $391,581
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Joyce Foundation

       60. “Firearm Injury Reporting System” – Joyce II
           AWARD FOR FISCAL YEARS: 1996-1998
           TOTAL AWARD: $194,538
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: Joyce Foundation

       61. “Brief Strategies for Alcohol-Related Non-traffic Injuries”
           AWARD FOR FISCAL YEAR: 1996
           TOTAL AWARD: $10,904
           PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
           FUNDING AGENCY: University of Wisconsin – Madison

       62. “Firearm Surveillance System - Wisconsin”
           AWARD FOR FISCAL YEAR: 1994-1997
           TOTAL AWARD: $150,000
           CO-DIRECTOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Division of Health, State of Wisconsin

       63. “Firearm Injury Reporting System”
           AWARD FOR FISCAL YEAR: 1994-95
           TOTAL AWARD: $50,000
           PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Faye McBeath Foundation

       64. "Firearm Injury Reporting System" – Joyce II
           AWARD FOR FISCAL YEAR: 1994-95
           TOTAL AWARD: $79,997
           PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Joyce Foundation

       65. "Emergency Room Drug Abuse Data"
           AWARD FOR FISCAL YEARS: 1992 - 2000
           TOTAL AWARD: $5,000/yr.
           PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: State of Wisconsin
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 219 of 926 PageID:
                                    3007
                                                                                                     - 14 -
                                                                           Stephen W. Hargarten, MD, MPH

        66. "Crash Outcome Data Evaluation (CODES) in Wisconsin"
            AWARD FOR FISCAL YEAR: 1992-1993
            TOTAL AWARD: $15,000
            CO-INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: National Highway Traffic Safety Administration

        67. "Partnerships in Health/EMS Training for Poland"
            AWARD FOR FISCAL YEARS: 1992-1994
            TOTAL AWARD: $2.4 million
            ASSOCIATE DIRECTOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: United States Agency for International Development

        68. “Emergency Medical Services Course for Physicians"
            AWARD FOR FISCAL YEAR: 1992
            TOTAL AWARD: $29,789.00
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Department of Transportation

        69. "Motorboat Propeller Injuries in Wisconsin 1987-1989"
            AWARD FOR FISCAL YEAR: 1991
            TOTAL AWARD: $2,000.00
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Institute for Injury Reduction

        70. "Electronic Log System for Emergency Department"
            AWARD FOR FISCAL YEAR: 1990
            TOTAL AWARD: $40,356.00
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Department of Transportation

        71. "Cost & Data Analysis of Motor Vehicle Trauma in Milwaukee County"
            AWARD FOR FISCAL YEAR: 1990
            TOTAL AWARD: $3,417.00.
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Department of Transportation

        72. "Hunting Injuries and Illnesses in Montana 1990"
            AWARD FOR FISCAL YEAR: 1990
            TOTAL AWARD: $2,500.00
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Wilderness Medical Society

        73. "Motor Vehicle Crashes - Emergency Physician Costs"
            AWARD FOR FISCAL YEAR: 1990
            TOTAL AWARD: $6,000.00
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Safety Belt Coalition


     Invited Lectures/Testimony:

        1. “Gun Violence as a Biopsychosocial Disease,” Midwest Injury Prevention Alliance Virtual Summit,
           December 9, 2020.
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                                                                                                   - 15 -
                                                                        Stephen W. Hargarten, MD, MPH
       2. “Global Health from Neighborhoods to Nations”, Milwaukee Academy of Medicine, Virtual Webinar,
          November 17, 2020.

       3. “Impact of COVID-19 on the University’s Global Health Programming,” 7th Annual Midwestern Universities
          for Global Health, Virtual Webinar, September 30.

       4. “Gun Violence in the Americas: Local Solutions to a Hemispheric Challenge,” Consortium of Universities for
          Global Health, Virtual Webinar, July 16, 2020.

       5. “Assault Weapons Ban in the Americas,” Newtown Action Alliance, Virtual Webinar, July 9, 2020.

       6. “Gun Violence in Mexico and Central America,” Consortium of Universities for Global Health, Virtual
          Webinar, April 21, 2020.

       7. “The Milwaukee Global Health Landscape Study,” Milwaukee Global Health Consortium, Virtual Webinar,
          April 13, 2020.

       8. “Gun Violence in the Americas Focus: Mexico,” Consortium of Universities for Global Health, Virtual
          Webinar, March 24, 2020.

       9. “Physician Advocacy,” Medical College of Wisconsin Health Policy and Advocacy Course, Milwaukee, WI,
          March 23, 2020.

       10. “Understanding the Biopsychosocial Aspects of Violence Involving Firearms,” American Hospital Association
           Webinar Series on Gun Violence, Virtual Presentation, February 19, 2020.

       11. “Gun Violence: A Biopsychosocial Disease,” 2020 Comprehensive Injury Center Lecture Series, Medical
           College of Wisconsin, Milwaukee, WI, January 23, 2020.

       12. Assembly Health Committee Public Hearing (Military Civilian Partnership + Cancer Clinical Trials
           Legislation), Madison, WI, January 7, 2020.

       13. “Global Burden of Gun Violence,” University of Wisconsin Population Health Seminar Series, University of
           Wisconsin, Madison, WI, December 2, 2019.

       14. “Gun Violence: A Biopsychosocial Disease,” Department of Medicine Grand Rounds, Medical College of
           Wisconsin, Milwaukee, WI, September 27, 2019.

       15. “Suicide in Wisconsin: Considerations for Prevention,” Wisconsin State Legislature’s Suicide Prevention
           Task Force Testimony, Milwaukee, WI, September 9, 2019.

       16. “Gun Violence: A Biopsychosocial Disease,” Department Conference, Department of Emergency Medicine,
           Medical College of Wisconsin, Milwaukee, WI, August 8, 2019.

       17. “Road Traffic Injury Prevention and Violence Injury Prevention,” International Congress on Emergency
           Medicine Meeting, Seoul, South Korea, June 12, 2019.

       18. “Gun Violence Prevention: Dispelling Myths, Understanding Science, Strengthening Prevention, Programs,
           and Policies,” Community Conversations, La Crosse, WI, April 24, 2019.

       19. “Gun Violence: A Biopsychosocial Disease,” Toward One Wisconsin Inclusivity Conference, Milwaukee, WI,
           April 11, 2019.

       20. “Motor Vehicle Crash Deaths and Injury – Moving to Zero,” Wisconsin Medical Society Physician Education
           Conference, Madison, WI, April 6, 2019.
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                                                                             Stephen W. Hargarten, MD, MPH

       21. “Gun Violence: A Biopsychosocial Disease,” Wisconsin Medical Society Physician Education Conference,
           Madison, WI, April 6, 2019.

       22. “Injury as a Biopsychosocial Disease,” Wisconsin Violence and Injury Prevention Program Summit,
           Madison, WI, April 4, 2019.

       23. “Gun Violence: A Biopsychosocial Disease,” Society for the Advancement of Violence and Injury Research
           Conference, Cincinnati, OH, April 2, 2019.

       24. “Gun Violence: A Complex Biopsychosocial Disease,” Grand Rounds, University of Wisconsin School of
           Medicine and Public Health, Madison, WI, February 21, 2019.

       25. “Why Do Health Systems Have A Role?” NASEM: Health Systems Interventions to Prevent Firearm Injuries
           & Death – A Workshop, Washington DC, October 17, 2018

       26. “Vision Zero – Emphasis on Public Health” Transportation Research Board Transportation Safety
           Management Mid-Year Meeting, Washington DC, July 30, 2018

       27. “Gun Violence: A Biopsychosocial Disease: Myths, Science & Prevention”, 2018 Preventive Medicine
           Annual Meeting, American College of Preventive Medicine, Chicago, ILL, May 24, 2018

       28. “International Challenges and Higher Education”, 39th Annual National Conference on Law & Higher
           Education. Stetson University College of Law, Clearwater, FL, February 3, 2018

       29. “Faculty promotion for global health” 4th Annual Midwest Universities for Global Health Meeting: Capacity
           Building in Global Health at Washington University Medical School, December 1, 2017.

       30. “Gun Violence: A Biopsychosocial Disease: Physician Roles and Responsibilities”, Grand Rounds,
           University of Michigan Emergency Medicine Residency Conference, Ann Arbor, MI, November 8, 2017.

       31. “International Partnerships: Global Wisdom, Global Citizens” American Association of Medical Colleges,
           Boston, MA, November 5, 2017.

       32. “Legal Characteristics of Emergency Medicine” Belize Medical and Dental Association XXXVI Congress,
           Belize City, Belize, October 17, 2017.

       33. “Global Health Challenges: The Burden of Injury” University of Norte Dame Eck Institute for Global Health,
           Norte Dame, IN September 28, 2017.

       34. “Gun Violence: Myths, Science, Opportunities”, Underground Science Society, The Sugar Maple,
                        i. Milwaukee, WI, September 11, 2017.

       35. “Gun Violence as a Biopsychosocial Disease Burden: Our Roles and Responsibilities” for The Violence Epidemic:
           Justice, Public Health and Ethics, Center for Bioethics and Medical Humanities, Medical College of Wisconsin,
           Milwaukee, WI, June 13, 2017.

       36. “Global Burden of Road Traffic Injury: Opportunities and Strategies for Prevention and Control: Roles of Civil
           Society” Consortium of Universities for Global Health, Washington DC, April 8, 2017.

       37. “Gun Violence: A Biosocial Disease” Keynote for Wisconsin Chapter of American College of Emergency
           Physician’s 2017 Spring Symposium, Madison, WI, March 28, 2017.

       38. “Global Burden of Injury” Hainan Medical University, Hainan, China, March 15, 2017.
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                                    3010
                                                                                                   - 17 -
                                                                         Stephen W. Hargarten, MD, MPH
       39. “MCW’s Impact on the World: From Milwaukee, Wisconsin to Around the Globe”, MCW/Marquette Medical
           Alumni Association 51st Clinical Conference, Sonoma, CA, March 7, 2016.

       40. “Global Health and Medical Education: The Ethics of Short-term International Electives” Advancing Global
           Health: Ethical and Logistical Issues, Bronx, NY, December 5, 2016.

       41. “Global Emergencies” Belize Medical and Dental Association XXXV Congress, Belize City, Belize,
           November 17, 2016

       42. “Shoot to Kill: Shooting Trends Across the Nation” Panel at Marquette University, Milwaukee, WI,
                           i. October 14, 2016.

       43. “Gun Violence: A Biosocial Disease”, Sanford Trauma Symposium, South Dakota Department of Health, Sioux
           Falls, SD, October 11, 2016.

       44. “Global Health from a Milwaukee Perspective” Marquette University Global Health Symposium, Milwaukee,
           September 30, 2016

       45. “Study Abroad Student Safety”, Wisconsin Association of Independent Colleges and Universities Student
           Safety Workshop, Milwaukee, September 28, 2016

       46. “Global Health Challenges”, Notre Dame University, Notre Dame, IN, September 1, 2016

       47. "Beyond the Basics of Health, Safety, Security and Risk Management", Keynote Speaker for The Forum on
           Education Abroad Standards of Good Practice Institute, Northwestern University, Evanston, IL, June 23,
           2016.

       48. “Global Burden of Injury” University College of Dublin, Dublin, Ireland, June 8, 2016

       49. “Global Health: The Ultimate Sustainable Challenge”, Sustainability Summit, Milwaukee, May 13, 2016

       50. “Medical Student Perspectives on Global Health” MCW Today, Tomorrow, and Beyond Symposium Alumni
           Weekend, Milwaukee, April 30, 2016

       51. “Gun Violence: A Biosocial Disease” for Medical College of Wisconsin Nursing Trauma Conference,
           Milwaukee, WI, April 23, 2016.

       52. “Gun Violence: A Biosocial Disease”, Keynote Speaker for Gun Violence: A Public Health Symposium,
           Washington University – Institute for Public Health, St. Louis, MO, April 5, 2016.

       53. “How Violence Impacts Public Health”, Panel Participant for University of Wisconsin-Zilber School of Public
           Health, Milwaukee, WI, February 25, 2016.

       54. “Programs and Policy: Addressing a Global Need for Surgery and Emergency Care” and “Global Burden of
           Injury”, Global Health Conference Midwest, Creighton University, Omaha, NE, February 6, 2016.

       55. “Inequality and Freedom from Violence: Community violence has identifiable causes and implementable
           cures” University of Wisconsin-Milwaukee Fireside Forum, Milwaukee, WI, February 2, 2016

       56. “Global Health: Managing Health & Safety”, 2nd Annual Midwestern Universities for Global Health, Rush
           University, Chicago, IL, December 2, 2015

       57. “Global Burden of Injury” Visiting Professor, Notre Dame, Notre Dame, IN, October 15, 2015

       58. “Global Burden of Injury” Visiting Professor, University of Wisconsin, Madison, WI, October 12, 2015
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 223 of 926 PageID:
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                                                                             Stephen W. Hargarten, MD, MPH

       59. “Challenges and Opportunities in Academic Medicine: Collaborating for Global Health” Visiting Professor,
           Universidad Católica de Guayaquil, Guayaquil, Ecuador, May 6, 2015

       60. “Disaster Preparedness & Response: An All Hazard Approach” Consortium of Universities for Global Health Annual
           Meeting, Boston, MA, March 26, 2015

       61. “Injury Science and Geriatrics: Coming of Age Together”, Visiting Professor, Weill Cornell Medical College, Division
           of Geriatrics & Palliative Medicine Grand Rounds, New York, NY, February 12, 2015

       62. “Emergency Medicine and Injury Prevention and Control: A Room with a View”, Visiting Professor, Weill Cornell
           Medical College, Divisions of Emergency Medicine and Geriatrics & Palliative Medicine Grand Rounds, New York,
           NY, February 11, 201.5

       63. “Firearm Injuries”, Community Memorial Hospital Medical Staff Education Program, Menomonee Falls, WI,
           January 16, 2015.

       64. “Firearm Injuries”, Institute of Medicine Forum on Violence, Washington, DC, December 17, 2014

       65. “Global Health Managing Traveler Safety” Midwest Universities for Global Health Inaugural Meeting,
           University of Illinois at Chicago Center for Global Health, December 3, 2014

       66. “Global Health and Medical Education: The Ethics of Short-term International Electives” Advancing Global
           Health: Education, Building, and Support, Albert Einstein College of Medicine, Bronx, New York, November
           10, 2014

       67. “Strengthening Emergency Care in Belize” 33rd Belize Medical and Dental Association International
           Congress, Belize City, Belize, October 31, 2014

       68. “Triage Use and Implementation” 33rd Belize Medical and Dental Association International Congress, Belize
           City, Belize, October 31, 2014

       69. “The Science of Injury Prevention and Control” University of Zagreb School of Medicine, Zagreb, Croatia,
           September 9, 2014

       70. “Challenges and Opportunities in Academic Medicine: Collaborating for Global Health”, University of
           Rzeszow Jubilee of Medical Faculty, Rzeszow, Poland, September 5, 2014

       71. "Burden of Global Violence/Injury” for the 2014 World Affairs Seminar, Carroll University, Waukesha,
           Wisconsin, June 23, 2014

       72. “Practical advice for implementing useful global health curricula and effective academic programs” USAID
           The Future of Global Health: Building Better Professionals & Programs, Washington DC, May 9, 2014

       73. “Global Health and Partnerships” Shanghai Minhang Central Hospital, Shanghai, China, April 25, 2014

       74. “Organizing Injury prevention and control programs" 2014 China- US-Japan Summit Forum of Emergency
           Medicine, Xinhua Hospital, Shanghai, China, April 25, 2014

       75. “Technical Consultation for United Nations Office for Disarmament Affairs”, Research and Information Gathering
           Participant, UN Headquarters, New York, NY, November 19, 2013.

       76. “Gun Violence as a Public Health Issue”, Tuesday Speaker for Milwaukee Rotary Club, War Memorial, Milwaukee,
           WI, October 29, 2013
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 224 of 926 PageID:
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                                                                             Stephen W. Hargarten, MD, MPH

       77. “Transportation Safety and Injury Prevention,“ Keynote Speaker for Midwest Conference of Institute of
           Transportation Engineers, Pfister Hotel, Milwaukee, WI, June 27, 2013.

       78. “Patient Safety or Injury Control: Two Worlds or One?”, Patient Safety Summit, Johns Hopkins, Baltimore, MD,
           June 21, 2013

       79. “Gun-Related Violence”, Guest Speaker for Milwaukee Forum, Haggerty Museum, Milwaukee, WI, January 17,
           2013.

       80. “Gun Policy Summit”. Expert Panel Participant, Johns Hopkins University, Baltimore, MD, January 14-15, 2013.

       81. “Emergency Medicine: Going Global”, Guest Speaker for Klippel Lecture, Washington University School of
           Medicine, St. Louis, MO, December 4, 2012.

       82. “Global Burden of Injury”, Introduction to Public Health: Global Health, Carroll University, Waukesha, WI, November
           30, 2012, April 20, 2012, November 11, 2011

       83. “Gun Violence: The Strengths and Limits of the Disease Model”, Guns in America: Conflicting Points of View,
           University of Wisconsin, Madison, WI, November 1, 2012.

       84. “Increasing Utilization of NVDRS Data”, National Violent Death Reporting System Reverse Site Visit, Atlanta, GA,
           September 13, 2011.

       85. “Researching Car Crashes and Gun Shot Wounds: Products, Problems, Policies,“ and “Opportunities in Injury
           Research: Getting Started and Connecting the Dots”, Visiting Lecturer for the University of Alberta, Canada, June,
           2011.

       86. “Congressional Briefing”. Expert Testimony, Association for Safe International Road Travel and the U.S.
           Congressional Caucus on Global Road Safety, United Nations Decade of Action for Road Safety 2011-2020 United
           Nations, Washington, DC, May 11, 2011.

       87. “The Team Approach to Caring for Acutely Injured Patients”, Jao Tong University, Xinhua Hospital, Shanghai,
           China, November 9, 2010.

       88. “Trauma Evaluation and Management, TEAM” for 29th Belize Medical and Dental Association International Pre-
           Congress, Belize City, Belize, October 20, 2010.

       89. “The Emergency Department and Systems Approach to Emergency Medicine” for 29th Belize Medical and Dental
           Association International Pre-Congress, Belize City, Belize, October 19, 2010.

       90. “The Public Health Approach to Violence Prevention in Health Care Settings” for International Association for
           Healthcare Security and Safety Conference, Baltimore, MD, June 22, 2009.

       91. “Epidemiology of Travel-Related Injury & Death” for 11th Conference of the International Society of Travel Medicine,
           Budapest, Hungary, May 26, 2009.

       92. “Reducing Firearm Injuries and Death: A Public Health Approach” for Trauma Conference, Kent State University,
           Canton, OH, November 7, 2008.

       93. “Guns and Cars: A Tale of Product Design Flaws Linked with Death & Injury” for Trauma Conference Kent State
           University, Canton, OH, November 7, 2008.

       94. “Gun Violence” for Grand Rounds, Mount Sinai Hospital, Milwaukee, WI, October 17, 2008.
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                                                                             Stephen W. Hargarten, MD, MPH
       95. “Town Hall Meeting – Status of Impaired Driving in Wisconsin” for MADD, NHTSA, DOT in Middleton, WI, August
           14, 2008.

       96. “Guns and Cars: Stories for preventing car and gun related deaths” for Grand Rounds, Columbia-St. Mary’s,
           Milwaukee, WI, June 13, 2008.

       97. “Panel on Urban Studies Programs” for 2nd Annual Henry W. Maier State of Milwaukee Summit, Milwaukee, WI,
           April 30, 2008.

       98. “The Public Health Approach to Reduce Alcohol Related Injury and Death” Noon Conference for
           Gundersen Lutheran Trauma & Emergency Center, LaCrosse, WI, November 1, 2007

       99. “From the Bedside to the Community and Beyond: The Physician’s Role in Injury Prevention and Control”, Grand
           Rounds, Philadelphia, PA, October 23, 2007.

       100. “Public Health Approach to Reducing the Burden of Suicide” Grand Rounds for Psychiatry, St. Joseph’s Outpatient
            Conference Center, Milwaukee, WI, June 20, 2007.

       101. “Violence is a Disease”, 2007 Global Health and Social Justice Conference, University of Wisconsin-Milwaukee
            College of Nursing, Milwaukee, WI, March 29, 2007.

       102. “Burden of Injury in Wisconsin: Spelling It Out”, Injury Summit, Holiday Inn, Neenah, WI, October 25, 2006.

       103. “Injury Policy Forum”, EMSC Policy Forum, Monona Terrace, Madison, WI, March 21, 2006.

       104. “To Be or Not to Be: Case Studies in Injury Control and Advocacy”, Seminar on Gun Violence, University of
            Wisconsin, Population Health Institute, Madison, WI, December, 2005.

       105. “Emergency Medicine Leadership”, Yale University, Section of Emergency Medicine, April 2005

       106. “Emergency Medicine Leadership,” Brown University, Department of Emergency Medicine, March 2005

       107. “Emergency Medicine Leadership”, University of Alabama-Birmingham, Department of Emergency Medicine,
            November 2002

       108. “Medical Examiner and Coroner Data for Public Health: A Model Linked System”, Institute of Medicine Workshop
            on the Medicolegal Death Investigation System, Washington, DC, March 23-25, 2003.

       109. “The National Violent Death Reporting System: It’s About Time We’re Connecting-the-Dots for Injury Prevention”,
            University of North Carolina Injury Prevention Research Center Seminar, Chapel Hill, NC, March 17-19, 2003.

       110. “Emergency Medicine Leadership in the 21st Century: Guns and Cars, Acute Care, and Injury Prevention”,
            University of North Carolina Injury Prevention Research Center Seminar, Chapel Hill, NC, March 17-19, 2003.

       111. “Medical Injury”, Grand Rounds at the University of Western Ontario, Ontario, Canada, January 24, 2003.

       112. “Planning for a State Violent Death Reporting System”, National Violent Death Reporting System Implementation
            Training, Atlanta, Georgia, January 16-17, 2003.

       113. “Advocacy in Emergency Medicine”, Grand Rounds at the University of Alabama Birmingham, Birmingham, A.,
            November 20, 2002.

       114. “Causes of Gun Crime”, American Society of Criminology Conference, Chicago, IL, November 12, 2002.
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                                    3014
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                                                                         Stephen W. Hargarten, MD, MPH
       115. “Nonfatal Gun Injuries – What We Know, Don’t Know and Need to Know”, The 7th HELP Network Conference,
            Chicago, IL, October 27, 2002.

       116. “Youths and Guns”, Gun Violence Workshop, The National Academies National Research Council Institute of
            Medicine, Washington, D.C., September 16, 2002.

       117. “Injury Prevention: Creating an Agenda for Action”, Springfield, Illinois, July 31, 2002.

       118. “The Public Health Approach to reducing firearm related deaths”, Coalition Against Gun Violence, Cleveland, Ohio,
            June 6, 2002.

       119. “The Physician Scientist as Advocate”, The Spivey Lecture, Society for Academic Emergency Medicine Annual
            Meeting, St. Louis, MO, May 16, 2002.

       120. “Firearm suicides: A two-state comparison”, 6th World Conference on Injury Prevention and Control, Montreal,
            Quebec, Canada, May 12-15, 2002.

       121. “Travel related injury prevention for students”, NAFSA Conference, University of Wisconsin Milwaukee, Milwaukee,
            WI, April 18, 2002.

       122. “Suicide among Wisconsin farmers”, American Association of Suicidology, 35th Annual Conference, Bethesda, MD,
            April 10-13, 2002.

       123. “The relationship between health providers and law enforcement: Information sharing and lessons learned in the
            Firearm Injury Reporting System”, 30th Annual Conference on Value Inquiry – Values in Health Care: Past, Present
            and Future, Milwaukee, WI, April 4-6, 2002.

       124. “The Public Health Approach to Reducing Firearm Injuries”, 13th Annual Trauma Symposium for Coastal Area
            Health Education Center, Wilmington, NC, February 9, 2002.

       125. “Emergency Medicine and Advocacy”, Department of Emergency Medicine Grand Rounds at Johns Hopkins
            School of Medicine, Baltimore, MD, January 31, 2002.

       126. “Gun Violence and Gun Policy Conference”, Brookings Institute, Washington, D.C., January 25, 2002.

       127. “Emergency Medicine Advocacy: A Model Discussion”, Northwestern University, Department of Emergency
            Medicine, December 2001.

       128. “Emergency Medicine Advocacy”, Northwestern University, Chicago, Illinois, December 19, 2001.

       129. “Firearm suicide in Wisconsin 1999: Urban/rural and age-related patterns”, Mobilizing for a Safe USA, Atlanta, GA,
            December 3-5, 2001.

       130. “Improve Research Information and Data on Firearms”, National Academy of Science Committee, 2nd Meeting,
            Irvine, CA, November 15, 2001.

       131. “The Public Health Approach to Reducing Firearm Injuries”, AMA Key Stakeholders Meeting, Oak Brook, IL,
            November, 2001.

       132. “Linking the gun with homicides and suicides: A model analysis of the who, when, and where of the gun’s first
            purchase”, American Society of Criminology, Atlanta, GA, November 6-10, 2001.

       133. “Firearm Injury Data Systems”, AMA Science Reporters Conference, San Francisco, California, October 30, 2001.
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                                                                          Stephen W. Hargarten, MD, MPH
       134. “Firearm suicide: The Wisconsin experience, 1999”, American Public Health Association, 129th Annual Meeting,
            Atlanta, Georgia, October 20-24, 2001.

       135. “Relationship of household gun ownership to firearm suicide rates in Wisconsin communities”, American Public
            Health Association, 129th Annual Meeting, Atlanta, Georgia, October 20-24, 2001.

       136. “Firearm Homicide in Milwaukee and the Progress of the Firearm Injury Reporting System”, The Milwaukee Fire
            and Police Commission, Milwaukee, Wisconsin, October 18, 2001.

       137. “Identification and Classification of Homicide in Wisconsin 2000: A Comparison of Two Data Systems”, Medical
            College of Wisconsin 2001 Student Research Forum, Milwaukee, Wisconsin, October 4, 2001.

       138. “Demonstrating the Linkage of Data Sets from the Firearm Injury Center and the City of Milwaukee Using
            Geographic Information System Analysis” Medical College of Wisconsin 2001 Student Research Forum,
            Milwaukee, Wisconsin, October 4, 2001.

       139. “The Public Health Challenge and the Model Firearm Injury Reporting System”, Plenary Presentation, Aiming for
            Prevention: International Medical Conference on Small Arms, Helsinki, Finland, September 28-30, 2001.

       140. “Highlights of the Firearm Injury Reporting System’s first statewide report: Investigating regional differences”, 13th
            Annual Milwaukee County Medical Examiners Office Forensic Science Seminar, Milwaukee, Wisconsin,
            September, 2001.

       141. “What We Don’t Know is Killing Us: The Need for Better Data about Firearm Injuries and Deaths”, National
            Academy of Sciences Committee on Law and Justice, Washington, DC, August 30, 2001.

       142. “Injury Control of Gun Shot Wounds”, Advances in Trauma, American College of Surgeons, Kansas City, Missouri,
            December 8, 2000.

       143. “Trauma Care in the State of Wisconsin”, 2000 Annual Meeting of the Wisconsin Chapter of the American College
            of Surgeons, Waukesha, Wisconsin, December 2, 2000.

       144. “Travel Health: Clinical Issues for Occupational and Environmental Health Providers”, American Occupational
            Health Conference, American College of Occupational and Environmental Medicine, Philadelphia, Pennsylvania,
            May 18, 2000.

       145. “To Be or Not to Be a Physician Scientist Advocate: That is the Question”, Emergency Medicine Spring Research
            Forum, University of Michigan, Ann Arbor, May 2000.

       146. “US Citizen Deaths Abroad: What we know, don’t know, and need to know to prevent them”, Occupational Health
            Conference, Philadelphia, Pennsylvania, May 14, 2000.

       147. “Firearms: The Need for Better Information and Safer Guns”, Commission for the Prevention of Youth Violence,
            American Medical Association, Houston Texas, May 9, 2000.

       148. “Understanding State-of-the-Art Treatment & Prevention of Firearm Injuries”, National Conference for Health Care
            Professionals, Froedtert Memorial Lutheran Hospital, Milwaukee, WI, December 10-11, 1999.

       149. “Better Data, Safer Guns Equals Fewer Injuries”, Gun Violence Forum, Entertainment Industries Council, Los
            Angeles, California, November 3-4, 1999.

       150. “Bridging the Gap between Information and Policy: A Public Health Approach to Reducing Firearm Injuries”,
            Conference of Wisconsin Network for Health Policy Research, University of Wisconsin School of Medicine,
            Madison, WI, November 4-5, 1999.
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 228 of 926 PageID:
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                                                                              Stephen W. Hargarten, MD, MPH
       151. “Counting Firearm-related Deaths: A case study for better surveillance and knowledge through data linkage,”
            Emergency Medicine New England Conference, Newport, Rhode Island, August 11-13, 1999.

       152. “Guns, Cars & Death: A View from a Room,” Department of Emergency Medicine and Division of Traumatology
            and Surgical Critical Care Grand Rounds, University of Pennsylvania Medical Center, Philadelphia, PA, July 9,
            1999.

       153. “The Scientist as Policy Advocate: Clarifying the Issues and Framing the Data for Effective Policy Development and
            Debate,” 1999 Society for Academic Emergency Medicine Annual Meeting, Boston, MA, May 23, 1999.

       154. “Firearm Injury Surveillance”, The 5th Annual Citizens’ Conference to Stop Gun Violence, The Educational Fund to
            End Handgun Violence, Washington DC, November 13-14, 1998.

       155. “Public Health Strategies to Address Family Violence”, National Advisory Council on Family Violence, Rosemont,
            IL, April 4, 1998.

       156. “Rapid Deceleration Injuries Involving Recreational Vehicles”, Flight for Life’s Annual Emergency Services
            Conference: Trends and Issues 1998, Flight for Life, Milwaukee, WI, April 4, 1998.

       157. “Rapid Deceleration Injuries Involving Recreational Vehicles”, Flight for Life’s Annual Emergency Services
            Conference: Trends and Issues 1998, Flight for Life, Milwaukee, WI, March 31, 1998.

       158. “Taking Aim at Cars and Guns”, Skills Fair 1998, Shared Governance Development Council, Froedtert Memorial
            Lutheran Hospital, Milwaukee, WI, March 26, 1998.

       159. “Preventing Firearm Injury: Protecting Our Children”, Firearm Injury Prevention Training Conference, American
            Academy of Pediatrics, Chicago, IL, March 14-15, 1998.

       160. “Scope and Nature of Firearm Injury Research: Issues and Challenges” Injury Prevention Research Center, The
            University of Iowa, Iowa City, IO, February 1998.

       161. “Mechanism of Injury”, Flight for Life’s Trauma Nurse Specialist Course, Flight for Life, Milwaukee, WI, February 4,
            1998.

       162. “Scope and Nature of Firearm Injury Research: Issues and Challenges”, University of Iowa Injury Prevention
            Research Center, Iowa City, IO, February 3, 1998.

       163. “Adult Option of the Master’s Program in Nursing” Medical College of Wisconsin, Fall Semester, Marquette
            University College of Nursing, Milwaukee, WI, August 24 - December 6, 1997.

       164. National HELP Conference -Tracking the Firearm Epidemic National Conference, Washington DC, April 1997.

       165. Lafollette Institute-Public Health Model for Reducing Firearm Injuries and Deaths, Madison, WI, April 1997.

       166. “Futures in Emergency Medicine Research Conference, Macy Foundation, Washington D.C., March 1997 (invited
            as representing the Association of Academic Chairs in Emergency Medicine)

       167. “Emergency/Trauma Medicine.” Sheboygan Memorial Medical Center, Knights of Columbus Center, Sheboygan,
            WI, February 18, 1997.

       168. “Firearm Injury Prevention: A Model Strategy.” Medical College of Wisconsin, Winter Refresher Course for Family
            Physicians, Pfister Hotel, Milwaukee, WI, January 30, 1997.

       169. The Johns Hopkins School of Public Health and Hygiene, Gun Policy and Research Center, Baltimore, MD
            December 3-6, 1996.
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                                                                            Stephen W. Hargarten, MD, MPH

       170. “The Nature and Scope of Firearm Injury Research: Issues and Challenges.” Visiting Professor, The Johns
            Hopkins School of Public Health and Hygiene, Gun Policy and Research Center, Baltimore, MD, December 3-6,
            1996.

       171. “The Milwaukee County Firearm Injury Reporting System.” Healthy People, National Health Promotion and
            Disease Prevention Objectives, Violent and Abusive Behavior - 1996 Progress Review, Washington, DC,
            November 26, 1996.

       172. “Violence Prevention.” Tenth Annual Summer Trauma Symposium. Paper Valley Hotel & Conference Center,
            Appleton, WI, June 1996.

       173. “Teenage Violence.” Tenth Annual Summer Trauma Symposium. Paper Valley Hotel & Conference Center,
            Appleton, WI, June 1996.

       174. Injury Prevention and Control for Emergency Medicine, Department of Emergency Medicine, University of
            Pittsburgh Medical Center, Pittsburgh, PA, May 1996.

       175. ”Firearm Injury Surveillance System.” 1996 Attorney General’s Law Enforcement Conference, Stevens Point, WI,
            May 1996.

       176. ”The Milwaukee County Firearm Injury Reporting System.” Visiting Professor, Department of Emergency Medicine,
            University of Pittsburgh Medical Center, Pittsburgh, PA, May 1996.

       177. “Tracking the Epidemic.” Third Annual HELP Network Conference: Promoting Public Policy for the Public’s Health,
            guest lecturer, Washington, DC, November 1995.

       178. “Injury and Violence Prevention: Confronting the Crisis.” 69th National School Health Conference of the American
            School Health Association, Milwaukee, WI, October 1995.

       179. ”Guns and Violence: The Tragic Cost.” National Violence Prevention Conference, University of Iowa, Des Moines,
            IA, October 1995.

       180. “Monitoring Firearm Injuries.” National Violence Prevention Conference, University of Iowa, Des Moines, IA,
            October 1995.

       181. “Rural Trauma/Rural Violence.” Day of Country Medicine Conference, Howard Young Medical Center, Minocqua,
            WI, September 1995.

       182. “Firearm Violence and Gun Control in America.” Panel participant at the Wisconsin Surgical Society meeting, Lake
            Geneva, WI, September 1995.

       183. “Milwaukee County Firearm Injury Reporting System: A Model for Injury Prevention.” State of Wisconsin,
            Department of Health and Social Services, Milwaukee Managed Care Forum, Milwaukee, WI, August 1995.

       184. “Firearm Injury Prevention for Primary Care Physicians.” Family Practice Grand Rounds, Waukesha Memorial
            Hospital, August 1995.

       185. “Strategies to Reduce Firearm Deaths.” Wisconsin Council of Administrators of Special Services, Ltd., Madison,
            WI, May 1995.

       186. “Violence Prevention.” State Medical Society of Wisconsin Alliance, 66th Annual Convention, Milwaukee, WI, April
            1995.
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                                                                            Stephen W. Hargarten, MD, MPH
       187. “Emergency Medicine Research: A View from the Riverbank.” Faculty Development Seminar Series, University of
            Illinois at Chicago, Department of Emergency Medicine, Chicago, IL, March 1995.

       188. “Committee on Transportation and Infrastructure Subcommittee on Surface Transportation.” Advocates for
            Highway and Auto Safety, Washington, DC, March 1995.

       189. ”Firearm Injuries and Deaths.” Department of Psychiatry, University of Wisconsin - Madison Medical School,
            Milwaukee Campus, WI, March 1995.

       190. “Firearms, Violence and Prevention.” Public Issues Committee, Family Service of Milwaukee, Milwaukee, WI,
            March 1995.

       191. “Injury Control.” Grand rounds, Department of Emergency Medicine, William Beaumont Hospital, Department of
            Emergency Medicine, Royal Oak, MI, March 1995.

       192. “Understanding How to Access Health Care Delivery Systems II Conference.” Milwaukee Regional Medical
            Complex, Milwaukee, WI, March 1995.

       193. “Proposal to Establish a Reporting System for Firearm Injuries.” Public Issues Consortium, 12th Annual Legislative
            Breakfast, Milwaukee, WI, January 1995.

       194. “Firearm Violence: A Public Health Issue.” Marquette University College of Nursing, Milwaukee, WI, January 1995.

       195. “Handgun Violence as a Public Health Problem in our Community.” Social Development Commission, November
            1994.

       196. “Integrated Firearm Injury Reporting System: A Model for Communities.” Second Annual HELP Conference,
            Chicago, IL, October 1994.

       197. “Violence and Firearms: Reshaping the Discussion and Restructuring the Prevention Strategies.” Forum on Youth
            Violence Conference, Wisconsin AODA Education Network, Stevens Point, WI, October 1994.

       198. “Injury Control and Emergency Medicine.” American College of Emergency Physicians Scientific Assembly,
            Orlando, Florida, September 1994.

       199. “Trauma Systems.” American College of Emergency Physicians Scientific Assembly, Orlando, Florida, September
            1994.

       200. “Firearm Injury and Death Problems in the United States, Wisconsin, and Milwaukee.” Wisconsin Coroners &
            Medical Examiners Association, Oshkosh, WI, June 1994.

       201. “Firearm Injuries and Deaths: Reshaping the Discussion.” Department of Emergency Medicine, University of
            Missouri-Kansas City School of Medicine, Kansas City, MO, June 1994.

       202. “Injury Prevention and Control and Emergency Medicine.” Department of Emergency Medicine, University of
            Missouri-Kansas City School of Medicine, Kansas City, MO, June 1994.

       203. “The Science of Injury Prevention: A Framework for Violence Prevention.” The University of Wisconsin -
            Milwaukee, School of Nursing, Continuing Education and Outreach Program, Milwaukee, WI, March 1994.

       204. "Firearm Injuries and Deaths: Reshaping the Discussion." Columbia Hospital Grand Rounds, Milwaukee, WI,
            February 1994.

       205. “Injury Patterns of Motor Vehicle Crashes." Wisconsin EMT Association Annual Conference, Milwaukee, WI,
            January 1994.
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                                    3019
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                                                                               Stephen W. Hargarten, MD, MPH

       206. "Firearm Injuries and Deaths: Reshaping the Discussion." Milwaukee Forum, Milwaukee, WI, November 1993.

       207. "Alcohol and Medicine: An Emergency Medicine Perspective." Association of American Medical Colleges,
            Washington, DC, November 1993.

       208. "Handguns: Taking Aim at the Problem." Emergency Nurses Association Annual Meeting, LaCrosse, WI,
            September 1993.

       209. “Violence and the Elderly." Wisconsin Chapter American College of Emergency Physicians Annual Conference,
            LaCrosse, WI, September 1993.

       210. "Advocacy in Public Health Workshop." Wisconsin Public Health Association Annual Conference, Appleton, WI,
            June 1993.

       211. "State of the Art Session on Injury Control." Society for Academic Emergency Medicine, San Francisco, CA, May
            1993.

       212. "Injury Prevention: A Crucial Aspect of Travel Medicine." Third Biennial International Travel Medicine Society
            Meeting. Paris, France, April 26, 1993.

       213. "Firearms Deaths and Injuries." Emergency Nurses Association - Milwaukee Chapter, Milwaukee, WI, January
            1993.

       214. "Facial Injuries: Epidemiology, Acute Care, and Prevention." Wisconsin Emergency Medical Technician
            Association Annual Meeting, Milwaukee, WI, January 1993.

       215. "Boating Injuries and Deaths: Challenges for Emergency Medical Services." American Trauma Society - Wisconsin
            Division, Stevens Point, WI, December 1992.

       216. “Firearm Injuries: Public Policy Issues, Data Sources for Firearms Injuries.” American Public Health Association,
            Washington, DC, November 1992.

       217. “Data Sources for Firearms Injuries: Problems and Opportunities.” Milwaukee Academy of Medicine, Milwaukee,
            WI, November 1992.

       218. "EMTs and Injury Prevention: It's in our job description." American Trauma Society - Wisconsin Division,
            Milwaukee, WI, December 1991.

       219. "Firearms and Children." Wisconsin Nurse Practitioners Conference, Madison, WI, November 1991.

       220. "Drownings: Acute care and prevention." American Red Cross - Milwaukee Chapter, Milwaukee, WI, January
            1991.

       221. "Fire-safe cigarettes." Illinois Public Health Association, Chicago, IL, May 1990.

       222. "Travel-related mortality." Travel Medicine Update Conference, Seattle, WA, May 1990.

       223. "Travel-related illness - Where have you been lately?" Wisconsin Chapter, American College of Emergency
            Physicians, October 12, 1989.

       224. "Travel-related mortality." Travel Medicine Conference, Seattle, WA, May 1988.

       225. "Motor Vehicle Crashes and Seat Belts." Beloit Memorial Hospital, May 1987.
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                                                                                Stephen W. Hargarten, MD, MPH


    Exhibits:

                1.      Producer: Photograph Exhibit - "Portraits of the Silent Epidemic" - Head Injury in Wisconsin, 1988.


    Medical College Committees:

                Chair, Global Health Advisory Council, 2014-2019

                Chair, Milwaukee Regional Medical Center Strategic Planning for Global Health, 2014- 2015

                Chair, Global Health Department Liaisons, 2011- present

                Board Member, Medical College Physicians, 2000- 2017

                MCP Finance Committee, 2005-2007

                Froedtert Credential Committee, 2005-2007

                Chair, Global Health Program Advisory Council, 2010-2011

                Member Department of Medicine Search Committee, Medical College of Wisconsin, 2000

                Froedtert & Medical College Joint Management Cabinet, 1997-2000

                Faculty Career Development Advisory Committee, Medical College of Wisconsin, 1998 - 2003

                Chair, Ad Hoc Committee for M3/M4 Curriculum, 1998

                Intramural Review Committee, Department of Medicine, Medical College of Wisconsin, 1999

                Intramural Review Committee, Department of Family Medicine, Medical College of
                 Wisconsin, 1997

                Clinical Practice Group Committee, Medical College of Wisconsin, 1995 - 2000

                Curriculum and Evaluation Committee, Medical College of Wisconsin, 1998 – 2000

                Executive Committee of the Faculty, Medical College of Wisconsin, 1994 – present

                Nominating Committee - Medical College of Wisconsin, 1992 – 1995


    Medical College Teaching:

    1.          MCW Faculty’s Efforts in Low- and Middle-Income Countries” PhD in Public and Community Health
                Seminar, January 10, 2018

    2.          “MCW’s Impact on the World: From Milwaukee, Wisconsin to Around the Globe”, Asthma/Allergy, and
                Clinical Immunology Grand Rounds, Children’s Hospital of Wisconsin, September 22, 2017
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 233 of 926 PageID:
                                    3021
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                                                                            Stephen W. Hargarten, MD, MPH
    3.    “Global Health Electives: What to Consider with International Travel Health and Wellness” Global Health
          Elective Preparation, September 12, 2017

    4.    “MCW’s Global Health Efforts and Opportunities for Pharmacy” School of Pharmacy, January 16, 2017

    5.    “Global Health Impact” Department of Pediatrics Division of Adolescent Medicine, January 20, 2017

    6.    “Local/Global Lens: Exploring the Impact of Medical Training Experiences in Low-Resource Settings” Pediatrics
          Grand Rounds, December 2, 2016

    7.    “The State of MCW Global Health and Opportunities for Neurosurgery” Neurosurgery Grand Rounds,
          December 2, 2016

    8.    “Global and Local Global Health” Neurology Grand Rounds, December 2, 2016

    9.    “Developing a Medical Elective in Nicaragua” Orthopedic Grand Rounds, November 30, 2016

    10.   “Global Health at MCW” Faculty Council Meeting, October 21, 2015

    11.   “Supporting Faculty’s Global Health Efforts” Administrators Monthly Meeting, September 3, 2015

    12.   “Minimizing GME Global Health Rotation Risk” Graduate Medical Education Committee, April 20, 2015

    13.   “Injury Prevention and Management in Resource Limited Settings” Pediatrics Noon Conference, February 18,
          2015

    14.   “Insight and Direction Global Health Nursing”, Froedtert Global Health Nursing Committee, November 26, 2014

    15.   “Global Health Definitions, Implications”, Physical Medicine and Rehabilitation Grand Rounds, December 5,
          2014

    16.   “Establishing Partnerships to Promote Global Health” PhD in Public and Community Health
          Global Health Seminar, September 29, 2014

    17.   “Promoting Diversity and Inclusion with Global Health Efforts” Diversity and Inclusion Committee, January 28,
          2014

    18.   “Growing a campus-wide Global Health Effort” Froedtert Hospital Operations Committee, Milwaukee,
          Wisconsin, January 22, 2014

    19.   “Growing a campus-wide Global Health Effort” Children’s Hospital and Health System Leadership, Milwaukee,
          Wisconsin December 10, 2013

    20.   “Global Health Program and Faculty Partnerships” Women’s Faculty Council, November 25, 2013

    21.   “Growing Global Health Opportunities” Neurology Faculty Meeting, October 10, 2013

    22.   “M4 Global Health Electives for MCW Students” Global Health Pathway Core Curriculum, April 25, 2013

    23.   “Move toward global health care, what new skills or knowledge will the physicians of the future need to master”
          Docere Panel, January 8, 2013

    24.   “Partnering with Faculty to Grow Global Health” Department of Ophthalmology, November 25, 2012
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                                    3022
                                                                                                        - 29 -
                                                                             Stephen W. Hargarten, MD, MPH
    25.   “Global Burden of Injury,” The Clinical and Translational Science Institute Seminar, September 20, 2012

    26.   “Ethical Considerations of Defining Global Health” Bioethics Summer Course Poverty, Justice and Global
          Health, June 6, 2012

    27.   “MCW’s Global Health Program: An Exciting New Development” Pediatric Surgery Grand Rounds, May 4,
          2012

    28.   “Grand Rounds in Injury for the Master Clinician Pathway” M1, M2 & M3 students, Medical College of
          Wisconsin, March 29, 2012.

    29.   “What is the Definition of Global Health” PhD in Public and Community Health Seminar Series, February 14,
          2012

    30.   “Global Burden of Injury,” Global Health Pathway Program, January 5, 2012

    31.   “Injury Prevention and Management in Resource Limited Settings” Pediatrics Noon Conference, November
          30, 2011

    32.   “Growing MCW’s Global Health Program and Opportunities to Engage” Medical College of Wisconsin Global
          Health Organization, Student Interest Group, November 28, 2011

    33.   “Faculty’s Global Health Efforts” Global Health Pathway Program, May 13, 2019. “Wound Ballistics”,
          Emergency Medicine Grand Rounds, Medical College of Wisconsin and Froedtert Hospital, March 10, 2011.

    34.   Health Policy and Physician Advocacy” M4 Selective, Family Medicine, Medical College of Wisconsin,
          February 8, 2011

    35.   “Alcohol and and Youth: Big Problem with a Hospital Based Intervention”, Pediatric Trauma Grand Rounds,
          Children’s Hospital and Health System, May 12, 2010

    36.   “Reducing the Public Health Burden of Suicide: A View from the Room” for Department of Psychiatry and
          Behavioral Medicine Grand Rounds, Wheaton Franciscan Healthcare, Wauwatosa, WI, March 18, 2009

    37.   “Alcohol Related Illness in the ED”, Emergency Medicine Grand Rounds Lecture, Medical College of
          Wisconsin and Froedtert Hospital, December, 2008

    38.   “Department Administrator Update”, Emergency Medicine Grand Rounds Lecture, Medical College of
          Wisconsin and Froedtert Hospital, October, 2008

    39.   “Firearm Related Injury: Myths, Physiology & Epidemiology”, Pediatric Trauma Grand Rounds, Children’s
          Hospital of Wisconsin, December 4, 2007

    40.   “Gunshot Wounds: An Integrated Approach to a Biosocial Disease”, Integrated Grand Rounds, Medical
          College of Wisconsin, November 2, 2007

    41.   “Wound Ballistics”, Emergency Medicine Grand Rounds Lecture, Medical College of Wisconsin and
          Froedtert Hospital, July, 2008

    42.   “Injury Prevention”, Emergency Medicine Grand Rounds Lecture, Medical College of Wisconsin and
          Froedtert Hospital, July 5, 2007

    43.   “Emergency Medicine Update”, Grand Rounds Lecture, Medical College of Wisconsin and Froedtert Hospital,
          July 13, 2006
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                                    3023
                                                                                                   - 30 -
                                                                         Stephen W. Hargarten, MD, MPH
    44.   “Firearm suicide: The Wisconsin experience 2000”, 10th Annual Emergency Medicine Research Forum, Medical
          College of Wisconsin, April 16, 2002

    45.   “Comprehensive Injury Center at MCW”, EPI Seminar Series, Medical College of Wisconsin, October 18, 2001

    46.   “Advanced Trauma Life Support”, Instructor, Medical College of Wisconsin and Froedtert Hospital, June 21,
          2000

    47.   “Acute Trauma Care & Prevention”, AIM Program, Medical College of Wisconsin, Milwaukee, WI, August, 1996,
          1997, 1998, 1999

    48.   “Epidemiology of Unintentional and Intentional Injuries”, Course Director, Medical Student Lecture, Medical
          College of Wisconsin Graduate School, Milwaukee, WI, February-April 1998

    49.   “Bags, Belts, and Bruises”, Emergency Medicine Grand Rounds, Medical College of Wisconsin, Milwaukee, WI,
          February 13, 1997

    50.   “Mechanism of Injury”, Trauma Nurse Specialist Course, Flight for Life, Milwaukee Regional Medical Center,
          Milwaukee, WI, January 29, 1997

    51.   “Firearm Injuries and Deaths,” Department of Epidemiology, medical student lecture, Medical College of
          Wisconsin, Milwaukee, WI, 1995, 1996, 1997, 1998, 1999

    52.   “Firearm Injury Epidemiology,” Epidemiology seminar of the Health Policy Institute, Medical College of
          Wisconsin, Milwaukee, WI, September 1996

    53.   “Propeller Injuries,” Flight for Life Lecture, Medical College of Wisconsin, Milwaukee, WI, March 1996

    54.   “Mechanisms of Injury”, Trauma Nurse Specialist Course. Flight for Life, Milwaukee Regional Medical Center,
          Milwaukee, WI, February 1996

    55.   “Scope and Nature of the Firearm Injury and Death Problem”, Fourth Annual Firearms Seminar, Froedtert
          Memorial Lutheran Hospital, Milwaukee, WI, January 1996

    56.   “Violence as a Public Health Issue,” First Annual Forum - The Changing Urban Health Care Environment:
          Ethical Implications, Sponsored by the Center for Ethics Studies, Marquette University, and the Center for the
          Study of Bioethics at the Medical College of Wisconsin, November 1995

    57.   “Issues & Challenges of Gunshot Wound Research”, J. (Deke) Farrington, MD, Trauma Visiting
          Professorship presented by the Section of Trauma & Emergency Surgery of the Medical College of
          Wisconsin, the American Trauma Society (Wisconsin Division), ACS Wisconsin Committee on Trauma,
          and Flight for Life, Milwaukee, WI, November 1995

    58.   “Firearm Injuries and Deaths: Epidemiology and Prevention”, Pathology lecture to medical students. Medical
          College of Wisconsin, Milwaukee, WI, November 1995

    59.   “Patterns of Injury and Opportunities for Prevention.” Milwaukee Regional Medical Complex, Flight for Life,
          Milwaukee, WI, March 1995

    60.   “Trauma Systems: Where Does Emergency Medicine Fit In?”, Emergency Medicine Grand Rounds, Medical
          College of Wisconsin, Milwaukee, WI, December 1994

    61.   “Wound Management.” Medical Student Lecture/Workshop, Medical College of Wisconsin, Milwaukee, WI,
          December 1994, 1995, 1996, 1997, 1998, 1999
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                                                                                                   - 31 -
                                                                        Stephen W. Hargarten, MD, MPH
    62.       “Trauma Systems: Who, What, Where?”, Surgery Grand Rounds, Medical College of Wisconsin, Milwaukee,
              WI, November 1994

    63.       “Firearm Injury and Death Problems in the United States, Wisconsin, and Milwaukee," Medical College of
              Wisconsin (Firearms Seminar) January 1994

    64.       “Injury Prevention.” Department of Pediatrics Research Seminar Series, Medical College of Wisconsin,
              Milwaukee, WI, January 1994

    65.       POMP Students, 1992 – 1994

    66.       Biostatistics & Epidemiology Course, First Year Medical Students at the Medical College of Wisconsin, March
              1993

    67.       Introduction to Clinical Medicine Lecture, Junior Medical Students, July 1993

    68.       Advanced Trauma Life Support Instructor/Shock Lecture, Medical College of Wisconsin, June 1993

    69.       Advanced Cardiac Life Support Instructor/Airway Management, Dysrhythmia Recognition, Medical College of
              Wisconsin, June 1993

    70.       Biostatistics Course Lecturer, Freshman Students, March 1993

    71.       “Alcohol and Health: Emergency Medicine View from the Bottom of the Bottle." Medical College of Wisconsin
              Emergency Medicine Grand Rounds, Milwaukee, WI, December 7, 1993

    72.       “The Epidemiology of Firearm Deaths and Injuries." Surgery Grand Rounds, Froedtert Memorial Lutheran
              Hospital, Milwaukee, WI, July 1993

    73.       “Firearm Deaths and Injuries: Lessons from the 1960s and the Corvair." Health Policy Institute Seminar,
              Medical College of Wisconsin Alumni Center, Milwaukee, WI, June 10, 1993

    74.       “Mechanisms of Injury", Trauma Nurse Specialist Course: Flight for Life, Milwaukee, WI, March 1993

    75.       “Firearms and Children", Children's Hospital of Wisconsin Grand Rounds, Milwaukee, WI, July 1992

    76.       Introduction to Advanced Cardiac, Life Support, Junior Students, July 1992

    77.       Wound Management Course, Junior Students, 1991 – present

    78.       Basic Trauma Life Support Course Director, 1989 1990, 1991, 1991


                                                       BIBLIOGRAPHY
    Original Papers:

          1. Schneider, R.J., Willman, J., & Hargarten, S. (2023) Linking Police and EMS Records: An Approach to
             Strengthen Bicyclist Injury Reporting. Transportation Research Record, 03611981221151073.

          2. Kohlbeck, S. A., Quinn, K., deRoon-Cassini, T., Hargarten, S., Nelson, D., & Cassidy, L. (2022, December
             22). “I’ve Given Up”: Biopsychosocial Factors Preceding Farmer Suicide in Wisconsin. American Journal of
             Orthopsychiatry. Advance online publication. https://dx.doi.org/10.1037/ort0000662
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                                                                            Stephen W. Hargarten, MD, MPH
       3. Timmer-Murillo, S.C., Schroeder, M.E., Trevino, C., Geier, T., Schramm, A.T., Brandolino, A.M., Hargarten,
          S., Holena, D., deMoya, M., Milia, D., & deRoon-Cassini, T.A. (In Press). Comprehensive Framework of
          Firearm Violence Survivor Care: A Review. JAMA Surg.

       4. Girasek, D.C., Hargarten, S. (2022). Prevention of and Emergency Response to Drowning. N Engl J Med
          2022;387:1303-8.

       5. Sakran, J.V., Hargarten. S., Rivara, F.P. (2022). Coordinating a National Approach to Violence Prevention. JAMA,
          Sept. 28, 2022 Volume 328, Number 12

       6. Ehrlich, P.F., Pulcini, C.D., De Souza, H.G. Hall, M., Andrews, A., Zima, B.T., Fein, J.A., Chaudhary, S., Hoffmann,
          J.A., Fleegler, E.W., Jeffires, K.N., Goyal, M.K., Hargarten, S., Alpern, E.R. (2022). Mental Healthcare Following
          Firearm and Motor Vehicle Related Injuries: Differences Impacting Our Treatment Strategies. Ann Surg. 2022 June
          28. doi: 10.1097/SLA.0000000000005557. Online ahead of print.PMID: 35762587

       7. Wyler, B.A., Young, H. M., Hargarten, S.W., Cahill, J.D. (2022) Risk of deaths due to injuries in travellers: A
          systematic review. J Travel Med 29.5 (2022): taac074.

       8. Kohlbeck, S., Schramm, A., deRoon-Cassini, T., Hargarten, S., Quinn, K. (2022). Farmer Suicide in Wisconsin: A
          Qualitative Analysis. Journal of Rural Health. Summer 2022. Volume 38, Issue 3: 546-553.

       9. Barron, A., Hargarten, S., & Webb, T. (2021). Gun violence education in medical school: a call to action. Teaching
          and learning in medicine 34.3 (2022): 295-300.

       10. Dunton, Z. R., Kohlbeck, S. A., Lasarev, M. R., Vear, C. R., & Hargarten, S. W. (2021). The association between
           repealing the 48-hour mandatory waiting period on handgun purchases and suicide rates in Wisconsin. Archives of
           suicide research 26.3 (2022): 1327-1335.

       11. Kohlbeck, S., Levas, M., Hernandez-Meier, J., & Hargarten, S. (2021). Implementing the Cardiff Model for violence
           prevention: using the diffusion of innovation theory to understand facilitators and barriers to implementation. Injury
           Prevention 28.1 (2022): 49-53.

       12. Dunton, Z., Hargarten, S., Kohlbeck, S., & Osman, F. (2021). Homicide: a leading cause of death for black non-
           hispanics in Wisconsin. WMJ (Wisconsin medical journal), 120(S1), S6-S9.

       13. Kohlbeck, S., deRoon-Cassini, T., Levas, M., Hargarten, S., Kostelac, C., Totoratis, M., ... & Smith, J. (2021).
           Multidisciplinary data-sharing for community violence prevention: shifting power to the community. Injury prevention
           27.Suppl 3 (2021): A4-A4.

       14. Martin, I. B., & Hargarten, S. (2020). The antiracist, propatient pledge of emergency medicine. Academic
           Emergency Medicine, 27(9), 932-933.

       15. McDougall, S., Annapureddy, P., Madiraju, P., Fumo, N., & Hargarten, S. (2020, December). Predicting Opioid
           Overdose Readmission and Opioid Use Disorder with Machine Learning. In 2020 IEEE International Conference on
           Big Data (Big Data) (pp. 4892-4901). IEEE.

       16. Hargarten, S. W. (2020). The Bullets He Carried. Western Journal of Emergency Medicine, 21(5), 1036.

       17. Kohlbeck, S, Hargarten, S, Cassidy, L. (2020). Age- and Sex-Specific Risk Factors for Youth Suicide: A
           Mixed Methods Review. WMJ 119.3 (2020): 165-170.

       18. Zosel, A., Kohlbeck, S., Davis, C. S., Meurer, L., & Hargarten, S. (2020). Medical student education for injury
           prevention: closing the gap. Injury Prevention 27.2 (2021): 201-205.
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                                                                          Stephen W. Hargarten, MD, MPH
       19. Kohlbeck, S, Fumo, N, Hargarten, S. (2020). Systems Change for Suicide Prevention Among Adolescents: A Rural
           Wisconsin County Approach. Injury Prevention 27.2 (2021): 131-136.

       20. Bonk C, Weston B, Davis C, Barron A, McCarty O, Hargarten S. (2019). Saving Lives with Tourniquets: A Review
           of Penetrating Injury Medical Examiner Cases. Prehospital Emergency Care:
           DOI: 10.1080/10903127.2019.1676344

       21. Hernandez-Meier J, Akert B, Zheng C, Guse C, Layde P, Hargarten S. (2019). Status of Legal Firearm Possession
           and Violent Deaths: Methods and Protocol for a Retrospective Case-Control Study. Injury Prevention 25.Suppl 1
           (2019): i49-i58.

       22. Hargarten SW, Lerner EB, Gorelick M, Brasel K, deRoon-Cassini T, Kohlbeck S. Gun Violence: A
           Biopsychosocial Disease. Western Journal of Emergency Medicine: Integrating Emergency Care with
           Population Health, 2018; 19(6), 1024-1027.

       23. Levas M, Hernandez-Meier J, Kohlbeck S, Piotrowski N, Hargarten S. Integrating Population Health
           Data on Violence into the Emergency Department: A Feasibility and Implementation Study. Journal
           of Trauma Nursing: May/June 2018 – Vol 25 – Issue 3/149-158

       24. Rajan S, Branas CC, Hargarten S, Allegrante JP: Funding for Gun Violence Research Is Key to the
           Health and Safety of the Nation. American Journal of Public Health, Am J Public Health. 2018
           Feb;108(2):194-195. doi: 10.2105/AJPH.2017.304235. PMID: 29320291

       25. Hargarten, S: Firearm Injury in the United States: Effective Management Must Address Biophysical and
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    ABSTRACTS:

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                  Exhibit B
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                 Crime Lab Tests



                                                August 2021
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                                                                           Entrance Velocity: 292.6 m/s
   Thompson .45 Auto




                                                                           Exit Velocity: 212.4 m/s
              Thompson .45 Auto
                                                                                                                               3041




Lateral view. Bullet travelled right to left.   Bottom view. Bullet travelled right to left.
                                                                                           Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 253 of 926 PageID:
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                                    3042




   Thompson .45 Auto
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                                    3043




                                                                           Entrance Velocity: 826.0 m/s
   5.56 NATO




                                                                           Exit Velocity: 208.8 m/s
              5.56 NATO
                                                                                                                               3044




Lateral view. Bullet travelled right to left.   Bottom view. Bullet travelled right to left.
                                                                                           Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 256 of 926 PageID:
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                                    3045




   5.56 NATO
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                                    3046




                                                                           Entrance Velocity: 796.0 m/s
                                                                           Exit Velocity: 358.8 m/s
   .30-06
              .30-06
                                                                                                                               3047




Lateral view. Bullet travelled right to left.   Bottom view. Bullet travelled right to left.
                                                                                           Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 259 of 926 PageID:
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   .30-06
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   Summary
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                       EXHIBIT “E”




                       EXHIBIT “E”
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


  ASSOCIATION OF NEW JERSEY
  RIFLE
  & PISTOL CLUBS, INC., et al.,

       Plaintiffs,
                                      Civil Action No. 3:18-cv-10507
  v.

  PLATKIN, et al.,

     Defendants.
  CHEESEMAN, et al.,

       Plaintiffs,

  v.                                  Civil Action No. 1:22-cv-4360

  PLATKIN, et al.,

     Defendants.
  ELLMAN, et al.,

       Plaintiffs,

  v.                                  Civil Action No. 3:22-cv-04397

  PLATKIN, et al.,

       Defendants.



                          Expert Report of Louis Klarevas




                                        1
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  I, Louis Klarevas, declare:
          1.       This report is based on my own personal knowledge and experience, and, if I am

  called as a witness, I could and would testify competently to the truth of the matters discussed in

  this report.

                                PROFESSIONAL QUALIFICATIONS
          2.       I am a security policy analyst and, currently, Research Professor at Teachers

  College, Columbia University, in New York. I am also the author of the book Rampage Nation,

  one of the most comprehensive studies on gun massacres in the United States. 1
          3.       I am a political scientist by training, with a B.A. from the University of

  Pennsylvania and a Ph.D. from American University. During the course of my nearly 25-year

  career as an academic, I have served on the faculties of George Washington University, the City

  University of New York, New York University, and the University of Massachusetts. I have also

  served as Defense Analysis Research Fellow at the London School of Economics and Political

  Science and as United States Senior Fulbright Scholar in Security Studies at the University of

  Macedonia.

          4.       My current research examines the nexus between American public safety and gun

  violence, including serving as an investigator in a study funded by the National Institutes of

  Health that focuses on reducing intentional shootings at elementary and secondary schools.

          5.       In addition to having made over 100 media and public-speaking appearances, I

  am the author or co-author of more than 20 scholarly articles and over 70 commentary pieces. In

  2019, my peer-reviewed article on the effectiveness of restrictions on large-capacity magazines

  (LCMs) in reducing high-fatality mass shootings that result in six or more victims killed was

  published in the American Journal of Public Health. 2 This study found that jurisdictions with

          1
              Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016).
          2
            Louis Klarevas, et al., “The Effect of Large-Capacity Magazine Bans on High-Fatality
  Mass Shootings,” 109 American Journal of Public Health 1754 (2019), available at
  https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last accessed February
  11, 2023).
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  LCM bans experienced substantially lower gun massacre incidence and fatality rates when

  compared to jurisdictions not subject to similar bans. Despite being over 3 years old now, this

  study continues to be one of the highest impact studies in academia. It was recently referred to

  as “the perfect gun policy study,” in part due to the study’s “robustness and quality.” 3

         6.      Since January 1, 2019, I have been deposed, testified in court, or testified by

  declaration in the following cases (all in federal court), listed alphabetically by state:

   California – Central District
   Rupp v. Bonta                                                              8:17-cv-00746-JLS-JDE
   California – Eastern District
   Wiese v. Bonta                                                           2:17-cv-00903-WBS-KJN
   California – Southern District
   Duncan v. Bonta                                                              17-cv-1017-BEN-JLB
   Jones v. Bonta                                                                19-cv-01226-L-AHG
   Miller v. Bonta                                                            3:19-cv-1537-BEN-JBS
   Nguyen v. Bonta                                                        3:20-cv-02470-WQH-MDD
   Colorado
   Gates v. Polis                                                          1:22-cv-01866-NYW-SKC
   Connecticut
   National Association for Gun Rights v. Lamont                                   3:22-cv-01118-JBA
   Hawaii
   National Association for Gun Rights v. Lopez                                1:22-cv-404-DKW-RT
   Illinois – Northern District
   Viramontes v. Cook County                                                            1:21-cv-04595
   National Association for Gun Rights v. Highland Park                                   22-cv-04774
   Herrera v. Raoul                                                                     1:23-cv-00532
   Illinois – Southern District
   Harrel v. Raoul*                                                                    23-cv-141-SPM
   Langley v. Kelly*                                                                   23-cv-192-SPM
   Barnett v. Raoul*                                                                   23-cv-209-SPM
   Federal Firearms Licensees of Illinois v. Pritzker*                                 23-cv-215-SPM
   Kenneally v. Raoul                                                                   3:23-cv-50039

         3
            Lori Ann Post and Maryann Mason, “The Perfect Gun Policy Study in a Not So Perfect
  Storm,” 112 American Journal of Public Health 1707 (2022), available at
  https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2022.307120 (last accessed February
  11, 2023). According to Post and Mason, “Klarevas et al. employed a sophisticated modeling
  and research design that was more rigorous than designs used in observational studies. Also,
  they illustrated the analytic steps they took to rule out alternative interpretations and triangulate
  their findings, for example examining both state bans and federal bans. They helped build the
  foundation for future studies while overcoming the limitations of previous research.” Ibid.
                                                     3
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   Massachusetts
   National Association for Gun Rights v. Campbell                               1:22-cv-11431-FDS
   Oregon
   Oregon Firearms Federation v. Kotek†                                            2:22-cv-01815-IM
   Fitz v. Rosenblum†                                                              3:22-cv-01859-IM
   Eyre v. Rosenblum†                                                              3:22-cv-01862-IM
   Azzopardi v. Rosenblum†                                                         3:22-cv-01869-IM
   Washington – Eastern District
   Brumback v. Ferguson                                                         1:22-cv-03093-MKD
   Banta v. Ferguson                                                            2:23-cv-00112-MKD
   Washington – Western District
   Hartford v. Ferguson                                                          3:23-cv-05364-RJB
           *
               Non-Consolidated Cases on the Same Briefing Schedule / †Consolidated Cases
          7.       In 2021, I was retained by the Government of Canada in the following cases

  which involved challenges to Canada’s regulation of certain categories of firearms: Parker and

  K.K.S. Tactical Supplies Ltd. v. Attorney General of Canada, Federal Court, Court File No.: T-

  569-20; Canadian Coalition for Firearm Rights, et al. v. Attorney General of Canada, Federal

  Court, Court File No.: T-577-20; Hipwell v. Attorney General of Canada, Federal Court, Court

  File No.: T-581-20; Doherty, et al. v. Attorney General of Canada, Federal Court, Court File

  No.: T-677-20; Generoux, et al. v. Attorney General of Canada, Federal Court, Court File No.:

  T-735-20; and Eichenberg, et al. v. Attorney General of Canada, Federal Court, Court File No.:

  T-905-20. I testified under oath in a consolidated court proceeding involving all six cases in the

  Federal Court of Canada.

          8.       I have also submitted declarations in the following state court cases: People of

  Colorado v. Sgaggio, District Court, El Paso County, Colorado, 2022M005894 (Criminal); and

  Guardian Arms v. Inslee, Superior Court, Grant County, Washington, 23-2-00377-13 (Civil).

          9.       A true and correct copy of my current curriculum vitae is attached as Exhibit A to

  this report.
          10.      I am being compensated at a rate of $480/hour for my work on this report,

  $600/hour for any testimony in connection with this matter, and $120/hour for travel required to

  provide testimony.

                                                    4
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                                               OPINIONS
          11.     It is my professional opinion, based upon my analysis of the data reviewed herein,

  that (1) in terms of individual acts of intentional criminal violence, mass shootings presently

  pose the deadliest threat to the safety of American society in the post-9/11 era, and the problem

  is growing nationwide; (2) high-fatality mass shootings involving assault weapons and/or LCMs,

  on average, have resulted in a substantially larger loss of life than similar incidents that did not

  involve assault weapons and/or LCMs; (3) mass shootings resulting in double-digit fatalities are

  relatively modern phenomena in American history, often related to the use of assault weapons

  and LCMs; (4) assault weapons are used by private citizens with a far greater frequency to

  perpetrate mass shootings than to stop mass shootings; (5) handguns, as opposed to rifles (let

  alone rifles that qualify as assault weapons), are the most commonly owned firearms in the

  United States; and (6) states that restrict both assault weapons and LCMs experience fewer high-

  fatality mass shooting incidents and fatalities, per capita, than states that do not restrict assault

  weapons and LCMs. Based on these findings, it is my opinion that restrictions on assault

  weapons and LCMs have the potential to save lives by reducing the frequency and lethality of

  gun massacres. 4




          4
            For purposes of this report, mass shootings are defined in a manner consistent with my
  book Rampage Nation, supra note 1 (see Excerpt Attached as Exhibit B). “Mass shootings” are
  shootings resulting in four or more victims being shot (fatally or non-fatally), regardless of
  location or underlying motive. As a subset of mass shootings, “high-fatality mass shootings”
  (also referred to as “gun massacres”) are defined as shootings resulting in 6 or more victims
  being shot to death, regardless of location or underlying motive. The data on high-fatality mass
  shootings is from a data set that I maintain and continuously update. This data set is reproduced
  in Exhibit C. Unless stated otherwise, all of the data used to perform original analyses and to
  construct tables and figures in Sections I, II, and VI of this report are drawn from Exhibit C.
                                                     5
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  I.       MASS SHOOTINGS ARE A GROWING THREAT TO PUBLIC SAFETY

           12.      Examining mass-casualty acts of violence in the United States since 1991 points

  to two disturbing patterns. 5 First, as demonstrated in Table 1, the deadliest individual acts of

  intentional criminal violence in the United States since the terrorist attack of September 11,

  2001, have all been mass shootings. Second, as displayed in Figures 1-2, the problem of high-

  fatality mass shooting violence is on the rise. To put the increase over the last three decades into

  perspective, between the 1990s and the 2010s, the average population of the United States

  increased approximately 20%. However, when the number of people killed in high-fatality mass

  shootings in the 1990s is compared to the number killed in such incidents in the 2010s, it reflects

  an increase of 260%. In other words, the rise in gun massacre violence has far outpaced the rise

  in national population—by a factor of 13. The obvious takeaway from these patterns and trends

  is that mass shootings pose a significant—and growing—threat to American public safety.


  Table 1. The Deadliest Acts of Intentional Criminal Violence in the U.S. since 9/11

           Deaths             Date                       Location                Type of Violence
       1     60          October 1, 2017              Las Vegas, NV               Mass Shooting
       2     49           June 12, 2016                Orlando, FL                Mass Shooting
       3     32           April 16, 2007             Blacksburg, VA               Mass Shooting
       4     27         December 14, 2012             Newtown, CT                 Mass Shooting
       5     25         November 5, 2017          Sutherland Springs, TX          Mass Shooting
       6     23          August 3, 2019                El Paso, TX                Mass Shooting
       7     21           May 24, 2022                 Uvalde, TX                 Mass Shooting




           5
            Because the analysis in Section VI of this report necessarily uses data from 1991
  through 2022, for purposes of consistency (and to avoid any confusion), the analyses in Sections
  I and II also use data from 1991 through 2022.
                                                    6
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  Figure 1. Annual Trends in High-Fatality Mass Shooting Incidents, 1991-2022

                 7

                 6

                 5

                 4

                 3

                 2

                 1

                 0




  Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
  overall pattern of the individual data points. When there is a positive relationship between the x-
  axis and y-axis variables, the trendline moves upwards from left to right. When there is a
  negative relationship between the x-axis and y-axis variables, the trendline moves downwards
  from left to right.


  Figure 2. Annual Trends in High-Fatality Mass Shooting Fatalities, 1991-2022

                  100


                     80


                     60


                     40


                     20


                     0




  Note: The dotted line is a linear trendline. A linear trendline is a straight line that captures the
  overall pattern of the individual data points. When there is a positive relationship between the x-
  axis and y-axis variables, the trendline moves upwards from left to right. When there is a
  negative relationship between the x-axis and y-axis variables, the trendline moves downwards
  from left to right.

                                                   7
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  II.    THE USE OF ASSAULT WEAPONS AND LCMS ARE MAJOR FACTORS IN THE RISE OF
         MASS SHOOTING VIOLENCE

         13.     In addition to showing that the frequency and lethality of high-fatality mass

  shootings are on the rise nationally, the data point to another striking pattern: both assault

  weapons and LCMs are being used with increased frequency to perpetrate gun massacres. 6 As

  shown in Figures 3-4, based on high-fatality mass shootings where details allow a determination

  on the use of assault weapons and LCMs are available, over half of all incidents in the last four

  years involved assault weapons and all incidents in the last four years involved LCMs having a

  capacity greater than 10 bullets. As shown in Figures 5-6, a similar pattern emerges when

  examining deaths in high-fatality mass shootings in the last four years, with 62% of deaths

  resulting from incidents involving assault weapons and 100% of deaths resulting from incidents

  involving LCMs having a capacity greater than 10 bullets. These trends demonstrate that, among

  perpetrators of gun massacres, there is a growing preference for using assault weapons and

  LCMs to carry out their attacks. 7




         6
            Assault weapons are generally semiautomatic firearms that fall into one of the following
  three categories: assault pistols, assault rifles, and assault shotguns. For purposes of this report,
  unless otherwise stated, assault weapons and LCMs are defined and coded in a manner consistent
  with the definitions used in Exhibit C. As stated in Exhibit C: “For purposes of this Exhibit, a
  high-fatality mass shooting was coded as involving an assault weapon if at least one of the
  firearms discharged was defined as an assault weapon in (1) the 1994 federal Assault Weapons
  Ban or (2) the statutes of the state where the shooting occurred. For purposes of this Exhibit, a
  high-fatality mass shooting was coded as involving a large-capacity magazine if at least one of
  the firearms discharged had an ammunition-feeding device with a capacity of more than 10
  bullets.”
         7
           Out of all 93 high-fatality mass shootings in the United States between 1991 and 2022,
  it cannot be determined whether LCMs were used in 14 of those incidents. Furthermore, for two
  of these 14 incidents, it is also not possible to determine whether they involved assault weapons.
  Therefore, the tables, figures, and percentages discussed in this section of this report are based on
  calculations that only use data points from the incidents in which the involvement of assault
  weapons and/or LCMs could be determined.
                                                    8
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  Figure 3. Share of High-Fatality Mass Shooting Incidents Involving Assault Weapons,
  1991-2022



        Last 4 Years                                   53%



        Last 8 Years                                  50%



       Last 16 Years                        38%



       Last 32 Years                      34%


                       0%     20%          40%          60%         80%          100%


  Note: The calculations in Figure 3 exclude incidents in which the firearms used are unknown.


  Figure 4. Share of High-Fatality Mass Shooting Incidents Involving LCMs (Ammunition
  Capacity Greater Than 10 Rounds), 1991-2022



        Last 4 Years                                                                100%



        Last 8 Years                                                              97%



       Last 16 Years                                                       85%



       Last 32 Years                                                 77%


                       0%     20%          40%          60%         80%          100%


  Note: The calculations in Figure 4 exclude incidents in which it is unknown if LCMs were used.




                                                  9
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  Figure 5. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
  Assault Weapons, 1991-2022



        Last 4 Years                                           62%




        Last 8 Years                                                 68%




       Last 16 Years                                    53%




       Last 32 Years                              46%


                       0%     20%          40%           60%               80%           100%


  Note: The calculations in Figure 5 exclude incidents in which the firearms used are unknown.


  Figure 6. Share of High-Fatality Mass Shooting Deaths Resulting from Incidents Involving
  LCMs (Ammunition Capacity Greater Than 10 Rounds), 1991-2022



        Last 4 Years                                                                          100%




        Last 8 Years                                                                         97%




       Last 16 Years                                                                   90%




       Last 32 Years                                                             84%


                       0%     20%          40%           60%               80%           100%


  Note: The calculations in Figure 6 exclude incidents in which it is unknown if LCMs were used.



                                                 10
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         14.      The growing use of assault weapons to carry out high-fatality mass shootings is

  an obvious theme reflected in the data. The disproportionate resort to assault weapons by

  perpetrators of high-fatality mass shootings is another clear theme. Based on National Sport

  Shooting Foundation (NSSF) and federal government data, “modern sporting rifles”—which is a

  firearm industry term for AR-15-platform and AK-47-platform firearms—make up

  approximately 5.3% of all firearms in circulation in American society, according to the most

  recent publicly-available data (24.4 million out of an estimated 461.9 million firearms). 8 And, in

  all likelihood, this is an over-estimation because the figures appear to include firearms belonging

  to law enforcement and security agencies, firearms retailers, and possibly prohibited possessors

  (e.g., violent criminals) in the United States. 9 But even using this estimate, if assault weapons
  were used in proportion to the percentage of modern sporting rifles in circulation, approximately

  5% of all high-fatality mass shootings would involve assault weapons. However, as seen in

  Figure 3 above, civilian ownership rates and mass-shooter use rates are not similar. Indeed, the

         8
            The 5.3% ownership rate for modern sporting rifles was calculated using NSSF and
  Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF) data. The NSSF estimates that
  there are approximately 24.4 million modern sporting rifles in civilian hands in the United States
  as of the end of 2020 (when the most recent data are available). NSSF, “Commonly Owned:
  NSSF Announces over 24 Million MSRs in Circulation,” July 20, 2022, available at
  https://www.nssf.org/articles/commonly-owned-nssf-announces-over-24-million-msrs-in-
  circulation (last accessed January 3, 2023). In a 2020 report that captured data through the end
  of 2018, the NSSF estimated that there were 433.9 million total firearms in civilian circulation in
  the United States. NSSF, Firearm Production in the United States with Firearm Import and
  Export Data, Industry Intelligence Report, 2020, at 18, available at https://www.nssf.org/wp-
  content/uploads/2020/11/IIR-2020-Firearms-Production-v14.pdf (last accessed January 3, 2023).
  According to ATF data, in 2019 and 2020, an additional 28.0 million firearms entered the
  civilian stock nationwide. ATF, National Firearms Commerce and Trafficking Assessment:
  Firearms in Commerce (2022), at 181, 188, 193, available at
  https://www.atf.gov/firearms/docs/report/national-firearms-commerce-and-trafficking-
  assessment-firearms-commerce-volume/download (last accessed January 3, 2023). Assuming
  these figures reported by the NSSF and ATF are accurate, this brings the estimated number of
  firearms in civilian circulation through the end of 2020 to approximately 461.9 million. The
  ownership rate is calculated as follows: 24.4 million modern sporting rifles divided by 461.9
  million total firearms equals approximately 5.3%.
         9
             ATF, 2022, supra note 8, at 12; NSSF, 2020, supra note 8, at 2-3.
                                                   11
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  current difference is approximately ten-fold, with the rate at which assault weapons are now used

  to commit gun massacres far outpacing the rate at which modern sporting rifles circulate

  amongst civilians in the United States. 10

          15.    Another pattern that stands out when examining the relationship between assault

  weapons use and gun massacre violence reflects the disproportionately greater lethality

  associated with the use of assault weapons and LCMs. For instance, returning to the

  aforementioned list of the seven deadliest individual acts of intentional criminal violence in the

  United States since the coordinated terrorist attack of September 11, 2001, besides all seven of

  the incidents being mass shootings, six of the seven incidents (86%) involved assault weapons

  and LCMs, as shown in Table 2. When examining all high-fatality mass shootings since 1991,

  the relationship between assault weapons use, LCM use, and higher death tolls is striking. In the

  past 32 years, assault weapons and LCMs with an ammunition capacity greater than 10 rounds

  have been used, respectively, in 34% and 77% of all high-fatality mass shootings. However, as

  the fatality thresholds of such incidents increase, so too do the shares of incidents involving

  assault weapons and LCMs. For instance, assault weapons and LCMs were used, respectively, in

  75% and 100% of all mass shootings resulting in more than 20 deaths (Figures 7-8). As the data

  show, there is an association between mass shooting lethality and the use of assault weapons and

  LCMs.




          10
           Due to the lack of accurate data on the number of LCMs in civilian circulation, there is
  no way to perform a similar comparison using LCMs instead of modern sporting rifles.
                                                   12
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  Table 2. The Use of Assault Weapons and LCMs in the Deadliest Acts of Intentional
  Criminal Violence in the U.S. since 9/11

                                                            Involved               Involved
                                                             Assault                LCMs
   Deaths         Date                   Location           Weapons            ( > 10 Rounds )
     60        10/1/2017              Las Vegas, NV          (AR-15)                 
     49        612/2016                Orlando, FL           (AR-15)                 
     32        4/16/2007             Blacksburg, VA                                   
     27       12/14/2012              Newtown, CT            (AR-15)                 
     25        11/5/2017          Sutherland Springs, TX     (AR-15)                 
     23         8/3/2019               El Paso, TX           (AK-47)                 
     21        5/24/2022               Uvalde, TX            (AR-15)                 


  Figure 7. Percentage of High-Fatality Mass Shootings Involving Assault Weapons by
  Fatality Threshold, 1991-2022



       More Than 40 Deaths                                                          100%



       More Than 20 Deaths                                             75%



       More Than 10 Deaths                                       61%



        More Than 5 Deaths                       34%


                             0%       20%        40%       60%         80%       100%


  Note: The calculations in Figure 7 exclude incidents in which the firearms used are unknown.




                                                   13
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  Figure 8. Percentage of High-Fatality Mass Shootings Involving LCMs (Ammunition
  Capacity Greater Than 10 Rounds) by Fatality Threshold, 1991-2022



       More Than 40 Deaths                                                                 100%



       More Than 20 Deaths                                                                 100%



       More Than 10 Deaths                                                             94%



        More Than 5 Deaths                                                  77%


                             0%       20%         40%          60%         80%         100%


  Note: The calculations in Figure 8 exclude incidents in which it is unknown if LCMs were used.

         16.     Of the 91 high-fatality mass shootings since January 1, 1991, in which the type of

  firearm used is known, 31 involved assault weapons, resulting in 425 deaths. The average death

  toll for these 31 incidents is 13.7 fatalities per shooting. By contrast, the average death toll for

  the 60 incidents in which it is known assault weapons were not used (which resulted in 490
  fatalities) is 8.2 fatalities per shooting (Table 3). Furthermore, of the 79 high-fatality mass

  shootings since January 1, 1991, in which LCM use was determined, 61 involved LCMs with an

  ammunition capacity greater than 10 rounds, resulting in 704 deaths. The average death toll for

  these 61 incidents is 11.5 fatalities per shooting. The average death toll for the 18 incidents in

  which it is known LCMs were not used (which resulted in 132 fatalities) is 7.3 fatalities per

  shooting (Table 4). In other words, in the last 32 years, the use of assault weapons and LCMs in

  gun massacres has resulted, correspondingly, in 67% and 58% increases in average fatalities per

  incident (Tables 3-4).




                                                    14
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         17.     Table 5 shows the average death tolls per high-fatality mass shooting incident that

  are attributable to assault weapons beyond deaths associated with the use of LCMs. When

  LCMs with an ammunition capacity greater than 10 rounds are not used, the average death toll is

  7.3 fatalities. When LCMs are used, but not in conjunction with assault weapons, the average

  death toll is 9.2 fatalities. When LCMs are used with assault weapons, the average death toll is

  14.0 fatalities. The data show that using LCMs without an assault weapon resulted in a 26%

  increase in the average death toll. However, using LCMs with an assault weapon resulted in a

  52% increase in the average death toll associated with incidents that involved LCMs without

  assault weapons and a 92% increase in the average death toll associated with incidents that

  involved neither LCMs nor assault weapons.

         18.     This review of the data suggests that assault weapons and LCMs are force

  multipliers when used in mass shootings.


  Table 3. The Average Death Tolls Associated with the Use of Assault Weapons in High-
  Fatality Mass Shootings in the U.S., 1991-2022


                        Average Death Toll for       Average Death Toll for
                        Incidents That Did Not       Incidents That Did       Percent Increase in Average
                        Involve the Use of Assault   Involve the Use of       Death Toll Associated with
                        Weapons                      Assault Weapons          the Use of Assault Weapons
   1991-2022                    8.2 Deaths                  13.7 Deaths                   67%

  Note: The calculations in Table 3 exclude incidents in which the firearms used are unknown.




                                                     15
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  Table 4. The Average Death Tolls Associated with the Use of LCMs (Ammunition
  Capacity Greater Than 10 Rounds) in High-Fatality Mass Shootings in the U.S., 1991-2022


                         Average Death Toll for      Average Death Toll for     Percent Increase in Average
                         Incidents That Did Not      Incidents That Did         Death Toll Associated with
                         Involve the Use of LCMs     Involve the Use of LCMs    the Use of LCMs
   1991-2022                     7.3 Deaths                 11.5 Deaths                     58%

  Note: The calculations in Table 4 exclude incidents in which it is unknown if LCMs were used.


  Table 5. The Average Death Tolls Associated with the Use of LCMs (Ammunition
  Capacity Greater Than 10 Rounds) and Assault Weapons in High-Fatality Mass Shootings
  in the U.S., 1991-2022


   Average                                                                  Average
   Death Toll   Average                 Average      Average                Death       Average
   for          Death Toll              Death Toll   Death                  Toll for    Death
   Incidents    for                     for          Toll for               Incidents   Toll for
   Not          Incidents               Incidents    Incidents              Not         Incidents
   Involving    Involving               Involving    Involving              Involving   Involving
   LCMs or      LCMs but     Percent    LCMs but     LCMs        Percent    LCMs or     LCMs        Percent
   AWs          Not AWs      Increase   Not AWs      and AWs     Increase   AWs         and AWs     Increase
       7.3          9.2        26%          9.2         14.0       52%         7.3         14.0       92%


  Note: The calculations in Table 5 exclude incidents in which it is unknown if assault weapons
  and/or LCMs were used.




                                                     16
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  III.   DOUBLE-DIGIT-FATALITY MASS SHOOTINGS ARE A POST-WORLD WAR II
         PHENOMENON IN AMERICAN HISTORY AND THEY INCREASINGLY INVOLVE
         ASSAULT WEAPONS


         19.       I have also examined the historical occurrence and distribution of mass shootings

  resulting in 10 or more victims killed since 1776 (Table 6 and Figure 9). 11 In terms of the

  origins of this form of extreme gun violence, there is no known occurrence of a mass shooting

  resulting in double-digit fatalities during the 173-year period between the nation’s founding in

  1776 and 1948. The first known mass shooting resulting in 10 or more deaths occurred in 1949.

  In other words, for 70% of its 247-year existence as a nation, the United States did not

  experience a single mass shooting resulting in double-digit fatalities. They are relatively modern

  phenomena in American history. 12

         20.       After the first such incident in 1949, 17 years passed until a similar mass shooting

  occurred in 1966. The third such mass shooting then occurred nine years later, in 1975. And the

  fourth such incident occurred seven years after, in 1982. Basically, the first few mass shootings

  resulting in 10 or more deaths did not occur until the post-World War II era. Furthermore, these

  first few double-digit-fatality incidents occurred with relative infrequency, although the temporal

  gap between these first four incidents shrank with each event (Table 6 and Figure 10). 13




         11
             I searched for firearm-related “murders,” using variations of the term, setting a
  minimum fatality threshold of 10 in the Newspaper Archive online newspaper repository,
  available at www.newspaperarchive.com (last accessed October 2, 2022). The Newspaper
  Archive contains local and major metropolitan newspapers dating back to 1607. Incidents of
  large-scale, inter-group violence such as mob violence, rioting, combat or battle skirmishes, and
  attacks initiated by authorities acting in their official capacity were excluded.
         12
           Using the Constitution’s effective date of 1789 as the starting point would lead to the
  conclusion that, for 68% of its 234-year existence as a nation, the United States did not
  experience a mass shooting resulting in double-digit fatalities.
         13
              Figures 9-10 are reproduced in larger form as Exhibit D of this report.
                                                    17
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  Table 6. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1776-2022

                                                                  Involved
                                                                   Assault         Involved
            Date                 Location              Deaths     Weapon(s)        LCM(s)
    1       9/6/1949           Camden, NJ                13          N                N
    2       8/1/1966            Austin, TX               14          N                Y
    3      3/30/1975          Hamilton, OH               11          N                N
    4      9/25/1982        Wilkes-Barre, PA             13          Y                Y
    5      2/18/1983           Seattle, WA               13          N                N
    6      4/15/1984          Brooklyn, NY               10          N                N
    7      7/18/1984         San Ysidro, CA              21          Y                Y
    8      8/20/1986           Edmond, OK                14          N                N
    9     10/16/1991           Killeen, TX               23          N                Y
   10      4/20/1999           Littleton, CO             13          Y                Y
   11      4/16/2007         Blacksburg, VA              32          N                Y
   12      3/10/2009       Geneva County, AL             10          Y                Y
   13       4/3/2009         Binghamton, NY              13          N                Y
   14      11/5/2009          Fort Hood, TX              13          N                Y
   15      7/20/2012            Aurora, CO               12          Y                Y
   16     12/14/2012          Newtown, CT                27          Y                Y
   17      9/16/2013         Washington, DC              12          N                N
   18      12/2/2015       San Bernardino, CA            14          Y                Y
   19      6/12/2016           Orlando, FL               49          Y                Y
   20      10/1/2017          Las Vegas, NV              60          Y                Y
   21      11/5/2017      Sutherland Springs, TX         25          Y                Y
   22      2/14/2018           Parkland, FL              17          Y                Y
   23      5/18/2018           Santa Fe, TX              10          N                N
   24     10/27/2018          Pittsburgh, PA             11          Y                Y
   25      11/7/2018       Thousand Oaks, CA             12          N                Y
   26      5/31/2019       Virginia Beach, VA            12          N                Y
   27       8/3/2019           El Paso, TX               23          Y                Y
   28      3/22/2021           Boulder, CO               10          Y                Y
   29      5/14/2022           Buffalo, NY               10          Y                Y
   30      5/24/2022            Uvalde, TX               21          Y                Y

  Note: Death tolls do not include perpetrators. An incident was coded as involving an assault
  weapon if at least one of the firearms discharged was defined as an assault weapon in (1) the
  1994 Federal Assault Weapons Ban or (2) the statutes of the state where the gun massacre
  occurred. An incident was coded as involving an LCM if at least one of the firearms discharged
  had an ammunition-feeding device holding more than 10 bullets.




                                                18
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  Figure 9. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1776-2022




  Figure 10. Mass Shootings Resulting in Double-Digit Fatalities in U.S. History, 1949-2022




                                              19
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         21.     The distribution of double-digit-fatality mass shootings changes in the early

  1980s, when five such events took place in a span of just five years (Table 6 and Figure 10).

  This timeframe also reflects the first time that assault weapons were used to perpetrate mass

  shootings resulting in 10 or more deaths: the 1982 Wilkes-Barre, PA, massacre (involving an

  AR-15 rifle and resulting in 13 deaths) and the 1984 San Ysidro, CA, massacre (involving an Uzi

  pistol and resulting in 21 deaths). But this cluster of incidents was followed by a 20-year period

  in which only two double-digit-fatality mass shootings occurred (Figure 10). This period of time

  from 1987-2007 correlates with three important federal firearms measures: the 1986 Firearm

  Owners Protection Act, the 1989 C.F.R. “sporting use” importation restrictions, and the 1994

  Federal Assault Weapons Ban.

         22.     It is well-documented in the academic literature that, after the Federal Assault

  Weapons Ban expired in 2004, mass shooting violence increased substantially. 14 Mass shootings
  that resulted in 10 or more deaths were no exception, following the same pattern. In the 56 years

  from 1949 through 2004, there were a total of 10 mass shootings resulting in double-digit

  fatalities (a frequency rate of one incident every 5.6 years). In the 18 years since 2004, there

  have been 20 double-digit-fatality mass shootings (a frequency rate of one incident every 0.9

  years). In other words, the frequency rate has increased over six-fold since the Federal Assault

  Weapons Ban expired (Table 6 and Figure 10). (The 1994 Federal Assault Weapons Ban and its

  impact on mass shooting violence is discussed in further detail in Section VI of this report.)




         14
            See, for example, Louis Klarevas, supra note 1 (Relevant Excerpt Attached as Exhibit
  E); Louis Klarevas, et al., supra note 2 (Attached as Exhibit F); Charles DiMaggio, et al.,
  “Changes in US Mass Shooting Deaths Associated with the 1994-2004 Federal Assault Weapons
  Ban: Analysis of Open-Source Data,” 86 Journal of Trauma and Acute Care Surgery 11 (2019)
  (Attached as Exhibit G); Lori Post, et al., “Impact of Firearm Surveillance on Gun Control
  Policy: Regression Discontinuity Analysis,” 7 JMIR Public Health and Surveillance (2021)
  (Attached as Exhibit H); and Philip J. Cook and John J. Donohue, “Regulating Assault Weapons
  and Large-Capacity Magazines for Ammunition,” 328 JAMA, September 27, 2022 (Attached as
  Exhibit I).
                                                   20
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         23.     Over three-quarters of the mass shootings resulting in 10 or more deaths involved

  assault weapons and/or LCMs (Table 6). As also shown in the analyses of mass shootings in

  Section II, death tolls in double-digit-fatality mass shootings are related to the use of firearm

  technologies like assault weapons and LCMs that, in terms of mass shootings, serve as force

  multipliers.


  IV.    ASSAULT WEAPONS ARE ALMOST NEVER USED BY PRIVATE CITIZENS IN SELF-
         DEFENSE DURING ACTIVE SHOOTINGS

         24.     An important question that, until now, has gone unanswered is: Are assault

  weapons used as frequently to stop mass shootings as they are to perpetrate them? As shown

  above in Section II, assault weapons have been used in approximately one-third of high-fatality

  mass shootings in the past 32 years (Figure 3). And in the past eight years, the share of high-

  fatality mass shootings that have involved assault weapons has risen to approximately half

  (Figure 3).

         25.     The Federal Bureau of Investigation (FBI) has been documenting active shooter

  incidents since 2000. 15 According to the FBI, active shootings are violent attacks that involve
  “one or more individuals actively engaged in killing or attempting to kill people in a populated

  area.” 16 A simple way to conceptualize active shooter incidents is to think of them as attempted


         15
            All of the information in this section, including definitions and data, are publicly
  available from the FBI. See FBI, “Active Shooter Safety Resources,” available at
  https://www.fbi.gov/how-we-can-help-you/safety-resources/active-shooter-safety-resources (last
  accessed January 2, 2023).
         16
             FBI, Active Shooter Incidents in the United States in 2022, April 2023, at 1, available
  at https://www.fbi.gov/file-repository/active-shooter-incidents-in-the-us-2022-042623.pdf/view
  (last accessed May 4, 2023). The FBI adds, “Implicit in this definition is the shooter’s use of one
  or more firearms. The active aspect of the definition inherently implies the ongoing nature of the
  incidents, and thus the potential for the response to affect the outcome.” Ibid. (emphasis in
  original). In addition to the report on incidents in 2022, the FBI has published seven other
  reports on active shooter incidents covering the following seven time-periods: 2000-2013, 2014-
  2015, 2016-2017, 2018, 2019, 2020, and 2021. All of these reports are available at the FBI’s
  “Active Shooter Safety Resources” website, supra note 15.
                                                   21
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  mass shootings. As part of its analysis of attempted mass shootings, the FBI identifies incidents

  that involved armed civilians using their personal firearms to intervene, regardless of whether the

  interventions were successful in stopping the attacks and/or neutralizing the perpetrator(s).

         26.     In the 23 years between January 1, 2000, and December 31, 2022, the FBI has

  identified 456 active shootings occurring in the United States. Out of these 456 active shooter

  incidents, 18 incidents (3.9%) involved defensive gun uses (DGUs) by civilians, excluding law

  enforcement or armed security. 17 Of these 18 DGUs, the firearm used by an armed private

  citizen intervening was identifiable in 17 incidents; 14 involved handguns and the remaining

  three involved long guns (one shotgun, one bolt-action rifle, and one assault rifle). 18 In other
  words, out of the 17 incidents where an armed civilian intervened and it was possible to identify

  the DGU firearm, only one incident (5.9%) involved an assault weapon. 19 Within the broader

  context of all active shooter incidents, only one incident out of 456 in the past 23 years (0.2%) is

  known to have involved an armed civilian intervening with an assault weapon. 20

         17
            In 17 of the 18 DGU-involved active shooter incidents, there was an exchange of
  gunfire. For the one incident that did not involve an exchange of gunfire, the gun (a handgun)
  was used to detain the active shooter after the shooting had ceased. FBI, supra notes 15 and 16.
         18
            All 14 DGU incidents that involved handguns also involved armed civilians who held
  valid concealed-carry permits or were legally carrying their handguns. Ibid. In 12 of these 14
  incidents, details about the types of handguns used in self-defense were available in news media
  accounts or in news media photographs from the crime scene. In two of the 14 incidents, the use
  of concealed handguns was inferred based on details about the shooting reported in news media
  accounts. There is no evidence that either of these two DGU incidents involved an assault pistol.
         19
            The FBI also identifies an incident in which an armed individual (a local firefighter)
  subdued and detained a school shooter, but there is no evidence that the armed firefighter drew
  his handgun during the incident. Ibid. Moreover, local authorities have refused to comment on
  whether the firefighter ever drew his handgun. See Carla Field, “Firefighter Was Armed During
  Takedown of Shooting Suspect, Sheriff Says,” WYFF, October 3, 2016, available at
  https://www.wyff4.com/article/firefighter-was-armed-during-takedown-of-shooting-suspect-
  sheriff-says/7147424 (last accessed January 3, 2023). Adding this incident to the 17 DGU-
  involved incidents where the type of firearm was identifiable would mean that 5.6% (as opposed
  to 5.9%) of the active shooter incidents, where an armed civilian intervened, involved an assault
  weapon.
         20
           FBI, supra notes 15 and 16. The one DGU that involved an assault weapon was the
  2017 church massacre in Sutherland Springs, Texas. In that incident, an armed private citizen
                                               22
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         27.     The bottom line is that assault weapons are used by civilians with a far greater

  frequency to perpetrate mass shootings than to stop mass shootings. 21


  V.     OWNERSHIP RATES OF “MODERN SPORTING RIFLES” AND LCMS IN THE U.S.

         28.     As noted above in Para. 14, based on the most recent publicly-available NSSF and

  federal government data, modern sporting rifles—such as AR- and AK-platform firearms—

  appear to make up as many as 5.3% of all firearms in circulation in American society (24.4

  million out of an estimated 461.9 million firearms), although this is likely an over-estimate due

  to the apparent inclusion of modern sporting rifles in the possession of law enforcement and

  security agencies, firearms retailers, and prohibited owners (such as criminals and domestic

  abusers). It is also likely that the NSSF’s estimate includes firearms that have been illegally

  trafficked to other countries, especially neighboring Mexico. 22 Based on NSSF figures, 6.4
  million gun owners—out of an estimated 81 million Americans who own at least one personal

  firearm—own modern sporting rifles. 23 In other words, less than 8% of all civilian gun owners


  used an AR-15-style assault rifle to wound the perpetrator as he was attempting to flee the scene.
  While the perpetrator was still able to flee the scene despite being shot, minutes later, he crashed
  his vehicle trying to escape and then took his life with his own firearm before law enforcement
  could apprehend him. See Adam Roberts, “Man Who Shot Texas Gunman Shares His Story,”
  KHBS/KHOG, November 7, 2017, available at https://www.4029tv.com/article/man-who-shot-
  texas-church-gunman-shares-his-story/13437943 (last accessed January 3, 2023).
         21
            Given the limitations of the active shooter incident data reported by the FBI, it is not
  possible to discern whether any of the civilian DGUs involved an armed civilian using a firearm
  with an LCM at the time of the intervention. As such, it is not possible to perform a similar
  comparison between mass shootings perpetrated with LCM-equipped firearms and mass
  shootings thwarted with LCM-equipped firearms.
         22
            See, for example, Liz Mineo, “Stopping Toxic Flow of Guns from U.S. to Mexico,”
  Harvard Gazette, February 18, 2022, available at
  https://news.harvard.edu/gazette/story/2022/02/stopping-toxic-flow-of-gun-traffic-from-u-s-to-
  mexico (last accessed May 31, 2023).
         23
             In its most recent survey data (2022), the NSSF found that civilian owners of modern
  sporting rifles own, on average, 3.8 such rifles, with 24% of these owners possessing only one
  such rifle. NSSF, Modern Sporting Rifle: Ownership, Usage and Attitudes Toward AR- and AK-
  Platform Modern Sporting Rifles, Comprehensive Consumer Report, 2022, at 12, available at
                                                    23
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  in the United States own modern sporting rifles. 24 In terms of the total population of the United

  States, estimated by the Census Bureau to be approximately 333 million people in 2022, less

  than 2% of all Americans own a modern sporting rifle. 25

         29.       In addition to the NSSF’s estimate that there are 24.4 million modern sporting

  rifles in civilian circulation in the United States as of the end of 2020, the Plaintiffs draw on a

  survey conducted by William English to support their estimates about the number of AR-15-style

  rifles in American society. 26 According to English, “about 24.6 million people” have owned “an

  AR-15 or similar styled rifle.” 27 In surveying ownership rates, English also found that 0.3% of


  https://www3.nssf.org/share/PDF/pubs/NSSF-MSR-Comprehensive-Consumer-Report.pdf (last
  accessed January 16, 2023). The estimate that approximately 6.4 million gun owners possess
  what the NSSF considers to be modern sporting rifles is calculated by dividing the 3.8 average
  number of such rifles that each modern sporting rifle owner possesses into the 24.4 million such
  rifles estimated to be in civilian circulation. This calculation (24.4 million divided by 3.8) equals
  6.4 million. Based on survey data, 81 million American adults are estimated to own guns. Andy
  Nguyen, “Proposed Assault Weapons Ban Won’t Turn Gun Owners into Felons Overnight,”
  PolitiFact, The Poynter Institute, August 3, 2022, available at
  https://www.politifact.com/factchecks/2022/aug/03/instagram-posts/proposed-assault-weapons-
  ban-wont-turn-gun-owners- (last accessed January 16, 2023).
         24
             The finding that less than 8% of all gun owners possess modern sporting rifles is
  calculated by dividing the 6.4 million modern sporting rifle owners by the 81 million American
  adults estimated to be gun owners. Taking 6.4 million and dividing it by 81 million equals 7.9%.
         25
            The Census Bureau’s total population estimate for 2022 is 333,287,557 persons. U.S.
  Census Bureau, “Growth in U.S. Population Shows Early Indication of Recovery Amid COVID-
  19 Pandemic,” December 22, 2022, available at https://www.census.gov/newsroom/press-
  releases/2022/2022-population-
  estimates.html#:~:text=DEC.,components%20of%20change%20released%20today (last
  accessed January 16, 2023). The finding that less than 2% of all Americans possess modern
  sporting rifles is calculated by dividing the 6.4 million modern sporting rifle owners by the 333
  million persons in United States. Taking 6.4 million and dividing it by 333 million equals 1.9%.
         26
             Plaintiffs’ First Amended Complaint for Declaratory and Injunctive Relief,
  Cheeseman, et al. v. Platkin, et al., 1:22-cv-04360-RMB-AMD (D.N.J.), July 14, 2022, ECF No.
  4, at 15, citing William English, “2021 National Firearms Survey: Updated Analysis Including
  Types of Firearms Owned,” Unpublished Paper (May 13, 2022; Revised September 22, 2022),
  available at https://papers.ssrn.com/sol3/cf_dev/AbsByAuth.cfm?per_id=4283305 (last accessed
  March 7, 2023).
         27
              English, supra note 26.
                                                    24
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  respondents “indicate owning over 100” AR-15 styled rifles. 28 Assuming English correctly

  estimates that 24.6 million people have owned an AR-15 or similarly styled rifle, his survey

  results indicate that approximately 74,000 people own over 100 such rifles. Moreover, English

  also reports that 1.3% of all AR-15 style rifle owners (approximately 320,000 people) own

  between 11 and 100 such rifles. 29 Even if, for the sake of argument, these 74,000 people all

  owned only 101 AR-15s and these additional 320,000 people all owned 11 AR-15s—the lowest

  possible number in the range that they identified as best capturing the number of AR-15 styled

  rifles they own—that would mean that, at the very least, approximately 11 million AR-15 styled

  rifles are concentrated in the hands of 1.6% of AR-15 owners. 30 As a reminder, 11 million AR-
  15 style rifles is a conservative estimate calculated using the absolute minimum numbers in the

  reported ranges of 11-to-100 and 101-or-more. 31

         28
              Ibid.
         29
              Ibid.
         30
             As a reminder, the NSSF found that civilian owners of modern sporting rifles own, on
  average, 3.8 such rifles, with 24% of these owners possessing only one such rifle. NSSF, supra
  note 23. While the NSSF, unlike the English survey, does not report whether respondents in its
  surveys of modern sporting rifle owners happen to own more than 10, let alone more than 100,
  modern sporting rifles, NSSF has detected a growing trend toward increased ownership of
  multiple modern sporting rifles. For instance, in its 2010 survey, it found that 40% of modern
  sporting rifle owners owned only 1 modern sporting rifle and 60% owned multiple modern
  sporting rifles, with the average number of modern sporting rifles owned being 2.6. In its 2013
  survey, it found that 35% of modern sporting rifle owners owned only 1 modern sporting rifle
  and 65% owned multiple modern sporting rifles, with the average number of modern sporting
  rifles owned increasing to 3.1. In its most recent, 2021 survey, the NSSF found that 24% of
  modern sporting rifle owners owned only 1 modern sporting rifle and 76% owned multiple
  modern sporting rifles, with the average number of modern sporting rifles owned increasing yet
  again to 3.8. This speaks to a growing trend in which modern sporting rifles are being purchased
  by gun owners who already own a modern sporting rifle, resulting in modern sporting rifles
  being concentrated, relatively speaking, in the hands of those who already own modern sporting
  rifles. Ibid.
         31
            While the English survey is discussed in an unpublished academic paper that is
  publicly available online, there are significant concerns with the study, which call into question
  the findings reported in the paper. Arguably, the biggest problem with the English survey (as
  reported in the unpublished paper) is that it appears to be in serious violation of the Code of
  Professional Ethics and Practices of the American Association for Public Opinion Research
                                                    25
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         30.      In deriving its estimates, the NSSF often relies on United States government data,

  particularly ATF data. 32 According to the ATF, from 1986 through 2020 (which reflects the

  most currently-available data), the civilian stock of firearms in the United States has been made

  up predominantly of handguns. 33 As Figure 11 shows, handguns account for 50% of the civilian

  stock of firearms, rifles account for 33%, and shotguns account for 17%.

         31.      According to ATF data, handguns are the most common firearms in civilian

  circulation; not rifles, and most certainly not modern sporting rifles that qualify as assault

  weapons. 34




  (AAPOR). See “AAPOR Code of Professional Ethics and Practices,” April 2021 (Attached as
  Exhibit J). Among the ways that the English survey seemingly runs afoul of AAPOR canons, it
  fails to identify the source of sponsorship funding and it fails to fully and openly disclose the
  measurement tools (Rules III.A.2-3). The former is vital to assuring that the survey was not
  designed and conducted to further the political or economic interests of particular people or
  organizations. The latter allows independent observers and researchers to assess if, among other
  factors, question order, question wording, or answer options biased responses. The latter is also
  crucial to assuring that select findings were not suppressed because they would, if publicized,
  undermine the agenda of the survey’s sponsor(s). Without release of the entire questionnaire and
  the full results to the public, it cannot be confirmed that questions and corresponding responses
  were not suppressed.
         32
              NSSF, 2020, supra note 8.
         33
            For data on the number of firearms manufactured, imported, and exported, by category
  of firearm, from 2000-2020, see ATF, supra note 8. For similar data covering 1986-1999, see
  ATF, Firearms Commerce in the United States: Annual Statistical Update, 2021, available at
  https://www.atf.gov/firearms/docs/report/2021-firearms-commerce-report/download (last
  accessed January 16, 2023).
         34
           Due to the lack of accurate data on the number of LCMs in civilian circulation, there is
  no way to perform a similar analysis of ownership rates using LCMs instead of modern sporting
  rifles.
                                                   26
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  Figure 11. Share of Firearms in Civilian Circulation in the United States, 1986-2020
                                         Shotguns
                                           17%




                                                                           Handguns
                                                                             50%

                                Rifles
                                33%




  VI.      RESTRICTIONS ON ASSAULT WEAPONS AND LCMS REDUCE THE INCIDENCE OF GUN
           MASSACRES, RESULTING IN LIVES SAVED

        VI.A.           THE OPERATIVE MECHANISM OF ASSAULT WEAPONS BANS: SUPPRESSION AND
                        SUBSTITUTION EFFECTS

           32.          As conceptualized in the Trinity of Violence model that I developed in my book

  on mass shootings, every act of violence involves three elements: a perpetrator, a weapon, and a

  target (Figure 12). 35 The key to mitigating violence is to “break the trinity” by hindering at least

  one of the three elements. This is accomplished by dissuading the potential offender(s), denying

  the potential instrument(s) of violence, or defending the potential victim(s). 36


  Figure 12. The Trinity of Violence




           35
                Klarevas, supra note 1, at 27-29, 229-238.
           36
                Ibid.
                                                       27
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         33.     Bans are law-based concepts that prohibit certain behaviors by criminalizing

  them. 37 Bans on assault weapons and LCMs generally make it illegal to manufacture, import,

  transfer, own, or possess certain firearms and certain magazines. Bans work in relation to two of

  the three elements of the Trinity of Violence: dissuasion and denial. With regard to perpetrators,

  bans use the threat of criminal penalty to deter potential offenders from engaging in the

  prohibited behavior. In the case of bans on assault weapons and LCMs, they threaten conviction,

  imprisonment, and/or fines should an individual manufacture, import, transfer, or possess a

  prohibited assault weapon or LCM. One mechanism at work here centers around dissuading

  potential shooters from trying to build or otherwise acquire banned firearm technologies. But

  another mechanism focuses on the assault weapon or LCM itself: deprive potential instruments

  of violence. Knowing that someone who is willing to commit murder might not be deterred from

  violating another criminal law, like possessing a prohibited item, bans on assault weapons and

  LCMs also threaten punishment against anyone who tries to transfer (through sale, gift, or loan)

  a restricted item to someone who is prohibited from acquiring it. In essence, the former strategy

  seeks to dissuade the offender and the latter strategy seeks to deny the instruments of violence.

         34.     Ideally, someone intent on committing a mass shooting with an assault weapon

  and/or LCM would be dissuaded from going on a rampage by the fact that their means of choice

  are not available. In such a scenario, the attack would be quashed. This suppression effect is

  akin to what economists and psychologists refer to as a positive spillover effect, where one

  desirable outcome produces a second, loosely-related desirable outcome. 38 A real-world


         37
          Philip J. Cook, “Research in Criminal Deterrence: Laying the Groundwork for the
  Second Decade,” 2 Crime and Justice 211 (1980); and Daniel S. Nagin, “Deterrence in the
  Twenty-First Century,” 42 Crime and Justice 199 (2013).
         38
            Paul Dolan and Mateo M. Galizzi, “Like Ripples on a Pond: Behavioral Spillovers and
  Their Implications for Research and Policy,” 47 Journal of Economic Psychology 1 (2015); K.
  Jane Muir and Jessica Keim-Malpass, “Analyzing the Concept of Spillover Effects for Expanded
  Inclusion in Health Economics Research,” 9 Journal of Comparative Effectiveness Research 755
  (2020).
                                                  28
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  example of this is the so-called “Matrix Killings,” where a 19-year-old Virginia man blamed The

  Matrix film for driving him to murder his parents with a shotgun (that did not have an LCM). At

  the time of the crime in 2003, the Federal Assault Weapons Ban was in effect, preventing him

  from obtaining an assault rifle and LCMs. In a 2013 jailhouse interview, he told CNN, “If I had

  an assault weapon, things would have been much worse.” He added that had he had an AR-15

  instead of a shotgun, he is positive that, after killing his parents, he would have gone on a

  rampage and “killed as many people as I possibly could.” As he noted, “because I didn’t have an

  assault weapon, that didn’t happen.” 39 In this case, the unavailability of an assault weapon due

  to the federal ban appears to have suppressed the perpetrator’s impulse to commit a mass

  shooting.

          35.     Of course, some potential mass shooters will not be discouraged from going on a

  killing spree just because their means of choice are unavailable. They will instead replace their

  desired instruments of violence with available alternatives. This is commonly referred to as the

  substitution effect, wherein an act of violence is still perpetrated, but with a different, less lethal

  instrument of violence. 40 A real-world example of the substitution effect at work is the 2019
  synagogue rampage in Poway, California. In that attack, the gunman appears to have been

  unable to acquire an assault rifle and LCMs due to California’s ban on both. Instead, he acquired

  what is known as a California-compliant semiautomatic rifle (which lacked features such as a

  pistol grip and a forward hand grip) and 10-round magazines. As a result, the gunman quickly

  ran out of bullets, and while pausing to reload—which appears to have been extremely difficult

  given that he did not have assault weapon features on his rifle that facilitated fast reloading—a


          39
             “Inside the Mind of a Killer,” CNN (Transcripts), August 23, 2013, available at
  https://transcripts.cnn.com/show/pmt/date/2013-08-23/segment/01 (last accessed January 24,
  2023).
          40
            Philip J. Cook, “The Effect of Gun Availability on Violent Crime Patterns,” 455
  Annals of the American Academy of Political and Social Science 63 (1981); Anthony A.
  Braga, et al., “Firearm Instrumentality: Do Guns Make Violent Situations More Lethal?” 4
  Annual Review of Criminology 147 (2021).
                                                     29
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  congregant chased him away, preventing him from continuing his attack. 41 In this incident,

  which resulted in one death, California’s ban on assault weapons and LCMs worked exactly as

  intended. It deprived the active shooter of the mechanisms that might have allowed him to kill

  enough people to surpass the fatality threshold of a mass shooting. Stated differently, if you

  examine data sets that identify shootings resulting in mass murder, you will not find the Poway

  synagogue attack on their lists.

         36.     It might seem perverse to think that restrictions on certain instruments of violence

  operate on the premise that, if an act of violence cannot be averted, then it will proceed with an

  alternative instrument. Nevertheless, this is exactly how bans on assault weapons and LCMs

  work in theory. They suppress the inclinations of potential mass shooters to go on killing

  rampages in the first place because their means of choice are unavailable. And, should

  deterrence fail, bans force perpetrators to substitute less lethal instruments for more dangerous,

  prohibited ones, reducing the casualty tolls of attacks when they do occur.

     VI.B.       THE OPERATIVE MECHANISM OF LCM BANS: FORCING PAUSES IN ACTIVE
                 SHOOTINGS

         37.     Restrictions on assault weapons and LCMs also address the multiple advantages

  LCMs provide to active shooters. Offensively, LCMs increase kill potential. Basically, the more

  bullets a shooter can fire at a target within a finite amount of time, the more potential wounds
  they can inflict. Furthermore, the more bullets that strike a victim, the higher the odds that that

  person will die. These two factors—sustained-fire capability and multiple-impact capability—

  allow LCMs to increase a shooter’s kill potential.

         38.     When inserted into either a semiautomatic or fully-automatic firearm, an LCM

  facilitates the ability of an active shooter to fire a large number of rounds at an extremely quick

         41
            Elliot Spagat and Julie Watson, “Synagogue Shooter Struggled with Gun, Fled with 50
  Bullets,” Associated Press, April 30, 2019, available at https://apnews.com/article/shootings-
  north-america-us-news-ap-top-news-ca-state-wire-8417378d6b934a8f94e1ea63fd7c0aea (last
  accessed January 24, 2023).
                                                   30
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  rate without pause. This phenomenon—sustained-fire capability—comes in handy when a target

  is in a gunman’s line of sight for only a few seconds. For example, sustained-fire capability

  allows a reasonably competent shooter to fire three rounds per second with a semiautomatic

  firearm and ten rounds per second with an automatic firearm. That results in numerous chances

  to hit a target in a short window of opportunity, especially when ammunition capacity is large.

         39.     LCMs also facilitate the ability of a shooter to strike a human target with more

  than one round. This phenomenon—multiple-impact capability—increases the chances that the

  victim, when struck by multiple rounds, will die. At least two separate studies have found that,

  when compared to the fatality rates of gunshot wound victims who were hit by only a single

  bullet, the fatality rates of those victims hit by more than one bullet were over 60 percent

  higher. 42 The implication is straightforward: being able to strike human targets with more than
  one bullet increases a shooter’s chances of killing their victims. In essence, LCMs are force

  multipliers when it comes to kill potential—and the evidence from gun massacres supports this

  conclusion (see Section II).

         40.     In addition to offensive advantages, LCMs also provide the defensive advantage

  of extended cover. During an active shooting, a perpetrator is either firing their gun or not firing

  their gun. While pulling the trigger, it is difficult for those in harm’s way to take successful

  defensive maneuvers. But if the shooter runs out of bullets, there is a lull in the shooting. This

  precious downtime affords those in the line of fire with a chance to flee, hide, or fight back.

         41.     There are several examples of individuals fleeing or taking cover while active

  shooters paused to reload. For instance, in 2012, several first-graders at Sandy Hook Elementary

  School in Newtown, Connecticut, escaped their attacker as he was swapping out magazines,



         42
            Daniel W. Webster, et al., “Epidemiologic Changes in Gunshot Wounds in
  Washington, DC, 1983–1990,” 127 Archives of Surgery 694 (June 1992); Angela Sauaia, et al.,
  “Fatality and Severity of Firearm Injuries in a Denver Trauma Center, 2000–2013,” 315 JAMA
  2465 (June 14, 2016).
                                                   31
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  allowing them to exit their classroom and dash to safety. 43 Other well-known examples include

  the 2007 Virginia Tech and the 2018 Borderline Bar and Grill rampages. 44 There is also the

  possibility that someone will rush an active shooter and try to tackle them (or at the very least try

  to wrestle their weapon away from them) while they pause to reload. 45 In recent history, there

  have been numerous instances of gunmen being physically confronted by unarmed civilians

  while reloading, bringing their gun attacks to an abrupt end. Prominent examples include the

  1993 Long Island Rail Road, the 2011 Tucson shopping center, the 2018 Nashville Waffle

  House, and the 2022 Laguna Woods church shooting rampages. 46 When there are pauses in the

  shooting to reload, opportunities arise for those in the line of fire to take life-saving action.



          43
         See Dave Altimari, et al., “Shooter Paused and Six Escaped,” Hartford Courant,
  December 23, 2012 (Attached as Exhibit K).
          44
             Virginia Tech Review Panel, Mass Shootings at Virginia Tech, April 16, 2007: Report
  of the Virginia Tech Review Panel Presented to Governor Kaine, Commonwealth of Virginia,
  Revised with Addendum, November 2009, available at
  https://scholar.lib.vt.edu/prevail/docs/April16ReportRev20091204.pdf (last accessed February 1,
  2023); “California Bar Shooting: Witnesses Describe Escaping as Gunman Reloaded,” CBS
  News, December 7, 2018, available at https://www.cbsnews.com/news/borderline-bar-shooting-
  thousand-oaks-california-12-dead-witnesses-describe-gunman-storming-in (last accessed
  February 1, 2023).
          45
           The longer a shooter can fire without interruption, the longer they can keep potential
  defenders at bay. The longer potential defenders are kept from physically confronting a shooter,
  the more opportunity there is for the shooter to inflict damage.
          46
             See, Rich Schapiro, “LIRR Massacre 20 Years Ago: ‘I Was Lucky,’ Says Hero Who
  Stopped Murderer,” New York Daily News, December 7, 2013, available at
  http://www.nydailynews.com/new-york/nyc-crime/lirr-massacre-20-years-lucky-hero-stopped-
  murderer-article-1.1540846 (last accessed February 1, 2023); Sam Quinones and Nicole Santa
  Cruz, “Crowd Members Took Gunman Down,” Los Angeles Times, January 9, 2011, available at
  https://www.latimes.com/archives/la-xpm-2011-jan-09-la-na-arizona-shooting-heroes-20110110-
  story.html (last accessed February 1, 2023); Brad Schmitt, “Waffle House Hero: Could You
  Rush Toward a Gunman Who Just Killed People?” The Tennessean, April 24, 2018, available at
  https://www.tennessean.com/story/news/crime/2018/04/24/waffle-house-hero-could-you-rush-
  toward-gunman-who-just-killed-people/543943002 (last accessed February 1, 2023);
  “Parishioners Stop Gunman in Deadly California Church Attack,” NPR, May 16, 2022, available
  at https://www.npr.org/2022/05/16/1099168335/parishioners-stop-gunman-in-california-church-
  shooting (last accessed February 1, 2023).
                                                    32
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      VI.C.         BANS ON ASSAULT WEAPONS AND LCMS IN PRACTICE

          42.       In light of the growing threat posed by mass shootings, legislatures have enacted

  restrictions on assault weapons and LCMs in an effort to reduce the occurrence and lethality of

  such deadly acts of firearm violence. Prominent among these measures was the 1994 Federal

  Assault Weapons Ban. In September 1994, moved to action by high-profile shooting rampages

  that occurred the previous year at a San Francisco law firm and on a Long Island Rail Road

  commuter train, the U.S. Congress enacted a ban on assault weapons and LCMs that applied to

  all 50 states plus the District of Columbia, bringing the entire country under the ban. 47

          43.       Like the state bans on assault weapons and LCMs that were implemented before

  it, the federal ban was aimed primarily at reducing mass shooting violence—an objective the ban

  sought to achieve by prohibiting the manufacture, importation, possession, and transfer of assault

  weapons and LCMs not legally owned by civilians prior to the date of the law’s effect

  (September 13, 1994). 48 Congress, however, inserted a sunset provision in the law which
  allowed the federal ban to expire in exactly 10 years, if it was not renewed beforehand. As

  Congress ultimately chose not to renew the law, the federal ban expired on September 13, 2004.

  In the aftermath of the federal ban’s expiration, mass shooting violence in the United States

  increased substantially. 49

          44.       The legislative intent of the State of New Jersey in enacting the laws being

  challenged in the present case is similar to that of other legislative bodies that have restricted

  assault weapons and LCMs: reducing gun violence, especially the frequency and lethality of



          47
           Pub. L. No. 103-322, tit. XI, subtit. A, 108 Stat. 1796, 1996-2010 (codified as former
  18 U.S.C. § 922(v), (w)(1) (1994)).
          48
            Christopher Ingraham, “The Real Reason Congress Banned Assault Weapons in
  1994—and Why It Worked,” Washington Post, February 22, 2018, available at
  https://www.washingtonpost.com/news/wonk/wp/2018/02/22/the-real-reason-congress-banned-
  assault-weapons-in-1994-and-why-it-worked (last accessed January 2, 2023).
          49
               See sources cited supra note 14.
                                                     33
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  mass shootings. Because, on average, the use of assault weapons and LCMs results in higher

  death tolls in mass shootings, the rationale for imposing restrictions on assault weapons and

  LCMs is to reduce the loss of life associated with the increased kill potential of such firearm

  technologies.

         45.      Currently, 32% of the U.S. population is subject to a ban on both assault weapons

  and LCMs. The following is a list of the 11 state-level jurisdictions that presently restrict both

  assault weapons and LCMs: New Jersey (September 1, 1990); Hawaii (July 1, 1992, assault

  pistols only); Maryland (June 1, 1994, initially assault pistols but expanded to long guns October

  1, 2013); Massachusetts (July 23, 1998); California (January 1, 2000); New York (November 1,

  2000); the District of Columbia (March 31, 2009); Connecticut (April 4, 2013); Delaware

  (August 29, 2022); Illinois (January 10, 2023); and Washington (April 25, 2023). 50 As a
  reminder, from September 13, 1994 through September 12, 2004, the entire country was also

  subject to federal ban on both assault weapons and LCMs.

         46.      In the field of epidemiology, a common method for assessing the impact of laws

  and policies is to measure the rate of onset of new cases of an event, comparing the rate when

  and where the laws and policies were in effect against the rate when and where the laws and

  policies were not in effect. This measure, known as the incidence rate, allows public health

  experts to identify discernable differences, while accounting for variations in the population,

  over a set period of time. Relevant to the present case, calculating incidence rates across states,

  in a manner that captures whether or not bans on both assault weapons and LCMs were in effect

  during the period of observation, allows for the assessment of the effectiveness of such bans. In

  addition, fatality rates—the number of deaths, per population, that result from particular events




         50
            The dates in parentheses mark the effective dates on which the listed states became
  subject to bans on both assault weapons and LCMs.
                                                   34
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  across different jurisdictions—also provide insights into the impact bans on assault weapons and

  LCMs have on mass shooting violence. 51

         47.     Since September 1, 1990, when New Jersey became the first state to ban both

  assault weapons and LCMs, through December 31, 2022, there have been 93 high-fatality mass

  shootings in the United States (Exhibit C). 52 Calculating incidence and fatality rates for this

  time-period, across jurisdictions with and without bans on both assault weapons and LCMs,

  reveals that states subject to such bans experienced a 56% decrease in high-fatality mass

  shooting incidence rates. They also experienced a 66% decrease in high-fatality mass shooting

  fatality rates, regardless of whether assault weapons or LCMs were used (Table 7). 53
         48.     When calculations go a step further and are limited to mass shootings involving

  assault weapons or LCMs, the difference between the two jurisdictional categories (non-ban and

  ban states) is even more pronounced. In the time-period from January 1, 1991, through

  December 31, 2022, accounting for population, states with bans on both assault weapons and

  LCMs experienced a 62% decrease in the rate of high-fatality mass shootings involving the use

  of assault weapons or LCMs. Similarly, jurisdictions with such bans in effect experienced a 72%




         51
            For purposes of this report, incidence and fatality rates are calculated using methods
  and principles endorsed by the Centers for Disease Control. See Centers for Disease Control and
  Prevention, Principles of Epidemiology in Public Health Practice: An Introduction to Applied
  Epidemiology and Biostatistics (2012), available at https://stacks.cdc.gov/view/cdc/13178 (last
  accessed January 3, 2023).
         52
             There were no state bans on both assault weapons and LCMs in effect prior to
  September 1, 1990. Therefore, January 1, 1991, is a logical starting point for an analysis of the
  impact of bans on assault weapons and LCMs. As there were no high-fatality mass shootings in
  the last four months of 1990, extending the analysis back to September 1, 1990, would make no
  difference.
         53
           Between September 13, 1994, and September 12, 2004, the Federal Assault Weapons
  Ban was in effect. During that 10-year period, all 50 states and the District of Columbia were
  under legal conditions that restricted assault weapons and LCMs. As such, the entire country is
  coded as being under a ban on both assault weapons and LCMs during the timeframe that the
  Federal Assault Weapons Ban was in effect.
                                                   35
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  decrease in the rate of deaths resulting from high-fatality mass shootings perpetrated with assault

  weapons or LCMs (Table 7).

          49.    All of the above epidemiological calculations lead to the same conclusion: when

  bans on assault weapons and LCMs are in effect, per capita, fewer high-fatality mass shootings

  occur and fewer people die in such shootings—especially incidents involving assault weapons or

  LCMs, where the impact is most striking.

          50.    The main purpose of bans on assault weapons and LCMs is to restrict the

  availability of assault weapons and LCMs. The rationale is that, if there are fewer assault

  weapons and LCMs in circulation, then potential mass shooters will either be dissuaded from

  attacking or they will be forced to use less-lethal firearm technologies, resulting in fewer lives

  lost.

          51.    Moreover, forcing active shooters to reload creates critical pauses in an attack.

  These pauses provide opportunities for people in the line of fire to take life-saving measures

  (such as fleeing the area, taking cover out of the shooter’s sight, and fighting back), which in turn

  can help reduce casualties.

          52.    The epidemiological data lend support to the policy choices of New Jersey that

  seek to enhance public safety through restrictions on civilian access to certain firearms and

  magazines. While imposing constraints on assault weapons and LCMs will not prevent every

  mass shooting, the data suggest that legislative efforts to restrict such instruments of violence

  should result in lives being saved.




                                                   36
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                        EXHIBIT A
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  Education

  Ph.D. International Relations, 1999
        School of International Service
        American University
        Washington, DC

  B.A.   Political Science, Cum Laude, 1989
         School of Arts and Sciences
         University of Pennsylvania
         Philadelphia, PA


  Author

  Rampage Nation: Securing America from Mass Shootings


  Current Positions

  Research Professor, Teachers College, Columbia University, New York, NY, 2018-Present

  Faculty Affiliate, Media and Social Change Lab (MASCLab), Teachers College, Columbia
  University, New York, NY, 2019-Present


  Professional Experience

  Academic Experience (Presented in Academic Years)

  Associate Lecturer, Department of Global Affairs, University of Massachusetts – Boston,
  Boston, MA, 2015-2020

  Senior Fulbright Scholar (Security Studies), Department of European and International Studies,
  University of Macedonia, Thessaloniki, Greece, 2011-2012

  Founder and Coordinator, Graduate Transnational Security Program, Center for Global Affairs,
  New York University, New York, NY, 2009-2011

  Faculty Affiliate, A. S. Onassis Program in Hellenic Studies, New York University, New York,
  NY, 2007-2011

  Clinical Faculty, Center for Global Affairs, New York University, New York, NY, 2006-2011

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  Adjunct Professor, Center for Global Affairs, New York University, New York, NY, 2004-2006

  Assistant Professor of Political Science, City University of New York – College of Staten Island,
  Staten Island, NY, 2003-2006

  Associate Fellow, European Institute, London School of Economics and Political Science,
  London, England, UK, 2003-2004

  Defense Analysis Research Fellow, London School of Economics and Political Science, London,
  England, UK, 2002-2004

  Visiting Assistant Professor of Political Science and International Affairs, George Washington
  University, Washington, DC, 1999-2002

  Adjunct Professor of Political Science, George Washington University, Washington, DC, 1998-
  1999

  Adjunct Professor of International Relations, School of International Service, American
  University, Washington, DC, 1994-1995

  Dean’s Scholar, School of International Service, American University, Washington, DC, 1989-
  1992

  Professional Experience (Presented in Calendar Years)

  Consultant, National Joint Terrorism Task Force, Federal Bureau of Investigation, Washington,
  DC, 2015

  Writer, Prometheus Books, Amherst, NY, 2012-2015

  Consultant, United States Institute of Peace, Washington, DC, 2005, 2008-2009

  Research Associate, United States Institute of Peace, Washington, DC, 1992-1998

  Faculty Advisor, National Youth Leadership Forum, Washington, DC, 1992




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  Courses Taught

   Graduate                                              Undergraduate
   Counter-Terrorism and Homeland Security               American Government and Politics
   International Political Economy                       European-Atlantic Relations
   International Politics in a Post-Cold War Era         International Political Economy
   International Security                                International Relations
   Machinery and Politics of American Foreign Policy     Transnational Terrorism
   Role of the United States in World Affairs            United States Foreign Policy
   Security Policy
   Theories of International Politics
   Transnational Security
   Transnational Terrorism
   United States Foreign Policy


  Scholarship

  “State Firearm Laws, Gun Ownership, and K-12 School Shootings: Implications for School
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  al.)

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  the Johns Hopkins University Center for Gun Policy and Research for the Association of
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  al.)

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  “No Relief in Sight: Barring Bivens Suits in Torture Cases,” Presidential Studies Quarterly, June
  2013

  Review of James Edward Miller’s The United States and the Making of Modern Greece: History
  and Power, 1950-1974, Presidential Studies Quarterly, June 2012 (book review)

  “Trends in Terrorism Since 9/11,” Georgetown Journal of International Affairs, Winter/Spring
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  “Casualties, Polls and the Iraq War,” International Security, Fall 2006 (correspondence)

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  “Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
  Coup,” Diplomatic History, June 2006

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  Mediterranean Quarterly, Summer 2005

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  “Can You Sue the White House? Opening the Door for Separation of Powers Immunity in
  Cheney v. District Court,” Presidential Studies Quarterly, December 2004

  “Political Realism: A Culprit for the 9/11 Attacks,” Harvard International Review, Fall 2004

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  Observatory Discussion Paper 18, London School of Economics, November 2004

  Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
  Coup, Hellenic Observatory Discussion Paper 15, London School of Economics, February 2004

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  “The Surrender of Alleged War Criminals to International Tribunals: Examining the
  Constitutionality of Extradition via Congressional-Executive Agreement,” UCLA Journal of
  International Law and Foreign Affairs, Fall/Winter 2003

  “The Constitutionality of Congressional-Executive Agreements: Insights from Two Recent
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  Force,” International Studies Perspectives, November 2002

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  “Turkey’s Right v. Might Dilemma in Cyprus: Reviewing the Implications of Loizidou v.
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  Dimitris Keridis, eds., Security in Southeastern Europe and the U.S.-Greek–Relationship,
  London: Brassey’s, 1997 (co-authored with Theodore A. Couloumbis)]

  “Structuration Theory in International Relations,” Swords & Ploughshares, Spring 1992


  Commentaries and Correspondence

  “Why Our Response to School Shootings Is All Wrong,” Los Angeles Times, May 25, 2022 (co-
  authored with Sonali Rajan and Charles Branas)

  “COVID-19 Is a Threat to National Security. Let’s Start Treating It as Such,” Just Security,
  August 6, 2020 (co-authored with Colin P. Clarke)

  “If the Assault Weapons Ban ‘Didn’t Work,’ Then Why Does the Evidence Suggest It Saved
  Lives?” Los Angeles Times, March 11, 2018 (correspondence)

  “London and the Mainstreaming of Vehicular Terrorism,” The Atlantic, June 4, 2017 (co-
  authored with Colin P. Clarke)

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  30, 2015 [Reproduced as “Almost Every Fatal Terrorist Attack in America since 9/1 Has
  Involved Guns.” Vice, December 4, 2015]

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  “Al Qaeda Without Bin Laden,” CBS News Opinion, May 2, 2011

  “Fuel, But Not the Spark,” Zocalo Public Square, February 16, 2011

  “After Tucson, Emotions Run High,” New York Times, January 12, 2011 (correspondence)


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  “WikiLeaks, the Web, and the Need to Rethink the Espionage Act,” The Atlantic, November 9,
  2010

  “Deprogramming Jihadis,” New York Times Magazine, November 23, 2008 (correspondence)

  “Food: An Issue of National Security,” Forbes (Forbes.com), October 25, 2008

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  Stage,” Kathimerini (Greece), January 13, 2005

  “How Many War Deaths Can We Take?” Newsday, November 7, 2003

  “Down But Not Out,” London School of Economics Iraq War Website, April 2003

  “Four Half-Truths and a War,” American Reporter, April 6, 2003

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  https://www.nydailynews.com/authors/?author=Louis+Klarevas

  “Careful How You Talk about Suicide, Mr. President,” March 25, 2020 (co-authored with Sonali
  Rajan, Charles Branas, and Katherine Keyes)

  “Only as Strong as Our Weakest Gun Laws: The Latest Mass Shooting Makes a Powerful Case
  for Federal Action,” November 8, 2018

  “What to Worry, and not Worry, About: The Thwarted Pipe-Bomb Attacks Point to Homeland
  Security Successes and Vulnerabilities,” October 25, 2018


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  “After the Santa Fe Massacre, Bury the ‘Good Guy with a Gun’ Myth: Armed Staffers Won’t
  Deter Shooters or Keep Kids Safe,” May 22, 2018

  “It’s the Guns (and Ammo), Stupid: Dissuading Killers and Hardening Targets Matter Too, But
  Access to Weapons Matters Most,” February 18, 2018

  “The Texas Shooting Again Reveals Inadequate Mental-Health Help in the U.S. Military,”
  November 7, 2017

  “Why Mass Shootings Are Getting Worse: After Vegas, We Urgently Must Fix Our Laws,”
  October 2, 2017

  “N.Y. Can Lead the Nation in Fighting Child Sex Trafficking,” April 21, 2009 (co-authored with
  Ana Burdsall-Morse)

  “Crack Down on Handguns – They’re a Tool of Terror, Too,” October 25, 2007


  Commentaries Written for The Huffington Post – www.huffingtonpost.com/louis-klarevas

  “Improving the Justice System Following the Deaths of Michael Brown and Eric Garner,”
  December 4, 2014

  “American Greengemony: How the U.S. Can Help Ukraine and the E.U. Break Free from
  Russia’s Energy Stranglehold,” March 6, 2014

  “Guns Don’t Kill People, Dogs Kill People,” October 17, 2013

  “Romney the Liberal Internationalist?” October 23, 2012

  “Romney’s Unrealistic Foreign Policy Vision: National Security Funded by Money Growing
  Trees,” October 10, 2012

  “Do the Wrong Thing: Why Penn State Failed as an Institution,” November 14, 2011

  “Holding Egypt’s Military to Its Pledge of Democratic Reform,” February 11, 2011

  “The Coming Twivolutions? Social Media in the Recent Uprisings in Tunisia and Egypt,”
  January 31, 2011

  “Scholarship Slavery: Does St. John’s ‘Dean of Mean’ Represent a New Face of Human
  Trafficking?” October 6, 2010

  “Misunderstanding Terrorism, Misrepresenting Islam,” September 21, 2010

  “Bombing on the Analysis of the Times Square Bomb Plot,” May 5, 2010


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  “Do the Hutaree Militia Members Pose a Terrorist Threat?” May 4, 2010

  “Addressing Mexico’s Gun Violence One Extradition at a Time,” March 29, 2010

  “Terrorism in Texas: Why the Austin Plane Crash Is an Act of Terror,” February 19, 2010

  “Securing American Primacy by Tackling Climate Change: Toward a National Strategy of
  Greengemony,” December 15, 2009

  “Traffickers Without Borders: A ‘Journey’ into the Life of a Child Victimized by Sex
  Trafficking,” November 17, 2009

  “Beyond a Lingering Doubt: It’s Time for a New Standard on Capital Punishment,” November 9,
  2009

  “It’s the Guns Stupid: Why Handguns Remain One of the Biggest Threats to Homeland
  Security,” November 7, 2009

  “Obama Wins the 2009 Nobel Promise Prize,” October 9, 2009


  Commentaries for Foreign Policy – www.foreignpolicy.com

  “The White House’s Benghazi Problem,” September 20, 2012

  “Greeks Don’t Want a Grexit,” June 14, 2012

  “The Earthquake in Greece,” May 7, 2012

  “The Idiot Jihadist Next Door,” December 1, 2011

  “Locked Up Abroad,” October 4, 2011


  Commentaries for The New Republic – www.tnr.com/users/louis-klarevas

  “What the U.N. Can Do To Stop Getting Attacked by Terrorists,” September 2, 2011

  “Is It Completely Nuts That the British Police Don’t Carry Guns? Maybe Not,” August 13, 2011

  “How Obama Could Have Stayed the Execution of Humberto Leal Garcia,” July 13, 2011

  “After Osama bin Laden: Will His Death Hasten Al Qaeda’s Demise?” May 2, 2011

  “Libya’s Stranger Soldiers: How To Go After Qaddafi’s Mercenaries,” February 28, 2011



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  “Closing the Gap: How To Reform U.S. Gun Laws To Prevent Another Tucson,” January 13,
  2011

  “Easy Target,” June 13, 2010

  “Death Be Not Proud,” October 27, 2003 (correspondence)


  Legal Analyses Written for Writ – writ.news.findlaw.com/contributors.html#klarevas

  “Human Trafficking and the Child Protection Compact Act of 2009,” Writ (FindLaw.com), July
  15, 2009 (co-authored with Christine Buckley)

  “Can the Justice Department Prosecute Reporters Who Publish Leaked Classified Information?
  Interpreting the Espionage Act,” Writ (FindLaw.com), June 9, 2006

  “Will the Precedent Set by the Indictment in a Pentagon Leak Case Spell Trouble for Those Who
  Leaked Valerie Plame's Identity to the Press?” Writ (FindLaw.com), August 15, 2005

  “Jailing Judith Miller: Why the Media Shouldn’t Be So Quick to Defend Her, and Why a
  Number of These Defenses Are Troubling,” Writ (FindLaw.com), July 8, 2005

  “The Supreme Court Dismisses the Controversial Consular Rights Case: A Blessing in Disguise
  for International Law Advocates?” Writ (FindLaw.com), June 6, 2005 (co-authored with Howard
  S. Schiffman)

  “The Decision Dismissing the Lawsuit against Vice President Dick Cheney,” Writ
  (FindLaw.com), May 17, 2005

  “The Supreme Court Considers the Rights of Foreign Citizens Arrested in the United States,”
  Writ (FindLaw.com), March 21, 2005 (co-authored with Howard S. Schiffman)


  Presentations and Addresses

  In addition to the presentations listed below, I have made close to one hundred media
  appearances, book events, and educational presentations (beyond lectures for my own
  classes)

  “Mass Shootings: What We Know, What We Don’t Know, and Why It All Matters,” keynote
  presentation to be delivered at the Columbia University Center for Injury Science and Prevention
  Annual Symposium, virtual meeting, May 2020

  “K-12 School Environmental Responses to Gun Violence: Gaps in the Evidence,” paper
  presented at Society for Advancement of Violence and Injury Research Annual Meeting, virtual
  meeting, April 2020 (co-authored with Sonali Rajan, Joseph Erardi, Justin Heinze, and Charles
  Branas)


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  “Active School Shootings,” Post-Performance Talkback following Presentation of 17 Minutes,
  Barrow Theater, New York, January 29, 2020 (co-delivered with Sonali Rajan)

  “Addressing Mass Shootings in Public Health: Lessons from Security Studies,” Teachers
  College, Columbia University, November 25, 2019

  “Rampage Nation: Securing America from Mass Shootings,” Swarthmore College, October 24,
  2019

  “Rampage Nation: Securing America from Mass Shootings,” University of Pennsylvania,
  February 9, 2018

  “Treating Mass Shootings for What They Really Are: Threats to American Security,”
  Framingham State University, October 26, 2017

  “Book Talk: Rampage Nation,” Teachers College, Columbia University, October 17, 2017

  Participant, Roundtable on Assault Weapons and Large-Capacity Magazines, Annual Conference
  on Second Amendment Litigation and Jurisprudence, Law Center to Prevent Gun Violence,
  October 16, 2017

  “Protecting the Homeland: Tracking Patterns and Trends in Domestic Terrorism,” address
  delivered to the annual meeting of the National Joint Terrorism Task Force, June 2015

  “Sovereign Accountability: Creating a Better World by Going after Bad Political Leaders,”
  address delivered to the Daniel H. Inouye Asia-Pacific Center for Security Studies, November
  2013

  “Game Theory and Political Theater,” address delivered at the School of Drama, State Theater of
  Northern Greece, May 2012

  “Holding Heads of State Accountable for Gross Human Rights Abuses and Acts of Aggression,”
  presentation delivered at the Michael and Kitty Dukakis Center for Public and Humanitarian
  Service, American College of Thessaloniki, May 2012

  Chairperson, Cultural Enrichment Seminar, Fulbright Foundation – Southern Europe, April 2012

  Participant, Roundtable on “Did the Intertubes Topple Hosni?” Zócalo Public Square, February
  2011

  Chairperson, Panel on Democracy and Terrorism, annual meeting of the International Security
  Studies Section of the International Studies Association, October 2010

  “Trends in Terrorism Within the American Homeland Since 9/11,” paper to be presented at the
  annual meeting of the International Security Studies Section of the International Studies
  Association, October 2010


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  Panelist, “In and Of the World,” Panel on Global Affairs in the 21st Century, Center for Global
  Affairs, New York University, March 2010

  Moderator, “Primacy, Perils, and Players: What Does the Future Hold for American Security?”
  Panel of Faculty Symposium on Global Challenges Facing the Obama Administration, Center for
  Global Affairs, New York University, March 2009

  “Europe’s Broken Border: The Problem of Illegal Immigration, Smuggling and Trafficking via
  Greece and the Implications for Western Security,” presentation delivered at the Center for
  Global Affairs, New York University, February 2009

  “The Dangers of Democratization: Implications for Southeast Europe,” address delivered at the
  University of Athens, Athens, Greece, May 2008

  Participant, “U.S. National Intelligence: The Iran National Intelligence Estimate,” Council on
  Foreign Relations, New York, April 2008

  Moderator, First Friday Lunch Series, “Intelligence in the Post-9/11 World: An Off-the-Record
  Conversation with Dr. Joseph Helman (U.S. Senior National Intelligence Service),” Center for
  Global Affairs, New York University, March 2008

  Participant, “U.S. National Intelligence: Progress and Challenges,” Council on Foreign
  Relations, New York, March 2008

  Moderator, First Friday Lunch Series, “Public Diplomacy: The Steel Backbone of America’s
  Soft Power: An Off-the-Record Conversation with Dr. Judith Baroody (U.S. Department of
  State),” Center for Global Affairs, New York University, October 2007

  “The Problems and Challenges of Democratization: Implications for Latin America,”
  presentation delivered at the Argentinean Center for the Study of Strategic and International
  Relations Third Conference on the International Relations of South America (IBERAM III),
  Buenos Aires, Argentina, September 2007

  “The Importance of Higher Education to the Hellenic-American Community,” keynote address
  to the annual Pan-Icarian Youth Convention, New York, May 2007

  Moderator, First Friday Lunch Series, Panel Spotlighting Graduate Theses and Capstone
  Projects, Center for Global Affairs, New York University, April 2007

  Convener, U.S. Department of State Foreign Officials Delegation Working Group on the Kurds
  and Turkey, March 2007

  “Soft Power and International Law in a Globalizing Latin America,” round-table presentation
  delivered at the Argentinean Center for the Study of Strategic and International Relations
  Twelfth Conference of Students and Graduates of International Relations in the Southern Cone
  (CONOSUR XII), Buenos Aires, Argentina, November 2006


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  Moderator, First Friday Lunch Series, “From Berkeley to Baghdad to the Beltway: An Off-the-
  Record Conversation with Dr. Catherine Dale (U.S. Department of Defense),” Center for Global
  Affairs, New York University, November 2006

  Chairperson, Roundtable on Presidential Privilege and Power Reconsidered in a Post-9/11 Era,
  American Political Science Association Annual Meeting, September 2006

  “Constitutional Controversies,” round-table presentation delivered at City University of New
  York-College of Staten Island, September 2005

  “The Future of the Cyprus Conflict,” address to be delivered at City University of New York
  College of Staten Island, April 2005

  “The 2004 Election and the Future of American Foreign Policy,” address delivered at City
  University of New York College of Staten Island, December 2004

  “One Culprit for the 9/11 Attacks: Political Realism,” address delivered at City University of
  New York-College of Staten Island, September 2004

  “Were the Eagle and the Phoenix Birds of a Feather? The United States and the 1967 Greek
  Coup,” address delivered at London School of Economics, November 2003

  “Beware of Europeans Bearing Gifts? Cypriot Accession to the EU and the Prospects for Peace,”
  address delivered at Conference on Mediterranean Stability, Security, and Cooperation, Austrian
  Defense Ministry, Vienna, Austria, October 2003

  Co-Chair, Panel on Ideational and Strategic Aspects of Greek International Relations, London
  School of Economics Symposium on Modern Greece, London, June 2003

  “Greece between Old and New Europe,” address delivered at London School of Economics, June
  2003

  Co-Chair, Panel on International Regimes and Genocide, International Association of Genocide
  Scholars Annual Meeting, Galway, Ireland, June 2003

  “American Cooperation with International Tribunals,” paper presented at the International
  Association of Genocide Scholars Annual Meeting, Galway, Ireland, June 2003

  “Is the Unipolar Moment Fading?” address delivered at London School of Economics, May 2003

  “Cyprus, Turkey, and the European Union,” address delivered at London School of Economics,
  February 2003

  “Bridging the Greek-Turkish Divide,” address delivered at Northwestern University, May 1998

  “The CNN Effect: Fact or Fiction?” address delivered at Catholic University, April 1998


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  “The Current Political Situation in Cyprus,” address delivered at AMIDEAST, July 1997

  “Making the Peace Happen in Cyprus,” presentation delivered at the U.S. Institute of Peace in
  July 1997

  “The CNN Effect: The Impact of the Media during Diplomatic Crises and Complex
  Emergencies,” a series of presentations delivered in Cyprus (including at Ledra Palace), May
  1997

  “Are Policy-Makers Misreading the Public? American Public Opinion on the United Nations,”
  paper presented at the International Studies Association Annual Meeting, Toronto, Canada,
  March 1997 (with Shoon Murray)

  “The Political and Diplomatic Consequences of Greece’s Recent National Elections,”
  presentation delivered at the National Foreign Affairs Training Center, Arlington, VA,
  September 1996

  “Prospects for Greek-Turkish Reconciliation,” presentation delivered at the U.S. Institute of
  Peace Conference on Greek-Turkish Relations, Washington, D.C., June, 1996 (with Theodore A.
  Couloumbis)

  “Greek-Turkish Reconciliation,” paper presented at the Karamanlis Foundation and Fletcher
  School of Diplomacy Joint Conference on The Greek-U.S. Relationship and the Future of
  Southeastern Europe, Washington, D.C., May, 1996 (with Theodore A. Couloumbis)

  “The Path toward Peace in the Eastern Mediterranean and the Balkans in the Post-Cold War
  Era,” paper presented at the International Studies Association Annual Meeting, San Diego, CA,
  March, 1996 (with Theodore A. Couloumbis)

  “Peace Operations: The View from the Public,” paper presented at the International Studies
  Association Annual Meeting, San Diego, CA, March, 1996

  Chairperson, Roundtable on Peace Operations, International Security Section of the International
  Studies Association Annual Meeting, Rosslyn, VA, October, 1995

  “Chaos and Complexity in International Politics: Epistemological Implications,” paper presented
  at the International Studies Association Annual Meeting, Washington, D.C., March, 1994

  “At What Cost? American Mass Public Opinion and the Use of Force Abroad,” paper presented
  at the International Studies Association Annual Meeting, Washington, D.C., March, 1994 (with
  Daniel B. O'Connor)

  “American Mass Public Opinion and the Use of Force Abroad,” presentation delivered at the
  United States Institute of Peace, Washington, D.C., February, 1994 (with Daniel B. O'Connor)




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  “For a Good Cause: American Mass Public Opinion and the Use of Force Abroad,” paper
  presented at the Annual Meeting of the Foreign Policy Analysis/Midwest Section of the
  International Studies Association, Chicago, IL, October, 1993 (with Daniel B. O’Connor)

  “American International Narcotics Control Policy: A Critical Evaluation,” presentation delivered
  at the American University Drug Policy Forum, Washington, D.C., November, 1991

  “American National Security in the Post-Cold War Era: Social Defense, the War on Drugs, and
  the Department of Justice,” paper presented at the Association of Professional Schools of
  International Affairs Conference, Denver, CO, February, 1991


  Referee for Grant Organizations, Peer-Reviewed Journals, and Book Publishers

  National Science Foundation, Division of Social and Economic Sciences

  American Journal of Preventive Medicine

  American Journal of Public Health

  American Political Science Review

  British Medical Journal (BMJ)

  Comparative Political Studies

  Injury Epidemiology

  Journal of Public and International Affairs

  Millennium

  Political Behavior

  Presidential Studies Quarterly

  Victims & Offenders

  Violence and Victims

  Brill Publishers

  Johns Hopkins University Press

  Routledge




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  Service to University, Profession, and Community

  Participant, Minnesota Chiefs of Police Association, Survey of Measures to Reduce Gun
  Violence, 2023

  Member, Regional Gun Violence Research Consortium, Nelson A. Rockefeller Institute of
  Government, State University of New York, 2022-

  Founding Member, Scientific Union for the Reduction of Gun Violence (SURGE), Columbia
  University, 2019-

  Contributing Lecturer, Johns Hopkins University, Massive Open Online Course on Evidence-
  Based Gun Violence Research, Funded by David and Lucile Packard Foundation, 2019

  Member, Group of Gun Violence Experts, New York Times Upshot Survey, 2017

  Member, Guns on Campus Assessment Group, Johns Hopkins University and Association of
  American Universities, 2016

  Member, Fulbright Selection Committee, Fulbright Foundation, Athens, Greece, 2012

  Faculty Advisor, Global Affairs Graduate Society, New York University, 2009-2011

  Founder and Coordinator, Graduate Transnational Security Studies, Center for Global Affairs,
  New York University, 2009-2011

  Organizer, Annual Faculty Symposium, Center for Global Affairs, New York University, 2009

  Member, Faculty Search Committees, Center for Global Affairs, New York University, 2007-
  2009

  Member, Graduate Program Director Search Committee, Center for Global Affairs, New York
  University, 2008-2009

  Developer, Transnational Security Studies, Center for Global Affairs, New York University,
  2007-2009

  Participant, Council on Foreign Relations Special Series on National Intelligence, New York,
  2008

  Member, Graduate Certificate Curriculum Committee, Center for Global Affairs, New York
  University, 2008

  Member, Faculty Affairs Committee, New York University, 2006-2008

  Member, Curriculum Review Committee, Center for Global Affairs, New York University,
  2006-2008


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                                    3104




  Member, Overseas Study Committee, Center for Global Affairs, New York University, 2006-
  2007

  Participant, New York Academic Delegation to Israel, Sponsored by American-Israel Friendship
  League, 2006

  Member, Science, Letters, and Society Curriculum Committee, City University of New York-
  College of Staten Island, 2006

  Member, Graduate Studies Committee, City University of New York-College of Staten Island,
  2005-2006

  Member, Summer Research Grant Selection Committee, City University of New York-College
  of Staten Island, 2005

  Director, College of Staten Island Association, 2004-2005

  Member of Investment Committee, College of Staten Island Association, 2004-2005

  Member of Insurance Committee, College of Staten Island Association, 2004-2005

  Member, International Studies Advisory Committee, City University of New York-College of
  Staten Island, 2004-2006

  Faculty Advisor, Pi Sigma Alpha National Political Science Honor Society, City University of
  New York-College of Staten Island, 2004-2006

  Participant, World on Wednesday Seminar Series, City University of New York-College of
  Staten Island, 2004-2005

  Participant, American Democracy Project, City University of New York-College of Staten
  Island, 2004

  Participant, Philosophy Forum, City University of New York-College of Staten Island, 2004

  Commencement Liaison, City University of New York-College of Staten Island, 2004

  Member of Scholarship Committee, Foundation of Pan-Icarian Brotherhood, 2003-2005, 2009

  Scholarship Chairman, Foundation of Pan-Icarian Brotherhood, 2001-2003

  Faculty Advisor to the Kosmos Hellenic Society, George Washington University, 2001-2002

  Member of University of Pennsylvania’s Alumni Application Screening Committee, 2000-2002

  Participant in U.S. Department of State’s International Speakers Program, 1997


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                                    3105




  Participant in Yale University’s United Nations Project, 1996-1997

  Member of Editorial Advisory Board, Journal of Public and International Affairs, Woodrow
  Wilson School of Public and International Affairs, Princeton University, 1991-1993

  Voting Graduate Student Member, School of International Service Rank and Tenure Committee,
  American University, 1990-1992

  Member of School of International Service Graduate Student Council, American University,
  1990-1992

  Teaching Assistant for the Several Courses (World Politics, Beyond Sovereignty, Between Peace
  and War, Soviet-American Security Relations, and Organizational Theory) at School of
  International Service Graduate Student Council, American University, 1989-1992

  Representative for American University at the Annual Meeting of the Association of
  Professional Schools of International Affairs, Denver, Colorado, 1991


  Expert Witness Service

  Town of Superior, Colorado, 2023-

  City of Boulder, Colorado, 2023-

  City of Louisville, Colorado, 2023-

  County of Boulder, Colorado, 2023-

  State of Connecticut, 2023-

  State of Hawaii, 2023-

  State of Illinois, 2023-
  State of Massachusetts, 2023-

  State of New Jersey, 2023-

  State of Oregon, 2023-

  City of Highland Park, Illinois, 2022-

  County of Cook, Illinois, 2022-

  State of Washington, 2022-

  Government of Canada, 2021-2022




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  Plaintiffs, Ward et al. v. Academy Sports + Outdoor, District Court Bexar County, Texas, 224th
  Judicial District, Cause Number 2017CI23341, Bexar County, TX, 2019

  State of California, 2017-

  State of Colorado, 2016-2017, 2022-


  Affiliations, Associations, and Organizations (Past and Present)

  Academy of Political Science (APS)

  American Political Science Association (APSA)

  Anderson Society of American University

  Carnegie Council Global Ethics Network

  Columbia University Scientific Union for the Reduction of Gun Violence (SURGE)

  Firearm Safety among Children and Teens (FACTS)

  International Political Science Association (IPSA)

  International Studies Association (ISA)

  New York Screenwriters Collective

  Pan-Icarian Brotherhood

  Pi Sigma Alpha

  Regional Gun Violence Research Consortium

  Society for Advancement of Violence and Injury Research (SAVIR)

  United States Department of State Alumni Network

  United States Institute of Peace Alumni Association

  University of Pennsylvania Alumni Association




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  Grants, Honors, and Awards

  Co-Investigator, A Nationwide Case-Control Study of Firearm Violence Prevention Tactics and
  Policies in K-12 School, National Institutes of Health, 2021-2024 (Branas and Rajan MPIs)

  Senior Fulbright Fellowship, 2012

  Professional Staff Congress Research Grantee, City University of New York, 2004-2005

  Research Assistance Award (Two Times), City University of New York-College of Staten
  Island, 2004

  Summer Research Fellowship, City University of New York-College of Staten Island, 2004

  European Institute Associate Fellowship, London School of Economics, 2003-2004

  Hellenic Observatory Defense Analysis Research Fellowship, London School of Economics,
  2002-2003

  United States Institute of Peace Certificate of Meritorious Service, 1996

  National Science Foundation Dissertation Research Grant, 1995 (declined)

  Alexander George Award for Best Graduate Student Paper, Runner-Up, Foreign Policy Analysis
  Section, International Studies Association, 1994

  Dean’s Scholar Fellowship, School of International Service, American University, 1989-1992

  Graduate Research and Teaching Assistantship, School of International Service, American
  University, 1989-1992

  American Hellenic Educational Progressive Association (AHEPA) College Scholarship, 1986

  Political Science Student of the Year, Wilkes-Barre Area School District, 1986




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                        EXHIBIT B
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                        EXHIBIT C
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                                             Exhibit C
                     High-Fatality Mass Shootings in the United States, 1991-2022

          Date                      City                    State   Deaths   Involved AWs   Involved LCMs
   1     1/26/1991                Chimayo                   NM        7           N              N
   2      8/9/1991                Waddell                   AZ        9           N              N
   3    10/16/1991                 Killeen                  TX       23           N              Y
   4     11/7/1992       Morro Bay and Paso Robles          CA        6           N              N
   5      1/8/1993                Palatine                   IL       7           N              N
   6     5/16/1993                 Fresno                   CA        7           Y              Y
   7      7/1/1993              San Francisco               CA        8           Y              Y
   8     12/7/1993               Garden City                NY        6           N              Y
   9     4/20/1999                Littleton                 CO       13           Y              Y
   10    7/12/1999                 Atlanta                  GA        6           N              U
   11    7/29/1999                 Atlanta                  GA        9           N              Y
   12    9/15/1999               Fort Worth                 TX        7           N              Y
   13    11/2/1999                Honolulu                   HI       7           N              Y
   14   12/26/2000               Wakefield                  MA        7           Y              Y
   15   12/28/2000              Philadelphia                 PA       7           N              Y
   16    8/26/2002                Rutledge                  AL        6           N              N
   17    1/15/2003                Edinburg                  TX        6           Y              U
   18     7/8/2003                Meridian                  MS        6           N              N
   19    8/27/2003                Chicago                    IL       6           N              N
   20    3/12/2004                 Fresno                   CA        9           N              N
   21   11/21/2004               Birchwood                   WI       6           Y              Y
   22    3/12/2005               Brookfield                  WI       7           N              Y
   23    3/21/2005                Red Lake                  MN        9           N              Y
   24    1/30/2006                 Goleta                   CA        7           N              Y
   25    3/25/2006                 Seattle                  WA        6           N              N
   26     6/1/2006              Indianapolis                 IN       7           Y              Y
   27   12/16/2006               Kansas City                 KS       6           N              N
   28    4/16/2007               Blacksburg                 VA       32           N              Y
   29    10/7/2007                Crandon                    WI       6           Y              Y
   30    12/5/2007                 Omaha                    NE        8           Y              Y
   31   12/24/2007                Carnation                 WA        6           N              U
   32     2/7/2008               Kirkwood                   MO        6           N              Y
   33     9/2/2008                 Alger                    WA        6           N              U
   34   12/24/2008                 Covina                   CA        8           N              Y
   35    1/27/2009              Los Angeles                 CA        6           N              N
   36    3/10/2009       Kinston, Samson, and Geneva        AL       10           Y              Y
   37    3/29/2009                Carthage                  NC        8           N              N
   38     4/3/2009              Binghamton                  NY       13           N              Y

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             Date           City               State   Deaths   Involved AWs   Involved LCMs
   39    11/5/2009       Fort Hood             TX       13           N              Y
   40    1/19/2010      Appomattox             VA        8           Y              Y
   41     8/3/2010      Manchester              CT       8           N              Y
   42     1/8/2011        Tucson               AZ        6           N              Y
   43     7/7/2011     Grand Rapids             MI       7           N              Y
   44     8/7/2011    Copley Township          OH        7           N              N
   45   10/12/2011       Seal Beach            CA        8           N              N
   46   12/25/2011       Grapevine             TX        6           N              N
   47     4/2/2012        Oakland              CA        7           N              N
   48    7/20/2012        Aurora               CO       12           Y              Y
   49     8/5/2012       Oak Creek              WI       6           N              Y
   50    9/27/2012      Minneapolis            MN        6           N              Y
   51   12/14/2012       Newtown                CT      27           Y              Y
   52   7/26//2013        Hialeah               FL       6           N              Y
   53    9/16/2013      Washington             DC       12           N              N
   54     7/9/2014         Spring              TX        6           N              Y
   55    9/18/2014          Bell                FL       7           N              U
   56    2/26/2015        Tyrone               MO        7           N              U
   57    5/17/2015         Waco                TX        9           N              Y
   58    6/17/2015       Charleston             SC       9           N              Y
   59     8/8/2015        Houston              TX        8           N              U
   60    10/1/2015       Roseburg              OR        9           N              Y
   61    12/2/2015     San Bernardino          CA       14           Y              Y
   62    2/21/2016       Kalamazoo              MI       6           N              Y
   63    4/22/2016        Piketon              OH        8           N              U
   64    6/12/2016        Orlando               FL      49           Y              Y
   65    5/27/2017      Brookhaven             MS        8           Y              Y
   66    9/10/2017         Plano               TX        8           Y              Y
   67    10/1/2017       Las Vegas             NV       60           Y              Y
   68    11/5/2017   Sutherland Springs        TX       25           Y              Y
   69    2/14/2018        Parkland              FL      17           Y              Y
   70    5/18/2018        Santa Fe             TX       10           N              N
   71   10/27/2018       Pittsburgh             PA      11           Y              Y
   72    11/7/2018     Thousand Oaks           CA       12           N              Y
   73    5/31/2019     Virginia Beach          VA       12           N              Y
   74     8/3/2019        El Paso              TX       23           Y              Y
   75     8/4/2019        Dayton               OH        9           Y              Y
   76    8/31/2019   Midland and Odessa        TX        7           Y              Y
   77    3/15/2020        Moncure              NC        6           U              U
   78     6/4/2020   Valhermoso Springs        AL        7           Y              Y
   79     9/7/2020        Aguanga              CA        7           U              U

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                Date                    City                    State    Deaths    Involved AWs       Involved LCMs
   80       2/2/2021                 Muskogee                    OK         6             N                  U
   81     3/16/2021            Acworth and Atlanta               GA         8             N                  Y
   82     3/22/2021                   Boulder                    CO        10             Y                  Y
   83       4/7/2021                 Rock Hill                   SC         6             Y                  Y
   84     4/15/2021                 Indianapolis                 IN         8             Y                  Y
   85       5/9/2021             Colorado Springs                CO         6             N                  Y
   86     5/26/2021                   San Jose                   CA         9             N                  Y
   87     1/23/2022                 Milwaukee                    WI         6             N                  U
   88       4/3/2022                Sacramento                   CA         6             N                  Y
   89     5/14/2022                   Buffalo                    NY        10             Y                  Y
   90     5/24/2022                   Uvalde                     TX        21             Y                  Y
   91       7/4/2022               Highland Park                  IL        7             Y                  Y
   92    10/27/2022                Broken Arrow                  OK         7             N                  U
   93    11/22/2022                 Chesapeake                   VA         6             N                  U


  Note: High-fatality mass shootings are mass shootings resulting in 6 or more fatalities, not including the
  perpetrator(s), regardless of location or motive. For purposes of this Exhibit, a high-fatality mass shooting was
  coded as involving an assault weapon if at least one of the firearms discharged was defined as an assault weapon in
  (1) the 1994 federal Assault Weapons Ban or (2) the statutes of the state where the shooting occurred. For purposes
  of this Exhibit, a high-fatality mass shooting was coded as involving a large-capacity magazine if at least one of the
  firearms discharged had an ammunition-feeding device with a capacity of more than 10 bullets. Incidents in gray
  shade are those incidents that occurred at a time when and in a state where legal prohibitions on both assault
  weapons and large-capacity magazines were in effect statewide or nationwide.

  Sources: Louis Klarevas, Rampage Nation: Securing America from Mass Shootings (2016); Louis Klarevas, et al.,
  The Effect of Large-Capacity Magazine Bans on High-Fatality Mass Shootings, 109 American Journal of Public
  Health 1754 (2019), available at https://ajph.aphapublications.org/doi/full/10.2105/AJPH.2019.305311 (last
  accessed December 27, 2022); and “Gun Violence Archive,” available at https://www.gunviolencearchive.org (last
  accessed January 3, 2023). The Gun Violence Archive was only consulted for identifying high-fatality mass
  shootings that occurred since January 1, 2018.




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                        EXHIBIT D
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                           Mass Shootings Resulting in Double-Digit Fatalities in American History (1776-2022>


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          1776    1801     1825         1850         1875         1899         1924          1949         1973   1998   2022
                                                                  Year
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                                       Mass Shootings Resulting in Double-Digit Fatalities in American History (1949-2022)

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          1949        1955          1962           1969          1975          1982        1989         1996         2002          2009          2016         2022



                 • Assault Weapons and Large-Capacity Magazines Involved                    • No Large-Capacity Magazines or Assault Weapons Involved
                 • Large Capacity Magazine Involved (But Not Assault Weapon Involved)
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                        EXHIBIT E
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 331 of 926 PageID:
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                        EXHIBIT F
   Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 338 of 926 PageID:
AJPH OPEN-THEMED RESEARCH              3126



The Effect of Large-Capacity Magazine Bans on
High-Fatality Mass Shootings, 1990–2017
Louis Klarevas, PhD, Andrew Conner, BS, David Hemenway, PhD


    Objectives. To evaluate the effect of large-capacity magazine (LCM) bans on the                                     on assault weapons in 1989, but LCMs
frequency and lethality of high-fatality mass shootings in the United States.                                           remained unregulated in the state until 1994,
    Methods. We analyzed state panel data of high-fatality mass shootings from 1990 to                                  when the federal ban went into effect. In
2017. We ﬁrst assessed the relationship between LCM bans overall, and then federal                                      2000, California’s own statewide ban on
and state bans separately, on (1) the occurrence of high-fatality mass shootings (logit                                 LCMs took effect as a safeguard in the event
regression) and (2) the deaths resulting from such incidents (negative binomial analysis).                              the federal ban expired, which happened in
                                                                                                                        2004.10,11
We controlled for 10 independent variables, used state ﬁxed effects with a continuous
                                                                                                                            LCMs provide a distinct advantage to
variable for year, and accounted for clustering.
                                                                                                                        active shooters intent on murdering numer-
    Results. Between 1990 and 2017, there were 69 high-fatality mass shootings. Attacks
                                                                                                                        ous people: they increase the number of
involving LCMs resulted in a 62% higher mean average death toll. The incidence of
                                                                                                                        rounds that can be ﬁred at potential victims
high-fatality mass shootings in non–LCM ban states was more than double the rate in                                     before having to pause to reload or switch
LCM ban states; the annual number of deaths was more than 3 times higher. In mul-                                       weapons. Evidence shows that victims struck
tivariate analyses, states without an LCM ban experienced signiﬁcantly more                                             by multiple rounds are more likely to die,
high-fatality mass shootings and a higher death rate from such incidents.                                               with 2 studies ﬁnding that, when compared
    Conclusions. LCM bans appear to reduce both the incidence of, and number of people                                  with the fatality rates of gunshot wound
killed in, high-fatality mass shootings. (Am J Public Health. 2019;109:1754–1761. doi:                                  victims who were hit by only a single bullet,
10.2105/AJPH.2019.305311)                                                                                               the fatality rates of those victims hit by more
                                                                                                                        than 1 bullet were more than 60% higher.12,13
                                                                                                                        Being able to strike human targets with more

T     he recent spate of gun massacres in the       than 10 bullets—unless the magazines were                           than 1 bullet increases shooters’ chances of
      United States has re-energized the debate     manufactured before the enactment of the                            killing their victims. Analyses of gunshot
over how to prevent such tragedies.1 A              ban. LCM restrictions are arguably the most                         wound victims at level I trauma centers have
common response to high-proﬁle acts of gun          important component of assault weapons                              suggested that this multiple-impact capability
violence is the promotion of tighter gun            bans because they also apply to semiautomatic                       is often attributable to the use of LCMs.14,15
legislation, and there is some evidence that        ﬁrearms without military-style features.8,9                             In addition, LCMs provide active shooters
laws imposing tighter restrictions on access to         Beginning with New Jersey in 1990, some                         with extended cover.16 During an attack,
ﬁrearms have been associated with lower             states implemented their own regulations on                         perpetrators are either ﬁring their guns or not
levels of mass shootings.2 One proposal that        LCMs. Today, 9 states and the District of                           ﬁring their guns. While gunmen are ﬁring, it is
has received renewed interest involves              Columbia restrict the possession of LCMs.                           extremely difﬁcult for those in the line of ﬁre
restricting the possession of large-capacity        The bans vary along many dimensions, in-                            to take successful defensive maneuvers. But if
magazines (LCMs).3–5 This raises an impor-          cluding maximum bullet capacity of per-                             gunmen run out of bullets, there are lulls in
tant question: what has been the impact of          missible magazines, grandfathering of existing                      the shootings, as the perpetrators are forced
LCM bans on high-fatality mass shootings?           LCMs, and applicable ﬁrearms. Moreover,                             to pause their attacks to reload or change
    In an attempt to arrest an uptick in            overlaps sometimes exist between assault                            weapons. These pauses provide opportunities
mass shooting violence in the early 1990s,          weapons bans and LCM bans, but not in all                           for people to intervene and disrupt a shooting.
Congress in 1994 enacted the federal as-            states. For example, California instituted a ban                    Alternatively, they provide individuals in
sault weapons ban, which, among other
things, restricted ownership of certain             ABOUT THE AUTHORS
ammunition-feeding devices.6,7 The law,             Louis Klarevas is with the Teachers College, Columbia University, New York, NY. Andrew Conner is with the Frank H.
                                                    Netter, MD, School of Medicine, Quinnipiac University, North Haven, CT. David Hemenway is with the Harvard T. H.
which contained a sunset provision, was             Chan School of Public Health, Harvard University, Boston, MA.
allowed to expire a decade later. Pursuant to          Correspondence should be sent to Louis Klarevas, Research Professor, Ofﬁce of the Provost, Teachers College, Columbia University,
that ban (18 USC §921(a) [1994]; repealed), it      525 W 120th St, New York, NY 10027 (e-mail: ljk2149@tc.columbia.edu). Reprints can be ordered at http://www.ajph.org
                                                    by clicking the “Reprints” link.
was illegal to possess LCMs—deﬁned as any              This article was accepted July 22, 2019.
ammunition-feeding device holding more                 doi: 10.2105/AJPH.2019.305311



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harm’s way with a chance to ﬂee or hide.            the search and identiﬁcation strategy we           states. To control for this, we utilized
Legislative endeavors that restrict access to       employed.)                                         cluster-robust standard errors to account for
LCMs are implemented with the express                   The ﬁrst state to enact an LCM ban was         the clustering of observations. When the
objective of reducing an active shooter’s           New Jersey in 1990. Since then, another 8          dependent variable reﬂected deaths (count
multiple-impact capability and extended             states and the District of Columbia have           data), we used negative binomial regression;
cover.10                                            enacted LCM bans (Table A, available as a          Gius used a Poisson regression, and we used
   Although mass shootings have received            supplement to the online version of this article   that approach as a sensitivity analysis.26 We
extensive study, there has been little scholarly    at http://www.ajph.org).10 With no LCM             included state ﬁxed effects. We used a con-
analysis of LCM bans.17–24 The studies un-          bans in effect before 1990, a priori we chose      tinuous variable for year because the rate of
dertaken that have broached the subject of          that year to begin our analysis to avoid in-       high-fatality mass shootings has increased
ammunition capacity have primarily con-             ﬂating the impact of the bans. Our data set        over time. For purposes of sensitivity
centrated on the effect of LCM bans on vi-          extends 28 years, from 1990 through 2017. As       analysis, we also replaced the linear yearly
olent crimes other than mass shootings or on        a secondary analysis, we used a 13-year data       trend with a quadratic function. We per-
the impact of the assault weapons bans on           set, beginning in 2005, the ﬁrst full year after   formed multivariate statistical analyses by
mass shootings.25–27                                the federal assault weapons ban expired.           using Stata/IC version 15.1 (StataCorp LP,
   Evidence suggests that ﬁrearms equipped              Our primary outcome measures were the          College Station, TX).
with LCMs are involved in a disproportionate        incidence of high-fatality mass shootings and          Population data came from the US Census
share of mass shootings.10,20,28 Proponents of      the number of victims killed. We distin-           Bureau, unemployment data came from the
LCM bans believe that without LCMs, fewer           guished between high-fatality mass shootings       Bureau of Labor Statistics, and imprisonment
people will be killed in a mass shooting, other     occurring with and without a ban in effect.        data came from the Bureau of Justice Statistics.
things equal. In turn, fewer shootings will         Because the federal ban was in effect na-          The percentage of households with a ﬁrearm
cross the threshold required to be classiﬁed as     tionwide from September 13, 1994, through          was a validated proxy (the percentage of
what we call a “high-fatality mass shooting”        September 12, 2004, we coded every state as        suicides that are ﬁrearm suicides) derived from
(‡ 6 victims shot to death). If LCM bans are        being under an LCM ban during that 10-year         Centers for Disease Control and Prevention
effective, we should expect to ﬁnd that             timeframe.                                         National Vital Statistics Data.33
high-fatality mass shootings occur at a lower           Our interest was in the effect of LCM
incidence rate when LCM bans are in place,          bans. We ran regression analyses to determine
and fewer people are killed in such attacks.        if any relationship between LCM bans and
But have LCM bans actually saved lives in           high-fatality mass shootings can be explained      RESULTS
practice? To our knowledge, the impact of           by other factors. In our state–year panel              Between 1990 and 2017, there were 69
LCM bans has never been systematically              multivariate analyses, the outcome variables       high-fatality mass shootings (‡ 6 victims shot
assessed. This study ﬁlls that void.                were (1) whether an LCM-involved high-             to death) in the United States. Of these,
                                                    fatality mass shooting occurred, (2) whether       44 (64%) involved LCMs, 16 did not (23%),
                                                    any high-fatality mass shooting occurred, (3)      and for 9 (13%) we could not determine
                                                    the number of fatalities in an LCM-involved        whether LCMs were used (Table 1). The
METHODS                                             high-fatality mass shooting, and (4) the           mean number of victims killed in the 44
    Mass shootings have been deﬁned in a            number of fatalities in any high-fatality mass     LCM-involved high-fatality mass shootings
variety of ways, with some analyses setting the     shooting. Our analyses ﬁrst combined and           was 11.8; including the unknowns resulted in
casualty threshold as low as 2 people wounded       then separated federal and state LCM bans.         that average falling to 11.0 (not shown). The
or killed and others requiring a minimum of             Consistent with the suggestions and            mean number of victims killed in high-fatality
7 gunshot victims.18,22,29 We focused on            practices of the literature on ﬁrearm homi-        mass shootings in which the perpetrator did
high-fatality mass shootings—the deadliest          cides and mass shootings, our explanatory          not use an LCM was 7.3 (Table B, available as
and most disturbing of such incidents—which         variables are population density; proportion       a supplement to the online version of this
are deﬁned as intentional crimes of gun vi-         of population aged 19 to 24 years, aged 25 to      article at http://www.ajph.org); including
olence with 6 or more victims shot to death,        34 years, that is Black, and with a college        the unknowns resulted in that average falling
not including the perpetrators.20,30,31 After an    degree; real per-capita median income; un-         to 7.1 (not shown). When we excluded
exhaustive search, we identiﬁed 69 such in-         employment rate; and per-capita prison             unknown cases, the data indicated that uti-
cidents in the United States between 1990           population.2,26,27,32 We also added a variable     lizing LCMs in high-fatality mass shootings
and 2017. We then discerned whether each            for percentage of households with a ﬁrearm.        resulted in a 62% increase in the mean
high-fatality mass shooting involved a LCM          All regression models controlled for total state   death toll.
—unless otherwise stated, deﬁned consistent         population. When the dependent variable                Data sets of mass shooting fatalities by their
with the 1994 federal ban as a detachable           reﬂected occurrences of incidents (ordered         nature involve truncated data, with the mode
ammunition-feeding device capable of                choice data), we used logit regression; we ran     generally being the baseline number of fa-
holding more than 10 bullets. (See Table 1 for      probit regression as a sensitivity analysis. We    talities required to be included in the data
a list of incidents and for additional details on   had multiple observations for individual           set (6 fatalities in the current study). Our data


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    TABLE 1—High-Fatality Mass Shootings in the United States, 1990–2017

Incident           Date                           City           State   LCM   Deaths, No.   State LCM Ban       Federal Assault Weapons Ban
1              Jun 18, 1990        Jacksonville                   FL      Y         9             N                          N
2              Jan 26, 1991        Chimayo                       NM      N          7             N                          N
3              Aug 9, 1991         Waddell                        AZ     N          9             N                          N
4              Oct 16, 1991        Killeen                        TX      Y        23             N                          N
5              Nov 7, 1992         Morro Bay and Paso Robles      CA     N          6             N                          N
6              Jan 8, 1993         Palatine                       IL     N          7             N                          N
7              May 16, 1993        Fresno                         CA      Y         7             N                          N
8              Jul 1, 1993         San Francisco                  CA      Y         8             N                          N
9              Dec 7, 1993         Garden City                    NY      Y         6             N                          N
10             Apr 20, 1999        Littleton                      CO      Y        13             Y                          Y
11             Jul 12, 1999        Atlanta                        GA     U          6             Y                          Y
12             Jul 29, 1999        Atlanta                        GA      Y         9             Y                          Y
13             Sep 15, 1999        Fort Worth                     TX      Y         7             Y                          Y
14             Nov 2, 1999         Honolulu                       HI      Y         7             Y                          Y
15             Dec 26, 2000        Wakeﬁeld                      MA       Y         7             Y                          Y
16             Dec 28, 2000        Philadelphia                   PA      Y         7             Y                          Y
17             Aug 26, 2002        Rutledge                       AL     N          6             Y                          Y
18             Jan 15, 2003        Edinburg                       TX     U          6             Y                          Y
19             Jul 8, 2003         Meridian                       MS     N          6             Y                          Y
20             Aug 27, 2003        Chicago                        IL     N          6             Y                          Y
21             Mar 12, 2004        Fresno                         CA     N          9             Y                          Y
22             Nov 21, 2004        Birchwood                      WI      Y         6             N                          N
23             Mar 12, 2005        Brookﬁeld                      WI      Y         7             N                          N
24             Mar 21, 2005        Red Lake                      MN       Y         9             N                          N
25             Jan 30, 2006        Goleta                         CA      Y         7             Y                          N
26             Mar 25, 2006        Seattle                       WA       Y         6             N                          N
27             Jun 1, 2006         Indianapolis                   IN      Y         7             N                          N
28             Dec 16, 2006        Kansas City                    KS     N          6             N                          N
29             Apr 16, 2007        Blacksburg                     VA      Y        32             N                          N
30             Oct 7, 2007         Crandon                        WI      Y         6             N                          N
31             Dec 5, 2007         Omaha                          NE      Y         8             N                          N
32             Dec 24, 2007        Carnation                     WA      U          6             N                          N
33             Feb 7, 2008         Kirkwood                      MO       Y         6             N                          N
34             Sep 2, 2008         Alger                         WA      U          6             N                          N
35             Dec 24, 2008        Covina                         CA      Y         8             Y                          N
36             Jan 27, 2009        Los Angeles                    CA     N          6             Y                          N
37             Mar 10, 2009        Kinston, Samson, and Geneva    AL      Y        10             N                          N
38             Mar 29, 2009        Carthage                       NC     N          8             N                          N
39             Apr 3, 2009         Binghamton                     NY      Y        13             Y                          N
40             Nov 5, 2009         Fort Hood                      TX      Y        13             N                          N
41             Jan 19, 2010        Appomattox                     VA      Y         8             N                          N

                                                                                                                                  Continued



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 TABLE 1—Continued

Incident           Date                          City                 State       LCM         Deaths, No.       State LCM Ban          Federal Assault Weapons Ban
42             Aug 3, 2010         Manchester                          CT           Y              8                   N                            N
43             Jan 8, 2011         Tucson                              AZ           Y              6                   N                            N
44             Jul 7, 2011         Grand Rapids                        MI           Y              7                   N                            N
45             Aug 7, 2011         Copley Township                     OH          N               7                   N                            N
46             Oct 12, 2011        Seal Beach                          CA          N               8                   Y                            N
47             Dec 25, 2011        Grapevine                           TX          N               6                   N                            N
48             Apr 2, 2012         Oakland                             CA          N               7                   Y                            N
49             Jul 20, 2012        Aurora                              CO           Y             12                   N                            N
50             Aug 5, 2012         Oak Creek                           WI           Y              6                   N                            N
51             Sep 27, 2012        Minneapolis                        MN            Y              6                   N                            N
52             Dec 14, 2012        Newtown                             CT           Y             27                   N                            N
53             Jul 26, 2013        Hialeah                             FL           Y              6                   N                            N
54             Sep 16, 2013        Washington                          DC          N              12                   Y                            N
55             Jul 9, 2014         Spring                              TX           Y              6                   N                            N
56             Sep 18, 2014        Bell                                FL          U               7                   N                            N
57             Feb 26, 2015        Tyrone                             MO           U               7                   N                            N
58             May 17, 2015        Waco                                TX           Y              9                   N                            N
59             Jun 17, 2015        Charleston                          SC           Y              9                   N                            N
60             Aug 8, 2015         Houston                             TX          U               8                   N                            N
61             Oct 1, 2015         Roseburg                            OR           Y              9                   N                            N
62             Dec 2, 2015         San Bernardino                      CA           Y             14                   Y                            N
63             Feb 21, 2016        Kalamazoo                           MI           Y              6                   N                            N
64             Apr 22, 2016        Piketon                             OH          U               8                   N                            N
65             Jun 12, 2016        Orlando                             FL           Y             49                   N                            N
66             May 27, 2017        Brookhaven                          MS          U               8                   N                            N
67             Sep 10, 2017        Plano                               TX           Y              8                   N                            N
68             Oct 1, 2017         Las Vegas                           NV           Y             58                   N                            N
69             Nov 5, 2017         Sutherland Springs                  TX           Y             25                   N                            N

Note. LCM = large-capacity magazine; N = no; U = unknown; Y = yes. From September 13, 1994, until and including September 12, 2004, each and every state,
including the District of Columbia, was subject to a ban on LCMs pursuant to the federal assault weapons ban. To collect the data in Table 1, we searched the
following news media resources for every shooting that resulted in 6 or more fatalities: America’s Historical Newspapers, EBSCO, Factiva, Gannett Newsstand,
Google News Archive, Lexis-Nexis, Newspaper Archive, Newspaper Source Plus, Newspapers.com, Newswires, ProQuest Historical Newspapers, and ProQuest
Newsstand. We also reviewed mass shooting data sets maintained by Mother Jones, the New York Times, and USA Today. In addition to news media sources, we
reviewed reports on mass shootings produced by think tank, policy advocacy, and governmental organizations, including the US Federal Bureau of Investigation
Supplementary Homicide Reports, the crowdsourced Mass Shooting Tracker, and the open-source databases maintained by the Gun Violence Archive and
the Stanford University Geospatial Center. Finally, when it was relevant, we also reviewed court records as well as police, forensic, and autopsy reports. As a
general rule, when government sources were available, they were preferred over other sources. Furthermore, when media sources conﬂicted on the
number of casualties or the weaponry involved, the later sources were privileged (as later reporting is often more accurate).



set of high-fatality mass shootings was no              average of 8 fatalities per incident compared         which the perpetrators did not use LCMs,
exception. As such, the median average                  with 7 fatalities per incident for attacks not        50% (8/16) were in nonban states (Table B,
number of fatalities for each subset of in-             involving LCMs.                                       available as a supplement to the online version
cidents—those involving and those not in-                   For the 60 incidents in which it was known        of this article at http://www.ajph.org). Stated
volving LCMs—was necessarily lower than                 if an LCM was used, in 44 the perpetrator             differently, in nonban states, 81% (34/42) of
the mean average. Nevertheless, like the                used an LCM. Of the 44 incidents in which             high-fatality mass shooting perpetrators used
mean average, the median average was higher             the perpetrators used LCMs, 77% (34/44)               LCMs; in LCM-ban states, only 55% (10/18)
when LCMs were employed—a median                        were in nonban states. In the 16 incidents in         used LCMs.


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    The rate of high-fatality mass shootings                  127.4. In the LCM ban states, it was 41.6                      in nonban states was 8.1 per billion pop-
increased considerably after September 2004                   (Table 2).                                                     ulation; in LCM-ban states it was 2.5 per
(when the federal assault weapons ban ex-                        For the time period beginning with the                      billion population. The annual rate of high-
pired). In the 10 years the federal ban was in                ﬁrst full calendar year following the expiration               fatality mass shooting deaths in the non–LCM
effect, there were 12 high-fatality mass                      of the federal assault weapons ban (January 1,                 ban states was 102.1 per billion population; in
shootings and 89 deaths (an average of 1.2                    2005–December 31, 2017), there were 47                         the LCM ban states it was 23.3. In terms of
incidents and 8.9 deaths per year). Since then,               high-fatality mass shootings in the United                     LCM-involved high-fatality mass shootings,
through 2017, there have been 48 high-                        States. Of these, 39 occurred in states where                  we also found comparable wide differences in
fatality mass shootings and 527 deaths (an                    an LCM ban was not in effect, and 8 occurred                   incidence and fatality rates between ban and
average of 3.6 incidents and 39.6 deaths per                  in LCM ban locations. The annual incidence                     nonban states for the post–federal assault
year in these 13.3 years).                                    rate for high-fatality mass shootings in states                weapons ban period (2005–2017; Table 2).
    Of the 69 high-fatality mass shootings                    without an LCM ban was 13.2 per billion pop-                       We found largely similar results in the
from 1990 to 2017, 49 occurred in states                      ulation; for states with an LCM ban, it was                    multivariate analyses (1990–2017). States that
without an LCM ban in effect at the time and                  7.4 per billion population (Table 2). During                   did not ban LCMs were signiﬁcantly more
20 in states with a ban in effect at the time.                this period, non–LCM ban states had not                        likely to experience LCM-involved high-
The annual incidence rate for high-fatality                   only more incidents but also more deaths                       fatality mass shootings as well as more likely to
mass shootings in states without an LCM ban                   per incident (11.4 vs 9.4). In terms of high-                  experience any high-fatality mass shootings
was 11.7 per billion population; the annual                   fatality mass shooting deaths per billion                      (regardless of whether an LCM was involved).
incidence rate for high-fatality mass shootings               population, the annual number of deaths in                     States that did not ban LCMs also experienced
in states with an LCM ban was 5.1 per billion                 the non-LCM ban states was 150.6; in the                       signiﬁcantly more deaths from high-fatality
population. In that 28-year period, the rate of               LCM ban states it was 69.2 (Table 2).                          mass shootings, operationalized as the abso-
high-fatality mass shootings per capita was 2.3                  When we limited the analysis solely to                      lute number of fatalities (Table 3).
times higher in states without an LCM ban                     high-fatality mass shootings that deﬁnitely                        When the LCM bans were separated
(Table 2).                                                    involved LCMs, the differences between ban                     into federal and state bans, both remained
    Non–LCM ban states had not only more                      and nonban states became larger. For ex-                       signiﬁcantly related to the incidence of
incidents but also more deaths per incident                   ample, for the entire period of 1990 to 2017,                  LCM-involved high-fatality mass shooting
(10.9 vs 8.2). The average annual number of                   of the 44 high-fatality mass shootings that                    events and to the number of LCM-involved
high-fatality mass shooting deaths per billion                involved LCMs, the annual incidence rate for                   high-fatality mass shooting deaths. The as-
population in the non–LCM ban states was                      LCM-involved high-fatality mass shootings                      sociations between federal and state bans and


 TABLE 2—High-Fatality Mass Shootings (‡ 6 Victims Shot to Death) by Whether LCM Bans Were in Effect: United States, 1990–2017

                                                         Average Annual                Total        Annual Incidents per         Total        Annual Deaths per        Deaths per
                                                     Population, No. (Millions)   Incidents, No.   Billion Population, No.    Deaths, No.   Billion Population, No.   Incident, No.
All high-fatality mass shootings, 1990–2017 (28 y)
  Non–LCM ban states                                           149.7                   49                   11.7                  534               127.4                 10.9
  LCM ban states                                               140.7                   20                    5.1                  164                 41.6                 8.2
All high-fatality mass shootings, 2005–2017 (13 y)
  Non–LCM ban states                                           227.8                   39                   13.2                  446               150.6                 11.4
  LCM ban states                                                83.4                     8                   7.4                   75                 69.2                 9.4
LCM-involved high-fatality mass shootings,
 1990–2017 (28 y)
  Non–LCM ban states                                           149.7                   34                    8.1                  428               102.1                 12.6
  LCM ban states                                               140.7                   10                    2.5                   92                23.3                  9.2
LCM-involved high-fatality mass shootings,
 2005–2017 (13 y)
  Non–LCM ban states                                           227.8                   28                    9.5                  369               124.6                 13.2
  LCM ban states                                                83.4                     4                   3.7                   42                 38.7                10.5
Non-LCM high-fatality mass shootings,
 1990–2017 (28 y)
  Non–LCM ban states                                           149.7                     8                   1.9                   56                 13.4                 7.0
  LCM ban states                                               140.7                     8                   2.0                   60                 15.2                 7.5

Note. LCM = large-capacity magazine.



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 TABLE 3—Multivariate Results of the Relationship Between LCM Bans and High-Fatality Mass Shootings (‡ 6 Victims Shot to Death),
 1990–2017 Combined Federal and State Large Capacity Magazine Bans: United States

                                                    LCM-Involved High-Fatality Mass Shootings, b (95% CI)          All High-Fatality Mass Shootings, b (95% CI)
                                                          Incidentsa                    No. Deathsb                 Incidentsa                    No. Deathsb
All LCM bans (federal and state)                    –2.217 (–3.493, –0.940)        –5.912 (–9.261, –2.563)    –1.283 (–2.147, –0.420)        –3.660 (–5.695, –1.624)
Population density                                  –0.011 (–0.052, 0.031)          0.013 (–0.068, 0.095)      0.001 (–0.003, 0.006)          0.011 (–0.005, 0.026)
  % aged 19–24 y                                    –0.480 (–1.689, 0.730)         –2.496 (–5.893, 0.901)      0.283 (–0.599, 1.164)         –0.585 (–2.666, 1.495)
  % aged 25–34 y                                    –0.801 (–1.512, –0.089)        –2.390 (–4.391, –0.388)    –0.337 (–0.871, 0.197)         –1.114 (–2.463, 0.235)
  % Black                                           –0.227 (–1.062, 0.607)         –0.654 (–2.831, 1.522)     –0.163 (–0.703, 0.377)         –0.261 (–1.391, 0.870)
  % with a bachelor’s degree or higher              –0.009 (–0.492, 0.474)         –0.469 (–1.590, 0.652)      0.143 (–0.214, 0.501)          0.183 (–0.715, 1.081)
Percentage of households with a ﬁrearm (proxy)      –0.047 (–0.195, 0.101)         –0.147 (–0.546, 0.251)     –0.020 (–0.131, 0.091)         –0.084 (–0.368, 0.200)
Median household income                              0.000 (0.000, 0.000)           0.000 (0.000, 0.000)       0.000 (0.000, 0.000)           0.000 (0.000, 0.000)
Unemployment rate                                   –0.072 (–0.293, 0.149)         –0.476 (–1.081, 0.129)      0.041 (–0.135, 0.216)         –0.182 (–0.628, 0.263)
Imprisonment rate (per 100 000 population)          –0.006 (–0.012, 0.001)         –0.007 (–0.017, 0.004)     –0.001 (–0.006, 0.003)         –0.003 (–0.012, 0.007)
Total population                                     0.000 (0.000, 0.000)           0.000 (0.000, 0.000)       0.000 (0.000, 0.000)           0.000 (0.000, 0.000)
           2
Pseudo R                                                     0.31                           0.16                       0.26                           0.11

Note. CI = conﬁdence interval; LCM = large-capacity magazine. There were a total of 1428 observations in state-years (51 jurisdictions—all 50 states plus
Washington, DC—over a 28-year period). Mean variance inﬂation factor = 3.49.
a
 Logit regression.
b
  Negative binomial regression.



the overall incidence of all high-fatality mass      since 1990, perpetrators used LCMs. (For                available. In other words, the ﬁrst explanation
shootings as well as the total number of             23%, we determined that they did not involve            is that shooters perceive LCMs to be more
victims in these events remained strongly            LCMs, and a determination could not be made             effective at killing many people; the second
negative but was only sometimes statistically        for the remaining 13%.) Previous research has           explanation is that LCMs are indeed more
signiﬁcant (Table 4).                                shown that LCM ﬁrearms are used in a high               effective at killing many people.
   In terms of sensitivity analyses, using probit    share of mass murders (typically deﬁned as ‡ 4              High-fatality mass shootings are not
instead of logit gave us similar results (not        homicides) and murders of police.9                      common, even in the United States. Between
shown). When the outcome variable was the                We could not ﬁnd reliable estimates of LCM          1990 and 2017, there has been an average
number of high-fatality mass shooting deaths,        ﬁrearms in the US gun stock. However, it                of 2.5 incidents per year, with an average of
we obtained largely similar results concerning       is likely much lower than 64%, given that               25 people killed annually in such attacks.
the association between LCM bans and the             commonly owned ﬁrearms such as revolvers,               However, the number of incidents and the
outcome variables, regardless of whether we          bolt-action riﬂes, and shotguns are not typi-           number of people killed per incident have
used Poisson or negative binominal regression        cally designed to be LCM-capable. During                been increasing since the end of the federal
(not shown). Moreover, replacing the linear          the decade the federal assault weapons ban was          assault weapons ban.
yearly trend with a quadratic function did not       in effect, no ﬁrearms were legally manufactured             In our study, we found that bans on LCMs
change the major results of the analyses (not        with LCMs for sale in the United States. In the         were associated with both lower incidence of
shown). Variance inﬂation factors for all the        postban era, semiautomatic ﬁrearms, especially          high-fatality mass shootings and lower fatality
independent variables never exceeded 10.0,           pistols, are often sold with factory-issue LCMs,        tolls per incident. The difference in incidence
with the variance inﬂation factor for LCM            but ﬁrearms that are not semiautomatic are not          and overall number of fatalities between states,
ban variables always being less than 2.0, in-        sold with such magazines.                               with and without bans, was even greater for
dicating that there were no signiﬁcant mul-              Why do we ﬁnd LCMs so prominent                     LCM-involved high-fatality mass shootings.
ticollinearity issues (Tables 3 and 4).              among high-fatality mass shootings? We                      The multivariate results are largely con-
                                                     suspect there are 2 main reasons. The ﬁrst is           sistent with these bivariate associations. When
                                                     that perpetrators probably deliberately select          we controlled for 10 independent variables
                                                     LCMs because they facilitate the ability to ﬁre         often associated with overall crime rates, as
DISCUSSION                                           many rounds without having to stop to                   well as state and year effects, states with LCM
   In the United States, LCMs are dispro-            reload. The second reason is that the ability           bans had lower rates of high-fatality mass
portionately used in high-fatality mass              of shooters to kill many victims—especially             shootings and fewer high-fatality mass
shootings (incidents in which ‡ 6 victims are        the 6 victims required to be included in our            shooting deaths. When we investigated fed-
shot to death). In at least 64% of the incidents     data set—may be reduced if LCMs are not                 eral and state bans separately in the multiple


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 TABLE 4—Multivariate Results of the Relationship Between Large Caliber Magazine Bans and High-Fatality Mass Shootings (‡ 6 Victims Shot to
 Death), 1990–2017 Separate Federal and State Large Caliber Magazine Bans: United States

                                                       LCM-Involved High-Fatality Mass Shootings, b (95% CI)          All High-Fatality Mass Shootings, b (95% CI)
                                                             Incidentsa                    No. Deathsb                 Incidentsa                    No. Deathsb
Federal LCM ban                                        –1.434 (–2.622, –0.245)       –3.571 (–7.103, –0.038)      –0.895 (–1.806, 0.016)        –2.570 (–4.902, –0.238)
State LCM bans                                         –2.603 (–4.895, –0.311)       –8.048 (–15.172, –0.925)     –1.277 (–2.977, 0.422)        –3.082 (–7.227, 1.064)
Population density                                     –0.012 (–0.055, 0.030)        –0.001 (–0.085, 0.083)        0.001 (–0.003, 0.006)         0.009 (–0.007, 0.024)
  % aged 19–24 y                                       –0.311 (–1.499, 0.878)        –2.589 (–6.057, 0.879)        0.342 (–0.551, 1.236)        –0.531 (–2.759, 1.698)
  % aged 25–34 y                                       –0.812 (–1.532, –0.093)       –2.660 (–4.848, –0.471)      –0.323 (–0.864, 0.217)        –0.848 (–2.236, 0.539)
  % Black                                              –0.229 (–1.101, 0.643)        –0.770 (–3.232, 1.693)       –0.150 (–0.698, 0.398)        –0.154 (–1.321, 1.013)
  % with a bachelor’s degree or higher                 –0.031 (–0.447, 0.509)        –0.479 (–1.577, 0.618)        0.156 (–0.199, 0.511)         0.269 (–0.567, 1.106)
Percentage of households with a ﬁrearm (proxy)         –0.055 (–0.210, 0.101)        –0.227 (–0.651, 0.196)       –0.019 (–0.133, 0.094)        –0.107 (–0.399, 0.186)
Median household income                                 0.000 (0.000, 0.000)          0.000 (0.000, 0.000)         0.000 (0.000, 0.000)          0.000 (0.000, 0.000)
Unemployment rate                                      –0.061 (–0.284, 0.162)        –0.420 (–1.041, 0.201)        0.046 (–0.132, 0.224)        –0.157 (–0.619, 0.305)
Imprisonment rate (per 100 000 population)             –0.006 (–0.013, 0.000)        –0.012 (–0.026, 0.002)       –0.002 (–0.007, 0.003)        –0.003 (–0.014, 0.007)
Total population                                        0.000 (0.000, 0.000)          0.000 (0.000, 0.000)         0.000 (0.000, 0.000)          0.000 (0.000, 0.000)
Pseudo R 2                                                      0.30                          0.15                        0.26                           0.11

Note. CI = conﬁdence interval; LCM = large-capacity magazine. There were a total of 1428 observations in state-years (51 jurisdictions—all 50 states plus
Washington, DC—over a 28-year period). Mean variance inﬂation factor = 3.45.
a
 Logit regression.
b
  Negative binomial regression.

regressions, both were signiﬁcantly associated             count than those states with no such bans            also increases. Indeed, of the 13 high-fatality
with the incidence of LCM-involved high-                   in effect? Yes. In fact, the effect is more          mass shootings with 10 or more fatalities in
fatality mass shootings as well as the number of           pronounced for high-fatality mass shoot-             our data set, 12 (92%) involved an LCM.
victims in LCM-involved attacks. The re-                   ings involving LCMs than for those not                   Third, although many high-fatality mass
lationship between these bans, considered                  involving LCMs.                                      shootings tend to be highly publicized, in 13%
separately, and all high-fatality mass shooting         4. Do states with LCM bans experience                   of the incidents we reviewed, we could not
incidence and deaths is often not statistically            high-fatality mass shootings (regardless of          determine whether an LCM was used. As a
signiﬁcant, although this may be attributable to           whether they involve LCMs) at a lower                sensitivity analysis, we assessed the assump-
lack of statistical power (number of observa-              rate and a lower fatality count than states          tions that all of the unknown cases ﬁrst did,
tions) to ﬁnd a statistically signiﬁcant effect.           with no such bans in effect? Yes.                    and then did not, involve LCMs. Neither
    Our analysis provides answers to 4 im-                                                                      assumption appreciably changed our main
portant questions:                                                                                              results (not shown).
                                                                                                                    Fourth, as a general rule, clustering stan-
1. How often are LCMs used in high-fatality             Limitations                                             dard errors is most appropriate when there is
   mass shootings? At minimum, 64% of                       Our study had various limitations. First,           a large number of treated units. Although
   high-fatality mass shootings perpetrated             although we carefully searched for every                during the decade of the federal assault
   between 1990 and 2017 involved LCMs.                 high-fatality mass shooting, it is possible that        weapons bans all 50 states plus the District
2. Are more people killed when LCMs are                 we might have missed some. Nevertheless,                of Columbia regulated LCMs, during the
   used? Yes, and the difference in our data            we suspect that this is unlikely, because it            remaining time periods under examination,
   set is substantial and statistically signiﬁcant      would mean that others who compiled lists               only 8 jurisdictions regulated LCMs. As a
   (11.8 vs 7.3). We should add that our                have also missed the same ones, for we                  result, there is the possibility that the standard
   results likely underestimate the difference          checked our list against multiple sources.              errors were underestimated in our analyses.34
   because we have a truncated sample (we                   Second, our deﬁnition of a high-fatality                Fifth, there were only 69 events that
   only examined incidents with at least 6              mass shooting is a shooting that results in             met our criterion for a “high-fatality mass
   victim fatalities), compounded by the fact           6 or more fatal victims. A different threshold          shooting.” Although 69 is a horriﬁc number
   that the number of homicide incidents fell           criterion (e.g., 6 or more people shot; 5 or            of incidents, for statistical purposes, it is a
   as the number of victims increased.                  more victims killed), might lead to somewhat            relatively small number and limits the power
3. Do states with LCM bans experience                   different results. We expect that as the                to detect signiﬁcant associations. For example,
   high-fatality mass shootings involving               number of victims in a shooting increases, the          we did not have the statistical power (and thus
   LCMs at a lower rate and a lower fatality            likelihood that the perpetrator used an LCM             did not even try) to determine whether


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                        EXHIBIT G
                                                                                                                                                                                   Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 347 of 926 PageID:
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                                                                                                                                                                                                                                                   AAST 2018 PODIUM PAPER



                                                                                                                                                                                                   Changes in US mass shooting deaths associated with
                                                                                                                                                                                                      the 1994–2004 federal assault weapons ban:
                                                                                                                                                                                                              Analysis of open-source data
                                                                                                                                                                                                             Charles DiMaggio, PhD, MPH, Jacob Avraham, MD, Cherisse Berry, MD,
                                                                                                                                                                                                            Marko Bukur, MD, Justin Feldman, ScD, Michael Klein, MD, Noor Shah, MD,
                                                                                                                                                                                                             Manish Tandon, MD, and Spiros Frangos, MD, MPH, New York, New York
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                                                                                                                                                                                 Volume 86, Number 1                                                                                                                                                                        11


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     BACKGROUND:        A federal assault weapons ban has been proposed as a way to reduce mass shootings in the United States. The Federal Assault
                        Weapons Ban of 1994 made the manufacture and civilian use of a defined set of automatic and semiautomatic weapons and large
                        capacity magazines illegal. The ban expired in 2004. The period from 1994 to 2004 serves as a single-arm pre-post observational
                        study to assess the effectiveness of this policy intervention.
     METHODS:           Mass shooting data for 1981 to 2017 were obtained from three well-documented, referenced, and open-source sets of data, based on
                        media reports. We calculated the yearly rates of mass shooting fatalities as a proportion of total firearm homicide deaths and per US
                        population. We compared the 1994 to 2004 federal ban period to non-ban periods, using simple linear regression models for rates and a
                        Poison model for counts with a year variable to control for trend. The relative effects of the ban period were estimated with odds ratios.
     RESULTS:           Assault rifles accounted for 430 or 85.8% of the total 501 mass-shooting fatalities reported (95% confidence interval, 82.8–88.9) in
                        44 mass-shooting incidents. Mass shootings in the United States accounted for an increasing proportion of all firearm-related ho-
                        micides (coefficient for year, 0.7; p = 0.0003), with increment in year alone capturing over a third of the overall variance in the data
                        (adjusted R2 = 0.3). In a linear regression model controlling for yearly trend, the federal ban period was associated with a statisti-
                        cally significant 9 fewer mass shooting related deaths per 10,000 firearm homicides (p = 0.03). Mass-shooting fatalities were 70%
                        less likely to occur during the federal ban period (relative rate, 0.30; 95% confidence interval, 0.22–0.39).
     CONCLUSION:        Mass-shooting related homicides in the United States were reduced during the years of the federal assault weapons ban of 1994 to
                        2004. (J Trauma Acute Care Surg. 2019;86: 11–19. Copyright © 2018 American Association for the Surgery of Trauma.)
     LEVEL OF EVIDENCE: Observational, level II/IV.
     KEY WORDS:         Firearms; mass-shootings; assault weapons; epidemiology.




I ncreases in firearm-related injuries, particularly mass-shooting
  related fatalities, in the United States have contributed to a po-
larizing and sometimes contentious debate over gun ownership
                                                                                             In a study soon following the implementation of the 1994
                                                                                      ban, researchers reported a 55% decrease in the recovery of as-
                                                                                      sault weapons by the Baltimore City Police in the first 6 months
and limiting weapons characterized as assault weapons.1,2 De-                         of 1995, indicating a statistically significant 29 fewer such fire-
spite the increasing sense that there is an epidemic of indiscrim-                    arms in the population.11 In a 2009 study based on ICD9 exter-
inate firearm violence in our schools and public spaces, there is a                   nal cause of injury codes for patients younger than 18 years in the
paucity of public health evidence on the topic. Among a number                        United States, 11 states with assault and large-capacity magazine
of recommendations, a federal Assault Weapons Ban (AWB) has                           bans, as well as other firearm laws, were compared with 33 states
been proposed as a way to prevent and control mass shootings in                       without such restrictions. The incidence of firearm injuries per
the United States. In this article, we assess evidence for the effec-                 1,000 total traumatic injuries was significantly lower in states
tiveness of such a ban in preventing or controlling mass-shooting                     with restrictive laws, 2.2 compared with 5.9.12 In contrast, a
homicides in the United States.                                                       comprehensive 2001 evaluation of the AWB itself concluded
       While mass shootings occur in other industrialized nations,                    that there was “no evidence of reductions in multiple-victim
the United States is particularly prone to these crimes. In a recent                  gun homicides or multiple-gunshot wound victimizations”. The
30-year period, the United States had double the number of mass-                      authors cautioned their results should be “interpreted cautiously”
shooting incidents than the next 24 industrialized nations com-                       because of the short period since the ban's inception, and that
bined.3 Any public perception of recent increases in the number                       future assessments were warranted.13 More recent studies, while
of these events is borne out by analysis of available data.4 By one                   not primarily addressing the US Federal AWB have found re-
measure, there have been more deaths due to mass shootings in                         sults generally consistent with its effectiveness in preventing
the United States in the past 18 years than in the entire 20th cen-                   mass-shooting fatalities.14,15
tury.5 While there is some debate about the role of mental illness                           We believe sufficient time has passed and enough data
in mass shootings,6–8 many high-profile recent mass shootings                         have accumulated to treat the period from 1994 to 2004 as a nat-
(Aurora, CO; Roseburg, OR; San Bernadino, CA; Newtown,                                uralistic pre-post observational comparison period for the asso-
CT; Orlando; Las Vegas; Sutherland Springs, TX) have been                             ciation of the AWB with changes in mass-shootings in the United
characterized by the use of semiautomatic assault rifles,9 leading                    States. Because there is no authoritative source or registry, or
some to advocate for restrictions on the manufacture and sale of                      even a widely agreed upon definition for these incidents, we ob-
these weapons.                                                                        tained data from three open source references and restricted our
       While survey results indicate that researchers in criminol-                    analyses to only those incidents confirmed by all three sources.
ogy, law and public health rank an assault weapons ban as one of                      We assess evidence for the potential effectiveness of such a ban
the most effective measures to prevent mass shootings, and that                       in preventing and controlling mass-shooting homicides in the
67% of the US general population support such a ban,10 the                            United States. We hypothesized that the implementation of the
existing evidence on banning assault weapons is scant and                             Federal AWB contributed to a reduction in mass shooting deaths
sometimes contradictory. Most evidence is related to the Federal                      as measured by the number and rate of mass shooting fatalities
AWB of 1994, which made illegal the manufacture and use by                            before, during, and after the federal AWB.
civilians of a defined set of automatic and semiautomatic
weapons and large capacity magazines. Formally known as                                                              METHODS
“The Public Safety and Recreational Firearms Use Protection
Act”, the AWB was part of the broader “Violent Crime Control                               Mass incident shooting data were obtained from three in-
and Law Enforcement Act of 1994. The ban lasted 10 years,                             dependent, well-documented and referenced online sources:
expiring in 2004 when the US Congress declined to renew it.                           Mother Jones Magazine, the Los Angeles Times and Stanford

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University.16–18 These sources have each been the basis for a             for trend with yearly rates based on (1) CDC WISQARS homi-
number of previous studies.19–26 Data from the three online               cide data ending in 2016, (2) extrapolated CDC WISQARS ho-
open-source references were combined. Analyses were restricted            micide data for 2017, and (3) population denominator-based
to incidents reported by all three sources. Entries were further re-      rates. We tested the robustness of our underlying modeling as-
stricted to those for which four or more fatalities (not including        sumptions with an alternate mixed-effects generalized linear model
the shooter) were reported, which meets the strictest definition          of yearly mass shooting fatality counts with an observation-level
of mass shootings as defined by the Federal Bureau of Investi-            random effect to account for overdispersion.
gation.27,28 Yearly homicide data were obtained from the US                      The study was determined to be exempt as nonidentifiable
Centers for Disease Control and Prevention Web-based Injury               data. The study data and analytic code are available for down-
Statistics Query and Reporting System (WISQARS) an online                 load at http://www.injuryepi.org/styled-2/.
database of fatal and nonfatal injury.29 Because 2017 data were
not yet available in the WISQARS system, data for firearm-
related homicide data for that year were obtained from a separate                                      RESULTS
online source.30                                                                  The three data sources listed incidents ranging in number
        A variable was created to indicate the 1994 to 2004 period        from 51 (LA Times) to 335 (Stanford) and in dates from 1966
as the federal ban period. We attempted to identify incidents in-         (Stanford) to 2018 (LA Times). There were a total of 51 reported
volving assault weapons. An assault weapon has been defined               cases of mass shootings between 1981 and 2017 confirmed by all
as semiautomatic rifle that incorporates military-style features          three sources. Forty-four of these incidents met the strictest criteria
such as pistol grips, folding stocks, and high-capacity detachable        for mass shootings (4 or more killed), totaling 501 all-weapon
magazines.31 In this study, assault weapons were identified               fatalities. In total 1,460 persons were injured or killed over
using the text search terms “AK,” “AR,” “MCX,” “assault,” “as-            the 37-year period, for a total case-fatality ratio of 34.3%
sault,” or “semiautomatic” in a text field for weapon details.            (95% CI, 31.9–36.8). The overall rate of mass shooting fatalities
These terms were based on descriptions of the federal assault             per 10,000 firearm-related homicides was 10.2 (95% CI,
ban legislative language.32 The total number of mass shooting             9.4–11.2). There was an increase in the all-weapon yearly
fatalities and injuries were aggregated by year and merged with           number of mass-shooting fatalities in the United States during
the yearly firearm homicide data.                                         the study period, (Fig. 1) and evidence of a decrease in case fatal-
        The rate of mass shooting fatalities per 10,000 firearm ho-       ity in the post-2010 period (Fig. 2). Incidents in which weapons
micide deaths was calculated. For the years covered by the data           were characterized as assault rifles accounted for 430 or 85.8%
sources, we calculated (1) the total and yearly number of mass-           of mass-shooting fatalities (95% CI, 82.8–88.9). Weapons char-
shooting incidents that met the strictest criteria and were con-          acterized as assault rifles accounted for all mass-shooting fatal-
firmed by all three sources, (2) the number of all weapon (assault        ities in 15 (62.5%) of the 24 (95% CI, 42.6–78.9) years for which
and nonassault weapons) mass-shooting fatalities, and (3) the             a mass-shooting incident was reported, accounting for a total of
case-fatality ratio of all-weapon mass-shooting fatalities per 100        230 fatalities in those years.
total mass-shooting fatalities and injuries. The yearly case-fatality             Between 1981 and 2017, mass shootings in the United States
ratio was plotted with overlying Loess line for trend and standard        accounted for an increasing proportion of all firearm-related ho-
error limits. We also plotted the yearly rate of mass shooting fa-        micides, with increment in year accounting for nearly 32% of
talities per 10,000 firearm-related homicides with an overlying           the overall variance in the data. During the years in which the
simple linear model with year as the predictor for (1) the total          AWB was in effect, this slope decreased, with an increase in the
period, and (2) for preban, ban, and postban periods.                     slope of yearly mass-shooting homicides in the postban period
        We evaluated assumptions of normality and linearity of
the data using graphical methods such as density plots and Q-Q
normal plots as well as summary statistics. We tested the hypoth-
esis that the federal ban period was associated with a decrease in
the number and rate of mass-shooting fatalities in the United
States with a multiple linear regression model, with total homi-
cide-based mass-shooting fatality rate as the outcome variable, a
dichotomous indicator variable for the federal ban period as the
predictor variable, and year as a control variable for trend over
time. We calculated the relative risk of mass shooting fatalities
during the federal ban period compared to nonban periods by
using the “epitab” function of the R “epitools” package. This es-
timate is based on the ratio of the fatality rate during the ban pe-
riod divided by the fatality rate during the nonban period. All
results are presented with two-sided p values with a significance
level of 0.05 and/or 95% confidence intervals (CI). We conducted
subgroup analysis with data restricted to incidents in which an
assault-type weapon was explicitly noted.
        We conducted analyses to test the sensitivity of our results
to the choice of denominator with linear regression models controlling    Figure 1. Mass shooting deaths. United States 1981–2017.

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Figure 2. Case fatality per 100 total mass-shooting injuries with
loess smoothing line for trend and standard error bounds.
United States 1981–2017.

(Fig. 3). A similar pattern was evident in data restricted to those
                                                                        Figure 4. Mass-shooting shooting deaths per 10,000
incidents characterized as involving assault weapons (Fig. 4).
                                                                        firearm-related homicides restricted to incidents involving assault
       In a linear regression model controlling for yearly trend,       weapons with linear trends for preban, ban, and postban periods.
the federal ban period was associated with a statistically signifi-     United States 1981–2017.
cant 9 fewer mass shooting–related deaths per 10,000 firearm
homicides per year (Table 1). The model indicated that year             restricted to just those incidents characterized by the use of an
and federal ban period alone accounted for nearly 40% of all            assault weapon indicated that seven preventable deaths during
the variation in the data (adjusted R2 = 0.37). A subanalysis           the ban period were due to assault weapons alone (Table 2).
                                                                               The risk of mass shooting fatalities during the federal van
                                                                        period was 53 per 140,515 total firearm homicides compared
                                                                        with 448 per 348,528 during the nonban periods, for a risk ratio
                                                                        of 0.30 (95% CI, 0.22–0.39). The calculated risk ratio for the
                                                                        association of the federal ban period with mass-shooting fatali-
                                                                        ties as a proportion of all firearm-related homicides was 0.29
                                                                        (95% CI, 0.22–0.29), indicating that mass shooting fatalities
                                                                        were 70% less likely to occur during the federal ban period.
                                                                               The results of our sensitivity analyses were consistent with
                                                                        our main analyses for total mass shooting fatalities. In a linear
                                                                        regression analysis controlling for yearly trend and restricted to
                                                                        the period ending in 2016 using just CDC WISQARS homicide
                                                                        data as the denominator, the effect of ban period was associated
                                                                        with a statistically significant eight fewer mass shooting related
                                                                        deaths per 10,000 firearm homicides per year (coefficient for
                                                                        ban period, 8.0; p = 0.05). In a similar model using extrapolated
                                                                        CDC WISQARS homicide data for 2017 instead of Online Gun
                                                                        Violence Archive data as the denominator, the effect of ban


                                                                        TABLE 1. Linear Regression Effect of 1994–2004 Federal Assault
                                                                        Weapon Ban on Mass-Shooting Deaths per 10,000 Firearm
                                                                        Homicides, United States, 1981–2017
                                                                        Variable          Estimate        Std. Error        t           p
                                                                        (Intercept)        −1409.4          333.0         −4.2        0.0002
Figure 3. Mass shooting deaths per 10,000 firearm-related               Year                   0.7            0.2          4.3        0.0001
homicides with linear trends for preban, ban, and postban
                                                                        Ban Period            −8.6            3.9         −2.2        0.03
periods. United States 1981–2017.

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                                                                          it must be interpreted in the context of the overall number of
TABLE 2. Linear Regression Effect of 1994–2004 Federal Assault
                                                                          such fatalities, which ranges from none to 60 in any given year
Weapon Ban on Mass-Shooting Deaths Characterized by Use of
Assault Weapon per 10,000 Firearm Homicides, United                       in our data. However, if our linear regression estimate of 9 fewer
States, 1981–2017                                                         mass shooting–related deaths per 10,000 homicides is correct,
                                                                          an assault weapons ban would have prevented 314 of the 448
Variable         Estimate        Std. Error         t            p
                                                                          or 70% of the mass shooting deaths during the nonban periods
(Intercept)      −1219.7           333.9          −3.7         0.0009     under study. Notably, this estimate is roughly consistent with
Year                 0.6             0.2           3.7         0.0008     our odds ratio estimate and Poisson model results.
Ban                 −6.7             3.9          −1.7         0.09              Our results add to the documentation that mass shooting–
                                                                          related homicides are indeed increasing, most rapidly in the
                                                                          postban period, and that these incidents are frequently associated
period was associated with a statistically significant 9 fewer            with weapons characterized as assault rifles by the language of
mass shooting related deaths per 10,000 firearm homicides per             the 1994 AWB. We did not find an increase in the case fatality
year (coefficient for ban period, 8.6; p = 0.03). A model based           ratio of mass-shooting deaths to mass-shooting injuries. This
on the total yearly US population as the denominator, the effect          might at first seem counterintuitive and paradoxical. The destruc-
of ban period was associated with a statistically significant 0.4         tive effect of these weapons is unequivocal. They are engineered
fewer mass shooting related deaths per 10,000,000 population              to cause maximum tissue damage rapidly to the greatest number
(coefficient for ban period, 0.4; p = 0.02).                              of targets. However, it may be that the use of these kinds of
       The results of a mixed-effects generalized linear Poisson          weapons results in indiscriminate injury with additional rounds
model of yearly mass shooting fatality counts with an observa-            more likely to injure more people increasing the denominator
tion-level random effect to account for overdispersion were very          in a case-fatality ratio. By contrast, the use of nonassault weapons
similar whether the offset variable was the number of total fire-         may result in more precise targeting of victims. It is also possible
arm deaths or the population size. In either case, the assault            that improvements in trauma care are driving down case fatal-
weapons ban period was associated with an approximately                   ity.37 Also, it is worth noting that in absolute terms, there were
85% reduction in mass shooting fatalities (Table 3).                      many more fatalities outside the ban period and that survivable
                                                                          injury comes with its own physical, emotional, and economic
                            DISCUSSION                                    costs, which have been estimated at US $32,237 per hospital
                                                                          admission.38
       Recently, 75% of members of the American College of                       Despite US federal funding restrictions on firearm-related
Surgeons Committee on Trauma endorsed restrictions to “civilian           research dating to 1996,39,40 there is a small but growing number
access to assault rifles (magazine fed, semiautomatic, i.e.,              of analyses of mass shooting violence in the United States.
AR-15),”33 and 76% of the Board of Governors were in favor                Many articles have focused on the mental health aspects of these
of a limit to “… civilian access to ammunition designed for mil-          incidents,41–43 or on social effects like increased firearm acqui-
itary or law enforcement use (that is, armor piercing, large mag-         sition following mass shootings.44,45 However, fewer studies
azine capacity).”34 In 2015, the American College of Surgeons             have taken a strictly public health or clinical approach. Among
joined seven of the largest most prestigious professional health          these, an autopsy-based study of the incidence and severity of
organizations in the United States and the American Bar Asso-             mass-shooting casualties concluded the wound patterns differed
ciation to call for “restricting the manufacture and sale of              sufficiently from combat injuries to require new management
military-style assault weapons and large-capacity magazines               strategies, indicating there is much to be learned from a system-
for civilian use.”35 This analysis adds evidence to support these         atic epidemiological perspective.46 Recently, there have been
recommendations.                                                          calls to remove such funding restrictions from both academics
       No observational epidemiologic study can answer the ques-          and elected officials from across the political spectrum.47,48
tion whether the 1994 US federal assault ban was causally related                Our choice of data and analytic approach may reasonably
to preventing mass-shooting homicides. However, this study adds           be debated. We chose to base our analyses on the yearly rate of
to the evidence by narrowly focusing our question on the potential        mass shooting fatalities per 10,000 overall firearm homicides.
effect of a national assault weapon ban on mass shootings as mea-         This is not a population-based risk estimate, but is in fact a risk
sured through the lens of case fatality. While the data are amena-        as commonly used in the epidemiologic literature which is es-
ble to a number of additional analyses, such as stratification by         sentially a probability statement, that is, the number of events
location (e.g. school vs. nonschool) or by characterization of
large-capacity magazines versus non large-capacity magazine,
we chose to focus only on year of occurrence and total number             TABLE 3. Exponentiated Coefficients Generalized Linear
of fatalities. In this way, we relied on the least subjective aspects     Poisson Model
of the published reports. We believe our results support the con-                                 Homicide Offset                        Population Offset
clusion that the ban period was associated with fewer overall             Variable           Estimate            95% CI              Estimate             95% CI
mass-shooting homicides. These results are also consistent with           Year                  0.6                0.2                  3.7               0.0008
a similar study of the effect of a 1996 ban on assault type weapons       Ban                  −6.7                3.9                 −1.7               0.09
in Australia after which mass-shooting fatalities dropped to zero.36
       While the absolute effects of our regression analyses ap-               Effect of 1994–2004 federal assault weapon ban on mass-shooting death counts. United
                                                                          States, 1981–20017.
pears modest (7 to 9 fewer deaths per 10,000 firearm-homicides),

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that occurred over the number of times that event could occur. It                An assault weapon ban is not a panacea, nor do our anal-
is the risk of a homicide occurring as a result of a mass shooting.      yses indicate that an assault weapon ban will result in fewer
It may be considered a strong assumption to build mass shooting          overall firearm-related homicides. It is important to recognize
death rates based on the overall firearm homicide rate. The de-          that suicides make up the majority of firearm-related deaths in
mographics of most homicide victims may differ appreciably               the United States, accounting for 60.7% of 36,252 deaths from
from those of mass shooting victims. We selected this approach           firearms in 2015.51 However, while this is a critically important
from among a number of imperfect potential denominators, be-             issue in its own right, suicides differ fundamentally from mass-
lieving that basing the rates on the number of firearm-homicides         shootings, and are unlikely to be affected by an assault weapons
partly controls for secular trends in overall homicides and fire-        ban. Also, compared with the 501 mass-shooting fatalities we
arm availability. Our sensitivity analyses indicate that our results     counted, there were 489,043 firearm-related homicides in the
were robust to most any choice of denominator. We chose linear           United States. Public health efforts should be directed at reduc-
regression as our primary model because it was straightforward,          ing all gun violence and must be multipronged, including
accessible to most readers, accounted for linear trends in the           targeted initiatives to address mental illness and reducing access
data, and returned results in the metric in which we were most           to weapons in those with a propensity for violence. However,
interested, that is, changes in the rate of fatalities. Our compara-     taken in the context of the increase in mass shootings in the
tive Poisson model results were essentially consistent with the          United States, these results support the conclusion that the fed-
primary model.                                                           eral AWB of 1994 to 2004 was effective in reducing mass shoot-
        These analyses are subject to a number of additional lim-        ing–related homicides in the United States, and we believe our
itations and caveats, primary among which is that there is no au-        results support a re-institution of the 1994 federal assault
thoritative source of data on mass shooting, and any one source          weapons ban as a way to prevent and control mass shooting fa-
may be biased and incomplete. It was for this reason that we             talities in the United States.
chose to combine three independent sources of data, each with
its own strengths and weaknesses, and base our analyses only             DISCLOSURE
on those numbers that were verified by all three sources. We fur-        The authors have no conflicts of interest to declare.
ther restricted our analyses to only the number of fatalities and        There are no federal or nonfederal funding sources associated with this study.
the year in which the incident occurred, and to the strictest defi-
nition of mass shootings as defined by the Federal Bureau of In-
vestigation.27,28 Even with this approach, the data remain
imprecise and subject to differing definitions. We attempted to
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                                                                                     onds. Is this safe to have in our society?
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    the American College of Surgeons Board of governors on firearm injury            AAST has had a long-term interest in reducing gun violence in
    prevention: consensus and opportunities. Bull Am Coll Surg. 2017;                the United States, and has recently published our 14-point ap-
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                                                                                     proach. Access to assault rifles is one of them. At a reductionist
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    in the U.S.: a call to action from 8 health professional organizations and the   intending to kill random individuals in a populated area, and (2)
    American Bar Association. Ann Intern Med. 2015;162(7):513–516.                   the use of an assault rifle. Since we seem to be unable to identify

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the active shooter preemptively, we are left with the alternative                In sum, this study adds to overwhelming evidence that as-
solution of eliminating the weapon.                                       sault rifles are an essential component in the dramatic escalation
       The presentation today provides evidence that a federal as-        of mass shootings in the United States. While the scientific data
sault weapon ban can reduce mass shootings. According to our              to support a federal ban on civilian assault rifles is imperfect due
recent national trauma surgeon surveys, three-fourths of us in            to inadequate research support, I submit collectively the existing
the audience, including me, would like to believe the analysis;           information argues strongly for enactment of this measure, and
but I think we need to consider some of the potential limitations.        compliment the authors for their timely contribution.
       Many of these issues relate to the fact that research support             Sheldon H. Teperman, MD (Bronx, New York): Dr.
for gun violence control in the United States remains frustrat-           DiMaggio, your home institution, Bellevue, plays a seminal role
ingly suppressed and fundamentally inadequate. The general                in the trauma center safety of our nation.
lack of information, low quality of data, and need to merge data                 In fact, right now, your trauma medical director is not
sets from diverse sources – medical, coroner, police, legal, and          present with us, but he is at home on guard for the U.N. General
behavioral – compounded by scarce funding and public contro-              Assembly. But in New York, we don't see long-gun injuries. New
versy, undermine research to inform policy and enlighten the              York has the Safe Act, and there is an assault weapons ban. So
public. The fact that you had to compare three open-access data-          why is it so important to America's trauma center – Bellevue –
bases to be certain that the reported mass shootings occurred un-         that we see a national ban on assault rifles?
derscores this deficiency.                                                       Charles E. Lucas, MD (Detroit, Michigan): Thank you
       Furthermore, there is no definition of a mass shooting, al-        for your nice presentation. How many of these incidents oc-
though you employed perhaps the most acceptable at the mo-                curred in an inner-city environment, where most of the victims
ment – the FBI's definition. Could you explain for us the                 that we treat have received multiple wounds which were pur-
rationale for this definition?                                            posely inflicted in order to compete competitively for the distribu-
       You present an analysis of 44 events with four or more             tion of heroin and other drugs? Also, how many of the assailants
deaths, including the shooter, from 1981 to 2017 – a 36-year period;      were African-American?
whereas, others suggest a much higher incidence, such as Klaveras,               Martin A. Croce, MD (Memphis, Tennessee): Thank you.
who reported 69 shootings of six or more over the past 27 years.          I want to commend the authors for an excellent study, and really,
       Identifying all known mass shootings per year during a             not so much to ask any questions but I rise to put out a plea to the
study period would be useful to appreciate the overall trends,            membership that this issue is a public health problem.
as your data somewhat understates the magnitude of mass shoot-                   This is not a right versus left problem, this is not a Second
ings in the United States.                                                Amendment problem. This is a public health problem.
       You employed the Gun Violence Archive to estimate ho-                     And to quote Wayne Meredith at one of the recent Board
micides in 2017. Why did you not use this source for mass                 meetings, "Our primary goal is to reduce the number of bullet
shootings? The Archive has reported an alarming 261 mass                  holes in people.” So I implore the Membership to correct this
shootings – defined as six or more shot – thus far in 2018. None-         dearth of research that is going on about gun violence in order
theless, in the sample you studied, assault rifles accounted for          to promote a public health approach, so that we can reduce the
greater than 85 percent of the fatalities, and this is the key issue.     number of bullet holes in people.
       You have evaluated the impact of the federal assault rifle                Deborah A. Kuhls, MD (Las Vegas, Nevada): And to carry
ban by analyzing the rate of mass shootings per 10,000 firearm            on that thought, I would urge the authors to incorporate the pub-
homicide deaths per year to adjust for confounders. This would            lic health data from the CDC when it is available, because part of
assume that the factors influencing mass shootings are the same           the methodological issues for this paper is that one data set was
as those for homicides, which seems very unlikely. You have               used for a certain period of time.
idicated that you analyzed mass-shooting fatalities per population               But for the last year, the CDC data was not used because it
per year; perhaps you could elaborate more about this analysis.           was not available, so I would urge you to not only do that anal-
       Another confounder as acknowledged in the presentation             ysis, but I would also urge the Journal of Trauma to consider an
is the impact of individual state limitations on magazine capac-          update to that article when that is available. Thank you.
ity. The first state to enforce these limitations was New Jersey in              Charles DiMaggio, MPH, PhD (New York, New York):
1990, and now at least eight states and Washington, D.C., have            Thank you very much for all these comments and questions.
these restrictions in effect. How can we distinguish the effects                 Dr. Moore, so with regard to your observation about the
of this policy? And could this be a potential bridge to ultimately        reductionist approach to looking at this particular issue, that puts
reestablish a national assault rifle ban?                                 me in the mind very much of the traditional epidemiologic triad
       You have also calculated the case fatality of all weapons in       of agent, host, and environment, and if you break one link in that
mass shootings per 100 total shootings, finding a decrease since          connection, you can break the transmission. In this case, we could
2010. While you conjecture this may be due to indiscriminate in-          call assault weapons one link, whether it's agent or host, we
jury from assault rifles or possibly attributed to better trauma          can decide.
care, I am uncertain how this is relevant to the issue of banning                With regards to the rationale for the definition, I think it's
assault rifles. The Las Vegas shooting is a cogent example of             reflective of the lack of research in this area.
how these data may be misleading.                                                A case definition is an essential and critical first step in
       Finally, there is the issue of so-called falsification that        any epidemiologic investigation, and you can see that we are
could be addressed by examining other causes of trauma mortal-            barely there. I think the FBI definition makes sense, I think it's
ity during this time period.                                              the oldest one, I think it's informed by expert consensus.

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       And I think all the other definitions are based in some            results are robust and invariant to the choice of denominator in
form on that, which is why we chose it. And I would urge that if          this case.
we are going to be doing this research going forward, probably it                Can we distinguish local effects, and could this possibly
would be best if we all had the consensus that that be the definition.    be a bridge to reestablishing an assault rifle ban? The short an-
       Why did we not use the Gun Violence Archive to estimate            swer is yes and yes. We can distinguish local effects.
some of these results, and why are our numbers so much smaller                   We took a very broad approach on this particular study as
than some of the other numbers? I have to agree, our numbers              a first pass on the data. But, there are data sources (and even
are very much an under-count.                                             within the data sources we used) where you can tease out local,
       We restricted our analysis to these three databases. And so        municipal and state policies.
the limiting factor was the one database. And I can tell you it was              Also, we can link our data to other sources that have those
the LA Times – they had the fewest number. And if it wasn't in the        variables. There are statistical methods available that will not
LATimes, then the other databases didn't contribute to this data set.     only account for those variables, but also allow us to measure
       We felt that the important aspect of this particular study         or estimate in some way the contribution of local or regional var-
was to demonstrate the relative effects, merits or associations           iation in these policies to the overall effectiveness.
with the assault weapon ban as opposed to documenting the ab-                    The issue of the case fatality rate is very interesting and
solute numbers.                                                           challenging. I want to note that there was a paper in JAMA on
       So the Gun Archive, for example, defines mass shootings            September 11th – just a couple of weeks ago – looking at mass
as four or more deaths or injuries. That really raises the number         shooter fatalities, that came essentially to the same conclusion –
of deaths that can be included. We didn't include it, but I think         that there has been this recent decrease.
going forward we absolutely should.                                              In our paper, in this write-up, we look at three potential ex-
       With regard to the analysis using population denomina-             planations, and one of them is, first of all, it's just a matter of de-
tors, we agree, actually, that gun homicides are an imperfect             nominator. These are indiscriminate weapons.
denominator. We also felt that population was an imperfect                       You have someone shooting at a large group of people,
denominator. And again, as we keep on circling around, it has             and there are going to be more injuries and more casualties,
to do with the data in this case.                                         and it just inflates the denominator in this case.
       We did feel that gun homicides captured something about gun               The second thing is, the obverse of that, is single-fire
availability and criminality in the United States, although homicides     weapons, guns, are very personal weapons. They're usually char-
themselves differ very much from these mass shooting fatalities.          acterized by someone who knows who they want to kill. And fi-
       We do note that our population-based results essentially           nally, we feel that perhaps there may be some improvement by
mirrored the gun homicide results, indicating that, at least for          the folks in this room in treating these.
the relative effects and benefits of the assault weapons ban, the                I'm going to close at this point, given the time constraints.




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                        EXHIBIT H
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     Original Paper

     Impact of Firearm Surveillance on Gun Control Policy: Regression
     Discontinuity Analysis

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     Abstract
     Background: Public mass shootings are a significant public health problem that require ongoing systematic surveillance to test
     and inform policies that combat gun injuries. Although there is widespread agreement that something needs to be done to stop
     public mass shootings, opinions on exactly which policies that entails vary, such as the prohibition of assault weapons and
     large-capacity magazines.
     Objective: The aim of this study was to determine if the Federal Assault Weapons Ban (FAWB) (1994-2004) reduced the
     number of public mass shootings while it was in place.
     Methods: We extracted public mass shooting surveillance data from the Violence Project that matched our inclusion criteria
     of 4 or more fatalities in a public space during a single event. We performed regression discontinuity analysis, taking advantage
     of the imposition of the FAWB, which included a prohibition on large-capacity magazines in addition to assault weapons. We
     estimated a regression model of the 5-year moving average number of public mass shootings per year for the period of 1966 to
     2019 controlling for population growth and homicides in general, introduced regression discontinuities in the intercept and a time
     trend for years coincident with the federal legislation (ie, 1994-2004), and also allowed for a differential effect of the homicide
     rate during this period. We introduced a second set of trend and intercept discontinuities for post-FAWB years to capture the
     effects of termination of the policy. We used the regression results to predict what would have happened from 1995 to 2019 had
     there been no FAWB and also to project what would have happened from 2005 onward had it remained in place.
     Results: The FAWB resulted in a significant decrease in public mass shootings, number of gun deaths, and number of gun
     injuries. We estimate that the FAWB prevented 11 public mass shootings during the decade the ban was in place. A continuation
     of the FAWB would have prevented 30 public mass shootings that killed 339 people and injured an additional 1139 people.
     Conclusions: This study demonstrates the utility of public health surveillance on gun violence. Surveillance informs policy on
     whether a ban on assault weapons and large-capacity magazines reduces public mass shootings. As society searches for effective
     policies to prevent the next mass shooting, we must consider the overwhelming evidence that bans on assault weapons and/or
     large-capacity magazines work.

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     KEYWORDS
     firearm surveillance; assault weapons ban; large-capacity magazines; guns control policy; mass shootings; regression lines of
     discontinuity

                                                                           weapons and ammunition formats that are designed to enable
     Introduction                                                          rapid discharge, which is a key feature in mass shooting
     Background                                                            incidents [24,47]. Other types of gun deaths may not be
                                                                           responsive to the FAWB or LCM bans. As an example, Extreme
     Approximately 44,000 people are killed and an additional              Risk Protection Orders or “Red Flag” orders [43,48], which
     100,000 people are injured by a gun each year in the United           temporarily prohibit at-risk individuals from owning or
     States [1,2]. Mass shooting fatalities, as a particular type of gun   purchasing firearms, may be effective for preventing firearm
     injury event, account for <1% of all gun deaths [3] and have          suicides or domestic violence homicides [49] but less effective
     largely been ignored until recently [4,5]; yet, mass shooting         for public mass shooters [50,51]. The prohibition of LCMs may
     events occur multiple times per year [6]. This information is         have no impact on firearm suicide because suicide decedents
     based on insights from firearm surveillance performed by a            only require one bullet to kill themselves [52].
     variety of researchers, and state and federal agencies on
     incidence, prevalence, risk factors, injuries, deaths, and            Several studies during and after the FAWB attempted to
     precipitating events, similar to the surveillance of infectious       determine if gun policy that restricts the production and sale of
     diseases such as COVID-19 [7-21]. Teutch and Thacker [22]             assault weapons and LCMs decreased gun deaths [53,54]. These
     defined public health surveillance as                                 initial studies make meaningful contributions to the literature
                                                                           because they describe what constitutes assault weapons,
          the ongoing systematic collection, analysis, and                 magazine capacity, ballistics, and loopholes in the FAWB
          interpretation of health data, essential to the planning,        legislation [3,53-57]. However, these studies have found little
          implementation, and evaluation of public health                  to no evidence that these policies have had any overall effect
          practice, closely integrated to the dissemination of             on firearm homicides, gun lethality, or overall crime [58-61].
          these data to those who need to know and linked to               Since deaths from public mass shootings comprise less than 1%
          prevention and control.                                          of all homicides based on our definition, testing whether or not
     Not only do surveillance systems generate hypotheses to test          the FAWB/LCM ban has an impact on homicide would wash
     but they also provide the data to test them.                          out the effect. Since the FAWB/LCM ban may be effective at
                                                                           specific types of gun deaths, sampling must be limited to specific
     The Federal Assault Weapons Ban (FAWB, also known as the
                                                                           types of shooters over overall gun deaths or tests for lethality
     Public Safety and Recreational Firearms Use Protection Act)
                                                                           [62,63]. Finally, the variation in research findings is related to
     included a ban on the manufacture for civilian use or sale of
                                                                           differences in research design, sampling frame, and case
     certain semiautomatic firearms defined as assault weapons as
                                                                           definition of a public mass shooting [3,53-56,64,65].
     well as certain large-capacity magazines (LCMs). The Act was
     in effect for 10 years from 1994 until it sunsetted in 2004.          Our study differs from other studies that evaluated the efficacy
     Semiautomatic weapons (rapid fire) and assault weapons (second        of the FAWB because we used economic methods and a
     grip plus other features) are distinct; however, the two are often    different outcome variable. Specifically, we focused on whether
     incorrectly conflated as similar [23-26]. Semiautomatic weapons       the FAWB resulted in fewer public mass shooting “events,”
     are defined as weapons that automatically load another cartridge      whereas other studies evaluated the number of gun injuries and
     into a chamber, preparing the weapon for firing, but requiring        deaths that occurred during the course of a mass shooting.
     the shooter to manually release and press the trigger for each
     round [23-26]. By contrast, automatic weapons are similarly           Objective
     self-loading, but allow for a shooter to hold the trigger for         The aim of this study was to test whether curbing access to
     continuous fire [27]. Furthermore, the FAWB also prohibited           certain types of guns and magazines will decrease mass shooting
     certain ammunition magazines that were defined as                     events. We sought to empirically answer if there was a
     “large-capacity” cartridges [28] containing more than 10 bullets      relationship between the FAWB and a reduction in mass
     [29]. These LCMs can feed ammunition to semiautomatic                 shooting events.
     weapons that do not meet the criteria of being considered assault
     weapons. Furthermore, LCMs are considered one of the most             Methods
     important features of the FAWB as research has found a
     relationship between bans on LCMs and casualty counts at the          Data Source
     state level [30-34]. The 10-year federal ban was signed into law      We created a firearm surveillance system based on the National
     by President Clinton on September 13, 1994 [28].                      Institute of Justice–funded Violence Project dataset, which
     Firearm surveillance data have been used to test potential policy     culled mass shooting events from 1966 to 2019 [6]. Consistent
     responses to prevent mass shootings, including the FAWB               with earlier studies, we rely on the original Federal Bureau of
     [32,34-39], Extreme Risk Protection Orders (also known as red         Investigation (FBI) definition of a massacre, specifically where
     flag laws) [40-45], and federal and state LCM bans [31,32,46].        4 or more people are killed within a single timeframe. We
     In particular, it seems likely that the FAWB and LCM bans             differentiate our mass shootings from others in that our inclusion
     have potential to affect mass shootings because they regulate         criteria require the shootings to have occurred in a public setting.

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     We adapted this definition to only include massacres that              sample” exercise because even though the sample extends to
     involved gun deaths of 4 or more victims to isolate a particular       2019, the FAWB ended in 2004; thus, this exercise would not
     type of mass shooter [66]. Many firearm surveillance systems           pick up events in the past 15 years that would have augmented
     that include mass shootings use a lower threshold of persons           or compromised the effects of the FAWB. The difference
     shot and many do not include deaths. An FBI report on active           between the modeled number of public mass shootings and the
     shooters in mass shooting events identified planning and               projected counterfactual number of public mass shootings could
     preparation behaviors that are central to prevention [67]. This        provide an estimate of the number of public mass shootings that
     more narrow definition isolates premeditation, whereas broader         the FAWB prevented.
     definitions may include shooters that are more reactive [68].
                                                                            We performed a regression of the 5-year moving average of
     Our case definition does not include family annihilators or
                                                                            public mass shootings on the US population in millions, the
     felony killers because familicides are defined by the
                                                                            homicide rate, and discontinuity variables to capture both the
     victim-offender relationship, public massacres are defined by
                                                                            effects of the FAWB and its discontinuation. We did not
     location, and felony killings are distinguished by motive [69].
                                                                            introduce a trend line for the entire sample period because it is
     This differentiation is consistent with other mass shooting
                                                                            highly collinear with the population variable. For the period of
     studies [70-72].
                                                                            the FAWB’s implementation, we originally introduced an
     We examined the annual number of public mass shootings                 intercept shift, time trend, and shift in the homicide rate; for the
     occurring between 1966 and 2019 that resulted in 4 or more             post-FAWB period, we introduced an intercept shift and a time
     fatalities. The hypothesis was that the FAWB reduced the               trend. Due to collinearity, we retained only the trend shift in
     number of public mass shootings per year during the period of          the final model for the FAWB period; for the post-FAWB
     the ban. We used regression discontinuity analysis to test the         period, we retained both the intercept and the trend shift.
     hypothesis. Regression discontinuity analysis is a standard
     economist tool used in policy analysis taking advantage of             Results
     quasi-experimental designs [65,73].
                                                                            We identified a total of 170 public mass shooting events, the
     Analyses                                                               primary outcome variable, with 4 or more fatalities between
     Regression discontinuity analysis allows for discontinuities or        1966 and 2019. The 5-year cumulative number of public mass
     shifts in both the intercept and the slope of the trend line at both   shootings is shown in Figure 1, providing a visualization of the
     the onset and sunset of the FAWB. That is, we introduced               impacts of the FAWB on the number of shootings. The first
     intercept shift parameters in 1995 and 2005, and trend shift           mass shooting occurred in 1966; hence, the first data point for
     parameters for the periods 1995-2004 and 2005-2019. A                  the cumulative number of shootings over the previous 5 years
     statistically significant shift in a parameter indicates a             occurs in 1970. For 1966 and 1967, the cumulative number of
     discontinuity (ie, a finding that the FAWB had a statistically         public mass shootings was 3. This number then increased to 12
     significant effect on the number of public mass shootings). We         in 1993 and declined to 3 in 2004. After 2004, the cumulative
     tested for statistical significance of the intercept and trend shift   number of public mass shootings increased to 81 in 2019. The
     parameters both independently and jointly. All statistical             last year of the ban, 2004, experienced the fewest public mass
     inference was based on a significance level set at .05. We used        shootings through 2019.
     the Huber-White robust residuals, which attenuate problems of
                                                                            The regression results showed excellent explanatory power
     autocorrelation, heteroscedasticity, and some types of model
     misspecification [74].                                                 (R2=0.94). The coefficient on population was positive and
                                                                            statistically significant (.044, P<.001). This coefficient means
     We then used the estimated model for two types of                      that for every increase in population of 1 million people, there
     counterfactual analysis. First, we used the model to predict the       are an additional .044 public mass shooting events per year.
     number of public mass shootings that would have occurred had           The coefficient on the homicide rate was negative and
     the FAWB not been in place. The difference between this                statistically significant (–.249, P=.01). The coefficient on the
     counterfactual prediction and the modeled number of incidents          time trend for the FAWB period captures the effect of the
     with the FAWB in place provided an estimate of the number of           FAWB; this coefficient was negative and statistically significant
     public mass shootings that the FAWB prevented.                         (–.187, P=.001). Using prediction models in combination with
     Second, we projected forward the number of public mass                 regression slopes, we estimate that 11 public mass shootings
     shootings that would have occurred had the FAWB been                   were avoided due to the FAWB. The intercept discontinuity for
     permanent (ie, continued from 2004 through to the end of the           2005-2019 was negative and statistically significant (–2.232,
     sample period). We note that in some sense, this is an “out of         P=.001), and the trend coefficient was positive and statistically
                                                                            significant (.081, P=.001).




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     Figure 1. Public mass shooting trend line using five year moving averages (1966-2019).




     These results are graphed in Figure 2 in which the black stars             and the green lines represents the predicted number of public
     represent the actual data and the green line represents the                mass shootings averted by the FAWB. The model predicts that
     predicted numbers of public mass shootings from the regression             11 public mass shootings were averted over the period of
     discontinuity model. A bending of the trend during the FAWB                1995-2004.
     period to become downward sloping at the end of the period is
                                                                                The blue diamonds represent the projected effects of a
     apparent, as is the return of the upward trajectory upon
                                                                                continuation of the FAWB through 2019 based on the observed
     expiration of the FAWB. The red squares represent the projected
                                                                                trend from 1995 to 2004. This projection indicates that 30 public
     numbers of public mass shootings during the FAWB period had
                                                                                mass shootings would have been prevented from 2005 to 2019
     there been no FAWB. The difference between the red squares
                                                                                had the FAWB been left in place.
     Figure 2. Regression lines from discontinuity analysis of the federal assault weapons ban (1994-2004).




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                                                                         mass shootings was increasing. During enactment of the FAWB,
     Discussion                                                          there was a downward trend of mass shooting events. After the
     Principal Findings                                                  FAWB was lifted, public mass shootings increased dramatically.
                                                                         Firearm homicides in general follow no such patterns.
     In total, 1225 people were killed in a mass shooting over the
     past 53 years with more than half occurring in the last decade,     This effect was not found in the work of Koper, Roth, and
     a function of increases in mass shootings and weapon lethality      colleagues [53-55]; however, their inclusion of all gun homicides
     [62,63,75]. Public mass shooting fatalities and injuries far        masks the ban’s effect on mass shootings. Even though Peterson
     outpace population growth [75]. Between 1966 and 2019, the          and Densley’s [77] work focused on perpetrator histories and
     US population increased by 67% [76], whereas public mass            not the FAWB, their findings that ease of gun access is
     shooting deaths increased by over 5-fold. The rise in public        characteristic of public mass shooters further supports our study.
     mass shootings throughout the sample period is in fact partially    We restricted the inclusion criteria to public mass shootings to
     a function of population growth and homicide rate, along with       specifically test the effectiveness of the FAWB on public mass
     the effects of the FAWB and its removal. An increase in the US      shooting events.
     population of 1 million people was associated with an increase      Regardless of the FAWB, bringing a semiautomatic rifle with
     of .040 (P<.005) public mass shootings per year. During the         high magazine capacity to a massacre significantly increases
     post-FAWB period, the increase in population from                   the number of fatalities and injuries. The increase in deaths is
     approximately 300 million in 2005 to 330 million in 2019 should     a function of rapid fire and increased ballistic energy. The
     be associated with an increase of 1.2 public mass shootings per     increase in injuries is also a function of rapid fire and
     year, compared to the actual increase of 4 public mass shootings    high-capacity magazines, enabling the shooter to shoot more
     per year in the data (5-year moving average). After controlling     people in crowded venues quickly before the crowd can disperse
     for population growth and homicide rate, a positive and             or hide. When controlling for the FAWB, the use of assault
     statistically significant coefficient (.081, P=.001) on the         rifles decreased by half during implementation of the ban and
     2005-2018 trend was seen. This further indicates a separate,        tripled after the ban was lifted. This is a particularly important
     nonpopulation trend of increasing violence operating during         finding given that the FAWB had loopholes and that overall
     the post-FAWB period. The negative coefficient on the homicide      violent crime is decreasing [78]. First, all people with an assault
     rate invalidates the hypothesis that decreases in the numbers of    weapon prior to the FAWB were allowed to retain their
     public mass shootings are simply reflections of an overall          semiautomatic weapons [54,64]. Second, without a buyback
     decreasing homicide rate. The negative intercept discontinuity      program, semiautomatic weapons remained in the community
     is consistent with an effect of the FAWB that persists somewhat     [54,64]. Third, the ban did not target some military assault-like
     beyond the immediate end of the ban. The positive trend             weapons [54,64]. Finally, a major loophole found in gun control
     coefficient is consistent with the hypothesis that the FAWB was     legislation is that buyers can bypass background checks by
     associated with a decrease in the number of public mass             purchasing their weapons and ammunition from gun shows,
     shootings, as the expiration of the FAWB was associated with        through illegal purchasing, or legally purchasing their guns and
     a shift from a downward trend to an upward trend in the number      ammunition from another gun owner [57,63,79-87]. Even with
     of public mass shootings per year.                                  these loopholes and issues, there was still a significant reduction
     The most striking finding from this study is that there was a       in public mass shootings during the FAWB. These loopholes
     reduction in the number of public mass shooting events while        indicate that most people who purchase assault weapons do not
     the FAWB was in place. Using prediction models in                   become mass shooters; however, mass shooters require assault
     combination with regression slopes, we estimate that 11 public      weapons and LCMs to carry out a mass shooting. Ban
     mass shootings were avoided due to the FAWB. By projecting          effectiveness might have improved if all assault weapons were
     what would have happened if the FAWB remained in place, we          included in the FAWB.
     found that there would have been significantly fewer public         Some recent studies have specifically analyzed the effects of
     mass shootings if the FAWB had remained in place to 2019.           LCM bans on the incidence of public mass shootings. In a
     Remarkably, although it is intuitive that the removal of assault    review of state legislation, Webster et al [88] found that bans
     weapons and magazine clips will reduce the lethality of a mass      of LCMs were associated with a significant reduction in the
     shooting, we observed an inverse relationship between               incidence of fatal public mass shootings. This study shows that
     weapons/ammunition and mass shooting events, meaning that           the FAWB, which included a ban on LCMs, was associated
     mass shooters may be less likely to perpetrate a mass shooting      with fewer fatalities and injuries during mass shootings in
     without rapid fire military-style weapons. This is an independent   addition to fewer public mass shooting events. Koper et al [27]
     effect, which indirectly leads to fewer injuries and deaths.        previously reported that 19% of public mass shootings resulting
     DiMaggio et al [64] also found evidence of a decrease in public     in 4 or more fatalities included the use of LCMs, while only
     mass shootings during the ban; however, their study period was      10% involved an assault weapon. Klarevas et al [29] found a
     shorter and was restricted to 51 public mass shootings. Unlike      similar pattern in shootings of 6 or more people, in which 67%
     our study, they implicitly modeled public mass shootings as a       of shooters utilized LCMs, whereas only 26% utilized an assault
     random instance of general gun homicides that had a high death      weapon. Because our study only looked at effects of the FAWB,
     count [64]. In contrast, our findings suggest that public mass      which included an LCM ban, we were only able to determine
     shootings are a unique type of premeditated gun violence. We        the combined effects of limiting assault weapons and LCMs.
     found that prior to enactment of the FAWB, the rate of public       To be clear, the reduction in the number of public mass
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     shootings, and resulting fatalities and injuries, may be a function   resulted in better tracking of public mass shootings or increased
     of the ban on assault weapons, assault weapons plus LCMs, or          media coverage. Because our study specifically targeted the
     only LCMs. We cannot separate out their independent effects           federal legislation, we omitted state-level gun policies such as
     at the national level.                                                state-level prohibitions on certain types of guns, LCMs, or more
                                                                           lethal types of bullets. It is likely that the internet serves as a
     Unlike our study, Webster et al [88] did not evaluate the
                                                                           contagion and as a guide to potential mass shooters, allowing
     incidence of assault weapons used in public mass shootings.
                                                                           them to access weapons and multiple stories about other mass
     Rather, they focused on fatalities from public mass shootings
                                                                           shooters [62,67,89,90].
     vs public mass shooting events. Although Webster et al [88]
     utilized the FBI Supplemental Homicide Report as their dataset,       Conclusions
     which is a voluntary reporting measurement system prone to            In summary, public mass shootings are a unique and specific
     errors in reporting, their findings are applicable to our analysis.   type of homicide by a gun. We found evidence that public mass
     Limitations                                                           shootings are qualitatively different from general homicides
                                                                           because after the FAWB expired, mass shooting events increased
     Although we found statistically significant decreases during the
                                                                           while general homicides decreased. The increase in public mass
     FAWB, we cannot isolate aspects of the policy that are attributed
                                                                           shootings was more dramatic in the final 10 years of the study
     to the decline. Most notably, the FAWB also included LCMs
                                                                           period following the end of the FAWB. We suspect that these
     during the ban. It may be that the type of gun and/or the type
                                                                           outcomes may be improved by removing existing semiautomatic
     of magazine resulted in a decline. Indeed, assault weapons and
                                                                           weapons with large bullet capacity by creating a buyback
     LCMs provide the means to carry out a mass shooting; however,
                                                                           program for all rapid-firing weapons. Moreover, the legislation
     there are likely other factors beyond this study that partially
                                                                           would be strengthened if it closed loopholes that allow gun
     explain the radical increase in public mass shootings in the
                                                                           buyers to get around the background check legislation and other
     post-FAWB period. For example, the FAWB was in place from
                                                                           purchase prohibitions by exempting gun shows and internet or
     1994 to 2004, which is the same time period that the US
                                                                           person-to-person purchases, which were exempted from the
     population largely adopted the internet, along with associated
                                                                           FAWB and LCM ban [87].
     social communication software and websites. This may have

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     Conflicts of Interest
     None declared.

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     Abbreviations
               FAWB: Federal Assault Weapons Ban
               FBI: Federal Bureau of Investigation
               LCM: large-capacity magazine




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                        EXHIBIT I
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                             Regulating Assault Weapons and Large-Capacity Magazines
      VIEWPOINT
                             for Ammunition

  Philip J. Cook, PhD        Mass public shootings in the US account for a small frac-     The 1994 Federal Assault Weapons Ban extended the
  Duke University,           tion of all firearm-related homicides, but have an out-  regulationofmilitary-styleweaponstoincludesomesemi-
  Durham,                    sized role in stoking the public’s concern with firearm  automatic firearms. These weapons fire 1 round of am-
  North Carolina.
                             violence. The vivid instances of attacks on people in    munition for each pull of the trigger, and are capable of
                             churches, schools, and offices and at other public gath- firing at a rate of roughly 1 per second. The 1994 Assault
  John J. Donohue, PhD,
  JD                         ering places do vastly disproportionate damage to peace  Weapons Ban ended the legal manufacture and import of
  Stanford University,       of mind by creating a sense of peril in places that should
                                                                                      specified firearms, as well as ammunition-feeding de-
  Stanford, California.      feel safe. These attacks have been increasing in fre-    vices (magazines) that held more than 10 rounds of am-
                             quency and deadliness in recent years. As reducing this  munition. At the time, most prohibited assault weapons
                             particular type of firearm violence becomes more ur-     were equipped with detachable magazines that held 30
                             gent, the case for a variety of prevention measures be-  rounds and could accept magazines that could hold as
  Viewpoint pages 1177,
                             comes even stronger.                                     many as 50 or 100 rounds, thus making it possible to fire
  1179, 1181, 1183, 1185,
  1187, 1189, 1193, 1195,         This Viewpoint focuses on a measure that is highly  dozens of rounds without pausing to reload.2
  and 1197 and Editorial     specific to the gun violence problem—stringent regula-        The 1994 federal ban on new assault weapons had
  page 1201                  tion of assault weapons and large-capacity magazines     gapingloopholes.First,thefederalbandidnotrestrictpos-
                             (LCMs) for ammunition. Federal law banned the intro-     session or transactions of existing assault weapons and
  Supplemental               duction of new LCMs and military-style semiautomatic     LCMs. Second, manufacturers found ways to slightly
  content                    firearms between 1994 and 2004, but that regulation      modify the design of some of the banned weapons so that
                             ended in 2004 and Congress did not renew it. Now, years  they met the letter of the law while preserving the military
                             later, the nation is experiencing the dire effects of op-appearance and the possibility of accepting LCMs and
                             ening the door to the manufacture and import of these    firing high-powered ammunition quickly. Still, there is evi-
                             weapons; it is time to close that door.                  dence that the ban had some salutary effect on mass
                                                                                      public shootings.
                             History and Current Status of Bans                            The LCM ban, also in effect during 1994 to 2004,
                             The history of federal bans on weapons of mass was not subject to the redesign problem because it pro-
                             destruction goes back to the 1934 National Firearms vided a bright line that was difficult for manufacturers
                             Act. Among other provisions, the Act required sub- to overcome. There were, however, an estimated 25 mil-
                             machine guns and other firearms capable of fully lion LCMs in circulation when the ban was enacted, and
                                                                                                        those remained in circulation, but with no
                                                                                                        new additions.2 It was not just assault
                             Current estimates suggest that                                             weapons     (as defined) that were de-
                                                                                                        signed to use LCMs, but a variety of other
                             approximately 20 million assault                                           semiautomatic firearms as well, so the
                             weapons are owned by private                                               LCM ban had much broader scope.
                                                                                                             When the law expired in 2004,
                             individuals in the US, with millions                                       manufacturing and importations of LCMs
                             of new assault weapons manufactured                                        and previously banned weapons re-
                             and imported each year.                                                    sumed, and a surge of sales followed.
                                                                                                        Current estimates suggest that approxi-
                             automatic fire (ie, firing several shots with a single mately 20 million assault weapons are owned by pri-
                             pull of the trigger) to be registered with the federal vate individuals in the US, with millions of new assault
                             government.1 All transactions involving such weapons weapons manufactured and imported each year.3 The
                             were taxed at $200, a high confiscatory amount at the industry initially advertised these weapons as “assault
                             time. The registration and tax requirement remained in rifles,” and continues to promote them with military al-
                             place, although inflation has substantially undercut the lusions but has now rebranded this type of weapon as
                             force of the transfer fee. The Act was expanded by the “modern sporting rifle.”
                             Congress in 1986 to end the sale of new fully automatic       Seven states have some version of a ban or stringent
  Corresponding
  Author: Philip J.          weapons. There is every reason to believe that these restrictions on assault weapons: California, Connecticut,
  Cook, PhD, Sanford         restrictions have been effective. Even though the Hawaii, Maryland, Massachusetts, New Jersey, and
  School of Public Policy,   Thompson submachine gun was a notorious gangster New York, as well as the District of Columbia.4 These laws
  Duke University,
                             weapon in the 1920s, fully automatic weapons of any are being challenged in the courts as a violation of the
  PO Box 90545,
  Durham, NC 27708           kind are rarely used in crime in modern times or in mass Second Amendment, but have survived these chal-
  (pcook@duke.edu).          public shootings.1                                       lenges to date.

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         Opinion Viewpoint                 3157


         Evidence of Potential Effectiveness of a National Ban                           ing in Port Arthur, Tasmania, in which a young man killed 35 people
         A review conducted by the RAND Corporation concluded that the                   with a semiautomatic rifle. Swift action by the federal and state leg-
         handful of published studies on the effect of the ban on mass pub-              islatures produced legislation that banned not only manufacture and
         lic shootings was “inconclusive” due in part to flaws in the analysis           import, but private possession of semiautomatic rifles. To ease the
         used by the 3 studies with positive findings.4 But it is unlikely the           transition, a series of firearm buybacks were instituted, and 1 million
         surge in mass public shootings that involved assault weapons and                weapons were ultimately relinquished, estimated to be one-third of
         LCMs that occurred after the ban would have happened if the ban                 all privately owned guns. Australia had 11 mass shootings during the
         had remained in place. The logic is straightforward. The sales of these         decade prior to the ban,9 and 1 since then (a family killing in 2018 that
         weapons, which had declined during the ban, expanded greatly fol-               would not count as a mass public shooting by the US definition).
         lowing its repeal, making them more widely available to everyone                     The Australian experience is illustrative as a proof of concept for
         including would-be mass murderers.                                              other countries, including the US. Of note, the ban covered all semi-
               To document recent trends in such mass public shootings re-               automatic rifles, not just those with the specific features sugges-
         quires a precise definition. One common definition for mass pub-                tive of use in warfare as opposed to hunting. The ban on posses-
         lic shootings has several elements,5,6 including: (1) a minimum of              sion of existing guns rather than only on the introduction of new guns
         4 homicides; (2) a public location; and (3) circumstance not attrib-            greatly accelerated its apparent effectiveness.
         utable to robbery, other felonious activity, or commonplace con-
         flict in families or among acquaintances. A comprehensive compi-                Potential Next Steps
         lation of such events is the Violence Project’s database of mass                On July 29, 2022, the US House of Representatives passed the
         shootings in the US,7 which includes the number of people killed and            Assault Weapons Ban of 2022. To a large extent this bill reinsti-
         injured in each event and the type of weapon or weapons used.                   tuted the 1994 ban, including the ban on the sale of new semiauto-
               Information from this database indicates that in the years fol-           matic firearms deemed to be assault weapons, and of new LCMs
         lowing when the law expired in 2004, the number of mass shoot-                  holding more than 10 rounds. An important innovation is that for
         ing incidents greatly increased and the number of fatalities in-                LCMs, the bill only allows continued possession and use of existing
         creased even more. During the period from 2015 to 2019, the number              devices, but not transfer. However, given the reality that the US Sen-
         of incidents reached 33 (or 6.6 per year), which was almost twice               ate will not enact this bill, it is useful to consider other approaches.
         the number during the decade the Federal Assault Weapons Ban                         States could institute or expand assault weapon bans. Indeed,
         was in effect (eFigure and eTable in the Supplement). The number                just a ban on LCMs would be a promising first step, impeding ac-
         of fatalities from shootings that involved banned weapons de-                   cess to these products by individuals who could otherwise use them
         creased during the second half of the ban (2000-2004) and then                  to fire multiple rounds of ammunition at large numbers of people
         surged during subsequent periods, reaching a total of 271 during                before law enforcement can be mobilized to stop the killing.
         2015 to 2019. It was during that 5-year interval from 2015 to 2019
         that 5 of the top-10 deadliest mass public shootings in US history oc-          Conclusions
         curred, and all were committed with assault weapons.8 The num-                  In 2017, the New York Times polled “32 current or retired academics
         ber of fatalities resulting from mass public shootings with other weap-         in criminology, public health and law, who have published exten-
         ons has remained relatively flat.                                               sively in peer-reviewed academic journals on gun policy”10 to ask
                                                                                         them what measures would be most effective in dealing with the
         The Australian Ban on Rapid-Fire Weapons                                        mass shooting problem in the US, and an assault weapons ban was
         The Australian experience has factored into the debate over reinsti-            deemed overall by this panel to be the single most effective mea-
         tuting the assault weapons ban in the US. In Australia, the impetus             sure. The evidence in support of a ban has grown tragically stron-
         for banning semiautomatic weapons was a 1996 mass public shoot-                 ger since then.10


         ARTICLE INFORMATION                                 3. Bump P. Tallying America’s fascination with         www.theviolenceproject.org/mass-shooter-
         Conflict of Interest Disclosures: Dr Donohue        AR-15-style rifles. Accessed September 6, 2022.        database/
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         government entities on matters related to assault   05/26/tallying-americas-fascination-with-ar-15-        Accessed August 31, 2022. https://en.wikipedia.
         weapons bans based on his research in this area.    style-rifles/                                          org/wiki/Mass_shootings_in_the_United_States
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                        EXHIBIT J
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                                                         3159
 1   The Code of Professional Ethics and Practices
 2   We—the members of the American Association for Public Opinion Research (AAPOR) and its affiliated chapters—subscribe to the
 3   principles expressed in this document, the AAPOR Code of Professional Ethics and Practices (“the Code”). Our goals are to support
 4   sound and ethical practice in the conduct of public opinion and survey research and promote the informed and appropriate use of
 5   research results.
 6   The Code is based in fundamental ethical principles that apply to the conduct of research regardless of an individual’s membership in
 7   AAPOR or any other organization. Adherence to the principles and actions set out in the Code is expected of all public opinion and
 8   survey researchers.
 9   As AAPOR members, we pledge to maintain the highest standards of scientific competence, integrity, accountability, and
10   transparency in designing, conducting, analyzing, and reporting our work, and in our interactions with participants (sometimes
11   referred to as respondents or subjects), clients, and the users of our research. We pledge to act in accordance with principles of
12   basic human rights in research. We further pledge to reject all tasks or assignments that would require activities inconsistent with the
13   principles of this Code.
14   The Code sets the standard for the ethical conduct of public opinion and survey research at the time of publication.
15   Recommendations on best practices for research design, conduct, analysis, and reporting are beyond the scope of the Code but may
16   be published separately by AAPOR Executive Council.
17   Definitions of Terms Used in the Code
18
19   1. “Public opinion and survey research” refers to the systematic collection and analysis of information from or about individuals,
20   groups, or organizations concerning their behaviors, cognitions, attitudes or other characteristics. It encompasses both quantitative
21   and qualitative research methods, traditional or emerging.
22   2. “Participants” refers to individuals whose behaviors, cognitions, attitudes, or other characteristics are measured and analyzed.
23   Participants can include individuals representing groups or organizations, and individuals such as minors or those unable to consent
24   directly, for whom a parent, legal guardian, or other proxy makes participation decisions or provides information.
25   3. “Personally identifiable information” refers to (i) measurements, records, or other data that can be used alone or in combination to
26   distinguish or trace an individual’s identity and (ii) any other information that is linkable to an individual (e.g., employment information,
27   medical history, academic records).
28
29   I. Principles of Professional Responsibility in Our Research
30
31   A. Responsibilities to Participants
32       1. We will avoid practices or methods that may harm, endanger, humiliate, or unnecessarily mislead participants and potential
33          participants.

                                                                           1
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 1      2. We will not misrepresent the purpose of our research or conduct other activities (such as sales, fundraising, or political
 2         campaigning) under the guise of conducting research.
 3      3. We recognize that participation in our research is voluntary except where specified by regulation or law. Participants may
 4         freely decide, without coercion, whether to participate in the research, and whether to answer any question or item presented
 5         to them.
 6      4. We will make no false or misleading claims as to a study’s sponsorship or purpose and will provide truthful answers to
 7         participants’ questions about the research. If disclosure of certain information about the research could endanger or cause
 8         harm to persons, could bias responses, or does not serve research objectives, it is sufficient to indicate, in response to
 9         participants' questions about the research, that some information cannot be revealed.
10      5. We recognize the critical importance of protecting the rights of minors and other vulnerable individuals when obtaining
11         participation decisions and conducting our research.
12      6. We will act in accordance with laws, regulations, and the rules of data owners (providers of research or administrative records
13         previously collected for other purposes) governing the collection, use, and disclosure of information obtained from or about
14         individuals, groups, or organizations.
15
16   B. Responsibilities When Collecting Personally Identifiable Information
17       1. We recognize the right of participants to be provided with honest and forthright information about how personally identifiable
18          information that we collect from them will be used.
19       2. We recognize the importance of preventing unintended disclosure of personally identifiable information. We will act in
20          accordance with all relevant best practices, laws, regulations, and data owner rules governing the handling and storage of
21          such information. We will restrict access to identifiers and destroy them as soon as they are no longer required, in accordance
22          with relevant laws, regulations, and data owner rules.
23       3. We will not disclose any information that could be used, alone or in combination with other reasonably available information,
24          to identify participants with their data, without participant permission.
25       4. When disclosing personally identifiable data for purposes other than the current research, we will relay to data users any
26          conditions of their use specified in the participant permission we have obtained.
27       5. We understand that the use of our research results in a legal proceeding does not relieve us of our ethical obligation to
28          protect participant privacy and keep confidential all personally identifiable data, except where participants have permitted
29          disclosure.
30
31   C. Responsibilities to Clients or Sponsors
32      1. When undertaking work for a client, we will hold confidential all proprietary information obtained about the client and about the
33         conduct and findings of the research undertaken for the client, except when the dissemination of the information is expressly
34         authorized by the client.
35      2. We will inform those (partners, co-investigators, sponsors, and clients) for whom we conduct publicly released research
36         studies about AAPOR’s Standards for Disclosure in Section III of the Code, and provide information on what should be
37         disclosed in their releases.
                                                                        2
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 1     3.   We will be mindful of the limitations of our expertise and capacity to conduct various types of research and will accept only
 2          those research assignments that we can reasonably expect to accomplish within these limitations.
 3
 4   D. Responsibilities to the Public
 5      1. We will disclose to the public the methods and procedures used to obtain our own publicly disseminated research results in
 6         accordance with Section III of the Code.
 7      2. We will correct any errors in our own work that come to our attention which could influence interpretation of the results. We
 8         will make good faith efforts to identify and issue corrective statements to all parties who were presented with the factual
 9         misrepresentation or distortions. If such factual misrepresentations or distortions were made publicly, we will correct them in a
10         public forum that is as similar as possible to original data dissemination.
11      3. We will correct factual misrepresentations or distortions of our data or analysis, including those made by our research
12         partners, co-investigators, sponsors, or clients. We will make good faith efforts to identify and issue corrective statements to
13         all parties who were presented with the factual misrepresentations or distortions, and if such factual misrepresentations or
14         distortions were made publicly, we will correct them in a public forum that is as similar as possible. We also recognize that
15         differences of opinion in the interpretation of analysis are not necessarily factual misrepresentations or distortions and will
16         exercise professional judgment in handling disclosure of such differences of opinion.
17
18   E. Responsibilities to the Profession
19       1. We recognize the importance to the science of public opinion and survey research of disseminating as freely as practicable
20          the ideas and findings that emerge from our research.
21       2. We can point with pride to our membership in AAPOR and adherence to the Code as evidence of our commitment to high
22          standards of ethics in our relations with research participants, our clients or sponsors, the public, and the profession.
23          However, we will not cite our membership in the Association nor adherence to this Code as evidence of professional
24          competence, because the Association does not certify the professional competence of any persons or organizations.
25
26   II. Principles of Professional Practice in the Conduct of Our Work
27   A. We will exercise due care in developing research designs, samples, and instruments, and in collecting, processing, and analyzing
28   data, taking all reasonable steps to assure the reliability and validity of results.
29        1. We will recommend and employ only those tools and methods of analysis that, in our professional judgment, are fit for the
30           purpose of the research questions.
31        2. We will not knowingly select research tools and methods of analysis that yield misleading conclusions.
32        3. We will not knowingly make interpretations of research results that are inconsistent with the data available, nor will we tacitly
33           permit such interpretations. We will ensure that any findings we report, either privately or for public release, are a balanced
34           and accurate portrayal of research results.
35        4. We will not knowingly imply that interpretations are accorded greater confidence than the data warrant. When we generalize
36           from samples to make statements about populations, we will only make claims of precision and applicability to broader
37           populations that are warranted by the sampling frames and other methods employed.
                                                                         3
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 1       5. We will not engage in data fabrication or falsification.
 2       6. We will accurately describe and attribute research from other sources that we cite in our work, including its methodology,
 3           content, comparability, and source.
 4   B. We will describe our methods and findings accurately and in appropriate detail in all research reports, adhering to the standards
 5   for disclosure specified in Section III of the Code.
 6
 7
 8   III. Standards for Disclosure
 9   Broadly defined, research on public opinion can be conducted using a variety of quantitative and qualitative methodologies,
10   depending on the research questions to be addressed and available resources. Accordingly good professional practice imposes the
11   obligation upon all public opinion and survey researchers to disclose sufficient information about how the research was conducted to
12   allow for independent review and verification of research claims, regardless of the methodology used in the research. Full and
13   complete disclosure for items listed in Section A will be made at the time results are released, either publicly or to a research client,
14   as the case may be. As detailed below, the items listed in Section B, if not immediately available, will be released within 30 days of
15   any request for such materials. If the results reported are based on multiple samples or multiple modes, the preceding items (as
16   applicable) will be disclosed for each.
17
18   A. Items for Immediate Disclosure
19      1. Data Collection Strategy: Describe the data collection strategies employed (e.g. surveys, focus groups, content analyses).
20
21      2. Who Sponsored the Research and Who Conducted It. Name the sponsor of the research and the party(ies) who
22         conducted it. If the original source of funding is different than the sponsor, this source will also be disclosed.
23
24      3. Measurement Tools/Instruments. Measurement tools include questionnaires with survey questions and response options,
25         show cards, vignettes, or scripts used to guide discussions or interviews. The exact wording and presentation of any
26         measurement tool from which results are reported as well as any preceding contextual information that might reasonably be
27         expected to influence responses to the reported results and instructions to respondents or interviewers should be included.
28         Also included are scripts used to guide discussions and semi-structured interviews and any instructions to researchers,
29         interviewers, moderators, and participants in the research. Content analyses and ethnographic research will provide the
30         scheme or guide used to categorize the data; researchers will also disclose if no formal scheme was used.
31
32      4. Population Under Study. Survey and public opinion research can be conducted with many different populations including,
33         but not limited to, the general public, voters, people working in particular sectors, blog postings, news broadcasts, an elected
34         official’s social media feed. Researchers will be specific about the decision rules used to define the population when
35         describing the study population, including location, age, other social or demographic characteristics (e.g., persons who
                                                                         4
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 1      access the internet), time (e.g., immigrants entering the US between 2015 and 2019). Content analyses will also include the
 2      unit of analysis (e.g., news article, social media post) and the source of the data (e.g., Twitter, Lexis-Nexis).
 3
 4   5. Method Used to Generate and Recruit the Sample. The description of the methods of sampling includes the sample design
 5      and methods used to contact or recruit research participants or collect units of analysis (content analysis).
 6         a. Explicitly state whether the sample comes from a frame selected using a probability-based methodology (meaning
 7            selecting potential participants with a known non-zero probability from a known frame) or if the sample was selected
 8            using non-probability methods (potential participants from opt-in, volunteer, or other sources).
 9         b. Probability-based sample specification should include a description of the sampling frame(s), list(s), or method(s).
10                 i. If a frame, list, or panel is used, the description should include the name of the supplier of the sample or list
11                     and nature of the list (e.g., registered voters in the state of Texas in 2018, pre-recruited panel or pool).
12                ii. If a frame, list, or panel is used, the description should include the coverage of the population, including
13                     describing any segment of the target population that is not covered by the design.
14
15          c. For surveys, focus groups, or other forms of interviews, provide a clear indication of the method(s) by which
16             participants were contacted, selected, recruited, intercepted, or otherwise contacted or encountered, along with any
17             eligibility requirements and/or oversampling.
18          d. Describe any use of quotas.
19          e. Include the geographic location of data collection activities for any in-person research.
20          f. For content analysis, detail the criteria or decision rules used to include or exclude elements of content and any
21             approaches used to sample content. If a census of the target population of content was used, that will be explicitly
22             stated.
23          g. Provide details of any strategies used to help gain cooperation (e.g., advance contact, letters and scripts,
24             compensation or incentives, refusal conversion contacts) whether for participation in a survey, group, panel, or for
25             participation in a particular research project. Describe any compensation/incentives provided to research subjects and
26             the method of delivery (debit card, gift card, cash).
27
28   6. Method(s) and Mode(s) of Data Collection. Include a description of all mode(s) used to contact participants or collect data
29      or information (e.g., CATI, CAPI, ACASI, IVR, mail, Web for survey; paper and pencil, audio or video recording for qualitative
30      research, etc.) and the language(s) offered or included. For qualitative research such as in-depth interviews and focus
31      groups, also include length of interviews or the focus group session.
32
33   7. Dates of Data Collection. Disclose the dates of data collection (e.g., data collection from January 15 through March 10 of
34      2019). If this is a content analysis, include the dates of the content analyzed (e.g., social media posts between January 1 and
35      10, 2019).
36
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 1      8. Sample Sizes (by sampling frame if more than one frame was used) and (if applicable) Discussion of the Precision of
 2         the Results.
 3            a. Provide sample sizes for each mode of data collection (for surveys include sample sizes for each frame, list, or panel
 4               used).
 5            b. For probability sample surveys, report estimates of sampling error (often described as “the margin of error”) and
 6               discuss whether or not the reported sampling error or statistical analyses have been adjusted for the design effect due
 7               to weighting, clustering, or other factors.
 8            c. Reports of non-probability sample surveys will only provide measures of precision if they are defined and
 9               accompanied by a detailed description of how the underlying model was specified, its assumptions validated, and the
10               measure(s) calculated.
11            d. If content was analyzed using human coders, report the number of coders, whether inter-coder reliability estimates
12               were calculated for any variables, and the resulting estimates.
13
14      9. How the Data Were Weighted. Describe how the weights were calculated, including the variables used and the sources of
15         the weighting parameters.
16
17      10. How the Data Were Processed and Procedures to Ensure Data Quality. Describe validity checks, where applicable,
18          including but not limited to whether the researcher added attention checks, logic checks, or excluded respondents who
19          straight-lined or completed the survey under a certain time constraint, any screening of content for evidence that it originated
20          from bots or fabricated profiles, re-contacts to confirm that the interview occurred or to verify respondent’s identity or both,
21          and measures to prevent respondents from completing the survey more than once. Any data imputation or other data
22          exclusions or replacement will also be discussed. Researchers will provide information about whether any coding was done
23          by software or human coders (or both); if automated coding was done, name the software and specify the parameters or
24          decision rules that were used.
25
26      11. A General Statement Acknowledging Limitations of the Design and Data Collection. All research has limitations and
27          researchers will include a general statement acknowledging the unmeasured error associated with all forms of public opinion
28          research.
29   B. Additional Items for Disclosure. After results are reported, we will make the following items available within 30 days of any request
30   for such materials:
31      1. Procedures for managing the membership, participation, and attrition of the panel, if a pool, panel, or access panel was used.
32         This should be disclosed for both probability and non-probability surveys relying on recruited panels of participants.
33


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                                                     3165
 1   2. Methods of interviewer or coder training and details of supervision and monitoring of interviewers or human coders. If
 2      machine coding was conducted, include description of the machine learning involved in the coding.
 3
 4   3. Details about screening procedures, including any screening for other surveys or data collection that would have made
 5      sample or selected members ineligible for the current data collection (e.g., survey, focus group, interview) will be disclosed
 6      (e.g., in the case of online surveys if a router was used).
 7
 8   4. Any relevant stimuli, such as visual or sensory exhibits or show cards. In the case of surveys conducted via self-administered
 9      computer-assisted interviewing, providing the relevant screen shot(s) is strongly encouraged, though not required.
10
11   5. Summaries of the disposition of study-specific sample records so that response rates for probability samples and participation
12      rates for non-probability samples can be computed. If response or cooperation rates are reported, they will be computed
13      according to AAPOR Standard Definitions. If dispositions cannot be provided, explain the reason(s) why they cannot be
14      disclosed, and this will be mentioned as a limitation of the study.
15
16   6. The unweighted sample size(s) on which one or more reported subgroup estimates are based.
17
18   7. Specifications adequate for replication of indices or statistical modeling included in research reports.
19
20




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 1   C. Access to Datasets
 2   Reflecting the fundamental goals of transparency and replicability, AAPOR members share the expectation that access to datasets
 3   and related documentation will be provided to allow for independent review and verification of research claims upon request. In order
 4   to protect the privacy of individual respondents, such datasets will be de-identified to remove variables that can reasonably be
 5   expected to identify a respondent. Datasets may be held without release for a period of up to one year after findings are publicly
 6   released to allow full opportunity for primary analysis. Those who commission publicly disseminated research have an obligation to
 7   disclose the rationale for why eventual public release or access to the datasets is not possible, if that is the case.
 8
 9   D. AAPOR Standards Complaint
10   If any of our work becomes the subject of a formal investigation of an alleged violation of this Code, undertaken with the approval of
11   the AAPOR Executive Council, we will provide additional information on the research study in such detail that a fellow researcher
12   would be able to conduct a professional evaluation of the study.
13
14   .




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                        EXHIBIT K
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                       EXHIBIT “F”




                       EXHIBIT “F”
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY



  ASSOCIATION OF NEW JERSEY
  RIFLE & PISTOL CLUBS, INC., et al.,

       Plaintiffs,

  v.                                    Civil Action No. 3:18-cv-10507

  PLATKIN, et al.,

     Defendants.
  CHEESEMAN, et al.,

       Plaintiffs,

  v.                                    Civil Action No. 1:22-cv-4360

  PLATKIN, et al.,

     Defendants.
  ELLMAN, et al.,

       Plaintiffs,

  v.                                    Civil Action No. 3:22-cv-04397

  PLATKIN, et al.,

       Defendants.




                            Expert Report of Randolph Roth
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        I, Randolph Roth, declare under penalty of perjury that the following is true and correct:

          1.       I am an Arts and Sciences Distinguished Professor of History and Sociology at

  The Ohio State University. I have personal knowledge of the facts set forth in this report, and if

  called upon as a witness, I could and would testify competently as to those facts.

          2.       I have been retained by the Town of Superior, Colorado; the City of Louisville,

  Colorado; the City of Boulder, Colorado; and the Board of County Commissioners of Boulder

  County, Colorado, to render expert opinions in this case. I am being compensated at a rate of

  $250 per hour.

                             BACKGROUND AND QUALIFICATIONS

          3.       I received a B.A. in History with Honors and Distinction in 1973 from Stanford

  University, where I received the James Birdsall Weter Prize for the outstanding honors thesis in

  History. I received a Ph.D. in History in 1981 from Yale University, where I received the

  Theron Rockwell Field Prize for the outstanding dissertation in the humanities and the George

  Washington Eggleston Prize for the outstanding dissertation in American history. I have taught

  courses in history, the social sciences, and statistics since 1978, with a focus on criminology and

  the history of crime. A true and correct copy of my curriculum vitae is attached as Exhibit A to

  this report.

          4.       I am the author of American Homicide (The Belknap Press of the Harvard

  University Press, 2009), which is an interregional, internationally comparative study of homicide

  in the United States from colonial times to the present. The book received the 2011 Michael J.

  Hindelang Award from the American Society of Criminology awarded annually for the book

  published over the three previous years that “makes the most outstanding contribution to




                                                    1
        Expert Report of Randolph Roth (D.N.J. 3:18-cv-10507, 1:22-cv-4360, 3:22-cv-04397)
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  research in criminology over the previous three years,” 1 and the 2010 Allan Sharlin Memorial

  Book Award from the Social Science History Association for outstanding books in social science

  history. 2 American Homicide was also named one of the Outstanding Academic Books of 2010

  by Choice, and the outstanding book of 2009 by reason.com.

         5.      I am a Fellow of the American Association for the Advancement of Science, and I

  have served as a member of the National Academy of Sciences Roundtable on Crime Trends,

  2013-2016, and as a member of the Editorial Board of the American Historical Review, the most

  influential journal in the discipline. And in 2022 I received the inaugural Distinguished Scholar

  Award from the Historical Criminology Division of the American Society of Criminology.

         6.      I am the principal investigator on the National Homicide Data Improvement

  Project (“NHDIP”), a project funded by the National Science Foundation,3 and the Harry Frank

  Guggenheim Foundation to improve the quality of homicide data in the United States from 1959

  to the present. I have begun the NHDIP with a pilot project in Ohio, which has drawn on a wide

  range of sources in its effort to create a comprehensive database on homicides (including

  narratives of each incident) based on the mortality statistics of the Ohio Department of Health,

  the confidential compressed mortality files of the National Center for Health Statistics, the

  F.B.I.’s Supplementary Homicide Reports, death certificates, coroner’s reports, the homicide

  case files of Cincinnati, Cleveland, and Columbus, obituaries, and newspaper accounts.



         1 See American Society of Criminology,  Michel J. Hindelang outstanding Book Award
  Recipients, https://asc41.com/about-asc/awards/michael-j-hindelang-outstanding-book-award-
  recipients/.
         2 See Social Science History Association, Allan Sharlin Memorial Book Award,

  https://ssha.org/awards/sharlin_award/.
         3  See National Sciences Foundation, Award Abstract 1228406,
  https://www.nsf.gov/awardsearch/showAward?AWD_ID=1228406.
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         7.      I have published numerous essays on the history of violence and the use of

  firearms in the United States, including a) “Guns, Gun Culture, and Homicide: The Relationship

  between Firearms, the Uses of Firearms, and Interpersonal Violence in Early America,” William

  and Mary Quarterly (2002) 59: 223-240; 4 b) “Counting Guns: What Social Science Historians

  Know and Could Learn about Gun Ownership, Gun Culture, and Gun Violence in the United

  States,” Social Science History (2002) 26: 699-708; 5 c) “Why Guns Are and Aren’t the Problem:

  The Relationship between Guns and Homicide in American History,” in Jennifer Tucker, Barton

  C. Hacker, and Margaret Vining, eds., A Right to Bear Arms? The Contested Role of History in

  Contemporary Debates on the Second Amendment (Washington, D.C.: Smithsonian Institution

  Scholarly Press, 2019); and d) “The Opioid Epidemic and Homicide in the United States,” co-

  authored with Richard Rosenfeld and Joel Wallman, in the Journal of Research in Crime and

  Delinquency (2021). 6

         8.      I am also co-founder and co-director of the Historical Violence Database. 7 The

  historical data on which this report draws are available through the Historical Violence Database.

         9.      The Historical Violence Database is described in Randolph Roth et al., “The

  Historical Violence Database: A Collaborative Research Project on the History of Violent Crime

  and Violent Death.” 8 It is a collaborative project by scholars in the United States, Canada, and


         4 Available   at https://www.jstor.org/stable/3491655#metadata_info_tab_contents.
         5 Available   at https://www.jstor.org/stable/40267796#metadata_info_tab_contents.
         6 Availableat
  https://www.researchgate.net/publication/348513393_The_Opioid_Epidemic_and_Homicide_ in
  _the_United_States.
         7 The web address for the Historical Violence Database is:

  http://cjrc.osu.edu/research/interdisciplinary/hvd.
         8 Historical Methods (2008) 41: 81-98, available
                                                      at
  https://www.tandfonline.com/doi/pdf/10.3200/HMTS.41.2.81-
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       Expert Report of Randolph Roth (D.N.J. 3:18-cv-10507, 1:22-cv-4360, 3:22-cv-04397)
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  Europe to gather data on the history of violent crime and violent death (homicides, suicides,

  accidents, and casualties of war) from medieval times to the present. The only way to obtain

  reliable historical homicide estimates is to review every scrap of paper on criminal matters in

  every courthouse (indictments, docket books, case files, and judicial proceedings), every jail roll

  and coroner’s report, every diary and memoir, every article in every issue of a number of local

  newspapers, every entry in the vital records, and every local history based on lost sources, local

  tradition, or oral testimony. That is why it takes months to study a single rural county, and years

  to study a single city. 9

          10.     My work on data collection and my research for American Homicide, together

  with the research I have conducted for related essays, has helped me gain expertise on the causes

  of homicide and mass violence, and on the role technology has played in changing the nature and

  incidence of homicide and mass violence.



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  L4wqloRc2DFsM4eRmKEc346vchboaSh-X29CkEdqIe8bMoZjBNdk7yNh_aAU.
          9 It is also essential, in the opinion
                                               of historians and historical social scientists involved in
  the Historical Violence Database, to use capture-recapture mathematics, when multiple sources
  are available, to estimate the number of homicides where gaps or omissions exist in the historical
  record. The method estimates the percentage of the likely number of homicides that appear in the
  surviving records by looking at the degree to which homicides reported in the surviving legal
  sources overlap with homicides reported in the surviving non-legal sources (newspapers, vital
  records, diaries, etc.). A greater degree of overlap means a higher percentage in the surviving
  records and a tighter confidence interval. A lesser degree of overlap, which typically occurs on
  contested frontiers and during civil wars and revolutions, means a lower percentage and a wider
  confidence interval. See Randolph Roth, “American Homicide Supplemental Volume: Homicide
  Estimates” (2009) (https://cjrc.osu.edu/sites/cjrc.osu.edu/files/AHSV-Homicide-Estimates.pdf);
  Roth, ”Child Murder in New England,” Social Science History (2001) 25: 101-147
  (https://www.jstor.org/stable/1171584#metadata_info_tab_contents); Roth and James M.
  Denham, “Homicide in Florida, 1821-1861: A Quantitative Analysis,” Florida Historical Quarterly
  86 (2007): 216-239; and Douglas L. Eckberg, “Stalking the Elusive Homicide: A Capture-
  Recapture Approach to the Estimation of Post-Reconstruction South Carolina Killings.” Social
  Science History 25 (2001): 67-91
  (https://www.jstor.org/stable/1171582#metadata_info_tab_contents).

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         11.     The insights that my colleagues and I have gained as social science historians into

  the causes of violence and the history of violence in the United States stem from our

  commitment to empiricism. Our goal is to gather accurate data on the character and incidence of

  violent crimes and to follow the evidence wherever it leads, even when it forces us to accept the

  fact that a hypothesis we thought might be true proved false. As my colleagues and I are fond of

  saying in the Criminal Justice Network of the Social Science History Association, the goal is not

  to be right, but to get it right. That is the only way to design effective, pragmatic, nonideological

  laws and public policies that can help us address our nation’s problem of violence.

         12.     I have previously served as an expert witness in cases concerning the

  constitutionality of state and municipal gun laws, including Miller v. Bonta, No. 3:19-cv-1537

  (S.D. Cal.); Duncan v. Bonta, No. 3:17-cv-1017 (S.D. Cal.); Rupp v. Bonta, 8:17-cv-00746-JLS-

  JDE (C.D. Cal.); Ocean State Tactical v. Rhode Island, No. 22-cv-246 (D.R.I.); Hanson v.

  District of Columbia, No. 1:22-cv-02256-RC (D.D.C.); State of Vermont v. Max B. Misch, No.

  173-2-19 Bnrc (Vt. Sup. Ct., Criminal Division, Bennington Unit); National Association for Gun

  Rights v. Campbell, No. 22-cv-11431-FDS (D. Mass.); National Association for Gun Rights v.

  City of Highland Park, No. 1:22-cv-04774 (N.D. Ill.); Oregon Firearms Federation, et al. v.

  Brown, No. 2:22-cv-01815-IM (D. Or.); National Association for Gun Rights v. Lopez, No. 22-

  cv-00404-DKW-RT (D. Haw.); National Association for Gun Rights v. Lamont, No. 3:22-cv-

  01118 (D. Conn.); Harrell v. Raoul, 23-141-SPM (S.D. Ill.); and Rocky Mountain Gun Owners v.

  Town of Superior, No 22-cv-2680 (D. Colo.).




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                                         OPINIONS

  I.    SUMMARY OF OPINIONS

         13.     I have been asked by the State of New Jersey to provide opinions on the history of

  homicides and mass murders in the United States, with special attention to the role that

  technological change has played in shaping the character and incidence of homicides and mass

  murders over time, and the historical restrictions that local and federal authorities have imposed

  in response to new technologies that they deemed particularly lethal, prone to misuse, and a

  danger to the public because of the ways in which they reshaped the character and incidence of

  homicides and mass murders.

         14.     For the past thirty-five years, I have dedicated my career to understanding why

  homicide rates rise and fall over time, in hopes of understanding why the United States—which,

  apart from the slave South, was perhaps the least homicidal society in the Western world in the

  early nineteenth century—became by far the most homicidal society, as it remains today. I have

  discovered that high homicide rates among unrelated adults—friends, acquaintances, strangers—

  coincide with political instability, a loss of trust in government and political leaders, a loss of

  fellow feeling among citizens, and a lack of faith in the justice of the social hierarchy. 10 As I

  have argued in my scholarship, we are still feeling the aftershocks of our failure at nation-

  building in the mid- and late-nineteenth century, from the political crisis of the late 1840s and


         10 See Randolph Roth, “Measuring Feelings and Beliefs that May Facilitate        (or Deter)
  Homicide,” Homicide Studies (2012) 16: 196-217, available at
  https://journals.sagepub.com/doi/pdf/10.1177/1088767912442501?casa_token=dkP_nZZxCaYA
  AAAA:vL522E2inh9U2gr4X2qAhPnqRminWEjLv8nbwrNEhqNpRliTesFI_1SDY6tepvZbjwiR
  WPEom7M, for an introduction to the ways that social science historians can measure the
  feelings and beliefs that lead to successful nation-building. My research has shown that those
  measures have gone up and down with homicide rates among unrelated adults in the United
  States from colonial times to the present. In social science history, as in the non-experimental
  historical sciences (geology, paleontology, evolutionary biology), correlations that persist across
  wide stretches of time and space are not random. They reveal deep patterns that are causal.

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  1850s through the Civil War, Reconstruction, and the rise of Jim Crow laws. But the evidence

  also shows that the availability of guns and changes in firearms technology, especially the

  emergence of modern breech-loading firearms in the mid-nineteenth century, and of rapid-fire

  semiautomatic weapons and extended magazines in the late twentieth century, have pushed the

  homicide rate in United States well beyond what it would otherwise have been.

         15.     My opinion will address in turn: 1) firearms restrictions on colonists from the end

  of the seventeenth century to the eve of the Revolution, when homicide rates were low among

  colonists and firearms were seldom used in homicides among colonists when they did occur; 2)

  the development during the Founding and Early National periods of laws restricting the use or

  ownership of concealable weapons in slave and frontier states, where homicide rates among

  persons of European ancestry soared after the Revolution in large part because of the increased

  manufacture and ownership of concealable percussion cap pistols and fighting knives; 3) the

  spread of restrictions on carrying concealed weapons in every state by World War I, as homicide

  rates rose across the nation, beginning around the time of the Mexican War of 1846-1848 and

  lasting until World War I—a rise caused in part by the invention of modern revolvers, which

  were used in a majority of homicides by the late nineteenth century; 4) the difficulty that local

  and federal officials faced from the colonial era into the early twentieth century in addressing the

  threat of mass murders, which, because of the limitations of existing technologies, were carried

  out by large groups of individuals acting in concert, rather than by individuals or small groups;

  and 5) the spread of restrictions in the twentieth and early twenty-first centuries on new

  technologies, including rapid-fire firearms and large capacity magazines, that changed the

  character of mass murder, by enabling individuals or small groups to commit mass murder. It is

  my conclusion, based on my analysis of developments in weaponry and related technologies



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  from before the Revolution to the present, that throughout our nation’s history public officials

  have enacted a variety of restrictions and regulations on firearms use and possession to address

  and mitigate the risks firearms have posed to public safety.


  II.   GOVERNMENT REGULATION OF FIREARMS IN RES PONS E TO HOMICIDE TRENDS

        A.      Homicide and Firearms in the Colonial Era (1688-1763)

          16.     In the eighteenth century, the use and ownership of firearms by Native Americans

  and African Americans, enslaved and free, were heavily regulated. 11

          17.     But laws restricting the use or ownership of firearms by colonists of European

  ancestry were rare, for two reasons. First, homicide rates were low among colonists from the

  Glorious Revolution of 1688-1689 through the French and Indian War of 1754-1763, thanks to

  political stability, a surge in patriotic fellow feeling within the British empire, and greater trust in

  government. 12 By the late 1750s and early 1760s, the rates at which adult colonists were killed

  were roughly 5 per 100,000 adults per year in Tidewater Virginia, 3 per 100,000 in

  Pennsylvania, and 1 per 100,000 in New England. 13 Violence among colonists was not a

  pressing problem on the eve of the Revolution.




          11 Clayton E. Cramer, “ColonialFirearms Regulation” (April 6, 2016), available at
  SSRN: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2759961.
          12 Randolph Roth, American Homicide (Cambridge: The Belknap Press of Harvard

  University Press, 2009), 63, noting that “Fear of Indians and slaves, hatred of the French,
  enthusiasm for the new colonial and imperial governments established by the Glorious
  Revolution, and patriotic devotion to England drew colonists together. The late seventeenth
  century thus marks the discernible beginning of the centuries-long pattern linking homicide rates
  in America with political stability, racial, religious, and national solidarity, and faith in
  government and political leaders.”
          13 Roth, American Homicide, 61-63, and especially the graphs on 38, 39, and 91.  By way
  of comparison, the average homicide rate for adults in the United States from 1999 through
  2016—an era in which the quality of emergency services and wound care was vastly superior to
                                                                                        (continued…)
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         18.     Second, the impact of firearms on the homicide rate was modest, even though

  household ownership of firearms was widespread. Approximately 50 to 60 percent of

  households in the colonial and Founding eras owned a working firearm, usually a musket or a

  fowling piece. 14 Fowling pieces, like muskets, were muzzle-loading. But unlike muskets, which

  were heavy, single-shot firearms used for militia service, fowling pieces were manufactured

  specifically to hunt birds and control vermin, so they were designed to fire shot, primarily, rather

  than ball, and were of lighter construction than muskets. 15 In New England, the rate of family

  and intimate partner homicides stood at only 2 per million persons per year for European

  Americans and 3 per million for African Americans for the seventeenth and most of the

  eighteenth century, and the rate fell to 1 per million for both European and African Americans

  after the Revolution. The rates in the Chesapeake region were likewise low, at 8 per million per

  year for European Americans and 4 to 5 per million for African Americans. 16 Family,

  household, and intimate partner homicides were rare, and only 10 to 15 percent of those

  homicides were committed with guns. 17 The homicide rate among unrelated adults was also low,




  that in the colonial era—was 7 per 100,000 per year. See CDC Wonder Compressed Mortality
  Files, ICD-10 (https://wonder.cdc.gov/cmf-icd10.html, accessed September 8, 2022).
         14 Randolph Roth, “Why Guns Are and Aren’t the Problem: The Relationship   between
  Guns and Homicide in American History,” in Jennifer Tucker, Barton C. Hacker, and Margaret
  Vining, eds., Firearms and the Common Law: History and Memory (Washington, D.C.:
  Smithsonian Institution Scholarly Press, 2019), 116.
         15 See, e.g., Kevin M. Sweeney, “Firearms, Militias,and the Second Amendment,” in
  Saul A. Cornell and Nathan Kozuskanich, eds., The Second Amendment on Trial: Critical Essays
  on District of Columbia v. Heller (University of Massachusetts Press, 2013), 310, 327 & nn. 101-
  102.
         16 Roth, “Why Guns Are and Aren’t the Problem,” 116.

         17 Ibid., 117-118.

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  as was the proportion of nondomestic homicides committed with guns—approximately 10 to 15

  percent. 18

          19.        Firearm use in homicides was generally rare because muzzle-loading firearms, such

  as muskets and fowling pieces, had significant limitations as murder weapons in the colonial era. 19

  They were lethal and accurate enough at short range, but they were liable to misfire, given the

  limits of flintlock technology; and with the exception of a few double-barreled pistols, they could

  not fire multiple shots without reloading. 20 They could be used effectively to threaten and

  intimidate, but once they were fired (or misfired), they lost their advantage: they could only be

  used as clubs in hand-to-hand combat. They had to be reloaded manually to enable the firing of

  another shot, which was a time-consuming process that required skill and experience. 21 And

  more important, muzzle-loading firearms could not be used impulsively unless they were already

  loaded for some other purpose. 22 It took at least half a minute (and plenty of elbow room) to

  load a muzzle-loader if the weapon was clean and if powder, wadding, and shot or ball were at

  hand. 23 The user had to pour powder down the barrel, hold it in place with wadding, and drop or

  ram the shot or ball onto the charge. 24 The firing mechanism also had to be readied, often with a



          18 Ibid., 116-119.

          19 Ibid., 117.

          20 Ibid.

          21 Harold L. Peterson, Arms and Armor in Colonial America, 1526-1783 (New York:

  Bramhall House, 1956), 155-225; Priya Satia, Empire of Guns: The Violent Making of the
  Industrial Revolution (New York: Penguin Press, 2018), 9-10; and Satia, “Who Had Guns in
  Eighteenth Century Britain?” in Tucker, Hacker, and Vining, Firearms and the Common Law,
  41-44.
          22 Roth, “Why Guns Are and Aren’t the Problem,” 117.

          23 Ibid.

          24 Ibid.

                                                                                      (continued…)
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  fresh flint. 25 And muzzle-loading guns were difficult to keep loaded for any length of time,

  because black powder absorbed moisture and could corrode the barrel or firing mechanism or

  make the charge liable to misfire. 26 The life of a charge could be extended by storing a gun in a

  warm, dry place, typically over a fireplace, but even there, moisture from boiling pots, drying

  clothes, or humid weather could do damage. 27 That is why most owners stored their guns empty,

  cleaned them regularly, and loaded them anew before every use. 28

         20.        The infrequent use of guns in homicides in colonial America reflected these

  limitations. Family and household homicides—most of which were caused by abuse or fights

  between family members that got out of control—were committed almost exclusively with hands

  and feet or weapons that were close to hand: whips, sticks, hoes, shovels, axes, or knives. 29 It

  did not matter whether the type of homicide was rare—like family and intimate homicides—or

  common, like murders of servants, slaves, or owners committed during the heyday of indentured

  servitude or the early years of racial slavery. 30 Guns were not the weapons of choice in

  homicides that grew out of the tensions of daily life. 31

         21.        When colonists anticipated violence, or during times of political instability, gun

  use was more common. When homicide rates were high among unrelated adults in the early and



         25 Ibid.

         26 Ibid.

         27 Ibid.

         28 Ibid.; and Herschel C. Logan, Cartridges: A Pictorial Digest of Small Arms

  Ammunition (New York: Bonanza Books, 1959), 11-40, 180-183.
         29 Roth, “Why Guns Are and Aren’t the Problem,” 117.

         30 Ibid.

         31 Ibid.
               Contrary to popular belief, dueling was also rare in colonial America. Roth,
  American Homicide, 45, 158.
                                                                                       (continued…)
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  mid-seventeenth century, colonists went armed to political or interpersonal disputes,32 so the

  proportion of homicides committed with firearms was at that time 40 percent and rose even

  higher in contested areas on the frontier. 33 Colonists also armed themselves when they

  anticipated hostile encounters with Native Americans, so 60 percent of homicides of Native

  Americans by European Americans in New England were committed with firearms. 34 And slave

  catchers and posses kept their firearms at the ready, so 90 percent of runaway slaves who were

  killed in Virginia were shot. 35 Otherwise, however, colonists seldom went about with loaded

  guns, except to hunt, control vermin, or muster for militia training. 36 That is why firearms had a

  modest impact on homicide rates among colonists.


        B.     The Rise in Violence in the South and on Contested Frontiers During the
               Early National Period, the Role of New Technologies and Practices, and
               Regulations on Concealable Weapons (1790s-1840s)

         22.     The Founding Generation was zealous in its defense of the people’s rights, and so

  enshrined them in the Constitution. At the same time, they recognized that some citizens could

  be irresponsible or motivated by evil intent and could thus threaten the security of the

  government and the safety of citizens. 37 The threats that such citizens posed to public safety


         32 Roth, “Why Guns Are and Aren’t the Problem,” 118-119.

         33 Ibid., 116-117.

         34 Ibid., 118-119
                         (reporting that “In New England, 57 percent of such homicides were
  committed with guns between the end of King Phillip’s War in 1676 and the end of the
  eighteenth century”).
         35 Ibid., 118 (reporting that “Petitions
                                            to the Virginia House of Burgesses for
  compensation for outlawed slaves who were killed during attempts to capture them indicate that
  90 percent were shot”).
         36 Ibid., 118-119.

         37 On the fears of the Founders that their republicmight collapse because selfish or
  unscrupulous citizens might misuse their liberties, see Gordon S. Wood, The Creation of the
  American Republic, 1776-1787 (Chapel Hill: University of North Carolina Press, 1969), 65-70,
                                                                                     (continued…)
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  could be checked in most instances by ordinary criminal statutes, drawn largely from British

  common law. But at times those threats could be checked only by statutes that placed limits on

  basic rights. 38

          23.        The Founders were aware that the rate at which civilians killed each other or were

  killed by roving bands of Tories or Patriots rose during the Revolution. 39 They also recognized


  282-291, 319-328, 413-425, 463-467; Drew R. McCoy, The Last of the Fathers: James Madison
  and the Republican Legacy (New York: Cambridge University Press, 1989), 42-45; and Andrew
  S. Trees, The Founding Fathers and the Politics of Character (Princeton: Princeton University
  Press, 2003), 6-9, 60-65, 86-104, 113-114.
          38 On the Founders’ belief that rights might have to be restricted in certain instances, see

  Terri Diane Halperin, The Alien and Sedition Acts: Testing the Constitution (Baltimore: Johns
  Hopkins University Press, 2016), 1-8, on restraints on freedom of speech and the press during the
  administration of John Adams; Leonard Levy, Jefferson and Civil Liberties: The Darker Side
  (Cambridge: The Belknap Press of Harvard University Press, 1963), 93-141, on loosening
  restrictions on searches and seizures during the administration of Thomas Jefferson; and Patrick
  J. Charles, Armed in America: A History of Gun Rights from Colonial Militias to Concealed
  Carry (New York: Prometheus Books, 2018), 70-121, especially 108-109, as well as Saul
  Cornell, A Well-Regulated Militia: The Founding Fathers and the Origins of Gun Control in
  America (New York: Oxford University Press, 2006), 39-70, and Jack N. Rakove, “The Second
  Amendment: The Highest State of Originalism,” in Carl T. Bogus, ed., The Second Amendment
  in Law and History: Historians and Constitutional Scholars on the Right to Bear Arms (New
  York: The New Press, 2000), 74-116, on the limited scope of the Second Amendment. Jack N.
  Rakove, Original Meanings: Politics and Ideas in the Making of the Constitution (New York:
  Alfred A. Knopf, 1996), 291, notes that “Nearly all the activities that constituted the realms of
  life, liberty, property, and religion were subject to regulation by the state; no obvious landmarks
  marked the boundaries beyond which its authority could not intrude, if its actions met the
  requirements of law.” See also Rakove, “The Second Amendment: The Highest State of
  Originalism,” Chicago-Kent Law Review 76 (2000), 157
  (https://scholarship.kentlaw.iit.edu/cgi/viewcontent.cgi?referer=&httpsredir=1&article=3289&co
  ntext=cklawreview): “[At] the time when the Second Amendment was adopted, it was still
  possible to conceive of statements of rights in quite different terms, as assertions or
  confirmations of vital principles, rather than the codification of legally enforceable restrictions or
  commands.”
          39 Roth, American Homicide, 145-149; Holger Hoock, Scars of Independence: America’s

  Violent Birth (New York: Broadway Books / Penguin Random House, 2017), 308-322; Alan
  Taylor, Divided Ground: Indians, Settlers, and the Northern Borderland of the American
  Revolution (New York: Knopf, 2006), 91-102; George C. Daughan, Revolution on the Hudson:
  New York City and the Hudson River Valley in the American War for Independence (New York:
  W. W. Norton, 2016), 137-138; John B. Frantz and William Pencak, eds., Beyond Philadelphia:
                                                                                      (continued…)
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  that more civilians, expecting trouble with neighbors, public officials, and partisans, were likely

  to go about armed during the Revolution, which is why the proportion of homicides of European

  Americans by unrelated adults rose to 33 percent in Virginia and 46 percent in New England

  during the Revolutionary period. 40

          24.     But the surge in violence ended in New England, the Mid-Atlantic states, and the

  settled Midwest once the Revolutionary crisis was over. In those areas homicide rates fell to

  levels in some instances even lower than those which had prevailed in the early and mid-

  eighteenth century. By the 1820s, rates had fallen to 3 per 100,000 adults per year in Cleveland

  and Philadelphia, to 2 per 100,000 in rural Ohio, and to 0.5 per 100,000 in northern New

  England. Only New York City stood out, at 6 per 100,000 adults per year. 41 And the proportion

  of domestic and nondomestic homicides committed with firearms was similarly low—between 0

  and 10 percent—because people once again generally refrained, as they had from the Glorious

  Revolution through the French and Indian War, from going about armed, except to hunt, control

  vermin, or serve in the militia. 42




  The American Revolution in the Pennsylvania Hinterland (University Park: Pennsylvania State
  University Press, 1998), 42-43, 141-145, 149-152; Francis S. Fox, Sweet Land of Liberty: the
  Ordeal of the American Revolution in Northampton County, Pennsylvania (University Park:
  Pennsylvania State University Press, 2000), 25-27, 32, 64-65, 91-92, 114; and Fox Butterfield,
  All God’s Children: The Bosket Family and the American Tradition of Violence (New York:
  Vintage, 1996), 3-18.
          40 Roth, “Why Guns Are and Aren’t the Problem,” 119-120.

          41 Roth, American Homicide, 180, 183-186; and Eric H. Monkkonen,        Murder in New
  York City (Berkeley: University of California Press, 2001), 15-16.
          42 For detailed figures and tables on weapons use in homicides by state, city, or county,
  see Roth, “American Homicide Supplemental Volume: Weapons,” available through the
  Historical Violence Database, sponsored by the Criminal Justice Research Center at the Ohio
  State University (https://cjrc.osu.edu/sites/cjrc.osu.edu/files/AHSV-Weapons-10-2009.pdf). On
  weapons use in homicides in the North, see Figures 25 through 46.
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          25.           Political stability returned, as did faith in government and a strong sense of

  patriotic fellow feeling, as the franchise was extended and political participation increased. 43

  And self-employment—the bedrock of citizenship, self-respect, and respect from others—was

  widespread. By 1815, roughly 80 percent of women and men owned their own homes and shops

  or farms by their mid-thirties; and those who did not were often white-collar professionals who

  also received respect from their peers. 44 African Americans still faced discrimination and limits

  on their basic rights in most Northern states. But despite these barriers, most African Americans

  in the North were optimistic, after slavery was abolished in the North, about earning their own

  living and forming their own churches and voluntary organizations. 45

          26.      Because gun use was generally limited to hunting, controlling vermin, or serving

  in the militia, there was little interest among public officials in the North in restricting the use of

  firearms during the Early National period, except in duels. They took a strong stand against

  dueling in the wake of Alexander Hamilton’s death, because of the threat the practice posed for

  the nation’s democratic polity and the lives of public men: editors, attorneys, military officers,

  and politicians. 46


          43 Roth, American Homicide, 180, 183-186.

          44 Ibid., 180, 183-186.

          45 Ibid., 181-182,195-196; Leon F. Litwack, North of Slavery: The Negro in the Free
  States, 1790-1860 (Chicago: University of Chicago Press, 1961); Joanne Pope Melish,
  Disowning Slavery: Gradual Emancipation and “Race” in New England, 1780-1860 (Ithaca:
  Cornell University Press, 1998); Sean White, Somewhat More Independent: The End of Slavery
  in New York City, 1780-1810 (Athens: University of Georgia Press, 1991); and Graham R.
  Hodges, Root and Branch: African Americans in New York and East Jersey, 1613-1863 (Chapel
  Hill: University of North Carolina Press, 1999).
          46 Joanne B. Freeman, Affairs of Honor: National Politics in the New Republic (New

  Haven: Yale University Press, 2001); and C. A. Harwell, “The End of the Affair? Anti-Dueling
  Laws and Social Norms in Antebellum America,” Vanderbilt Law Review 54 (2001): 1805-1847
  (https://scholarship.law.vanderbilt.edu/cgi/viewcontent.cgi?article=1884&context=vlr).
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         27.        Laws restricting the everyday use of firearms did appear, however, in the early

  national period in a number of slave states,47 where violence among citizens increased after the

  Revolution to extremely high levels. Revolutionary ideas and aspirations wreaked havoc on the

  status hierarchy of the slave South, where homicide rates ranged from 8 to 28 per 100,000 adults

  per year. 48 Poor and middle-class whites were increasingly frustrated by their inability to rise in

  a society that remained class-bound and hierarchical. 49 Prominent whites were subjected to the

  rough and tumble of partisan politics and their position in society was threatened by people from

  lower social positions. 50 African Americans despaired over the failure of the abolition

  movement in the South, and whites were more fearful than ever of African American rebellion. 51

  As a result, impatience with restraint and sensitivity to insult were more intense in the slave

  South, and during this period the region saw a dramatic increase in the number of deadly

  quarrels, property disputes, duels, and interracial killings. 52 The violence spread to frontier

  Florida and Texas, as well as to southern Illinois and Indiana—wherever Southerners settled in

  the early national period. 53 During the Early National period, the proportion of homicides



         47 Clayton E. Cramer, Concealed Weapons Laws of the Early Republic: Dueling,

  Southern Violence, and Moral Reform (Westport, Connecticut: Praeger, 1999); and Cornell, Well-
  Regulated Militia, 141-144.
         48 Roth, American Homicide, 180, 199-203.

         49 Ibid., 182.

         50 Ibid.

         51 Ibid.

         52 Ibid., 182, 199-203.

         53 Ibid., 162, 180-183,
                              199-203; Roth and James M. Denham, “Homicide in Florida,
  1821-1861,” Florida Historical Quarterly 86 (2007): 216-239; John Hope Franklin, The Militant
  South, 1800-1861 (Cambridge: Belknap Press of Harvard University Press, 1961); and Bertram
  Wyatt-Brown, Southern Honor: Ethics and Behavior in the Old South (New York: Oxford
  University Press, 1982).
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  committed with firearms went up accordingly, to a third or two-fifths, as Southerners armed

  themselves in anticipation of trouble, or set out to cause trouble. 54

         28.     Citizens and public officials in these states recognized that concealable

  weapons—pistols, folding knives, dirk knives, and Bowie knives—were used in an alarming

  proportion of the era’s murders and serious assaults. 55 They were used to ambush both ordinary

  citizens and political rivals, to bully or intimidate law-abiding citizens, and to seize the

  advantage in fist fights. As the Grand Jurors of Jasper County, Georgia, stated in a plea to the

  state legislature in 1834 for restrictions on concealable weapons,


                 The practice which is common amongst us with the young the
                 middle aged and the aged to arm themselves with Pistols, dirks
                 knives sticks & spears under the specious pretence of protecting
                 themselves against insult, when in fact being so armed they
                 frequently insult others with impunity, or if resistance is made the
                 pistol dirk or club is immediately resorted to, hence we so often
                 hear of the stabbing shooting & murdering so many of our
                 citizens. 56

  The justices of the Louisiana Supreme Court echoed these sentiments—“unmanly” men carried

  concealed weapons to gain “secret advantages” over their adversaries. 57 These concealed

  weapons laws were notably difficult to enforce, however, and did not address underlying factors

  that contributed to rising homicide rates. Nevertheless, these laws represent governmental

  efforts at that time to address the use of new weapons in certain types of crime.




         54 Roth, “American Homicide      Supplemental Volume: Weapons,” Figures 51 through 57.
         55 Roth, American Homicide, 218.

         56 Ibid., 218-219.See also the concerns of the Grand Jurors of Wilkes County, Georgia,
  Superior Court Minutes, July 1839 term.
         57 Roth, American Homicide, 219.



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         29.     The pistols of the early national period represented a technological advance.

  Percussion-lock mechanisms enabled users to extend the life of a charge, because unlike flint-

  lock mechanisms, they did not use hydroscopic black powder in their priming pans; they used a

  sealed mercury-fulminate cap as a primer and seated it tightly on a small nipple (with an inner

  diameter the size of a medium sewing needle) at the rear of the firing chamber, which restricted

  the flow of air and moisture to the chamber. Percussion cap pistols, which replaced flint-lock

  pistols in domestic markets by the mid-1820s, could thus be kept loaded and carried around for

  longer periods without risk of corrosion. 58 The new types of knives available in this era also

  represented technological advances over ordinary knives because they were designed expressly

  for fighting. Dirks and Bowie knives had longer blades than ordinary knives, crossguards to

  protect the combatants’ hands, and clip points to make it easier to cut or stab opponents. 59

         30.     The violence in the slave South and its borderlands, and the technological

  advances that exacerbated it, led to the first prohibitions against carrying certain concealable

  weapons, which appeared in Kentucky, Louisiana, Indiana, Arkansas, Georgia, and Virginia

  between 1813 and 1838. These laws differed from earlier laws that restricted access to arms by

  Native Americans or by free or enslaved African Americans, because they applied broadly to

  everyone but also applied more narrowly to certain types of weapons and to certain types of

  conduct.

         31.     Georgia’s 1837 law “against the unwarrantable and too prevalent use of deadly

  weapons” was the most restrictive. It made it unlawful for merchants



         58 Roth, “Why Guns Are and Aren’t the Problem,” 117.

         59 Harold L. Peterson, American Knives: The First History and Collector’s Guide (New

  York: Scribner, 1958), 25-70; and Peterson, Daggers and Fighting Knives in the Western World,
  from the Stone Age till 1900 (New York: Walker, 1968), 67-80.

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                  and any other person or persons whatsoever, to sell, or offer to sell,
                  or to keep, or have about their person or elsewhere . . . Bowie, or
                  any other kind of knives, manufactured or sold for the purpose of
                  wearing, or carrying the same as arms of offence or defence,
                  pistols, dirks, sword canes, spears, &c.

  The sole exceptions were horseman’s pistols—large weapons that were difficult to conceal and

  were favored by travelers. But the laws in the other five states were also strict: they forbade the

  carrying of concealable weapons in all circumstances. Indiana made an exemption for

  travelers. 60

          32.     Thus, during the lifetimes of Jefferson, Adams, Marshall, and Madison, the

  Founding Generation passed laws in a number of states that restricted the use or ownership of

  certain types of weapons after it became obvious that those weapons, including certain fighting

  knives and percussion-cap pistols, were being used in crime by people who carried them

  concealed on their persons and were thus contributing to rising crime rates. 61

          60 See Cramer, Concealed Weapons Laws, especially 143-152,        for the texts of those laws.
  Alabama and Tennessee prohibited the concealed carrying of fighting knives, but not pistols; see
  also Duke Center for Firearms Law, Repository of Historical Gun Laws
  (https://firearmslaw.duke.edu/search-results/?_sft_subjects=dangerous-or-unusual-weapons,
  accessed September 9, 2022). Note that the Georgia Supreme Court, in Nunn v. State, 1 Ga. 243
  (1846), held that prohibiting the concealed carry of certain weapons was valid, but that the state
  could not also prohibit open carry, which would destroy the right to bear arms. That decision put
  Georgia in line with the five other states that had prohibited the carrying of concealable firearms.
          61 Cramer, Concealed Weapons Laws, 69-96; Cramer, For the Defense of Themselves and

  the State: The Original Intent and Judicial Interpretation of the Right to Keep and Bear Arms
  (Westport, Connecticut: Praeger Publishers, 1994); Don B. Kates, Jr., “Toward a History of
  Handgun Prohibition in the United States,” in Cates, ed., Restricting Handguns: The Liberal
  Skeptics Speak Out (Croton-on-Hudson, New York: North River Press, 1979), 7-30; and Philip
  D. Jordan, Frontier Law and Order—10 Essays (Lincoln: University of Nebraska Press, 1970),
  1-22. Thomas Jefferson and John Adams died on July 4, 1826, John Marshall on July 6, 1835,
  and James Madison on July 28, 1836. On the history of firearms regulations that pertained to
  African Americans, see Robert J. Cottrol and Raymond T. Diamond, “The Second Amendment:
  Toward an Afro-Americanist Reconsideration,” Georgetown Law Journal 80 (1991): 309-361
  (https://digitalcommons.law.lsu.edu/cgi/viewcontent.cgi?referer=&httpsredir=1&article=1283&c
  ontext=faculty_scholarship); Cottrol and Diamond, “Public Safety and the Right to Bear Arms”
  in David J. Bodenhamer and James W. Ely, Jr., eds., The Bill of Rights in Modern America,
                                                                                      (continued…)
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        C.     Homicide, Concealable Weapons, and Concealable Weapons Regulations
               from the Mexican War through the Early Twentieth Century (1846-1920s)

         33.     By the early twentieth century, every state either banned concealed firearms or

  placed severe restrictions on their possession. 62 They did so in response to two developments:

  the nationwide surge in homicide rates, from the North and South to the Trans-Mississippi West;

  and the invention of new firearms, especially the revolver, which enabled the firing of multiple

  rounds in succession without reloading and made the homicide problem worse.

         34.     Between the mid-nineteenth and the early twentieth century homicide rates fell in

  nearly every Western nation. 63 But in the late 1840s and 1850s those rates exploded across the

  United States and spiked even higher during the Civil War and Reconstruction, not only in the

  South and the Southwest, where rates had already risen in the early national period, but in the

  North. Rates that had ranged in the North in the 1830s and early 1840s from a low of 1 per

  100,000 adults per year in northern New England to 6 per 100,000 in New York City, rose to

  between 2 and 33 per 100,000 in the northern countryside and to between 10 and 20 per 100,000

  in northern cities. In the South, rates in the plantation counties of Georgia rose from 10 per

  100,000 adults to 25 per 100,000, and rates soared even higher in rural Louisiana to 90 per



  revised and expanded (Bloomington: Indiana University Press, 2008), 88-107; and Cramer, For
  the Defense of Themselves and the State, 74, 83-85, 97-140.
         62 Kates, “Toward a History of Handgun Prohibition,”     7-30; and Jordan, Frontier Law
  and Order, 17-22. These sources identify laws that either banned concealed firearms or placed
  severe restrictions on their possession in every state except Vermont. However, Vermont also
  had such a law by the early twentieth century. See An Act Against Carrying Concealed
  Weapons, No. 85, § 1 (12th Biennial Session, General Assembly of the State of Vermont, Nov.
  19, 1892) (“A person who shall carry a dangerous or deadly weapon, openly or concealed, with
  the intent or avowed purpose of injuring a fellow man, shall, upon conviction thereof, be
  punished by a fine not exceeding two hundred dollars, or by imprisonment not exceeding two
  years, or both, in the discretion of the court.”).
         63 Roth, American Homicide, 297-300.

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  100,000, and in mountain communities in Georgia and Missouri from less than 5 per 100,000

  adults per year to 60 per 100,000. In the West, the rates reached 65 per 100,000 adults per year

  in California, 76 per 100,000 in Texas, 119 per 100,000 in mining towns in South Dakota,

  Nevada, and Montana, and 155 per 100,000 in cattle towns in Kansas. Americans, especially

  men, were more willing to kill friends, acquaintances, and strangers. And so, the United States

  became—and remains today—by far the most murderous affluent society in the world. 64

           35.    The proportion of homicides committed with firearms increased as well from the

  Mexican War through Reconstruction, as it had during previous increases in nondomestic

  homicides during the Revolution, in the postrevolutionary South, and on contested frontiers. 65

  Because the pistols, muskets, fowling pieces, and rifles in use in the early years of the crisis of

  the mid-nineteenth century were still predominantly single-shot, muzzle-loading, black powder

  weapons, the proportion of homicides committed with guns stayed in the range of a third to two-

  fifths, except on the frontier. 66 Concealable fighting knives, together with concealable

  percussion-cap pistols, remained the primary murder weapons. But in time, new technologies

  added to the toll in lives, because of their lethality and the new ways in which they could be

  used.

           36.    Samuel Colt’s cap-and-ball revolvers, invented in 1836, played a limited role in

  the early years of the homicide crisis, but they gained popularity quickly because of their



           64 Ibid., 199, 297-300,
                                 302, 337, 347; and Roth, Michael D. Maltz, and Douglas L.
  Eckberg, “Homicide Rates in the Old West,” Western Historical Quarterly 42 (2011): 173-195
  (https://www.jstor.org/stable/westhistquar.42.2.0173#metadata_
  info_tab_contents).
           65 Roth, “Why Guns Are and Aren’t the Problem,” 116-117.

           66 Roth, “American Homicide   Supplemental Volume: Weapons,” Figures 25 through 46,
  and 51 through 57.
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  association with frontiersmen, Indian fighters, Texas Rangers, and cavalrymen in the Mexican

  War. 67 They retained some of the limitations of earlier firearms, because their rotating

  cylinders—two of which came with each revolver—had to be loaded one chamber at a time.

  Users had to seat a percussion cap on a nipple at the rear of each chamber, pour powder into each

  chamber, secure the powder with wadding, and ram the bullet down the chamber with a rod or an

  attached loading lever. Thus cap-and-ball revolvers, like muzzle-loaders, could not be loaded

  quickly, nor could they be kept loaded indefinitely without risk of damaging the charge or the

  gun. But they were deadlier than their predecessors, because they made it possible for a person

  to fire five or six shots in rapid succession and to reload quickly with the second cylinder. 68

         37.     Smith and Wesson’s seven-shot, .22 caliber, breech-loading, Model 1 rimfire

  revolver, invented in 1857, appeared on the market when the homicide crisis was already well

  underway. It had none of the limitations of percussion-cap pistols or cap-and-ball revolvers. It

  could be loaded quickly and easily because it did not require powder, wadding, and shot for each

  round; and it could be kept loaded indefinitely because its corrosive powder was encapsulated in

  the bullet. 69 And it did not require a new percussion cap for each chamber, because the primer




         67 Patricia Haag, The Gunning of America: Business and the Making of American Gun

  Culture (New York: Basic Books, 2016).
         68 Edward C. Ezell, Handguns of the World: Military Revolvers and Self-Loaders from

  1870 to 1945 (Harrisburg, Pennsylvania: Stackpole Books, 1981), 24-28; Julian S. Hatcher,
  Pistols and Revolvers and Their Use (Marshallton, Delaware: Small-Arms Technical Publishing
  Company, 1927), 8-11; and Charles T. Haven and Frank A. Belden, A History of the Colt
  Revolver and the Other Arms Made by Colt’s Patent Fire Arms Manufacturing Company from
  1836 to 1940 (New York: Bonanza Books, 1940), 17-43.
         69 Roy G. Jinks, History of Smith and Wesson (North Hollywood: Beinfeld, 1977), 38-57.

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  was located in a rim around the base of the bullet, set to ignite as soon as it was hit by the

  hammer. 70 As Smith and Wesson noted in its advertisements,


                  Some of the advantages of an arm constructed on this plan are:

                  The convenience and safety with which both the arm and
                  ammunition may be carried;

                  The facility with which it may be charged, (it requiring no ramrod,
                  powder-flask, or percussion caps);

                  Certainty of fire in damp weather;

                  That no injury is caused to the arm or ammunition by allowing it to
                  remain charged any length of time. 71

          38.     Smith and Wesson had created a near-perfect murder weapon. It was lethal,

  reliable, easy to carry and conceal, capable of multiple shots, and ready to use at any time. 72 Its

  only drawbacks were its small caliber and low muzzle velocity, which limited its ability to stop

  an armed or aggressive adversary on the first shot, and the difficulty and danger of reloading.

  The reloading problem was remedied by Colt’s development in 1889 of the first double-action

  commercial revolver with a swing-out cylinder and Smith and Wesson’s addition in 1896 of an

  ejector to push out spent cartridges. 73

          39.     These new weapons were not the primary cause of the surge in violence that

  occurred in the United States from the Mexican War through Reconstruction. But they did

  contribute to the later stages of the crisis, as they superseded knives and black powder handguns


          70 Ibid., 38-57.

          71 Ibid., 39.

          72 Ibid., 38-57.

          73 Rick Sapp, Standard Catalog of Colt Firearms (Cincinnati:  F+W Media, 2011), 96;
  Jeff Kinard, Pistols: An Illustrated History of Their Impact (Santa Barbara: ABC-CLIO,
  2003), 163; and Jinks, History of Smith and Wesson, 104-170.
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  as the primary weapons used in interpersonal assaults, not only because of their greater lethality,

  but because they were used in novel ways. 74 Easily concealed, they became the weapons of

  choice for men who stalked and ambushed estranged spouses or romantic partners, for suspects

  who killed sheriffs, constables, or police officers, and for self-styled toughs who engaged in

  shootouts in bars, streets, and even churchyards. 75

         40.     As modern, breech-loading firearms replaced the muzzle-loading and cap-and-

  ball gunstock from the late 1850s through World War I, the proportion of homicides committed

  with firearms continued to climb even when homicide rates fell for a short time, as they did at

  the end of Reconstruction. By the eve of World War I, rates had fallen in the New England

  states to 1 to 4 per 100,000 adults per year, to 2 to 5 per 100,000 in the Prairie states, and 3 to 8

  per 100,000 in the industrial states. 76 In the West, rates had fallen to 12 per 100,000 adults per

  year in California, 15 per 100,000 in Colorado, and approximately 20 to 30 per 100,000 in

  Arizona, Nevada, and New Mexico. Homicide rates whipsawed, however, in the South. They

  fell in the late 1870s and 1880s, only to rise in the 1890s and early twentieth century, to just

  under 20 per 100,000 adults in Florida, Kentucky, Louisiana, Missouri, and Tennessee, and 35

  per 100,000 in Virginia and North Carolina. 77 Ominously, too, firearms invaded families and


         74 Roth, “Why Guns Are and Aren’t the Problem,” 124-126 (recognizing       that “Americans
  used the new firearms in ways they could never use muzzle-loading guns [. . .] The ownership of
  modern breech-loading [firearms] made the homicide rate worse in the United States than it
  would have been otherwise because it facilitated the use of lethal violence in a wide variety of
  circumstances.” (emphasis added)).
         75 Ibid., 124-125.

         76 In this analysis, the Prairie states include
                                                  Iowa, Kansas, Minnesota, Nebraska, North
  Dakota, South Dakota, and Wisconsin. The industrial states include Illinois, Indiana, Michigan,
  New Jersey, New York, Ohio, and Pennsylvania.
         77 Ibid., 125-127,
                         388, 403-404; and Roth, “American Homicide Supplemental Volume:
  American Homicides in the Twentieth Century,” Figures 4a and 5a.
                                                                                       (continued…)
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  intimate relationships, so relatives, spouses, and lovers were as likely to be killed with guns as

  unrelated adults—something that had never happened before in America’s history. 78 That is why

  the proportion of homicides committed with firearms—overwhelmingly, concealed revolvers—

  reached today’s levels by the 1920s, ranging from a median of 56 percent in New England to

  over 70 percent in the South and West. 79 And that is why every state in the Union restricted the

  right to carrying certain concealable weapons, including restrictions on the modern revolvers that

  had been invented in the mid- and late-nineteenth century, such as the Smith and Wesson Model

  1 revolver and the Colt double-action revolver. 80

         41.     It is important to note that state legislators experimented with various degrees of

  firearm regulation as the nation became more and more violent. In Texas, where the homicide

  rate soared to at least 76 per 100,000 adults per year from June 1865 to June 1868,81 the

  legislature passed a time-place-manner restriction bill in 1870 to prohibit the open or concealed

  carry of a wide range of weapons, including firearms, on social occasions; 82 and it followed in


         78 Ibid., 125.

         79 Roth, “American Homicide     Supplemental Volume: Weapons,” Figures 2 through 7.
         80 See supra paragraph 33 & note 62.

         81 Roth, Michael D. Maltz, and Douglas L. Eckberg, “Homicide    Rates in the Old West,”
  Western Historical Quarterly 42 (2011): 192, available
  athttps://www.jstor.org/stable/westhistquar.42.2.0173#metadata_info_tab_contents.
         82 Brennan Gardner Rivas, “Enforcement of Public Carry Restrictions: Texas as a Case

  Study,” UC Davis Law Review 55 (2021): 2609-2610, available
  athttps://lawreview.law.ucdavis.edu/issues/55/5/articles/files/55-5_Rivas.pdf. “Be it enacted by
  the Legislature of the State of Texas, That if any person shall go into any church or religious
  assembly, any school room or other place where persons are assembled for educational, literary
  or scientific purposes, or into a ball room, social party or other social gathering composed of
  ladies and gentlemen, or to any election precinct on the day or days of any election, where any
  portion of the people of this State are collected to vote at any election, or to any other place
  where people may be assembled to muster or perform any other public duty, or any other public
  assembly, and shall have about his person a bowie-knife, dirk or butcher-knife, or fire-arms,
  whether known as a six-shooter, gun or pistol of any kind, such person so offending shall be
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  1871 with a bill banning in most circumstances the carrying, open or concealed, of small deadly

  weapons, including pistols, that were not designed for hunting or militia service. 83 These laws



  deemed guilty of a misdemeanor, and on conviction thereof shall be fined in a sum not less than
  fifty or more than five hundred dollars, at the discretion of the court or jury trying the same;
  provided, that nothing contained in this section shall apply to locations subject to Indian
  depredations; and provided further, that this act shall not apply to any person or persons whose
  duty it is to bear arms on such occasions in discharge of duties imposed by law.” An Act
  Regulating the Right to Keep and Bear Arms, 12th Leg., 1st Called Sess., ch. XLVI, § 1, 1870
  Tex. Gen. Laws 63; see also Brennan Gardner Rivas, “The Deadly Weapon Laws of Texas:
  Regulating Guns, Knives, and Knuckles in the Lone Star State, 1836-1930” (Ph.D. dissertation:
  Texas Christian University, 2019), available at
  https://repository.tcu.edu/handle/116099117/26778.
         83 Rivas, “Enforcement of Public Carry Restrictions,” 2610-2611.       Rivas, quoting the
  law, says that “The first section stated, ‘That any person carrying on or about his person, saddle,
  or in his saddle bags, any pistol, dirk, dagger, slung-shot, sword-cane, spear, brass-knuckles,
  bowie knife, or any other kind of knife manufactured or sold for the purposes of offense or
  defense, unless he has reasonable grounds for fearing an unlawful attack on his person, and that
  such ground of attack shall be immediate and pressing; or unless having or carrying the same on
  or about his person for the lawful defense of the State, as a militiaman in actual service, or as a
  peace officer or policeman, shall be guilty of a misdemeanor, and, on conviction thereof shall,
  for the first offense, be punished by fine of not less than twenty-five nor more than one hundred
  dollars, and shall forfeit to the county the weapon or weapons so found on or about his person;
  and for every subsequent offense may, in addition to such fine and forfeiture, be imprisoned in
  the county jail for a term not exceeding sixty days; and in every case of fine under this section
  the fines imposed and collected shall go into the treasury of the county in which they may have
  been imposed; provided that this section shall not be so construed as to prohibit any person from
  keeping or bearing arms on his or her own premises, or at his or her own place of business, nor to
  prohibit sheriffs or other revenue officers, and other civil officers, from keeping or bearing arms
  while engaged in the discharge of their official duties, nor to prohibit persons traveling in the
  State from keeping or carrying arms with their baggage; provided, further, that members of the
  Legislature shall not be included under the term “civil officers” as used in this act.’ An Act to
  Regulate the Keeping and Bearing of Deadly Weapons, 12th Leg. Reg. Sess., ch. XXXIV, § 1,
  1871 Tex. Gen. Laws 25. The third section of the act reads, ‘If any person shall go into any
  church or religious assembly, any school room, or other place where persons are assembled for
  amusement or for educational or scientific purposes, or into any circus, show, or public
  exhibition of any kind, or into a ball room, social party, or social gathering, or to any election
  precinct on the day or days of any election, where any portion of the people of this State are
  collected to vote at any election, or to any other place where people may be assembled to muster,
  or to perform any other public duty, (except as may be required or permitted by law,) or to any
  other public assembly, and shall have or carry about his person a pistol or other firearm, dirk,
  dagger, slung shot, sword cane, spear, brass-knuckles, bowie-knife, or any other kind of knife
  manufactured and sold for the purposes of offense and defense, unless an officer of the peace, he
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  were enforced with little or no racial bias until the 1890s, when white supremacists disfranchised

  African Americans, legalized segregation, and took firm control of the courts and law

  enforcement. 84

         42.        Tennessee and Arkansas went further than Texas to stem the tide of post-Civil

  War interpersonal violence. In 1871, Tennessee flatly prohibited the carrying of pocket pistols

  and revolvers, openly or concealed, except for the large army and navy pistols commonly carried

  by members of the military, which could be carried openly, but not concealed. 85 Arkansas




  shall be guilty of a misdemeanor, and, on conviction thereof, shall, for the first offense, be
  punished by fine of not less than fifty, nor more than five hundred dollars, and shall forfeit to the
  county the weapon or weapons so found on his person; and for every subsequent offense may, in
  addition to such fine and forfeiture, be imprisoned in the county jail for a term not more than
  ninety days.’ Id. § 3.” The law did not apply, however, ‘to a person’s home or business, and
  there were exemptions for “peace officers” as well as travelers; lawmakers and jurists spent
  considerable time fleshing out who qualified under these exemptions, and how to allow those
  fearing an imminent attack to carry these weapons in public spaces. Also, the deadly weapon
  law did not apply to all guns or firearms but just pistols. The time-place-manner restrictions,
  however, applied to any “fire-arms . . . gun or pistol of any kind” and later “pistol or other
  firearm,” as well as “any gun, pistol . . . .’” See also Brennan Gardner Rivas, “The Deadly
  Weapon Laws of Texas: Regulating Guns, Knives, and Knuckles in the Lone Star State, 1836-
  1930 (Ph. D. dissertation: Texas Christian University, 2019), 72-83, 124-163, available at
  https://repository.tcu.edu/handle/116099117/26778.
         84 Rivas, “Enforcement of Public Carry Restrictions,” 2609-2620.  The study draws on
  enforcement data from four Texas counties, 1870-1930: 3,256 total cases, of which 1,885 left a
  record of final adjudication. See also Rivas, “Deadly Weapon Laws of Texas,” 164-195.
         85 1871 Tenn. Pub. Acts 81, An Act to Preserve the Peace and to Prevent Homicide,         ch.
  90, § 1; State v. Wilburn, 66 Tenn. 57, 61 (1872) (“It shall not be lawful for any person to
  publicly carry a dirk, sword cane, Spanish stiletto, belt or pocket pistol, or revolver, other than an
  army pistol, or such as are commonly carried and used in the United States army, and in no case
  shall it be lawful for any person to carry such army pistol publicly or privately about his person
  in any other manner than openly in his hands.”).
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  followed suit in 1881. 86 Tennessee’s law withstood a court challenge, and Arkansas’s was never

  challenged. 87

          43.      Both Tennessee and Arkansas also moved to prevent the sale or transfer of pocket

  pistols or ordinary revolvers. In 1879, Tennessee prohibited “any person to sell, or offer to sell,

  or bring into the State for the purpose of selling, giving away, or otherwise disposing of, belt or

  pocket pistols, or revolvers, or any other kind of pistol, except army or navy pistols.” 88 Arkansas

  passed a similar prohibition in 1881, but went even further by prohibiting the sale of pistol

  cartridges as well: “Any person who shall sell, barter, or exchange, or otherwise dispose of, or in

  any manner furnish to any person any dirk or bowie knife, or a sword or a spear in a cane, brass

  or metal knucks, or any pistol, of any kind of whatever, except as are used in the army or navy of

  the United States, and known as the navy pistol, or any kind of cartridge for any pistol, or any

  person who shall keep such arms or cartridges for sale, shall be guilty of a misdemeanor.” 89




                   86 1881 Ark. Acts 191, An Act to Preserve the Public Peace and Prevent Crime,

  chap. XCVI, § 1-2 (“That any person who shall wear or carry, in any manner whatever, as a
  weapon, any dirk or bowie knife, or a sword, or a spear in a cane, brass or metal knucks, razor, or
  any pistol of any kind whatever, except such pistols as are used in the army or navy of the United
  States, shall be guilty of a misdemeanor. . . . Any person, excepting such officers or persons on a
  journey, and on his premises, as are mentioned in section one of this act, who shall wear or carry
  any such pistol as i[s] used in the army or navy of the United States, in any manner except
  uncovered, and in his hand, shall be guilty of a misdemeanor.”).
          87 See Brennan Gardner Rivas, “The Problem with Assumptions: Reassessing the

  Historical Gun Policies of Arkansas and Tennessee,” Second Thoughts, Duke Center for
  Firearms Law (Jan. 20, 2022), available at https://firearmslaw.duke.edu/2022/01/the-problem-
  with-assumptions-reassessing-the-historical-gun-policies-of-arkansas-and-tennessee/.
          88 1879 Tenn. Pub. Act 135-36, An Act to Prevent the Sale of Pistols, chap. 96, § 1; State

  v. Burgoyne, 75 Tenn. 173, 173-74 (1881).
          89 Acts of the General Assembly of Arkansas, No. 96 § 3 (1881).

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         44.     California’s legislature, recognizing that the homicide rate had reached

  catastrophic levels (over 65 per 100,000 adults per year),90 banned concealed weapons in 1863,

  because, as the editor of the Daily Alta Californian declared,

                 During the thirteen years that California has been a State, there
                 have been more deaths occasioned by sudden assaults with
                 weapons previously concealed about the person of the assailant or
                 assailed, than by all other acts of violence which figure on the
                 criminal calendar…. For many sessions prior to the last,
                 ineffectual efforts were made to enact some statute which would
                 effectually prohibit this practice of carrying concealed weapons. A
                 radical change of public sentiment demanded it, but the desired
                 law was not passed until the last Legislature, by a handsome
                 majority. 91

         45.     But the legislature repealed the law in 1870, as public sentiment veered back

  toward the belief that the effort to make California less violent was hopeless, and that the only

  protection law-abiding citizens could hope for was to arm themselves. And the legislature once

  again had the enthusiastic support of the editor of the Daily Alta Californian, which then opined,

  “As the sovereignty resides in the people in America, they are to be permitted to keep firearms

  and other weapons and to carry them at their pleasure.” 92 A number of counties dissented,

  however, and made it a misdemeanor to carry a concealed weapon without a permit—ordinances



         90 Roth, Maltz, and Eckberg, “Homicide    Rates in the Old West,” 183. On violence in
  California and across the Far West, see Roth, Maltz, and Eckberg, “Homicide Rates in the Old
  West,” 173-195; Clare V. McKanna, Jr., Homicide, Race, and Justice in the American West,
  1880-1920 (Tucson: University of Arizona Press, 1997); McKanna, Race and Homicide in
  Nineteenth-Century California (Reno: University of Nevada Press, 2002); and John Mack
  Faragher, Eternity Street: Violence and Justice in Frontier Los Angeles (New York: W. W.
  Norton, 2016); and Roth, American Homicide, 354.
         91 Clayton E. Cramer and Joseph Olson, “The Racist Origins of California’s
                                                                                Concealed
  Weapon Permit Law,” Social Science Research Network, posted August 12, 2016, 6-7, availab le
  athttps://papers.ssrn.com/sol3/papers.cfm?abstract_id=2599851.
         92 Cramer and Olson, “Racist Origins   of California’s Concealed Weapon Permit Law,” 7-
  10.
                                                                                     (continued…)
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  that they enforced. 93 In 1917, the state made it a misdemeanor to carry a concealed weapon in

  incorporated cities and required that gun dealers register handgun sales and send the Dealer’s

  Record of Sale to local law enforcement. 94 And in 1923, the state extended the licensing

  requirement to unincorporated areas and prohibited non-citizens from carrying concealed

  weapons. 95

         46.     Other states, like Ohio, tried to have it both ways. The Ohio legislature banned

  the carrying of concealable weapons in 1859, citing public safety. But it directed jurors, in the

  same law, to acquit persons who carried such weapons

         If it shall be proved to the jury, from the testimony on the trial of any case
         presented under the first section of this act, that the accused was, at the time of
         carrying any of the weapon or weapons aforesaid, engaged in the pursuit of any
         lawful business, calling, or employment, and that the circumstances in which he
         was placed at the time aforesaid were such as to justify a prudent man in carrying
         the weapon or weapons aforesaid for the defense of his person, property or
         family. 96

  The burden of proof remained with the person who carried the concealed weapon.

  It is important to remember, however, that even when states enacted different types of firearms

  restrictions, the fact remains that many jurisdictions enacted statutory restrictions at that time to

  ensure the safety of the public and law enforcement. The varying policy choices illustrate that as

  jurisdictions debated the appropriate response to violence in the late nineteenth and early

  twentieth century, restrictions of particular weapons were some of the policy options available to


         93 Ibid., 11.

         94 Ibid., 11-13.

         95 Ibid., 13-15.  Note that the title of the Cramer and Olson essay is misleading. It does
  not refer to the origins of the laws discussed here or to the ways in which they were enforced. It
  refers instead to an unsuccessful effort in 1878 and a successful effort in 1923 to deny resident
  aliens the right to bear arms.
         96 Joseph R. Swan, The Revised Statutes of the State of Ohio, of a General Nature, in

  Force August 1, 1860 (Cincinnati: Robert Clarke & Co., 1860), 452.

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  lawmakers, even if they opted not to use them.


  III. ADDRES S ING THREATS TO THE REPUBLIC AND ITS CITIZENS FROM M AS S
       M URDERERS FROM THE REVOLUTION INTO THE EARLY TWENTIETH CENTURY

         47.     The Republic faced threats not only from individual murderers, but from groups

  of murderers. Mass murder has been a fact of life in the United States since the mid-nineteenth

  century, when lethal and nonlethal violence of all kinds became more common. But mass

  murder was a group activity through the nineteenth century because of the limits of existing

  technologies which, unlike those of today, did not enable single individuals to commit mass

  murder. 97 The only way to kill a large number of people was to rally like-minded neighbors and

  go on a rampage with clubs, knives, nooses, pistols, shotguns, or rifles—weapons that were

  certainly lethal but did not provide individuals or small groups of people the means to inflict

  mass casualties on their own. Mass killings of this type were rare in the colonial, Revolutionary,

  and Early National eras, outside of massacres of Native Americans, irregular warfare among

  citizens seeking political power, or public demonstrations that turned deadly, like the Boston

  Massacre, in which seven soldiers opened fire on a crowd of roughly fifty men and boys, killing

  five and wounding six. 98


         97 On the history of mob violence, including   riots and popular protests that led to mass
  casualties, see Paul A. Gilje, Rioting in America (Bloomington: Indiana University Press, 1996);
  and David Grimsted, American Mobbing: Toward Civil War (New York: Oxford University
  Press, 1996). On the Boston Massacre, see Alan Taylor, American Revolutions: A Continental
  History, 1750-1804 (New York: W. W. Norton, 2016), 109-110; Eric Hinderaker, Boston’s
  Massacre (Cambridge: The Belknap Press of Harvard University Press, 2017); Bernard Bailyn,
  The Ordeal of Thomas Hutchinson (Cambridge: Belknap Press of Harvard University Press,
  1974), 156-163; and Alfred F. Young, The Shoemaker and the Tea Party: Memory and the
  American Revolution (Boston: Beacon Press, 1999), 36-41.
         98 For examples of massacres of unarmed Native Americans, see the murder in 1623 of

  six Massachusetts men by a party from Plymouth Colony, led by Captain Miles Standish, as
  described in Roth, American Homicide, 42; and the massacre in 1782 of 96 pacifist Moravian
  Delaware Indians at Gnadenhutten in present-day Ohio, as described inRob Harper, “Looking the
                                                                                     (continued…)
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         48.     Examples of mass killings carried out by groups include Nat Turner’s rebellion in

  Southampton County, Virginia, in 1831, which claimed sixty-nine lives; the murder of seventeen

  Mormons, perpetrated by militia men and vigilantes at Haun’s Mill, Missouri in 1838; Bloody

  Monday in Louisville, Kentucky, where an assault by nativist Protestants on Irish and German

  Catholics in 1855 left twenty-two people dead; and the murder of nineteen Chinese Americans

  by a racist mob in Los Angeles in 1871. Because these mass killings were almost always

  spontaneous and loosely organized, they were difficult for government to prevent. Worse, in

  some incidents, such as the Haun’s Mill Massacre, state and local governments were complicit;

  and in others, state and local governments turned a blind eye to the slaughter, as was the case in

  the murder of Chinese farm workers in Chico, California, in 1877. 99



  Other Way: The Gnadenhutten Massacre and the Contextual Interpretation of Violence,” William
  and Mary Quarterly (2007) 64: 621-644, available
  athttps://www.jstor.org/stable/25096733#metadata_info_tab_contents. For examples of political
  conflict among colonists that led to mass killings, see the confrontation in 1655 at Severn River
  in Maryland between opposed factions in the English Civil War, as described inAubrey C. Land,
  Colonial Maryland: A History (Millwood, New York: Kato Press, 1981), 49-54, and the
  slaughter in 1782 of rebel prisoners at Cloud’s Creek, South Carolina, by Tory partisans under
  the leadership of William Cunningham, as described inJ. A. Chapman, History of Edgefield
  County (Newberry, South Carolina: Elbert H. Aull, 1897), 31-34; see also Fox Butterfield, All
  God’s Children: The Bosket Family and the American Tradition of Violence (New York:
  Vintage, 2008), 5-6.
         99 David F. Almendinger,   Jr., Nat Turner and the Rising in Southampton County
  (Baltimore: Johns Hopkins Press, 2014); Patrick H. Breen, The Land Shall Be Deluged in Blood:
  A New History of the Nat Turner Revolt (New York: Oxford University Press, 2015); Stephen B.
  Oates, The Fires of Jubilee: Nat Turner’s Fierce Rebellion (New York: Harper and Row, 1975);
  Stephen C. LeSueur, The 1838 Mormon War in Missouri (Columbia: University of Missouri
  Press, 1987), 162-168; Brandon G. Kinney, The Mormon War: Zion and the Missouri
  Extermination Order of 1838 (Yardley, Pennsylvania: Westholme, 2011); Mary Alice Mairose,
  “Nativism on the Ohio: the Know Nothings in Cincinnati and Louisville, 1853-1855” (M.A.
  thesis, Ohio State University, 1993); W. Eugene Hollon, Frontier Violence: Another Look (New
  York: Oxford University Press, 1974), 93-95; Faragher, Eternity Street, 463-480; and Sucheng
  Chan, The Bitter-Sweet Soil: The Chinese in California Agriculture, 1860-1910 (Berkeley:
  University of California Press, 1986), 372.
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         49.     The Federal government did act during Reconstruction, however, to prevent mass

  murder when formally organized white supremacist organizations engaged in systematic efforts

  to deprive African Americans of their civil rights, which had been guaranteed by the Thirteenth,

  Fourteenth, and Fifteenth Amendments. The Ku Klux Klan Acts of 1870 and 1871, meant to

  prevent assassinations and mass shootings and lynchings by white supremacist terrorists, were

  effective when enforced by the federal government and the U.S. Army. 100 But when federal

  troops were withdrawn, white supremacist mass killings resumed. In New Orleans, for example,

  an ultimately successful effort by white-supremacist Democrats to seize control of the city’s

  government by violent means left dozens of Republican officials and police officers shot dead

  and scores wounded. 101 And the Klan Acts did nothing to prevent mass murders by spontaneous

  mobs and loosely organized vigilantes. Rioters and vigilantes remained a threat well into the

  twentieth century. In 1921 more than three hundred African American citizens were murdered in

  the Tulsa Race Massacre in Oklahoma. 102




         100 Alan Trelease, White Terror: The Ku Klux Klan Conspiracy and Southern

  Reconstruction (New York: Harper and Row, 1975).
         101 Dennis C. Rousey, Policing the Southern City: New Orleans, 1805-1889 (Baton

  Rouge: Louisiana State University Press, 1996), 151-158. See also LeeAnna Keith, The Colfax
  Massacre: The Untold Story of Black Power, White Terror, and the Death of Reconstruction
  (New York: Oxford University Press, 2008); and Gilles Vandal, Rethinking Southern Violence:
  Homicides in Post-Civil War Louisiana, 1866-1884 (Columbus: Ohio State University Press,
  2000), 67-109.
         102 On the deadly race riots of 1919-1921,
                                                 see William M. Tuttle, Jr., Race Riot: Chicago
  in the Red Summer of 1919 (New York: Atheneum, 1970); Scott Ellsworth, Death in a Promised
  Land: The Tulsa Race Riot of 1921 (Baton Rouge: Louisiana State University Press, 1982); and
  Tim Madigan, The Burning: Massacre, Destruction, and the Tulsa Race Riot of 1921 (New
  York: Thomas Dunne Books / St. Martin’s Press, 2001).

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  IV.   ADDRES S ING THREATS TO THE REPUBLIC AND ITS CITIZENS FROM M AS S
        M URDERERS FROM THE EARLY TWENTIETH CENTURY TO THE PRES ENT

          50.    The character of mass murder began to change in the late nineteenth and early

  twentieth century with the invention and commercial availability of new technologies that gave

  individuals or small groups of people the power to kill large numbers of people in a short amount

  of time. These technologies proved useful to criminal gangs, anarchists, and factions of the labor

  movement intent on killing adversaries, public officials, and law enforcement officers, which led

  public officials to implement a variety of restrictions to aid law enforcement and safeguard the

  citizenry.

          51.    The technologies that were most widely used by criminals and terrorists were

  dynamite, invented by Alfred Nobel in 1866, and the Thompson submachine gun, invented in

  1918 by General John T. Thompson, who improved upon a pioneering German design.

          52.    The advantage of dynamite over nitroglycerin and other explosives used in

  mining and construction was its power and its stability, which made accidental explosions rare.

  The advantages of submachine guns over existing machine guns as weapons of war were that

  they were light enough to be carried and operated by a single individual, and they were capable

  of firing .45 caliber bullets from 20-round clips or 50- or 100-round drum magazines at a rate of

  600 to 725 rounds per minute. 103

          53.    Criminals and terrorists quickly discovered how accessible and useful these new

  technologies were. They could be purchased legally by private citizens.




          103 Herta E. Pauli, Alfred Nobel: Dynamite King, Architect of Peace (New York: L. B.

  Fisher, 1942); and Bill Yenne, Tommy Gun: How General Thompson’s Submachine Gun Wrote
  History (New York: Thomas Dunne Books, 2009).
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         54.     In the 1920s, Thompson submachine guns were expensive. They sold for $175 to

  $225 each, at a time when a new Ford cost $440 (the rough equivalent of $2996 to $3852 today,

  while now a base model of the AR-15 semiautomatic rifle can be purchased for less than $400

  and a 30-round magazine for as little as $10). 104 That is why Thompsons were favored by those

  with resources: law enforcement, the Irish Republican Army, Sandinista rebels in Nicaragua, and

  bank robbers. Dynamite, however, cost only 18 cents a pound (the rough equivalent of $3.08

  today), and was favored by labor activists and anarchists. 105

         55.     Federal, state, and local officials and law enforcement officers suddenly

  confronted novel threats to their personal safety. Submachine guns were used most notoriously

  in gangland slayings in Chicago during the Prohibition Era, such as the St. Valentine’s Day

  Massacre and the Kansas City Massacre. 106 Dynamite was used in a string of anarchist

  bombings in 1919-1920. Those included the murder of 38 people and the wounding of 143 in an

         104 Yenne, Tommy Gun, 86. Estimates vary on the purchasing power of 1919 dollars    in
  today’s dollars, but $1.00 in 1919 was worth roughly $17.12 today. See the CPI Inflation
  Calculator (https://bit.ly/3CS5UNl), accessed October 4, 2022. The prices of AR-15 style rifles
  today are from guns.com (https://www.guns.com/firearms/ar-15-
  rifles?priceRange=%24250%20-%20%24499), accessed October 4, 2022. The prices of 30-
  round magazines of .233 caliber ammunition are from gunmagwarehouse.com
  (https://gunmagwarehouse.com/all-magazines/rifles/magazines/ar-15-magazines), accessed
  October 4, 2022.
         105 Department of Commerce, Bureau of the Census, Fourteenth Census of the United

  States Manufactures: Explosives (Washington, D.C.: Government Printing Office, 1922), 6.
  Note that a pound of dynamite would be far more expensive today—potentially hundreds of
  thousands of dollars—because it would require the purchase of a blasting license, a storage
  bunker, and an isolated plot of land for the storage bunker. See U.S Department of Justice,
  Bureau of Alcohol, Tobacco, Firearms, and Explosives, Enforcement Programs and Services,
  ATF Federal Explosives Law and Regulations, 2012, available
  athttps://www.atf.gov/explosives/docs/report/publication-federal-explosives-laws-and-
  regulations-atf-p-54007/download, accessed October 4, 2022.
         106 William Helmer and Arthur J. Bilek, The St. Valentine's Day Massacre: The Untold
  Story of the Bloodbath That Brought Down Al Capone (Nashville: Cumberland House, 2004);
  and Yenne, Tommy Gun, 74-78, 91-93.
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  attack on Wall Street, 36 dynamite bombs mailed to justice officials, newspaper editors, and

  businessmen (including John D. Rockefeller), and a failed attempt to kill Attorney General A.

  Mitchell Palmer and his family. 107 Dynamite was also used effectively for malicious, private

  ends. For example, Osage Indians were murdered by an individual in Oklahoma in an attempt to

  gain their headrights and profit from insurance policies on them. 108

         56.     Because of the threats these new technologies posed for public safety, public

  officials widened their regulatory focus beyond concealed and concealable weapons. Thirteen

  states restricted the capacity of ammunition magazines for semiautomatic and automatic firearms

  between 1927 and 1934,109 and Congress passed the National Firearms Acts of 1934 and 1938,

  which restricted ownership of machine guns and submachine guns (known today as automatic

  weapons) because of their ability to fire rapidly from large-capacity magazines. 110 The

  Organized Crime Control Act of 1970 restricted ownership of a wide range of explosives,

  building upon regulations that began in 1917 with the passage of the Federal Explosives Act,


         107 Paul Avrich, Sacco and Vanzetti: The Anarchist Background (Princeton: Princeton

  University Press, 1991), 140-156, 181-195; Beverly Gage, The Day Wall Street Exploded: A
  Story of American in Its First Age of Terror (New York: Oxford University Press, 2009); David
  Rapoport, Waves of Global Terrorism: From 1879 to the Present (New York: Columbia
  University Press, 2022), 65-110. Consider also the bombing of the office of the Los Angeles
  Times in 1910 by two union activists, which killed 21 persons and injured 100 more, in Louis
  Adamic, Dynamite: The Story of Class Violence in America (New York: Viking, 1931).
         108 For this and other murders of Osage people see David Grann, Killers of the Flower

  Moon: The Osage Murders and the Birth of the FBI (New York, Doubleday, 2017).
         109 Robert J. Spitzer, “Gun Accessories and the Second Amendment: Assault Weapons,

  Magazines, and Silencers,” Law and Contemporary Problems 83 (2020): 238,
  https://scholarship.law.duke.edu/lcp/vol83/iss3/13. In the same period, five additional states
  restricted magazine capacity for fully automatic weapons, but not semiautomatic weapons.
         110 The National Firearms Act of 1934, 48 Statute 1236

  (https://homicide.northwestern.edu/docs_fk/homicide/laws/national_firearms_act_of_1934.pdf);
  and the National Firearms Act of 1938, 52 Statute 1250
  (https://homicide.northwestern.edu/docs_fk/homicide/laws/national_firearms_act_of_1938.pdf).
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  which restricted the distribution, storage, possession, and use of explosive materials during the

  time of war. 111

          57.     Since 1970, public officials have continued to reserve the right to regulate the

  sale, ownership, and control of new technologies that can be used by individuals or small groups

  to commit mass murder. The Homeland Security Act of 2002 improved security at airports and

  in cockpits to ensure that airplanes could not be used by terrorists to commit mass murder. The

  Secure Handling of Ammonium Nitrate Act of 2007 restricted access to large quantities of

  fertilizer to prevent terrorist attacks like the one that killed 165 people in Oklahoma City in

  1995. 112 And in the wake of the massacre of 58 people and wounding of hundreds of others at a

  concert in Las Vegas in 2017, the Trump administration issued a regulation that banned the sale

  or possession of bump stocks. It gave owners 90 days to destroy their bump stocks or turn them

  in to the Bureau of Alcohol, Tobacco, Firearms, and Explosives. 113

         58.     In recent decades, criminal organizations, terrorists, and lone gunmen with an

  intent to commit mass murder have also discovered the effectiveness of rapid-fire semiautomatic

  weapons with large capacity magazines. These weapons, which were designed for offensive

  military applications rather than individual self-defense, emerged from technologies developed



          111 The Organized Crime Control Act of 1970, 84 Statute 922; and the Federal Explosives

  Act of 1917, 40 Statute 385.
          112 Public Law 107-296,  November 25, 2002, “To Establish the Department of Homeland
  Security” (https://www.dhs.gov/xlibrary/assets/hr_5005_enr.pdf); and 6 U.S. Code § 488a -
  Regulation of the sale and transfer of ammonium nitrate
  (https://www.law.cornell.edu/uscode/text/6/chapter-1/subchapter-VIII/part-J). The ammonium
  nitrate regulations were to be enforced no later than 90 days after December 26, 2007. Accessed
  August 31, 2022.
          113 See Charlie Savage, Trump Administration Imposes Ban on Bump Stocks, New York

  Times, December 18, 2018, available at https://www.nytimes.com/2018/12/18/us/politics/trump-
  bump-stocks-ban.html, accessed October 4, 2022.
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  for military use during the Cold War, beginning with the Soviet AK-47 assault rifle, which was

  invented in 1947, adopted by the Soviet Army in 1949, and used in the 1950s by the Soviets or

  their allies during the Hungarian Revolution, the Vietnam War, and the Laotian Civil War. 114

  The signature military firearm of that era—the M-16 rifle with a 30-round magazine and a

  muzzle velocity of over 3,000 feet per second115—was capable of firing 750 to 900 rounds per

  minute when set on fully automatic. 116 But the M-16 was used more often in combat—and more

  accurately, effectively, and sustainably as a weapon for inflicting mass casualties—when set on

  semiautomatic, which was standard military procedure. That is why the U.S. Army defines

  “rapid fire” as 45 rounds per minute (the rate of fire of an M-16 when set on semiautomatic), not

  750 to 900. 117 And that is why in 1998 the U.S. Marine Corps adopted the M-16A4, which

  replaced the “fully automatic” switch with a three-round burst (but otherwise the same weapon

  as the M-16)—an alteration that slows the potential rate of fire, conserves ammunition, and

  improves accuracy. 118 The civilian version of the M-16—the ArmaLite AR-15—has




         114 Edward and Ezell, The AK-47 Story: Evolution of the Kalashnikov Weapons

  (Harrisburg, Pennsylvania: Stackpole Books, 1986).


         115 Muzzle velocity   is the speed at which a round exits the barrel of a firearm.
         116 Edward Ezell, The Great Rifle Controversy: Search for the Ultimate Infantry Weapon

  from World War II through Vietnam and Beyond (Harrisburg, Pennsylvania: Stackpole Books,
  1984).
         117 Sections 8-17 through 8-22 (Rates of Fire), Sections 8-23 and 8-24 (Follow
                                                                                      Through),
  and Sections B-16 through B22 (Soft Tissue Penetration), in TC 3-22.9 Rifle and Carbine
  Manual, Headquarters, Department of the Army (May 2016),
  https://armypubs.army.mil/epubs/DR_pubs/DR_a/pdf/web/ARN19927_TC_3-
  22x9_C3_FINAL_WEB.pdf, accessed October 4, 2022.
         118 See military-today.com   (http://www.military-today.com/firearms/m16.htm), accessed
  October 4, 2022.
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  approximately the same muzzle velocity as the M-16 (3,300 feet per second) and the same rate of

  fire as the M-16 on semiautomatic: 45 rounds per minute. 119

         59.     The muzzle velocity of semiautomatic handguns, like the Glock 17, is far lower

  than that of an M-16 or its civilian counterparts: around 1,350 feet per second. But technological

  advances have increased the speed at which semiautomatic handguns can be fired. An expert can

  fire an entire 30-round clip from a Glock 17 handgun in five seconds. 120 And they are affordable.

  A new semiautomatic handgun can be purchased for less than $200 and equipped with a 33-

  round magazine for less than $15. 121

         60.     It did not take criminals, terrorists, and lone gunmen long to adopt the rapid-fire

  semiautomatic handguns and rifles with large capacity magazines that arrived on the domestic

  market in the 1970s and 1980s. These firearms can inflict mass casualties in a matter of seconds

  and maintain parity with law enforcement in a standoff, which is why many police and sheriff

  departments across the United States have purchased semiautomatic rifles and armored vehicles

  to defend themselves and decrease the likelihood that officers are killed or wounded. 122



         119 Ezell, The Great Rifle Controversy, 177-192.

         120 See Jerry Miculek,
                             “Dual Glock 17 Rapid Fire 60 Rounds in 5 Seconds! 660 RPM.”
  YouTube (https://www.youtube.com/watch?v=1H5KsnoUBzs), accessed September 1, 2022.
         121 See guns.com for the price of semiautomatic
                                                       handguns
  (https://www.guns.com/firearms/handguns/semi-auto?priceRange=Less%20than%20%24250)
  and bymymags.com for the price of large capacity magazines (https://www.buymymags.com/),
  accessed October 4, 2022.
         122 Sam Bieler, “Police Militarizationin the USA: The State of the Field,” Policing: An
  International Journal 39 (2016): 586-600, available at
  https://www.emerald.com/insight/content/doi/10.1108/PIJPSM-03-2016-
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           61.    Manufacturers soon discovered ways to increase the rate of fire of these new

  semiautomatic weapons even further. Some innovations, such as bump stocks and modification

  kits, allowed owners to transform semiautomatic rifles into fully automatic rifles. And in

  response to the Trump administration’s regulatory ban on the production and sale of bump stocks

  and modification kits, the firearms industry has developed “binary” triggers that fire when pulled

  and when released—a modification that doubles the rate at which semiautomatic weapons can be

  fired. 123

           62.    Just as dangerous, however, were modifications that helped users fire more

  rapidly with semiautomatic firearms. The modifications included “fixes” as simple as stretching

  a rubber band from the trigger to the trigger guard of an AR-15. The band pushes the trigger

  forward more rapidly after each round and enables users to fire rapid semiautomatic bursts with

  help of the weapon’s natural recoil. The rubber band method works because manufacturers have

  increased the fire rate of semiautomatic weapons by decreasing the pressure it takes to pull the

  trigger. 124




           123 Bureau of Alcohol, Tobacco, Firearms, and Explosives, Office of Enforcement
  Programs and Services, Office of Field Operations, “Open Letter to All Federal Firearms
  Licensees,” March 22, 2022, available at https://www.atf.gov/firearms/docs/open-letter/all-ffls-
  mar-2022-open-letter-forced-reset-triggers-frts/download, accessed October 4, 2022. The ATF
  has not banned the production, sale, or ownership of binary triggers, but the several states have
  done so, citing the threat they pose to the safety of the public and law enforcement. Those states
  include North Dakota, Hawaii, Connecticut, New Jersey, Maryland, Washington, California,
  D.C., Iowa, New York, Rhode Island, and Florida. See James Gangler, Are Binary Triggers
  Legal (2023) All You Need to Know, Lunde Studio, available at https://lundestudio.com/are-
  binary-triggers-legal/, accessed October 4, 2022; see also americanfirearms.org, “A Complete
  Guide to Binary Triggers,” available at https://www.americanfirearms.org/guide-to-binary-
  triggers/, accessed October 4, 2022.
           124 See “Rapid Manual Trigger Manipulation
                                              (Rubber Band Assisted),” YouTube
  (https://www.youtube.com/watch?v=PVfwFP_RwTQ), accessed October 4, 2022.

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         63.     The threat to public safety and law enforcement posed by semiautomatic rifles—

  with or without dangerous modifications—is a modern phenomenon that has a direct correlation

  with mass murder and mass shootings. The danger these firearms pose is intrinsically different

  from past weaponry. In the same way that the Colt cap-and-ball revolvers and breech-loaded

  firearms resulted in increased deaths by firearms, the development of semiautomatic rifles and

  handguns dramatically increased the number killed or wounded in mass shootings from 1966 to

  the present (see Figure 1, below).

                                              Figure 1

                     Mass shootings with       Mass shootings      Mass shootings         Mass
                            non-                   with                with            shootings
                     semiautomatic/non-        semiautomatic       semiautomatic           with
                      automatic firearm          handgun                rifle          automatic
                                                                                        firearms

      Average                 5.4                     6.5                9.2              8.1
       Killed

     Average                  3.9                     5.8                11.0             8.1
     Wounded

      Average                 9.3                     12.3               20.2             16.2
      Victims

     Number of                 52                     82                 40                8
       Mass
     Shootings


  Note that mass shootings with semiautomatic rifles have been more deadly than mass shootings

  with fully automatic weapons.

         64.        And the threat posed by semiautomatic rifles is amplified when they are used

  in conjunction with extended magazines (more than 10 rounds) (see figure 2, below, for the

  number of persons killed or wounded).

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                                                Figure 2


                                         No extended magazine                Extended magazine


   Mass shootings                                 10.3                               26.4
   with semiautomatic handgun


   Mass shootings with                            13.0                               37.1
   semiautomatic rifle


          65.     Without extended magazines, semiautomatic rifles cause an average of 40 percent

  more deaths and injuries in mass shootings than regular firearms, and semiautomatic handguns

  11 percent more than regular firearms. But with extended magazines, semiautomatic rifles cause

  an average of 299 percent more deaths and injuries than regular firearms, and 41 percent more

  than semiautomatic handguns. Semiautomatic handguns cause an average of 184 percent more

  deaths than regular firearms. In combination, semiautomatic firearms and extended magazines

  are extraordinarily lethal.

          66.     The data in Figures 1 and 2, and in the immediately above paragraph, are from the

  Violence Project. 125 The Violence Project, which has compiled data on mass shootings from


          125 The Violence Project (https://www.theviolenceproject.org/mass-shooter-database/),

  accessed October 4, 2022. The Violence Project database provides information on the weapons
  used in the shootings. It notes, for instance, that two shooters who possessed semiautomatic
  rifles at the times of their crimes did not use them, and that 8 shooters had illegal, fully automatic
  weapons. Those automatic weapons included 2 Uzi submachine guns, 3 machine pistols, 1 M-
  16, and 2 AK-47 rifles converted to automatic. I have not participated in Violence Project or in
  the collection of their data. In Figure 1, however, I have added the data from the six mass
  shootings that occurred from January through August, 2022, not yet included in the Violence
  Project’s data, that fit the Violence Project’s definition of a mass shooting: the Buffalo, New
  York, supermarket shooting on May 14; the Robb Elementary School shooting in Uvalde, Texas,
  on May 24; the Tulsa, Oklahoma medical center shooting on June 1; the concrete company
  shooting in Smithsburg, Maryland, on June 9; the Highland Park, Illinois, Fourth of July Parade
  shooting; and the Greenwood, Indiana, Park Mall shooting on July 17. Three were committed
  with semiautomatic rifles and three with semiautomatic handguns. The table in this report,
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  1966 through 2021, defines a mass shooting as “a multiple homicide incident in which four or

  more victims are murdered with firearms—not including the offender(s)—within one event, and

  at least some of the murders occurred in a public location or locations in close geographical

  proximity (e.g., a workplace, school, restaurant, or other public settings), and the murders are not

  attributable to any other underlying criminal activity or commonplace circumstance (armed

  robbery, criminal competition, insurance fraud, argument, or romantic triangle).” Other

  authorities have adopted similar definitions of “mass shootings” and “mass murder.” For

  example, the FBI has defined mass murder as “a number of murders (four or more) occurring

  during the same incident, with no distinctive time period between the murderers.” 126 Federal

  legislation enacted in 2013 authorized the Attorney General to assist in the investigation of mass

  killings, defined to mean “3 or more killings in a single incident.” 127

          67.     What is remarkable about the mass shootings that have plagued the United States

  since 1965 is that all but four involved a lone shooter, and those that have involved more than

  one assailant have involved only two: in 1998 in Jonesboro, Kentucky; in 1999 in Littleton,

  Colorado; in 2015 in San Bernardino, California; and in 2019 in Jersey City, New Jersey. In the

  nineteenth and early twentieth centuries, it required scores of individuals to gather together as

  mobs, rioters, vigilantes, or terrorists to kill or wound dozens of people in a short space of time—

  generally because of their race, ethnicity, or faith.




  unlike the tables in the Violence Project, does not include the Las Vegas shooting of 2017 (58
  killed, 887 wounded). The Las Vegas shooting is an outlier in the number killed and wounded
  which would skew the results of the analysis.
          126 FBI, Serial Murder: Multi-Disciplinary Perspectives for Investigators at 8 (2005),

  available at https://www.fbi.gov/stats-services/publications/serial-murder#two, accessed January
  3, 2023.
          127 28 U.S.C. § 530C(b)(1)(M).



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         68.     Today, because of the availability of extended magazines and certain classes of

  semiautomatic firearms, it requires only one or two individuals to kill or wound that many

  people. And because of these modern technologies, which were developed for warfare, angry,

  alienated individuals can commit mass murder for reasons that are simply personal. Mass

  murderers no longer require collaborators to rally to a cause. For example, they can kill large

  numbers of people simply because they feel slighted at school, because they don’t get along with

  their coworkers, because they were rejected romantically, or because they simply want to make a

  name for themselves. Since it is impossible in our society—indeed, in any society—to ensure

  that no one is angry or alienated, public officials have recognized that restricting access to

  extended magazines and certain classes of semiautomatic firearms mitigates the risk to every

  American.

         69.     For these reasons, local governments have enacted bans on the sale of

  semiautomatic rifles with features that enhance their military utility, as the federal government

  did from 1994 to 2004. Local governments have banned the sale of large capacity magazines,

  because they allow mass murderers to prolong their attacks before citizens or law enforcement

  can intervene—usually when the shooter is reloading. For example, the shooter who wounded

  U.S. House Representative Gabby Giffords in Tucson, Arizona, in 2011, was able to fire 31

  rounds with a Glock 19 semiautomatic handgun in a matter of seconds before bystanders could

  disarm him as he changed magazines. Every one of those rounds hit an individual, killing six

  and injuring twelve. 128




         128 “2011 Tucson Shooting,”  Wikipedia
  (https://en.wikipedia.org/wiki/2011_Tucson_shooting), accessed September 2, 2022.

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  V.    CONCLUS ION

         70.     From the Founding Generation to the present, the people of the United States and

  their elected representatives have recognized that there are instances in which the security of the

  republic and the safety of its citizens require government-imposed restrictions. That is why

  every state restricted the carrying of concealable weapons by the early 20th Century, and the

  majorly of states prohibited it outright; why the federal government passed the Ku Klux Klan

  Acts during Reconstruction; and why states, municipalities, and the federal government have

  passed and enforced laws since World War I to restrict ownership and control of modern

  technologies that enable criminals, terrorists, and malicious or delusional individuals to commit

  murder. Public officials are not required to pass such laws, of course, but historically, they have

  always understood their ability to do so, and there is no evidence in the historical record to

  suggest that policy makers took their decisions lightly when they imposed these restrictions.

         71.     In recent decades, public officials have been called on to address not just the

  longstanding and vexing criminological problems of murder and interpersonal violence in the

  United States, but also mass murder and mass interpersonal violence resulting from changes in

  firearms technology that emerged in the late nineteenth through the late twentieth century. And

  at the state, local and federal levels, officials have responded to this new threat similar to the way

  they responded to its antecedents — by exercising their authority to restrict the lethal

  technologies that underlie the problem and jeopardize the safety of their constituents.




                                                    Randolph Roth

                                                    6/8/2023         Date


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                                       Curriculum Vitae

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        Marital Status:               Married                Allison Sweeney
        Children:                     Alexander


  Education

        1981, Ph.D. in History, Yale University (thesis, “Whence This Strange Fire?
        Religious and Reform Movements in Vermont, 1791-1843,” David Brion Davis
        and Howard R. Lamar, advisors)

        1973, B.A., with honors and distinction, in History, Stanford University (thesis,
        "Progressive Reform and Socialism in Berkeley, California, 1877-1924,” Carl
        Degler and Barton Bernstein, advisors)


  Academic Positions

        1985-present, The Ohio State University: College of Arts and Sciences
        Distinguished Professor of History and Sociology
        1978-1985, Grinnell College: Assistant Professor of History
        1978, University of Vermont: Instructor in History
        1974-1977, Graduate Teaching Assistant, Yale University


  Honorary Positions

        2012, Wayne N. Aspinall Visiting Chair Professor, University of Colorado Mesa


  Professional Honors and Awards for Scholarship

        2022, Distinguished Scholar Award, Division of Historical Criminology,
        American Society of Criminology

        2013-2016, Member, Roundtable on Crime Trends in America, National Research
        Council, National Academy of Sciences

        2012, Fellow, American Association for the Advancement of Science

        2011, Michael J. Hindelang Award, American Society of Criminology, for the
        outstanding contribution to criminology over the previous three years

        2010, Allan Sharlin Memorial Award, Social Science History Association,
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        for an outstanding book in social science history

        2010, Outstanding Academic Books, Choice

        1988, E. Harold Hugo Memorial Book Prize, Old Sturbridge Village
        Research Society, for distinguished work in the history of rural society

        1982, Theron Rockwell Field Prize, Yale University, for the outstanding
        dissertation in the Humanities

        1982, George Washington Eggleston Prize, Yale University, for the
        outstanding dissertation in American history

        1973, James Birdsall Weter Prize, Stanford University, for the outstanding
        senior thesis in history


  Professional Honors and Awards for Teaching

        2017, Rodica C. Botoman Award for Distinguished Undergraduate Teaching and
        Mentoring, College of Arts and Humanities

        2013, Outstanding Teaching Award, College of Arts and Sciences Student
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        2009, Ohio State University Alumni Award for Distinguished Teaching

        2007, Distinguished Teaching Award, Ohio Academy of History

        1995, Clio Award, Phi Alpha Theta Honor Society, for Distinguished Teaching in
        History at Ohio State University


  Grants

        2013-2014, Research Grant, Harry Frank Guggenheim Foundation

        2012-2015, Research Grant, National Science Foundation (SES-1228406)

        2000, Fellowship for University Teachers, National Endowment for the
        Humanities

        1998-2000, Research Grant and Supplemental Research Grant, National Science
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          1992, Fellow, Workshop on the Rhetoric of Social History, University of
          Iowa

          1989-1990, Research Fellowship, Harry Frank Guggenheim Foundation

          1987, National Endowment for the Humanities, Summer Stipend

          1983, Research Fellowship for Recent Recipients of the Ph.D., American Council
          of Learned Societies

          1981, Fred Harris Daniels Fellowship, American Antiquarian Society



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  Books

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          America from colonial times to the present). The Belknap Press of Harvard
          University Press (2009), 655 pp.

          The Democratic Dilemma: Religion, Reform, and the Social Order in the
          Connecticut River Valley of Vermont, 1791-1850. Cambridge University Press
          (1987), 399 pp.


  Edited Volumes

          Co-founder and co-director, Historical Violence Database (on-line database on
          violent crime, violent death, and collective violence). Web address:
          www.sociology.ohio-state.edu/cjrc/hvd

          American Homicide Supplementary Volume (on-line supplement to American
          Homicide, including detailed appendices on methods, supplemental tables, graphs,
          and statistical analyses), approx. 750 pp. Web address:
          http://cjrc.osu.edu/researchprojects/hvd/AHsup.html


  Essays on Historical Subjects

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          Richard Rosenfeld and Joel Wallman. Homicide Studies (forthcoming).
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       Historical Review (2014) 119: 1529-1546.

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       Civilization Thesis versus the Nation-Building Hypothesis,” Criminology online:
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        Metaphor of Social Science History," Social Science History (1992) 16: 197-243.

        "Ecological Regression and the Analysis of Voter Behavior," Historical Methods
        (1986) 19: 103-117.


  Public History Essays

        "Can Faith Change the World? Religion and Society in Vermont's Age of
        Reform," Vermont History (2001) 69: 7-18.

        "Wayward Youths: Raising Adolescents in Vermont, 1777-1815," Vermont
        History (1991) 59: 85-96.

        "Why Are We Still Vermonters? Vermont's Identity Crisis and the Founding of
        the Vermont Historical Society," Vermont History (1991) 59: 197-211.


  Works in Progress

        Child Murder in America. An interregional study of murders of and by children
        from colonial times to the present (in manuscript through early 20th century)

        "How Scientific Is Environmentalist History? The Rhetoric and Politics of
        Speaking for Nature" (essay in manuscript)


  Editorial Boards

        2014-2017, American Historical Review
        2012-2016, 1995-2005, Historical Methods
        2011- , Homicide Studies
        2004- , Crime, History, and Societies


  Invited Lectures

        “Trust, Legitimacy, and the Recent Rise in Homicide in the United States,”
        Council on Criminal Justice, Washington, D.C., October 19, 2022.

        “The History of Police Involved Homicides in the United States,” Mary
        Immaculate College & the University of Limerick, Ireland, October 26, 2021.

        “Firearms and Homicide in the United States: A History,” British Crime
        Historians Symposium, Leeds University, Great Britain, Scheduled for September
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  Randolph Roth                                                                  Page 9

       2-3, 2021.

       “The History of Cross-National Homicide Rates: What We Can Learn from the
       Available Historical Data, and Why We Have to Worry about Learning the
       Wrong Lessons,” Bielefeld University, Germany, scheduled for April 29, 2020.
       Postponed.

       “Inequality,” Ashland University, October 16, 2019.

       “The History of Gun Violence in America,” Shasta Seminar, Wesleyan
       University, October 28, 2017.

       “Why Guns Are and Aren’t the Problem,” Ashland University Center for the
       Study of Nonviolence, Ashland University, April 1, 2017.

       “Firearms and Violence in American History,” Aspen Institute, September 15,
       2016, Washington, D.C.

       “Homicide in the United States: The Long History and Recent Trends,” The
       Donald and Margaret Sherman Violence Prevention Lecture, Jerry Lee Center of
       Criminology, University of Pennsylvania, April 10, 2015.

       “The History of Child Murder,” Andrew Young School of Public Policy, Georgia
       State University, January 28, 2014.

       “The Causes of Homicide,” National Institute of Justice, December 2, 2013.

       “Biology, History, and the Causes of Homicide,” School of Law, University of
       Buffalo, October 10, 2013.

       “Bio-Historical Co-Evolution and the Biology of Social Behavior: The Prospects
       for a New Institute on History and the Sciences,” Max Planck Institutes, Berlin,
       Germany, June 27, 2013.

       “Deterrence, Judicial Tolerance, and the Homicide Problem in America,” Robina
       Institute of Criminal Law and Justice, University of Minnesota, April 26, 2013

       “Child Murder in America: A History,” Population Studies Center and
       Department of History, University of Michigan, April 8, 2013

       “America’s Homicide Problem,” Northwestern University School of Law,
       November 16, 2012

       “American Homicide,” Aspinall Lecture, Colorado Mesa University, April 5,
       2012
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       “Quantitative Analysis of the History of Crime and Violence: Achievements and
       Prospects,” Keynote Address, Conference on “Making Sense of Violence,”
       University of Bern, September 8, 2011

       “Can We Learn to Play Well with Others? Enlisting the Humanities, the Sciences,
       and the Social Sciences in the Study of Violence.” Conference on Emerging
       Disciplines, Humanities Research Center, Rice University, February 25, 2011

       “American Homicide,” Washington Forum, Ohio University, Athens, Ohio, May
       25, 2010

       “Can We Learn to Play Well with Others? Enlisting the Humanities, the Sciences,
       and the Social Sciences in the Study of Violence.” Presidential Plenary Address,
       Southwestern Social Science Association, Houston, Texas, April 1, 2010

       “Homicide on Florida’s Antebellum Frontier,” Robert and Rose Stahl Criminal
       Justice Lecture, Lawton M. Chiles Center for Florida History, Florida Southern
       College, Lakeland, Florida, March 25, 2010

       “Homicide in the American Backcountry, 1717-1850,” Keynote Address at the
       “From Borderland to Backcountry Conference: Frontier Communities in
       Comparative Perspective” at the University of Dundee, Scotland, July 7, 2009

       “Research Strategies for Studying the History of Crime and Violence,” Seminar
       on Crime and Criminal Justice, Northwestern University School of Law, Nov. 15,
       2007

        “American Homicide: Its History,” Ohio State University at Newark, Nov. 6,
       2007

       “American Homicide: A Political Hypothesis” and “The Case for Social Science
       History,” Northern Illinois University, April 4-5, 2007

       “What Historians Can and Might Learn from Legal Sources.” Seminar in Early
       American History, Northwestern University, Jan. 31, 2007

       “Why Is America a Homicidal Nation? A Political Hypothesis,” lecture in the
       Historical Approaches in the Social Sciences series, State University of New York
       at Binghamton, Oct. 12, 2006

       “The History of American Homicide,” Winter College, Ohio State University,
       Sarasota, Florida, February 24, 2006

       “The Role of Small Arms in American History,” Small Arms Working Group,
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       Harry Frank Guggenheim Foundation, Columbia University, June 2005

       “Why is the United States So Homicidal Compared to Other Western
       Democracies? A Political and Psychological Hypothesis,” Center for Historical
       Research and Documentation on War and Contemporary Societies, Belgian
       Ministry of Scientific Research, Brussels, Belgium, December 2004

       “The History of American Homicide,” Center for Law, Policy, and Social
       Science, Moritz College of Law, Ohio State University, November 2004

       “Peaceable Kingdoms? Harmony and Hostility in the Early American Family,”
       Plenary Session, Society of Historians of the Early American Republic, July 22,
       2004

       “American Homicide,” Department of History, Miami University, March, 2004

       “Slavery, Freedom, and the History of African-American Homicide.” School of
       Law and Department of History, University of Chicago, January, 2003

       “American Homicide,” School of Law, Stanford University, February, 2003

       Workshop of the Study of the History of Homicide, Department of History,
       Stanford University, February, 2003

       “American Homicide,” Social Science Faculty Seminar, Stanford University,
       February, 2003

       “American Homicide,” School of Law, Northwestern University, September,
       2003

       “American Homicide,” School of Law, University of Chicago, November, 2002

       “Twin Evils?: The Relationship between Slavery and Homicide,” Department of
       History, Yale University, May, 2002

       “The Puzzle of American Homicide,” School of Law, Northwestern University,
       November, 2001

       "Why Northern New Englanders Seldom Commit Murder: An Interregional
       History of Homicide in America," and "The Historical Database Project on Crime
       and Violence in America," two lectures presented at the Charles Warren Center,
       Harvard University. May, 2000

       "Understanding Homicide in America: An Interregional Approach," presentation
       to the Early American History Seminar, University of Pennsylvania, October,
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        1999

        "Can Faith Change the World?" Keynote address, Conference on Reform in
        Antebellum Vermont, Vermont Historical Society, September, 1999

        "Why Northern New Englanders Seldom Commit Murder," presentation to the
        Center for Research on Vermont, the University of Vermont, and the Vermont
        Council on the Humanities. The presentation was televised in Vermont. It also
        made the evening news in Burlington and an AP wire story on my presentation
        was printed widely in newspapers in New Hampshire and Vermont, April, 1999


  Papers Delivered at Professional Meetings (recent)

        “The Social and Geographical Context of Child Homicides in the United States,
        1989-2015,” Homicide Research Working Group, June 2, 2022, Excelsior
        Springs, Missouri, and Social Science History Association, November 17, 2022,
        Chicago.

        “The Difficulty of Counting the Number of Children Killed in Homicides in the
        United States, 1959-Present.” Social Science History Association, November 23,
        2019, Chicago.

        “Police Involved Homicides in Ohio, 1959-1988,” American Society of
        Criminology, November 13, 2019, San Francisco, with Wendy Regoczi and Rania
        Issa.

        “Can Criminologists and Historians of Crime Work Together More Fruitfully in
        the Future?” Social Science History Association, November 3, 2017, Montreal.

        “Comparing Data Sources on the Police Use of Lethal Force,” American Society
        of Criminology, November 15, 2017, Philadelphia, with Wendy Regoczi and
        Rania Issa.

         “The History of Mass Murder,” American Historical Association, January 6,
        2017, Denver.

        “The Historians’ Role in Criminal Justice Research,” American Society of
        Criminology, November 16, 2016, New Orleans

        “Police and Security Guard Involved Homicides in Ohio, 1959-1988,” American
        Society of Criminology, November 18, 2016, New Orleans

        “Why History and Biology Matter to One Another: The Epigenetics of Social
        Behavior,” American Historical Association, New York City, January 4, 2015
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       “The National Homicide Data Improvement Project, 1959-Present: Why Research
       in Multiple Sources Changes Dramatically Our Understanding of the Incidence
       and Character of Homicides in the United States,” American Society of
       Criminology, San Francisco, November 19, 2014

       "The Relationship between Guns, Homicides, and Suicide in American History,"
       Organization of American Historians, Atlanta, April 4, 2014

       “Situating Crime in Macro-Social and Historical Context,” Presidential Panel,
       American Society of Criminology, Atlanta, November 22, 2013

       “Has Violence Declined since the Middle Ages?” Presidential Panel, American
       Society of Criminology, Chicago, November 15, 2012

       “The Sudden Appearance of Sexual Serial Killers in Late-Nineteenth Century
       America,” Organization of American Historians, Houston, March 20, 2011

       “The Biology of Social Behavior” at the annual conference of the Society of
       Historians of the Early American Republic, Philadelphia, July 15, 2011

       “Measuring Feelings and Beliefs that May Facilitate (or Deter) Homicide,” at the
       American Society of Criminology meeting in Washington, D.C., November 16,
       2011

       “Measuring Feelings and Beliefs that May Facilitate (or Deter) Homicide,” at the
       Social Science History Association meeting in Boston, November 20, 2011

       “Author Meets Critics” session on American Homicide at the European Social
       Science History conference in Ghent, Belgium, April 13, 2010. Discussants:
       Manuel Eisner, Peter King, and Pieter Spierenburg

       “The Relationship between Guns and Homicide in American History,” American
       Society of Criminology conference in San Francisco, November 18, 2010

       “Author Meets Critics” session on American Homicide at the Social Science
       History Association conference in Chicago, November 20, 2010. Discussants:
       Richard McMahon, Douglas Eckberg, Donald Fyson, and John Carter Wood

       “Does Honor Hold the Key to Understanding Violence in the Early
       Republic,”Society for Historians of the Early American Republic, Springfield,
       Illinois, July 2009.

       “The Difficulty of Reconciling the Homicide Counts in the National Center for
       Health Statistics Mortality Data and the FBI Supplementary Homicide Reports,”
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        Social Science History Association, Long Beach, California, November, 2009

        “Homicide in American History,” Ohio Academy of History, Dayton, Ohio, April
        12, 2008

        “Quantification and Social Theory in the Study of Crime and Violence,” in the
        Presidential Panel on “History in the Social Science History of Association:
        Disciplinary Developments,” Social Science History Association, Chicago, Nov.
        15-18, 2007

        “Are Modern and Early Modern Homicide Rates Comparable? The Impact of
        Non-Emergency Medicine,” Social Science History Association, Chicago, Nov.
        15-18, 2007

        “How Homicidal Was Antebellum Florida?” Gulf South History and Humanities
        Conference, Pensacola, Florida, Oct. 6, 2006

        "Probability and Homicide Rates: Why We Can Be Certain the Nineteenth-
        Century West Was Violent." Social Science History Association convention in
        Minneapolis, Nov. 2-5, 2006

        “The Historical Violence Database: A Collaborative Research Project on the
        History of Violent Crime and Violent Death.” Social Science History Association
        convention in Minneapolis, Nov. 2-5, 2006

        “Big Social Science: What Could We Learn about Violent Crime If We Had
        Enough Money to Study It Properly? Possibilities for Collaborative Research
        Projects,” Social Science History Association, Portland, Oregon, November 3-6,
        2005


  Reviews

        T. Cole Jones, Captives of Liberty: Prisoners of War and the Politics of
        Vengeance in the American Revolution (American Historical Review, 2021).

        Chris Murphy, The Violence Inside Us: A Brief History of an Ongoing American
        Tragedy (Criminal Law and Criminal Justice Books, 2020).

        Jeffrey S. Adler, Murder in New Orleans: The Creation of Jim Crow Policing.
        (Punishment and Society, 2020).

        Heidi J. Osselaer, Arizona’s Deadliest Gunfight: Draft Resistance and Tragedy at
        the Power Cabin, 1918. (Western Historical Quarterly, 2020).
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       Iain McGilchrist, The Master and His Emissary: The Divided Brain and the
       Making of the Western World. (Journal of Interdisciplinary History, 2011).

       Heather Cox Richardson, Wounded Knee: Party Politics and the Road to an
       American Massacre. (Journal of the Civil War Era, 2011).

       Bill Neal, Sex, Murder, and the Unwritten Law: Gender and Judicial Mayhem,
       Texas Style. (New Mexico Historical Quarterly, 2010).

       Gordon Morris Bakken and Brenda Farrington, Women Who Kill Men: California
       Courts, Gender, and the Press. (Pacific Northwest Quarterly, 2010).

       Jack D. Marietta and Gail S. Rowe, Troubled Experiment: Crime, Justice, and
       Society in Pennsylvania, 1682-1800. (William and Mary Quarterly, 2010).

       Mark R. Pogrebin, Paul B. Stretesky, and N. Prabha Unnithan, Guns, Violence,
       and Criminal Behavior: The Offender’s Perspective. (Criminal Justice Review,
       2010)

       Nicole Rafter, The Criminal Brain: Understanding Biological Theories of Crime.
       (Journal of Interdisciplinary History, 2009.)

       Laura Browder, Her Best Shot: Women and Guns in America (Winterthur
       Portfolio 2007).

       Paul M. Searls, Two Vermonts: Geography and Identity, 1865-1910 (Vermont
       History, 2006).

       Anu Koskivirta, The Enemy Within: Homicide and Control in Eastern Finland in
       the Final Years of Swedish Rule, 1748-1808 (English Historical Review 2005).

       Irene Quenzler Brown and Richard D. Brown, The Hanging of Ephraim Wheeler:
       A Story of Rape, Incest, and Justice in Early American (H-SHEAR, 2003).

       T. D. S. Bassett, The Gods of the Hills (New England Quarterly, 2001).

       Karen Halttunen, Murder Most Foul: The Killer and the American Gothic
       Imagination (H-SHEAR, 1999).

       Charles E. Clark, The Meetinghouse Disaster (Journal of American History,
       1999).

       Nicholas N. Kittrie and Eldon D. Wedlock, Jr., The Tree of Liberty: A
       Documentary History of Rebellion and Political Crime in America (Journal of the
       Early Republic, 1998).
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       Robert E. Shalhope, Bennington and the Green Mountain Boys: The Emergence
       of Liberal Democracy in Vermont, 1790-1850 (Reviews in American History,
       1997).

       Daniel Doan, Indian Stream Republic: Settling a New England Frontier (Journal
       of the Early Republic, 1997).

       Thomas H. Jeavons, When the Bottom Line is Faithfulness: Management of
       Christian Service Organizations (American Historical Review, 1996).

       N. Prabha Unnithan, The Currents of Lethal Violence: an Integrated Model of
       Suicide & Homicide (Justice Quarterly, 1995).

       Edward Jarvis, Traditions and Reminiscences of Concord, Massachusetts,
       1779-1878 (Journal of the Early Republic, 1995).

       Charles Hoffman and Tess Hoffman, Brotherly Love: Murder and the Politics of
       Prejudice in Nineteenth-Century Rhode Island (American Historical Review,
       1994).

       Richard Bushman, The Refinement of America: Persons, Houses, Cities
       (Pennsylvania History, 1994).

       Michael Bellisiles, Revolutionary Outlaws: Ethan Allen and Vermont's Struggle
       for Independence (William and Mary Quarterly, 1994).

       David G. Hackett, The Rude Hand of Innovation: Religion and Social Order in
       Albany, New York, 1652-1836 (American Historical Review, 1992).

       Nat Brandt, The Congressman Who Got Away With Murder (New York History,
       1992).

       Tamara Plakins Thornton, Cultivating Gentlemen: The Meaning of Country Life
       Among the Boston Elite, 1785-1860 (American Historical Review, 1991).

       George M. Thomas, Revivalism and Cultural Change: Christianity, Nation
       Building, and the Market in the Nineteenth-Century United States (Pennsylvania
       History, 1991).

       Richard D. Brown, Knowledge is Power: The Diffusion of Information in Early
       America, 1700-1865 (The History of Education Quarterly, 1990).

       William J. Gilmore, Reading Becomes a Necessity of Life: Material and Cultural
       Life in Rural New England, 1780-1865 (Vermont History, 1990).
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         Ruth Alden Doan, The Miller Heresy, Millennialism, and American Culture
         (Journal of the Early Republic, 1988).

         William Lynwood Montell, Killings: Folk Justice in the Upper South
         (International Journal of Oral History, 1987).

         David R. Kasserman, Fall River Outrage: Life, Murder, and Justice in Early
         Industrial New England (Journal of American History, 1987).

         Robert J. Wilson III, The Benevolent Diety: Ebenezer Gay and the Rise of
         Rational Religion in New England (New England Quarterly, 1985).


  Languages

         German
         Spanish
         French (reading)


  Quantitative Skills

         Probability and Statistics (including econometric techniques of political analysis,
         exploratory data analysis, and log-linear and logit analysis)
         Calculus and Analytical Geometry
         Linear Algebra and Nonlinear Dynamics
         Differential and Series Equations
         Abstract Algebra
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                                       Teaching

        Graduate

        History 7000         Topics in American History to 1877
        History 7003         Readings in the Early Republic and Antebellum America
        History 7650         Studies in World History
        History 7900         Colloquium in the Philosophy of History, Historiography,
                             and the Historian's Skills
        History 8000         Seminar in Early American History

        Undergraduate

        History 2001         American Civilization, 1607-1877 (and Honors)
        History 2015         History of American Criminal Justice
        History 2650         World History since 1914
        History 2800         Introduction to Historical
        History 3164         World History since 1914: Readings
        History 3193         Individual Studies / Research Internships in History
        History 3700         American Environmental History
        History 4650         History of Violence: Readings in World / Global /
                             Transnational History
        History 4675         Global History of Violence: Research Seminar
        History 5900         Introduction to Quantitative Methods in History

        History 598          Religious and Reform Movements (Senior Colloquium)
        History 598          Research Seminar on Violent Crime and Death in the U.S.
        History 557.02       Jeffersonian and Jacksonian Democracy, 1800-1840
                             Thought
        History 282          American Religious History


  Publications on Teaching

        Founder and contributor to Retrieving the American Past, Department of History
        and Pearson Publishing, a flexible, problem-oriented publication for teaching
        classes in American History. Author of modules on “Violent Crime in Early
        America,” “Marriage in Colonial America,” and “Growing Up in Nineteenth-
        Century America.”

  Ph.D Students Supervised

        Daniel Vandersommers, “Laboratories, Lyceums, and Lords: Zoos, Zoology, and
        the Transformation of Humanism in Nineteenth-Century America,” August 2014.
        Recipient of a Presidential Fellowship, 2013-2014, the most prestigious
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        University fellowship for senior graduate students. Assistant Professor of History,
        University of Dayton.

        Michael Alarid, ““Caudillo Justice: Intercultural Conflict and Social Change in
        Santa Fe, New Mexico, 1837-1853,” June 2012. Assistant Professor of History,
        University of Nevada at Las Vegas.

        Matthew Foulds, “Enemies of the State: Methodists, Secession and Civil War in
        Western Virginia, 1844-1865,” December 2011. Former Assistant Professor of
        History, Shepherd University

        Jeanette Davis Mantilla, “Hush, Hush Miss Charlotte: Twenty-Five Years of Civil
        Rights Struggles in San Francisco, 1850-1875,” April 2000. Administrator in
        Charter School Division of the Department of Education, State of Ohio

        Ken Wheeler, “The Antebellum College in the Old Northwest: Higher Education
        and the Defining of the Midwest,” January 1999. Professor of History, Reinhardt
        College. Author of Cultivating Regionalism: Higher Education and the Making of
        the American Midwest (Northern Illinois University Press, 2011)

        Ross Bagby, “The Randolph Slave Saga.” July 1998. Librarian and independent
        scholar

        Marianne Holdzkom, “Parody and Pastiche Images of the American Revolution in
        Popular Culture, 1765-1820,” May 1995. Professor of Social and International
        Studies, Southern Polytechnic State University

        David Thomas, “Religion in the Far West: Oregon’s Willamette Valley, 1830-
        1850,” November 1993. Professor of History, Union College


  Recent Senior Honors Thesis Students Supervised (recently)

        Maggie Seikel, “The Great Depression in More Ways than One: Why Do
        Americans Commit Suicide More Often during Economic Crises?” (Anticipated
        2021).

        Margo Hertzer, “Police Involved Homicides in Ohio, 1959-1988.” (Anticipated
        2021).

        Laura Janosik, “Homicides Involving Women in Ohio, 1959-1988.” (2020).
        Prospective applicant to graduate school in history.
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       Ben St. Angelo, “How Labor Disputes Led to Violence: Personalities,
       Paternalism, and Power at Republic Steel in Youngstown, Ohio: 1937.” (2017).
       Ph.D. student in History at Ohio State University.

       Sarah Paxton, “The Bloody Ould Sixth Ward: Crime and Society in Five Points,
       New York” (2012). Ph.D. candidate in criminal justice history J.D. candidate at
       the Moritz School of Law at Ohio State University (twin degree program).

       Kristen Gaston, “Restoration of the Cuyahoga River” (2012). Ph.D. candidate in
       Environmental History at the University of Cincinnati.

       Alexandra Finley, “Founding Chestnut Ridge: The Origins of Central West
       Virginia’s Multiracial Community” (2010). Ph.D. candidate in early American
       history at the College of William and Mary. Recipient of the first Annual Prize at
       Ohio State for the outstanding senior honors thesis in the Department of History.
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                                          Service


  Service in Professional Organizations

         2018-present, Allen Sharlin Book Prize Committee, Social Science History
         Association

         2013-present, Grant Review Board, Harry Frank Guggenheim Foundation

         2008-present, Editorial Board, Crime, History, and Societies.

         2011-present, Editorial Board, Homicide Studies.

         2014-2017, Board of Editors, American Historical Review

         2014-15, 2016-17, Program Committee, American Society of Criminology

         2014-2017, Research Awards Committee, Ohio Academy of History.

         2011-2014, Chair, Distinguish Teaching Award Committee, Ohio Academy of
         History

         2010-2011, Allan Sharlin Memorial Prize Committee, Social Science History
         Association

         2010- ,Ohio Violent Death Reporting System Advisory Board

         2010-2013, Advisory Board, Society for Historians of the Early American
         Republic

         2008- , Society for the Scientific Detection of Crime, Columbus, Ohio

         2009-2011, Youth Violence Prevention Advisory Board (Columbus)

         2003, Nominating Committee, Social Science History Association

        2002- , Co-founder and co-director, Historical Violence Database

         1995-1997, ABC-Clio America: History and Life Award Committee,
         Organization of American Historians

        1987-1993, Chair, Methods and Theory Network, Social Science History
        Association
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         1987, Program Committee, Social Science History Association


  Reviews of Manuscripts

         American Historical Review
         Journal of American History
         William and Mary Quarterly
         Journal of the Early Republic
         Social Science History
         Journal of Interdisciplinary History
         Historical Methods
         Journal of Women’s History
         Journal of the Family
         Crime, History, and Societies
         European Journal of Criminology
         American Journal of Sociology
         Sociological Quarterly
         Criminology
         Criminal Justice Review
         Journal of Criminal Law and Criminology
         Law and Social Inquiry
         Homicide Studies
         International Criminal Justice Review
         International Journal of Law, Crime, and Justice
         Law and Society Review
         City and Community
         Eras Review
         Western Historical Quarterly
         Canadian Journal of Sociology
         Journal of the Gilded Age


  Memberships in Professional Organizations (current)

         American Historical Association
         Organization of American Historians
         Social Science History Association
         European Social Science History Association
         American Society of Criminology
         Homicide Studies Working Group
         American Association for the Advancement of Science


  Service at Ohio State University
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       Department

       2006-2010, 2018-present, Undergraduate Placement / Enhancement Officer

       1994-2015, 2018-present, Undergraduate Teaching Committee

       2017-2018, Chair of Grievance Committee

       2015-2017, 1991-1993, Chair of Graduate Studies

       2012-2013, Chair of Undergraduate Studies

       2011-2013, Advisory Committee and Salary Committee

       1987-1991, History Department Promotion & Tenure Committee


       College of Humanities

       2007-2009, Curriculum Committee, College of Humanities

       2002-2005, College of Humanities Computing Advisory Committee

       1996-1997, College of Humanities Committee on the Center for the Study and
       Teaching of Writing, 1996-7; Affiliated Faculty Member, 2000-


       College of Arts and Sciences

       2006-2009, Alternate, Arts and Sciences Faculty Senate

       2006- , Advisory Board, Criminal Justice Research Center, Department of
       Criminology and Sociology

       2004- , Fellow, Center for Law, Policy, and Social Science, Moritz College of
       Law

       2000- , Fellow, Criminal Justice Research Center, College of Social and Behavior
       Sciences


       Graduate School

       2018- , Graduate Awards Review Committee
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         Ohio Department of Higher Education

         2020- , Transfer Assurance Guide Review Panel, Ohio Articulation and Transfer
         Network




  Service at Grinnell College

         Chairman, African-American Studies Committee

         Rosenfield Program on Public Affairs Committee

         Faculty-Trustee Committee


  Community Service

         2001-2008, Chair, Community Services Advisory Commission, City of Dublin:
         advises City Council on all matters concerning utilities, policing, transportation,
         parks, recreation, waste management, etc.,

         2004-present, Green Team, environmental projects volunteer organization, City of
         Dublin

         2003-12, Committee to create an Indian burial mound and pioneer historic park at
         the Wright-Holder earthworks, City of Dublin

         1997-present, Assistant Scoutmaster, Troop 299, Dublin / Citizenship Merit
         Badge Counselor / Eagle Scout Association / Philmont Staff Association /
         Distinguished Service Award, 2014 / Meritorious Service Award, 2006 / Bridge
         Builder Award, 2002

         1997-2003, Good Schools Committee, Dublin City Schools, campaign committee
         for school bond and levy issues

         1995-2005, President, Citizens for Dublin, city-wide association of civic
         association officers and city commission members

         1995-1998, Vice-Chair, Transportation Task Force, City of Dublin

         1995-1997, Community Plan Steering Committee, City of Dublin
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  Randolph Roth                                                                     Page 25


        1988-present, President / Vice President / Trustee, East Dublin Civic Association

        1987-present, Nature Conservancy / Volunteer Service Awards / Volunteer Crew
        Leader


  Outreach / Media Appearances

        Testimony to Oversight Committee of the Ohio Senate, December 22, 2020, on
        so-called “Stand Your Ground” laws.

        B.R.E.A.D. (an interfaith organization dedicated to Building Responsibility
        Equality and Dignity), January 13, 2020, on gun violence in central Ohio.

        Testimony to Federalism Committee of the Ohio House of Representatives, June
        12, 2019, on concealed carry laws.

        Worthington Senior Citizen Center, Inequality in the U.S., April 15, 2019

        Canfield Residence Hall, Discussion of History of Criminal Enterprise in the U.S.
        with Undergraduate Students, April 10, 2019

        “Gun Ownership in Decline,” Columbus Dispatch, December 11, 2017.

        “How the Erosion of Trust Leads to Murders and Mass Shootings,” invited
        editorial, Washington Post, October 6, 2017

        “Mass Murder in American History,” CSpan-3, April 2, 2017

        All Sides with Ann Fisher, WOSU Radio, “Mass Murder and Terrorism,”
        December 9, 2015 and June 13, 2106; “The Recent Rise in Homicide in the
        United States,” March 14, 2017.

        Consultant for the TLC Channel, “Who Do You Think You Are Anyway?” 2013-
        2014

        Appeared on the CSPAN Book Channel on September 1, 2012 (http://www.c-
        span.org/LocalContent/Columbus/)

        Appeared on the History Channel, “Seven Deadly Sins,” January 3, 2009 (A&E
        Home Video)

        “It’s No Mystery: Why Homicide Declined in American Cities during the First
        Six Months of 2009,” History News Network, November 22, 2009
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  Randolph Roth                                                                  Page 26

       (http://cjrc.osu.edu/researchprojects/hvd/AHSV/It's%20No%20Mystery%2011-
       22-2009%205-2010.pdf and
       http://cjrc.osu.edu/researchprojects/hvd/AHSV/It's%20No%20Mystery%20Furthe
       r%20Thoughts%201-1-2010%205-2010.pdf)

       Radley Balko, editor of reason.com, named American Homicide the best book of
       2009 (http://reason.com/archives/2009/12/30/the-year-in-books)

       “American Homicide,” address to Columbus Rotary Club, October 24, 2011

       Radio interviews: Execution Watch with Ray Hill on KPFT Houston, Texas, and
       WPFW Washington, D.C., Nov. 10, 2009; Focus 580 with David Inge, WILL,
       Champaign-Urbana, Illinois, December 7, 2009; RadioWest with Doug Fabrizio,
       KUER and XM Public Radio Channel 133, Salt Lake City, Utah, Dec. 17, 2009;
       The Mark Johnson Show of the Radio Vermont Group, WDEV, Waterbury,
       Vermont, Dec. 30, 2009; The Current with Anna Maria Tremonti on the CBC,
       Toronto, Canada, January 6, 2010; The Marc Steiner Show on WEAA in
       Baltimore, January 26, 2010; by ABC Radio, Sydney, Australia, interviewed on
       March 3, 2010 for broadcast the week of March 8, 2010; by the Extension with
       Dr. Milt Rosenberg on WGN Radio 720 AM Chicago, broadcast December 9,
       2010; the Gil Gross Show, KKSF Radio 910 AM, San Francisco, July 27, 2012;
       and The Marc Steiner Show on WEAA in Baltimore, December 17, 2012;
       American Homicide was the subject of an editorial by op-ed writer Gregory
       Rodriguez in the Los Angeles Times, Sunday, April 12, 2010
       (http://www.latimes.com/news/opinion/commentary/la-oe-rodriguez12-
       2010apr12,0,3217212.column)

       American Homicide was the subject of an editorial by Raina Kelley in Newsweek,
       Nov. 5, 2009 (http://www.newsweek.com/id/221271).
       American Homicide was cited favorably in the New York Times Sunday Magazine
       in an article by Jeffrey Rosen, "Prisoners of Parole," January 10, 2010; and in the
       Washington Post, Nov. 22, 2009

       Newspaper articles: quoted and/or reviewed in the Washington Post, the
       Washington Times, the National Review, the Economist, the Wall Street Journal,
       the Boston Globe, the Chicago Tribune, the San Francisco Chronicle, the Los
       Angeles Times, the New York Times, New York Newsday, the Chronicle of Higher
       Education, and the Columbus Dispatch, which ran a front-page article on Roth’s
       work in a Sunday edition
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                      EXHIBIT “G”




                      EXHIBIT “G”
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                        Expert Report: Historical Gun Laws and Weaponry

                  Prepared for the New Jersey Office of the Attorney General by

                                     Robert J. Spitzer, Ph.D.


                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

  ASSOCIATION OF NEW JERSEY
  RIFLE

  & PISTOL CLUBS, INC., et al.,

         Plaintiffs,
                                             Civil Action No. 3:18-cv-10507
  v.

  PLATKIN, et al.,

       Defendants.

  CHEESEMAN, et al.,

          Plaintiffs,

  v.                                         Civil Action No. 1:22-cv-4360

  PLATKIN, et al.,

       Defendants.

  ELLMAN, et al.,

         Plaintiffs,

  v.                                         Civil Action No. 3:22-cv-04397

  PLATKIN, et al.,

       Defendants.
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        I.        INTRODUCTION

              I have been asked by the New Jersey State Attorney General’s Office to render an

  opinion on the history of firearms restrictions, including those pertaining to fully automatic and

  semiautomatic firearms, ammunition feeding devices, the origins of multi-shot firearms, and the

  historical regulation of other dangerous weapons.


        II.       BACKGROUND AND QUALIFICATIONS

             I am a Distinguished Service Professor of Political Science Emeritus at the State

  University of New York at Cortland and an Adjunct Professor at the College of William and

  Mary School of Law. I was also a visiting professor at Cornell University for thirty years. I

  earned my Ph.D. in Government from Cornell University. I have been studying, teaching, and

  writing about gun policy for over thirty years. My first publication on the subject appeared in

  1985.1 Since then, I have published six books and over one hundred articles, papers, and essays

  on gun policy. My expertise includes the history of gun laws, gun policy in American politics,

  and related historical, legal, political, and criminological issues. My book, The Politics of Gun

  Control, has been in print since its initial publication in 1995. It examines firearms policy in the

  United States through the lenses of history, law, politics, and criminology. The eighth edition of

  the book was published in 2021 by Routledge Publishers. My two most recent books on gun

  policy, Guns across America (Oxford University Press, 2015) and The Gun Dilemma (Oxford

  University Press, 2023), both deal extensively with the study of historical gun laws. I am

  frequently interviewed and quoted in the national and international media on gun-related matters.

  For over twenty years, I have been a member of both the National Rifle Association and of

  Brady (formerly, the Brady Campaign to Prevent Gun Violence). I am being compensated at a

  rate of $500/hour for my work on any written materials, and $750/hour for any testimony in

  connection with this matter. A copy of my curriculum vitae is attached as Exhibit A.

  1
      Robert J. Spitzer, “Shooting Down Gun Myths,” America, June 8, 1985, 468-69.

                                                       1
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        I have been invited to submit written testimony and serve as an expert witness in the

  following cases, in addition to this one: Hanson v. District of Columbia, No. 1:22-cv-02256

  (D.D.C.); Brumback v. Ferguson, No. 22-cv-3093 (E.D. Wash.); Sullivan v. Ferguson, No. 3:22-

  cv-05403 (W.D. Wash.); Miller v. Bonta, No. No. 3:19-cv-1537 (S.D. Cal.); Duncan v. Bonta,

  No. 17-cv-1017 (S.D. Cal.); Fouts v. Bonta, 19-cv-1662 (S.D. Cal.); Rupp v. Bonta, 17-cv-00746

  (C.D. Cal.); Gates et al. v. Polis, No. 1:22-cv-01866 (D. Colo.); Oakland Tactical Supply LLC v.

  Howell Township, No.: 18-cv-13443 (E.D. Mich.); State v. Misch, No. 173-2-19 Bncr (Vt. Super.

  Ct. Bennington County); National Association for Gun Rights, Inc. v. City of Highland Park, 22-

  cv-4774 (N.D. Ill.); National Association for Gun Rights & Capen v. Campbell, No. 22-cv-11431

  (D. Mass.); Abbott et al. v. Connor, No. 20-00360 (D. Haw.); National Association for Gun

  Rights v. Shikada, No. 1:22-cv-00404 (D. Haw.); Santucci v. Honolulu, No. 1:22-cv-00142 (D.

  Haw.); Yukutake v. Shikada, No. 1:22-cv-00323 (D. Haw.); Nat'l Ass'n for Gun Rights v. Lopez,

  No. 1:22-CV-00404 (D. Haw.); Abbot v. Lopez, No. 20-00360 (D. Haw.); Santucci v. City &

  County of Honolulu , No. 1:22-cv-00142 (D. Haw.); Yukutake v. Lopez, No. 1:22-cv-00323 (D.

  Haw.); Baird v. Bonta, 19-cv-00617 (E.D. Cal.); Nichols v. Newsom, 11-cv-9916 (C.D. Cal.);

  Delaware State Sportsmen’s Association, Inc. v. Delaware Department Of Safety And Homeland

  Security, No. 1:22-cv-00951(D. Del.); Mark Fitz, Grayguns, Inc. v. RosenblumNo. 22-cv-01859

  (D. Ore.); Harrel v. Raoul, No. 23-141, (S.D. Ill.); Mitchell, et al. v. Atkins, et al., 19-cv-5106

  (W.D. Wash.); Keneally et al., v. Raoul, et al., 23-cv-50039 (N.D. Ill.); McGregor v. County of

  Suffolk, 2:23-cv-01130 (E.D.N.Y.); Lane v. James, 22-cv-10989 (S.D.N.Y.); Rocky Mountain

  Gun Owners, et. al. v. The Town of Superior, 22-cv-02680 (D. Colo.); Wiese v. Bonta, 17-cv-

  00903 (E.D. Cal.); Harrel v. Raoul, Case No. 23-cv-141-SPM (S.D. Ill.); Langley v. Kelly, No.

  23-cv-192-NJR (S.D. Ill.); Barnett v. Raoul, 23-cv-209-RJD (S.D. Ill.); Federal Firearms

  Licensees of Illinois v. Pritzker, 23-cv-215-NJR (S.D. Ill.); Herrera v. Raoul, 23-cv-532 (N.D.

  Ill.); Banta v. Ferguson, 23-cv-00112 (E.D. Wash.); Hartford v. Ferguson, 23-cv-05364 (W.D.

  Wash.).



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                                  SUMMARY OF OPINIONS
         Gun ownership is as old as America, but so are gun laws. From the 1600s through the

  early twentieth century, the colonies, states and localities enacted literally thousands of gun laws

  of every imaginable variety. In this document, I demonstrate that a specific relationship existed

  between the development of new weapons technologies, their spread into society, and regulation

  by the government as part of a centuries-long effort to protect the public from harm and to

  dampen weapons-related criminality and violence. The pattern of criminal violence and concerns

  for public safety leading to weapons restrictions, as seen in contemporary restrictions on assault

  weapons and large capacity magazines, is not new; in fact, it can be traced back throughout the

  Nation’s history.

         I examine a number of specific examples of weapons that, when they were invented or

  developed and then made their way into civil society, were subject to governmental restriction.

  The examples include restrictions on fully automatic (most famously the Tommy gun) and semi-

  automatic firearms, detachable ammunition feeding devices, both from the early twentieth

  century; analysis of experimental multi-shot firearms dating back several hundred years, and of

  multi-shot firearms that proved more successful, including Colt revolvers and Winchester rifles;

  Bowie and similar long-bladed fighting knives; clubs and other blunt weapons; anti-concealed

  carry laws; and restrictions on “trap guns.”

         Firearms and other dangerous weapons were subject to remarkably strict, consistent, and

  wide-ranging regulation throughout our history when they entered society, proliferated, and

  resulted in violence, harm, or contributed to criminality. This historical record is even more

  remarkable given that the United States was an evolving and developing nation-state that could

  not claim to have reached maturity until the twentieth century. The historical record summarized



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  here makes clear that contemporary restrictions among the states pertaining to assault weapons

  and large capacity ammunition magazines are merely the latest iteration of a centuries-long

  tradition of weapons regulations and restrictions.

  I.      INTRODUCTION
            1.     The current controversy surrounding legislative efforts to restrict assault weapons

  and large capacity magazines (LCMs) has roots in earlier generations. The effort to restrict such

  magazines was sparked in part by a shooting at an elementary school in Stockton, California in

  1989, when a man armed with an AK-47 and a handgun killed five children and wounded thirty-

  three others. The assailant fired a total of 105 rounds in about three minutes from a 75-round

  magazine and a 30-round magazine, both of which he emptied before killing himself.2 Later that

  year, California enacted the first assault weapons ban in the country. New Jersey enacted an

  assault weapons and LCM ban in 1990.3 Five years later, Congress enacted a limited ten year

  assault weapons ban that also included a restriction on ammunition magazines holding more than

  10 rounds.4

            2.     As of this writing, ten states plus the District of Columbia have enacted assault

  weapons and LCM bans, as have various localities around the country.5 These jurisdictions


  2
   “A Report to Attorney General John K. Van de Kamp on Patrick Edward Purdy and the
  Cleveland School Killings,” October 1989, 7-8,
  https://schoolshooters.info/sites/default/files/Purdy%20-%20official%20report.pdf
  3
   See Assault Weapons in New Jersey, GIFFORDS LAW CENTER,
  https://giffords.org/lawcenter/state-laws/assault-weapons-in-new-jersey/ (last visited May 30,
  2023). See also N.J.S.A. 2C:39-1.
  4
      Robert J. Spitzer, The Politics of Gun Control, 8th ed. (NY: Routledge, 2021), 25-26, 205-11.
  5
   Giffords Law Center, Assault Weapons, https://giffords.org/lawcenter/gun-laws/policy-
  areas/hardware-ammunition/assault-weapons/; Robert J. Spitzer, The Gun Dilemma (NY: Oxford
  University Press, 2023), 14–15. The ten American jurisdictions with assault weapons bans are:
  California, Connecticut, Delaware, the District of Columbia, Hawaii, Illinois, Maryland,
  Massachusetts, New Jersey, New York, and Washington State. The Hawaii law applies only to
                                                     4
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  represent approximately 109 million people, or approximately 32.7% of the U.S. population.6

  Fourteen states plus the District of Columbia restrict LCMs.7 These jurisdictions represent more

  than 115 million individuals, or approximately 34.5% of the U.S. population.8

         3.      These recent efforts to restrict assault weapons and LCMs are simply the latest

  chapter in a centuries-long effort to promote public safety, protect the public from harm, and to

  dampen weapons-related criminality. The pattern of criminal violence and concerns for public

  safety leading to weapons restrictions is not new; in fact, it can be traced back to the Nation’s

  beginnings. While the particular weapons technologies and public safety threats have changed


  assault pistols. Illinois enacted its law, including an LCM limit, in early 2023. C. Mandler,
  “Illinois governor signs ban on assault weapons and high-capacity magazines,” CBS News,
  January 10, 2023, https://www.cbsnews.com/news/illinois-governor-signs-ban-on-assault-
  weapons-and-high-capacity-magazines/. The U.S. House of Representatives passed a renewed
  federal assault weapons ban with magazine limitations in 2022 (H.R. 1808, 117th Cong. (2022)).
  Delaware enacted its assault weapons and LCM restrictions in June 2022. See Governor Carney
  Signs Package of Gun Safety Legislation (June 30, 2022),
  https://news.delaware.gov/2022/06/30/governor-carney-signs-package-of-gun-safety-legislation/.
  6
    See U.S. Census, National Population Totals and Components of Change: 2020-2022,
  https://www.census.gov/data/tables/time-series/demo/popest/2020s-national-
  total.html#par_textimage_2011805803 (2022 state population estimates). The total population in
  these jurisdictions is estimated to be 101,000,000 out of a U.S. total of about 333,000,000.
  7
    Giffords Law Center, Large Capacity Magazines, https://giffords.org/lawcenter/gun-
  laws/policy-areas/hardware-ammunition/large-capacity-magazines/; Spitzer, The Gun Dilemma,
  30. The fifteen jurisdictions are California, Colorado, Connecticut, Delaware, the District of
  Columbia, Hawaii, Illinois, Maryland, Massachusetts, New Jersey, New York, Oregon, Rhode
  Island, Vermont, and Washington. With four exceptions (Colorado, Delaware, Illinois, and
  Vermont), all of these restrictions impose a ten-round limit on magazines, as did the 1994 federal
  law. The Illinois and Vermont laws limit magazines for long guns to ten rounds, and handguns to
  fifteen. Colorado law limits all magazines to fifteen rounds. Delaware law limits all magazines to
  seventeen rounds. Litigation challenging most of these assault weapon and LCM restrictions is
  currently pending.
  8
    U.S. Census, National Population Totals and Components of Change: 2020-2022,
  https://www.census.gov/data/tables/time-series/demo/popest/2020s-national-
  total.html#par_textimage_2011805803 (2022 state population estimates). The total population in
  these jurisdictions is estimated to be over 115,000,000 out of a U.S. total of about 333,000,000.
  In 2022, the U.S. House of Representatives passed a renewed nationwide assault weapons ban
  with LCM restrictions. H.R. 1808, 117th Cong. (2022).

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  over time, governmental responses to the dangers posed by certain weapons have remained

  constant. Current restrictions on assault weapons and detachable ammunition magazines are

  historically grounded. They are part of a pattern in America’s history of legislative restrictions

  on particular weapons stretching back centuries.

         4.      In order to understand this pattern, this document begins with a detailed and

  instructive examination of the wide-ranging restrictions that accompanied the introduction of

  fully automatic and semi-automatic weapons into civilian circulation in the early 1900s. It then

  reaches back several centuries to examine pre-twentieth century firearms technologies,

  incorporating a lengthy list of experimental multi-shot failures, leading to the eventually

  successful Colt-type revolver and Winchester-type rifle. Before leaving the subject of multi-shot

  weapons, the section concludes with clarifications about the contemporary assault weapons

  debate. This document next turns to historical restrictions on fighting knives, blunt clubs and

  similar weapons, pistols, and trap guns. All follow a remarkably similar and consistent regulatory

  pattern, culminating in recent developments that also punctuate the relationship between

  weapons development, their spread into society, and subsequent legal restrictions.

  II.   REGULATORY HISTORY OF FULLY AUTOMATIC AND SEMI-AUTOMATIC
        FIREARMS
         5.      A clear example of this historical pattern is provided by early twentieth-century

  restrictions related to fully automatic and, in some cases, semi-automatic firearms. While

  weapons capable of firing rounds in rapid succession can be traced to guns of the late nineteenth

  and early twentieth centuries, like the hand-cranked, multi-barreled Gatling gun which could fire

  up to 200 rounds per minute,9 it and its successors were military weapons designed to be used in


  9
   The Gatling gun, a manually operated, hand-cranked machine gun, was adopted by the U.S.
  Army in 1866, and was utilized in warfare against Native Americans and in the Spanish-
                                                   6
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  combat and fired from a tripod or similar supporting apparatus, owing to the Gatling gun’s size

  and weight. Strictly speaking, guns like the Gatling gun were not fully automatic as they did not

  fire a continuous stream of bullets while depressing a gun trigger. The development of a fully

  automatic machine gun for battlefield use, capable of firing all of its rounds from a single barrel

  and with a single trigger pull, came to fruition during World War I. These tripod-mounted

  military guns, like the Maxim, operated to devastating effect on the battlefield. They initially

  fired 200-400 rounds per minute but later 400-600 rounds per minute from a gun weighing

  roughly 100 pounds.10 Because their use and suitability were limited to military settings, there

  was no need to regulate these weapons among the civilian population.

         6.      Out of World War I came a practical, lighter-weight, reliable, hand-held, fully

  automatic weapon: the Thompson submachine gun, widely known as the Tommy gun. Though

  it was developed for use in World War I as “purely a military weapon,”11 it came too late in the

  war to have much effect. Its inventor, John Thompson, patented his .45 caliber gun in 1920.12

  The Tommy gun was initially unregulated after World War I and was made available for civilian



  American War of 1898. Richard W. Stewart, American Military History, Vol. I: The U.S. Army
  and the Forging of a Nation, 1775-1917 (Washington, D.C.: Center of Military History, 2008),
  367-68; “Gatling Gun,” History.com, September 9, 2021,
  https://www.history.com/topics/american-civil-war/gatling-gun.
  10
     Donald M. Snow and Dennis M. Drew, From Lexington to Desert Storm: War and Politics in
  the American Experience (Armonk, NY: M.E. Sharpe, 1994), 127; “How the Machine Gun
  Changed Combat During World War I,” Norwich University Online, October 15, 2020,
  https://online.norwich.edu/academic-programs/resources/how-machine-gun-changed-combat-
  during-world-war-i.
  11
    William J. Helmer, The Gun That Made the Twenties Roar (Highland Park, NJ: The Gun
  Room Press, 1969), 75.
  12
     Matthew Moss, “From Gangland to the Battlefield — 15 Amazing Facts About the Thompson
  Submachine Gun,” Military History Now, January 16, 2015,
  https://militaryhistorynow.com/2015/01/16/from-gangland-to-the-battlefield-15-amazing-facts-
  about-the-thompson-submachine-gun/.

                                                   7
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  purchase in order to try to boost anemic sales, typically with either a 20–30 round stick magazine

  or a 100-round drum magazine (though the Tommy gun could also fire in semi-automatic

  fashion13). The U.S. military showed little interest in acquiring the weapon, as the military

  largely demobilized and contracted sharply in size after the war.14 It was only at this point—in

  the early 1920s—that such hand-held weapons operated reliably, were made available to

  civilians, and began to circulate in society,15 though sales in the early 1920s were sluggish. By

  1925, Thompson’s marketing company, Auto Ordnance, had sold only about 3,000 of the 15,000

  it had manufactured up to this point, including to police forces and individuals.16 This pattern of

  anemic sales typified the gun’s commercial trajectory: “Despite its initial publicity and later

  notoriety, the Thompson submachine gun was a failure from the start.”17 This was especially true

  for police forces, to whom Thompson and his company marketed the gun aggressively, even

  when criminals found the gun appealing. “As a criminal’s weapon, the Tommy gun was an

  unqualified success. As a police weapon, it was such a flop that many law-enforcement officials

  wished sincerely that it has never come off the drawing board.”18 For example, after the 1929 St.

  Valentine’s Day massacre, a representative of Auto-Ordnance visited Chicago police captain


  13
       Helmer, The Gun That Made the Twenties Roar, 137.
  14
    John Ellis, The Social History of the Machine Gun (NY: Pantheon, 1975), 149–52; Helmer,
  The Gun That Made the Twenties Roar, 161-64.
  15
    Peter Suciu, “The Thompson Submachine Gun: Made for the U.S. Postal Service?” The
  National Interest, July 3, 2020, https://nationalinterest.org/blog/reboot/thompson-submachine-
  gun-made-us-postal-service-164096.
  16
    Lee Kennett and James LaVerne Anderson, The Gun in America (Westport, CT: Greenwood
  Press, 1975), 203. Helmer confirms the number of 3000 guns sold by 1925. The Gun That Made
  the Twenties Roar, 74. Helmer says that “sales declined steadily” after 1921; see 130.
  17
       Helmer, The Gun That Made the Twenties Roar, 129.
  18
    Helmer, The Gun That Made the Twenties Roar, 126. Helmer quotes numerous police officials
  denouncing the weapon as useless for the police; see 126-28.

                                                   8
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  John Stege to offer assistance. Captain Stege “practically ran him out of the office. . . .It was

  Stege’s opinion that not even the police should be armed with machine guns,” an opinion shared

  “by many other lawmen in the country.”19 Another police chief explained why: “It is not possible

  for a police officer to open a machine gun up on a crowded street . . . because you are going to

  kill possibly ten innocent people to one criminal.”20 Poor military and law enforcement sales

  forced the company to “peddle the new gun in peacetime” by trying “to think up something else

  it might be good for.” Their conclusion was to market the gun as “good for anything.”21

           7.     After 1926, sales began to rise, primarily because of newfound interest by the

  American military, which started to use the weapon in foreign military operations especially in

  Nicaragua, and by the Belgian military.22 In 1930, the Auto-Ordnance company closed down its

  sales department because of escalating concerns about its weapons falling into criminal hands,

  and the attendant bad publicity. All commercial sales were discontinued except to the military

  and law enforcement.23 The result was that by 1932, sales had fallen to fewer than ten per

  month. Through 1938, the company reported total sales of 10,300. The company’s revival came

  thanks to World War II.24




  19
       Helmer, The Gun That Made the Twenties Roar, 126.
  20
    Helmer, The Gun That Made the Twenties Roar, 126. The gun’s rare actual use confirmed this
  fear. In an attack on John Dillinger, for example, FBI agents “mistakenly shot three innocent
  customers.” (128).
  21
       Helmer, The Gun That Made the Twenties Roar, 75.
  22
       Helmer, The Gun That Made the Twenties Roar, 130-45.
  23
       Helmer, The Gun That Made the Twenties Roar, 143-44.
  24
       Helmer, The Gun That Made the Twenties Roar, 167-79.

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           8.     Before the early 1920s, these fully automatic weapons were unregulated for the

  obvious reason that they did not exist or were not circulating widely in society. When they did

  begin to circulate, however, their uniquely destructive capabilities rapidly became apparent,

  especially to the emergent Prohibition-fueled gangster organizations of the 1920s. Another

  automatic weapon developed for World War I was the Browning Automatic Rifle (BAR). It

  fired a .30-06 caliber round, could receive a 20-round box magazine, and could fire up to 650

  rounds per minute. The BAR first appeared on the battlefield in 1918.25 It was “a heavy

  machine rifle weighing nearly twenty pounds with bipod and loaded magazine. . . .”26 It, too,

  made its way into civilian life and found favor among criminals and gangsters in the 1920s and

  early 1930s.27 Guns like the Tommy gun and the BAR were actually used relatively infrequently

  by criminals generally, but when they were used, they exacted a devastating toll and garnered

  extensive national attention, such as their use in the infamous St. Valentine’s Day massacre in

  Chicago in 1929.28

           9.     I conducted a search of Newspapers.com from 1920-1930 using the search terms

  “Tommy Gun,” “Thompson submachine” and “machine gun.” The term Tommy Gun turned up

  essentially no hits until 1928, a clear indication that this particular term did not come in to wide


  25
     Paul Richard Huard, “Browning Automatic Rifle: The Most Dangerous Machine Gun Ever?”
  The National Interest, November 19, 2019, https://nationalinterest.org/blog/buzz/browning-
  automatic-rifle-most-dangerous-machine-gun-ever-97662; “Browning automatic rifle,”
  Britannica, September 8, 2022, https://www.britannica.com/technology/Browning-automatic-
  rifle.
  26
       Helmer, The Gun That Made the Twenties Roar, 37.
  27
    Derek Avery, Firearms (Hertfordshire, England: Wordsworth Editions, 1995), 12. The BAR
  was a favorite of the notorious outlaws Bonnie and Clyde, for example. Christian Oord, “The
  Weapons of Bonnie & Clyde & the Guns That Stopped Them,” War History Online, April 26,
  2019, https://www.warhistoryonline.com/history/weapons-of-bonnie-and-clyde.html?A1c=1.
  28
    Chris McNab, Deadly Force: Firearms and American Law Enforcement (NY: Osprey
  Publishing, 2009), 97–98.

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  use until fairly late in the decade. The search for machine gun turned up more, but many of them

  referenced the weapons owned or used by the military (including many stories about World War

  I). The search for Thompson submachine was much more successful, yielding many articles

  from across the country. Starting in the fall of 1920, a few newspaper articles described regular

  reports of demonstrations of the gun for police and other government officials and agencies, and

  reports of local police forces sometimes purchasing a few of the guns. Reports of demonstrations

  of the gun to police forces and other state and local officials and also of some purchases

  appeared regularly starting in 1921, and continued throughout the 1920s, as did numerous

  articles describing the gun’s development and capabilities by inventor John Thompson. These

  articles also reprinted standard accounts of the Tommy gun’s weight, size, firing capabilities and

  possible uses by law enforcement. Despite this degree of coverage, however, relatively few of

  the guns were actually purchased in the 1920s, as noted earlier.

         10.     To cite a few examples of early news coverage, an account in the Western

  Sentinel29 from December 3, 1920 reported on a demonstration of the Tommy gun, saying that it

  weighed about seven pounds, fired .45 caliber rounds, could fire up to 1500 rounds per minute,

  could receive a box magazine holding 20 rounds, or a drum magazine with either 50 or 100

  rounds. It went on to say that the gun was “without equal for riot use and for the police chasing

  thieves and other lawbreakers who attempt to escape in automobiles, for with this little weapon it

  is a very easy thing to rip the tires off of an escaping car, and the gun is so light and simple that

  an inexperienced man can fire with the effect of an expert marksman and moving targets can be

  hit with the ease that a fireman sprays a hose or on flame.” Other articles touted the gun’s


  29
     “New Type of Gun is Demonstrated Here,” Winston-Salem, North Carolina;
  https://www.newspapers.com/image/89498556/?terms=%22Thompson%20submachine%22&ma
  tch=1

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  usefulness in controlling riots and mobs. An account from the Jamestown Weekly Alert30

  reported that state and county officials were provided with ten of the guns for “hunting down

  whiskey runners in the northern part of the state.”

           11.    Starting in roughly late 1921 and early 1922, a handful of small news items

  reported thefts of Tommy guns from armories or police stations. The one notable crime-related

  case to receive enormous press attention was a major seizure of about 600 Tommy guns with

  ammunition and magazines, first reported about June 16, 1921, from a ship docked at the port of

  Hoboken, N.J. bound for Ireland for use by the IRA in the ongoing Irish rebellion (Ireland won

  its independence from Britain in 1922).31

           12.    Newspaper reports of criminal use of Tommy guns were few, small, and spare

  until 1926, when a few very sensational news reports of their criminal use received widespread

  and extensive attention in newspapers across the country. Most of these initial stories were

  reports of Chicago gangster use (notably one “Al Caponi” in an early account) along with stories

  from the New York City-New Jersey area. For example, an AP story from October 16, 1926 with

  the dateline Somerville, N.J. reported on “the advance of 500 city, state and volunteer police on

  the mountain stronghold of New Jersey’s machine gun mail bandits.”32 According to the account,

  eight men robbed a truck of over $100,000 and were holed up at the stronghold. The authorities




  30
     “New Submachine Guns Received,” Jamestown, North Dakota, May 12, 1921;
  https://www.newspapers.com/image/465633429/?terms=%22Thompson%20submachine%22&m
  atch=1
  31
       Helmer, The Gun That Made the Twenties Roar, 53-61.
  32
     “Use Expert Riflemen to Hunt Robbers,” Ithaca Journal, N.Y.,
  https://www.newspapers.com/image/254505945/?terms=%22Thompson%20submachine%22&m
  atch=1

                                                  12
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  were also armed with weapons that included machine guns, and were contemplating the

  expansion of the search party with 2000 militiamen.

         13.     Coinciding with these extensive stories were articles, editorials, and exposés

  calling for changes in the law to address this growing gun crime problem. For example, an article

  from the Boston Herald33 began by quoting a magazine story from Collier’s Weekly that

  observed: “The police authorities are powerless to interfere with the sale and distribution of the

  highest powered instrument of destruction that has yet been placed at the convenience of the

  criminal element in this country.” The Herald sent out a man to see if an average person could

  buy a machine gun “without trouble.” The buyer’s conclusion: “He had no trouble” purchasing

  the gun, which the article labeled “a diabolical engine of death.” The article detailed that for the

  prospective gun purchaser, “Pistols would not be shown unless the customer exhibited a permit,

  but machine guns could be had over the counter with no such formalities.” The article concluded

  this way: “Here is a case where it seems that ‘there ought to be a law.’ This weapon. . . was

  designed for war. . . .a machine gun is the greatest aid to crime that yet has been placed within

  the reach of criminals.”

         14.     Reports and exposés, juxtaposed with lurid and sensational accounts of Tommy

  gun criminality, built pressure on the states to enact anti-machine gun laws, (at least 32 states did

  so between 1925 and 1933; see Exhibits B and D) and Congress was also pressured to act. A

  long-stalled bill in Congress to restrict the interstate shipment of guns received renewed interest

  and support in 1926, eventually leading to congressional enactment of the Mailing of Firearms

  Act of 1927, a limited measure that failed to restrict interstate handgun shipment because it did


  33
     “Machine Guns for All,” Kennebec Journal, Augusta, Maine, December 4, 1926,
  https://www.newspapers.com/image/857617757/?terms=%22Thompson%20submachine%22&m
  atch=1

                                                   13
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  not affect non-Postal Service shipments. From 1926 on, news stories were filled with the kind of

  sensational gangster-related stories that led to the Tommy gun being labeled the weapon that

  “made the Twenties roar,” and that also led to many anti-machine gun laws. For example, an

  article dated November 27, 192834 reported that “Chicago’s war on gangsters and racketeers was

  reopened tonight with the drafting of a law to prohibit the sale of machine guns. ‘Tommy guns,’

  the bullet spitting little Thompson submachine guns which are inseparable from gang fights,

  bank robberies, assassinations and other major crimes. . .could be purchased as easily and legally

  in Chicago as a pound of meat. . . .practically every sporting goods establishment in Chicago

  carried the firearms and sold them readily. State Senator Arthur Huebsch will introduce the bill.”

  (Illinois adopted an anti-machine gun law in 1931.35)

           A. State-Level and Nationwide Attempts to Regulate Automatic and Semi-
              Automatic Firearms in the Early Twentieth Century

           15.    In response to the wider availability of firearms like the Tommy gun and the

  BAR, between 1925 and 1934, at least 32 states enacted anti-machine gun laws (see Exhibits B

  and D). These state (and eventually federal) enactments were anticipated, justified, and

  promoted by the National Conference of Commissioners on Uniform State Laws, a national

  organization formed in 1892 to provide “non-partisan, well-conceived and well-drafted

  legislation that brings clarity and stability to critical areas of state statutory law.”36 (Today, the

  organization is known as the Uniform Law Commission.) In 1923, the Commission organized a




  34
     “Machine Gun Ban Plan of Chicago,” The Salt Lake Tribune,
  https://www.newspapers.com/image/542285510/?terms=%22Thompson%20submachine%22&m
  atch=1
  35
     Former Ill. Rev. Stat. ch. 38, ¶¶414a to 414g, “An Act to regulate the sale, possession and
  transportation of machine guns,” approved July 2, 1931.
  36
       Uniform Law Commission, About Us, https://www.uniformlaws.org/aboutulc/overview.

                                                    14
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  special committee to draft a “Uniform Act to Regulate the Sale and Possession of Firearms.” In

  1928, it issued a model law calling for the prohibition of the possession of “any firearm which

  shoots more than twelve shots semi-automatically without reloading.”37 In 1930, it issued a

  model firearms act focusing on “guns of the pistol type.” In 1932, it issued a model act

  “intended not only to curb the use of the machine gun, but to make it unwise for any civilian to

  possess one of the objectionable type.” The Commission explained that, between 1923 and

  1930, “the infant industry of racketeering grew to monstrous size, and with it the automatic pistol

  replaced the revolver, to be in turn displaced by a partly concealable type of machine gun—the

  Thompson .45 inch caliber submachine gun becoming most popular. . . .”38

            16.    Congress enacted a machine gun ban for the District of Columbia in 1932 which

  defined a machine gun as “any firearm which shoots automatically or semiautomatically more

  than twelve shots without reloading.”39 The National Rifle Association endorsed D.C.’s ban,

  stating “it is our desire [that] this legislation be enacted for the District of Columbia, in which

  case it can then be used as a guide throughout the states of the Union.”40 In his testimony before

  Congress in 1934 on the bill that became the National Firearms Act, NRA vice president Milton

  A. Reckord extolled his organization’s role in passing the 1932 D.C. law, saying, “. . . the




  37
   Report of Firearms Committee, 38th Conference Handbook of the National Conference on
  Uniform State Laws and Proceedings of the Annual Meeting 422–23 (1928).
  38
     “Uniform Machine Gun Act,” National Conference of Commissioners on Uniform State Laws,
  Forty-Second Annual Conference, Washington, D.C., October 4-10, 1932,
  http://www.titleii.com/bardwell/1932_uniform_machine_gun_act.txt.
  39
    “Hearings Before the Committee on Ways and Means, National Firearms Act, H.R. 9066,”
  U.S. House of Representatives, April 16, 18, May 14, 15, and 16, 1934 (Washington, D.C.: GPO,
  1934), 45; 47 Stat. 650, ch. 465, §§ 1, 14 (1932).
  40
       S. Rep. No. 72-575, at 5–6 (1932).

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  association I represent is absolutely favorable to reasonable legislation. We are responsible for

  the uniform firearms act. . . . in the District of Columbia. It is on the books now.”41

            17.    In 1934, Congress enacted the National Firearms Act, which imposed a series of

  strict requirements on the civilian acquisition and general circulation of fully automatic weapons,

  like the Tommy gun. The National Firearms Act imposed a tax on the manufacture, sale, and

  transfer of listed weapons, including machine guns, sawed-off shotguns and rifles, silencers, and

  “any other weapons” with certain firing capabilities. Such weapons had to be registered with the

  Treasury Department, and the owners fingerprinted and subject to a background check, with the

  payment of a $200 tax.42 The early models of the Tommy gun could fire “an astounding 1,500

  rounds per minute. A Tommy gun could go through a 100-round drum magazine in four

  seconds. Later versions fired 600 to 700 rounds per minute.”43

            18.    In his opening statement to the Ways and Means Committee of the U.S. House of

  Representatives, Attorney General Homer Cummings made clear that the bill under

  consideration was designed to fight the epidemic of gun crime where criminals could evade

  capture by crossing state lines:

            The development of late years of the predatory criminal who passes rapidly from State to
            State, has created a situation which is giving concern to all who are interested in law and
            order. . . . there are more people in the underworld today armed with deadly weapons, in
            fact, twice as many, as there are in the Army and the Navy of the United States
            combined. . . . In other words, roughly speaking, there are at least 500,000 of these
            people who are warring against society and who are carrying about with them or have
            available at hand, weapons of the most deadly character.44

  41
       “Hearings Before the Committee on Ways and Means,” 36.
  42
       48 Stat. 1236.
  43
       Moss, “From Gangland to the Battlefield.”
  44
     “Hearings Before the Committee on Ways and Means,” 4. The version of the bill that appears
  on page 1 of the Hearings had this definition of machine gun: “The term ‘machine gun’ means
  any weapon designed to shoot automatically or semiautomatically twelve or more shots without
  reloading.”

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            19.     As one member of the committee observed, “The question in my mind and I think

  in the majority of the committee is what we can do to aid in suppressing violations by such men

  as [John] Dillinger and others.”45

            20.     To address the problem, the original version of the bill proposed regulating both

  semi-automatic and fully automatic firearms, as it defined restricted machine guns as did the

  1932 D.C. law, with its emphasis on outlawing guns that could fire rapidly and repetitively

  without reloading, whether semi-automatically or fully automatically: “The term ‘machine gun’

  means any weapon designed to shoot automatically or semiautomatically 12 or more shots

  without reloading.”46 The final version of the bill limited restrictions to fully automatic firearms.

            21.     In addition to the National Firearms Act’s restrictions on fully automatic

  weapons, during this same time period at least seven states plus the District of Columbia, and as

  many as ten states plus D.C., enacted laws restricting semi-automatic weapons (see Exhibit B).47

  The reason for restricting semi-automatic firearms is not hard to discern. These restrictions all

  appeared in the same statutes as those restricting fully automatic weapons, which utilize the same

  fundamental firearms technology: an action that automatically loads a new round into the

  chamber after each shot is fired, potentially with the use of detachable ammunition magazines or

  similar feeding devices, and is capable of firing numerous rounds without reloading.48 During


  45
       “Hearings Before the Committee on Ways and Means,” 42.
  46
       Ibid., 52.
  47
    See also Robert J. Spitzer, “Gun Law History in the United States and Second Amendment
  Rights,” Law and Contemporary Problems 80 (2017): 68–71. The language of the restrictions in
  Louisiana, Illinois, and South Carolina was ambiguous regarding whether they applied to semi-
  automatic weapons.
  48
    Spitzer, The Gun Dilemma, 32–33. In 1913, Florida enacted this measure: “It shall, at any
  time, be unlawful to hunt game in Marion County with guns—known as Automatic guns.”
  While an automatic weapon fires a continuous stream of bullets when the trigger is depressed, a
                                                     17
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  the time that Thompson and his company were developing and marketing the Tommy gun

  (which could fire in semi- or full-auto modes49), they were also developing the Thompson

  Autorifle, a “strictly semiautomatic rifle” for which the military showed greater interest than it

  did for the Tommy gun.50 The Autorifle was also promoted to police and military organizations,

  though it was overshadowed by the Tommy gun.51

           22.    As the prior discussion reveals, the regulation of automatic and semi-automatic

  weapons in the 1920s and 1930s was closely tied to the enhanced firing capacity of these

  weapons and the attractiveness (and use) of these weapons by criminals at that time, and the

  related understanding that these weapons had no justifiable civilian use. By that time, gun

  technology was now available that made it possible for ammunition to be reliably fired in rapid

  succession and guns to be reloaded through interchangeable ammunition magazines or similar

  devices. Again, the lesson is the same: once these technologies began to spread in civil society

  and be used for criminal or other dangerous purposes, and because of the belief that it was

  “unwise for any civilian to possess” such weapons,52 regulatory efforts ensued. In sections to

  come I examine the first successful multi-shot revolvers and multi-shot rifles.

           B. State Regulation of Ammunition Feeding Devices

           23.    Restrictions on fully automatic and semi-automatic firearms were closely tied to

  restrictions on ammunition magazines or their equivalent, as both automatic and semi-automatic



  semi-automatic weapon fires a single shot with each pull of the trigger.
  49
       Helmer, The Gun That Made the Twenties Roar, 48-49, 255-56.
  50
       Helmer, The Gun That Made the Twenties Roar, 37, 50.
  51
    Helmer, The Gun That Made the Twenties Roar, 161. Ultimately, the military opted for the
  semiautomatic M1 Garand over the Autorifle.
  52
       “Uniform Machine Gun Act.”

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  weapons are predicated on some kind of mechanical loading function or device that

  automatically feeds new rounds into the firing chamber after the previous round is fired. As is

  the case with contemporary state limitations on ammunition magazine capacity, state laws

  enacted early in the twentieth century imposed restrictions based on the number of rounds that

  could be fired without reloading, ranging from more than one (Massachusetts and Minnesota) up

  to a high of eighteen (Ohio). As discussed elsewhere in this document, removable magazines

  were not subject to regulation before this time because those that did exist were a rarity in

  society and had not played any appreciable role in prodding civil disorder in civil society.

            24.    Magazine capacity/firing limits were imposed in three categories of state laws

  (see Table 1 below): ten states plus the District of Columbia regulating semi-automatic and fully

  automatic weapons (California, District of Columbia, Massachusetts, Michigan, Minnesota, New

  Jersey, North Carolina, Ohio, Rhode Island, South Dakota, and Virginia53); eleven states

  regulated fully automatic weapons only, where the regulation was defined by the number of

  rounds that could be fired without reloading or by the ability to receive ammunition feeding

  devices (Illinois, Louisiana, Minnesota, New Jersey, North Dakota, Oregon, Pennsylvania, South

  Carolina, Texas, Vermont, and Wisconsin54); and four states restricted all guns that could receive


  53
     1933 Cal. Stat. 1169; Act of July 8, 1932, ch. 465, §§ 1, 8, 47 Stat. 650, 650, 652 (District of
  Columbia); Act of July 2, 1931, 1931 Ill. Laws 452, 452; 1927 Mass. Acts 413, 413-14; Act of
  June 2, 1927, no. 372, 1927 Mich. Pub. Acts 887, 888; Mich. Pub. Acts 1929, Act No. 206, Sec.
  3, Comp. Laws 1929; Act of Apr. 10, 1933, ch. 190, 1933 Minn. Laws 231, 232; Act of Apr. 8,
  1933, no. 64, 1933 Ohio Laws 189, 189; 1927 R.I. Pub. Laws 256, 256; Uniform Machine Gun
  Act, ch. 206, 1933 S.D. Sess. Laws 245, 245; Act of Mar. 7, 1934, ch. 96, 1934 Va. Acts 137,
  137. Two of these states enacted early laws focused on such weapons’ use in hunting. New
  Jersey had a 1920 law making it “unlawful to use in hunting fowl or animals of any kind any
  shotgun or rifle holding more than two cartridges at one time, or that may be fired more than
  twice without reloading.” 1920 N.J. Laws 67, ch. 31, Section 9. North Carolina made it
  “unlawful to kill quail with any gun or guns that shoot over two times before reloading” in 1917.
  1917 N.C. Sess. Laws 309, ch. 209, Sec. 1.
  54
       1931 Ill. Laws 452-53, An Act to Regulate the Sale, Possession and Transportation of Machine
                                                   19
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  any type of ammo feeding mechanism or round feeding device and fire them continuously in a

  fully automatic manner (California, Hawaii, Missouri, and Washington State)55.




  Guns, §§ 1-2; Act of July 7, 1932, no. 80, 1932 La. Acts 336; 1927 N.J. Laws 180-81, A
  Supplement to an Act Entitled “An Act for the Punishment of Crimes,” ch. 95, §§ 1-2; 1931 N.D.
  Laws 305-06, An Act to Prohibit the Possession, Sale and Use of Machine Guns, Sub-Machine
  Guns, or Automatic Rifles and Defining the Same . . . , ch. 178, §§ 1-2; 1933 Or. Laws 488, An
  Act to Amend Sections 72-201, 72-202, 72-207; 1929 Pa. Laws 777, §1; Act of Mar. 2, 1934, no.
  731, 1934 S.C. Acts 1288; 1933 Tex. Gen. Laws 219-20, 1st Called Sess., An Act Defining
  “Machine Gun” and “Person”; Making It an Offense to Possess or Use Machine Guns. . . , ch.
  82, §§ 1-4, § 6; 1923 Vt. Acts and Resolves 127, An Act to Prohibit the Use of Machine Guns
  and Automatic Rifles in Hunting, § 1; 1933 Wis. Sess. Laws 245, 164.01.
  55
    1927 Cal. Stat. 938, ch. 552, §§ 1–2; 1933 Haw. Sess. Laws 117; 1929 Mo. Laws 170; Wash.
  1933 Sess. Laws 335.

                                                20
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                                            TABLE 1
       AMMUNITION MAGAZINE RESTRICTIONS IN 23 STATES, 1917-193456
       Semi-automatic and        Fully Automatic                    All Firearms
       Fully Automatic           Firearms                           (any weapon capable of
       Firearms                  (barred firearms capable           receiving rounds through
       (barred firearms holding  of firing the listed               certain named round-
       more than the listed      number of rounds or                feeding devices)
       number of rounds or       more without reloading
       more without reloading)   or that could receive
                                 ammunition feeding
                                 devices)
       -California (10 rounds;   -Illinois (8 rounds; 1931)         -California (1927)
       1933)                     -Louisiana (8 rounds;              -Hawaii (1933)
       -District of Columbia (12 1932)                              -Missouri (1929)
       rounds; 1932)             -Minnesota (12 rounds;             -Washington State
       -Massachusetts (1 round; 1933)                               (1933)
       1927)                     -New Jersey (any
       -Michigan (16 rounds;     removable device
       1927)                     holding rounds; 1927)
       -Minnesota (1 round;      -North Dakota (loadable
       1933)                     bullet reservoir; 1931)
       -New Jersey (2 rounds;    -Oregon (2 rounds;
       hunting only; 1920)       1933)
       -North Carolina (2        -Pennsylvania (2 rounds;
       rounds; hunting only;     1929)
       1917)                     -South Carolina (8
       -Ohio (18 rounds; 1933) rounds; 1934)
       -Rhode Island (12         -Texas (5 rounds; 1933)
       rounds; 1927)             -Vermont (6 rounds;
       -South Dakota (5 rounds; 1923)
       1933)                     -Wisconsin (2 rounds;
       -Virginia (7 rounds;      1933)
       1934)
  See Exhibit D for statutory text.
           25.   A 1927 California law, for example, prohibited the possession of any “machine

  gun,” where that term was defined to include:
          all firearms known as machine rifles, machine guns or submachine guns
          capable of discharging automatically and continuously loaded ammunition of




  56
    Including the District of Columbia. Note that California, Minnesota, and New Jersey appear
  twice in this table. The dataset from which this information is drawn ended in 1934, so it does
  not include any states that might have enacted similar restrictions after 1934. See Duke Law
  Center for Firearms Law, “Repository of Historical Gun Laws,” https://law.duke.edu/gunlaws/.

                                                 21
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              any caliber in which the ammunition is fed to such gun from or by means of
              clips, disks, drums, belts or other separable mechanical device.57

  The other three states in this category (Hawaii, Missouri, Washington58) utilized this same

  description. In all, at least twenty-three states enacted twenty-six gun restrictions based on the

  regulation of ammunition magazines or similar feeding devices, and/or round capacity (see Table

  1).

            26.     The original version of the legislation that became the National Firearms Act of

  1934, as noted earlier, included this definition of machine gun that encompassed both semi-

  automatic and fully automatic firearms: “The term ‘machine gun’ means any weapon designed to

  shoot automatically or semiautomatically 12 or more shots without reloading.”59 (This text was

  derived from the law enacted by Congress for the District of Columbia in 1932, which also

  stipulated a 12 round limit, as noted previously.60 The final version of the 1934 bill was limited

  to fully automatic firearms only and did not include any limitation by number of rounds fired.)

  Regulations concerning removable magazines and magazine capacity were thus common as early

  as the 1920s—the period of time when these weapons and devices began to make their way into

  civilian life and also contributed to violence and criminality, as illustrated by the Tommy gun




  57
       1927 Cal. Stat. 938.
  58
       1933 Haw. Sess. Laws 117; 1929 Mo. Laws 170; Wash. 1933 Sess. Laws 335.
  59
    “National Firearms Act,” Hearings Before the Committee on Ways and Means, House of
  Representatives, on H.R. 9066, April 16, 18, and May 14, 15, and 16, 1934 (Washington, D.C.:
  GPO, 1934), 52.
  60
       Ibid., 45.

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  narrative and other weapons discussed here—as these regulations were adopted by nearly half of

  all states, representing approximately 58% of the American population at that time.61

         C. Lessons from the Regulation of Automatic and Semi-Automatic Firearms and
            Ammunition Feeding Devices

         27.     The lesson from this sequence of events early in the twentieth century is

  indicative of our nation’s history of weapons regulations, whereby changes in gun policy

  followed a series of steps that respond to developments in firearms technologies and their use in

  crime, each dependent on the previous step. First, a new gun or gun technology is invented.

  Second, it may then be patented, though the patenting of a design or idea by no means assures

  that it will proceed beyond this point. Third, it is often developed with a focus on military

  applications and supplying military needs, not directly for civilian acquisition or use. Fourth,

  some military-designed weapons may then spread to, or be adapted to, civilian markets and use.

  Finally, if such weapons then circulate sufficiently in society to pose a safety, violence, or

  criminological problem or threat, calls for government regulation or restriction then may lead to

  gun policy/law changes. New gun laws are not enacted when firearm technologies are invented

  or conceived. They are enacted when those technologies circulate sufficiently in society to spill

  over into criminal or other harmful use, presenting public safety concerns that governments

  attempt to address through their police and policy-making powers.

         28.     This lesson is significant because some argue that the absence of government gun

  regulations in history—at the time of the invention of various weapons or weapons

  developments—means that regulations now are unjustifiable, or have no historical basis. For

  example, David Kopel argues that “[m]agazines of more than ten rounds are older than the


  61
     U.S. Census, Historical Population Change Data (1910-1920) (using 1920 census data),
  https://www.census.gov/data/tables/time-series/dec/popchange-data-text.html.

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  United States.”62 Drawing on examples like a firearm “created around 1580” capable of firing

  sixteen “‘superposed’ loads” (with each round stacked on top of the other); the Puckle gun said

  to fire eleven shots and patented in 1718; the Girandoni air rifle, invented in the late 1700s; and

  the Pepperbox pistol of the early 1800s,63 Kopel suggests that “magazines of more than ten

  rounds are older than the Second Amendment.”64 Therefore, by Kopel’s reckoning, since these

  weapons existed early in (or even before) the country’s existence, and were not specifically

  regulated, ipso facto, today’s governments are unable to regulate assault weapons, like AR-

  platform rifles, or magazines exceeding certain capacities (typically, a ten-round limit).65 More

  to the point, Kopel’s claim that ammunition magazines holding “more than ten rounds” were

  “very commonly possessed in the United States since 1862” and were “owned by many millions

  of law-abiding Americans” dating back to the “mid-nineteenth century”66 is simply false, as this

  report demonstrates.

            29.      Kopel’s and similar arguments67 fail for two sets of reasons. First, as explained in

  the following section, this sort of narrative misrepresents the availability and capabilities of these



  62
    David Kopel, “The History of Firearm Magazines and Magazine Prohibitions,” Albany Law
  Review 78 (2014-2015): 851.
  63
       Ibid., 852-54.
  64
       Ibid., 849.
  65
    Ibid., 871-72 (“a court which today ruled that [10-round] magazines are ‘dangerous and
  unusual’ would seem to have some burden of explaining how such magazines, after a century
  and a half of being ‘in common use’ and ‘typically possessed by law-abiding citizens for lawful
  purposes,’ became ‘dangerous and unusual’ in the twenty-first century.”).
  66
     Ibid., 871. Kopel insists “that [10-round] magazines” have been “‘in common use’ and
  ‘typically possessed by law-abiding citizens for lawful purposes’” for “a century and a half”
  (871-72). This claim is both false and unverified by his article.
  67
    Declaration of Ashley Hlebinsky in Support Of Plaintiffs’ Motion for Preliminary Injunction,
  Miller v. Becerra, Case No. 3:19-cv-01537-BEN-JLB, United States District Court For The
  Southern District Of California, filed September 27, 2019 (Plaintiffs’ Trial Exhibit 2).

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  early weapons. Second, the account fails to understand the relationship between firearms’

  technological development, their spread into civil society, and government gun policy. As one

  gun history expert noted, “the guns of 1830 were essentially what they had been in 1430: single

  metal tubes or barrels stuffed with combustible powder and projectiles” where “after every shot,

  the shooter had to carry out a minimum of three steps: pour powder into the barrel; add a

  projectile. . .; then ignite the gunpowder and send the projectile on its way.”68 The firearms and

  firearm feeding devices regulated in the early twentieth century in the previous account

  represented a dramatically different type of firearm, capable of reliable, rapid fire utilizing

  interchangeable ammunition feeding devices.

           D. The History of Pre-Twentieth Century Firearms Technologies

           30.    Single-shot, muzzle-loaded firearms were the ubiquitous guns from the time of

  America’s initial settlement by Europeans until the latter part of the nineteenth century.69 Yet as

  researchers and experts of gun history have noted, experimental multi-shot guns existed in the

  eighteenth century (with multi-shot experimental designs dating back as much as two centuries

  earlier). For example, a firearm from the late 1500s that could fire up to sixteen rounds is

  described in a book titled, Firearms Curiosa. But this book’s very title indicates why this

  narrative is irrelevant to the modern gun debate. The definition of “curiosa” is something that is

  rare or unusual. As the book’s author, Lewis Winant says, his book is about “oddity guns” and

  “peculiar guns.”70 That is, they were anything but common, ordinary, or found in general



  68
    Jim Rasenberger, Revolver: Sam Colt and the Six-Shooter That Changed America (NY:
  Scribner, 2021), 3-4.
  69
     “Weapons of War (1600-1800),” The Smithsonian, February 6, 2018,
  https://learninglab.si.edu/collections/weapons-of-war-1600-1800/HUoHq60eaAj1UKyz
  70
       Lewis Winant, Firearms Curiosa (New York: Bonanza Books, 1955), 8, 9.

                                                   25
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  circulation. Winant’s description of the sixteen shot gun from the 1500s is that “the first pull of

  the trigger” fires “nine Roman candle charges, a second pull will release the wheel on the rear

  lock and set off six more such charges, and finally a third pull will fire the one remaining shot.”71

  A “Roman candle charge” was defined by Winant as one where “the operator had no control of

  the interval between shots; he could not stop the firing once he had started it.”72 In other words,

  this firing process was more like lighting the fuse of a string of firecrackers, where their ignition

  occurs in a manner that cannot be controlled by the operator once the initial charge is ignited.

  Roman candle firing was one type of “superposed” or “superimposed” firing. The other type was

  controlled, where the gun “was charged with one load on top of another, but the operator had

  control of the interval between shots. It might have one movable lock or several fixed locks.

  Each shot would be fired by trigger pull, presumably when the operator felt he had the proper

  aim.”73 Winant concludes: “Of all the ideas for producing multishot firearms the scheme of

  superimposing loads in one barrel is probably the oldest, the most discredited, the most

  frequently recurring, and also the most readily accepted as new.”74

            31.      An early multi-shot gun, the “Puckle Gun,” patented in 1718 in London by James

  Puckle, could fire nine rounds per minute (hardly comparable to the firing capabilities of semi-

  and fully automatic weapons of the twentieth and twenty-first centuries). The patent drawing of

  this weapon shows it sitting on a tripod on the ground.75 It was not a hand-held weapon. In the

  patent, Puckle described it as “a portable Gun or Machine (by me lately invented) called a


  71
       Ibid., 168.
  72
       Ibid., 166.
  73
       Ibid., 166.
  74
       Ibid., 166.
  75
       Ibid., 220.

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  DEFENCE.”76 It was indeed a military weapon, as Winant says: “Of the oddities among military

  weapons none has received more publicity than the Puckle gun. . . . The Puckle invention was

  probably the first crank-operated machine gun. It embodied several elements that closely

  resemble construction features of Gatling, Hotchkiss and other manually-operated machine

  guns.” Winant continued, “It is doubtful that any of the Puckle guns that may have been actually

  produced ever saw service.”77 A different account of this weapon says: “There is in fact no

  record of such a gun ever having been built,”78 although there are claims to the contrary. A

  contemporaneous poet, commenting on ‘Puckle’s Machine Company’, wrote ‘Fear not, my

  friends, this terrible machine. They’re only wounded who have shares therein.’”79 This weapon

  “never advanced beyond the prototype stage.”80

            32.      In short, it was an experimental weapon designed for military use, and the

  patent’s reference to “DEFENCE” was clearly a reference to military defense, not personal

  defense. As this account confirms, it was likely never even manufactured beyond perhaps a

  prototype. It was a failed effort, even though later gun inventors learned from its failure.

            33.      Another example is the case of Joseph Belton, an inventor who corresponded with

  Congress in 1777, claiming that he could produce and provide a flintlock that could fire as many

  as 16 to 20 consecutive rounds without reloading. After showing preliminary interest on May 3,

  Congress balked at Belton’s proposed “extraordinary allowance” and decided on May 15 that the




  76
       Ibid., 219.
  77
       Ibid., 219-20.
  78
    Ellis, The Social History of the Machine Gun, 13.
  79
    Winant, Firearms Curiosa, 219-21. See also “The Puckle Gun: Repeating Firepower in
  1718,” December 25, 2016, https://www.youtube.com/watch?v=GPC7KiYDshw.
  80
       Rasenberger, Revolver, 3.

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  idea “be dismissed”81 even though Belton offered to provide a demonstration of his invention.

  Belton demonstrated the rifle, which by his account fired projectiles a distance of 20 to 30 yards,

  to several government officials, including General Horatio Gates, Major General Benedict

  Arnold, and scientist David Rittenhouse. These individuals, and some others, signed a

  cautiously worded letter submitted by Belton to Congress on July 10 saying that “Muskets of his

  Construction with some small alterations, or improvements might be Rendered, of great Service,

  in the Defense of lives, Redoubts, Ships &c, & even in the Field. . . .”82 That same day,

  however, Congress decided again that “the petition of Thomas [Joseph] Belton be dismissed.”83

         34.     The problems with Belton’s scheme were evident. It relied on “superposed loads”

  as a firing method, a “discredited” and dead-end technology (see discussion above). Despite

  Belton’s offer to demonstrate the gun, not only are there “no known surviving examples of

  Belton's gun,” but “the only evidence” of the gun’s existence is “the correspondence between

  Belton and Congress.”84 From this account, there is no reason to believe that the gun “had been

  produced, and was possible to produce in quantity. . . .”85 In all, Belton’s claims about his




  81
   https://en.wikisource.org/wiki/Correspondence_between_John_Belton_and_the_Continental_C
  ongress
  82
   https://en.wikisource.org/wiki/Correspondence_between_John_Belton_and_the_Continental_C
  ongress#Belton's_fourth_letter_to_Congress,_July_10,_1777
  83
   https://en.wikisource.org/wiki/Correspondence_between_John_Belton_and_the_Continental_C
  ongress#Belton's_fourth_letter_to_Congress,_July_10,_1777
  84
    “Belton Flintlock,” https://military-history.fandom.com/wiki/Belton_flintlock. Harold L.
  Peterson similarly noted that the only evidence of the alleged existence or operation of the
  Belton gun was his “meager description” of it, from which “it is impossible to determine exactly
  how the Belton improvement operated.” Arms and Armor in Colonial America, 1526-1783
  (Harrisburg, PA: The Stackpole Co., 1956), 218.
  85
    David Kopel, “The Founders were well aware of continuing advances in arms technology,”
  The Volokh Conspiracy, May 26, 2023, https://reason.com/volokh/2023/05/26/the-founders-
  were-well-aware-of-continuing-advances-in-arms-technology/

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  experimental weapon bore no relationship to actual firearms in circulation in America—since

  Belton’s weapon was never proven feasible, much less reproduced, much less distributed—

  during this time. For anyone to claim based on the Belton case that “our Founding Fathers . . .

  knew about repeating rifles” and therefore “the Second Amendment was . . . designed to protect

  the right to own a repeating rifle”86 is not only an unsupported claim, but a preposterous claim.



           35.    Isaiah Jennings’ multi-shot flintlock rifle from 1821, capable of firing up to

  twelve “superposed” shots before reloading,87 is also cited as an early multi-shot gun. Yet

  according to Flayderman’s Guide to Antique American Firearms, its production quantity was so

  small as to be “unknown” and therefore is “extremely rare,” unsurprising since it utilized fatally

  defective “superposed” firing (discussed earlier) relying on twelve individual touchholes.88 By



  86
     Logan Metesh, “As a Matter of Fact, the Founding Fathers Did Know About Repeating
  Rifles,” https://www.thetruthaboutguns.com/founding-fathers-knew-repeating-rifles-bill-rights-
  drafted/, November 24, 2019; https://memory.loc.gov/cgi-
  bin/query/D?hlaw:4:./temp/~ammem_XxF4:: ; Dave Duringer, “Founding Fathers Knew About
  Repeating Rifles Before Bill of Rights,” LawNews.TV, July 17, 2016,
  https://lawnews.tv/founding-fathers-knew-about-repeating-rifles-before-bill-of-rights/; Eli D.
  Camacho, “5 Myths About the 2nd Amendment and the AR-15,” Medium.com, April 2, 2018,
  https://medium.com/@EliDCamacho/5-myths-about-the-2nd-amendment-and-the-ar-15-
  a080a94e9a2c; Kopel makes the similar, meaningless claim that the country’s Founders “were
  well aware” of these pioneering, experimental, but unproven multishot technologies. The
  Founders’ “awareness” that such experimental weapons existed centered around their hope that
  the weapon might eventually prove to be feasible and suitable for military use, a prospect that in
  any case never came to fruition. Kopel also conflates early American leaders’ abiding interest in
  funding, advancing, and reproducing new weapons technologies for the country’s
  military/national defense forces, on the one hand, with the notion that it had anything whatever
  to do with private citizen gun acquisition and use, on the other. These two, of course, are
  profoundly different. Kopel, “The Founders were well aware of continuing advances in arms
  technology.”
  87
       Kopel, “The History of Firearm Magazines and Magazine Prohibitions,” 853.
  88
    Norm Flayderman, Flayderman’s Guide to Antique American Firearms, 9th ed. (Iola, IA: Gun
  Digest Books, 2007), 683.

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  one account, “probably not more than 100 rifles of this type [were] manufactured.”89 Similar

  problems plagued or doomed multi-shot flintlock pistols of the early nineteenth century.

  According to Carl P. Russell: “Flintlock revolving pistols had been given trials and some

  practical use very early in the nineteenth century, but the loose priming powder in the pan of

  each cylinder constituted a hazard that was never eliminated.”90

         36.     Another example often cited is the Girandoni (or Girardoni) air rifle, a military

  weapon developed in Europe in the late 1700s for crack shots in the Austrian army that was

  capable of firing up to 20 rounds. One of these made its way to the U.S. where it was taken

  along on the Lewis and Clark expedition of 1804-1806.91 But these guns were a rarity, as they

  were extremely expensive, fragile, and complex, and few were made—no more than about

  1,500.92 As one writer noted: “The Girandoni air rifle is a might-have been; a footnote to

  military history.”93 In fact, the rifles never caught on as they proved to be impractical on the

  battlefield, and even more so for civilian use. To wit: “Leather gaskets needed to be constantly

  maintained and swelled with water to sustain pressure. Once empty the reservoirs required a

  significant effort and 1500 strokes to restore full power. A supply wagon was subsequently


  89
     “Isaiah Jennings,”
  https://www.littlegun.info/arme%20americaine/artisan%20i%20j%20k%20l/a%20jennings%20g
  b.htm
  90
    Carl P. Russell, Guns on the Early Frontier (Lincoln, NE: University of Nebraska Press,
  1957), 91.
  91
    David Kopel, “The history of magazines holding 11 or more rounds: Amicus brief in 9th
  Circuit,” Washington Post, May 29, 2014, https://www.washingtonpost.com/news/volokh-
  conspiracy/wp/2014/05/29/the-history-of-magazines-holding-11-or-more-rounds-amicus-brief-
  in-9th-circuit/.
  92
     Mike Markowitz, “The Girandoni Air Rifle,” DefenseMediaNetwork, May 14, 2013,
  https://www.defensemedianetwork.com/stories/the-girandoni-air-rifle/.
  93
     Mike Markowitz, “The Girandoni Air Rifle,” DefenseMediaNetwork, May 14, 2013,
  https://www.defensemedianetwork.com/stories/the-girandoni-air-rifle/.

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  outfitted with a mounted pump to readily supply soldiers but this negated one of the key

  features—mobility. The rudimentary fabrication methods of the day engineered weak threading

  on the reservoir neck and this was the ultimate downfall of the weapon. The reservoirs were

  delicate in the field and if the riveted brazed welds parted the weapon was rendered into an

  awkward club as a last resort.”94 First introduced to the Austrian army in the late 1700s, the gun

  was pulled from military service by 1815.95 One American manufacturer, Isaiah Lukens of

  Pennsylvania, apparently produced perhaps four such weapons.96 The rest were made and used

  in Europe. And while Lewis and Clark did bring a Girandoni with them, they never intended to

  use it in combat or battle, but to impress and deter the Native Americans they encountered

  (which it did). Whenever they planned to fire the gun, they were careful to prepare it before

  encountering Native Americans so that the Indians were not aware of the extensive pre-fire

  preparations needed.97

            37.    To take another example, the Volcanic repeating pistol, patented in 1854, was

  said to have the ability to fire up to “ten or greater rounds.”98 The Volcanic Repeating Arms

  Company was founded in 1855, and it experimented with a number of design innovations. But

  the company was “short-lived” and went “defunct” in 1866, even though its partners included




  94
    John Paul Jarvis, “The Girandoni Air Rifle: Deadly Under Pressure,” GUNS.com, March 15,
  2011, https://www.guns.com/news/2011/03/15/the-girandoni-air-rifle-deadly-under-pressure.
  95
     Markowitz, “The Girandoni Air Rifle”; “Girardoni Air Rifle,” ForgottenWeapons.com,
  https://www.forgottenweapons.com/rifles/girardoni-air-rifle/
  96
   Nancy McClure, “Treasures from Our West: Lukens air rifle,” Buffalo Bill Center of the West,
  August 3, 2014, https://centerofthewest.org/2014/08/03/treasures-west-lukens-air-rifle/
  97
    Stephen E. Ambrose, Undaunted Courage (NY: Simon and Schuster, 1996), 158, 160, and
  passim.
  98
       Declaration of Ashley Hlebinsky, Miller v. Becerra, 6 (Plaintiffs’ Trial Exhibit 2).

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  Horace Smith, Daniel B. Wesson, and Courtlandt Palmer.99 Its patent and technological work

  were important for subsequent developments, especially for Smith and Wesson’s later work, but

  the actual weapons produced by Volcanic were few, flawed, and experimental,100 dubbed

  “radical defects” by Winchester himself.101 In 1857 and 1858, Volcanic produced 3,200

  “flawed” repeaters, most of which “collected dust for many decades” until the company finally

  sold them for fifty cents each to employees.102

            38.     Another account laboring to establish early gun firing provenance asserts that

  “[s]emi-automatic technology was developed in the 1880s” with the “Mannlicher rifle. . .

  generally attributed to be the first semi-automatic rifle.”103 Yet this “development” was initially

  a failure: “Ferdinand von Mannlicher’s Model 1885 self-loading rifle design” was “a failure,

  never seeing anything even resembling mass production.”104 The true semi-automatic weapon

  did not become feasible and available until the beginning of the twentieth century, and the

  primary market was the military.105

            39.     The more well-known “pepperbox,” a multi-shot firearm where the number of

  shots capable of being fired repeatedly coincided with the number of barrels bundled together,



  99
    These are the three men who came together to form what became the Smith & Wesson gun
  company. Pamela Haag, The Gunning of America (NY: Basic Books, 2016), 51-52.
  100
     “Volcanic Repeating Arms,” https://military-
  history.fandom.com/wiki/Volcanic_Repeating_Arms, n.d.; Flayderman, Flayderman’s Guide to
  Antique American Firearms, 303-5.
  101
        Quoted in Haag, The Gunning of America, 56.
  102
        Haag, The Gunning of America, 60.
  103
        Declaration of Ashley Hlebinsky, Miller v. Becerra, 8 (Plaintiffs’ Trial Exhibit 2).
  104
     Ian McCollum, “Mannlicher 1885 Semiauto Rifle,” Forgotten Weapons, May 6, 2015,
  https://www.forgottenweapons.com/mannlicher-1885-semiauto-rifle/.
  105
     Philip Schreier, “A Short History of the Semi-Automatic Firearm,” America’s 1st Freedom,
  July 2022, 32-39.

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  found some civilian market popularity in the early 1800s, but it was rapidly eclipsed by the

  superior Colt revolver. The reason: pepperboxes were “heavy, lumpy, and impractical.”106 The

  addition of more barrels added more weight to the gun. By another account, “because of its

  small bore, short range, and lack of accuracy, the pepperbox was by no means as satisfactory as a

  revolver for military use.”107 Further, “[t]hey also had a nasty habit of discharging all their

  barrels at once. No shooter could be certain he would not get two or three innocent bystanders,

  as well as his intended victim.”108 Indeed, the Colt revolver was “the first widely used multishot

  weapon,”109 although it took decades for this and similar revolvers to catch on.

            40.    Colt’s technological developments notwithstanding, single shot guns were the

  ubiquitous firearm until after the Civil War, although some long gun repeaters appeared late in

  the Civil War.110 Even so, the “standard infantry weapon [in the Civil War] remained the single-

  shot, muzzle-loaded weapon.”111 Historian James M. McPherson concurred that, even though

  some repeating rifles appeared in the Civil War as early as 1863, single-shot muzzle-loaders

  “remained the principal infantry weapons throughout the war.”112

            41.    As noted, the idea of an available, affordable, reliable multi-shot firearm did not

  arise until the development of Colt’s multi-shot revolver in the 1830s. Indeed, Colt biographer


  106
        Rasenberger, Revolver, 54.
  107
        Lewis Winant, Pepperbox Firearms (New York: Greenberg Pub., 1952), 30.
  108
     Larry Koller, The Fireside Book of Guns (NY: Simon and Schuster, 1959), 154. By another
  account, “it was a disconcerting but not uncommon experience to have all six barrels go off in
  unison.” Winant, Pepperbox Firearms, 32.
  109
        Rasenberger, Revolver, 401.
  110
    Kopel, “The history of magazines holding 11 or more rounds”; Kennett and Anderson, The
  Gun in America, 112-13.
  111
        Snow and Drew, From Lexington to Desert Storm, 90.
  112
        James M. McPherson, Battle Cry of Freedom (NY: Oxford University Press, 1988), 475.

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  Jim Rasenberger says that Colt’s pistol was the first practical firearm that could shoot more than

  one bullet without reloading.113 The Colt revolver was a six-shot weapon, though the company

  experimented with other shot capabilities.114 Even then, Colt could not readily manufacture

  multi-shot weapons for many years because he could find no market for them, either from the

  government or the public. The government, in fact, dismissed such firearms as mere

  “novelties.”115 After an 1837 test of Colt’s gun and others the government concluded that it was

  “entirely unsuited to the general purposes of the service.”116 The government also rejected the

  weapon after tests in 1836, 1840, and 1850. Colt’s early failure to cultivate either a military or a

  civilian market in the U.S. drove him to bankruptcy and then to market his guns to European

  governments in the 1840s. The gun made appearances in the pre-Civil War West, yet even

  during the Civil War, “Colt’s revolver was a sideshow through most of the war. . . .”117 And

  though the Colt-type revolver “had proved itself, the official sidearm of the United States Army

  [in the Civil War] remained a single shot pistol.”118 It took the Colt’s limited use during the

  Civil War to finally spur the post-Civil War proliferation of the Colt-type revolver and similar




  113
        Rasenberger, Revolver, 3-5, 401.
  114
     Rasenberger, Revolver, 35, 316; Kyle Mizokami, “Meet the Colt Single Action Revolver: The
  Most Famous Gun of All Time?” The National Interest, January 24, 2019,
  https://nationalinterest.org/blog/buzz/meet-colt-single-action-revolver-most-famous-gun-all-
  time-42352. Though the six-shot was the standard, gun companies experimented and produced
  revolvers of varying round capacity. Colt, for example, produced a poor-selling seven-shot
  revolver in the 1870s. Haag, The Gunning of America,173-74.
  115
        Pamela Haag, The Gunning of America (NY: Basic Books, 2016), 24.
  116
        Rasenberger, Revolver, 136.
  117
        Ibid., 390.
  118
        Kennett and Anderson, The Gun in America, 91.

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  firearms into society.119 As discussed here, the increasing circulation of more and cheaper

  handguns spurred the enactment of anti-concealed carry laws.

            42.    While inventor Benjamin Henry claims credit for developing the first practical,

  lever action repeating rifle (patented in 1860), his competitor Winchester “deftly gutted” the

  Henry Arms Company, coopting it to form the Winchester Arms Company in 1866, paving the

  way for Winchester’s dominance.120 The Winchester rifle could fire up to fifteen rounds without

  reloading. Yet the widely known Winchester 1873, “was designed for sale to the Government as

  a military arm.”121 A gun whose legendary status wildly outdistanced its actual production and

  impact, it was nevertheless an important firearm in the late nineteenth century, although this

  “quintessential frontier rifle flourished later, in the ‘post-frontier’ early 1900s. Its celebrity

  biography backdated its diffusion and even its popularity.”122 In fact, the slogan stating that the

  Winchester “won the West” was invented by a Winchester executive as a marketing ploy in

  1919.123 Further, “the notion of the Winchester and the Colt as iconic frontier guns is ‘as much a

  fiction as the sources from which it is drawn.’”124 An analysis of production runs of Henrys and

  Winchesters from 1861-1871 concluded that they produced a total of 74,000 guns. Most of

  them—about 64,000—were sold to foreign militaries, leaving about 9200 for domestic American

  sales. Of those, 8500 were acquired by Union soldiers, leaving a very small supply of guns for




  119
     Haag, The Gunning of America, 34-37, 46-64. As Haag said, “the Civil War saved” the gun
  industrialists (65).
  120
        Haag, The Gunning of America, 96.
  121
        Koller, The Fireside Book of Guns, 112.
  122
        Haag, The Gunning of America, 179.
  123
        Haag, The Gunning of America, 353.
  124
        Haag, The Gunning of America, 175.

                                                     35
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  domestic civilian acquisition.125 By comparison, about 845,000 Springfield “trap-door” single

  shot rifles were manufactured during this same time period.126 Additionally, the Winchester was

  not a semi-automatic firearm; it was a lever-action rifle that required the shooter to manipulate a

  lever in a forward-and-back motion before each shot. And when the gun was emptied, it had to

  be manually reloaded, one round at a time.127 The Winchester Model 1905, then called a “self-

  loading” rifle, was a true semi-automatic firearm. It could receive a five or ten round box

  magazine, although from 1905 to 1920 only about 30,000 of the guns were made. Even in World

  War I, soldiers primarily used bolt-action one shot rifles that could fire about twelve rounds per

  minute.128

            43.    With all this, the Winchester was by no means universally embraced by long gun

  users. Indeed, “a good many westerners would have nothing to do with the early Winchesters or

  other repeaters, for reasons they considered very sound, and not until the 1880s did the repeating




  125
         Herbert G. Houze, Winchester Repeating Arms Company: Its History & Development
  from 1865 to 1981 (Iola, WI: Krause Publications, 2004), 21, 36–41, 51, 59, 65–66, 71, 73, 75;
  Tom Hall to D. C. Cronin, New Haven, May 18, 1951; Box 8, folder 16, Winchester Repeating
  Arms Company, Office files (MS:20), McCracken Research Library, Cody, WY.
  126
      See “Serial Number Ranges for Springfield Armory-Manufactured Military Firearms,”
  http://npshistory.com/publications/spar/serial-nos.pdf, pp. 1-3; some of the data in this report is
  aggregated and printed at the Springfield Armory U.S. National Park Website:
  https://www.nps.gov/spar/learn/historyculture/u-s-springfield-trapdoor-
  production-serial-numbers.htm. According to an account of the Springfield, “The end of the
  Trapdoor series came in 1892, when the government adopted a bolt-action repeating rifle known
  as the Krag-Jorgensen.” “The Trap Door Rifle,” National Park Service, July 22, 2020,
  https://www.nps.gov/spar/learn/historyculture/trapdoor-rifle.htm
  127
        Normally, a Remington-type rifle is loaded from a feed ramp on the side of the rifle.
  128
     Robert Johnson and Geoffrey Ingersoll, “It’s Incredible How Much Guns Have Advanced
  Since The Second Amendment,” Military & Defense, December 17, 2012,
  https://finance.yahoo.com/news/incredible-much-guns-improved-since-174927324.html; Phil
  Bourjaily, “Blast From the Past: Winchester Model 1905,” Field & Stream, January 11, 2019,
  https://www.fieldandstream.com/blast-from-past-winchester-model-1905/.

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  rifle assert its dominance over the single-shot breechloader.”129 According to A.C. Gould,

  writing in 1892, single-shot rifles were: “less complicated, and less liable to get out of order; will

  shoot a greater variety of ammunition; will shoot uncrimped ammunition, patched or unpatched

  bullets; will permit the use of a longer barrel; an explosive bullet can be used; a greater range of

  rear sights on tang can be used.”130

            44.    Following the Civil War, revolvers were heavily marketed to the civilian

  population. For example, when Smith & Wesson’s near-monopoly over the manufacture of

  cartridge revolvers ended with the expiration of its Rollin White patent in 1870, “dozens of other

  [gun] makers”131 entered the market. Soon these other manufacturers were producing abundant

  cheap revolvers at low cost to the consumer. As Kennett and Anderson noted, Colt’s initial

  revolvers sold for $35, but by 1900 the “‘two dollar pistol’ was a fixture in American life.”132

  Further, as the mail order business boomed from the 1870s on, companies like Montgomery

  Ward and Sears began selling revolvers through their catalogs—especially small, cheaper,

  lighter-weight models that cost less to mail. Cheap handguns were advertised not only through

  catalogs, but also through newspaper and magazine advertisements.133




  129
     Louis A. Garavaglia and Charles G. Worman, Firearms of the American West, 1866-1894
  (Albuquerque, NM: University of New Mexico Press, 1985), 129.
  130
      Quoted in Garavaglia and Worman, Firearms of the American West, 1866-1894, 131. A tang
  sight is an aperture or “peep” sight mounted on the tang end of a rifle (that is, the portion of the
  rifle extending behind of the receiver) that is used to more accurately aim the rifle. It normally
  folds and is made of metal. “Vernier Tang Sight,”
  https://www.hallowellco.com/vernier_tang_sight.htm
  131
        Kennett and Anderson, The Gun in America, 98.
  132
        Kennett and Anderson, The Gun in America, 99.
  133
    Kennett and Anderson, The Gun in America, 99-100. See also Haag, The Gunning of
  America, 251-55.

                                                   37
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            45.    The rise in the circulation of multi-shot handguns in society—notably the Colt

  revolver and its many handgun copycats—was accompanied by the rapid spread of concealed

  carry restrictions (see Exhibits B-E), especially in the post-Civil War period, precisely because

  of their contribution to escalating interpersonal violence.134 By the end of the nineteenth century,

  virtually every state in the country prohibited or severely restricted concealed gun and other

  weapons carrying.135 In addition, in the late 1800s and early 1900s several states effectively

  barred possession of such weapons outright, regardless of other circumstances.136 As discussed

  earlier, it was only in the post-World War I era when multi-shot semi-automatic and fully

  automatic long guns began to circulate appreciably in society and came to be associated with

  criminal use that they became a regulatory and public policy concern. While the Winchester rifle

  circulated some in society by the late 1800s, the actual numbers of Winchesters and similar rifles

  in circulation has been wildly overstated, as discussed here. Among those in civilian hands, they

  were largely found in sparsely populated Western and frontier areas.



  134
     Dickson D. Bruce, Violence and Culture in the Antebellum South (Austin, TX: University of
  Texas Press, 1979); Randolph Roth, American Homicide (Cambridge, MA: Belknap Press,
  2012), 218-19.
  135
        Spitzer, “Gun Law History in the United States and Second Amendment Rights,” 63-67.
  136
      Illinois Act of Apr. 16, 1881, as codified in Ill. Stat. Ann., Crim. Code, chap. 38 (1885) 88;
  George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the State of New
  York as Amended 1882-5 Page 172, Image 699 (1885) § 410; Geoffrey Andrew Holmes,
  Compiled Ordinances of the City of Council Bluffs, and Containing the Statutes Applicable to
  Cities of the First-Class, Organized under the Laws of Iowa Page 206-207, Image 209-210
  (1887) § 105; William H. Baily, The Revised Ordinances of Nineteen Hundred of the City of
  Des Moines, Iowa Page 89-90, Image 89-90 (1900) § 209; 1911 N.Y. Laws 442-43, An Act to
  Amend the Penal Law, in Relation to the Sale and Carrying of Dangerous Weapons. ch. 195, § 1;
  1913 N.Y. Laws 1627-30, vol. III, ch. 608, § 1; 1915 N.D. Laws 96, ch. 83, §§ 1-3, 5; 1917 Cal.
  Sess. Law 221-225; 1923 Cal. Stat. 695;1931 N.Y. Laws 1033, ch. 435, § 1. Not included in this
  list are other state laws that barred weapons possession to specific groups (enslaved persons,
  minors) or that criminalized weapons possession by individuals if they committed a crime with
  the listed weapons.

                                                   38
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            46.    As noted earlier, the problems with arguments claiming that historical multi-shot

  weapons were both viable and commonly possessed before the late nineteenth century are two-

  fold: they misrepresent the actual past of the weapons cited, and even more importantly fail to

  understand the connection between gun technology developments and the steps leading up to

  changes in gun-related public policy to regulate threats posed by those developments. As

  discussed previously, that process has occurred, both historically and in the modern era, through

  a series of sequential steps.

            47.    First, a new gun or gun technology must be invented. Second, it is then normally

  patented, noting that there are many steps between a patent, actual gun production, distribution

  and dissemination. As Lewis Winant sardonically observed, “Many patents are granted for arms

  that die a-borning.”137 And as gun expert Jack O’Connor wrote, “many types of guns were

  invented, produced and discarded through the early years of the development of the United

  States.”138 Third, weapons development is historically tied to military need and military

  acquisition, not directly for civilian use or self-defense applications. Military weaponry is

  developed without consideration of potential civilian use and the consequences of dissemination

  in the civilian market.139 Fourth, some military-designed weapons may then spill over into, or be

  adapted to, civilian markets and use. Fifth, if such weapons then circulate sufficiently to pose a

  public safety or criminological problem or threat, calls for government regulation or restriction


  137
        Winant, Firearms Curiosa, 36.
  138
        Jack O’Connor, Complete Book of Rifles and Shotguns (NY: Harper & Row, 1961), 42.
  139
     Note that the third step, and perhaps the second, do not apply to non-firearms weapons
  discussed here—in particular the Bowie knife and various clubs. These weapons were mostly
  not developed for military use, though Bowie knives, for example, were carried by some soldiers
  during the Civil War. Knives and clubs are far simpler technologically compared to firearms
  (and of course do not rely on ammunition) and thus were much more easily made, reproduced,
  and circulated.

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  then may lead to gun policy/law changes. This general sequence is echoed in works like the

  Buyer’s Guide to Assault Weapons, a standard reference work on assault weapons.140

         48.     Again, to simply assert or assume that past firearms design/development,

  invention, or patenting equals commonality, viability, or a measurable presence or impact on

  society, is a leap in logic without historical foundation. It would be as logical to reject modern

  governmental regulation of electric power through such government agencies as state power

  commissions and the Federal Energy Regulatory Commission because no such regulation was

  enacted around the time of Benjamin Franklin’s experiments with electricity in the mid-

  eighteenth century. The fact that inventors worked on new firearm designs and modifications

  tells us nothing about the consequences of such designs for society and public policy. And the

  existence of such designs does not equal technological viability or reliability, much less general

  availability, much less societal circulation and use of these weapons. Other weapons subject to

  government restriction in our history further illustrate these principles.

         E. Clarifying Terms and Concepts about Assault Weapons and LCMs.

         49.     Opponents of assault weapons and LCM laws often assert that “[p]rior to 1989,

  the term ‘assault weapon’ did not exist in the lexicon of firearms. It is a political term, developed

  by anti-gun publicists to expand the category of ‘assault rifles’ so as to allow an attack on as

  many additional firearms as possible on the basis of undefined ‘evil’ appearance.”141




  140
     Phillip Peterson, Buyer’s Guide to Assault Weapons (Iola, IA: Gun Digest Books, 2008), 4-7.
  Peterson’s Foreword summarizes a similar relationship between weapons development and
  subsequent calls for regulation.
  141
     Stenberg v. Carhart, 530 U.S. 914, 1001 n.16 (2000) (Thomas, J., dissenting) (quoting
  Kobayashi & Olson et al., In re 101 California Street: A Legal and Economic Analysis of Strict
  Liability for the Manufacture and Sale of “Assault Weapons,” 8 Stan. L. & Pol'y Rev. 41, 43
  (1997)).

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         50.     Such assertions are incorrect. The terms “assault weapon” and “assault rifle”

  were the very terms used by the gun companies that first produced, marketed, and sold such

  weapons to the public. Gun industry use of the terms “assault weapons” and “assault rifles”

  appeared in the early 1980s (and even earlier), before political efforts to regulate them emerged

  in the late 1980s and early 1990s.142

         51.     A study of the marketing strategies employed by gun manufacturers and gun

  publications from the time that such weapons emerged in the American civilian market in a

  significant way in the early 1980s verifies this by reference to company advertisements and gun

  magazines.143 Examples include: Heckler and Koch selling its “HK 91 Semi-Automatic Assault

  Rifle”; ads for the “Bushmaster assault rifle”; the AKM “imported assault rifle”; the Beretta M-

  70 that “resembles many other assault rifles”; the AR10/XM-10 (made by Paragon S&S Inc.)

  advertised as a “Famous Assault Rifle [that] is Now Available in a Semi Auto Civilian Legal

  Form!” (see Exhibit J); the “AMT 25/.22 Lightning Carbine” that was advertised as an “assault-

  type semi-auto”; Intratec extolling its TEC-9 as one that “clearly stands out among high capacity

  assault-type pistols” (see Exhibit I); and the after-market supplier Assault Systems that appealed

  to civilian owners of “assault weapons,” among many other examples. The use of military

  terminology, and the weapons’ military character and appearance, were key to marketing the

  guns to the public.144 Guns & Ammo magazine described the “success of military assault rifles in


  142
     Violence Policy Center, The Militarization of the U.S. Civilian Arms Market, June 2011,
  http://www.vpc.org/studies/militarization.pdf#page=33; also Violence Policy Center, Assault
  Weapons and Accessories in America, 1988, http://www.vpc.org/studies/awacont.htm;
  http://www.vpc.org/studies/thatintr.htm.
  143
    Tom Diaz, Making a Killing (NY: The New Press, 1999) and Tom Diaz, The Last Gun (New
  York: The New Press, 2013).
  144
    Diaz, Making a Killing, 124–128, 230–231; Diaz, The Last Gun, 142–43; Ryan Busse,
  Gunfight (NY: Public Affairs, 2021), 8.

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  the civilian market” in its July 1982 issue.145 In 1984, Guns & Ammo advertised a book called

  Assault Firearms that the magazine extolled as “full of the hottest hardware available today.”146

         52.     As a standard buyer’s guide on assault weapons noted, the “popularly-held idea

  that the term ‘assault weapon’ originated with anti-gun activists, media or politicians is wrong.

  The term was first adopted by the manufacturers, wholesalers, importers and dealers in the

  American firearms industry . . . .”147 The more expansive phrase “assault weapon” is generally

  used over “assault rifle” because “weapon” also includes not only rifles but some shotguns and

  handguns that were also subject to regulation in the federal 1994 assault weapons ban and

  subsequent laws.

         53.     An article in Outdoor Life belied the claim that assault weapons are limited only

  to firearms that fire fully automatically. That article urged its readers to share its information

  with non-shooting friends to dispel “myths” about “assault weapons.” In its account, it correctly

  noted that “the term ‘assault weapon’ . . . generally referred to a type of light infantry firearm

  initially developed in World War II; a magazine-fed rifle and carbine suitable for combat, such

  as the AK-47 and the M16/M4. These are selective-fire weapons that can shoot semi-auto, full-

  auto, or in three-round bursts.”148



  145
    “Wooters Chooses the 10 Best Gun Designs,” Guns & Ammo, July 1982, 58, 68; Diaz,
  Making a Killing, 126.
  146
     Erica Goode, “Even Defining ‘Assault Rifles’ Is Complicated,” New York Times, January 17,
  2013, A1, https://www.nytimes.com/2013/01/17/us/even-defining-assault-weapons-is-
  complicated.html
  147
     Phillip Peterson, Gun Digest Buyer’s Guide to Assault Weapons (Iola, WI: Gun Digest Books,
  2008), 11.
  148
     John Haughey, “Five Things You Need to Know About ‘Assault Weapons’,” Outdoor Life,
  March 19, 2013, http://www.outdoorlife.com/blogs/gun-shots/2013/03/five-things-you-need-
  know-about-assault-weapons

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            54.    The effort to rebrand “assault weapons” as something more benign and severed

  from its military origins was seen in the publication struggles of Phillip Peterson, whose book,

  titled as recently as 2008, Gun Digest Buyer’s Guide to Assault Weapons,149 is a well-known

  reference work on the subject. As Peterson explained, the gun industry “moved to shame or

  ridicule” those who used the phrase “assault weapons,” insisting that the term should now only

  apply to fully automatic weapons. Peterson noted that the origin of the term “assault weapon”

  was the industry itself.150 He found that the NRA refused to sell his book until he changed the

  title, which in 2010 he renamed Gun Digest Buyer’s Guide to Tactical Rifles.151 The very same

  pattern played out in Canada, where gun companies also used the term “assault rifle” in the

  1970s and 1980s until political pressure began to build to restrict such weapons in the aftermath

  of a mass shooting in Montreal in 1989. By the 1990s, gun companies marketing guns in Canada

  and their allies also adopted terms like “modern sporting rifles.”152

            55.    Similar claims are also made about the term “large capacity magazine,” again

  calling it “politically charged rhetoric,” and describing such magazines as “standard capacity.”153



  149
        Peterson, Gun Digest Buyer’s Guide to Assault Weapons.
  150
        Goode, “Even Defining ‘Assault Rifles’ Is Complicated.”
  151
     Phillip Peterson, Gun Digest Buyer’s Guide to Tactical Rifles (Iola, WI: Gun Digest Books,
  2010).
  152
     According to Blake Brown, Canadian newspapers ran ads from gun companies selling
  weapons like the “AR-15 semi-automatic assault rifle,” the “Colt AR-15 Semi Auto Assault
  Rifle,” and the “SKS Assault Rifle” among others, in 1976, 1982, 1983, 1985, and 1986 from
  dealers and companies including MilArm, Colt, and Ruger. “Gun Advocates’ Changing
  Definition of ‘Assault Rifles’ is Meant to Sow Confusion,” Toronto Globe and Mail, May 21,
  2020, https://www.theglobeandmail.com/opinion/article-gun-advocates-changing-definition-of-
  assault-rifles-is-meant-to-sow/
  153
     E.g. Complaint ¶ 18, Rocky Mountain Gun Owners, et al. v. Town of Superior, No. 22-cv-
  2680, filed 10/12/22 (D. Colo.).

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  Identifying a large capacity magazine as one that holds more than ten rounds is not arbitrary, for

  at least three reasons.

            56.    First, the LCM definition of one holding ten or more rounds dates back to at least

  1989,154 in an early version of the law Congress eventually passed in 1994 that defined “a large

  capacity magazine or belt as one which holds over ten rounds.”155 Since that time, fourteen

  states plus the District of Columbia have adopted the LCM ten round limit (see earlier discussion

  at note 5).

            57.    Second, the definition of LCMs based on a ten round limit has been and is widely

  accepted and used in the scholarly literature in criminology and other fields examining such

  devices.156

            58.    Third, as Table 1 and the accompanying discussion in this document shows, from

  1917 to 1934 roughly half of the states in the U.S. enacted laws that restricted various

  ammunition feeding devices, or guns that could accommodate them, based on a set number of


  154
     Summary: S.386 — 101st Congress (1989-1990), Introduced in Senate (02/08/1989),
  https://www.congress.gov/bill/101st-congress/senate-bill/386; Violent Crime Control and Law
  Enforcement Act of 1994, H.R. REP. 103–489, H.R. Rep. No. 489, 103RD Cong., 2ND Sess.
  1994, 36.
  155
        Violent Crime Control and Law Enforcement Act of 1994, 6.
  156
     For example: Gregg Lee Carter, ed., Guns in American Society, 3 vols. (Santa Barbara, CA:
  ABC-CLIO, 2012), III, 777-78; Jaclyn Schildkraut and Tiffany Cox Hernandez, “Laws That Bit
  The Bullet: A Review of Legislative Responses to School Shootings,” American Journal of
  Criminal Justice 39, 2 (2014): 358-74; Luke Dillon, “Mass Shootings in the United States: An
  Exploratory Study of the Trends from 1982-2012,” Mason Archival Repository Service, George
  Mason University, May 22, 2014, http://mars.gmu.edu/xmlui/handle/1920/8694; Jaclyn
  Schildkraut, “Assault Weapons, Mass Shootings, and Options for Lawmakers,” Rockefeller
  Institute of Government, March 22, 2019, https://rockinst.org/issue-area/assault-weapons-mass-
  shootings-and-options-for-lawmakers/; Christopher Koper, et al., “Assessing the Potential to
  Reduce Deaths and Injuries from Mass Shootings Through Restrictions on Assault Weapons and
  Other High-Capacity Semiautomatic Firearms,” Criminology & Public Policy, 19 (February
  2020): 157; Philip J. Cook and Kristin A. Goss, The Gun Debate, 2nd ed. (NY: Oxford University
  Press, 2020), 201.

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  rounds, though the numerical cap for gun firing without reloading varied at that time from more

  than a single round up to eighteen. Thus, the idea of restricting removable magazines by capping

  the number of rounds dates back at least a century.

  III. HISTORICAL HARDWARE RESTRICTIONS ON KNIVES, BLUNT WEAPONS,
       PISTOLS, AND TRAP GUNS
         59.     Similar to government regulation of certain types of firearms and ammunition

  feeding devices in the early twentieth century, which occurred only after the weapons

  technologies matured, entered the civilian market, and threatened the public through criminal

  use, government regulation of other weapons typically followed a version of this trajectory

  during the 1700s and 1800s. Even though, as discussed earlier, serious crimes became more

  widespread in the early 1800s, specific crime-related concerns that involved dangerous weapons

  led to legislative enactments in the late 1700s and early 1800s. For example, from 1780-1809, at

  least four states (Connecticut, Ohio, New Jersey, Maryland) enacted measures that increased the

  penalties for burglaries or other crimes if the perpetrators were armed.157 At least three states

  (New York, Ohio, Maryland) enacted laws to punish the discharge of firearms near populated

  areas.158 At least four states (Virginia, Massachusetts, North Carolina, Tennessee) criminalized



  157
     1783 Conn. Acts 633, An Act For The Punishment of Burglary And Robbery; 1788-1801
  Ohio Laws 42, An Act for Suppressing and Prohibiting Every Species of Gaming for Money or
  Other Property, and for Making Void All Contracts and Payments Made in Furtherance Thereof,
  ch. 13, § 4. 1788; Charles Nettleton, Laws of the State of New-Jersey Page 474, Image 501
  (1821) available at The Making of Modern Law: Primary Sources. 1799 [An Act to Describe,
  Apprehend and Punish Disorderly Persons (1799)], § 2; The Laws Of Maryland, With The
  Charter, The Bill Of Rights, The Constitution Of The State, And Its Alterations, The Declaration
  Of Independence, And The Constitution Of The United States, And Its Amendments Page 465,
  Image 466 (1811) available at The Making of Modern Law: Primary Sources, 1809.
  158
    James Kent, Laws of the State of New-York Page 41-42, Image 44-45 (Vol. 1, 1802-1812)
  available at The Making of Modern Law: Primary Sources, 1785; An Act of April 22, 1785, An
  Act to Prevent the Firing of Guns and Other Fire-Arms within this State, on certain days therein
  mentioned; 1788-1801 Ohio Laws 42, An Act for Suppressing and Prohibiting Every Species of
                                                   45
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  public arms carrying.159 Other examples of restrictions of specific types of weapons are

  discussed in this section.

         A. Historical Restrictions on the Bowie Knife and Similar Long-Bladed Knives

         60.     The Bowie knife is generally credited with having been invented by the brother of

  adventurer Jim Bowie, Rezin Bowie. The knife was named after Jim Bowie, who reputedly

  killed one man and wounded another using a “big knife” given to him by his brother in the

  alternately notorious or celebrated “Sandbar Duel” in 1827.160

         61.     The “Bowie knife” rapidly became known beginning in the 1830s for the

  distinctive type of long-bladed and usually single-edged knife with a hand guard identified with

  Bowie, the man after whom the knife was named. While Bowie knives initially “came in a

  variety of forms—with or without guards, with differently shaped blades,” they eventually




  Gaming for Money or Other Property, and for Making Void All Contracts and Payments Made in
  Furtherance Thereof, ch. 13, § 4. 1788; 1792 Md. Laws 22, A Supplement To An Act Entitled,
  An Act to Improve and Repair the Streets in Elizabethtown, in Washington County, and For
  Other Purposes Therein Mentioned, chap. 52, § 4.
  159
      1786 Va. Laws 33, ch. 21, An Act forbidding and punishing Affrays; 1786 Mass. Sess. Laws
  An Act to Prevent Routs, Riots, and Tumultuous assemblies, and the Evil Consequences
  Thereof; Francois Xavier Martin, A Collection of Statutes of the Parliament of England in Force
  in the State of North Carolina, 60-61 (Newbern 1792); Judge Edward Scott, Laws of the State of
  Tennessee: Including Those of North Carolina Now in Force in this State: From the Year 1715 to
  the Year 1820, Inclusive Page 710, Image 714 (Vol. 1, 1821) The Making of Modern Law:
  Primary Sources. 1801, An Act for the Restraint of Idle and Disorderly Persons § 6.
  160
     “Bowie Knife,” Encyclopedia of Arkansas, n.d., https://encyclopediaofarkansas.net/
  entries/bowie-knife-2738/; William C. Davis, Three Roads to the Alamo (NY: HarperCollins,
  1998), 207-8. Davis persuasively dismisses the claim of a blacksmith, James Black, that he
  invented or styled the distinctive knife for Rezin Bowie (676–77). David Kopel says,
  erroneously, that “Jim Bowie used a traditional knife at a famous ‘sandbar fight’ on the lower
  Mississippi River in 1827.” Rezin Bowie had just developed the distinctive knife his brother
  used in the fight, so it could not have been “traditional.” David Kopel, “Bowie knife statutes
  1837-1899,” The Volokh Conspiracy, November 20, 2022,
  https://reason.com/volokh/2022/11/20/bowie-knife-statutes-1837-1899/

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  became more standardized as “a large knife with a cross guard and a blade with a clipped

  point.”161 The distinctive traits of the Bowie knife are revealed in Robert Abels’ book, Bowie

  Knives, which includes pictures of nearly one hundred such knives made between 1835 and

  1890.162 The Bowie legend, the explosive growth and spread of Bowie-related mythology (only

  magnified by his death at the Alamo in 1836), and the knife’s distinctive features, encouraged its

  proliferation,163 referred to by one historian as “the craze for the knives.”164 As was true of other

  knives with long, thin blades,165 they were widely used in fights and duels, especially at a time

  when single-shot pistols were often unreliable and inaccurate.166 Indeed, such knives were

  known as “fighting knives”167 that were “intended for combat.”168 In the early nineteenth

  century “guns and knives accounted for a growing share of the known weapons that whites used

  to kill whites.”169 In 1834, for example, a grand jury in Jasper County, Georgia deplored

            the practice which is common amongst us with the young the middle aged and the aged to
            arm themselves with Pistols, dirks knives sticks & spears under the specious pretence of
            protecting themselves against insult, when in fact being so armed they frequently insult
            others with impunity, or if resistance is made the pistol dirk or club is immediately
  161
     “Bowie Knife,” Encyclopedia of Arkansas, n.d., https://encyclopediaofarkansas.net/
  entries/bowie-knife-2738/.
  162
        Robert Abels, Bowie Knives (NY: Abels, 1979).
  163
     Virgil E. Baugh, Rendezvous at the Alamo (Lincoln, NE: University of Nebraska Press,
  1985), 39–63.
  164
        Davis, Three Roads to the Alamo, 583.
  165
     Other such long-bladed, thin knives of varying configurations typically named in laws barring
  their carrying included the Arkansas toothpick, the Spanish stiletto, dirks, daggers, and the like.
  166
     Davis, Three Roads to the Alamo, 164, 208; Baugh, Rendezvous at the Alamo, 42; Karen
  Harris, “Bowie Knives: The Old West’s Most Famous Blade,” Oldwest, n.d.,
  https://www.oldwest.org/bowie-knife-history/; Norm Flayderman, The Bowie Knife (Lincoln, RI:
  Andrew Mowbray, 2004), 485; Paul Kirchner, Bowie Knife Fights, Fighters, and Fighting
  Techniques (Boulder, CO: Paladin Press, 2010), 35-44.
  167
        Roth, American Homicide, 218.
  168
        Flayderman, The Bowie Knife, 59.
  169
        Roth, American Homicide, 218.

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            resorted to, hence we so often hear of the stabbing shooting & murdering so many of our
            citizens.170


            62.      Homicide rates increased in the South in the early nineteenth century, as did laws

  restricting concealed weapons carrying. Dueling also persisted during this time, even as the

  practice was widely deplored by religious and other groups, in newspapers, by anti-dueling

  societies and political leaders.171 Bowie knife writer Norm Flayderman provides abundant and

  prolific evidence of the early criminal use of Bowie knives in the 1830s, quoting from dozens of

  contemporaneous newspaper and other accounts, and providing references to literally hundreds

  of additional articles and accounts attesting to the widespread use of Bowie knives in fights,

  duels, brawls and other criminal activities.172 Flayderman concludes that, as early as 1836,

  “most of the American public was well aware of the Bowie knife.”173 (Very much like the allure

  of contemporary assault weapons to some,174 the Bowie knife’s notorious reputation also, if

  perversely, fanned its sale and acquisition.175) All this contributed to widespread enactment of




  170
        Quoted in Roth, American Homicide, 218–19.
  171
        Baugh, Rendezvous at the Alamo, 51.
  172
        Flayderman, The Bowie Knife, 25–64; 495–502.
  173
        Ibid., 43.
  174
     Ryan Busse, Gunfight (NY: Public Affairs, 2021), 12–15, 65; David Altheide, “The cycle of
  fear that drives assault weapon sales,” The Guardian, March 2, 2013,
  https://www.theguardian.com/commentisfree/2013/mar/02/cycle-fear-assault-weapon-sales;
  Rukmani Bhatia, “Guns, Lies, and Fear,” American Progress, April 24, 2019,
  https://www.americanprogress.org/article/guns-lies-fear/.
  175
        Flayderman, The Bowie Knife, 46.

                                                     48
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  laws prohibiting dueling in the states.176 In 1839, Congress passed a measure barring dueling in

  the District of Columbia.177 Both pistols and knives were prominently used in such affairs.178

            63.     At least three state court cases dealt in some manner with fighting knives like the

  Bowie knife. In the 1840 case of Aymette v. State179 the Supreme Court of Tennessee upheld the

  conviction of William Aymette for wearing a Bowie knife concealed under his clothes under a

  state law of 1837–1838, ch. 137, sec. 2, providing “that, if any person shall wear any bowie-

  knife, or Arkansas toothpick, or other knife or weapon that shall in form, shape, or size resemble

  a bowie-knife or Arkansas toothpick, under his clothes, or keep the same concealed about his

  person such person shall be guilty of a misdemeanor, and, upon conviction thereof, shall be fined

  in a sum not less than two hundred dollars, and shall be imprisoned in the county jail not less

  than three months and not more than six months.”180 In its decision, the court concluded that the

  prohibition against wearing the named weapons was well justified in that they “are usually

  employed in private broils, and which are efficient only in the hands of the robber and the

  assassin.”181 The court continued, “The Legislature, therefore, have a right to prohibit the

  wearing or keeping weapons dangerous to the peace and safety of the citizens. . . .”182 Further,

  the court added that the state law existed “to preserve the public peace, and protect our citizens




  176
     A search for the word “duel” in the Duke Center for Firearms Law database of old gun laws
  yields 35 results. See https://firearmslaw.duke.edu/repository/search-the-repository/.
  177
     H.R. 8, Joint Resolution Prohibiting Dueling, introduced March 5, 1838,
  https://history.house.gov/Records-and-Research/Listing/lfp_032/.
  178
        Roth, American Homicide, 180–83, 210–17.
  179
        Cited in District of Columbia v. Heller, 554 U.S. 570 (2008).
  180
        Aymette v. State, 21 Tenn. 152, 153 (Tenn. 1840).
  181
        Aymette v. State, 156.
  182
        Aymette v. State, 157.

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  from the terror which a wanton and unusual exhibition of arms might produce, or their lives from

  being endangered by desperadoes with concealed arms. . . .”183

            64.     Four years later, the Tennessee Supreme Court again dealt with a Bowie knife law

  violation and challenge. In the case of Haynes v. Tennessee (1844),184 Stephen Haynes was

  indicted for carrying a concealed Bowie knife. He was convicted of wearing a knife that

  resembled a Bowie knife but appealed his conviction on the grounds that he was actually

  carrying a “Mexican pirate knife,” which reputedly had a shorter, narrower blade. (At the trial,

  witnesses disagreed as to the proper name for the knife in question.) He also argued that the state

  law, in listing various types of knives including those “similar” to Bowie knives, was “too

  indefinite” and could therefore lead to “absurd consequences” that “must follow its enforcement.

  . . .”185 On appeal, the court upheld his conviction and commended the Tennessee state

  legislature’s enactment: “The design of the statute was to prohibit the wearing of bowie knives

  and others of a similar description, which the experience of the country had proven to be

  extremely dangerous and destructive to human life; the carrying of which by truculent and evil

  disposed persons but too often ended in assassination.”186 The court continued: “The design,

  meaning, and intent was to guard against the destruction of human life, by prohibiting the

  wearing [of] heavy, dangerous, destructive knives, the only use of which is to kill. . . .”187 The

  court noted that the state law “wisely provides against bowie knives, Arkansas tooth picks, or




  183
        Aymette v. State, 157.
  184
        Haynes v. Tennessee, 24 Tenn. 120 (1844).
  185
        Haynes v. Tennessee, 122.
  186
        Haynes v. Tennessee, 122.
  187
        Haynes v. Tennessee, 123.

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  any other weapon in form, shape or size, resembling them.”188 Noting the similarity among

  knives and the possibility of an unjust outcome where, say, a person might be convicted of

  carrying a mere pocket knife, the court posed this question: “what is to protect against

  conviction, when the words of the statute cover the charge, and its true spirit and meaning does

  not?” Their answer: “the judge and jury who try the case.”189 As the author of a book on Bowie

  knives noted, “the fact that the term ‘bowie knife’ had never been precisely defined did not help

  his [Haynes’s] case.”190

            65.    A third state court case relevant to the legal status of Bowie knives is Cockrum v.

  State (1859).191 The Cockrum case involved John Cockrum, who was charged with the murder of

  his brother-in-law, William Self, with a Bowie knife.192 Under Texas law, “a homicide, which

  would otherwise be a case of manslaughter, if committed with a bowie-knife or dagger, shall be




  188
        Haynes v. Tennessee, 122.
  189
        Haynes v. Tennessee, 123.
  190
        Kirchner, Bowie Knife Fights, Fighters, and Fighting Techniques, 43.
  191
     Cockrum v. State, 24 Tex. 394 (1859), https://constitution.org/1-
  Constitution/2ll/2ndcourt/state/177st.htm. David Kopel says that a fourth case, Nunn v. State, 1
  Ga. 243 (1846), is a “major state supreme court case[s] involving Bowie knives.” “The legal
  history of bans on firearms and Bowie knives before 1900,” The Volokh Conspiracy, November
  20, 2022, https://reason.com/volokh/2022/11/20/the-legal-history-of-bans-on-firearms-and-
  bowie-knives-before-1900/. But Nunn involved a man who was prosecuted for carrying a pistol
  (openly, not concealed), not a knife. A state law criminalized concealed carry of various named
  weapons, including pistols and Bowie knives, whereas a different provision allowed for open
  carrying of named weapons, including Bowie knives, but failed to include pistols on that list.
  Noting the “great vagueness” in the statute’s wording, the court reversed the man’s conviction
  and wrote that there was a constitutional right to open carry “for the important end to be attained:
  the rearing up and qualifying a well-regulated militia, so vitally necessary to the security of a
  free State.” By contrast, the court upheld the constitutionality of the concealed carry restrictions,
  and noted that those restrictions were enacted “to guard and protect the citizens of the State
  against the unwarrantable and too prevalent use of deadly weapons.” 246; italics in original.
  192
        https://www.genealogy.com/ftm/p/i/l/Karen-Pilgrim-TX/WEBSITE-0001/UHP-0254.html

                                                    51
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  deemed murder and punished as such. . . .”193 The court upheld the added penalty provision of

  the law relating to use of a Bowie knife, despite the court’s very expansive interpretation of the

  right to bear arms, but reversed and remanded the man’s conviction because of an error related to

  statutory changes and jury instructions. It described Bowie knives as “an exceeding destructive

  weapon,” an “instrument of almost certain death,” and “the most deadly of all weapons in

  common use.”194 Further, the court said: “He who carries such a weapon. . .makes himself more

  dangerous to the rights of others, considering the frailties of human nature, than if he carried a

  less dangerous weapon.”195

            66.    All of these cases underscore the courts’ recognition of the dangerous nature and

  nefarious use of Bowie knives not only by their characterizations of them, but by the fact that

  they are treated in the same restrictive and prohibitory manner in law as other dangerous, deadly

  weapons including pistols and various named clubs.196


  193
        Cockrum v. State, 394.
  194
     Cockrum v. State, 403–04. Kopel says, incorrectly, that “Bowie knives. . . were regulated the
  same as a butcher's knife.” According to the Duke Center for Firearms Law Repository of
  Historical Gun Laws (https://firearmslaw.duke.edu/repository/search-the-repository/) six states
  had laws that restricted butcher knives by name, whereas 42 states restricted Bowie knives by
  name. See Exhibits C and E. Kopel, “Bowie knife statutes 1837-1899.”
  195
        Cockrum v. State, 403.
  196
      Among the notorious incidents attached to the Bowie knife was its use by two of the
  conspirators in the Lincoln assassination in 1865. The plan was to assassinate President Lincoln,
  Vice President Andrew Johnson, and Secretary of State William Seward. The man assigned to
  attack Seward, Lewis Powell, entered the Seward home armed with a pistol and a Bowie knife.
  When one of Seward’s sons tried to stop him, Powell tried to shoot him, but his gun misfired, so
  he used it as a club against the son. When he encountered another son, Powell slashed him with
  his Bowie knife, the weapon he then used to attack Seward who, thanks to a neck collar,
  survived. David Morgan, “Lincoln assassination: The other murder attempt,” CBS News, May
  10, 2015, https://www.cbsnews.com/news/lincoln-assassination-the-other-murder-attempt/;
  https://www.history.com/topics/american-civil-war/william-seward. John Wilkes Booth also
  carried what was later identified as a Bowie knife which he used to slash the man who
  accompanied Lincoln to the theater and who tried to stop Booth after he shot the president.
  Booth slashed the man in the arm with his knife to make his escape.
                                                   52
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            67.    The ubiquity of the concern about the criminological consequences of carrying

  Bowie knives and other, similar long-bladed knives is seen in the widespread adoption of laws

  barring or restricting these weapons.197 In the 1830s, at least six states enacted laws barring the

  carrying of Bowie knives by name.198 From then to the start of the twentieth century, every state

  plus the District of Columbia (with the sole exception of New Hampshire) restricted Bowie

  knives: a total of at least 42 states (including the District of Columbia) barred or restricted

  Bowie knives by name; and another 8 states enacted laws barring the category or type of knife

  embodied by the Bowie knife but without mentioning them by name (see Exhibits C, E, and H)

  totaling 49 states plus the District of Columbia.199 For example, 15 states banned all carrying of

  Bowie knives (by banning both concealed carry and open carry), while others imposed taxes on

  the ability for individuals to acquire or possess them. Georgia sought to stamp out Bowie knife

  circulation (as well as that of other named weapons) in an 1837 law: “it shall not be lawful for

  any merchant, or vender of wares or merchandize in this State, or any other person or persons

  whatsoever, to sell, or offer to sell, or to keep, or to have about their person or elsewhere, any of

  the hereinafter described weapons . . . Bowie, or any other kinds of knives, manufactured and

  sold for the purpose of wearing, or carrying the same as arms of offence or defense, pistols,

  dirks, sword canes, spears, &c.”200 (see Exhibit H). The desirability and utility of concealed-


  https://lincolnconspirators.com/2018/12/31/cloak-and-daggers-cutting-through-the-confusion-of-
  the-assassination-knives/
  197
    The near-immediate effort in the states to restrict Bowie knives was noted, for example, in
  Davis, Three Roads to the Alamo, 582, and in Flayderman, The Bowie Knife, 53–54.
  198
     A seventh state, Massachusetts, criminalized the carrying of fighting knives using labels that
  would have included the Bowie knife in an 1836 law. See Exhibit H.
  199
      Bowie law enactment by decade: 1830s: 6 states; 1840s: 4 states; 1850s: 11 states; 1860s: 13
  states; 1870s: 19 states; 1880s: 20 states; 1890s: 21 states; 1900s: 13 states. See Exhibits C and
  E.
  200
        1837 Ga. Acts 90, An Act to Guard and Protect the Citizens of this State, Against the
                                                    53
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  carry restrictions were precisely that they pushed dangerous weapons out of public spaces and

  places, improving public safety through the deterrent and punishment effects of such laws, and

  also discouraging the settlement of private grievances and disputes in public through weapons-

  fueled violence. Arkansas combined no-carry provisions (whether concealed or openly) applying

  to Bowie knives, as well as pistols and other weapons, with another provision in the same law

  that made it a misdemeanor to “sell, barter or exchange, or otherwise dispose of, or in any

  manner furnish to any person”201 bowie knives, pistols, or other listed weapons. Even though the

  law allowed persons to have them on their own premises, it begs the question of how, exactly, a

  person could legally obtain such weapons in the first place if they weren’t already owned within

  a family before the 1881 law was enacted.

         68.     States relied on a variety of regulatory techniques to suppress Bowie knife

  carrying: 29 states enacted laws to bar their concealed carry; 15 states barred their carry whether

  concealed or openly; 7 states enacted enhanced criminal penalties for those who used the knives

  to commit a crime; 4 states enacted regulatory taxes attached to their commercial sale; 3 states

  imposed a tax for those who owned the knives; 10 states barred their sale to specified groups of

  people; and 4 states enacted penalties for brandishing the knives (see Exhibit H).

         69.     The extensive and ubiquitous nature of these Bowie knife prohibitions raises a

  further question: given the universal agreement that these knives were dangerous, why not

  simply ban their possession outright? The answer is two-fold. First, America was a developing

  nation-state in the nineteenth century. The federal and state governments did not yet possess the

  maturity, powers, tools, or resources to enact, much less implement, any measure as sweeping as


  Unwarrantable and too Prevalent use of Deadly Weapons, § 1.
  201
     1881 Ark. Acts 191, An Act to Preserve the Public Peace and Prevent Crime, chap. XCVI
  (96), § §1-3. The law also made an allowance for those carrying weapons “upon a journey.”

                                                  54
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  a knife ban, especially since knives are technologically very simple to produce. After all, the

  front-line administrative entity on which we today relay for law enforcement, the police, barely

  existed (in the way we think of policing today) in the early nineteenth century (up to this time

  policing fell to a haphazard mix of the watch system, constables, militias, and vigilantes).

  Modern police forces only came in to being in a handful of large cities before the Civil War.202

  Second, the chief remedy enacted by the states to address the problem of knife fighting was far

  more focused and feasible: to bar the carrying of knives, along with the other two categories of

  weapons that also threatened public safety, clubs and pistols.203 The fact that all three types of

  weapons were consistently treated together is conclusive evidence that all were considered so

  dangerous and inimical to public safety that subject to anti-carry laws and bundled together in

  legislative enactments.



            B. Historical Restrictions on Clubs and Other Blunt Weapons

            70.      Among the most widely and ubiquitously regulated harmful implements in

  U.S. history were various types of clubs and other blunt weapons. (See Exhibits C and E.) Most

  were anti-carry laws, which also generally encompassed pistols and specific types of knives,

  although some of the laws extended prohibitions to these weapons’ manufacture, possession,




  202
     Chris McNab, Deadly Force (Oxford, Great Britain: Osprey Publishing, 2009), 13-24. Boston
  created a police force in 1838, New York City created a standing police force in 1845, followed
  by Chicago in 1851, Philadelphia in 1854, and Baltimore in 1857 (23). Jill Lepore, “The
  Invention of the Police,” The New Yorker, July 13, 2020,
  https://www.newyorker.com/magazine/2020/07/20/the-invention-of-the-police. Both McNab and
  Lepore emphasize the role of slavery and slave suppression as key to the development of
  policing.
  203
        Spitzer, “Gun Law History in the United States and Second Amendment Rights,” 63-67.

                                                   55
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  sale, or use in crime.204 As the table in Exhibit C shows, at least six distinct types of clubs and

  blunt objects were regulated in the United States. Notably, every state in the nation had laws

  restricting one or more types of clubs. According to a detailed reference book on the subject of

  these blunt instruments by Robert Escobar, they were considered “objectionable objects, once

  feared but now forgotten.”205 Escobar provides what he calls “a family history” of these blunt

  weapons, but adding that “[i]t’s a disreputable family to say the least, black sheep even within

  the study of weaponry.”206 They have been described as “wicked, cowardly, ‘Soaked in blood

  and cured in whiskey.’”207 Those who carried them (excluding police) “were called vicious,

  devils and lurking highwaymen.”208 These club-type blunt objects compose a family of objects

  used for striking others, and while they vary in name and construction, the categories are

  “somewhat fluid.”209

            71.    Among the six types of clubs regulated in U.S. laws, 15 states barred bludgeon

  carrying. A bludgeon is a short stick with a thickened or weighted end used as a weapon.210 The

  earliest state anti-bludgeon law was in 1799; 12 such state laws were enacted in the 1700s and

  1800s, and 4 in the early 1900s (as with each of these chronological categories, the state law total

  exceeds the total number of states because some states enacted the same or similar laws in



  204
        E.g. see 1917 Cal. Sess. Laws 221-225; 1923 Cal. Stat. 695.
  205
     Robert Escobar, Saps, Blackjacks and Slungshots: A History of Forgotten Weapons
  (Columbus, OH: Gatekeeper Press, 2018), 1.
  206
        Escobar, Saps, Blackjacks and Slungshots, 2.
  207
        Escobar, Saps, Blackjacks and Slungshots, 2.
  208
        Escobar, Saps, Blackjacks and Slungshots, 2.
  209
        Escobar, Saps, Blackjacks and Slungshots, 1.
  210
        https://www.merriam-webster.com/dictionary/bludgeon.

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  multiple centuries).

            72.    A billy (sometimes spelled billie) club is a heavy, hand-held rigid club,211 usually

  made of wood, plastic, or metal,212 that is traditionally carried by police, often called a nightstick

  or baton.213 Escobar cites an early reference to the billy club in an 1854 New Orleans newspaper

  article in the Daily True Delta that referred to “police armed with batons,”214 a synonym for a

  billy club. As this reference suggests, police have long adopted the billy club, or similar striking

  implements, as part of their on-duty weaponry. At least 16 states had anti-billy club laws,

  totaling 46 laws; the earliest law appears to have been enacted in Kansas in 1862,215 followed by

  a New York law in 1866.216 Fourteen states enacted such laws in the 1800s; 11 states did so in

  the early 1900s.

            73.    At least 14 states barred the carrying of “clubs” more generically, without



  211
     Some versions were made to have some flexibility to increase their striking power. See
  Escobar, Saps, Blackjacks and Slungshots, 118-19.
  212
      https://www.merriam-webster.com/dictionary/billy%20club. Escobar discusses a Civil War
  veteran and later police officer, Edward D. Bean, who experimented with various types of billy
  clubs to improve their striking power and durability by utilizing leather, often adhered to wood,
  to reduce the likelihood that the club would break on use. Saps, Blackjacks and Slungshots, 118.
  One of the earliest references to a “billy” was an 1857 newspaper article describing “an
  indiscriminate attack with slung-shot, billies, clubs, &c.” “Local Intelligence,” Delaware
  Republican, June 15, 1857, https://bit.ly/3V9nVO7.
  213
        Escobar, Saps, Blackjacks and Slungshots, 2, 69-70, 105, 113-30.
  214
        Escobar, Saps, Blackjacks and Slungshots, 105.
  215
    C. B. Pierce, Charter and Ordinances of the City of Leavenworth, with an Appendix Page 45,
  Image 45 (1863) available at The Making of Modern Law: Primary Sources, 1862.
  216
     Montgomery Hunt Throop, The Revised Statutes of the State of New York; As Altered by
  Subsequent Legislation; Together with the Other Statutory Provisions of a General and
  Permanent Nature Now in Force, Passed from the Year 1778 to the Close of the Session of the
  Legislature of 1881, Arranged in Connection with the Same or kindred Subjects in the Revised
  Statutes; To Which are Added References to Judicial Decisions upon the Provisions Contained in
  the Text, Explanatory Notes, and a Full and Complete Index Page 2512, Image 677 (Vol. 3,
  1882) available at The Making of Modern Law: Primary Sources, 1866.

                                                    57
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  specifying the type. The oldest anti-club law was 1664; 7 states enacted these laws in the 1600s-

  1700s, 7 states in the 1800s, and 2 in the early 1900s.

            74.    Anti-slungshot laws were enacted by 43 states, with 71 laws enacted in the 1800s

  and 12 in the 1900s. A slungshot (or slung shot), also referred to as “a type of blackjack,”217 is a

  hand-held weapon for striking that has a piece of metal or stone at one end attached to a flexible

  strap or handle that was developed roughly in the 1840s (the first “known use” of slungshot was

  1842218). By one account, “[s]lungshots were widely used by criminals and street gang members

  in the 19th Century. They had the advantage of being easy to make, silent, and very effective,

  particularly against an unsuspecting opponent. This gave them a dubious reputation, similar to

  that carried by switchblade knives in the 1950s, and they were outlawed in many jurisdictions.

  The use as a criminal weapon continued at least up until the early 1920s.”219 Escobar concurs

  that slungshots and blackjacks “were a regular part of criminal weaponry. . .and gangsters could

  be merciless in their use.”220

            75.    In a criminal case considered the most famous of those involving lawyer Abraham

  Lincoln, the future president defended a man charged with murdering another using a slung shot.

  In the 1858 trial of William “Duff” Armstrong, Lincoln succeeded in winning Armstrong’s

  acquittal.221



  217
        Escobar, Saps, Blackjacks and Slungshots, 228.
  218
     See https://www.merriam-webster.com/dictionary/slungshot Escobar agrees with this rough
  date. See Saps, Blackjacks and Slungshots, 67.
  219
        “Slungshot,” https://military-history.fandom.com/wiki/Slungshot.
  220
        Escobar, Saps, Blackjacks and Slungshots, 86.
  221
     Lincoln was able to discredit the testimony of a witness who claimed to see Armstrong strike
  the victim with a slung shot at night because of the full moon. Lincoln used as evidence an
  Almanac to prove that on the night in question, there was no full moon. Judson Hale, “When
  Lincoln Famously Used the Almanac,” Almanac, May 4, 2022,
                                                   58
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          76.    These weapons were viewed as especially dangerous or harmful when they

  emerged in society, given the ubiquity of state laws against carrying them enacted after their

  invention and their spreading use by criminals and as fighting implements. These devices were

  invented and appeared in society during an identifiable period of time in the mid-nineteenth

  century, sparking subsequent wide-ranging prohibitions. The earliest anti-Slungshot law was

  enacted in 1850; 43 states legislated against them in the 1800s (including the District of

  Columbia), and 11 states in the early 1900s (note this incorporates multiple laws enacted in more

  than one century by a few states).

          77.    Sandbags, also known as sand clubs, were also a specific focus in anti-carry laws

  as well. Consisting of nothing more than sand poured into a bag, sack, sock, or similar tube-

  shaped fabric (although the weight could also be something dense and heavy, like a lock in the

  end of a sock),222 their particular appeal was that they could be dispensed with by simply pouring

  the sand out, leaving nothing more than an empty cloth bag. (Alternately, they could be made

  heavier by adding water to the sand.) The first anti-sandbag law was 1866, with 10 states

  enacting such laws—7 in the 1800s and 7 in the early 1900s. Only 4 states did not have any

  prohibitions in any of these six categories, but 3 of those 4 (Montana, Ohio, and Washington

  State) had blanket legislative provisions against the carrying of any concealed/dangerous/deadly

  weapons. One state, New Hampshire, may not have enacted such a law during this time but did

  at some point.223


  https://www.almanac.com/abraham-lincoln-almanac-and-murder-trial.
  222
     https://www.ferrislawnv.com/criminal-defense/weapons-offenses/dangerous-weapons/;
  Escobar, Saps, Blackjacks and Slungshots, 20-22. Escobar dates the earliest reference to
  sandbags as weapons to the 1600s (22).
  223
     Up to 2010, New Hampshire had this law on the books: “159:16 Carrying or Selling
  Weapons. Whoever, except as provided by the laws of this state, sells, has in his possession with
  intent to sell, or carries on his person any stiletto, switch knife, blackjack, dagger, dirk-knife,
                                                  59
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            C. Historical Restrictions on Pistol and Gun Carrying

            78.    Carry restriction laws were widely enacted from the 1600s through the start of the

  twentieth century, spanning over three centuries. As early as 1686, New Jersey enacted a law

  against wearing weapons because they induced “great Fear and Quarrels.” Massachusetts

  followed in 1750. In the late 1700s, North Carolina and Virginia passed similar laws. In the

  1800s, as interpersonal violence and gun carrying spread, forty-three states joined the list; three

  more did so in the early 1900s (see Exhibit B).224 The enactment of laws restricting concealed

  weapons carrying followed the rise of homicides and interpersonal violence described by

  historian Randolph Roth who noted that restrictions on firearms from the colonial period to the

  start of the Revolution were few because homicide rates were low. When homicides did occur,

  guns were seldom used, in large part because of the time involved loading them, their

  unreliability, and (especially for pistols) their inaccuracy. After the Revolutionary period the

  spread of violence tied to concealable percussion cap pistols and fighting knives led to the

  enactment of anti-concealed carry weapons laws.225 Concealed carry laws normally targeted

  pistols as well as the types of fighting knives and various types of clubs discussed here (see

  Exhibit E for text of such laws). In addition, at least three-fourths of the states enacted laws that

  penalized public weapons brandishing or display. At least four states did so in the 1600s, two in



  slung shot, or metallic knuckles shall be guilty of a misdemeanor; and such weapon or articles so
  carried by him shall be confiscated to the use of the state.” In 2010, the law was amended when
  it enacted HB 1665 to exclude stilettos, switch knives, daggers, and dirk-knives. Compare N.H.
  Rev. Stat. § 159:16 with 2010 New Hampshire Laws Ch. 67 (H.B. 1665).
  224
        Spitzer, “Gun Law History in the United States and Second Amendment Rights,” 63-67.
  225
     Roth, American Homicide, 61-144, 216-21; Randolph Roth, “Why Guns Are and Aren’t the
  Problem: The Relationship between Guns and Homicide in American History,” in Jennifer
  Tucker, Barton C. Hacker, and Margaret Vining, eds., A Right to Bear Arms? (Washington,
  D.C.: Smithsonian Institution Scholarly Press, 2019), 116-17; Roger Lane, Murder in America
  (Columbus, OH: Ohio State University Press, 1997), 344-45.

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  the 1700s, twenty-eight states in the 1800s, and two more in the early 1900s.226 As of 1938, “the

  carrying of concealed pistols is either prohibited absolutely or permitted only with a license in

  every state but two.”227 Thus, the widespread enactment of concealed carry laws, along with

  brandishing and display restrictions, were the public policy remedies to the emergent crime

  problems described here. In addition, and consonant with a maturing society, at least 30 states

  broadened their laws to restrict open weapons carrying as well. Most of these laws were enacted

  in the post-Civil War period (see Exhibit B).

            D. Historical Restrictions on Trap Guns

            79.    Not to be confused with firearms used in trapshooting, trap guns were devices or

  contraptions rigged in such a way as to fire when the owner need not be present. Typically, trap

  guns could be set to fire remotely (without the user being present to operate the firearm) by

  rigging the firearm to be fired with a string or wire which then discharged when tripped.228 This

  early law from New Jersey in 1771 both defines and summarizes the problem addressed by this

  law:

            Whereas a most dangerous Method of setting Guns has too much prevailed in this
            Province, Be it Enacted by the Authority aforesaid, That if any Person or Persons within
            this Colony shall presume to set any loaded Gun in such Manner as that the same shall be
            intended to go off or discharge itself, or be discharged by any String, Rope, or other
            Contrivance, such Person or Persons shall forfeit and pay the Sum of Six Pounds; and on
            Non-payment thereof shall be committed to the common Gaol of the County for Six
            Months.229




  226
        Spitzer, The Gun Dilemma, 77-80.
  227
    Sam B. Warner, “The Uniform Pistol Act,” Journal of Criminal Law and Criminology 29
  (Winter 1938): 530.
  228
        See Spitzer, “Gun Law History in the United States and Second Amendment Rights,” 67.
  229
     1763-1775 N.J. Laws 346, An Act for the Preservation of Deer and Other Game, and to
  Prevent Trespassing with Guns, ch. 539, § 10.

                                                   61
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          80.       Also sometimes referred to as “infernal machines,”230 the term trap gun came

  to encompass other kinds of traps designed to harm or kill those who might encounter them,

  including for purposes of defending property from intruders. Unlike the other weapons

  restrictions examined here, opinion was initially more divided on the relative merits or wisdom

  of setting such devices, with some arguing that thieves or criminals hurt or killed by the devices

  had it coming,231 though the weight of opinion seemed mostly against such devices because of

  the likelihood that innocent persons could be injured or killed, and also because such devices

  represented an arbitrary and excessive meting out of private, vigilante-type “justice” that was

  unjustifiably harsh—to seriously wound or kill a person—for crimes like stealing food or similar

  commodities.232 Those who set gun traps typically did so to defend their places of business,

  properties, or possessions. This 1870 newspaper account from an incident in New York City

  provides an example where a burglar was killed by a gun-trap set by a shopkeeper, who was then

  prosecuted: “As there is a statute against the use of such infernal machines, which might cause

  loss of life to some innocent person, the jury censured Agostino.” After the verdict the man

  continued to be held under $2,000 bail.233


  230
     E.g. 1901 Utah Laws 97-98, An Act Defining an Infernal Machine, and Prescribing Penalties
  for the Construction or Contrivance of the Same, or Having Such Machine in Possession, or
  Delivering Such Machine to Any Person . . . , ch. 96, §§ 1-3.
  231
     For example, this small item appeared in the Bangor (Maine) Daily Whig on October 27,
  1870: “A burglar while attempting to break into a shop in New York, Monday night, had the top
  of his head blown off by a trap-gun so placed that it would be discharged by any one tampering
  with the window. A few such ‘accidents’ are needed to teach the thieves who have lately been
  operating in this city, a lesson.”
  232
     This is my observation based on my reading of numerous historic newspaper accounts from
  the mid-to late 1800s, and from the number of anti-trap gun laws enacted. As policing became
  more consistent, professional, and reliable, support for vigilante-type actions like setting trap
  guns seems to have declined.
  233
    “The Man Trap,” The Buffalo Commercial, November 1, 1870; from the N.Y. Standard,
  October 29, 1870, https://bit.ly/3yUSGNF. See Exhibit G.

                                                  62
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            81.       Inevitably, however, the traps wound up hurting or killing innocents, even

  including the person who set the trap. For example, this 1891 newspaper account from

  Chillicothe, Missouri illustrated the problem: “George Dowell, a young farmer, was fined $50

  under an old law for setting a trap-gun. Dowell set the gun in his corn-crib to catch a thief, but

  his wife was the first person to visit the crib and on opening the door was shot dead.”234

            82.       In all, at least 18 states had anti-trap gun laws (see Exhibits B and F). The

  earliest such law encountered was the 1771 New Jersey law (above). eleven laws were enacted

  in the 1700s-1800s, and 9 in the early 1900s (counting states that enacted multiple laws across

  the centuries).

  IV. RECENT DEVELOPMENTS

            83.     A profound change in firepower occurred in the U.S. in the 1980s, when semi-

  automatic handguns, and a new generation of more expensive and more deadly guns, entered the

  criminal market.235 According to criminologists Alfred Blumstein and Richard Rosenfeld,

  writing in the 1990s about the period from 1985-1993 and the dramatic rise in gun crime and

  homicides during that period, “[o]ver the last decade the weapons involved in settling juveniles'

  disputes have changed dramatically from fists or knives to handguns, with their much greater

  lethality.”236 More specifically, Blumstein attributed this deadly crime spike in the 1980s to “the


  234
    “Shot by a Trap-Gun,” South Bend Tribune, February 11, 1891, https://bit.ly/3CtZsfk. See
  Exhibit G.
  235
     The prevailing crime handguns of the 1970s and early 1980s were so-called “Saturday night
  specials,” cheap, smaller caliber, short-barreled, easily concealable revolvers that accounted for
  much gun crime. “Hot Guns,” Frontline, PBS, aired June 3, 1997,
  https://www.pbs.org/wgbh/pages/frontline/shows/guns/etc/script.html; also Interview with Garen
  Wintemute, “Hot Guns,” PBS,
  https://www.pbs.org/wgbh/pages/frontline/shows/guns/interviews/wintemute.html
  236
        Alfred Blumstein and Richard Rosenfeld, “Explaining Recent Trends in U.S. Homicide
                                                    63
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  advent of crack cocaine, semiautomatic handguns and gangs” which “sparked the surge in

  killings by teen-agers.”237 Blumstein noted that “[b]eginning in 1985, there was steady growth in

  the use of guns by juveniles in committing murder, leading to a doubling in the number of

  juvenile murders committed with guns, with no shift in the number of non-gun homicides.”238

  These “young people are less likely to exercise the restraint necessary to handle dangerous

  weapons, particularly rapid-fire assault weapons.”239

            84.    This shift to greater firepower is consistent with the fact that “from 1973 to 1993,

  the types of handguns most frequently produced” were “pistols rather than revolvers. Pistol

  production grew from 28% of the handguns produced in the United States in 1973 to 80% in

  1993.”240 Pistols “generally contain cartridges in a magazine located in the grip of the gun.

  When the semiautomatic pistol is fired, the spent cartridge that contained the bullet and

  propellant is ejected, the firing mechanism is cocked, and a new cartridge is chambered”241

  whereas a revolver is defined as a “handgun that contains its ammunition in a revolving cylinder

  that typically holds five to nine cartridges. . . .”242




  Rates,” Journal of Criminal Law and Criminology 4 (Summer 1998): 1191,
  https://scholarlycommons.law.northwestern.edu/cgi/viewcontent.cgi?article=6976&context=jclc
  237
    Fox Butterfield, “Guns Blamed for Rise in Homicides by Youths in 80's,” New York Times,
  December 10, 1998, https://www.nytimes.com/1998/12/10/us/guns-blamed-for-rise-in-
  homicides-by-youths-in-80-s.html
  238
      Alfred Blumstein, “Violence by Young People: Why the Deadly Nexus?” National Institute
  of Justice Journal, August 1995, 5, https://www.ojp.gov/pdffiles/nijj_229.pdf
  239
        Blumstein, “Violence by Young People,” 5.
  240
     Marianne W. Zawitz, “Guns Used in Crime,” Bureau of Justice Statistics, July 1995, 3,
  https://bjs.ojp.gov/content/pub/pdf/GUIC.PDF
  241
        Zawitz, “Guns Used in Crime,” 2.
  242
        Zawitz, “Guns Used in Crime,” 2.

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            85.    In testimony before Congress on what became the assault weapons ban of 1994,

  law enforcement representatives discussed the rise in criminal firepower they witnessed in the

  1980s. For example, the executive vice president of the National Association of Police

  Organizations, Tony Loizzo, offered this testimony:

            In the past, we used to face criminals armed with a cheap Saturday Night Special that
            could fire off six rounds before loading. Now it is not at all unusual for a cop to look
            down the barrel of a TEC–9 with a 32 round clip. The ready availability of and easy
            access to assault weapons by criminals has increased. . . dramatically. . . . The six-shot
            .38 caliber service revolver, standard law enforcement issue for years, it just no match
            against a criminal armed with a semi-automatic assault weapon.243

            John Pitta, executive vice president of the Federal Law Enforcement Officers Association

  testified similarly with respect to the 1994 bill: “[t]he TEC–9 assault pistol is the undisputed

  favorite of drug traffickers, gang members and violent criminals. Cities across the country

  confiscate more TEC–9s than any other assault pistol.”244 The ultimate result was congressional

  enactment of a ten year restriction on assault weapons and also on ammunition magazines

  capable of holding more than ten rounds.245

  V. CONCLUSION

            What does the law say, and what should the law be, regarding the regulation of firearms

  and other harmful or dangerous weapons and accessories? Given the importance of history, the

  lesson is abundantly clear. Firearms and other dangerous weapons were subject to remarkably

  strict, consistent, and wide-ranging regulation throughout our history when they entered society,




  243
      H.R. REP. 103-489, H.R. Rep. No. 489, 103RD Cong., 2ND Sess. 1994, 1994 WL 168883,
  1994 U.S.C.C.A.N. 1820 (Leg.Hist.), Violent Crime Control and Law Enforcement Act Of 1994,
  32.
  244
        H.R. REP. 103-489, H.R. Rep. No. 489, 32.
  245
        Spitzer, The Politics of Gun Control, 205-11.

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                                                                                  October 2022
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  Positions Held:

         Department Chair, SUNY Cortland, 2008-2020.
         Interim Department Chair, SUNY Cortland, 2004-2005.
         Distinguished Service Professor, SUNY Cortland, 1997-2021.
         Visiting Professor, Cornell University, Spring, 2009, Spring 1993; Summers 1980, 1988-
                 1990, 1992-2017.
         Professor, SUNY Cortland, 1989 to 1997.
         Continuing Appointment, SUNY Cortland, 1986.
         Associate Professor, SUNY Cortland, 1984 to 1989.
         Department Chair, SUNY Cortland, 1983 to 1989.
         Visiting Professor, SUNY College of Technology, Utica-Rome, Graduate Division, 1985,
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         Copy Editor, Administrative Science Quarterly, 1982 to 1983.
         Adjunct Professor, Tompkins-Cortland Community College, 1982-83.
         Assistant Professor, SUNY Cortland, 1979 to 1984.
         Instructor, Cornell University, 1979.
         Instructor, Eisenhower College, 1978-1979.
         Research Assistant, Theodore J. Lowi and Benjamin Ginsberg, 1976-1978.
         Reporter (Stringer), Buffalo Courier-Express; Dunkirk Evening Observer, 1974-75.


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  Honors:

        Fellow, the Royal Society for Arts, Manufactures and Commerce (RSA), London,
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        Founding member, Regional Gun Violence Research Consortium, coordinated with the
        Rockefeller Institute of Government. Consortium of gun policy experts from eight states
        to advance research on gun policy, 2018-present.
        Member, SUNY Research Council, an advisory council to the SUNY Board of Trustees,
        SUNY System Administration, campus leadership teams, and the leadership team of the
        Research Foundation (RF) for SUNY, 2018-2021.
        Member, Scholars Strategy Network, 2015-present. Created to improve public policy and
        strengthen democracy by connecting scholars and their research to policymakers, citizens
        associations, and the media.
        Winner, Pi Sigma Alpha (the national political science honors society) Chapter Advisor
        of the Year Award for 2013.
        Winner, Outstanding Achievement in Research Award, SUNY Cortland, 2010.
        Winner, Outstanding Achievement in Research Award, SUNY Cortland, 2005.
        Winner, State University of New York’s Chancellor’s Excellence in Scholarship and
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        SUNY Cortland Nominee, National Scholar Competition of the Honor Society of Phi
                Kappa Phi, 1994-95.
        Winner, New York State/United University Professions Excellence Award, 1991, for
                "outstanding professional performance and superior service."
        Member, New York State Commission on the Bicentennial of the U.S. Constitution,
                1986-1990.
        Member, New York State Ratification Celebration Committee for U.S. Constitution
        Bicentennial, 1987-88.
        Member, National Bicentennial Competition on the Constitution and the Bill of Rights,
                1987-1991.
        Who's Who in the World, 1996.
        Dictionary of International Biography, 1995.
        Who's Who in the East, 1995-96; 1997-98
        Ex officio member, Cortland County Bicentennial Committee, 1987-89.
        Chair, SUNY Cortland Bicentennial Committee, 1987-89.
        Phi Eta Sigma, SUNY Cortland, 1994.
        Phi Kappa Phi, SUNY Cortland, 1990.
        Men of Achievement (1986)
        Contemporary Authors, vol. 112 (1985) and subsequent updates.
        International Authors and Writers Who's Who, 1985-present.
        International Who's Who in Education, Winter 1985-86.
        Herbert H. Lehman Graduate Fellowship, 1975-79.
        Who's Who Among Students in American Universities and Colleges, 1974-75.
        Phi Beta Kappa Club, SUNY College at Fredonia, 1975.
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         Phi Alpha Theta (History), SUNY College at Fredonia, 1974.
         Phi Mu Alpha Sinfonia, (Music), SUNY College at Fredonia, 1973.


  Research Fellowships and Projects:

         Individual Development Awards, SUNY Cortland, 2001, 2003, 2005, 2006, 2007, 2008,
         2009, 2014, 2017, 2020.
         Title “F” Leave with pay, Spring 1994.
         Professional Development and Quality of Working Life Award, 1989, 1993, 1998, 1999.
         National Endowment for the Humanities (NEH) Research Grant for Study of the
         Constitution, 1986. Project Proposal: “The Presidential Veto: Constitutional Antecedents
         and Modern Applications.”
         SUNY Cortland Faculty Research Program Grant, “The Presidential Veto, 1986.
         Consultant for Reporting Research Corporation, “Quality of Earnings Report,” Thornton
         L. O’Glove, author; research on presidential veto use, 1984-1987.
         SUNY University Awards Program Research Fellowship, “The Right to Life Party and
         New York State Politics, 1983.
         SUNY Cortland Faculty Research Program Fellowship, “New York State Parties and
         Politics,” 1980.


  Publications and Papers:

         Books:

         The Presidency and Public Policy: The Four Arenas of Presidential Power (University,
         AL: The University of Alabama Press, 1983). A study of the President's relations with
         Congress in the making of domestic policy. Revised version of doctoral dissertation.

         The Right to Life Movement and Third Party Politics (Westport, CT: Greenwood Press,
         1987). A study of the New York multi-party system, single-issue third parties, and the
         state-based Right to Life Party.

         The Presidential Veto: Touchstone of the American Presidency (Albany, NY: SUNY
         Press, 1988), with a foreword by Louis Fisher. A study of the constitutional antecedents
         and modern applications of the veto power. Published as part of SUNY Press Series on
         Leadership, edited by Barbara Kellerman.

         Editor, The Bicentennial of the U.S. Constitution: Commemoration and Renewal
         (Cortland, NY: SUNY Cortland, 1990). A compendium of articles based on presentations
         given at SUNY Cortland pertaining to the Constitution's Bicentennial. Contributors
         include Senator Daniel Patrick Moynihan, Theodore J. Lowi, Judith A. Best, and Robert
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       Spitzer.

       President and Congress: Executive Hegemony at the Crossroads of American
       Government (New York: McGraw-Hill; and Temple University Press, 1993). Published
       simultaneously by co-publishing agreement in paper by McGraw-Hill, and hardcover by
       Temple. An analytic survey and critique of presidential-congressional relations. Received
       Honorable Mention for the Richard Neustadt Award for Best Book on the Presidency for
       1993.

       Editor, Media and Public Policy (New York: Praeger, 1993). Published in Praeger's
       Political Communications Series, edited by Robert E. Denton, Jr. A collection of original
       essays dealing with various aspects of media's impact on public policy. Contributors
       include Doris Graber, Julio Borquez, Wenmouth Williams, Marion Just, Ann Crigler,
       Michael Hawthorne, Dean Alger, Jerry Medler, Michael Medler, Montague Kern, Robert
       Sahr, Holli Semetko, Edie Goldenberg, Patrick O'Heffernan, and Robert Spitzer.

       The Politics of Gun Control (New York: Chatham House, 1995; 2nd edition, 1998; 3rd
       edition, CQ Press, 2004; 4th ed. 2008; 5th ed., Paradigm/Routledge Publishers 2012; 6th
       ed., Routledge, 2015, 7th ed., 2018; 8th ed. 2021). A comprehensive political and policy
       analysis of the gun issue that applies policy theory to the key elements of the gun debate,
       including analysis of the Second Amendment, cultural-historical factors, interest group
       behavior, criminological consequences, legislative and executive politics.

       Editor, Politics and Constitutionalism: The Louis Fisher Connection, (Albany, NY:
       SUNY Press, 2000). A collection of original essays inspired by the works of Louis
       Fisher. Contributors include Neal Devins, Nancy Kassop, Dean Alfange, David Adler,
       Loch Johnson, Michael Glennon, Louis Fisher, and Robert Spitzer. Published as part of
       the SUNY Press Book Series on American Constitutionalism. Nominated by SUNY Press
       for the 2001 Silver Gavel Award of the American Bar Association.

       The Right to Bear Arms: Rights and Liberties Under the Law (Santa Barbara, CA: ABC-
       CLIO, 2001). An extensive analysis of the Second Amendment “right to bear arms” from
       legal, historical, and political perspectives. Published as part of the “America’s
       Freedoms” Series edited by Donald Grier Stephenson.

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       Theodore Lowi, Cornell; Margaret Weir, Berkeley. (W.W. Norton, 2002; 2nd edition,
       2006). A synthetic, analytic look at American government and politics.

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       A. Genovese (NY: Palgrave/Macmillan, 2005). A combination of analysis and cases
       examining the courts’ view of presidential power.

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       Saving the Constitution from Lawyers: How Legal Training and Law Reviews Distort
       Constitutional Meaning (New York: Cambridge University Press, 2008). A sweeping
       indictment of the legal community when it enters into the realm of constitutional
       interpretation.

       We the People: Essentials Edition, co-authored with Benjamin Ginsberg, Johns Hopkins;
       Theodore Lowi, Cornell; Margaret Weir, Berkeley. (W.W. Norton, 7th ed. 2009; 8th ed.
       2011; 9th ed., 2013; 10th ed. 2015; 11th ed. 2017; 12th ed. 2019; 13th ed. 2021).

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       Publishing Group, 2009). A combination of analysis, commentary, and original historical
       and contemporary documents pertaining to the gun issue published in Greenwood’s
       Documentary and Reference Series.

       The Gun Debate: An Encyclopedia of Gun Rights and Gun Control, co-authored with
       Glenn Utter (Grey House Publishers, 2011; third edition 2016). An A-Z compendium of
       gun issues.

       Guns across America: Reconciling Gun Rules and Rights (New York: Oxford University
       Press, 2015); revised paperback edition published 2017. Argues that our understanding of
       the gun issue as it has evolved in the U.S. is upside down, looking at gun law history, the
       Second Amendment, stand your ground laws, and New York State gun laws.

       The Gun Dilemma: How History Is Against Expanded Gun Rights (New York: Oxford
       University Press, 2023, forthcoming). Argues that the courts are ushering in a new era of
       expanded gun rights, despite the fact that such a movement is contrary to our gun history
       by examining assault weapons, ammunition magazines, silencers, gun brandishing, and
       the Second Amendment sanctuary movement.

       Book Series Editor, Series on American Constitutionalism, SUNY Press, 1996-present.
       Books include:
              Daniel Hoffman, Our Elusive Constitution, (1997)
              Martin Sheffer, God and Caesar: Belief, Worship, and Proselytizing Under the
              First Amendment, (1999)
              Daniel Levin, Representing Popular Sovereignty: The Constitution in American
              Political Culture, (1999)
              Robert Spitzer, ed., Politics and Constitutionalism, (2000)
              Laura Langer, Judicial Review in State Supreme Courts (2002)
              Ian Brodie, Friends of the Court (2002)
              Samuel Leiter and William Leiter, Affirmative Action in Antidiscrimination
                      Law and Policy (2002)
              Artemus Ward, Deciding to Leave: The Politics of Retirement from the United
              States Supreme Court (2003)
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             James T. McHugh, Ex Uno Plura: State Constitutions and Their Political Cultures
             (2003)
             Stephen Newman, ed., Constitutional Politics in Canada and the United States
             (2004).
             Stephen Kershnar, Justice for the Past (2004).
             Timothy R. Johnson, Oral Arguments and Decision Making on the U.S. Supreme
             Court (2004).
             Christopher P. Banks, David B. Cohen, and John C. Green, eds., The Final
             Arbiter: The Consequences of Bush v. Gore for Law and Politics (2005)
             Kenneth D. Ward and Cecilia R. Castillo, eds., The Judiciary and American
             Democracy: Alexander Bickel, the Countermajoritarian Difficulty, and
             Contemporary Constitutional Theory (2005).
             G. Alan Tarr and Robert F. Williams, eds., State Constitutions for the Twenty-
             first Century: The Politics of State Constitutional Reform (2006).
             Frank P. Grad and Robert F. Williams, State Constitutions for the Twenty-first
             Century: Drafting State Constitutions, Revisions, and Amendments (2006).
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             first Century: The Agenda of State Constitutional Reform, 3 vols. (2006).
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             Jurisprudence (2006).
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       Committee, Subcommittee on the Legislative Process, House of Representatives,
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       Washington, D.C., June 15, 1994.

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       “The Second Amendment: A Source of Individual Rights?” Testimony presented to the
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       Meeting on Executive Order 13233, pertaining to presidential records access, hosted by
       Alberto Gonzales, Office of Legal Counsel, the White House, Washington, D.C.,
       December 7, 2001.

       Article (“Lost and Found: Researching the Second Amendment,” Chicago-Kent Law
       Review, 2000) cited as controlling authority by the U.S. Court of Appeals, Ninth Circuit,
       in the case of Silveira v. Lockyer (312 F.3d 1052; 9th Cir. 2002); 2002 U.S. App. LEXIS
       24612.

       Coauthor, amicus curiae brief in the case of Nordyke v. King, U.S. Court of Appeals,
       Ninth Circuit, 319 F.3d 1185 (2003).

       White House meeting on changing standards regarding FOIA requests, access to
       Executive Branch documents, and presidential library design, hosted by White House
       Counsel Alberto Gonzales and White House Staff Secretary Brett Kavanaugh,
       Washington, D.C., July 17, 2003.

       Invited participant and panelist, “National Research Collaborative Meeting on Firearms
       Violence,” hosted by the Firearm and Injury Center at the University of Pennsylvania,
       and the Joyce Foundation, Philadelphia, PA, June 15-17, 2005.

       Program Review Report, SUNY Geneseo Political Science Department, March, 2009.

       Coauthor with Louis Fisher, amicus curiae brief in the case of Republic of Iraq et al. v.
       Beaty et. al., U.S. Supreme Court, filed March 25, 2009; case decided June 8, 2009 (556
       U.S. 848; 2009).

       Testimony on bills to enact early voting and other state voting reform measures before
       the New York State Senate Standing Committee on Elections, Syracuse, NY, May 14,
       2009.

       Co-author, amicus brief in the cases of NRA v. City of Chicago and McDonald v.
       Chicago, U.S. Supreme Court, argued March 2, 2010, decided June 28, 2010, 561 U.S.
       742 (2010).

       Consultant for plaintiffs in Conservative Party of New York and Working Families Party
       v. NYS Board of Elections (10 Civ. 6923 (JSR)), 2010, U.S. District Court for the
       Southern District of New York.
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       Co-author, amicus brief in the case of Ezell v. Chicago, U.S. Court of Appeals for the
       Seventh Circuit, 651 F.3d 684 (2011).

       Co-author, amicus brief in the case of People of the State of Illinois v. Aguilar, Illinois
       Supreme Court, No. 08 CR 12069, 2012.

       Invited panelist and contributor to conference and report, Institute of Medicine and the
       National Research Council of the National Academies, “Committee on Priorities for a
       Public Health Research Agenda to Reduce the threat of Firearm-Related Violence,”
       National Academies Keck Center, 500 Fifth St., NW, Washington, DC, April 23, 2013.

       “Perspectives on the ‘Stand Your Ground’ Movement,” Testimony submitted to the U.S.
       Senate Committee on the Judiciary, Subcommittee on the Constitution, Civil Rights and
       Human Rights, Hearing on “‘Stand Your Ground’ Laws: Civil Rights and Public Safety
       Implications of the Expanded Use of Deadly Force,” Washington, D.C., October 29,
       2013.

       Testimony on the Hearing Protection Act to deregulate gun silencers submitted to the
       U.S. House of Representatives Committee on Natural Resources, Subcommittee on
       Federal Lands, for Hearings on the Sportsmen’s Heritage and Recreational Enhancement
       Act (SHARE Act), Washington, D.C., September 12, 2017.

       Expert testimony submitted for the State of Massachusetts, Office of Attorney General, in
       the case of Worman v. Baker, No. 1:17-cv-10107-WGY, United States District Court for
       the District of Massachusetts, submitted September 15, 2017, challenging Massachusetts
       state assault weapons restrictions. In 2019 the U.S. Court of Appeals for the First Circuit
       upheld the Massachusetts law (922 F.3d 26).

       Member, Regional Gun Violence Research Consortium Organizing Committee, a Task
       Force organized by NY Governor Andrew Cuomo and the State Department of Education
       to research and investigate the causes of gun violence in a multi-state effort. February
       2018.

       Program Review Report, SUNY New Paltz Political Science and International Relations
       Departments, April 2019.

       Consultant on Facebook policies and actions regarding gun issues, Quonundrums Market
       Research for Facebook, August 17, 2021.

       Several of my publications cited in the case ruling of Duncan v. Bonta, U.S. Court of
       Appeals for the Ninth Circuit, November 30, 2021.

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  Papers and Presentations (not including those given on the Cortland campus):

         "The President as Policy-Maker: The Arenas of Presidential Power from 1954 to 1974,"
         American Political Science Association, Washington, D.C., August 28-31, 1980.

         "The Right-to-Life Movement as a Third Party: The Policy Environment and Movement
         Politics," American Political Science Association, New York City, September 3-6, 1981.
         Reprinted by Rockefeller Institute for Governmental Studies Working Papers, Vol. I, No.
         4, September, 1982.

         "Viable Democracy or the French Fourth Republic: Multi-Party Politics in New York,"
         New York State Political Science Association, Albany, April 6, 1984.

         "The Right-to-Life Movement as Partisan Activity," American Political Science Associa-
         tion, Washington, D.C., August 30 - September 2, 1984.

         "Biting the Bullet: Gun Control and Social Regulation," American Political Science
         Association, New Orleans, La., August 29 - September 1, 1985.

         "The Presidential Veto," Northeastern Political Science Association, Boston, MA,
         November 13-15, 1986.

         "Perspectives on the Presidential Veto Power: Antecedents and Evolution," Bicentennial
         Conference on the Presidency, co-sponsored by the Center for the Study of the
         Presidency, the Chautauqua Institution and Gannon University, Erie, PA, April 24-26,
         1987.

         "The Transformation of a Kingly Power: The Presidential Veto, Past and Present,"
         American Political Science Association, Chicago, IL, September 3-6, 1987.

         "The Pocket Veto: Expanding Presidential Prerogatives Through the Back Door,"
         American Political Science Association, Washington, D.C., September 1-4, 1988.

         "Liberalism and Juridical Democracy; or What's Interesting About Interest Group
         Liberalism," Western Political Science Association, Newport Beach, CA., March 22-24,
         1990.

         "Separation of Powers and the War Power," presentation sponsored by the Federalist
         Society, Cornell University School of Law, April 20, 1990.

         "Is the Separation of Powers Obsolete? An Inquiry into Critiques of the Congressional-
         Presidential Balance of Power," American Political Science Association, Washington,
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       D.C., August 29-September 1, 1991.

       "Hate Speech and the College Campus," conference on Two Hundred Years of Free
       Expression, SUNY Oneonta, October 2-3, 1992.

       "From Presidential Shield to `Go Ahead, Make My Day': The Presidential Veto and the
       Constitutional Balance of Power," featured paper presenter for Fall 1992 Symposium on
       American Constitutionalism, Southwest Texas State University, San Marcos, TX,
       October 30, 1992.

       "The Reagan Presidency and the Veto Power: Symbols and Actions of the `Make-My-
       Day' President," Southern Political Science Association, Savannah, GA, November 3-6,
       1993.

       "Tenure, Speech, and the Jeffries Case: A Functional Analysis," conference on academic
       Freedom and Tenure, sponsored by New York City Bar Association and Pace University
       Law School, New York City, March 8, 1994.

       "`It's My Constitution, and I'll Cry If I Want To': Constitutional Dialogue, Interpretation,
       and Whim in the Inherent Item Veto Dispute, " American Political Science Association,
       Chicago, August 31-September 3, 1995. Winner, 1996 Presidency Research Group
       Founders’ Award for Best Paper on the Presidency presented at the 1995 APSA. Paper
       received mention in the Washington Post, September 24, 1995.

       "Guns and Violence," presentation before Bryn Mawr Presbyterian Church Task Force on
       Violence, Bryn Mawr, PA, October 8, 1995.

       "Guns, Militias, and the Constitution," Distinguished Lecture Series, Utica College, Utica
       NY, March 26, 1996.

       "The Right to Bear Arms: A Constitutional and Criminological Analysis of Gun
       Control," the Cornell University School of Law, October 8, 1996.

       "The Veto King: The `Dr. No' Presidency of George Bush," Conference on the
       Presidency of George Bush, Hofstra University, Hempstead, NY, April 17-19, 1997.

       "Saving the Constitution from Lawyers," American Political Science Association,
       Washington, D.C., August 28-31, 1997.

       “Revolution, the Second Amendment, and Charlton Heston,” Gettysburg College,
       Gettysburg, PA, October 30, 1997.

       “Recent Developments in The Politics of Gun Control,” Gettysburg College, Gettysburg,
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       PA, November 10, 1998.

       “The Second Amendment, Disarmament, and Arms Control,” Communitarian Summit,
       the Washington National Airport Hilton, Arlington, VA, February 27-28, 1999.

       “The Argument Against Clinton’s Impeachment,” Hyde Park Session, American Political
       Science Association, Atlanta, September 2-5, 1999.

       “Gun Politics After Littleton,” Gettysburg College, Gettysburg, PA, November 9, 1999.

       “Lost and Found: Researching the Second Amendment,” Symposium on “The Second
       Amendment: Fresh Looks,” Chicago-Kent Law School and the Joyce Foundation,
       Chicago, April 28, 2000.

       “The Independent Counsel and the Presidency After Clinton,” American Political Science
       Association, Washington, D.C., August 31-September 3, 2000.

       “From Columbine to Santee: Gun Control in the 21st Century,” Idaho State University,
       Pocatello, Idaho, April 19, 2001.

       “Gun Control in the New Millennium,” Gettysburg College, Gettysburg, PA, November
       13, 2001.

       “Gun Rights for Terrorists? Gun Control and the Bush Presidency,” A Presidency
       Transformed By Crises: The George W. Bush Presidency, SUNY Fredonia, NY, October
       17-18, 2002.

       “Gun Control and the Bush Presidency,” Gettysburg College, Gettysburg, PA, November
       21, 2002.

       “The Ashcroft Justice Department and the Second Amendment,” American Bar
       Association Annual Meeting, San Francisco, August 8-11, 2003.

       “The Bush Presidency and 9/11,” Keynote Address, Conference on 9/11, Cazenovia
       College, NY, September 11, 2003.

       “Report of the National Task Force on Presidential Communication to Congress,” co-
       author, Tenth Annual Texas A&M Conference on Presidential Rhetoric, George Bush
       Presidential Library and Conference Center, College Station, TX, March 4-7, 2004.

       “Don’t Know Much About History, Politics, or Law: Comment,” Conference on The
       Second Amendment and the Future of Gun Regulation, co-sponsored by the Fordham
       School of Law, the Second Amendment Research Center, and the John Glenn Institute
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       for Public Service and Public Policy of the Ohio State University, April 13, 2004, New
       York City.

       “Bush vs. Kerry: Election of the Century?” Colgate University, Hamilton, NY, October
       20, 2004.

       “The Commander-in-Chief Power and Constitutional Invention in the Bush
       Administration,” a paper presented at a Conference on “Is the Presidency Dangerous to
       Democracy?”, Loyola Marymount University, Los Angeles, CA, February 7, 2005.

       Participant, “The Wheler Family Address on International Relations,” Academic
       Conference on World Affairs, Cazenovia College, Cazenovia, NY, September 9, 2005.

       “What Ever Happened to Gun Control?”, Gettysburg College, Gettysburg, PA, November
       1, 2005.

       “Clinton and Gun Control: Boon or Bane?” a paper presented at the 11th Presidential
       Conference on William Jefferson Clinton, Hofstra University, Hempstead, NY,
       November 10-12, 2005.

       “George W. Bush and the Unitary Executive,” Keynote Address for “Quest,” SUNY
       Oswego Scholars Day, April 19, 2006.

       “Resolving Conflict with Intractable Foes: The Lessons of International Relations
       Theory Applied to the Modern Gun Control Debate,” Bryant University, Smithfield, RI,
       April 24, 2006.

       “The Unitary Executive and the Commander-in-Chief Power,” Conference on
       Presidential Power in America: The Constitution, the Defense of a Nation and the
       National Ethos, Massachusetts School of Law Conference Series, Andover, MA, October
       14-15, 2006.

       “The 2006 Elections,” LeMoyne College, Syracuse, NY, November 29, 2006.

       “In Wartime, Who Has the Power?” Symposium on Presidential Power and the Challenge
       to Democracy, Idaho State University, Pocatello, ID, April 26, 2007.

       “Saul Cornell’s Second Amendment: Why History Matters,” Conference on Firearms, the
       Militia and Safe Cities: Merging History, Constitutional Law, and Public Policy, Albany
       Law School, Albany, NY, October 18-19, 2007.

       “Gun Control and the 2008 Elections,” Third Annual Harry F. Guggenheim Symposium
       on Crime in America, John Jay College, New York City, December 3-4, 2007.
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       “The Post-Cold War Vice Presidency,” Cornell Adult University, Cornell University,
       Ithaca, NY, July 31, 2008.

       “Is the Presidency Constitutional?” Roundtable panel on Restoring the Constitutional
       Presidency, APSA, Boston, August 28-31, 2008.

       “The Future of the American Presidency,” Board of the Bristol Statehouse, Bristol, RI,
       November 30, 2008.

       “Is the Constitutional Presidency Obsolete? The Future of the American Presidency,”
       Symposium on The Future of the American Presidency, Regent University, Virginia
       Beach, VA, February 6, 2009.

       “The Failure of the Pro-Gun Control Movement,” SUNY Oneonta, March 19, 2009.

       “The Post-Bush Presidency and the Constitutional Order,” American Political Science
       Association, Toronto, Canada, September 3-6, 2009.

       “Inventing Gun Rights: The Supreme Court, the Second Amendment, and Incorporation,”
       SUNY Geneseo, March 24, 2010.

       “Intelligence Don’t Matter,” Keynote Address to Phi Kappa Phi Induction Ceremony,
       SUNY Cortland, April 17, 2010.

       “The Law and Politics of Gun Control after Tucson,” 6th Annual Harry Frank
       Guggenheim Symposium on Crime in America, conference on “Law and Disorder:
       Facing the Legal and Economic Challenges to American Criminal Justice,” John Jay
       College of Criminal Justice, CUNY, New York City, January 31-February 1, 2011.

       “Looking Ahead to the 2012 Elections,” Tompkins County Democratic Committee,
       Ithaca, NY, August 7, 2011.

       “Growing Executive Power: The Strange Case of the ‘Protective Return’ Pocket Veto,”
       American Political Science Association, Seattle, WA, September 1-4, 2011.

       “Gun Control and the Second Amendment,” OASIS Conference, Syracuse, NY, October
       3, 2011

       “Comparing the Constitutional Presidencies of George W. Bush and Barack Obama: War
       Powers, Signing Statements, Vetoes,” conference on “Change in the White House?
       Comparing the Presidencies of George W. Bush and Barack Obama,” Hofstra University,
       Hempstead, NY, April 19, 2012.
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       “Watergate After 40 Years: Dick Cheney’s Revenge,” American Political Science
       Association, New Orleans, LA, August 30-September 2, 2012.

       “The Media, American Elections, and Democracy,” OASIS, Syracuse, NY, October 22,
       2012.

       “Hot Button Issues in the 2012 Presidential Campaign,” Hiram College Conference on
       the 2012 Elections, Hiram, Ohio, November 15-17, 2012.

       “Gun Legislation and Obstacles to Effective Gun Control,” Metropolitan Black Bar
       Association, New York City Bar Association, November 29, 2012.

       “Guns and America,” Syracuse University, Syracuse, NY, February 19, 2013.

       “The Constitution Between Opponents,” conference on “The State of the Presidency,”
       Andrus Center for Public Policy, Boise State University, Boise, ID, February 28, 2013.

       “Gun Policy at a Crossroads,” Thursday Morning Roundtable, Syracuse, NY, March 7,
       2013.

       “Gun Policy Cycles and History,” Pediatric Grand Rounds at the Upstate Golisano
       Children’s Hospital, Syracuse, NY, March 13, 2013.

       “Gun Law and the Constitution,” Monroe County Bar Association, Rochester, NY,
       March 21, 2013.

       “The Architecture of the Gun Control Debate,” Goldfarb Center for Public Affairs, Colby
       College, Waterville, ME, April 2, 2013.

       “The Campbell Debates: This Assembly Supports the NY SAFE Act,” Syracuse
       University, April 5, 2013.

       “What has Sandy Hook Changed? The Evolving Gun Debate,” Reisman Lecture Series,
       Cazenovia College, Cazenovia, NY, April 17, 2013.

       “Gun Policy Change: Infringing Rights, or Following History?” Jefferson Community
       College, Watertown, NY, April 18, 2013.

       “Under the Gun,” Conference on “Gun Violence, Gun Laws, and the Media,” Center on
       Media, Crime and Justice, John Jay College of Criminal Justice, New York, May 14-15,
       2013.

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       “Five Myths of the Gun Debate,” Lawman of the Year, Cortland County Lawman
       Committee, Cortland, NY, May 20, 2013.

       “Gun Law History,” Sterling Historical Society, Sterling, NY, June 27, 2013.

       “Analyzing the New York SAFE Act,” League of Women Voters Forum, Cortland, NY,
       September 12, 2013.

       “Constitution Day, the Second Amendment, and Guns,” OASIS, Syracuse, NY,
       September 16, 2013.

       “The Second Amendment and Guns in America,” Values, Arts, and Ideas Series
       Constitution Day Speaker, Manchester University, North Manchester, Indiana, September
       17, 2013.

       “Live By History, Die By History: The Second Amendment, Heller, and Gun Policy,”
       Georgetown University, Washington, DC, October 18, 2013.

       “American Gun Policy,” “Gun Violence: A Comparative Perspective,” and “American
       History and Foreign Policy, 1960-1990,” King’s College, London, England; Southbank
       Centre, “Superpower Weekend,” November 8-11, 2013.

       “Gun Politics and the Electoral Process,” Oneida County Women’s Democratic Club and
       County Committee, Utica, NY, November 17, 2013.

       “The Second Amendment and the Hidden History of Gun Laws,” Institute for Legislative
       Studies, University of North Carolina, Greensboro, NC, November 20-21, 2013.

       “The Future of Gun Regulation After Newtown,” Fordham University, New York, NY,
       January 21, 2014.

       “The 2014 Elections: The End of the Obama Era?” 22nd Annual Chautauqua, Homer, NY,
       August 3, 2014.

       “New York State and the NY SAFE Act: A Case Study in Strict Gun Laws,” conference
       on “A Loaded Debate: The Right to Keep and Bear Arms in the 21st Century,” Albany
       Law School, Albany, NY, October 9, 2014.

       “Is Gun Control Un-American or at Least Unconstitutional?” Temple Concord, Syracuse,
       NY, October 14, 2014.

       “The American Gun Debate is Under Water,” TEDxCortland Talk, Hathaway House,
       Solon, NY, October 25, 2014.
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       “The Unitary Executive and the Bush Presidency,” Conference on the Presidency of
       George W. Bush,” Hofstra University, Hempstead, NY, March 24-26, 2015.

       “Assessing the Obama Presidency,” Western Political Science Association, Las Vegas,
       NV, April 1-3, 2015.

       “Gun Laws, Gun Policies, and the Second Amendment,” Central New York Council of
       the Social Studies Professional Development Day Conference, Carnegie Conference
       Center, Syracuse, NY, October 20, 2015.

       “The 2016 Elections,” The Cornell Club of Cortland County, November 17, 2015,
       Cortland, NY.

       “Gun Law History in the U.S. and Second Amendment Rights,” Conference on The
       Second Amendment: Legal and Policy Issues, New York University Law School and the
       Brennan Center for Justice, New York City, April 8, 2016.

       “The Presidential Elections,” The Century Club, June 7, 2016, Syracuse, NY.

       “The 2016 Elections,” Chautauqua, August 3, 2016, Homer, NY.

       “The 2016 Elections” Cortland Rotary, Cortland, N.Y. September 20, 2016.

       “The 2016 Elections,” Cortland Community Roundtable, October 6, 2016.

       “TrumPocalypse 2016,” Finger Lakes Forum, Geneva, N.Y., October 16, 2016.

       “The 2016 Elections,” Homer Congregational Church, Homer, N.Y., October 30, 2016.

       “Had Enough? Only Five More Days,” OASIS, November 3, 2016, Syracuse, N.Y.

       “Guns for Everyone?” OASIS, November 14, 2016, Syracuse, N.Y.

       “Sizing Up the Trump Presidency,” Cortland County Democratic Party, June 1, 2017.

       “Understanding Impeachment,” Ladies Literary Society, Lafayette, NY, June 7, 2017.

       “Guns Across America,” Ithaca College, Ithaca, NY, September 21, 2017.

       Guest panelist, “Gun Studies Symposium,” University of Arizona, Tucson, AZ, October
       20, 2017.

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       “Gun Policy and Schools After Parkland,” SUNY Student Assembly Annual Conference,
       Syracuse, NY, April 7, 2018.

       “Gun Laws, History, and the Second Amendment: What Does the Constitution Allow?”
       Clemson University, SC, April 17, 2018.

       “Gun Violence and the History of Gun Laws,” League of Women Voters of Tompkins
       County, Ithaca, NY, May 23, 2018.

       “The Unknown History of Gun Laws in America,” Madison-Chenango Call to Action,
       Hamilton, NY, June 20, 2018.

       “It’s All Academic: The Meaning of the Second Amendment Versus Heller,” Conference
       on “The Second Amendment: Its Meaning and Implications in Modern America,”
       Lincoln Memorial University School of Law, Knoxville, TN, January 18, 2019.

       “Mulling Over the Mueller Report,” Indivisible Cortland County, Homer, NY, June 15,
       2019.

       “Gun Accessories and the Second Amendment: Assault Weapons, Magazines, and
       Silencers,” Symposium on Gun Rights and Regulation Outside the Home, Duke
       University, Durham, NC, September 27, 2019.

       “Gun Policy 101: What Policymakers and the Public Need to Know,” Rockefeller
       Institute of Government, Albany, NY, October 1, 2019.

       Guest expert, Federalist Society Teleforum on New York State Rifle and Pistol
       Association v. NYC, November 22, 2019.

       “To Brandish or Not to Brandish: The Consequences of Gun Display,” Duke University
       Law School Conference on Historical Gun Laws, June 19, 2020 (virtual).

       “The 2020 Elections,” Cortland Country Club, October 14, 2020.

       Panelist, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
       Chicago, April 14-17, 2021 (virtual).

       “Gun Violence,” Beaches Watch, Florida, August 4, 2021 (virtual).

       “Challenging Conversations: Gun Control,” Lockdown University (virtual), April 5,
       2022.

       “Scholars’ Circle: Gun Control,” June 30, 2022 (virtual).
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       “Gun Rules and Regulations,” Clubhouse AverPoint, July 2, 2022 (virtual).

       “A Nation in Crisis: Are Guns the Problem?” Center for Ethics and Human Values’ Civil
       Discourse Forum, The Ohio State University, Columbus, OH, September 23, 2022.

       “Explaining the 2022 Midterm Elections,” OSHER Lifelong Learning Institute at the
       College of William and Mary, Williamsburg, Va., October 13, 2022.

       “The Gun Rights 2.0 Movement: Public Policy Consequences,” 2022 National Research
       Conference on Firearm Injury Prevention, Omni Shoreham Hotel, Washington, D.C.,
       November 29-December 1, 2022.


       Panel Participation:

       Discussant, "Historical Transformations of Political Institutions in the U.S.," Social
       Science History Association, Rochester, N.Y., November 7-9, 1980.

       Chair, "The Political Economy of Single Issue Movements," 1981 American Political
       Science Association, New York City, September 3-6.

       Discussant, "New York Republicans: An Emerging Majority Party?", New York State
       Political Science Association, Albany, N.Y., April 2-3, 1982.

       Round table panel member, "Perspectives on the Reagan Administration," New York
       State Political Science Association, New York, N.Y., April 8-9, 1983.

       Discussant, "Toward a Theory of the Chief Executive," 1983 American Political Science
       Association, Chicago, Ill., September 1-4, 1983.

       Chair and Discussant, "Political Parties and Party Organization," 1984 American Political
       Science Association, Washington, D.C., August 30 - September 2, 1984.

       Discussant, "Reforming the Presidential Selection Process,” New York State Political
       Science Association, New York, N.Y., April 25-26, 1985.

       Chair, "Theoretical Approaches to Policy Concerns," American Political Science
       Association, New Orleans, La., August 29 - September 1, 1985.

       Discussant, "Perspectives on Presidential Influence," American Political Science
       Association, New Orleans, La., August 29 - September 1, 1985.

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       Discussant, "The Item Veto," American Political Science Association, New Orleans, La.,
       August 29 - September 1, 1985.

       Chair, "Mobilizing Interests on National Policies," American Political Science
       Association, Washington, D.C., August 28-31, 1986.

       Discussant, "The News Media and American Politics," American Political Science
       Association, Washington, D.C., August 28-31, 1986.

       Chair, "Perspectives on the Bicentennial of the U.S. Constitution," New York State
       Political Science Association, New York City, April 3-4, 1987.

       Discussant, "The Presidency in Comparative Perspective," and "Media and Models of
       Public Policy-Making," American Political Science Association, Atlanta, Aug. 31 - Sept.
       3, 1989.

       Discussant, "Presidents and Economic Interests," American Political Science
       Association, Washington, D.C., August 29 - September 1, 1991.

       Panel Chair, "The Presidential Role in Policy Making," American Political Science
       Association, Chicago, September 3-6, 1992.

       Discussant, "Presidential Influence on Congress," American Political Science
       Association, Washington, D.C., September 2-5, 1993.

       Discussant, "Bureaucratic Politics," Southern Political Science Association, November 3-
       6, 1993.

       Discussant, "The President's Extra-Constitutional Power," American Political Science
       Association, New York City, September 1-4, 1994.

       Discussant, "Roundtable on the President and Congress in a Republican Age," Western
       Political Science Association, San Francisco, March 14-16, 1996.

       Chair, "Militias, the Second Amendment, and the State: Constitutional, Social, and
       Historical Implications," American Political Science Association, San Francisco, August
       29-September 1, 1996.

       Chair, "Roundtable on Teaching the Presidency," American Political Science
       Association, August 29-September 1, 1996.

       Chair, "The Constitutionalism and Presidentialism of Louis Fisher," American Political
       Science Association, Washington, D.C., August 28-31, 1997.
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       Chair, “The President as Legislative Leader,” American Political Science Association,
       Boston, September 3-6, 1998.

       Chair, Roundtable on “Memo to the President,” American Political Science Association,
       Atlanta, September 2-5, 1999.

       Discussant, “Firearms in the U.S.,” Midwest Political Science Association, Chicago,
       April 27-30, 2000.

       Chair and discussant, Roundtable on “Is the Presidency Changed?” APSA, San
       Francisco, August 30-September 2, 2001.

       Chair and discussant, “Presidential Use of Strategic Tools,” APSA, Boston, August 29 -
       Sept. 1, 2002.

       Discussant, “Executing the Constitution,” APSA, Boston, August 29 - Sept. 1, 2002.

       Chair, “Marketing the President,” APSA, Philadelphia, August 28-31, 2003.

       Discussant, “Media Coverage of the Presidency,” APSA, Philadelphia, August 28-31,
       2003.

       Chair and discussant, “Does Presidential Leadership in Foreign Policy Matter?” APSA,
       Chicago, September 2-5, 2004.

       Roundtable member, “The Ins and Outs of Obtaining a Book Contract,” APSA, Chicago,
       September 2-5, 2004.

       Discussant, “Presidential Power: Lessons From the Past,” APSA, Washington, D.C.,
       September 1-4, 2005.

       Chair and Discussant, “The Unitary Executive in a Separated System,” APSA,
       Philadelphia, August 31-September 3, 2006.

       Panel chair, “The Culpability of Congress,” Conference on Presidential Power in
       America: The Constitution, the Defense of a Nation and the National Ethos,
       Massachusetts School of Law Conference Series, Andover, MA, October 14-15, 2006.

       Panel chair, “Keeping the Modern Presidency in Check and Balance,” APSA, Chicago,
       August 30-September 2, 2007.

       Discussant, “Presidential Endings: George W. Bush and the Final Two Years,” APSA,
                                              41
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        Chicago, August 30-September 2, 2007.

        Discussant, “Staffing and Decisionmaking in the White House,” APSA, Boston, August
        28-31, 2008.

        Panel Chair, “Early Assessments of the Obama Presidency,” APSA, Washington, D.C.,
        September 2-5, 2010.

        Discussant, “Historical Perspectives on the Presidency,” APSA, Chicago, August 29-
        Sept. 1, 2013.

        Discussant, “Politics and Presidential Travel,” APSA, Washington, D.C., August 27-31,
        2014.

        Discussant, “The Obama Presidency and Constitutional Law,” APSA, San Francisco,
        Sept. 3-6, 2015.

        Discussant, “Presidents, the Courts and the Law,” APSA, Philadelphia, Sept. 1-4, 2016.

        Discussant, “Executive Power and Democratic Functioning in the Trump Era,” APSA,
        Boston, MA, August 30-September 2, 2018.

        Panel chair, “Assessing the Presidency of Donald Trump,” APSA, Washington, DC,
        August 29-September 1, 2019.

        Roundtable, “Gun Law, Politics, and Policy,” Midwest Political Science Association,
        April 17, 2021 (virtual).

        Roundtable, “Guns and the Political Moment: Political Violence, Self-Defense, and
        Reckoning with Race,” Midwest Political Science Association, Chicago, April 7, 2022.


  Book Reviews:

        The American Presidency, by Richard M. Pious, reviewed in The Journal of Politics,
        November, 1979.

        The Politics of Mistrust, by Aaron Wildavsky and Ellen Tenenbaum, reviewed in
        Administrative Science Quarterly, December, 1981.

        Review essay, The President as Policymaker, by Laurence E. Lynn and David DeF.
        Whitman, review essay in Administrative Science Quarterly, March, 1982.

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       PL94-142: An Act of Congress, by Erwin L. Levine and Elizabeth M. Wexler, reviewed
       in the American Political Science Review, June, 1982.

       Pure Politics and Impure Science, by Arthur M. Silverstein, reviewed in Administrative
       Science Quarterly, June, 1984.

       Review essay, The President's Agenda, by Paul Light, reviewed in Administrative
       Science Quarterly, September, 1984.

       The Evolution of American Electoral Systems, by Paul Kleppner, et al., reviewed in the
       American Political Science Review, December, 1983.

       A Case of Third Party Activism, by James Canfield, reviewed in Perspective, July-
       August, 1984.

       Winners and Losers: Campaigns, Candidates and Congressional Elections, by Stuart
       Rothenberg, reviewed in the American Political Science Review, December, 1984.

       The Political Presidency, by Barbara Kellerman, reviewed in Perspective, January-
       February, 1985.

       Presidents and Promises, by Jeff Fishel, reviewed in the American Political Science
       Review, December, 1985.

       The Elections of 1984, ed. by Michael Nelson, reviewed in Perspective, May/June, 1985.

       Economic Conditions and Electoral Outcomes, by Heinz Eulau and Michael S. Lewis-
       Beck, reviewed in Perspective, May/June, 1986.

       Presidential Transitions: Eisenhower Through Reagan, by Carl M. Brauer, in
       Perspective, January/February, 1987.

       Religion and Politics in the United States, by Kenneth D. Wald, in Journal for the
       Scientific Study of Religion, September, 1988.

       Abortion and Divorce in Western Law, by Mary Ann Glendon, in The Annals of the
       American Academy of Political and Social Science, September, 1988.

       The American Political Economy, by Douglas Hibbs, in Perspective, Spring, 1988.

       God in the White House, by Richard G. Hutcheson, Jr., in Perspective, Fall, 1988.

       The Reagan Legacy, Charles O. Jones, ed., in Social Science Quarterly, June, 1989.
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       Dilemmas of Presidential Leadership From Washington Through Lincoln by Richard
       Ellis and Aaron Wildavsky, in Perspective, September, 1989.

       Taming the Prince by Harvey Mansfield, Jr., in Governance, April, 1990.

       Public Policy and Transit System Management, ed. by George M. Guess, in Perspective,
       Spring, 1991.

       The Myth of Scientific Public Policy, by Robert Formaini, in Perspective, Winter, 1992.

       The Bush Presidency: First Appraisals, ed. by Colin Campbell and Bert Rockman in
       Public Administration Review, May/June, 1992.

       The Illusion of a Conservative Reagan Revolution, by Larry Schwab, in Policy Currents,
       May, 1992.

       The Vital South: How Presidents Are Elected, by Earl Black and Merle Black, in
       Perspective, Fall, 1993.

       The Presidential Pulse of Congressional Elections, by James E. Campbell, in The Journal
       of American History, March, 1995.

       Out of Order, by Thomas Patterson, in Presidential Studies Quarterly, Summer, 1994.

       Congress, the President, and Policymaking, by Jean Schroedel, in the American Political
       Science Review, December, 1994.

       The President and the Parties, by Sidney Milkis, in Governance, January 1995.

       The Myth of the Modern Presidency, by David K. Nichols, PRG Report, Spring, 1995.

       The End of the Republican Era, by Theodore Lowi, The Journal of American History,
       December, 1995.

       Strategic Disagreement: Stalemate in American Politics by John B. Gilmour, in
       Governance (9), 1996.

       Rivals For Power: Presidential-Congressional Relations, by James Thurber, in American
       Political Science Review, March, 1997.

       American Presidential Elections, ed. by Harvey Schantz, in Perspectives, Spring 1997.

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       The Power of Separation by Jessica Korn, in Congress & the Presidency, Spring 1997.

       Strong Presidents by Philip Abbott, in Perspective, Fall 1997.

       Other People’s Money: Policy Change, Congress, and Bank Regulation, by Jeffrey
       Worsham, in Perspectives, Spring 1998.

       A Third Choice, in Journal of American History, December 1998.

       Politics, Power and Policy Making: The Case of Health Care Reform in the 1990s, by
       Mark Rushefsky and Kant Patel in Perspectives, Winter 1999.

       The Paradoxes of the American Presidency, by Thomas Cronin and Michael Genovese,
       for the American Political Science Review, March 1999.

       Republic of Denial, by Michael Janeway, for Perspectives, Spring 2000.

       The Art of Political Warfare, by John Pitney, Rhetoric and Public Affairs, Summer 2001.

       Arming America, by Michael Bellesiles, Congress Monthly, January/February 2002.

       Gun Violence in America by Alexander DeConde, Law and Politics Book Review,
       August 2001; also in Historynewsnetwork.org, 8/01.

       Presidents as Candidates, by Kathryn D. Tenpas, in Rhetoric and Public Affairs, Spring
       2002.

       The Trouble With Government, by Derek Bok, Perspectives, Spring 2002.

       King of the Mountain, by Arnold M. Ludwig, Rhetoric and Public Affairs, Winter 2002.

       Power, the Presidency, and the Preamble, by Robert M. Saunders, Presidential Studies
       Quarterly, December 2002.

       Presidents, Parliaments, and Policy, ed. by Stephen Haggard and Mathew McCubbins,
       Perspectives, Winter 2003.

       The Modern American Presidency, by Lewis L. Gould, Rhetoric and Public Affairs.

       Watergate: The Presidential Scandal that Shook America, by Keith W. Olson,
       Perspectives, Summer 2003.

       The Militia and the Right to Arms, or, How the Second Amendment Fell Silent, by H.
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       Richard Uviller and William G. Merkel, Journal of American History, March 2004.

       Power Without Persuasion: The Politics of Direct Presidential Action, by William G.
       Howell, Perspectives on Politics, June 2004.

       The George W. Bush Presidency: An Early Assessment, ed. By Fred Greenstein,
       Perspectives, Spring 2004.

       The Invention of the United States Senate, by Daniel Wirls and Stephen Wirls,
       Perspectives, Summer 2004.

       The Mythic Meanings of the Second Amendment, by David C. Williams, Law and
       Politics Book Review, April 2004.

       Empowering the White House, by Karen M. Hult and Charles E. Walcott, Rhetoric and
       Public Affairs, Fall 2005.

       Defining Americans: The Presidency and National Identity, by Mary E. Stuckey,
       Perspectives, Spring 2005.

       Presidential Leadership: Rating the Best and Worst in the White House, ed. By James
       Taranto and Leonard Leo, Rhetoric and Public Affairs, Summer 2006.

       A Well-Regulated Militia: The Founding Fathers and the Origins of Gun Control in
       America, by Saul Cornell, American Journal of Legal History, October 2006.

       The Founders’ Second Amendment: Origins of the Right to Bear Arms, by Stephen
       Halbrook, Law and Politics Book Review 18(October 2008).

       Out of the Shadow: George H.W. Bush and the End of the Cold War, by Christopher
       Maynard, Journal of American History (September 2009).

       Guns, Democracy, and the Insurrectionist Idea, by Joshua Horwitz, Law and Politics
       Book Review 19(June 2009).

       Talking Together, by Lawrence Jacobs, Fay Lomax Cook, and Michael Delli Carpini,
       dailykos.com, posted June 20, 2009, with Glenn Altschuler.

       Accidental Presidents, by Philip Abbott, Presidential Studies Quarterly, June 2010.

       The Co-Presidency of Bush and Cheney, by Shirley Anne Warshaw, Congress and the
       Presidency, 2010.

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        Crisis and Command: The History of Executive Power from George Washington to
        George W. Bush, by John Yoo, Presidential Studies Quarterly (December 2010).

        Declaring War: Congress, the President, and What the Constitution Does Not Say, by
        Brien Hallett, Law and Politics Book Review 22(November 2012).

        Congress vs. the Bureaucracy: Muzzling Agency Public Relations, by Mordecai Lee, The
        Journal of American History (December 2012).

        Arming and Disarming, by R. Blake Brown, Law and History Review (November 2013).

        Reclaiming Accountability: Transparency, Executive Power, and the U.S. Constitution,
        by Heidi Kitrosser, Congress and the Presidency 42(2015).

        The Six-Shooter State: Public and Private Violence in American Politics by Jonathan
        Obert and The Lives of Guns ed. by Jonathan Obert, Andrew Poe and Austin Sarat,
        Perspectives on Politics 17(September 2019).

        The Toughest Gun Law in the Nation by James B. Jacobs and Zoe Fuhr, Criminal Law
        and Criminal Justice Books, March 2020.

        Warped Narratives: Distortion in the Framing of Gun Policy by Melissa K. Merry,
        Perspectives on Politics 18(September 2020).

        The Uses and Misuses of Politics: Karl Rove and the Bush Presidency by William G.
        Mayer, Presidential Studies Quarterly (December 2022).


  Selected Media Appearances/Quotations:

        NBC’s “Today Show”; ABC’s “Good Morning America” and “Network Nightly News”;
        PBS’s “News Hour”; CNN’s “Lou Dobbs,” “NewsStand,” “CNN & Co.” CNN’s HLN,
        and “Insight”; CNBC’s “Upfront Tonight”; MSNBC’s “Countdown with Keith
        Olbermann,” “All In With Chris Hayes,” “Ali Velshi,” “Fresh Air With Terry Gross,”
        “The Diane Rehm Show,” 1A with Joshua Johnson, NPR; NHK Television (Japan);
        CGTN (China), documentary films “Guns and Mothers” (PBS, 2003), “Under the Gun”
        (Katie Couric Film Company, Epix, 2016), “The Price of Freedom” (Flatbush
        Pictures/Tribeca Films, 2021). Quoted in or by the New York Times, the Washington
        Post, Time Magazine, Newsweek, Der Spiegel (Germany), USA Today, the Los Angeles
        Times, the Wall Street Journal, the Christian Science Monitor, the Boston Globe, the
        Chicago Tribune, the Philadelphia Inquirer, the Miami Herald, Houston Chronicle, the St.
        Louis Post-Dispatch, San Francisco Chronicle, the Dallas Morning News, the Baltimore
        Sun, the Detroit Free Press, the Seattle Post-Intelligencer, Newsday, the Denver Post,
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         Kansas City Star, Dallas News, Pittsburgh Post-Gazette, New Orleans Times Picayune,
         Orlando Sentinel, Columbus Dispatch, Buffalo News, San Jose Mercury News, Albany
         Times-Union, St. Petersburg Times, Arkansas Democrat-Gazette, Newark Star-Ledger,
         Bergen Record, Congress Daily, The Hill, CQ Report, Rolling Stone, The Nation, Ladies
         Home Journal, the National Journal, The Spectator, Legal Times, Financial Times,
         Toronto Globe, al Jazeera, Reuters, Bloomberg News, Knight Ridder, AP, Gannett,
         Newhouse, Scripps Howard, McClatchy, Hearst, the BBC (Britain), CBC (Canada), the
         Voice of America, Radio Free Europe, ABC News Online, Fox News Online, National
         Public Radio, CBS Radio, media outlets in South Korea, India, Brazil, Denmark, Spain,
         France, Norway, Germany.

         Regular panelist on “The Ivory Tower,” a weekly public affairs program broadcast on
         WCNY-TV, Syracuse, NY, from 2002-2021. A half hour discussion of the week’s events
         conducted by five academics from area colleges.


  Professional Associations:

         Scholars Strategy Network.
         American Political Science Association.
         Center for the Study of the Presidency.
         Presidents and Executive Politics Section (formerly the Presidency Research Group),
                APSA; served on Governing Board of PRG, 1991 to 2003.
         New York Political Science Association.
         Pi Sigma Alpha.
         Phi Kappa Phi.


  Teaching Areas:

         American Government: courses taught include Introduction to American Government,
               The Legislative Process, Political Parties and Social Movements, The American
               Presidency, Media and Politics, Gun Control Politics and Policy, State and Local
               Government, Abortion Politics, Elections and American Politics, Media and War,
               internships in Washington, D.C., Albany, and Cortland County, Seminars on the
               Decline of Parties and Third Parties, American Institutions, Current Develop-
               ments in American Politics, and Introduction to College Life.

                Public Policy: courses taught include Introduction to Public Policy, Gun Policy.
                Areas of interest include policy theory, policy formation and decisionmaking, and
                policy implementation.


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  Teaching-Related Awards:

         Three-time recipient of the SUNY Cortland Student Government Association
         Outstanding Faculty Award (the "DiGiusto Award"), 1987, 1991, and 2003, for
         "Outstanding Service to Students." (The only faculty member ever to win this award
         more than once.)


  Other Professional Activities

  External Reviewer, University of Michigan-Dearborn, Project to Expand Promotion and Tenure
  Guidelines (PTIE) to Inclusively Recognize Innovation and Entrepreneurial Impact, 2021.

  Member, Howard Penniman Graduate Scholarship Selection Committee, Pi Sigma Alpha, 2018.

  Member, Advisory Board of Pi Sigma Alpha Undergraduate Journal of Politics, 2014-2016.

  Executive Council, Pi Sigma Alpha National Board, 2014-18.

  Fund and organizing leader for American Political Science Association’s new Distinguished
  Teaching Award, 2011-12.

  Chair, Presidency Research Group Task Force on Membership and Recruitment, 2007-08.

  Chair, Richard E. Neustadt Award Committee for Best Book on the Presidency published in
         2005, Presidency Research Group, 2006.

  President, Presidency Research Group, American Political Science Association, 2001-2003;
         Vice-President 1999-2001.

  Chair, Best Paper Award Committee, Presidency Research Group, American Political Science
         Association, for 1991 and 1992 conferences.

  Member, Governing Board of the Presidency Research Group of the American Political Science
       Association, 1991-2003.

  Editor, PRG Report, 1993-1997.

  Board of Editors, State University of New York Press, 1993-1996; 1997-2000. Board Chair,
         1998-2000.

  Member, Leonard D. White Award Committee for Best Dissertation in Public Administration,
       American Political Science Association, 1995.
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  Conference Organizing Committee, "Presidential Power: Forging the Presidency for the 21st
         Century," Columbia University, November 15-16, 1996.

  Chair, E.E. Schattschneider Award Committee, best doctoral dissertation in American Politics,
         American Political Science Association, 1997.

  Secretary/Treasurer, Presidency Research Group, 1997-99.

  Book and article reviews for Houghton Mifflin, Cengage Learning, Random House, McGraw-
  Hill, St. Martins, W.W. Norton, Oxford University Press, Cambridge University Press,
  University of Chicago Press, University of California Press, Princeton University Press, Cornell
  University Press, UNC Press, Pearson Longman, Allyn & Bacon, Palgrave/Macmillan,
  University of New Mexico Press, Texas A&M University Press, Chatham House, CQ Press,
  HarperCollins, SUNY Press, Thompson Wadsworth, University of Michigan Press, University of
  Missouri Press, Westview Press, Brooking Institution, Rowman and Littlefield, Routledge,
  University of Alabama Press, American Political Science Review, PS, Comparative Politics,
  American Journal of Political Science, Policy Studies Journal, Policy Studies Review, Political
  Science Quarterly, the Journal of Politics, Western Political Quarterly, Polity, Social Science
  Quarterly, Political Behavior, American Politics Quarterly, Political Communication, Legislative
  Studies Quarterly, Government and Policy, Congress and the Presidency, Social Science Journal,
  Journal of Policy History, Political Research Quarterly, Presidential Studies Quarterly, Politics
  and Policy, and the National Science Foundation.


  Selected Community Service

  Administrative Law Judge/Hearing Officer for Cortland County Board of Health, 1994-present;
  for Tompkins County, 1997-present; for Chenango County, 1997-present; for Madison County,
  2006-2021.

  Member, City of Cortland Planning Commission, 2009-2012.

  Chair, SUNY Press Board of Editors, 1998-2000 (board member 1993-96, 1997-2000).

  Board President, Cortland County Arts Council, 1989-1990 (board member, 1987-1990).

  Chair, Homer Zoning Board of Appeals, 1995-1997; board member 1988-1997.

  Board member, Cortland County Landmark Society, 1989-1995.

  Chair, Planning Committee on Codes and Safety for the village of Homer's Odyssey 2010
  Project, 1996.
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                                           EXHIBIT B
                                                      EXHIBIT B

                                 FIREARM HARDWARE RESTRICTIONS TABLE
                                         (YEARS OF ENACTMENT)
    STATE         TRAP CONCEALED OPEN/                 AUTOMATIC SEMI-     AMMUNITION
                  GUNS1 CARRY     ANY                  FIREARMS  AUTOMATIC FEEDING
                        RESTRICT2 CARRY                          FIREARMS  DEVICES/
                                  BARRED                                   FIRING
                                                                           LIMITS
    Alabama              1839, 1841     1837
    Alaska               1896
    Arizona              1889           1867, 1889,
                                        1901
    Arkansas             1820,1837      1875, 1881
    California           1850, 1864     1861, 1878,    1927, 1933                 1927, 1933
                                        1917
                                                                                                                                                       3365




    Colorado             1862
    Connecticut          1890, 1923     1890
    Delaware             1852                          1931
    District of          1857, 1871     1858           1932             1932      1932
    Columbia
    Florida              1887           1838, 1868     19133, 1933
    Georgia              1837           1837, 1873
    Hawaii               1913           1852, 1913     1933                       1933


1
    Sometimes trap guns were also referred to as “infernal machines.”
2
  These laws prohibited the concealed carrying of certain enumerated weapons or types of weapons. The early laws
restricted general weapons carrying, whether concealed or open.
3
    “It shall, at any time, be unlawful to hunt wild game in Marion County with guns–known as Automatic guns.”
                                                                                                                   Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 577 of 926 PageID:
    Idaho                 1909
    Illinois              1881                        1931           1931†          1931
    Indiana               1820                        1927, 1929
    Iowa                  1882, 1887,                 1927
                          1897, 1929
    Kansas                1901          1868,1881,    1933
                                        1899
    Kentucky              1812, 1813
    Louisiana             1813          1870          1932           1932†          1932
    Maine                 1840
    Maryland      1910    1872          1874,1886     1927
    Massachusetts         1751          1891,1903,    1927           1927           1927
                                        1927
    Michigan      1875,   1887          1927,1929     1927, 1929     1927, 1929     1927
                  1931
    Minnesota     1873,   1881                        1933           1933           1933, 1933
                  1903
                                                                                                                                                            3366




    Mississippi           1878          1878
    Missouri      18914   1873          1923          1929                          1929
    Montana               1864, 1865
    Nebraska              1881          1872          1929
    Nevada                1881, 1925
    New           1915
    Hampshire
    New Jersey    1771    1686          1871,1873     1927, 1934                    1920, 1927
    New Mexico            1852, 1853



4
 Chillicothe, Mo.: “George Dowell, a young farmer, was fined $50 under an old law for setting a trap-gun. Dowell
set the gun in his corn-crib to catch a thief, but his wife was the first person to visit the crib and on opening the
door was shot dead.” “Shot by a Trap-Gun,” South Bend Tribune, Feb. 11, 1891, https://bit.ly/3CtZsfk.
                                                                                                                        Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 578 of 926 PageID:
    New York       18705   1891                       1931, 1933
    North                  1792                                                      1917
    Carolina
    North Dakota   1891,   1895          1895         1931                           1931
                   1895
    Ohio                   1859                       1933            1933           1933
    Oklahoma               1890          1890,1891
    Oregon         1925    1853          1898,1917    1933                           1933
    Pennsylvania           1851          1851         1929                           1929
    Rhode Island   1890,   1893                       1927            1927           1927
                   1892
    South          1855,   1880          1901         1934            1934†          1934
    Carolina       1931
    South Dakota   1909    1877          1877         1933            1933           1933
    Tennessee              1821          1867,1869,
                                         1879,1881,
                                         1893
                                                                                                                                                           3367




    Texas                  1870          1871,1879,   1933                           1933
                                         1879
    Utah           1865,   1877, 1888    1877
                   1901
    Vermont        1884,   1892,1895,    1895         1923                           1923
                   1912    1897
    Virginia               1794, 1838,                1934            1934           1934
                           1847,1870,
                           1877,1884,

5
 New York City, NY: A burglar was killed by a gun-trap set by a shopkeeper at 301 East 23rd St. A jury
concluded that the burglar’s death was caused by the trap-gun. The article notes: “As there is a statute against the
use of such infernal machines, which might cause loss of life to some innocent person, the jury censured
Agostino.” After the verdict the man continued to be held under $2000 bail. “The Man Trap,” The Buffalo
Commercial, Nov. 1, 1870; from the N.Y. Standard, Oct. 29, 1870, https://bit.ly/3SDv2Nf.
                                                                                                                       Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 579 of 926 PageID:
                        1887,1908
Washington      1909    1881                          1933                1933
State
West Virginia           1870             1882,1891,   1925
                                         1925
Wisconsin       1872,   1858                          1929, 1933          1933
                1921
Wyoming                 1876             1893         1933
NUMBER          16      50 (inc. D.C.)   30           32           8–11   23
OF STATES
NUMBER          24      65               55           39           12     26
OF LAWS
                                                                                                                     3368
                                                                                 Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 580 of 926 PageID:
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                                           EXHIBIT C




                                                                               1
                                                            EXHIBIT C

                                      DANGEROUS WEAPONS RESTRICTIONS
                                           (YEARS OF ENACTMENT)
       STATE1       BOWIE       Bludgeon     Billy/Billie      Clubs    Slung Shot    Sand Bag      Pistols        Any
                    KNIVES                      Clubs                                 Sand Club                 Concealed
                                                                                                               /Deadly/Dan
                                                                                                                  gerous
                                                                                                                 Weapon
    Alabama        1837,1839,                                1805       1873                      1839, 1841
                   1841,1867,
                   1876,1877,
                   1879,1892
    Alaska         1896†                                                1896-99                   1896         1896
    Arizona        1867,1889,                                           1873, 1889                1889         1867
                   1901                                                 1893, 1901
                                                                                                                                                                 3370




    Arkansas       1871,1875,                                1835       1871                      1820, 1837
                   1881
    California     1855, 1896   1849,        1917, 1923                 1864, 1923   1917, 1923   1850, 1864   1849
                                1853, 1876
    Colorado       1862,1867,   1876                                    1886                      1862         1862
                   1877, 1881
    Connecticut    1890†                                                1890                      1890, 1923
    Delaware       1881†                                     1797                                 1852
    District of    1858,1871,                                           1871                      1857, 1871
    Columbia       1892
    Florida        1835,†1838                1888                       1868, 1888                1887
                   ,1847,1868
                   ,1893†


1
    In addition to state laws, this chart provides the year of enactment of local ordinances adopted within the states.
                                                                                                                             Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 582 of 926 PageID:




                                                                2
Georgia         1837,1860,   1816                                     1860                        1837
                1873
Hawaii          1852, 1913                                            1852, 1913                  1913
Idaho           1864†1875,   1875                                     1879                        1909          1864
                1879, 1909
Illinois        1876, 1881   1845                                     1881, 1893                  1881
Indiana         1859                                    1804, 1855,   1875, 1905                  1820          1831
                                                        1881, 1905
Iowa            1882,1887,                1882                        1882          1887, 1900    1882, 1887,
                1900                                                                              1897, 1929
Kansas          1862,1863                 1862, 1887                  1883, 1887,                 1901
                1868,1883,                                            1899
                1887
Kentucky        1859                                    1798          1859                        1812, 1813
Louisiana       1870                                                                              1813          1813, 1842,
                                                                                                                1870
Maine           1840,1841,                              1786                                      1840          1841
                                                                                                                                                                  3371




                1884†
Maryland        1872,1886,   1809,        1872, 1874                  1886          1890          1872
                1888, 1890   1874,        1884, 1886
                             1886         1890, 1927
Massachusetts   1836†                                   1750          1850, 1927                  1751
Michigan        1891         1927, 1929   1887, 1891,   1913          1887, 1891,   1887, 1891,   1887
                                          1927, 1929                  1929          1927, 1929
Minnesota       1882                                                  1882, 1888    1888          1881          1882
Mississippi     1837,1838,                              1799, 1804    1878                        1838,1878
                1878
Missouri        1871,1897,                1871, 1897,   1818,1923     1883, 1888,                 1873
                1917, 1923                1923                        1897, 1917
Montana         1864,1879,   1887                                                                 1864, 1865    1888
                1885
Nebraska        1877,1890,   1858         1872, 1890,                 1890                        1881
                1899                      1899
                                                                                                                              Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 583 of 926 PageID:




                                                            3
Nevada           1873         1872                              1881                        1881, 1925
New
Hampshire
New Jersey       1871,1905†   1799,        1871, 1927           1871, 1873,   1871, 1927    1686
                              1877, 1927                        1927
New Mexico       1852†1853,   1887                              1853, 1859,                 1852, 1853
                 1859,1864                                      1869, 1887
                 1887
New York         1866,1885,   1911,        1866, 1881,   1664   1866          1866, 1881,   1891
                 1911†        1913, 1931   1884, 1885,                        1900, 1911,
                                           1900, 1911,                        1913, 1931
                                           1913, 1931
North Carolina   1840,1856,                                     1879                        1792, 1840
                 1858,1860,
                 1879
North Dakota     1895,1915†   1915         1915                 1895          1915          1895
Ohio             1859,1880,                                                                 1859         1788, 1859,
                                                                                                                                                           3372




                 1890                                                                                    1880
Oklahoma         1890,1891,                1890, 1891           1890, 1891,   1890          1890
                 1903                                           1903
Oregon           1885†                     1898, 1917           1885, 1917    1917          1853
Pennsylvania     1897                      1897                 1851                        1851
Rhode Island     1893,1896,                1893, 1908           1893, 1896                  1893
                 1908
South Carolina   1880, 1923                                     1880                        1880
South Dakota     1903†                                          1877, 1903                  1877
Tennessee        1838,1856,                                     1879, 1882,                 1821
                 1863,1867,                                     1893
                 1871,1881,
                 1893
Texas            1856,1871,                              1899   1871, 1879,                 1870
                 1879,1897                                      1889, 1897,
                                                                1899
                                                                                                                       Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 584 of 926 PageID:




                                                            4
    Utah             1877                                                                                   1877, 1888
    Vermont          1892,1895†                                               1895                          1895, 1897
    Virginia         1838,1887                                 1792           1887                          1794
    Washington       1854, 1859                                                                             1881         1854, 1859,
                     1869                                                                                                1869, 1881,
                                                                                                                         1883, 1892,
                                                                                                                         1896, 1897
    West Virginia    1870,1882,                 1870, 1882,                   1891                          1870
                     1891, 1925                 1891, 1925
    Wisconsin        1883, 1896                                               1883, 1888                    1858         1883
    Wyoming          1884,1890     1876, 1893                                 1884, 1890,                   1876
                     1899,1925                                                1899
    Total Laws       136           25           44             17             79             21             66           24

SOURCE: https://firearmslaw.duke.edu/repository/search-the-repository/
†
    States that prosecuted/regulated/barred knives more generally without specifically mentioning Bowie knives.
                                                                                                                                                                           3373
                                                                                                                                       Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 585 of 926 PageID:




                                                                    5
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                               EXHIBIT D
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                                       EXHIBIT D

            MACHINE GUN AND SEMI-AUTOMATIC FIREARMS LAWS1

  CALIFORNIA:

  1927 Cal. Stat. 938, An Act to Prohibit the Possession of Machine Rifles, Machine
  Guns and Submachine Guns Capable of Automatically and Continuously
  Discharging Loaded Ammunition of any Caliber in which the Ammunition is Fed
  to Such Guns from or by Means of Clips, Disks, Drums, Belts or other Seperable
  Mechanical Device, and Providing a Penalty for Violation Thereof, ch. 552,
  §§ 1-2.
  § 1. . . . [E]very person, firm or corporation, who within the State of California
  possesses any firearm of the kind commonly known as a machine gun shall be
  guilty of a public offense and upon conviction thereof shall be punished by
  imprisonment in the state prison not to exceed three years or by a fine not to
  exceed five thousand dollars or by both such fine and imprisonment. Provided,
  however that nothing in this act shall prohibit police departments and members
  thereof, sheriffs, and city marshals or the military or naval forces of this state or of
  the United States from possessing such firearms for official use in the discharge of
  their duties.
  § 2. The term machine gun as used in this act shall be construed to apply to and
  include all firearms known as machine rifles, machine guns or submachine guns
  capable of discharging automatically and continuously loaded ammunition of any
  caliber in which the ammunition is fed to such gun from or by means of clips,
  disks, drums, belts or other separable mechanical device.

  1933 Cal. Stat. 1169
  § 2. [E]very person, firm or corporation, who within the State of California sells,
  offers for sale, possesses or knowingly transports any firearms of the kind
  commonly known as a machine gun … is guilty of a public offense…
   § 3. The term machine gun as used in this act shall be construed to apply to and
  include all firearms known as machine rifles, machine guns, or submachine guns
  capable of discharging automatically and continuously loaded ammunition of any
  caliber in which the ammunition is fed to such gun from or by means of clips,
  discs, drums, belts or other separable mechanical device and all firearms which are
  automatically fed after each discharge from or by means of clips, discs, drums,

  1
      Further research may yield additional laws regulating firearm hardware.

                                             1
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  belts or other separable mechanical device having a capacity greater than ten
  cartridges.

  1933 Cal. Stat. 1169
  § 2. [E]very person, firm or corporation, who within the State of California sells,
  offers for sale, possesses or knowingly transports any firearms of the kind
  commonly known as a machine gun … is guilty of a public offense…
  § 3. The term machine gun as used in this act shall be construed to apply to and
  include all firearms known as machine rifles, machine guns, or submachine guns
  capable of discharging automatically and continuously loaded ammunition of any
  caliber in which the ammunition is fed to such gun from or by means of clips,
  discs, drums, belts or other separable mechanical device and all firearms which are
  automatically fed after each discharge from or by means of clips, discs, drums,
  belts or other separable mechanical device having a capacity greater than ten
  cartridges.

  DELAWARE:

  1931 Del. Laws 813, An Act Making it Unlawful for any Person or Persons Other
  than the State Military Forces or Duly Authorized Police Departments to have a
  Machine Gun in his or their Possession, and Prescribing a Penalty for Same, ch.
  249, § 1.
  On and after the passage and approval of this Act it is and shall be unlawful for any
  person or persons other than the State Military Forces or duly authorized Police
  Departments to have a machine gun in his or their possession, within the State of
  Delaware. Any person or persons convicted under the provisions of this Act shall
  be deemed guilty of a felony and shall be punished by either fine or imprisonment,
  or both, in the discretion of the Court . . . .

  DISTRICT OF COLUMBIA:

  District of Columbia 1932:
  1932, Public-No. 275-72D Congress
  CHAPTER 465
  H.R. 8754
  AN ACT To Control the possession, sale, transfer, and use of pistols and other
  dangerous weapons in the District of Columbia, to provide penalties to prescribe
  rules of evidence, and for other purposes.
  DEFINITIONS


                                           2
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  SECTION 1. “Pistol,” as used in this Act, means any firearm with a barrel less
  than twelve inches in length. “Sawed-off shotgun” as used in this Act, means any
  shotgun with a barrel less than twenty inches in length. “Machine gun,” as used in
  this Act, means any firearm which shoots automatically or semiautomatically more
  than twelve shots without reloading. . . .
  SEC. 2. If any person shall commit a crime of violence in the District of Columbia
  when armed with or having readily available any pistol or other firearm, he may, in
  addition to the punishment provided for the crime, be punished by imprisonment
  for a term of not more than five years; upon a second conviction for a crime of
  violence so committed he may, in addition to the punishment provided for the
  crime, be punished by imprisonment for a term of not more than ten years; upon a
  third conviction for a crime of violence so committed he may, in addition to the
  punishment provided for the crime, be punished by imprisonment for a term of not
  more than fifteen years; upon a fourth or subsequent conviction for a crime of
  violence so committed he may, in addition to the punishment provided for the
  crime, be punished by imprisonment for an additional period of not more than
  thirty years.
  PERSONS FORBIDDEN TO POSSESS CERTAIN FIREARMS
  SEC. 3. No person who has been convicted in the District of Columbia or
  elsewhere of a crime of violence shall own or have in his possession a pistol,
  within the District of Columbia.
  CARRYING CONCEALED WEAPONS
  SEC. 4. No person shall within the District of Columbia carry concealed on or
  about his person, except in his dwelling house or place of business or on other land
  possessed by him, a pistol, without a license therefor issued as hereinafter
  provided, or any deadly or dangerous weapon.
  EXCEPTIONS
  SEC. 5. The provisions of the preceding section shall not apply to marshals,
  sheriffs, prison or jail wardens, or their deputies, policemen or other duly
  appointed law -enforcement officers, or to members of the Army, Navy, or Marine
  Corps of the United States or of the National Guard or Organized Reserves when
  on duty, or to the regularly enrolled members of any organization duly authorized
  to purchase or receive such weapons from the United States, provided such
  members are at or are going to or from their places of assembly or target practice,
  or to officers or employees of the United States duly authorized to carry a
  concealed pistol, or to any person engaged in the business of manufacturing,
  repairing, or dealing in firearms, or the agent or representative of any such person
  having in his possession, using, or carrying a pistol in the usual or ordinary course
  of such business or to any person while carrying a pistol unloaded and in a secure
  wrapper from the place of purchase to his home or place of business or to a place
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  of repair or back to his home or place of business or in moving goods from one
  place of abode or business to another.
  ISSUE OF LICENSES TO CARRY
  SEC. 6. The superintendent of police of the District of Columbia may, upon the
  application of any person having a bona fide residence or place of business within
  the District of Columbia or of any person having a bona fide residence or place of
  business within the United States and a license to carry a pistol concealed upon his
  person issued by the lawful authorities of any State or subdivision of the United
  States, issue a license to such person to carry a pistol within the District of
  Columbia for not more than one year from date of issue, if it appears that the
  applicant has good reason to fear injury to his person or property or has any other
  proper reason for carrying a pistol and that he is a suitable person to be so licensed.
  The license shall be in duplicate, in form to be prescribed by the Commissioners of
  the District of Columbia and shall bear the name, address, description, photograph,
  and signature of the licensee and the reason given for desiring a license. The
  original thereof shall be delivered to the licensee, and the duplicate shall be
  retained by the superintendent of police of the District of Columbia and preserved
  in his office for six years.
  SEC. 7. No person shall within the District of Columbia sell any pistol to a person
  who he has reasonable cause to believe is not of sound mind, or is a drug addict, or
  is a person who has been convicted in the District of Columbia or elsewhere of a
  crime of violence or, except when the relation of parent and child or guardian and
  ward exists, is under the age of eighteen years.
  TRANSFERS REGULATED
  SEC. 8. No seller shall within the District of Columbia deliver a pistol to the
  purchaser thereof until forty-eight hours shall have elapsed from the time of the
  application for the purchase thereof, except in the case of sales to marshals,
  sheriffs, prison or jail wardens or their deputies, policemen, or other duly
  appointed law enforcement officers, and, when delivered, said pistol shall be
  securely wrapped and shall be unloaded. At the time of applying for the purchase
  of a pistol the purchaser shall sign in duplicate and deliver to the seller a statement
  containing his full name, address, occupation, color, place of birth, the date and
  hour of application, the caliber, make, model, and manufacturer's number of the
  pistol to be purchased and a statement that he has never been convicted in the
  District of Columbia or elsewhere of a crime of violence. The seller shall, within
  six hours after such application, sign and attach his address and deliver one copy to
  such person or persons as the superintendent of police of the District of Columbia
  may designate, and shall retain the other copy for six years. No machine gun,
  sawed-off shotgun, or
  blackjack shall be sold to any person other than the persons designated in section
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  14 hereof as entitled to possess the same, and then only after permission to make
  such sale has been obtained from the superintendent of police of the District of
  Columbia. This section shall not apply to sales at wholesale to licensed dealers.
  DEALERS TO BE LICENSED
  SEC. 9. No retail dealer shall within the District of Columbia sell or expose for
  sale or have in his possession with intent to sell, any pistol, machine gun. sawed -
  oft shotgun, or blackjack without being licensed as hereinafter provided. No
  wholesale dealer shall, within the District of Columbia, sell, or have in his
  possession with intent to sell, to any person other than a licensed dealer, any pistol,
  machine gun, sawed -oil shotgun, or blackjack.
  DEALERS' LICENSES, BY WHOM GRANTED AND CONDITIONS
  THEREOF
  SEC. 10. The Commissioners of the District of Columbia may, in their discretion,
  grant licenses and may prescribe the form thereof, effective for not more than one
  year from date of issue, permitting the licensee to sell pistols, machine guns,
  sawed-off shotguns, and blackjacks at retail within the District of Columbia subject
  to the following conditions in addition to those specified in section 9 hereof, for
  breach of any of which the license shall be subject to forfeiture and the licensee
  subject to punishment as provided in this Act. 1. The business shall be carried on
  only in the building designated in the license. 2. The license or a copy thereof,
  certified by the issuing authority, shall be displayed on the premises where it can
  be easily read. 3. No pistol shall be sold (a) if the seller has reasonable cause to
  believe that the purchaser is not of sound mind or is a drug addict or has been
  convicted in the District of Columbia or elsewhere of a crime of violence or is
  under the age of eighteen years, and (b) unless the purchaser is personally known
  to the seller or shall present clear evidence of his identity. No machine gun, sawed-
  off shotgun,
  or blackjack shall be sold to any person other than the persons designated in
  section 14 hereof as entitled to possess the same, and then only after permission to
  make such sale has been obtained
  from the superintendent of police of the District of Columbia. 4. A true record shall
  be made in a book kept for the purpose the form of which may be prescribed by the
  Commissioners, of pistols, machine guns, and sawed-off shotguns in the
  possession of the licensee, which said record shall contain the date of purchase, the
  caliber, make, model, and manufacturer's number of the weapon, to which shall be
  added, when sold, the date of sale. 5. A true record in duplicate shall be made of
  every pistol, machine gun, sawed-off shotgun, and blackjack sold, said record to be
  made in a book kept for the purpose, the form of which may be prescribed by the
  Commissioners of the District of Columbia and shall be personally signed by the
  purchaser and by the person effecting the sale, each in the presence of the other
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  and shall contain the date of sale, the name, address, occupation, color, and place
  of birth of the purchaser, and, so far as applicable, the caliber, make, model, and
  manufacturer's number of the weapon, and a statement signed by the purchaser that
  he has never been convicted in the District of Columbia or elsewhere of a crime of
  violence. One copy of said record shall, within seven days, be forwarded by mail to
  the superintendent of police of the District of Columbia and the other copy retained
  by the seller for six years. 6. No pistol or imitation thereof or placard advertising
  the sale thereof shall be displayed in any part of said premises where it can readily
  be seen from the outside. No license to sell at retail shall be granted to anyone
  except as provided in this section.
  FALSE INFORMATION FORBIDDEN
  SEC. 11. No person, shall, in purchasing a pistol or in applying for a license to
  carry the same, or in purchasing a machine sawed-off shotgun, or blackjack within
  the District of Columbia, give false information or offer false evidence of his
  identity.
  ALTERATION OF IDENTIFYING MARKS PROHIBITED
  SEC. 12. No person shall within the District of Columbia change, alter, remove, or
  obliterate the name of the maker, model, manufacturer's number, or other mark or
  identification on any pistol,
  machine gun, or sawed-off shotgun. Possession of any pistol, machine gun, or
  sawed-off shotgun upon which any such mark shall have been changed, altered,
  removed, or obliterated shall be prima facie evidence that the possessor has
  changed, altered, removed, or obliterated the same within the District of Columbia:
  Provided, however, That nothing contained in this section shall apply to any officer
  or agent of any of the departments of the United States or the District of Columbia
  engaged in experimental work.
  SEC. 13. This Act shall not apply to toy or antique pistols unsuitable for use as
  firearms.
  SEC. 14. No person shall within the District of Columbia possess any machine
  gun, sawed-off shotgun, or any instrument or weapon of the kind commonly
  known as a blackjack, slung shot, sand club, sandbag, or metal knuckles, nor any
  instrument, attachment, or appliance for causing the firing of any firearm to be
  silent or intended to lessen or muffle the noise of the firing of any firearms:
  Provided, however, That machine guns, or sawed-off shotguns, and blackjacks
  may be possessed by the members of the Army, Navy, or Marine Corps of the
  United States, the National Guard, or Organized Reserves when on duty, the Post
  Office Department or its employees when on duty, marshals, sheriffs, prison or jail
  wardens, or their deputies, policemen,
  or other duly appointed law -enforcement officers, officers or employees of the
  United States duly authorized to carry such weapons, banking institutions, public
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  carriers who are engaged in the business of transporting mail, money, securities, or
  other valuables, wholesale dealers
  and retail dealers licensed under section 10 of this Act.
  PENALTIES
  SEC. 15. Any violation of any provision of this Act for which no penalty is
  specifically provided shall be punished by a fine of not more than $1,000 or
  imprisonment for not more than one year, or both.
  CONSTITUTIONALITY
  SEC. 16. If any part of this Act is for any reason declared void, provision not to
  affect remainder, such invalidity shall not affect the validity of the remaining
  portions of this Act.
  Approved, July 8, 1932.
  https://www.loc.gov/resource/llsalvol.llsal_047/?sp=675&st=text&r=0.041,0.112,0
  .75,0.862,0

  FLORIDA:

  1913 Fla. 117, An Act to Regulate the Hunting of Wild Deer etc., § 8.
  It shall, at any time, be unlawful to hunt wild game in Marion County with guns–
  known as Automatic guns.

  1933 Fla. Laws 623, An Act to Prevent Throwing of Bombs and the Discharge of
  Machine Guns Upon, or Across Any Public Road in the State of Florida . . ., ch.
  16111, § 1.
  That it shall be unlawful for any person to throw any bomb or to shoot off or
  discharge any machine guns upon, across or along any road, street or highway in
  the State of Florida, or upon or across any public park in the State of Florida, or in,
  upon or across any public place where people are accustomed to assemble in the
  State of Florida, and the casting of such bomb or the discharge of such machine
  gun in, upon or across such public street, or in, upon or across such public park, or
  in, upon or across such public place, whether indoors or outdoors, including all
  theatres and athletic stadiums, with intent to do bodily harm to any person or with
  intent to do damage to the property of any person, shall be a felony and shall be
  punishable by death.




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  HAWAII:

  1933 Haw. Special Sess. Laws 117, An Act . . . Regulating The Sale, Transfer And
  Possession Of Certain Firearms, Tear Gas And Ammunition: § 2.
  Except as permitted under the provisions of this Act, no person, firm or corporation
  shall own, possess, sell, offer for sale or transport any firearm of the kind
  commonly known as a machine gun or any shell cartridge or bomb containing or
  capable of emitting tear gas or any other noxious gas. Provided, however, that
  nothing in this Act contained shall prohibit the sale to, purchase by, or possession
  of such firearms by any city and county, county, territorial or federal officer where
  such firearms are required for professional use in the discharge of his duties, nor to
  the transportation of such firearms for or on behalf of police departments and
  members thereof, sheriffs, or the military or naval forces of this Territory or of the
  United States and “Provided, further that nothing in this Act shall prohibit police
  departments and members thereof, sheriffs, or the military or naval forces of the
  territory or of the United States from possessing or transporting such shells,
  cartridges or bombs for professional use in the discharge of their duties. “The term
  ‘shell, cartridge or bomb’, as used in this Act shall be construed to apply to and
  include all shells, cartridges, or bombs capable of being discharged or exploded
  through or by the use of percussion caps, fuses, electricity, or otherwise, when such
  discharge or explosion will cause or permit the release or emission of tear gases.
  The term ‘machine gun’ as used in this Act shall be construed to apply to and
  include machine rifles, machine guns and submachine guns capable of
  automatically and continuously discharging loaded ammunition of any caliber in
  which the ammunition is fed to such guns from or by means of clips, disks, drums,
  belts or other separable mechanical device.”

  1933 Haw. Sess. Laws 36, An Act Regulating the Sale, Transfer, and Possession of
  Firearms and Ammunition, § 2.
  Definitions. “Firearm” as used in this Act means any weapon, the operating force
  of which is an explosive. This definition includes pistols, revolvers, rifles,
  shotguns, machine guns, automatic rifles, noxious gas projectors, mortars, bombs,
  cannon and sub-machine guns. The specific mention herein of certain weapons
  does not exclude from the definition other weapons operated by explosives.
  “Crime of violence” as used in this Act means any of the following crimes,
  namely: murder, manslaughter, rape, kidnapping, robbery, burglary, and those
  certain crimes set forth in Sections 4130 and 4131 of said Revised Laws. “Pistol”
  or “revolver” as used in this Act, means and includes any firearm of any shape
  whatsoever with barrel less than twelve inches in length and capable of discharging
  loaded ammunition or any noxious gas. “‘Person” as used in this Act includes
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  individuals, firms, corporations and copartnerships, and includes wholesale and
  retail dealers.

  ILLINOIS:

  1931 Ill. Laws 452-53, An Act to Regulate the Sale, Possession and Transportation
  of Machine Guns, §§ 1-2.
  § 1. For purposes of this Act the term “machine gun” apples to and includes all
  firearms commonly known as machine rifles, machine guns and sub-machine guns
  of any calibre whatsoever, capable of automatically discharging more than eight
  cartridges successively without reloading, in which the ammunition is fed to such
  gun from or by means of clips, disks, belts, or other separable mechanical device.
  The term “manufacturer” shall apply to and include all persons dealing with
  machine guns as merchandise.
  § 2. It is unlawful for any person to sell, keep or offer for sale, loan or give away,
  purchase, possess, carry or transport any machine gun within this State, except that
  1. Sheriffs, constables, marshals, police officers and other duly appointed peace
  officers may purchase, possess, carry and transport machine guns. 2. The
  provisions of this Act shall not apply to the Army, Navy or Marine Corps of the
  United States, the National Guard, and organizations authorized by law to purchase
  or receive machine guns from the United States, or from this State, and the
  members of such Corps, National Guard and organizations while on duty, may
  possess, carry and transport machine guns. 3. Persons, organizations or institutions
  possessing war relics may purchase and possess machine guns which are relics of
  any war in which the United States was involved, may exhibit and carry such
  machine guns in the parades of any military organization, and may sell, offer to
  sell, loan or give such machine guns to other persons, organizations or institutions
  possessing war relics. 4. Guards or messengers employed by common carriers,
  banks and trust companies, and pay-roll guards or messengers may possess and
  carry machine guns while actually employed in and about the shipment,
  transportation or delivery, or in the guarding of any money, treasure, bullion,
  bonds or other thing of value, and their employers may purchase or receive
  machine guns and keep them in their possession when such guns are not being
  used by such guards or messengers 5. Manufacturers and merchants may sell, keep
  or offer for sale, loan or give away, purchase, possess and transport, machine guns,
  in the same manner as other merchandise except as hereinafter provided, and
  common carriers may possess and transport unloaded machine guns, as other
  merchandise.



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  1931 Ill. Laws 453, An Act to Regulate the Sale, Possession and Transportation of
  Machine Guns, § 4.
  Every manufacturer or merchant shall keep a register of all machine guns
  manufactured or handled by him. This register shall show the date of the sale, loan,
  gift, delivery or receipt of any machine gun, the name, address and occupation of
  the person to whom the machine gun was sold, loaned, given or delivered, or from
  whom it was received, and the purpose for which the person to whom the machine
  gun was sold, loaned, given or delivered, purchased or obtained said machine gun.
  Upon demand, every manufacturer or merchant shall permit any sheriff or deputy
  sheriff, or any police officer to inspect his entire stock of machine guns, parts and
  supplies therefor, and shall produce the register herein required and all written
  permits to purchase or possess a machine gun, which he has retained and filed in
  his place of business for inspection by such officer.

  1931 Ill. Laws 454, An Act to Regulate the Sale, Possession and Transportation of
  Machine Guns, § 7.
  Any person committing or attempting to commit arson, assault, burglary,
  kidnapping, larceny, rioting, or robbery while armed with a machine gun shall be
  imprisoned in the penitentiary for his natural life, or for a term not less than five
  years.

  INDIANA:

  1927 Ind. Acts 469, Public Offenses—Ownership, Possession or Control of
  Machine Guns or Bombs—Penalty, ch. 156, § 1.
  . . . [W]hoever shall be the owner of, or have in his possession, or under his
  control, in an automobile, or in any other way, a machine gun or bomb loaded with
  explosives, poisonous or dangerous gases, shall be deemed guilty of a felony, and
  upon conviction thereof, shall be imprisoned for a term of not less than one year
  nor more than five years.

  1927 Ind. Acts 469, Operation of Machine Guns, Discharge of Bombs—Offense
  and Penalty:, ch. 156, § 2.
  Whoever shall discharge, fire off, or operate any loaded machine gun, or whoever
  shall drop form an airplane, automobile, or from any building or structure, or who
  shall throw, hurl, or drop from ground or street, or keep in his possession and
  under his control any bomb filled with deadly or dangerous explosives, or
  dangerous or poisonous gases, shall be deemed guilty of a felony and upon
  conviction shall be imprisoned for a term of not less than two nor more than ten
  years.
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  1929 Ind. Acts 139, Criminal Offenses—Commission of or Attempt to Commit
  Crime While Armed with Deadly Weapon, ch.55, § 1.
  Be it enacted by the general assembly of the State of Indiana, That any person who
  being over sixteen years of age, commits or attempts to commit either the crime of
  rape, robbery, bank robbery, petit larceny or grand larceny while armed with a
  pistol, revolver, rifle, shotgun, machine gun or any other firearm or any dangerous
  or deadly weapon, or while any other person present and aiding or assisting in
  committing or attempting ot commit either of said crimes is armed with any of said
  weapons, shall be guilty of a seperate felony in addition to the crimes above named
  and upon conviction shall be imprisoned for a determinate period of not less than
  ten years nor more than twenty years . . . .

  IOWA:

  1927 Iowa Acts 201, An Act to prohibit the Possession or Control of Machine
  Guns. . . ., §§ 1-2.
  § 1. No person, firm, partnership, or corporation shall knowingly have in his or its
  possession or under his or its control any machine gun which is capable of being
  fired from the shoulder or hip of a person, and by the recoil of such gun.
  § 2. No person, firm, partnership, or corporation shall do any act with the intent to
  enable any other person, firm, partnership, or corporation to obtain possession of
  such gun.

  KANSAS:

  1933 Kan. Sess. Laws 76, An Act Relating to Machine Guns and Other Firearms
  Making the Transportation or Possession Thereof Ulawful in Certain Cases,
  Providing for Search, Seizure and Confiscation Thereof in Certain Cases, Relating
  to the Ownership and Registration of Certain Firearms, and Providing Penalties for
  the Violation of this Act, ch. 62, §§ 1-3.
  § 1. That is shall be unlawful for any person, firm, or corporation other than a
  sheriff or other peace officer or any military unit of the state or of the United States
  or any common carrier for hire, to transport or have in his possession or under his
  control a firearm known as a machine rifle, machine gun, or submachine gun:
  Provided, That banks, trust companies or other institutions or corporations subject
  to unusual hazard from robbery or holdup, may secure permits form the sheriff of
  the county in which they are located for one or more of their employees to have
  such firearms: Provided further, That museums, American Legions posts, and other


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  similar patriotic organizations may possess such firearms, when no usable as a
  weapon and when possessed as a curiosity, ornament or keepsake.
  § 2. That any person violating the provisions of the preceding section shall be
  guilty of a felony, and upon conviction shall be subject to imprisonment in the state
  penitentiary for not less than one year nor more than five years.
  § 3. Upon complaint being made on oath to any officer authorized to issue process
  for the apprehension of offenders that a firearm or firearms known as a machine
  rifles, machine guns or sub-machine guns as described in this act, are concealed in
  any particular house or place, and if such magistrate shall be satisfied that there are
  reasonable grounds for believing same to be true, he shall issue a warrant to search
  the house or place for such firearms . . . .

  LOUISIANA:

  1932 La. Acts 337-38, An Act to Regulate the Sale, Possession and Transportation
  of Machine Guns, and Providing a Penalty for a Violation Hereof . . . , §§ 1-2.
  § 1. . . . for the purpose of this Act the term “machine gun” applies to and include
  all firearms commonly known as machine rifles, machine guns and sub-machine
  guns of any caliber whatsoever, capable of automatically discharging more than
  eight cartridges successively without reloading, in which the ammunition is fed to
  such gun from or by means of clips, disks, belts, or other separable mechanical
  device.
  § 2. It is unlawful for any person to sell, keep or offer for sale, loan or give away,
  purchase, possess, carry or transport any machine gun within this State, except that
  (exceptions for law enforcement, military, war relics, museums, guards,
  messengers) . . . .

  MARYLAND:

  1927 Md. Laws 156, § 388-B.
  That not person, persons house, company, association or body corporate, shall
  deposit, keep or have in his, her, their or its possession any spirituous or fermented
  liquors, or intoxicating drinks of any kind whatsoever, or any article used or sold
  as a beverage in the composition of which, whiskey, brandy, high wines or
  alcoholic, spirituous or fermented liquors shall be an ingredient or ingredients, in
  any automobile or other vehicle in which any device for the prevention or arrest or
  apprehension of said motor vehicle, or the occupants thereof of the type commonly
  known as a smoke screen is carried, whether the said device be attached as a part
  of said motor vehicle in which any gun, pistol, revolver, rifle machine gun, or other


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  dangerous or deadly weapon of any kind whatsoever is carried, whether in said
  automobile or vehicle, or on the person of any occupant of the same.

  MASSACHUSETTS:

  1927 Mass. Acts 416, An Act Relative to Machine Guns and Other Firearms, ch.
  326, § 5 (amending §10)
  . . . Whoever, except as provided by law, carries on his person, or carries on his
  person or under his control in a vehicle, a pistol or revolver, loaded or unloaded, or
  possesses a machine gun as defined in section one hundred and twenty-one of
  chapter one hundred and forty… or whoever so carries any stiletto, dagger, dirk
  knife, slung shot, metallic knuckles or sawed off shotgun, or whoever, when
  arrested upon a warrant for an alleged crime or when arrested while committing a
  crime or a breach or disturbance of the public peace, is armed with, or has on his
  person, or has on his person or under his control in a vehicle, a billy or dangerous
  weapon other than those herein mentioned, shall be punished by imprisonment for
  not less than six months nor more than two and a half years in a jail . .

  1927 Mass. Acts 413, An Act Relative to Machine Guns and Other Firearms, ch.
  326, §§ 1-2 (amending §§ 121, 123)
  § 1. In sections one hundred and twenty-two to one hundred and twenty-nine,
  inclusive, “firearms” includes a pistol, revolver or other weapon of any description,
  loaded or unloaded, from which a shot or bullet can be discharged and of which the
  length of barrel, not including any revolving, detachable or magazine breach, does
  not exceed twelve inches, and a machine gun, irrespective of the length of the
  barrel. Any gun of small arm calibre designed for rapid fire and operated by a
  mechanism, or any gun which operates automatically after the first shot has been
  fired, either by gas action or recoil action, shall be deemed to be a machine gun for
  the purposes of said sections, and of sections one hundred and thirty-one and one
  hundred and thirty one B. . .
  § 2. . . Eighth, That no pistol or revolver shall be sold, rented or leased to a person
  who has not a permit, then in force, to purchase, rent or lease the same issued
  under section one hundred and thirty-one A, and that no machine gun shall be sold,
  rented or leased to a person who has not a license to possess the same issued under
  section one hundred and thirty-one. . .




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  MICHIGAN:

  1927 Mich. Pub. Acts 888-89, An Act to Regulate and License the Selling,
  Purchasing, Possessing and Carrying of Certain Firearms, § 3.
  It shall be unlawful within this state to manufacture, sell, offer for sale, or possess
  any machine gun or firearm which can be fired more than sixteen times without
  reloading, or any muffler, silencer or device for deadening or muffling the sound of
  a discharged firearm, or any bomb or bombshell, or any blackjack, slung shot,
  billy, metallic knuckles, sandclub, sandbag or bludgeon. Any person convicted of a
  violation of this section shall be guilty of a felony and shall be punished by a fine
  not exceeding one thousand dollars or imprisonment in the state prison not more
  than five years, or by both such fine and imprisonment in the discretion of the
  court. . . .

  1929 Mich. Pub. Acts 529, An Act to Regulate and License the Selling,
  Purchasing, Possessing and Carrying of Certain Firearms, § 3.
  It shall be unlawful within this state to manufacture, sell, offer for sale or possess
  any machine gun or firearm which can be fired more than sixteen times without
  reloading or any muffler, silencer, or device for deadening or muffling the sound of
  a discharged firearm, or any bomb, or bomb shell, blackjack, slung shot, billy,
  metallic knuckles, sand club, sand bag, or bludgeon or any gas ejecting device,
  weapon, cartridge, container, or contrivance designed or equipped for or capable of
  ejecting any gas which will either temporarily or permanently disable, incapacitate,
  injure or harm any person with whom it comes in contact.

  MINNESOTA:

  1933 Minn. Laws 231-33, An Act Making It Unlawful to Use, Own, Possess, Sell,
  Control or Transport a “Machine Gun”, as Hereinafter Defined, and Providing a
  Penalty for the Violation Thereof, ch. 190, §§ 1-3.
  § 1. Definitions. (a) Any firearm capable of loading or firing automatically, the
  magazine of which is capable of holding more than twelve cartridges, shall be a
  machine gun within the provisions of the Act. (b) Any firearm capable of
  automatically reloading after each shot is fired, whether firing singly by separate
  trigger pressure or firing continuously by continuous trigger pressure; which said
  firearm shall have been changed, altered or modified to increase the magazine from
  the original design as manufactured by the manufacturers thereof, or by the
  addition thereto of extra and/or longer grips or stocks to accommodate such extra
  capacity, or by the addition, modification and/or attachment thereto of any other
  device capable of increasing the magazine capacity thereof, shall be a machine gun
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  within the provisions of this Act. (c) A twenty-two caliber light sporting rifle,
  capable of firing continuously by continuous trigger pressure, shall be a machine
  gun within the provisions of this Act. But a twenty-two caliber light sporting rifle,
  capable of automatically reloading but firing separately by separate trigger
  pressure for each shot, shall not be a machine gun within the provisions of this Act
  and shall not be prohibited hereunder, whether having a magazine capacity of
  twelve cartridges or more. But if the same shall have been changed, altered, or
  modified, as prohibited in section one (b) hereof, then the same shall be a machine
  gun within the provisions of this Act.
  § 2. Application. This Act shall not apply to sheriffs, coroners, constables,
  policemen or other peace officers, or to any warden, superintendent or head keeper
  of any prison, penitentiary, county jail or other institution for retention of any
  person convicted or accused of crime, while engaged in the discharge of official
  duties, or to any public official engaged in the enforcement of law; nor to any
  person or association possessing a machine gun not usable as a weapon and
  possessed as a curiosity, ornament or keepsake; when such officers and persons
  and associations so excepted shall make and file with the Bureau of Criminal
  Apprehension of this state within 30 days after the passage of this Act, a written
  report showing the name and address of such person or association and the official
  title and position of such officers . . .
  § 3. Machine guns prohibited. Any person who shall own, control, use, possess,
  sell or transport a machine gun, as herein defined, in violation of this Act, shall be
  guilty of a felony.

  MISSOURI:

  1929 Mo. Laws 170, Crimes and Punishment, Prohibiting the Sale, Delivery,
  Transportation, Possession, or Control of Machine Rifles, Machine Guns and Sub-
  machine Guns, and Providing Penalty for Violation of Law, §§ 1-2.
  § 1. Unlawful to sell, deliver, transport or have in possession any machine gun. – It
  shall be unlawful for any person to sell, deliver, transport, or have in actual
  possession or control any machine gun, or assist in, or cause the same to be done.
  Any person who violates this act shall be guilty of a felony and punished by
  imprisonment in the state penitentiary not less than two (2) nor more than thirty
  (30) years, or by a fine not to exceed five thousand dollars, or by both such fine
  and imprisonment. Provided, that nothing in this act shall prohibit the sale,
  delivery, or transportation to police departments or members thereof, sheriffs, city
  marshals or the military or naval forces of this state or of the United States, or the
  possession and transportation of such machine guns, for official use by the above
  named officers and military and naval forces in the discharge of their duties.
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  § 2. The term “machine-gun” defined – The term “machine gun” as used in this act
  shall be construed to apply to and include all firearms known as machine rifles,
  machine guns or sub-machine guns capable of discharging automatically and
  continuously loaded ammunition of any caliber in which the ammunition is fed to
  such gun from or by means of clips, disks, drums, belts or other separable
  mechanical device.

  NEBRASKA:

  1929 Neb. Laws 674, An Act Prohibiting the Sale, Possession and Transportation
  of Machine Guns within the State of Nebraska; and Prescribing Penalties for the
  Violation of the Provisions Hereof, ch. 190, §§ 1-2.
  § 1. Machine Guns – Sale Unlawful – Penalty – It shall be unlawful for any person,
  firm or corporation, its or their agents or servants, to sell or cause to be sold or
  otherwise to dispose of any machine gun to any person in the State of Nebraska,
  except officers of the law, agents of the United States government, or agents of the
  law enforcement department of the State of Nebraska. If any person, firm or
  corporation, or its or their agents or servants violate any of the provisions of this
  section, they shall be deemed guilty of a misdemeanor and upon conviction
  thereof, shall be fined in a sum not less than one thousand dollars nor more than
  ten thousand dollars.
  § 2. U.S. Army and National Guard Exempt – It shall be unlawful for any person
  or persons, except officers of the law, soldiers of the United States Army, or
  officers and enlisted men of the National Guard of this state, to transport any
  machine gun on any highway within this state, or to have in possession for any
  unlawful purpose any machine gun. Any person violating any of the provisions of
  this section shall be deemed guilty of a felony and upon conviction thereof, shall
  be imprisoned in the state penitentiary for not less than one year nor more than ten
  years.

  NEW JERSEY:

  1920 N.J. Laws 67, An Act to Amend an Act Entitled, “An Act for the Protection
  of Certain Kinds of Birds, Game and Fish, to Regulate Their Method of Capture,
  and Provide Open and Close Seasons for Such Capture and Possession,” ch. 31,
  § 9.
  It shall be unlawful to use in hunting fowl or animals of any kind any shotgun or
  rifle holding more than two cartridges at one time, or that may be fired more than
  twice without reloading, or to use any silencer on any gun rifle or firearm when
  hunting for game or fowl under a penalty of twenty dollars for each offense.
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  1927 N.J. Laws 742, A Further Supplement to an Act Entitled, “An Act for the
  Punishment of Crimes,” ch. 321, § 1.
  No pawnbroker shall hereafter sell or have in his possession for sale or to loan or
  give away, any machine gun, automatic rifle, revolver, pistol, or other firearm, or
  other instrument of any kind known as a blackjack, slungshot, billy, sandclub,
  sandbag, bludgeon, metal knuckles, dagger, dirk, dangerous knife, stiletto, bomb or
  other high explosive. Any pawnbroker violating the provisions of this act shall be
  guilty of a high misdemeanor and punished accordingly.

  1927 N.J. Laws 180-81, A Supplement to an Act Entitled “An Act for the
  Punishment of Crimes,” ch. 95, §§ 1-2.
  § 1. The term “machine gun or automatic rifle,” as used in this act, shall be
  construed to mean any weapon, mechanism or instrument not requiring that the
  trigger be pressed for each shot and having a reservoir, belt or other means of
  storing and carrying ammunition which can be loaded into the said weapon,
  mechanism or instrument and fired therefrom at a rate of five or more shots to the
  second.
  § 2. Any person who shall sell, give, loan, furnish or deliver any machine gun or
  automatic rifle to another person, or any person who shall purchase, have or
  possess any machine gun or automatic rifle, shall be guilty of a high misdemeanor;
  provided, the provisions of this section shall not apply to any person who has
  procured and possesses a license to purchase, have and possess a machine gun or
  automatic rifle as hereinafter provided for; nor to the authorized agents and
  servants of such licensee; or to the officers and members of any duly authorized
  military organization; nor to the officers and members of the police force of any
  municipality, nor to the officers and members of the State Police force; nor to any
  sheriff or undersheriff; nor to any prosecutor of the pleas, his assistants, detectives
  and employees.

  1934 N.J. Laws 394-95, A Further Supplement to an Act Entitled “An Act for the
  Punishment of Crimes,” ch. 155, §§ 1-5.
  § 1. A gangster is hereby declared to be an enemy of the state.
  § 2. Any person in whose possession is found a machine gun or a submachine gun
  is declared to be a gangster; provided, however, that nothing in this section
  contained shall be construed to apply to any member of the military or naval forces
  of this State, or to any police officer of the State or of any county or municipality
  thereof, while engaged in his official duties.
  § 3. Any person, having no lawful occupation, who is apprehended while carrying
  a deadly weapon, without a permit so to do and how has been convicted at least
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  three times of being a disorderly person, or who has been convicted of any crime,
  in this or in any other State, is declared to be a gangster.
  § 4. Any person, not engaged in any lawful occupation, known to be a member of
  any gang consisting of two or more persons, who has been convicted at least three
  times of being a disorderly person, or who has been convicted of any crime, in this
  or in any other State, is declared to be a gangster; provided, however, that nothing
  in this section contained shall in any wise be construed to include any participant
  or sympathizer in any labor dispute.
  § 5. Any person convicted of being a gangster under the provisions of this act shall
  be guilty of a high misdemeanor, and shall be punished by a fine not exceeding ten
  thousand dollars ($10,000.00), or by imprisonment not exceeding twenty years, or
  both.

  NEW YORK:

  1931 N.Y. Laws 1033, An Act to Amend the Penal Law in Relation to Carrying
  and Use of Glass Pistols, ch. 435, § 1.
  A person who attempts to use against another an imitation pistol, or who carries or
  possesses any instrument or weapon of the kind commonly known as a black-jack,
  slungshot, billy, sand club, sandbag, metal knuckles, bludgeon, or who, with intent
  to use the same unlawfully against another, carries or possesses a dagger, dirk,
  dangerous knife, razor, stiletto, imitation pistol, machine gun, sawed off shot-gun,
  or any other dangerous or deadly instrument, or weapon is guilty of a
  misdemeanor, and if he has been previously convicted of any crime he is guilty of
  a felony.

  1933 N.Y. Laws 1639, An Act to Amend the Penal Law, in Relation to the Sale,
  Possession and Use of Sub-Machine Guns, ch. 805, §§ 1, 3.
  § 1. . . A person who sells or keeps for sale, or offers or gives, disposes of or
  transports any instrument or weapon of the kind usually known as a machine-gun
  or a sub-machine gun to any person is guilty of a felony, except that the
  manufacture of machine-guns and sub-machine guns as merchandise and the sale
  and shipment thereof direct to regularly constituted or appointed state or municipal
  police departments, sheriffs, policemen, and other peace officers, and to state
  prisons, penitentiaries and county jails, and to military and naval organizations
  shall be lawful.
  § 3. . . . A machine gun is a weapon of any description, irrespective of size, by
  whatever name known, loaded or unloaded, from which a number of shots or
  bullets may be rapidly or automatically discharged from a magazine with one
  continuous pull of the trigger and includes a sub-machine gun. A person who
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  possesses or uses such machine-gun is guilty of a felony. The presence of such
  machine-gun in any room, dwelling, structure, or vehicle shall be presumptive
  evidence of its illegal possession by all the persons occupying the place where such
  machine gun is found.

  NORTH CAROLINA:

  1917 N.C. Sess. Laws 309, Pub. Local Laws, An Act to Regulate the Hunting of
  Quail in Harnett County, ch. 209, § 1.
  That the open season for hunting quail shall be from the first day of December to
  the fifteenth day of January following each succeeding year, and that it shall be
  unlawful to kill quail with any gun or guns that shoot over two times before
  reloading, and any person violating any of the provisions of this act shall be guilty
  of a misdemeanor.

  NORTH DAKOTA:

  1931 N.D. Laws 305-06, An Act to Prohibit the Possession, Sale and Use of
  Machine Guns, Sub-Machine Guns, or Automatic Rifles and Defining the Same . .
  . , ch. 178, §§ 1-2.
  § 1. The term “machine gun, sub-machine gun or automatic rifle” as used in this
  act shall be construed to mean a weapon mechanism or instrument not requiring
  the trigger be pressed for each shot and having a reservoir, belt or other means of
  storing and carrying ammunition which can be loaded into the said weapon,
  mechanism or instrument and fired therefrom at a rate of five or more shots to the
  second.
  § 2. Any person who shall sell, give, loan, furnish or deliver any machine gun, sub-
  machine gun, automatic rifle of a caliber larger than twenty-two, or a bomb loaded
  with explosives or poisonous or dangerous gases to another person, or any person
  who shall purchase, have or possess any machine gun, sub-machine gun¸ automatic
  rifle, or a caliber larger than twenty-two or a bomb loaded with explosives or
  poisonous or dangerous gases, shall be guilty of a felony and shall be punished by
  imprisonment in the state penitentiary not to exceed ten years, or by a fine of not
  more than three thousand dollars, or both. Provided, that the provisions of this act
  shall not apply to any person who has procured and possesses a license to
  purchase, sell, have or possess a machine gun, sub-machine gun, automatic rifle, of
  a caliber larger than twenty-two, or bomb loaded with explosives or poisonous or
  dangerous gases, as hereinafter provided for, nor to the authorized agents and
  servants of such licensee or to the officers and members of any duly authorized
  military organization, nor to the officers and members of the police force of any
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  municipality, nor to any Sheriff, deputy sheriff, nor any other officer having police
  powers under the laws of the State.

  OHIO:

  1933 Ohio Laws 189-90, Reg. Sess., An Act. . . Relative to the Sale and Possession
  of Machine Guns, § 1.
  That § 12819 of the General Code be supplemented . . . to read as follows:
  Definitions. § 12819-3. For the purpose of this act, a machine gun, a light machine
  gun or a sub-machine gun shall be defined as any firearm which shoots
  automatically, or any firearm which shoots more than eighteen shots semi-
  automatically without reloading. Automatically as above used means that class of
  firearms which, while the trigger on the firearm is held back continues to fire
  successive shots. Semi-automatically means that class of firearm which discharges
  one shot only each time the trigger is pulled, no manual reloading operation being
  necessary between shots. Machine gun permit; application; bond or applicant;
  exceptions. § 12819-4. No person shall own, possess, transport, have custody of or
  use a machine gun, light machine gun or sub-machine gun, unless he first procures
  a permit therefor from and at the direction of the adjutant general of Ohio, who
  shall keep a complete record of each permit so issued. A separate permit shall be
  obtained for each gun so owned, possessed or used. The adjutant general shall
  require each applicant for such permit to give an accurate description of such
  weapon, the name of the person from whom it was or is to be obtained, the name of
  the person or persons to have custody thereof and the place of residence of the
  applicant and custodian. Before obtaining such permit each applicant shall give
  bond to the state of Ohio, to be approved by the adjutant general in the sum of five
  thousand dollars, conditioned to save the public harmless by reason of any
  unlawful use of such weapon while under the control of such applicant or under the
  control of another with his consent; and any person injured by such improper use
  may have recourse on said bond. Provided, however, that this section shall not
  affect the right of the national guard of Ohio, sheriffs, regularly appointed police
  officers of incorporated cities and villages, regularly elected constables, wardens
  and guards of penitentiaries, jails, prisons, penal institutions or financial
  institutions maintaining their own police force and such special officers as are now
  or may be hereafter authorized by law to possess and use such weapons when on
  duty. Any person who owns, possesses or has custody of a machine gun, light
  machine gun or sub-machine gun at the time when this section shall become
  effective, shall have thirty days thereafter in which to comply with the provisions
  of this section. Penalty for possession, transportation, etc., without permit. §
  12819-5. Whoever owns, possesses, transports or has custody of or uses a machine
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  gun, light machine gun or sub-machine gun without a permit, as provided by
  section 12819-4 of the General Code, or whoever having such permit, uses or
  consents to the use by another of such weapon in an unlawful manner, shall be
  guilty of a felony and upon conviction thereof, shall be imprisoned in the
  penitentiary not less than one nor more than ten years. [War trophies excepted].

  OREGON:

  1933 Or. Laws 489, An Act to Amend Sections 72-201, 72-202, 72-207, Oregon
  Code 1930, ch. 315, §§ 3-4.
  § 3. Except as otherwise provided in this act, it shall be unlawful for any person
  within this state to possess or have in his possession any machine gun . . .
  § 4. The unlawful concealed carrying upon the person or within the vehicle of the
  carrier of any machine gun, pistol, revolver or other firearm capable of being
  concealed upon the person is a nuisance. Any such weapons taken from the person
  or vehicle of any person unlawfully carrying the same are herby declared to be
  nuisances, and shall be surrendered to the magistrate before whom said person
  shall be taken . . .

  1933 Or. Laws 488, An Act to Amend Sections 72-201, 72-202, 72-207, Oregon
  Code 1930, § 2.
  On and after the date upon which this act takes effect no unnaturalized foreign-
  born person and no person who has been convicted of a felony against the person
  or property of another or against the government of the United States or the state of
  Oregon or of any political subdivision thereof shall own or have in his possession
  or under his custody or control any pistol, revolver, or other firearms capable of
  being concealed upon the person, or machine gun. The terms “pistol,” “revolver,”
  and “firearms capable of being concealed upon the person” as used in this acts
  shall be construed to apply to and include all firearms having a barrel less than 12
  inches in length. The word “machine gun” shall be construed to be a weapon of
  any description by whatever name known, loaded or unloaded, from which two or
  more shots may be fired by a single pressure upon the trigger device. Any person
  who shall violate the provisions of this section shall be guilty of a felony and, upon
  conviction thereof, be punishable by imprisonment in the state penitentiary for not
  less than one nor more than five years.




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  PENNSYLVANIA:

  1929 Pa. Laws 777, An Act prohibiting the sale, giving away, transfer, purchasing,
  owning, possession and use of machine guns: §§1-4
  § 1. Be it enacted, etc., That the term “machine gun” as used in this act, shall mean
  any firearm that fires two or more shots consecutively at a single function of the
  trigger or firing device.
  § 2. It shall be unlawful for any person, copartnership, association or corporation to
  sell, or give, or transfer, any machine gun to any person, copartnership, association
  or corporation within this Commonwealth; and it shall be unlawful for any person,
  copartnership, association, or corporation to purchase, own or have in possession
  any machine gun. Any person violating any of the provisions of this section shall
  be guilty of a felony, and, on conviction thereof, shall be sentenced to pay a fine
  not exceeding one thousand dollars, and undergo imprisonment by separate or
  solitary confinement at labor not exceeding five years.
  § 3. Any person who shall commit, or attempt to commit, any crime within this
  Commonwealth, when armed with a machine gun, shall, upon conviction of such
  crime or attempt to commit such crime, in addition to the punishment for the crime
  for which he has been convicted, be sentenced to separate and solitary confinement
  at labor for a term not exceeding ten years. Such additional penalty of
  imprisonment shall commence upon the expiration or termination of the sentence
  imposed for the crime of which he stands convicted, and shall not run concurrently
  with such sentence.
  § 4. Nothing contained in this act shall prohibit the manufacture for, and sale of,
  machine guns to the military forces of the United States, or of the Commonwealth
  of Pennsylvania, or to any police department of this Commonwealth, or of any
  political subdivision thereof, nor to the purchase or possession of machine guns by
  such governments and departments; and nothing contained in this act shall prohibit
  any organization, branch, camp or post of veterans, or any veteran of any war in
  which the United States was engaged, from owning and possessing a machine gun
  as a relic, if a permit for such ownership or possession has been obtained from the
  sheriff of the county, which permit is at all times attached to such machine gun.
  The sheriffs of the several counties are hereby authorized, upon application and the
  payment of a fee of one dollar, to issue permits for the ownership and possession
  of machine guns by veteran and organizations, branches, camps or posts of
  veterans and organizations, branches, camps or posts of veterans, upon production
  to the sheriff of such evidence as he may require that the organization, branch,
  camp or post is a bona fide organization of veterans, or that any such veteran



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  applicant is a veteran of good moral character and reputation, and that the
  ownership and possession of such machine gun is actually desired as a relic.

  1929 Pa. Laws 777, An Act prohibiting the sale, giving away, transfer, purchasing,
  owning, possession and use of machine guns: § 3.
  § 3. Any person who shall commit, or attempt to commit, any crime within this
  Commonwealth, when armed with a machine gun, shall upon conviction of such
  crime or attempt to commit such crime, in addition to the punishment for the crime
  for which he has been convicted, be sentenced to separate and solitary confinement
  at labor for a term not exceeding ten years. Such additional penalty of
  imprisonment shall commence upon the expiration or termination of the sentence
  imposed for the crime of which he stands convicted, and shall not run concurrently
  with such sentence.

  RHODE ISLAND:

  1927 R.I. Pub. Laws 256, An Act to Regulate the Possession of Firearms: §§ 1, 12.
  § 1. When used in this act the following words and phrases shall be construed as
  follows: “pistol” shall include any pistol or revolver, and any shot gun, rifle or
  similar weapon with overall less than twenty-six inches, but shall not include any
  pistol without a magazine or any pistol or revolver designed for the use of blank
  cartridges only. “machine gun” shall include any weapon which shoots
  automatically and any weapon which shoots more than twelve shots semi-
  automatically without reloading. “Firearm shall include any machine gun or pistol.
  . . “crime of violence” shall mean and include nay of the following crimes or any
  attempt to commit any of the same, viz.murder, manslaughter, rape, mayhem,
  assault or battery involving grave bodily injury, robbery, burglary, and breaking
  and entering. “sell” shall include let or hire, give, lend and transfer, and the word
  “purchase” shall include hire, accept and borrow, and the expression “purchasing”
  shall be construed accordingly. . .
  § 12. No person shall change, alter, remove, or obliterate the name of the maker,
  model, manufacturer’s number, or other mark of identification on any firearm.
  Possession of any firearm upon which any such mark shall have been changed,
  altered, removed, or obliterated, shall be prima facie evidence that the possessor
  has changed, altered, removed or obliterated the same.

  1927 (January Session) R.I. Pub. Laws 256, An Act to Regulate the Possession of
  Firearms: §§ 1, 4, 5, 6
  § 1. When used in this act the following words and phrases shall be construed as
  follows: “Pistol” shall include any pistol or revolver, and any shot gun, rifle or
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  similar weapon with overall less than twenty-six inches, but shall not include any
  pistol without a magazine or any pistol or revolver designed for the use of blank
  cartridges only. “machine gun” shall include any weapon which shoots
  automatically and any weapon which shoots more than twelve shots semi-
  automatically without reloading. “Firearm shall include any machine gun or pistol.
  . . “Crime of violence” shall mean and include any of the following crimes or any
  attempt to commit any of the same, viz.: murder, manslaughter, rape, mayhem,
  assault or battery involving grave bodily injury, robbery, burglary, and breaking
  and entering. “Sell” shall include let or hire, give, lend and transfer, and the word
  “purchase” shall include hire, accept and borrow, and the expression “purchasing”
  shall be construed accordingly. . .
  § 4. No person shall, without a license therefor, issued as provided in section six
  hereof, carry a pistol in any vehicle or concealed on or about his person, except in
  his dwelling house or place of business or on land possessed by him, and no person
  shall manufacture, sell, purchase or possess a machine gun except as otherwise
  provided in this act.
  § 5. The provisions of section four shall not apply to sheriffs, deputy sheriffs, the
  superintendent and members of the state police, prison or jail wardens or their
  deputies, members of the city or town police force or other duly appointed law
  enforcement officers, nor to members of the army, navy or marine corps of the
  United States, or of the national guard, when on duty, or of organizations by law
  authorized to purchase or receive firearms from the United States or this state, nor
  to officers or employees of the United States authorized by law to carry a
  concealed firearm, nor to duly authorized military organizations when on duty, nor
  to members thereof when at or going to or from their customary places of
  assembly, nor to the regular and ordinary transportation of pistols as merchandise,
  nor to any person while carrying a pistol unloaded in a wrapper from the place of
  purchase to his home or place of business, or to a place of repair or back to his
  home or place of business, or in moving goods from one place or abode or business
  to another.
  § 6. The licensing authorities of any city or town shall upon application of any
  person having a bona fide residence or place of business within such city or town,
  or of any person having a bona fide residence or place of business within the
  United States and a license to carry a pistol concealed upon his person issued by
  the authorities of any other state or subdivision of the United States, issue a license
  to such person to carry concealed upon his person a pistol within this state for not
  more than one years from date of issue, if it appears the applicant has good reason
  to fear an injury to his person or property or has any other proper reason for
  carrying a pistol, and that he is a suitable person to be so licensed. The license shall
  be in triplicate, in form to be prescribed by the attorney-general and shall bear the
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  fingerpring, name, address, description and signature of the licensee and the reason
  given for desiring a license. The original thereof shall be delivered to the licensee,
  the duplicate shall within seven days be sent to the attorney-general and the
  triplicate shall be preserved for six years by the licensing authorities issuing said
  license. A fee of two dollars may be charged and shall be paid for each license, to
  the officer issuing the same. Before issuing any such permit the applicant for the
  same shall be required to give bond to the city or town treasurer in the penal sum
  of three hundred dollars, with surety satisfactory to the authority issuing such
  permit, to keep the peace and be of good behavior. Every such permit shall be valid
  for one year from the date when issued unless sooner revoked. The fee charged for
  the issuing of such license or permit shall be applied in accordance with the
  provisions of section thirty-three of chapter 401 of the general laws.

  1927 R. I. Pub. Laws 256, An Act to Regulate the Possession of Firearms: §§ 1, 4,
  7, 8.
  § 1. When used in this act the following words and phrases shall be construed as
  follows: “Pistol” shall include any pistol or revolver, and any shot gun, rifle or
  similar weapon with overall less than twenty-six inches, but shall not include any
  pistol without a magazine or any pistol or revolver designed for the use of blank
  cartridges only. “Machine gun” shall include any weapon which shoots
  automatically and any weapon which shoots more than twelve shots semi-
  automatically without reloading. “Firearm shall include any machine gun or pistol.
  . . “Crime of violence” shall mean and include any of the following crimes or an
  attempt to commit any of the same, viz.: murder, manslaughter, rape, mayhem,
  assault or battery involving grave bodily injury, robbery, burglary, and breaking
  and entering. “Sell” shall include let or hire, give, lend and transfer, and the word
  “purchase” shall include hire, accept and borrow, and the expression “purchasing”
  shall be construed accordingly. . .
  § 4. No person shall, without a license therefor, issued as provided in section six
  hereof, carry a pistol in any vehicle or concealed on or about his person, except in
  his dwelling house or place of business or on land possessed by him, and no person
  shall manufacture, sell, purchase or possess a machine gun except as otherwise
  provided in this act.
  § 7. The attorney-general may issue a permit to any banking institution doing
  business in this state or to any public carrier who is engaged in the business of
  transporting mail, money, securities or other valuables, to possess and use machine
  guns under such regulations as the attorney general may prescribe.
  § 8. It shall be unlawful within this state to manufacture, sell, purchase or possess
  except for military or police purposes, any muffler, silencer or device for
  deadening or muffling the sound of a firearm when discharged.
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  1927 R.I. Pub. Laws 256, An Act to Regulate the Possession of Firearms, §§1, 3
  § 1. When used in this act the following words and phrases shall be construed as
  follows: “pistol” shall include any Pistol or revolver, and any shot gun, rifle or
  similar weapon with overall less than twenty-six inches, but shall not include any
  pistol without a magazine or any pistol or revolver designed for the use of blank
  cartridges only. “machine gun” shall include any weapon which shoots
  automatically and any weapon which shoots more than twelve shots semi-
  automatically without reloading. “Firearm shall include any machine gun or pistol.
  . . “Crime of violence” shall mean and include any of the following crimes or any
  attempt to commit any of the same, viz.: murder, manslaughter, rape, mayhem,
  assault or battery involving grave bodily injury, robbery, burglary, and breaking
  and entering. “sell” shall include let or hire, give, lend and transfer, and the word
  “purchase” shall include hire, accept and borrow, and the expression “purchasing”
  shall be construed accordingly. . .
  § 3. No person who has been convicted in this state or elsewhere of a crime of
  violence shall purchase own, carry or have in his possession or under his control
  any firearm.

  SOUTH CAROLINA:

  1934 S.C. Acts 1288, An Act regulating the use and possession of Machine Guns:
  §§ 1 to 6.
  § 1. “Machine gun” defined. – Be it enacted by the General Assembly of the State
  of South Carolina: For the purposes of this Act the word “machine gun” applies to
  and includes all firearms commonly known as machine rifles, machine guns and
  sub-machine guns of any caliber whatsoever, capable of automatically discharging
  more than eight cartridges successively without reloading, in which the
  ammunition is fed to such gun from or by means of clips, disks, belts or other
  separable mechanical device.
  § 2. Transportation of Machine Gun. – It shall be unlawful for any person or
  persons in any manner to transport from one place to another in this State, or from
  any railroad company, or express company, or other common carrier, or any
  officer, agent or employee of any of them, or any other person acting in their
  behalf knowingly to ship or to transport form one place to another in this State in
  any manner or by any means whatsoever, except as hereinafter provided, any
  firearm as described hereinabove or commonly known as a machine gun.
  § 3. Storing, Keeping, and/or Possessing Machine Gun. – It shall be unlawful for
  any person to store, keep, possess, or have in possession, or permit another to store,


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  keep, possess, or have in possession, except as hereinafter provided, any firearem
  of the type defined above or commonly known as a machine gun.
  § 4. Selling, Renting or Giving away Machine Gun. – It shall be unlawful for any
  person to sell, rent, or give away, or be interested directly or indirectly, in the sale,
  renting or giving away, or otherwise disposing of any firearm of the type above
  described or commonly known as a machine gun.
  § 5. Exceptions – Register Machine Guns. – The provisions of this Act shall not
  apply to the army, navy or marine corps of the United States, the National Guard,
  and organizations authorized by law to purchase or received machine guns from
  the United States, or from this State, and the members of such corps. National
  Guard and organizations while on duty or at drill, may possess, carry and transport
  machine guns, and, Provided, further, That any peace officer of the State, counties
  or political sub-division thereof. State Constable, member of the Highway patrol,
  railway policemen, warden, superintendents, headkeeper or deputy of any State
  prison, penitentiary, workhouse, county jail, city jail, or other institution for
  detention of persons convicted or accused of crime, or held as witnesses in
  criminal cases, or persons on duty in the postal service of the United States, or
  common carrier while transporting direct to any police department, military or
  naval organization, or persons authorized by law to possess or use a machine gun,
  may possess machine guns when required in the performance of their duties, nor
  shall the provisions of this Act be construed to apply to machine guns kept for
  display as relics and which are rendered harmless and not useable. Within thirty
  days after the passage of this Act every person permiteed by this Act to possess a
  machine gun or immediately after any person is elected to or appointed to any
  office or position which entitles such person to possess a machine gun, shall file on
  the office of the Secretary of State on a blank to be supplied by the Secretary of
  State on application therefor, an application to be properly sworn to, which shall be
  approved by the Sheriff of the county in which the applicant resides or has its
  principal place of business, which shall include the applicants name, residence and
  business address, description including sex, race, age weight, height, color of eyes,
  color of hair, whether or not ever charged or convicted of any crime, municipal,
  State or otherwise, and where, if so charged, and when same was disposed of. The
  applicant shall also give the description including the serial number and make the
  machine gun which he possesses or desires to possess. Thereupon the Secretary of
  State shall file such application in his office, registering such applicant togther with
  the information required in the application in a book or index to be kept for that
  purpose, and assign to him a number, an dissue to him a card which shall bear the
  signature of the applicant, and which he shall keep with him while he has such
  machine gun in his possession. Such registeration shall be made on the date


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  application is received and filed iwth the Secretary of State, and shall expire on
  December 31, of the year in which said license is issued.
  § 6. Penalty – Any person violating any of the provisions of this Act shall be guilty
  of a felony, and, on conviction thereof shall be sentenced to pay a fine not
  exceeding One Thousand Dollars, and undergo imprisonment by separate or
  solitary confinement at labor not exceeding twenty (20) years.

  SOUTH DAKOTA:

  1933 S.D. Sess. Laws 245-47, An Act Relating to Machine Guns, and to Make
  Uniform the Law with Reference Thereto, ch. 206, §§ 1-8.
  § 1. “machine gun” applies to and includes a weapon of any description by
  whatever name known, loaded or unloaded from which more than five shots or
  bullets may be rapidly or automatically, or semi-automatically discharged from a
  magazine, by a single function of the firing device. “Crime of Violence” apples to
  and includes any of the following crimes or an attempt to commit any of the same,
  namely, murder, manslaughter, kidnapping, rape, mayhem, assault to do great
  bodily harm, robbery, burglary, housebreaking, breaking and entering, and larceny.
  “Person” applied to and includes firm, partnership, association or corporation.
  § 2. Possession or use of a machine gun in the perpetration or attempted
  perpetration of a crime of violence is hereby declared to be a crime punishable by
  imprisonment in the state penitentiary for a term of not more than twenty years.
  § 3. Possession or use of a machine gun for offensive or aggressive purpose is
  hereby declared to be a crime punishable by imprisonment in the state penitentiary
  for a term of not more than fifteen years.
  § 4. Possession or use of a machine gun shall be presumed to be for offensive or
  aggressive purpose; (a) When the machine gun is on premises not owned or rented
  for bona fide permanent residence or business occupancy by the person in whose
  possession the machine gun may be found; or (b) when in the possession of, or
  used by, an unnaturalized foreign born person, who has been convicted of a crime
  of violence in any court of record, state or federal of the United States of America,
  its territories or insular possessions; or (c) when the machine gun is of the kind
  described in §8 and has not been registered as in said section required; or (d) when
  empty or loaded pistol shells of 30 or larger caliber which have been or are
  susceptible or use in the machine gun are found in the immediate vicinity thereof.
  § 5. The presence of a machine gun in any room, boat, or vehicle shall be evidence
  of the possession or use of the machine gun by each person occupying the room,
  boat, or vehicle where the weapon is found.
  § 6. Exceptions. Nothing contained in this act shall prohibit or interfere with (1.)
  the manufacture for, and sale of, machine guns to the miltary forces or the peace
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  officers of the United States or of any political subdivision thereof, or the
  transportation required for that purpose; (2.) The possession of a machine gun for
  scientific purpose, or the possession of a machine gun not usable as a weapon and
  possessed as a curiosity, ornament, or keepsake; (3.) The possession of a machine
  gun other than one adapted to use pistol cartridges of 30 (.30 in. or 7.63 mm.) or
  larger caliber, for a purpose manifstly not aggresive or offensive.
  § 7. Every manufacturer shall keep a register of all machine guns manufactured or
  handled by him. This register shall show the model and serial number, date of
  manufacture, sale, loan, gift, delivery or receipt, of every machine gun, the name,
  address, and occupation of the person to whom the machine gun was sold, loaned,
  given or delivered, or from whom it was received and the purpose for which it was
  acquired by the person to whom the machine gun was sold, loaned given or
  delivered, or from whom received. Upon demand every manufacturer shall permit
  any marshal, sheriff or police officer to inspect his entire stock of machine guns,
  parts and supplies therefor, and shall produce the register, herein required, for
  inspection. A violation of any provisions of this section shall be punishable by a
  fine of not more than five hundred dollars, or by imprisonment in the county jail,
  nfor not exceeding six months or by both such fine and imprisonment.
  § 8. Every machine gun now in this state adapted to use pistol cartridges of 30 (.30
  in. or 7.63 mm.) or larger caliber shall be registered in the office of the Secretary of
  State, on the effective date of this act, and annually thereafter. If acquired hereafter
  it shall be registered within 24 hours after its acquisition. Blanks for registration
  shall be prepared by the Secretary of STate, and furnished upon application. To
  comply with this section the application as filed must show the model and serial
  number of the gun, the name, address and occupation of the person in possession,
  ande from whom and the purpose for which, the gun was acquired. The registration
  data shall not be subject to inspection by the public. Any person failing to register
  any gun as required by this section shall be presumed to possess the same for
  offensive and aggressive purpose.

  TEXAS:

  1933 Tex. Gen. Laws 219-20, 1st Called Sess., An Act Defining “Machine Gun”
  and “Person”; Making It an Offense to Possess or Use Machine Guns. . . , ch. 82,
  §§ 1-4, 6
  § 1. Definition. “Machine gun” applies to and includes a weapon of any description
  by whatever name known, loaded or unloaded, from which more than five (5) shots
  or bullets may be automatically discharged from a magazine by a single
  functioning of the firing device. “Person” applies to and includes firm, partnership,
  association or corporation.
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  § 2. Whosoever shall possess or use a machine gun, as defined in Section 1, shall
  be guilty of a felony and upon conviction thereof, shall be confined in the State
  Penitentiary, for not less than two nor more than ten (10) years.
  § 3. Whoever shall sell, lease, give, barter, exchange, or trade, or cause to be sold,
  leased, given, bartered, exchanged, or traded, a machine gun as hereinabove
  defined to any person shall be guilty of a felony and upon conviction thereof, shall
  be confined to the State Penitentiary, for not less than two (2) nor more than (10)
  years.
  § 4. [Excludes military, police, unusable keepsakes, prison officers.]
  § 6. The fact that there are many gangsters purchasing machine guns in Texas,
  causing a menace to the citizenry of Texas, creates an emergency and imperative
  public necessity that the Constitutional Rule requiring bills to be read on three
  several days be suspended, and said Rule is hereby suspended, and this Act shall
  take effect and be in force from and after its passage, and it is so enacted.

  VERMONT:

  1923 Vt. Acts and Resolves 127, An Act to Prohibit the Use of Machine Guns and
  Automatic Rifles in Hunting, § 1.
  A person engaged in hunting for game who uses, carries, or has in his possession a
  machine gun of any kind or description, or an automatic rifle of military type with
  a magazine capacity of over six cartridges, shall be fined not more than five
  hundred dollars nor less than fifty dollars. The presence of such a firearm in a
  hunting camp shall be presumptive evidence that the possessor of such a firearm
  has violated the provisions of this section.

  VIRGINIA:

  1934 Va. Acts 137-39, An Act to define the term “machine gun”; to declare the use
  and possession of a machine gun for certain purposes a crime and to prescribe the
  punishment therefor, ch. 96, §§ 1-7.
  § 1. Where used in this act; (a) “Machine gun” applies to and includes a weapon of
  any description by whatever name known, loaded or unloaded, from which more
  than seven shots or bullets may be rapidly, or automatically, or semi-automatically
  discharged from a magazine, by a single function of the firing device, and also
  applies to and includes weapons, loaded or unloaded, from which more than
  sixteen shots or bullets may be rapidly, automatically, semi-automatically or
  otherwise discharged without reloading. (b) “Crime of violence” applies to and
  includes any of the following crimes or an attempt to commit any of the same,
  namely, murder, manslaughter, kidnapping, rape, . . .
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  § 2. Possession or use of machine gun in the perpetration or attempted perpetration
  of a crime of violence is hereby declared to be a crime punishable by death or by
  imprisonment in the State penitentiary for a term not less than twenty years.
  § 3. Unlawful possession or use of a machine gun for offensive or aggressive
  purpose is hereby declared to be a crime punishable by imprisonment in the State
  penitentiary for a term of not less than ten years.
  § 4. Possession or use of a machine gun shall be presumed to be for offensive or
  aggressive purpose; (a) When the machine gun is on premises not owned or rented,
  for bona fide permanent residence or business occupancy, by the person in whose
  possession the machine gun may be found; or (b) When in the possession of , or
  used by, an unnaturalized foreign born person, or a person who has been convicted
  of a crime of violence in any court of record, state or federal, of the United States
  of America, its territories or insular possessions; or (c) When the machine gun is of
  the kind described in section eight and has not been registered as in said section
  required; or (d) When empty or loaded pistol shells of thirty (thirty one-hundredths
  inch or seven and sixty-three one hundredths millimeter ) or larger caliber which
  have been or are susceptible to use in the machine gun are found in the immediate
  vicinity thereof.
  § 5. The presence of a machine gun in any room, boat, or vehicle shall be prima
  facie evidence of the possession or use of the machine gun by each person
  occupying the room, boat, or vehicle where the weapon is found.
  § 6. (excludes military police etc. )
  § 7. Every manufacturer or dealer shall keep a register of all machine guns
  manufactured or handled by him. This register shall show the model and serial
  number, date of manufacture, sale, load, gift, delivery or receipt, of every machine
  gun, the name, address, and occupation of the person to whom the machine gun
  was sold, loaned, given or delivered, or from whom it was received; and the
  purpose for which it was acquired by the person to whom the machine gun was
  sold. . .

  WASHINGTON:

  1933 Wash. Sess. Laws 335-36, An Act Relating to Machine Guns, Regulating the
  Manufacture, Possession, Sale of Machine Guns and Parts, and Providing Penalty
  for the Violation Thereof, and Declaring an Emergency, ch. 64, §§ 1-5.
  § 1. That it shall be unlawful for any person to manufacture, own, buy, sell, loan,
  furnish, transport, or have in possession, or under control, any machine gun, or any
  part thereof capable of use or assembling or repairing any machine gun: provided,
  however, that such limitation shall not apply to any peace officer in the discharge


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  of official duty, or to any officer or member of the armed forces of the United
  States or the State of Washington.
  § 2. For the purpose of this act a machine gun is defined as any firearm or weapon
  known as a machine gun, mechanical rifle, submachine gun, and/or any other
  weapon, mechanism, or instrument not requiring that the trigger be pressed for
  each shot and having a reservoir clip, disc, drum belt, or other separable
  mechanical device for storing, carrying, or supplying ammunition which can be
  loaded into such weapon, mechanism, or instrument, and fired therefrom at the rate
  of five or more shots per second.
  § 3. Any person violating any of the provisions of this act shall be guilty of a
  felony.
  § 4. All machine guns, or parts thereof, illegally held or possessed are hereby
  declared to be contraband, and it shall be the duty of all peace officers, and/or any
  officer or member of the armed forces of the United States or the State of
  Washington to seize said machine gun, or parts thereof, wherever and whenever
  found.
  § 5. This act is necessary for the immediate preservation of public health and
  safety, and shall take effect immediately.

  WEST VIRGINIA:

  1925 W.Va. Acts 31-32, 1st Extraordinary Sess., An Act to Amend and Re-Enact
  Section Seven . . . Relating to Offenses Against the Peace . . . , ch. 3, § 7, pt. b.
  It shall be unlawful for any person, firm or corporation to place or keep on public
  display to passersby on the streets, for rent or sale, any revolver, pistol, dirk, bowie
  knife, slung shot or other dangerous weapon of like kind or character or any
  machine gun, sub-machine gun or high powered rifle or any gun of similar kind or
  character, or any ammunition for the same. All dealers licensed to sell any of the
  forgoing arms or weapons shall take the name, address, age and general
  appearance of the purchaser, as well as the maker of the gun, manufacturer’s serial
  number and caliber, and report the same at once in writing to the superintendent of
  the department of public safety. It shall be unlawful for any person to sell, rent,
  give or lend any of the above mentioned arms to an unnaturalized person.

  1925 W.Va. Acts 30-31, 1st Extraordinary Sess., An Act to Amend and Re-Enact
  Section Seven . . . Relating to Offenses Against the Peace; Providing for the
  Granting and Revoking of Licenses and Permits Respecting the Use,
  Transportation and Possession of Weapons and Fire Arms . . . , ch. 3, § 7, pt. b.
  (b) It shall be unlawful for any person to carry, transport, or have in his possession
  any machine gun, sub-machine gun, and what is commonly known as a high
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  powered rifle, or any gun of a similar kind or character, or any ammunition
  therefor, except on his own premises or premises leased to him for a fixed term,
  until such person shall have first obtained a permit from the superintendent of the
  department of public safety of this state, and approved by the governor, or until a
  license therefore shall have been obtained from the circuit court as in the case of
  pistols and all such licenses together with the numbers identifying such rifle shall
  be certified to the superintendent of the department of public safety. Provided,
  further, that nothing herein shall prevent the use of rifles by bona fide rifle club
  members who are freeholders or tenants for a fixed term in this state at their usual
  or customary place of practice, or licensed hunters in the actual hunting of game
  animals. No such permit shall be granted by such superintendent except in cases of
  riot, public danger, and emergency, until such applicant shall have filed his written
  application with said superintendent of the department of public safety, in
  accordance with such rules and regulations as may from time to time be prescribed
  by such department of public safety relative thereto, which application shall be
  accompanied by a fee of two dollars to be used in defraying the expense of issuing
  such permit and said application shall contain the same provisions as are required
  to be shown under the provisions of this act by applicants for pistol licenses, and
  shall be duly verified by such applicant, and at least one other reputable citizen of
  this state. Any such permit as granted under the provisions of this act may be
  revoked by the governor at his pleasure upon the revocation of any such permit the
  department of public safety shall immediately seize and take possession of any
  such machine gun, sub-machine gun, high powered rifle, or gun of similar kind and
  character, held by reason of said permit, and any and all ammunition therefor, and
  the said department of public safety shall also confiscate any such machine gun,
  sub-machine gun and what is commonly known as a high powered rifle, or any gun
  of similar kind and character and any and all ammunition therefor so owned,
  carried, transported or possessed contrary to the provisions of this act, and shall
  safely store and keep the same, subject to the order of the governor.

  WISCONSIN:

  1928-1929 Wis. Sess. Laws 157, An Act to Create . . . the Statutes, Relating to
  Machine Guns and Providing a Penalty, ch. 132, § 1.
  Any person who shall own, use or have in his possession a machine gun shall be
  punished by imprisonment in the state prison for a term the minimum of which
  shall be one year and the maximum fifteen years. Nothing in this section shall be
  construed as prohibiting police officers, national guardsmen, sheriffs and their
  deputies from owning, using or having in their possession a machine gun while
  actually engaged in the performance of their lawful duties; nor shall any person or
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  organization be prohibited form possessing any machine gun received from the
  government as a war trophy.

  1931-1933 Wis. Sess. Laws 245-47, An Act . . .Relating to Machine Guns and to
  Make Uniform the Law with Reference Thereto, ch. 76, § 1, pt. 164.01 to 164.06.
  164.01 Definitions (a) “Machine gun” applies to and includes a weapon of any
  description by whatever name known from which more than two shots or bullets
  may be discharged by a single function of the firing device. . .
  164.02 Use of Machine Gun is a Separate Crime. Possession or use of a machine
  gun in the perpetration or attempted perpetration of a crime of violence is hereby
  declared to be a crime punishable by imprisonment in the state penitentiary for a
  term of not less than twenty years.
  164.03 Possession for Aggressive Purpose. Possession or use of a machine gun for
  offensive or aggressive purpose is hereby declared to be a crime punishable by
  imprisonment in the state penitentiary for a term not less than ten years.
  164.04 Possession when Presumed For Aggressive Purpose. Possession or use of a
  machine gun shall be presumed to be for offensive or aggressive purpose; (1) when
  the machine gun is on premises not owned or rented, for a bona fide permanent
  residence or business occupancy, by the person in whose possession the machine
  gun may be found; or (2) when in the possession of, or used by, an unnaturalized
  foreign-born person, or a person who has been convicted of a crime of violence in
  any court of record, state or federal, of the United States of America, its territories
  or insular possessions; or (3) When the machine gun is of the kind described in
  section 164.08 and has not been registered as in said section required; or (4) When
  empty or loaded pistol shells of 30 (.30 in. or 7.63 mm.) or larger caliber which
  have been used or are susceptible of use in the machine gun are found in the
  immediate vicinity thereof.
  164.05 Presumptions from Presence of Gun. The presence of a machine gun in any
  room, boat, or vehicle shall be evidence of the possession or use of the machine
  gun by each person occupying the room, boat, or vehicle shall be evidence of the
  possession or use of the machine gun by each person occupying the room, boat, or
  vehicle where the weapon is found.
  164.06 Exceptions. Nothing contained in this chapter shall prohibit or interfere
  with the manufacture for, and sale of , machine guns to the military forces or the
  peace officers of the United States or of any political subdivision thereof, or the
  transportation required for that purpose; the possession of a machine gun for
  scientific purpose, or the possession of a machine gun not usable as a weapon and
  possessed as a curiosity, ornament, or keepsake; the possession of a machine gun
  other than one adapted to use pistol cartridges of 30 (.30 in. or 7.63 mm.) or larger


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  caliber, for a purpose manifestly not aggressive or offensive. . . [manufacturers and
  owners required to register].

  1931-1933 Wis. Sess. Laws 778, An Act . . . Relating to the Sale, Possession,
  Transportation and Use of Machine Guns and Other Weapons in Certain Cases,
  and Providing a Penalty, ch. 359, § 1.
  No person shall sell, possess, use or transport any machine gun or other full
  automatic firearm, nor shall any person sell, possess, use or transport any bomb,
  hand grenade, projectile, shell or other container of any kind or character into
  which tear gas or any similar substance is used or placed for use to cause bodily
  discomfort, panic, or damage to property. (2) Any person violating any of the
  provisions of this section shall be punished by imprisonment in the state prison for
  a term of not less than one year nor more than three years. (3) [doesn’t apply to
  police, military etc.].

  WYOMING:

  1933 Wyo. Sess. Laws 117, An Act Relating to the Registering and Recording of
  Certain Facts Concerning the Possession and Sale of Firearms by all Wholesalers,
  Retailers, Pawn Brokers, Dealers and Purchasers, Providing for the Inspection of
  Such Register, Making the Violation of the Provisions Hereof a Misdemeanor, and
  Providing a Penalty Therefor, ch. 101, §§ 1-4.
  § 1. All wholesalers, retailers, dealers and pawn brokers are hereby required to
  keep a record of all firearms which may come into their possession, whether new
  or second hand, which record shall be known as the Firearms Register. Such
  register shall contain the following information, to wit: the name of the
  manufacturer, person, persons, firm or corporation from whom the firearm was
  obtained, the date of its acquisition, its manufacturer’s number, its color, its
  caliber, whether the same is new or second hand, whether it is automatic, a
  revolver, a single shot pistol, a rifle, a shot gun or a machine gun, the name of the
  party to whom said firearm is sold in such purchasers handwriting and the date of
  such sale.
  § 2. Every person who purchases any firearm from any retailer, pawn broker or
  dealer, shall sign his name or make his mark properly witnessed, if he cannot write,
  on said Firearm Register, at the time of the delivery to him of any firearm so
  purchased.
  § 3. The firearm register, herein required to be kept, shall be prepared by every
  wholesaler, retailer, pawn broker and dealer in firearms in the state of Wyoming
  within 30 days after this Act shall become effective and shall thereafter be
  continued as herein provided. It shall be kept at the place of business of said
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  wholesaler, retailer, pawn broker or dealer, and shall be subject to inspection by
  any peace officer at all reasonable times.
  § 4. Any person, firm or corporation who shall fail or refuse to comply with the
  provisions of this Act shall be deemed guilty of a misdemeanor and upon
  conviction thereof shall be fined in a sum not to exceed $100.00, or imprisoned in
  the County Jail for a period of not to exceed six months, or by both such fine and
  imprisonment.

  SOURCE: https://firearmslaw.duke.edu/repository/search-the-repository/




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                                 EXHIBIT E




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                                      EXHIBIT E

                         DANGEROUS WEAPONS LAWS

  ALABAMA

  Harry Toulmin, A Digest of the Laws of the State of Alabama : Containing the
  Statutes and Resolutions in Force at the End of the General Assembly in January,
  1823. To which is Added an Appendix; Containing the Declaration of
  Independence; the Constitution of the United States; the Act authorizing the People
  of Alabama to form a Constitution and State Government; and the Constitution of
  the State of Alabama Page 627, Image 655 (1823) available at The Making of
  Modern Law: Primary Sources. 1805
  Negroes and Mulattoes, Bond and Free – 1805, Chapter I, An Act respecting
  Slaves. – Passed March 6, 1805: Sec. 4. And be it further enacted, that no slave
  shall keep or carry any gun, powder, shot, club, or other weapon whatsoever,
  offensive or defensive, except the tools given him to work with, or that he is
  ordered by his master, mistress, or overseer, to carry the said articles from one
  place to another, but all and every gun , weapon, or ammunition, found in the
  possession or custody of any slave, may be seized by any person, and upon due
  proof made thereof, before any justice of the peace of the county or corporation
  where such seizure shall be made, shall, by his order, be forfeited to the seizer, for
  his own use; and moreover, every such offender shall have and receive, by order of
  such justice, any number of lashes, not exceeding thirty-nine, on his bare back for
  every such offense : Provided nevertheless, That any justice of the peace may
  grant, in his proper county, permission in writing to any slave, on application of his
  master or overseer, to carry and use a gun and ammunition within the limits of his
  said master’s or owner’s plantation, for a term not exceeding one year, and
  revocable at any time within such term, at the discretion of the said justice, and to
  prevent the inconveniences arising from the meeting of slaves.

  1837 Ala. Acts 7, An Act to Suppress the Use of Bowie Knives, §§ 1, 2.
  Be it enacted by the Senate and House of Representatives of the State of Alabama
  in General Assembly convened, That if any person carrying any knife or weapon,
  known as Bowie Knives or Arkansaw [sic] Tooth-picks, or either or any knife or
  weapon that shall in form, shape or size, resemble a Bowie-Knife or Arkansaw
  [sic] Tooth-pick, on a sudden rencounter, shall cut or stab another with such knife,


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  by reason of which he dies, it shall be adjudged murder, and the offender shall
  suffer the same as if the killing had been by malice aforethought.
  And be it further enacted, [t]hat for every such weapon, sold or given, or otherwise
  disposed of in this State, the person selling, giving or disposing of the same, shall
  pay a tax of one hundred dollars, to be paid into the county Treasury; and if any
  person so selling, giving or disposing of such weapon, shall fail to give in the same
  to his list of taxable property, he shall be subject to the pains and penalties of
  perjury.

  1839 Ala. Acts 67, An Act to Suppress the Evil Practice of Carrying Weapons
  Secretly, § 1
  That if any person shall carry concealed about his person any species of fire arms,
  or any bowie knife, Arkansas tooth-pick, or any other knife of the like kind, dirk,
  or any other deadly weapon, the person so offending shall, on conviction thereof,
  before any court having competent jurisdiction, pay a fine not less than fifty, nor
  more than five hundred dollars, to be assessed by the jury trying the case; and be
  imprisoned for a term not exceeding three months, at the discretion of the Judge of
  said court.

  1841 Ala. Acts 148–49, Of Miscellaneous Offences, ch. 7, § 4.
  Everyone who shall hereafter carry concealed about his person, a bowie knife, or
  knife or instrument of the like kind or description, by whatever name called, dirk
  or any other deadly weapon, pistol or any species of firearms, or air gun, unless
  such person shall be threatened with, or have good cause to apprehend an attack, or
  be travelling, or setting out on a journey, shall on conviction, be fined not less than
  fifty nor more than three hundred dollars: It shall devolve on the person setting up
  the excuse here allowed for carrying concealed weapons, to make it out by proof,
  to the satisfaction of the jury; but no excuse shall be sufficient to authorize the
  carrying of an air gun, bowie knife, or knife of the like kind or description.

  The Revised Code of Alabama Page 169, Image 185 (1867) available at The
  Making of Modern Law: Primary Sources.
  Taxation, § 10. On All pistols or revolvers in the possession of private persons not
  regular dealers holding them for sale, a tax of two dollars each; and on all bowie
  knives, or knives of the like description, held by persons not regular dealers, as
  aforesaid, a tax of three dollars each; and such tax must be collected by the
  assessor when assessing the same, on which a special receipt shall be given to the
  tax payer therefor, showing that such tax has been paid for the year, and in default
  of such payment when demanded by the assessor, such pistols, revolvers, bowie
  knives, or knives of like description, must be seized by him, and unless redeemed
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  by payment in ten days thereafter, with such tax, with an additional penalty of fifty
  per cent., the same must be sold at public outcry before the court house door, after
  five days notice; and the overplus remaining, if any, after deducting the tax and
  penalty aforesaid, must be paid over to the person from whom the said pistol,
  revolver, bowie knife, or knife of like description, was taken, and the net amount
  collected by him must be paid over to the collector every month, from which, for
  each such assessment and collection, the assessor shall be entitled to fifty cents,
  and when the additional penalty is collected, he shall receive fifty per cent.
  additional thereto.

  Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
  the Supreme Court of the State upon the Construction of the Statutes; and in Which
  the General and Permanent Acts of the Session of 1876-7 have been Incorporated
  Page 882, Image 898 (1877) available at The Making of Modern Law: Primary
  Sources.
  Offenses Against Public Peace, § 4109. Carrying Concealed Weapons – Any
  person who, not being threatened with, or having good reason to apprehend, an
  attack, or traveling, or setting out on a journey, carries concealed about his person
  a bowie knife, or any other knife or instrument of like kind or description, or a
  pistol, or fire arms of any other kind or description, or an air gun, must be fined, on
  conviction, not less than fifty, nor more than three hundred dollars; and may also
  be imprisoned in the county jail, or sentenced to hard labor for the county, for not
  more than six months. (Footnote – Not unconstitutional. – 1 Ala. 612 Co-extensive
  only with necessity – 49 Ala. 355. . .)

  Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
  the Supreme Court of the State upon the Construction of the Statutes; and in Which
  the General and Permanent Acts of the Session of 1876-7 have been Incorporated
  Page 989, Image 1005 (1877) available at The Making of Modern Law: Primary
  Sources.
  Proceedings In Circuit and City Courts, § 4809. Carrying Concealed Weapons. – In
  an indictment for carrying concealed weapons, it is sufficient to charge that the
  defendant “carried concealed about his person a pistol, or other description of fire-
  arms,” or “a bowie-knife, or other knife or instrument of the like kind or
  description,” without averring the want of a legal excuse on his part; and the
  excuse, if any, must be proved by the defendant, on the trial, to the satisfaction of
  the jury.

  Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
  the Supreme Court of the State upon the Construction of the Statutes; and in Which
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  the General and Permanent Acts of the Session of 1876-7 have been Incorporated
  Page 901, Image 917 (1877) available at The Making of Modern Law: Primary
  Sources.
  Offenses Against Public Health, etc. § 4230 (3751). Selling, giving, or lending,
  pistol or bowie knife, or like knife, to boy under eighteen. – Any person who sells,
  gives, or lends, to any boy under eighteen years of age, any pistol, or bowie knife,
  or other knife of like kind or description, must on conviction, be fined not less than
  fifty, nor more than five hundred dollars.

  Wade Keyes, The Code of Alabama, 1876 : with References to the Decisions of
  the Supreme Court of the State upon the Construction of the Statutes; and in Which
  the General and Permenent Acts of the Session of 1876-7 have been Incorporated
  Page 883, Image 899 (1877) available at The Making of Modern Law: Primary
  Sources.

  Carrying Weapons, Dangerous or Unusual Weapons | Alabama | 1873
  Offenses Against Public Justice, &c. § 4110. Carrying, concealed, brass knuckles
  and slung-shots. – Any person who carries, concealed about his person, brass
  knuckles, slung-shot, or other weapon of like kind or description, shall, on
  conviction thereof, be fined not less than twenty, nor more than two hundred
  dollars, and may also, at the discretion of the court trying the case, be imprisoned
  in the county jail, or sentenced to hard labor for the county, for a term not
  exceeding six months. § 4111. Carrying rifle or shot-gun walking canes. – Any
  person who shall carry a rifle or shot-gun walking cane, shall, upon conviction, be
  fined not less than five hundred dollars, nor more than one thousand dollars, and be
  imprisoned in the penitentiary not less than two years.

  J. M. Falkner, The Code of Ordinances of the City Council of Montgomery
  [Alabama], with the Charter Page 148-49, Image 148-49 (1879) available at The
  Making of Modern Law: Primary Sources.
  § 428. Any person who, not being threatened with or having good reason to
  apprehend an attack, or travelling or setting out on a journey, carries concealed
  about his person a bowie-knife or any other knife of like kind or description, or a
  pistol or fire-arms of any other kind or description, air gun, slung-shot, brass-
  knuckles, or other deadly or dangerous weapon, must, on conviction, be fined not
  less than one nor more than one hundred dollars.

  William Logan Martin, Commissioner, The Code of Alabama, Adopted by Act of
  the General Assembly of the State of Alabama, Approved February 16, 1897,
  Entitled “An Act to Adopt a Code of Laws for the State Alabama ” with Such
                                            5
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  Statutes Passed at the Session of 1896-97, as are Required to be Incorporated
  Therein by Act Approved February 17, 1897; and with Citations to the Decisions
  of the Supreme Court of the State Construing or Mentioning the Statutes Page
  1137, Image 1154 (Vol. 1, 1897) available at The Making of Modern Law:
  Primary Sources.
  [License Taxes; From Whom and For What Business Required; Prices; County
  Levy,] Taxation, § 27. For dealers in pistols, or pistol cartridges, or bowie-knives,
  or dirk-knives, whether principal stock in trade or not, three hundred dollars. Any
  cartridges, whether called rifle or pistol cartridges, or by any other name, that can
  be used in a pistol, shall be deemed pistol cartridges within the meaning of this
  subdivision. Any person or firm who orders for another, or delivers any cartridges
  within this state, shall be deemed a dealer under this provision.

  ALASKA

  Fred F. Barker, Compilation of the Acts of Congress and Treaties Relating to
  Alaska: From March 30, 1867, to March 3, 1905 139 1906.
  That it shall be unlawful for any person to carry concealed about his person, in any
  manner whatever, any revolver, pistol, or other firearm, or knife (other than an
  ordinary pocket knife), or any dirk or dagger, slung shot, metal knuckles, or any
  instrument by the use of which injury could be inflicted upon the person or
  property of any other person.

  1896-99 Alaska Sess. Laws 1270, An Act To Define And Punish Crimes In The
  District Of Alaska And To Provide A Code Of Criminal Procedure For Said
  District, chap. 6, § 117.
  That it shall be unlawful for any person to carry concealed about his person in any
  manner whatever, any revolver, pistol, or other firearm, or knife (other than an
  ordinary pocket knife), or any dirk or dagger, slung shot, metal knuckles, or any
  instrument by the use of which injury could be inflicted upon the person or
  property of any other person.

  ARIZONA

  Coles Bashford, The Compiled Laws of the Territory of Arizona, Including the
  Howell Code and the Session Laws From 1864 to 1871, Inclusive: To Which is
  Prefixed the Constitution of the United States, the Mining Law of the United
  States, and the Organic Acts of the Territory of Arizona and New Mexico Page 96,
  Image 102 (1871) available at The Making of Modern Law: Primary Sources,
  1867.
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  An Act to prevent the improper use of deadly weapons, and the indiscriminate use
  of fire arms in the towns and villages of the territory. § 1. That any person in this
  Territory, having, carrying or procuring from another person, any dirk, dirk knife,
  bowie knife, pistol, gun or other deadly weapon, who shall, in the presence of two
  or more persons, draw or exhibit any of said deadly weapons in a rude, angry or
  threatening manner, not in necessary self defense, or who shall, in any manner,
  unlawfully use the same in any fight or quarrel, the person or persons so offending,
  upon conviction thereof in any criminal court in any county of this Territory, shall
  be fined in any sum not less than one hundred nor more than five hundred dollars,
  or imprisonment in the county jail not less than one nor more than six months, in
  the discretion of the court, or both such fine and imprisonment, together with the
  cost of prosecution.

  1889 Ariz. Sess. Laws 16, An Act Defining And Punishing Certain Offenses
  Against The Public Peace, § 1.
  If any person within any settlement, town, village or city within this territory shall
  carry on or about his person, saddle, or in his saddlebags, any pistol, dirk, dagger,
  slung shot, sword cane, spear, brass knuckles, bowie knife, or any other kind of
  knife manufactured or sold for purposes of offense or defense, he shall be punished
  by a fine of not less than twenty-five nor more than one hundred dollars; and in
  addition thereto, shall forfeit to the County in which his is convicted, the weapon
  or weapons so carried.

  1893 Ariz. Sess. Laws 3, An Act To Regulate And Prohibit The Carrying Of
  Deadly Weapons Concealed, § 1.
  It shall be unlawful for any person to have or carry concealed on or about his
  person any pistol or other firearm, dirk, dagger, slung-shot, sword cane, spear,
  brass knuckles, or other knuckles of metal, bowie knife or any kind of knife of
  weapon except a pocket-knife not manufactured and used for the purpose of
  offense and defense.

  1901 Arizona 1251-53, Crimes Against the Public Peace, §§ 381, 385, 390.
  § 381. It shall be unlawful for any person (except a peace officer in actual service
  and discharge of his duty) , to have or carry concealed on or about his person, any
  pistol or other firearm, dirk, dagger, slung shot, sword cane, spear, brass knuckles
  or other knuckles of metal, bowie-knife or any kind of knife or weapon, except a
  pocket knife, not manufactured and used for the purpose of offense and defense.
  § 385. If any person within any settlement, town, village or city within this
  territory shall carry on or about his person, saddle, or in saddlebags, any pistol,
  dagger, slung-shot, sword-cane, spear, brass knuckles, bowie- knife or any other
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  kind of knife manufactured or sold for purposes of offense or defense, he shall be
  punished by a fine of not less than twenty-five nor more than one hundred dollars;
  and in addition shall forfeit to the county in which he is convicted the weapon or
  weapons so carried.
  § 390. Persons travelling may be permitted to carry arms within settlements or
  towns of the territory, for one half hour after arriving in such settlements or towns,
  and while going out of such towns or settlements; and sheriffs and constables of
  the various counties of this territory and their lawfully appointed deputies may
  carry weapons in the legal discharge of the duties . . .

  1901 Ariz. Acts 1252, Crimes and Punishments, §§ 387, 391.
  § 387. If any person shall go into church or religious assembly, any school room,
  or other place where persons are assembled for amusement or for educational or
  scientific purposes, or into any circus, show or public exhibition of any kind or into
  a ball room, social party or social gathering, to any election precinct, on the day or
  days of any election, where any portion of the people of this territory are collected
  to vote at any election, or to any other place where people may be assembled to
  minister, or to perform any other public duty, or to any other public assembly, and
  shall have or carry about his person a pistol or other firearm, dirk, dagger, slung-
  shot, sword-cane, spear, brass knuckles, bowie knife or any other kind of knife
  manufactured and sold for the purposes of offense or defense, he shall be punished
  by a fine not less than fifty or more than five hundred dollars, and shall forfeit to
  the county the weapon or weapons so found on his person.
  § 391. It shall be the duty of the keeper of each and every hotel, boarding house
  and drinking saloon, to keep posted in a conspicuous place in his bar room, or
  reception room . . . a plain notice to travelers to divest themselves of their weapons
  in accordance with section 382 . . .

  ARKANSAS

  Slaves, in Laws of the Arkansas Territory 521 (J. Steele & J. M’Campbell, Eds.,
  1835).
  Race and Slavery Based | Arkansas | 1835
  § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder, shot, club
  or other weapon whatsoever, offensive or defensive; but all and every gun weapon
  and ammunition found in the possession or custody of any negro or mulatto, may
  be seized by any person and upon due proof made before any justice of the peace
  of the district [county] where such seizure shall be, shall by his order be forfeited
  to the seizor, for his own use, and moreover, every such offender shall have and


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  receive by order of such justice any number of lashes not exceeding thirty nine on
  his or her bare back well laid on for every such offense.

  Josiah Gould A Digest of the Statutes of Arkansas All Laws of a General and
  Permanent Character in Force the Close of the Session of the General Assembly of
  380 381–82. 1837.
  Every person who shall wear any pistol, dirk, butcher or large knife, or a sword in
  a cane, concealed as a weapon, unless upon a journey, shall be adjudged guilty of a
  misdemeanor.

  George Eugene Dodge, A Digest of the Laws and Ordinances of the City of Little
  Rock, with the Constitution of State of Arkansas, General Incorporation Laws, and
  All Acts of the General Assembly Relating to the City Page 230-231, Image 230-
  231 (1871) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | Arkansas | 1871
  City Ordinances, § 287. Whenever there shall be found upon the person of any one,
  who has been found guilty of a breach of the peace, or for conduct calculated to
  provoke a breach of the peace, any pistol, revolver, bowie-knife, dirk, rifle, shot
  gun, slung-shot, colt, or knuckles of lead, brass or other metal; or when, upon trial,
  evidence shall be adduced proving that such weapons were in the possession or on
  the person of any one while in the act or commission of the act aforesaid, such
  person shall be fined not less than twenty-five nor more than five hundred dollars,
  in addition to the penalty for the breach of the peace aforesaid.

  Act of Feb. 16, 1875,1874-75 Ark. Acts 156.
  § 1. That any person who shall wear or carry any pistol of any kind whatever, or
  any dirk, butcher or bowie knife, or a sword or a spear in a cane, brass or metal
  knucks, or razor, as a weapon, shall be adjudged guilty of a misdemeanor, and
  upon conviction thereof, in the county in which said offense shall have been
  committed, shall be fined in any sum not less than twenty-give nor more than one
  hundred dollars, to be recovered by presentment or indictment in the Circuit Court,
  or before any Justice of the Peace of the county wherein such offense shall have
  been committed; Provided, That nothing herein contained shall be so construed as
  to prohibit any person wearing or carrying any weapon aforesaid on his own
  premises, or to prohibit persons traveling through the country, carrying such
  weapons while on a journey with their baggage, or to prohibit any officer of the
  law wearing or carrying such weapons when engaged in the discharge of his
  official duties, or any person summoned by any such officer to assist in the
  execution of any legal process, or any private person legally authorized to execute
  any legal process to him directed.
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  1881 Ark. Acts 191, An Act to Preserve the Public Peace and Prevent Crime, chap.
  XCVI (96), § 1-2.
  That any person who shall wear or carry, in any manner whatever, as a weapon,
  any dirk or bowie knife, or a sword, or a spear in a cane, brass or metal knucks,
  razor, or any pistol of any kind whatever, except such pistols as are used in the
  army or navy of the United States, shall be guilty of a misdemeanor. . . . Any
  person, excepting such officers or persons on a journey, and on his premises, as are
  mentioned in section one of this act, who shall wear or carry any such pistol as i[s]
  used in the army or navy of the United States, in any manner except uncovered,
  and in his hand, shall be guilty of a misdemeanor.

  1881 Ark. Acts 191-192, An Act to Preserve the Public Peace and Prevent Crime,
  chap. XCVI (96), § 1-2.
  That any person who shall wear or carry, in any manner whatever, as a weapon,
  any dirk or bowie knife, or a sword, or a spear in a cane, brass or metal knucks,
  razor, or any pistol of any kind whatever, except such pistols as are used in the
  army or navy of the United States, shall be guilty of a misdemeanor. . . . Any
  person, excepting such officers or persons on a journey, and on his premises, as are
  mentioned in section one of this act, who shall wear or carry any such pistol as i[s]
  used in the army or navy of the United States, in any manner except uncovered,
  and in his hand, shall be guilty of a misdemeanor.
  § 3. Any person who shall sell, barter or exchange, or otherwise dispose of, or in
  any manner furnish to any person any person [sic] any dirk or bowie knife, or a
  sword or a spear in a cane, brass or metal knucks, or any pistol, of any kind
  whatever, except such as are used in the army or navy of the United States, and
  known as the navy pistol, or any kind of cartridge, for any pistol, or any person
  who shall keep any such arms or cartridges for sale, shall be guilty of a
  misdemeanor.

  CALIFORNIA

  1849 Cal. Stat. 245, An Act to Incorporate the City of San Francisco, § 127.
  [I]f any person shall have upon him any pistol, gun, knife, dirk, bludgeon, or other
  offensive weapon, with intent to assault any person, every such person, on
  conviction, shall be fined not more than one hundred dollars or imprisoned in the
  county jail not more than three months.

  S. Garfielde, Compiled Laws of the State of California: Containing All the Acts of
  the Legislature of a Public and General Nature, Now in Force, Passed at the
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  Sessions of 1850-51-52-53. To Which are Prefixed the Declaration of
  Independence, the Constitutions of the United States and of California, the Treaty
  of Queretaro, and the Naturalization Laws of the United States Page 663-664,
  Image 682-683 (1853) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | California | 1853
  Compiled Laws of California, § 127.
  If any person shall be found having upon him or her any picklock, crow, key, bitt,
  or other instrument or tool, with intent feloniously to break and enter into any
  dwelling house, store, shop, warehouse, or other building containing valuable
  property, or shall be found in any of the aforesaid buildings with intent to steal any
  money, goods, and chattels, every person so offending shall, on conviction thereof,
  be imprisoned in the county jail not more than two years; and if any person shall
  have upon him any pistol, gun, knife, dirk, bludgeon, or other offensive weapon,
  with intent to assault any person, every such person, on conviction, shall be fined
  not more than one hundred dollars or imprisoned in the county jail not more than
  three months.




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  William H. R. Wood, Digest of the Laws of California: Containing All Laws of a
  General Character Which were in Force on the First Day of January, 1858; Also,
  the Declaration of Independence, Constitution of the United States, Articles of
  Confederation, Kentucky and Virginia Resolutions of 1798-99, Acts of Congress
  Relative to Public Lands and Pre-Emptions. Together with Judicial Decisions,
  Both of the Supreme Court of the United States and of California, to Which are
  Also Appended Numerous Forms for Obtaining Pre-Emption and Bounty Lands,
  Etc., Etc. Page 334, Image 340 (1861) available at The Making of Modern Law:
  Primary Sources.
  Crimes and Punishments, Art. 1904. That any person in this state having, carrying
  or procuring from another person any dirk, dirk-knife, bowie-knife, sword, sword-
  cane, pistol, gun or other deadly weapon, who shall, in the presence of two or more
  persons, draw or exhibit any of said deadly weapons in a rude, angry and
  threatening manner, not in necessary self-defense, or who shall, in any manner,
  unlawfully use the same, in any fight or quarrel, the person or persons so
  offending, upon conviction thereof in any criminal court in any county of this state,
  shall be fined in any sum not less than one hundred, nor more than five hundred
  dollars, or imprisonment in the county jail not less than one nor more than six
  months, at the discretion of the court, or both such fine and imprisonment, together
  with the costs of prosecution; which said costs shall, in all cases be computed and
  collected in the same manner as costs in civil cases. . . provided, nevertheless, that
  no sheriff, deputy sheriff, marshal, constable or other peace officer, shall be held to
  answer under the provisions of this act, for drawing or exhibiting any of the
  weapons herein-before mentioned, while in the lawful discharge of his or their
  duties. . .

  Theodore Henry Hittell, The General Laws of the State of California, from 1850 to
  1864, Inclusive: Being a Compilation of All Acts of a General Nature Now in
  Force, with Full References to Repealed Acts, Special and Local Legislation, and
  Statutory Constructions of the Supreme Court. To Which are Prefixed the
  Declaration of Independence, Constitution of the United States, Treaty of
  Guadalupe Hidalgo, Proclamations to the People of California, Constitution of the
  State of California, Act of Admission, and United States Naturalization Laws, with
  Notes of California Decisions Thereon Page 261, Image 272 (1868) available at
  The Making of Modern Law: Primary Sources.
  Carrying Weapons | California | 1864
  An Act to Prohibit the Carrying of Concealed Weapons, § 1.
  Every person not being peace-officer, provost-marshal, enrolling-officer, or officer
  acting under the laws of the United States in the department of the provost-marshal
  of this State, State and Federal assessors, collectors of taxes and licenses while in
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  the performance of official duties, or traveler, who shall carry or wear any dirk,
  pistol, sword in cane, slungshot, or other dangerous or deadly weapon concealed,
  shall, upon conviction thereof before any court of competent jurisdiction, be
  deemed guilty of a misdemeanor, and shall be imprisoned in the county jail for not
  less than thirty nor more than ninety days, or fined in any sum not less than twenty
  nor more than two hundred dollars. § 2. Such persons, and no others, shall be
  deemed travelers within the meaning of this act, as may be actually engaged in
  making a journey at the time.

  William. M. Caswell, Revised Charter and Compiled Ordinances and Resolutions
  of the City of Los Angeles Page 85, Image 83 (1878) available at The Making of
  Modern Law: Primary Sources. 1878
  Ordinances of the City of Los Angeles, § 36. In future, no persons, except peace
  officers, and persons actually traveling, and immediately passing through Los
  Angeles city, shall wear or carry any dirk, pistol, sword in a cane, slung-shot, or
  other dangerous or deadly weapon, concealed or otherwise, within the corporate
  limits of said city, under a penalty of not more than one hundred dollars fine, and
  imprisonment at the discretion of the Mayor, not to exceed ten days. It is hereby
  made the duty of each police officer of this city, when any stranger shall come
  within said corporate limits wearing or carrying weapons, to, as soon as possible,
  give them information and warning of this ordinance; and in case they refuse or
  decline to obey such warning by depositing their weapons in a place of safety, to
  complain of them immediately.

  L. W. Moultrie, City Attorney, Charter and Ordinances of the City of Fresno, 1896
  Page 37, Image 35 (1896) available at The Making of Modern Law: Primary
  Sources. Misdemeanors. § 53.
  No junk-shop keeper or pawnbroker shall hire, loan or deliver to any minor under
  the age of 18 years any gun, pistol or other firearm, dirk, bowie-knife, powder,
  shot, bullets or any weapon, or any combustible or dangerous material, without the
  written consent of the parent or guardian of such minor.

  L. W. Moultrie, Charter and Ordinances of the City of Fresno Page 30, Image 28
  (1896) available at The Making of Modern Law: Primary Sources.
  Ordinances of the City of Fresno, § 8.
  Any person excepting peace officers and travelers, who shall carry concealed upon
  his person any pistol or firearm, slungshot, dirk or bowie-knife, or other deadly
  weapon, without a written permission (revocable at any time) from the president of
  the board of trustees, is guilty of a misdemeanor.


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  1917 Cal. Sess. Laws 221-225, An act relating to and regulating the carrying,
  possession, sale or other disposition of firearms capable of being concealed upon
  the person; prohibiting the possession, carrying, manufacturing and sale of certain
  other dangerous weapons and the giving, transferring and disposition thereof to
  other persons within this state; providing for the registering of the sales of
  firearms; prohibiting the carrying or possession of concealed weapons in municipal
  corporations; providing for the destruction of certain dangerous weapons as
  nuisances and making it a felony to use or attempt to use certain dangerous
  weapons against another, § 5.
  Carrying Weapons | California | 1917
  § 5. Any person who attempts to use, or who with intent to use the same
  unlawfully against another, carries or possesses a dagger, dirk, dangerous knife,
  razor, stiletto, or any loaded pistol, revolver, or other firearm, or any instrument or
  weapon commonly known as a blackjack, slungshot, billy, sandclub, sandbag,
  metal knuckles, bomb, or bombshell or any other dangerous or deadly instrument
  or weapon, is guilty of a felony. The carrying or possession of any of the weapons
  specified in this section by any person while committing, or attempting or
  threatening to commit a felony, or breach of the peace, or any act of violence
  against the person or property of another, shall be presumptive evidence of
  carrying or possessing such weapon with intent to use the same in violation of this
  section.

  1923 Cal. Stat. 695 An Act to Control and Regulate the Possession, Sale and Use
  of Pistols, Revolvers, and Other Firearms Capable of Being Concealed Upon the
  Person
  Dangerous or Unusual Weapons, Felons, Foreigners and Others Deemed
  Dangerous By the State | California | 1923
  § 1. On and after the date upon which this act takes effect, every person who
  within the State of California manufactures or causes to be manufactured, or who
  imports into the state, or who keeps for sale, or offers or exposes for sale, or who
  gives, lends, or possesses any instrument or weapon of the kind commonly known
  as a blackjack, slungshot, billy, sandclub, sandbag, or metal knuckles, or who
  carries concealed upon his person any explosive substance, other than fixed
  ammunition, or who carries concealed upon his person any dirk or dagger, shall be
  guilty of a felony and upon a conviction thereof shall be punishable by
  imprisonment in a state prison for not less than one year nor for more than five
  years.
  § 2. On and after the date upon which this act takes effect, no unnaturalized foreign
  born person and no person who has been convicted of a felony against the person
  or property of another or against the government of the United States or of the
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  State of California or of any political subdivision thereof shall own or have in his
  possession or under his custody or control any pistol, revolver or other firearm
  capable of being concealed upon the person.

  COLORADO

  1862 Colo. Sess. Laws 56, An Act To Prevent The Carrying Of Concealed Deadly
  Weapons In The Cities And Towns Of This Territory, § 1.
  If any person or persons shall, within any city, town, or village in this Territory,
  whether the same is incorporated or not, carry concealed upon his or her person
  any pistol, bowie knife, dagger, or other deadly weapon, shall, on conviction
  thereof before any justice of the peace of the proper county, be fined in a sum not
  less than five, nor more than thirty-five dollars.

  1867 Colo. Sess. Laws 229, Criminal Code, § 149.
  Carrying Weapons | Colorado | 1867
  If any person or persons shall, within any city, town or village in this territory,
  whether the same is incorporated or not, carry concealed upon his or her person,
  any pistol, bowie-knife, dagger or other deadly weapon, such person shall, on
  conviction thereof before any justice of the peace of the proper county, be fined in
  any sum not less than five nor more than thirty-five dollars. The provision of this
  section shall not be construed to apply to sheriffs, constables and police officers,
  when in the execution of their official duties.

  1876 Colo. Const. 30, art. II, § 13.
  Post-Civil War State Constitutions | Colorado | 1876
  That the right of no person to keep and bear arms in defense of his home, person
  and property, or in aid of the civil power when hereto legally summoned, shall be
  called in question; but nothing herein contained shall be construed to justify the
  practice of carrying concealed weapons.

  1876 Colo. Sess. Laws 304, General Laws, § 154:
  [I]f any person shall have upon him any pistol, gun, knife, dirk, bludgeon, or other
  offensive weapon, with intent to assault any person, such person, on conviction
  shall be fined in any sum not exceeding five hundred dollars, or imprisoned in the
  county jail no exceeding six months.

  Edward O. Wolcott, The Ordinances of Georgetown [Colorado] Passed June 7th,
  A.D. 1877, Together with the Charter of Georgetown, and the Amendments
  Thereto: A Copy of the Patent Heretofore Issued to Georgetown by the
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  Government of the United States, and the Rules and Order of Business Page 100,
  Image 101 (1877) available at The Making of Modern Law: Primary Sources.
  Offenses Affecting Streets and Public Property, § 9.
  If any person or persons, within the corporate limits of Georgetown, shall be found
  carrying concealed, upon his or her person, any pistol, bowie knife, dagger, or
  other deadly weapon, such person shall, on conviction thereof, be fined in a sum
  not less than five dollars, nor more than fifty dollars.

  Colo. Rev. Stat 1774, Carrying Concealed Weapons—Penalty—Search Without
  Warrant—Jurisdiction of Justice, § 248. (1881)
  No person, unless authorized so to do by the chief of police of a city, mayor of a
  town or the sheriff of a county, shall use or carry concealed upon his person any
  firearms, as defined by law, nor any pistol, revolver, bowie knife, dagger, sling
  shot, brass knuckles or other deadly weapon . . . .

  Isham White, The Laws and Ordinances of the City of Denver, Colorado Page 369,
  Image 370 (1886) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | Colorado | 1886
  City of Denver, Slung Shot – Brass Knuckles, § 10.
  Whenever there shall be found upon the person of anyone who is guilty of a breach
  of the peace, or of conduct calculated to provoke a breach of the peace, any slung
  shot, colt, or knuckles of lead, brass or other metal, or, when upon trial, evidence
  shall be adduced proving that such weapons were in the possession or on the
  person of anyone while in the act of commission of the acts aforesaid, such person
  shall upon conviction be fined not less than twenty-five dollars nor more than three
  hundred dollars.

  CONNECTICUT

  Charles Stoers Hamilton, Charter and Ordinances of the City of New Haven,
  Together with Legislative Acts Affecting Said City Page 164, Image 167 (1890)
  available at The Making of Modern Law: Primary Sources.
  Good Order and Decency § 192.
  Every person who shall carry in said City, any steel or brass knuckles, pistol, or
  any slung shot, stiletto or weapon of similar character, or shall carry any weapon
  concealed on his person without permission of the Mayor or Superintendent of
  Police in writing, shall, on conviction, pay a penalty of not less than five, nor more
  than fifty dollars for every such offense.



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  DELAWARE

  1797 Del. Laws 104, An Act For the Trial Of Negroes, ch. 43, § 6.
  Race and Slavery Based | Delaware | 1797
  And be it further enacted by the authority aforesaid, That if any Negro or Mulatto
  slave shall presume to carry any guns, swords, pistols, fowling pieces, clubs, or
  other arms and weapons whatsoever, without his master’s special license for the
  same, and be convicted thereof before a magistrate, he shall be whipped with
  twenty-one lashes, upon his bare back.

  1881 Del. Laws 987, An Act Providing for the Punishment of Persons Carrying
  Concealed Deadly Weapons, ch. 548, § 1.
  That if any person shall carry concealed a deadly weapon upon or about his person
  other than an ordinary pocket knife, or shall knowingly sell a deadly weapon to a
  minor other than an ordinary pocket knife, such person shall, upon conviction
  thereof, be fined not less than twenty-five nor more than two hundred dollars or
  imprisoned in the county jail for not less than ten nor more than thirty days, or both
  at the discretion of the court: Provided, that the provisions of this section shall not
  apply to the carrying of the usual weapons by policemen and peace officers.

  Revised Statutes of the State of Delaware, of Eight Hundred and Fifty-Two. As
  They Have Since Been Amended, Together with the Additional Laws of a Public
  and General Nature, Which Have Been Enacted Since the Publication of the
  Revised Code of Eighteen Fifty-Two. To the Year of Our Lord One Thousand
  Eight Hundred and Ninety-Three; to Which are Added the Constitutions of the
  United States and of this State, the Declaration of Independence, and Appendix
  Page 987, Image 1048 (1893) available at The Making of Modern Law: Primary
  Sources.
  An Act Providing for the Punishment of Persons Carrying Concealed Deadly
  Weapons, § 1.
  § 1. That if any person shall carry concealed a deadly weapon upon or about his
  person other than an ordinary pocket knife, or shall knowingly sell a deadly
  weapon to a minor other than an ordinary pocket knife, such person shall, upon
  conviction thereof, be fined not less than twenty-five nor more than one hundred
  dollars or imprisoned in the county jail for not less than ten nor more than thirty
  days, or both at the discretion of the court: Provided, that the provisions of this
  section shall not apply to the carrying of the usual weapons by policemen and other
  peace officers.
  § 2. That if any person shall, except in lawful self-defense discharge any firearm in
  any public road in this State, shall be deemed guilty of a misdemeanor and upon
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  conviction thereof shall be punished by fine not exceeding fifty dollars or by
  imprisonment not exceeding one month, or both at the discretion of the court.

  DISTRICT OF COLUMBIA

  1 William B. Webb The Laws of the Corporation of the of Washington Digested
  and Arranged under Appropriate in Accordance with a Joint Resolution of the City
  418 (1868), Act of Nov. 18, 1858.
  It shall not be lawful for any person or persons to carry or have concealed about
  their persons any deadly or dangerous weapons, such as dagger, pistol, bowie
  knife, dirk knife, or dirk, colt, slungshot, or brass or other metal knuckles within
  the City of Washington; and any person or persons who shall be duly convicted of
  so carrying or having concealed about their persons any such weapon shall forfeit
  and pay upon such conviction not less than twenty dollars nor more than fifty
  dollars; which fines shall be prosecuted and recovered in the same manner as other
  penalties and forfeitures accruing to the city are sued for and recovered: Provided,
  That the Police officers when on duty shall be exempt from such penalties and
  forfeitures.

  An Act to Prevent the Carrying of Concealed Weapons, Aug. 10, 1871, reprinted in
  Laws of the District of Columbia: 1871-1872, Part II, 33 (1872).
  Carrying Weapons | | 1871
  Ch. XXV. Be in enacted by the Legislative Assembly of the District of Columbia,
  That it shall not be lawful for any person or persons to carry or have concealed
  about their persons any deadly or dangerous weapons, such as daggers, air-guns,
  pistols, bowie-knives, dirk-knives, or dirks, razors, razor-blades, sword-canes,
  slung-shots, or brass or other metal knuckles, within the District of Columbia; and
  any person or persons who shall be duly convicted of so carrying or having
  concealed about their persons any such weapons shall forfeit and pay, upon such a
  conviction, not less than twenty dollars nor more than fifty dollars, which fine shall
  be prosecuted and recovered in the same manner as other penalties and forfeitures
  are sued for and recovered: Provided, That the officers, non-commissioned
  officers, and privates of the United States army, navy, and marine corps, police
  officers, and members of any regularly organized militia company or regiment,
  when on duty, shall be exempt from such penalties and forfeitures.

  Washington D.C. 27 Stat. 116 (1892)
  CHAP. 159.–An Act to punish the carrying or selling of deadly or dangerous
  weapons within the District of Columbia, and for other purposes.


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  Be it enacted by the Senate and House of Representatives of the United States of
  America in Congress assembled, That it shall not be lawful for any person or
  persons within the District of Columbia, to have concealed about their person any
  deadly or dangerous weapons, such as daggers, air-guns, pistols, bowie-knives,
  dirk knives or dirks, blackjacks, razors, razor blades, sword canes, slung shot, brass
  or other metal knuckles.
  SEC. 2. That it shall not be lawful for any person or persons within the District of
  Columbia to carry openly any such weapons as hereinbefore described with intent
  to unlawfully use the same, and any person or persons violating either of these
  sections shall be deemed guilty of a misdemeanor, and upon conviction thereof
  shall, for the first offense, forfeit and pay a fine or penalty of not less than fifty
  dollars nor more than five hundred dollars, of which one half shall be paid to any
  one giving information leading to such conviction, or be imprisoned in the jail of
  the District of Columbia not exceeding six months, or both such fine and
  imprisonment, in the discretion of the court: Provided, That the officers, non-
  commissioned officers, and privates of the United States Army, Navy, or Marine
  Corps, or of any regularly organized Militia Company, police officers, officers
  guarding prisoners, officials of the United States or the District of Columbia
  engaged in the execution of the laws for the protection of persons or property,
  when any of such persons are on duty, shall not be liable for carrying necessary
  arms for use in performance of their duty: Provided, further, that nothing contained
  in the first or second sections of this act shall be so construed as to prevent any
  person from keeping or carrying about his place of business, dwelling house, or
  premises any such dangerous or deadly weapons, or from carrying the same from
  place of purchase to his dwelling house or place of business or from his dwelling
  house or place of business to any place where repairing is done, to have the same
  repaired, and back again: Provided further, That nothing contained in the first or-
  second sections of this act shall be so construed as to apply. to any person who
  shall have been granted a written permit to carry such weapon or weapons by any
  judge of the police court of the District of Columbia, and authority is hereby given
  to any such judge to grant such permit for a period of not more than one month at
  any one time, upon satisfactory proof to him of the necessity for the granting
  thereof; and further, upon the filing with such judge of a bond, with sureties to be
  approved by said judge, by the applicant for such permit, conditioned to the United
  States in such penal sum as said judge shall require for the keeping of the peace,
  save in the case of necessary self defense by such applicant during the continuance
  of said permit, which bond shall be put in suit by the United States for its benefit
  upon any breach of such condition.
  SEC. 3. That for the second violation of the provisions of either of the preceding
  sections the person or persons offending shall be proceeded against by indictment
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  in the supreme court of the District of Columbia, and upon conviction thereof shall
  be imprisoned in the penitentiary for not more than three years.
  SEC. 4. That all such weapons as hereinbefore described which may be taken from
  any person offending against any of the provisions shall, upon conviction of such
  person, be disposed of as may be ordered by the judge trying the case, and the
  record shall show any and all such orders relating thereto as a part of the judgment
  in the case.
  SEC. 5. That any person or persons who shall, within the District of Columbia,
  sell, barter, hire, lend or give to any minor under the age of twenty-one years any
  such weapon as hereinbefore described shall be deemed guilty of a misdemeanor,
  and shall, upon conviction thereof, pay a fine or penalty of not less than twenty
  dollars nor more than one hundred dollars, or be imprisoned in the jail of the
  District of Columbia not more than three months. No person shall engage in or
  conduct the business of selling, bartering, hiring, lending, or giving any weapon or
  weapons of the kind hereinbefore named without having previously obtained from
  the Commissioners of the District of Columbia a special license authorizing the
  conduct of such business by such person, and the said Commissioners are hereby
  authorized to grant such license, without fee therefor, upon the filing with them by
  the applicant therefor of a bond with sureties, to be by them approved, conditioned
  in such penal sum as they shall fix to the United States for the compliance by said
  applicant with all the provisions of this section; and upon any breach or breaches
  of said condition said bond shall be put in suit by said United States for its benefit,
  and said Commissioners may revoke said license. Any person engaging in said
  business without having previously obtained said special license shall be guilty of
  a misdemeanor and upon conviction thereof shall be sentenced to pay a fine of not
  less than one hundred dollars nor more than five hundred dollars, of which one half
  shall be paid to the informer, if any, whose information shall lead to the conviction
  of the person paying said fine. All persons whose business it is to sell barter, hire,
  lend or give any such weapon or weapons shall be and they hereby, are, required to
  keep a written register of the name and residence of every purchaser, barterer,
  hirer, borrower, or donee of any such weapon or weapons, which register shall be
  subject to the inspection of the major and superintendent of Metropolitan Police of
  the District of Columbia, and further to make a weekly report, under oath to said
  major and superintendent of all such sales, barterings, hirings, lendings or gifts.
  And one half of every fine imposed under this section shall be paid to the informer,
  if any, whose information shall have led to the conviction of the person paying said
  fine. Any police officer failing to arrest any person guilty in his sight or presence
  and knowledge, of any violation of any section of this act shall be fined not less
  than fifty nor more than five hundred dollars.


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  SEC 6. That all acts or parts of acts inconsistent with the provisions of this act be,
  and the same hereby are, repealed.

  FLORIDA

  John P. Duval, Compilation of the Public Acts of the Legislative Council of the
  Territory of Florida, Passed Prior to 1840 Page 423, Image 425 (1839) available at
  The Making of Modern Law: Primary Sources, 1835.
  An Act to Prevent any Person in this Territory from Carrying Arms Secretly. Be it
  Enacted by the Governor and Legislative Council of the Territory of Florida, That
  from and after the passage of this act, it shall not be lawful for any person in this
  Territory to carry arms of any kind whatsoever secretly, on or about their persons;
  and if any dirk, pistol, or other arm, or weapon, except a common pocket-knife,
  shall be seen, or known to be secreted upon the person of any one in this Territory,
  such person so offending shall, on conviction, be fined not exceeding five hundred
  dollars, and not less than fifty dollars, or imprisoned not more than six months, and
  not less than one month, at the discretion of the jury: Provided, however, that this
  law shall not be so construed as to prevent any person from carrying arms openly,
  outside of all their clothes; and it shall be the duty of judges of the superior courts
  in this Territory, to give the matter contained in this act in special charge to the
  grand juries in the several counties in this Territory, at every session of the courts.

  1838 Fla. Laws ch. 24, p. 36 (Feb. 10, 1838).
  No. 24. An Act in addition to An Act, (approved January 30 th, 1835) entitled An
  Act to prevent any person in this Territory from carrying arms secretly.
  Section 1. Be it enacted by the Governor and Legislative Council of the Territory
  of Florida, That from and after the passage of this act, it shall not be lawful for any
  person or persons in this Territory to vend dirks, pocket pistols, sword canes, or
  bowie knives, until he or they shall have first paid to the treasurer of the county in
  which he or they intend to vend weapons, a tax of two hundred dollars per annum,
  and all persons carrying said weapons openly shall pay to the officer aforesaid a
  tax of ten dollars per annum; and it shall be the duty of said officer to give the
  parties so paying a written certificate, stating that they have complied with the
  provisions of this act. Four fifths of all monies so collected to be applied by the
  county courts to county purposes, the other fifth to be paid to the prosecuting
  attorney.
  Sec. 2. Be it further enacted, That if any person shall be known to violate this act,
  he or they so offending, shall be subject to an indictment, and on conviction, to a
  fine of not less than two hundred nor exceeding five hundred dollars, at the
  discretion of the court.
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  Sec. 3. Be it further enacted, That it shall be the duty of the several Judges of the
  Superior Courts of this Territory, to give this act in charge to the grand juriors [sic]
  of their respective districts at each term of the court.
  Passed 5th February 1838.—Approved 10th Feb. 1838.
  https://www.google.com/books/edition/Acts_of_the_Legislative_Council_of_the_
  T/-
  LIwAQAAMAAJ?hl=en&gbpv=1&dq=%22vend+dirks,+pocket+pistols,+sword+
  canes,+or+bowie+knives%22&pg=PA36&printsec=frontcover

  Fla. Act of Aug. 8, 1868, as codified in Fla. Rev. Stat., tit. 2, pt. 5 (1892) 2425.
  Manufacturing or selling slung shot: Whoever manufactures, or causes to be
  manufactured, or sells or exposes for sale any instrument or weapon of the kind
  usually known as slung-shot, or metallic knuckles, shall be punished by
  imprisonment not exceeding six months, or by fine not exceeding one hundred
  dollars.

  1868 Fla. Laws 2538, Persons Engaged in Criminal Offence, Having Weapons,
  chap. 7, § 10.
  Sentence Enhancement for Use of Weapon | Florida | 1868
  Whoever, when lawfully arrested while committing a criminal offense or a breach
  or disturbance of the public peace, is armed with or has on his person slung shot,
  metallic knuckles, billies, firearms or other dangerous weapon, shall be punished
  by imprisonment not exceeding three months, or by fine not exceeding one
  hundred dollars.

  James F McClellan, A Digest of the Laws of the State of Florida: From the Year
  One Thousand Eight Hundred and Twenty-Two, to the Eleventh Day of March,
  One Thousand Eight Hundred and Eighty-One, Inclusive, Page 403, Image 419
  (1881) available at The Making of Modern Law: Primary Sources. [1868]
  Offences Against Public Peace, § 13.
  Whoever shall carry arms of any kind whatever, secretly, on or about their person,
  or whoever shall have about or on their person any dirk, pistol or other arm or
  weapon, except a common pocket knife, upon conviction thereof shall be fined in a
  sum not exceeding one hundred dollars, or imprisoned in the county jail not
  exceeding six months.

  Florida Act of Aug. 6, 1888, chap. 1637, subchap. 7, § 10, as codified in Fla. Rev.
  State., tit. 2, pt. 5 (1892) 2423.
  Persons Engaged in criminal offense having weapons. – Whoever, when lawfully
  arrested while committing a criminal offense or a breach or disturbance of the
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  public peace is armed or has on his person slung-shot, metallic knuckles, billies,
  firearms or other dangerous weapon, shall be punished by imprisonment not
  exceeding one year and by fine not exceeding fifty dollars.

  GEORGIA

  Lucius Q.C. Lamar, A Compilation of the Laws of the State of Georgia, Passed by
  the Legislature since the Year 1810 to the Year 1819, Inclusive. Comprising all the
  Laws Passed within those Periods, Arranged under Appropriate Heads, with Notes
  of Reference to those Laws, or Parts of Laws, which are Amended or Repealed to
  which are Added such Concurred and Approved Resolutions, as are Either of
  General, Local, or Private Moment. Concluding with a Copious Index to the Laws,
  a Separate one to the Resolutions Page 599, Image 605 (1821) available at The
  Making of Modern Law: Primary Sources.
  Carrying Weapons | Georgia | 1816
  Offences Against the Public Peace, (1816) § 19.
  If any person shall be apprehended, having upon him or her any picklock, key,
  crow, jack, bit or other implement, with intent feloniously to break and enter into
  any dwelling-house, ware-house, store, shop, coach-house, stable, or out-house, or
  shall have upon him any pistol, hanger, cutlass, bludgeon, or other offensive
  weapon, with intent feloniously to assault any person, or shall be found in or upon
  any dwelling-house, ware-house, store, shop, coach-house, stable, or out-house,
  with intent to steal any goods or chattels; every such person shall be deemed a
  rogue and vagabond, and on conviction, shall be sentenced to undergo an
  imprisonment in the common jail of the county, or in the penitentiary, at hard
  labour, for such period of time as the jury shall recommend to the court.

  1837 Ga. Acts 90, An Act to Guard and Protect the Citizens of this State, Against
  the Unwarrantable and too Prevalent use of Deadly Weapons, §§ 1–4.
  § 1 . . . it shall not be lawful for any merchant, or vender of wares or merchandize
  in this State, or any other person or persons whatsoever, to sell, or offer to sell, or
  to keep, or to have about their person or elsewhere, any of the hereinafter described
  weapons, to wit: Bowie, or any other kinds of knives, manufactured and sold for
  the purpose of wearing, or carrying the same as arms of offence or defense, pistols,
  dirks, sword canes, spears, &c., shall also be contemplated in this act, save such
  pistols as are known and used as horseman’s pistols, &c.
  § 2. And be it further enacted by the authority aforesaid, That any person or
  persons within the limits of this State, violating the provisions of this act, except as
  hereafter excepted, shall, for each and every such offence, be deemed guilty of a
  high misdemeanor, and upon trial and conviction thereof, shall be fined, in a sum
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  not exceeding five hundred dollars for the first offence, nor less than one hundred
  dollars at the direction of the Court; and upon a second conviction, and every after
  conviction of a like offence, in a sum not to exceed one thousand dollars, nor less
  than five hundred dollars, at the discretion of the Court.
  § 3. And be it further enacted by the authority aforesaid, That it shall be the duty of
  all civil officers, to be vigilant in carrying the provisions of this act into full effect,
  as well also as Grand Jurors, to make presentments of each and every offence
  under this act, which shall come under their knowledge.
  §4. And be it further enacted by the authority aforesaid, That all fines and
  forfeitures arising under this act, shall be paid into the county Treasury, to be
  appropriated to county purposes: Provided, nevertheless, that the provisions of this
  act shall not extend to Sheriffs, Deputy Sheriffs, Marshals, Constables, Overseers
  or Patrols, in actual discharge of their respective duties, but not otherwise:
  Provided, also, that no person or persons, shall be found guilty of violating the
  before recited act, who shall openly wear, externally, Bowie Knives, Dirks, Tooth
  Picks, Spears, and which shall be exposed plainly to view: And provided,
  nevertheless, that the provisions of this act shall not extend to prevent venders, or
  any other persons who now own and have for sale, any of the aforesaid weapons,
  before the first day of March next.

  1860 Ga. Laws 56, An Act to add an additional Section to the 13th Division of the
  Penal Code, making it penal to sell to or furnish slaves or free persons of color,
  with weapons of offence and defence; and for other purposes therein mentioned,
  § 1.
  [A]ny person other than the owner, who shall sell or furnish to any slave or free
  person of color, any gun, pistol, bowie knife, slung shot, sword cane, or other
  weapon used for the purpose of offence or defense, shall, on indictment and
  conviction, be fined by the Court in a sum not exceeding five hundred dollars, and
  imprisoned in the common Jail of the county not exceeding six months . . .

  R. H. Clark, The Code of the State of Georgia (1873) § 4528 – Deadly weapons
  not to be carried in public places
  No person in this State is permitted or allowed to carry about his or her person, any
  dirk, bowie knife, pistol or revolver, or any kind of deadly weapon, to any Court of
  justice, or any election ground, or precinct, or any place of public worship, or any
  other public gathering in this State, except militia muster grounds; and if any
  person or persons shall violate any portion of this section, he, she or they shall be
  guilty of a misdemeanor, and upon conviction, shall be punished by a fine of not
  less than twenty nor more than fifty dollars for each and every such offense, or


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  imprisonment in the common jail of the county not less than ten nor more than
  twenty days, or both, at the discretion of the Court.

  HAWAII

  1852 Haw. Sess. Laws 19, Act to Prevent the Carrying of Deadly Weapons
  Dangerous or Unusual Weapons | Hawaii | 1852
  § 1. Any person not authorized by law, who shall carry, or be found armed with,
  any bowie-knife, sword-cane, pistol, air-gun, slung-shot or other deadly weapon,
  shall be liable to a fine of no more than Thirty, and no less than Ten Dollars, or in
  default of payment of such fine, to imprisonment at hard labor, for a term not
  exceeding two months and no less than fifteen days, upon conviction of such
  offense before any District Magistrate, unless good cause be shown for having
  such dangerous weapons: and any such person may be immediately arrested
  without warrant by the Marshal or any Sheriff, Constable or other officer or person
  and be lodged in prison until he can be taken before such Magistrate.

  1913 Haw. Rev. Laws ch. 209, § 3089, Carrying Deadly Weapons
  Dangerous or Unusual Weapons | Hawaii | 1913
  § 3089. Persons not authorized; punishment. Any person not authorized by law,
  who shall carry, or be found armed with any bowie-knife, sword-cane, pistol, air-
  gun, slung-shot, or other deadly weapon, shall be liable to a fine of not more than
  Two Hundred and Fifty Dollars and not less than Ten Dollars, or in default of
  payment of such fine, to imprisonment of a term not exceeding one year, nor less
  than three months, upon conviction for such offense, unless good cause be shown
  for having such dangerous weapon; and any such person may be immediately
  arrested without warrant by the high sheriff, or any sheriff, policeman, or other
  officer or person.

  IDAHO

  Crimes and Punishments, in Compiled and Revised Laws of the Territory of Idaho
  354 (M. Kelly, Territorial Printer 1875).
  Carrying Weapons | Idaho | 1875
  § 133. If any person shall have found upon him or her any pick-lock, crow-key, bit
  or other instrument or tool, with intent feloniously to crack and enter into any
  dwelling-house, store, shop, warehouse, or other building containing valuable
  property, or shall be found in the aforesaid buildings with intent to steal any
  money, goods and chattels, every person so offending shall, on conviction thereof,
  be imprisoned in the Territorial prison for a term not less than one year nor more
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  than five years; and if any person shall have upon him or her any pistol, gun, knife,
  dirk, bludgeon, or other offensive weapon, with intent to assault any person, every
  such person, on conviction, shall be fined not more than one hundred dollars, or
  imprisoned in the county jail not more than three months.

  Charter and Revised Ordinances of Boise City, Idaho. In Effect April 12, 1894
  Page 118-119, Image 119-120 (1894) available at The Making of Modern Law:
  Primary Sources.
  Carrying Weapons | Idaho | 1879
  Carrying Concealed Weapons, § 36.
  Every person not being a sheriff, deputy sheriff, constable or other police officer,
  who shall carry or wear within the incorporated limits of Boise City, Idaho, any
  bowie knife, dirk knife, pistol or sword in cane, slung-shot, metallic knuckles, or
  other dangerous or deadly weapons, concealed, unless such persons be traveling or
  setting out on a journey, shall, upon conviction thereof before the city magistrate of
  said Boise City, be fined in any sum not exceeding twenty-five dollars for each
  offense, or imprisoned in the city jail for not more than twenty days, or by both
  such fine and imprisonment.

  1909 Id. Sess. Laws 6, An Act To Regulate the Use and Carrying of Concealed
  Deadly Weapons and to Regulate the Sale or Delivery of Deadly Weapons to
  Minors Under the Age of Sixteen Years to Provide a Penalty for the Violation of
  the Provisions of this Act, and to Exempt Certain Persons, § 1.
  Carrying Weapons | Idaho | 1909
  If any person, (excepting officials of a county, officials of the State of Idaho,
  officials of the United States, peace officers, guards of any jail, any officer of any
  express company on duty), shall carry concealed upon or about his person any dirk,
  dirk knife, bowie knife, dagger, slung shot, pistol, revolver, gun or any other
  deadly or dangerous weapon within the limits or confines of any city, town or
  village, or in any public assembly, or in any mining, lumbering , logging, railroad,
  or other construction camp within the State of Idaho . . . .

  ILLINOIS

  Mason Brayman, Revised Statutes of the State of Illinois: Adopted by the General
  Assembly of Said State, at Its Regular Session, Held in the Years A. D. 1844-’5:
  Together with an Appendix Containing Acts Passed at the Same and Previous
  Sessions, Not Incorporated in the Revised Statutes, but Which Remain in Force
  Page 176, Image 188 (1845) available at The Making of Modern Law: Primary
  Sources.
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  Sentence Enhancement for Use of Weapon | Illinois | 1845
  Criminal Jurisprudence, § 139. If any person shall be found,, having upon him or
  her, any pick-lock, crow, key, bit, or other instrument or tool, with intent
  feloniously to break and enter into any dwelling house, store, warehouse, shop or
  other building containing valuable property, or shall be found in any of the
  aforesaid buildings with intent to steal any goods and chattels, every such person
  so offending, shall, on conviction, be deemed a vagrant, and punished by
  confinement in the penitentiary, for any term not exceeding two years. And if any
  person shall have upon him any pistol, gun, knife, dirk, bludgeon or other offensive
  weapon, with intent to assault any person, every such person, on conviction, shall
  be fined, in a sum not exceeding one hundred dollars, or imprisoned, not exceeding
  three months.

  Harvey Bostwick Hurd, The Revised Statutes of the State of Illinois. A. D. 1874.
  Comprising the Revised Acts of 1871-2 and 1873-4, Together with All Other
  General Statutes of the State, in Force on the First Day of July, 1874 Page 360,
  Image 368 (1874) available at The Making of Modern Law: Primary Sources.
  Disorderly Conduct: Disturbing the Peace, § 56.
  Whoever, at a late and unusual hour of the night time, willfully and maliciously
  disturbs the peace and quiet of any neighborhood or family, by loud or unusual
  noises, or by tumultuous or offensive carriage, threatening, traducing, quarreling,
  challenging to fight or fighting, or whoever shall carry concealed weapons, or in a
  threatening manner display any pistol, knife, slungshot, brass, steel or iron
  knuckles, or other deadly weapon, day or night, shall be fined not exceeding $100.

  Consider H. Willett, Laws and Ordinances Governing the Village of Hyde Park
  [Illinois] Together with Its Charter and General Laws Affecting Municipal
  Corporations; Special Ordinances and Charters under Which Corporations Have
  Vested Rights in the Village. Also, Summary of Decisions of the Supreme Court
  Relating to Municipal Corporations, Taxation and Assessments Page 64, Image 64
  (1876) available at The Making of Modern Law: Primary Sources.
  Misdemeanors, § 39.
  No person, except peace officers, shall carry or wear under their clothes, or
  concealed about their person, any pistol, revolver, slung-shot, knuckles, bowie-
  knife, dirk-knife, dirk, dagger, or any other dangerous or deadly weapon, except by
  written permission of the Captain of Police.




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  Harvey Bostwick Hurd, Late Commissioner, The Revised Statutes of the State of
  Illinois. 1882. Comprising the “Revised Statutes of 1874,” and All Amendments
  Thereto, Together with the General Acts of 1875, 1877, 1879, 1881 and 1882,
  Being All the General Statutes of the State, in Force on the First Day of December,
  1882 Page 375, Image 392 (1882) available at The Making of Modern Law:
  Primary Sources. [1881]
  Deadly Weapons: Selling or Giving to Minor. § 54b.
  Whoever, not being the father, guardian, or employer or the minor herein named,
  by himself or agent, shall sell, give, loan, hire or barter, or shall offer to sell, give,
  loan, hire or barter to any minor within this state, any pistol, revolver, derringer,
  bowie knife, dirk or other deadly weapon of like character, capable of being
  secreted upon the person, shall be guilty of a misdemeanor, and shall be fined in
  any sum not less than twenty-five dollars ($25), nor more than two hundred ($200).

  Revised Ordinances of the City of Danville [Illinois] Page 66, Image 133 (1883)
  available at The Making of Modern Law: Primary Sources.
  Ordinances of the City of Danville. Concealed Weapons. § 22.
  Whoever shall carry concealed upon or about his person any pistol, revolver,
  derringer, bowie-knife, dirk, slung-shot, metallic knuckles, or a razor, as a weapon,
  or any other deadly weapon of like character, capable or being concealed upon the
  person, or whoever shall in a threatening or boisterous manner, flourish or display
  the same, shall be fined not less than one dollar, nor more than one hundred
  dollars; and in addition to the said penalty shall, upon the order of the magistrate
  before whom such conviction is had, forfeits the weapon so carried to the city.

  Illinois Act of Apr. 16, 1881, as codified in Ill. Stat. Ann., Crim. Code, chap. 38
  (1885) 88. Possession or sale forbidden, § 1.
  Be it enacted by the people of the state of Illinois represented in the General
  Assembly. That whoever shall have in his possession, or sell, or give or loan, hire
  or barter, or whoever shall offer to sell, give loan, have or barter, to any person
  within this state, any slung shot or metallic knuckles, or other deadline weapon of
  like character, or any person in whose possession such weapons shall be found,
  shall be guilty of a misdemeanor . . .

  INDIANA

  1804 Ind. Acts 108, A Law Entitled a Law Respecting Slaves, § 4.
  And be it further enacted, That no slave or mulatto whatsoever shall keep or carry
  any gun, powder, shot, club or other weapon whatsoever, offensive or defensive,
  but all and every gun weapon and ammunition found in the possession or custody
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  of any negro or mulatto, may be seized by any person and upon due proof thereof
  made before any justice of the peace of the district where such seizure shall be,
  shall by his order be forfeited to the seizor, for his use and moreover every such
  offender shall have and receive by order of such justice any number of loashes not
  exceeding thirty nine on his or her bare back, well laid for every such offense.

  1855 Ind. Acts 153, An Act To Provide For The Punishment Of Persons Interfering
  With Trains or Railroads, chap. 79, § 1.
  That any person who shall shoot a gun, pistol, or other weapon, or throw a stone,
  stick, clubs, or any other substance whatever at or against any locomotive, or car,
  or train of cars containing persons on any railroad in this State, shall be deemed
  guilty of a misdemeanor . . .

  1859 Ind. Acts 129, An Act to Prevent Carrying Concealed or Dangerous
  Weapons, and to Provide Punishment Therefor.
  § 1. Be it enacted by the General Assembly of the State of Indiana, That every
  person not being a traveler, who shall wear or carry any dirk, pistol, bowie-knife,
  dagger, sword in cane, or any other dangerous or deadly weapon concealed, or who
  shall carry or wear any such weapon openly, with the intent or avowed purpose of
  injuring his fellow man, shall, upon conviction thereof, be fined in any sum not
  exceeding five hundred dollars.

  1875 Ind. Acts 62, An Act Defining Certain Misdemeanors, And Prescribing
  Penalties Therefore, § 1.
  That if any person shall draw or threaten to use any pistol, dirk, knife, slung shot,
  or any other deadly or dangerous weapon upon any other person he shall be
  deemed guilty of a misdemeanor, and upon conviction therefor, shall be fined in
  any sum not less than one nor more than five hundred dollars, to which may be
  added imprisonment in the county jail not to exceed six months; That the
  provisions of this act shall not apply to persons drawing or threatening to use such
  dangerous or deadly weapons in defense of his person or property, or in defense of
  those entitled to his protection by law.

  The Revised Statutes of Indiana: Containing, Also, the United States and Indiana
  Constitutions and an Appendix of Historical Documents. Vol. 1 Page 366, Image
  388 (1881) available at The Making of Modern Law: Primary Sources.
  Sensitive Places and Times | Indiana | 1881
  Crimes. § 1957. Attacking Public Conveyance. 56. Whoever maliciously or
  mischievously shoots a gun, rifle, pistol, or other missile or weapon, or throws a
  stone, stick, club, or other substance whatever, at or against any stage-coach,
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  locomotive, railroad-car, or train of cars, or street-car on any railroad in this State,
  or at or against any wharf-boat, steamboat, or other water-craft, shall be
  imprisoned in the county jail not more than one year nor less than thirty days, and
  fined not more than one hundred dollars nor less than ten dollars.

  1905 Ind. Acts 677, Public Conveyance—Attacking, § 410.
  Sensitive Places and Times | Indiana | 1905
  Whoever maliciously or mischievously shoots a gun, rifle, pistol or other weapon,
  or throws a stone, stick, club or any other substance whatever, at or against any
  stage coach, or any locomotive, railroad car, or train of cars, street car, or
  interurban car on any railroad in this state, or at or against any wharf-boat,
  steamboat, or other watercraft, shall be imprisoned in the county jail not less than
  thirty days nor more than one year, and fined not less than ten dollars nor more
  than one hundred dollars.

  IOWA

  S. J. Quincy, Revised Ordinances of the City of Sioux City. Sioux City, Iowa Page
  62, Image 62 (1882) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Iowa | 1882
  Ordinances of the City of Sioux City, Iowa, § 4.
  No person shall, within the limits of the city, wear under his clothes, or concealed
  about his person, any pistol, revolver, slung-shot, cross-knuckles, knuckles of lead,
  brass or other metal, or any bowie-knife, razor, billy, dirk, dirk-knife or bowie-
  knife, or other dangerous weapon. Provided, that this section shall not be so
  construed as to prevent any United States, State, county, or city officer or officers,
  or member of the city government, from carrying any such weapon as may be
  necessary in the proper discharge of his official duties.

  Geoffrey Andrew Holmes, Compiled Ordinances of the City of Council Bluffs, and
  Containing the Statutes Applicable to Cities of the First-Class, Organized under the
  Laws of Iowa Page 206-207, Image 209-210 (1887) available at The Making of
  Modern Law: Primary Sources.
  Carrying Weapons | Iowa | 1887
  Carrying Concealed Weapons Prohibited, § 105.
  It shall be unlawful for any person to carry under his clothes or concealed about his
  person, or found in his possession, any pistol or firearms, slungshot, brass
  knuckles, or knuckles of lead, brass or other metal or material , or any sand bag, air
  guns of any description, dagger, bowie knife, or instrument for cutting, stabbing or
  striking, or other dangerous or deadly weapon, instrument or device; provided that
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  this section shall not be construed to prohibit any officer of the United States, or of
  any State, or any peace officer, from wearing and carrying such weapons as may
  be convenient, necessary and proper for the discharge of his official duties.

  William H. Baily, The Revised Ordinances of Nineteen Hundred of the City of Des
  Moines, Iowa Page 89-90, Image 89-90 (1900) available at The Making of Modern
  Law: Primary Sources.
  Carrying Weapons | Iowa | 1900
  Ordinances City of Des Moines, Weapons, Concealed, § 209.
  It shall be unlawful for any person to carry under his clothes or concealed about his
  person, or found in his possession, any pistol or other firearms, slungshot, brass
  knuckles, or knuckles of lead, brass or other metal or material, or any sand bag, air
  guns of any description, dagger, bowie knife, dirk knife, or other knife or
  instrument for cutting, stabbing or striking, or other dangerous or deadly weapon,
  instrument or device. Provided, that this section shall not be construed to prohibit
  any officer of the United States or of any State, or any peace officer from wearing
  or carrying such weapons as may be convenient, necessary and proper for the
  discharge of his official duties.

  1913 Iowa Acts 307, ch. 297, § 2
  § 1. It shall be unlawful for any person, except as hereinafter provided, to go armed
  with and have concealed upon his person a dirk, dagger, sword, pistol, revolver,
  stiletto, metallic knuckles, picket billy, sand bag, skull cracker, slung-shot, or other
  offensive and dangerous weapons or instruments concealed upon his person.


  KANSAS

  C. B. Pierce, Charter and Ordinances of the City of Leavenworth, with an
  Appendix Page 45, Image 45 (1863) available at The Making of Modern Law:
  Primary Sources.
  Carrying Weapons | Kansas | 1862
  An Ordinance Relating to Misdemeanors, § 23.
  For carrying or having on his or her person in a concealed manner, any pistol, dirk,
  bowie knife, revolver, slung shot, billy, brass, lead or iron knuckles, or any other
  deadly weapon within this city, a fine not less than three nor more than one
  hundred dollars.




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  Samuel Kimball, Charter, Other Powers, and Ordinances of the City of Lawrence
  Page 149, Image 157 (1866) available at The Making of Modern Law: Primary
  Sources, 1863.
  Nuisances, § 10. Any person who shall in this city have or carry concealed or
  partially concealed, upon his person, any pistol, bowie knife or other deadly
  weapon, shall, on conviction, be fined not less than one nor more than ten dollars;
  Provided, This section shall not apply to peace officers of the city or state. The
  carrying of a weapon in a holster, exposed to full view, shall not be deemed a
  concealed or partially concealed weapon under this section.

  The General Statutes of the State of Kansas, to Which the Constitutions of the
  United State of Kansas, Together with the Organic Act of the Territory of Kansas,
  the Treaty Ceding the Territory of Louisiana to the United States, and the Act
  Admitting Kansas into the Union are Prefixed Page 378, Image 387 (1868)
  available at The Making of Modern Law: Primary Sources, 1868.
  Crimes and Punishments, § 282. Any person who is not engaged in any legitimate
  business, any person under the influence of intoxicating drink, and any person who
  has ever borne arms against the government of the United States, who shall be
  found within the limits of this state, carrying on his person a pistol, bowie-knife,
  dirk or other deadly weapon, shall be subject to arrest upon the charge of
  misdemeanor, and upon conviction shall be fined in a sum not exceeding one
  hundred dollars, or by imprisonment in the county jail not exceeding three months,
  or both, at the discretion of the court.

  Act of Mar. 13, 1872, ch. 100, § 62, 1872 Kan. Sess. Laws 210, 210 (codified at
  Kan. Gen. Stat. § 1003 (1901)); “for cities of the second class”:
  Sec. 62. The council may prohibit and punish the carrying of firearms, or other
  deadly weapons, concealed or otherwise, and may arrest and imprison, fine or set
  at work all vagrants and persons found in said city without visible means of
  support, or some legitimate business.

  Revised Ordinances of the City of Salina, Together with the Act Governing Cities
  of the Second Class: Also a Complete List of the Officers of Salina During its
  Organization as a Town and City of the Second and Third Class Page 99, Image
  100 (1879) available at The Making of Modern Law: Primary Sources. 1879
  Ordinances of the City of Salina, An Ordinance Relating to the Carrying of Deadly
  Weapons, § 1. That it shall be unlawful for any person to carry on or about his
  person any pistol, bowie knife, dirk, or other deadly or dangerous weapon,
  anywhere within the limits of the city of Salina, save and except as hereinafter
  provided. § 2. This ordinance shall not apply to cases when any person carrying
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  any weapon above mentioned is engaged in the pursuit of any lawful business,
  calling or employment and the circumstances in which such person is placed at the
  time aforesaid, are such as to justify a prudent man in carrying such weapon, for
  the defense of his person, property or family, nor to cases where any person shall
  carry such weapon openly in his hands, for the purpose of sale, barter, or for
  repairing the same, or for use in any lawful occupation requiring the use of the
  same. § 3. Any person violating any of the provisions of this ordinance shall, upon
  conviction thereof before the police court, be fined in any sum not less that twenty-
  five nor more than one hundred dollars.

  1881 Kan. Sess. Laws 92, c. 37, § 24.
  The Council shall prohibit and punish the carrying of firearms, or other dangerous
  or deadly weapons, concealed or otherwise, and cause to be arrested and
  imprisoned, fined or set to work, all vagrants, tramps, confidence men and persons
  found in said city without visible means of support or some legitimate business.

  1883 Kan. Sess. Laws 159, An Act To Prevent Selling, Trading Or Giving Deadly
  Weapons Or Toy Pistols To Minors, And To Provide Punishment Therefor, §§ 1-2.
  § 1. Any person who shall sell, trade, give, loan or otherwise furnish any pistol,
  revolver, or toy pistol, by which cartridges or caps may be exploded, or any dirk,
  bowie knife, brass knuckles, slung shot, or other dangerous weapons to any minor,
  or to any person of notoriously unsound mind, shall be deemed guilty of a
  misdemeanor, and shall upon conviction before any court of competent
  jurisdiction, be fined not less than five nor more than one hundred dollars.
  § 2. Any minor who shall have in his possession any pistol, revolver or toy pistol,
  by which cartridges may be exploded, or any dirk, bowie-knife, brass knuckles,
  slung shot or other dangerous weapon, shall be deemed guilty of a misdemeanor,
  and upon conviction before any court of competent jurisdiction shall be fined not
  less than one nore more than ten dollars.

  1883 Kan. Sess. Laws 159, An Act To Prevent Selling, Trading Or Giving Deadly
  Weapons Or Toy Pistols To Minors, And To Provide Punishment Therefor, §§ 1-2.
  § 1. Any person who shall sell, trade, give, loan or otherwise furnish any pistol,
  revolver, or toy pistol, by which cartridges or caps may be exploded, or any dirk,
  bowie knife, brass knuckles, slung shot, or other dangerous weapons to any minor,
  or to any person of notoriously unsound mind, shall be deemed guilty of a
  misdemeanor, and shall upon conviction before any court of competent
  jurisdiction, be fined not less than five nor more than one hundred dollars.
  § 2. Any minor who shall have in his possession any pistol, revolver or toy pistol,
  by which cartridges may be exploded, or any dirk, bowie-knife, brass knuckles,
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  slung shot or other dangerous weapon, shall be deemed guilty of a misdemeanor,
  and upon conviction before any court of competent jurisdiction shall be fined not
  less than one nore more than ten dollars.

  O. P. Ergenbright, Revised Ordinances of the City of Independence, Kansas:
  Together with the Amended Laws Governing Cities of the Second Class and
  Standing Rules of the City Council Page 162, Image 157 (1887) available at The
  Making of Modern Law: Primary Sources.
  Carrying Weapons | Kansas | 1887
  Weapons, § 27. Any person who in this city shall draw any pistol or other weapon
  in a hostile manner, or shall make any demonstration or threat of using such
  weapon on or against any person; or any person who shall carry or have on his or
  her person, in a concealed manner, any pistol, dirk, bowie-knife, revolver, slung-
  shot, billy, brass, lead, or iron knuckles, or any deadly weapon, within this city,
  shall be fined not less than five dollars, nor more than one hundred dollars:
  Provided, that this ordinance shall not be so construed as to prohibit officers of the
  law while on duty from being armed.

  Bruce L. Keenan, Book of Ordinances of the City of Wichita Published by
  Authority of a Resolution Adopted by the City Council April 24, 1899, under the
  Direction of Judiciary Committee and City Attorney, and Formally Authorized by
  Ordinance No. 1680 Page 46, Image 70 (1900) available at The Making of Modern
  Law: Primary Sources. 1899
  Ordinances of the City of Wichita, Carrying Unconcealed Deadly Weapons, § 2.
  Any person who shall in the city of Wichita carry unconcealed, any fire-arms,
  slungshot, sheath or dirk knife, or any other weapon, which when used is likely to
  produce death or great bodily harm, shall upon conviction, be fined not less than
  one dollar nor more than twenty-five dollars. Using or Carrying Bean Snapper, § 3.
  Any person who shall, in the city of Wichita, use or carry concealed or
  unconcealed, any bean snapper or like articles shall upon conviction be fined in
  any sum not less than one dollar nor more than twenty-five dollars. Carrying
  Concealed Deadly Weapons, § 4. Any person who shall in the city of Wichita,
  carry concealed about his person any fire-arm, slung shot, sheath or dirk knife,
  brass knuckles, or any weapon, which when used is likely to produce death or great
  bodily harm, shall upon conviction, be fined in any sum not exceeding one hundred
  dollars.

  KENTUCKY



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  1798 Ky. Acts 106. No negro, mulatto, or Indian whatsoever shall keep or carry
  any gun, powder, shot, club, or other weapon whatsoever, offensive or defensive
  but all and every gun, weapon and ammunition found in the possession or custody
  of any negro, mulatto or Indian may be seized by any person and upon due proof
  thereof made before any justice of the peace of the county where such seizure shall
  be shall by his order, be forfeited to the seizor for his own use, and moreover every
  such offender shall have and receive by order of such justice any number of lashes
  not exceeding thirty nine on his or her back, well laid for every such offense.

  1859 Ky. Acts 245, An Act to Amend An Act Entitled “An Act to Reduce to One
  the Several Acts in Relation to the Town of Harrodsburg, § 23.
  If any person, other than the parent or guardian, shall sell, give or loan, any pistol,
  dirk, bowie knife, brass knucks, slung-shot, colt, cane-gun, or other deadly
  weapon, which is carried concealed, to any minor, or slave, or free negro, he shall
  be fined fifty dollars.

  LOUISIANA

  1813 La. Acts 172, An Act Against Carrying Concealed Weapons, and Going
  Armed in Public Places in an Unneccessary Manner, § 1.
  Carrying Weapons | Louisiana | 1813
  Be it enacted by the senate and house of representatives of the state of Louisiana,
  in general assembly convened, That from and after the passage of this act, any
  person who shall be found with any concealed weapon, such as a dirk, dagger,
  knife, pistol, or any other deadly weapon concealed in his bosom, coat, or in any
  other place about him that do not appear in full open view, any person so
  offending, shall on conviction thereof before any justice of the peace, be subject to
  pay a fine . . . .

  Henry A. Bullard & Thomas Curry, 1 A New Digest of the Statute Laws of the
  State of Louisiana, from the Change of Government to the Year 1841 at 252 (E.
  Johns & Co., New Orleans, 1842).
  Carrying Weapons | Louisiana | 1842
  [A]ny person who shall be found with any concealed weapon, such as a dirk,
  dagger, knife, pistol, or any other deadly weapon concealed in his bosom, coat, or
  in any other place about him, that do not appear in full open view, any person so
  offending, shall, on conviction thereof, before an justice of the peace, be subject to
  pay a fine not to exceed fifty dollars, nor less than twenty dollars . . . .

  Louisiana 1855 law 1855 La. L. Chap. 120, Sec. 115, p. 148
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  Sec. 115, Be it further enacted, &c., That whoever shall carry a weapon or
  weapons concealed on or about his person, such as pistols, bowie knife, dirk, or
  any other dangerous weapon, shall be liable to prosecution by indictment or
  presentnient, and on conviction for the first offence shall be fined not less than two
  hundred and fifty dollars nor more than five hundred dollars, or imprisonment for
  one month; and for the second offence not less than five hundred dollars nor more
  than one thousand dollars, or imprisonment in the parish prison at the discretion of
  the court, not to exceed three months, and that it shall be the duty of the Judges of
  the District Courts in this State to charge the Grand Jury, specially as to this
  section.
  https://babel.hathitrust.org/cgi/pt?id=osu.32437123281277&view=1up&seq=300&
  q1=Bowie


  1870 La. Acts 159–60, An Act to Regulate the Conduct and to Maintain the
  Freedom of Party Election . . . , § 73.
  Subject(s): Sensitive Places and Times
  [I]t shall be unlawful for any person to carry any gun, pistol, bowie knife or other
  dangerous weapon, concealed or unconcealed, on any day of election during the
  hours the polls are open, or on any day of registration or revision of registration,
  within a distance of one-half mile of any place of registration or revision of
  registration; any person violating the provisions of this section shall be deemed
  guilty of a misdemeanor; and on conviction shall be punished by a fine of not less
  than one hundred dollars, and imprisonment in the parish jail not less than one
  month . . . .

  La. Const. of 1879, art. III.
  Post-Civil War State Constitutions | Louisiana | 1879
  A well regulated militia being necessary to the security of a free State, the right of
  the people to keep and bear arms shall not be abridged. This shall not prevent the
  passage of laws to punish those who carry weapons concealed.




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  MAINE

  An Act to Prevent Routs, Riots, and Tumultuous assemblies, and the Evil
  Consequences Thereof, reprinted in CUMBERLAND GAZETTE (Portland, MA.),
  Nov. 17, 1786, at 1. On October 26, 1786 the following was passed into law by the
  Massachusetts Assembly: That from & after the publication of this act, if any
  persons, to the number of twelve, or more, being armed with clubs or other
  weapons; or if any number of persons, consisting of thirty, or more, shall be
  unlawfully, routously, rioutously or tumultuously assembled, any Justice of the
  Peace, Sheriff, or Deputy ... or Constable ... shall openly make [a] proclamation
  [asking them to disperse, and if they do not disperse within one hour, the officer is]
  ... empowered, to require the aid of a sufficient number of persons in arms ... and if
  any such person or persons [assembled illegally] shall be killed or wounded, by
  reason of his or their resisting the persons endeavoring to disperse or seize them,
  the said Justice, Sheriff, Deputy-Sheriff, Constable and their assistants, shall be
  indemnified, and held guiltless.

  The Revised Statutes of the State of Maine, Passed October 22, 1840; To Which
  are Prefixed the Constitutions of the United States and of the State of Maine, and
  to Which Are Subjoined the Other Public Laws of 1840 and 1841, with an
  Appendix Page 709, Image 725 (1847) available at The Making of Modern Law:
  Primary Sources.
  Justices of the Peace, § 16.
  Any person, going armed with any dirk, dagger, sword, pistol, or other offensive
  and dangerous weapon, without a reasonable cause to fear an assault on himself, or
  any of his family or property, may, on the complaint of any person having cause to
  fear an injury or breach of the peace, be required to find sureties for keeping the
  peace for a term, not exceeding one year, with the right of appeal as before
  provided.

  1841 Me. Laws 709, ch. 169, § 16.
  If any person shall go armed with a dirk, dagger, sword, pistol, or other offensive
  and dangerous weapon, without reasonable cause to fear an assault or other injury
  or violence to his person, or to his family or property, he may, on complaint of any
  person having resonable cause to fear an injury or breach of the peace, be required
  to find sureties for keeping the peace, for a term not exceeding six months, with the
  right of appealing as before provided.




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  The Revised Statutes of the State of Maine, Passed August 29, 1883, and Taking
  Effect January 1, 1884 Page 928, Image 955 (1884) available at The Making of
  Modern Law: Primary Sources.
  Prevention of Crimes, § 10.
  Whoever goes armed with any dirk, pistol, or other offensive and dangerous
  weapon, without just cause to fear an assault on himself, family, or property, may,
  on complaint of any person having cause to fear an injury or breach of the peace,
  be required to find sureties to keep the peace for a term not exceeding one year,
  and in case of refusal, may be committed as provided in the preceding sections.

  MARYLAND

  The Laws Of Maryland, With The Charter, The Bill Of Rights, The Constitution
  Of The State, And Its Alterations, The Declaration Of Independence, And The
  Constitution Of The United States, And Its Amendments Page 465, Image 466
  (1811) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | Maryland | 1809 If any person shall be
  apprehended, having upon him or her any picklock, key, crow, jack, bit or other
  implement, with an intent feloniously to break and enter into any dwelling-house,
  ware-house, stable or out-house, or shall have upon him or her any pistol, hanger,
  cutlass, bludgeon, or other offensive weapon, with intent feloniously to assault any
  person, or shall be found in or upon any dwelling-house, warehouse, stable or out-
  house, or in any enclosed yard or garden, or area belonging to any house, with an
  intent to steal any goods or chattels, every such person shall be deemed a rouge
  and vagabond, and, on being duly convicted thereof, shall be sentenced to undergo
  a confinement in the said penitentiary for a period of time not less than three
  months nor more than two years, to be treated as law prescribes.

  1872 Md. Laws 57, An Act To Add An Additional Section To Article Two Of The
  Code Of Public Local Laws, Entitled “Anne Arundel County,” Sub-title
  “Annapolis,” To Prevent The Carrying Of concealed Weapons In Said City, § 246.
  Carrying Weapons | Maryland | 1872
  It shall not be lawful for any person to carry concealed, in Annapolis, whether a
  resident thereof or not, any pistol, dirk-knife, bowie-knife, sling-shot, billy, razor,
  brass, iron or other metal knuckles, or any other deadly weapon, under a penalty of
  a fine of not less than three, nor more than ten dollars in each case, in the discretion
  of the Justice of the Peace, before whom the same may be tried, to be collected. . .

  John Prentiss Poe, The Maryland Code : Public Local Laws, Adopted by the
  General Assembly of Maryland March 14, 1888. Including also the Public Local
                                            38
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  Acts of the Session of 1888 incorporated therein Page 1457, Image 382 (Vol. 2,
  1888) available at The Making of Modern Law: Primary Sources.
  Sensitive Places and Times | Maryland | 1874
  Election Districts–Fences. § 99.
  It shall not be lawful for any person in Kent county to carry, on the days of
  election, secretly or otherwise, any gun, pistol, dirk, dirk-knife, razor, billy or
  bludgeon; and any person violating the provisions of this section shall be deemed
  guilty of a misdemeanor, and on conviction thereof before any justice of the peace
  of said county, shall be fined not less than five nor more than twenty dollars, and
  on refusal to pay said fine shall be committed by such justice of the peace to the
  jail of the county until the same shall be paid.

  John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the
  General Assembly of Maryland March 14, 1888. Including also the Public Local
  Acts of the Session of 1888 Incorporated Therein Page 522-523, Image 531-532
  (Vol. 1, 1888) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | Maryland | 1884
  City of Baltimore, § 742.
  Whenever any person shall be arrested in the city of Baltimore, charged with any
  crime or misdemeanor, or for being drunk or disorderly, or for any breach of the
  peace, and shall be taken before any of the police justices of the peace of the said
  city, and any such person shall be found to have concealed about his person any
  pistol, dirk knife, bowie-knife, sling-shot, billy, brass, iron or any other metal
  knuckles, razor, or any other deadly weapon whatsoever, such person shall be
  subject to a fine of not less than five dollars nor more than twenty-five dollars in
  the discretion of the police justice of the peace before whom such person may be
  taken, and the confiscation of the weapon so found, which said fine shall be
  collected as other fines are now collected; provided, however, that the provisions
  of this section shall not apply to those persons who, as conservators of the peace
  are entitled or required to carry a pistol or other weapon as a part of their official
  equipment.

  1886 Md. Laws 315, An Act to Prevent the Carrying of Guns, Pistols, Dirk-knives,
  Razors, Billies or Bludgeons by any Person in Calvert County, on the Days of
  Election in said County, Within One Mile of the Polls § 1:
  That from and after the passage of this act, it shall not be lawful for any person in
  Calvert County to carry, on the days of election and primary election within three
  hundred yards of the polls, secretly, or otherwise, any gun, pistol, dirk, dirk-knife,
  razor, billy or bludgeon, and any person violating the provisions of this act, shall
  be deemed guilty of a misdemeanor and on conviction thereof by the Circuit Court
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  of Calvert County . . . shall be fined not less than ten nor more than fifty dollars for
  each such offense. . .

  John Prentiss Poe, The Maryland Code. Public Local Laws, Adopted by the
  General Assembly of Maryland March 14, 1888. Including also the Acts of the
  Session of 1888 Incorporated Therein, and Prefaced with the Constitution of the
  State Page 468-469, Image 568-569 (Vol. 1, 1888) available at The Making of
  Modern Law: Primary Sources.
  Carrying Weapons | Maryland | 1886
  Concealed Weapons, § 30.
  Every person, not being a conservator of the peace entitled or required to carry
  such weapon as a part of his official equipment, who shall wear or carry any pistol,
  dirk-knife, bowie- knife, slung-shot, billy, sand-club, metal knuckles, razor, or any
  other dangerous or deadly weapon of any kind whatsoever, (penknives excepted,)
  concealed upon or about his person; and every person who shall carry or wear any
  such weapon openly, with the intent or purpose of injuring any person, shall, upon
  conviction thereof, be fined not more than five hundred dollars, or be imprisoned
  not more than six months in jail or in the house of correction.




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  John Prentiss Poe, The Baltimore City Code, Containing the Public Local Laws of
  Maryland Relating to the City of Baltimore, and the Ordinances of the Mayor and
  City Council, in Force on the First Day of November, 1891, with a Supplement,
  Containing the Public Local Laws Relating to the City of Baltimore, Passed at the
  Session of 1892 of the General Assembly, and also the Ordinances of the Mayor
  and City Council, Passed at the Session of 1891-1892, and of 1892-1893, up to the
  Summer Recess of 1893 Page 297-298, Image 306-307 (1893) available at The
  Making of Modern Law: Primary Sources.
  Carrying Weapons | Maryland | 1890
  Ordinances of Baltimore, § 742A.
  Every person in said city of Baltimore not being a conservator of the peace,
  entitled or required to carry such weapons as a part of his official equipment, who
  shall wear or carry any pistol, dirk-knife, bowie-knife, sling-shot, billy, sand-club,
  metal knuckles, razor or any other dangerous or deadly weapon of any kind
  whatsoever, (pen knives excepted.) concealed upon or about his person; and every
  person who shall carry or wear such weapons openly, with the intent or purpose of
  injuring any person, shall, upon a conviction thereof, be fined not more than five
  hundred dollars, and be imprisoned not more than six months in jail or in the house
  of correction; that this act shall not release or discharge any person or persons
  already offending against the general law in such cases made and provided, but any
  such person or persons may be proceeded against, prosecuted and punished under
  the general law of this State as if this act had not been passed.

  MASSACHUSETTS

  1750 Mass. Acts 544, An Act For Preventing And Suppressing Of Riots, Routs
  And Unlawful Assemblies, chap. 17, § 1.
  If any persons to the number of twelve or more, being armed with clubs or other
  weapons. . . shall be unlawfully, riotously, or tumultuously assembled . . . (Read
  riot act, if don’t disperse) . . . It shall be lawful for every officer . . . to seize such
  persons, and carry them before a justice of the peace; and if such persons shall be




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  killed or hurt by reason of their resisting . . . officers and their assistants shall be
  indemnified and held guiltless.

  1814 Mass. Acts 464, An Act In Addition To An Act, Entitled “An Act To Provide
  For The Proof Of Fire Arms, Manufactured Within This Commonwealth,” ch. 192,
  § 1, 2.
  All musket barrels and pistol barrels, manufactured within this Commonwealth,
  shall, before the same shall be sold, and before the same shall be stocked, be
  proved by the person appointed according to the provisions of an act . . . ; § 2 That
  if any person of persons, from and after the passing of this act, shall manufacture,
  within this Commonwealth, any musket or pistol, or shall sell and deliver, or shall
  knowingly purchase any musket or pistol, without having the barrels first proved
  according to the provisions of the first section of this act, marked and stamped
  according the provisions of the first section of the act.

  Theron Metcalf, The Revised Statutes of the Commonwealth of Massachusetts,
  Passed November 4, 1835; to Which are Subjoined, an Act in Amendment
  Thereof, and an Act Expressly to Repeal the Acts Which are Consolidated Therein,
  Both Passed in February 1836; and to Which are Prefixed, the Constitutions of the
  United States and of the Commonwealth of Massachusetts Page 750, Image 764
  (1836) available at The Making of Modern Law: Primary Sources.
  Of Proceedings to Prevent the Commission of Crimes, § 16.
  If any person shall go armed with a dirk, dagger, sword, pistol, or other offensive
  and dangerous weapon, without reasonable cause to fear an assault or other injury,
  or violence to his person, or to his family or property, he may, on complaint of any
  person having reasonable cause to fear an injury, or breach of the peace, be
  required to find sureties for keeping the peace, for a term not exceeding six
  months, with the right of appealing as before provided.

  1850 Mass. Gen. Law, chap. 194, §§ 1, 2, as codified in Mass. Gen. Stat., chap.
  164 (1873) § 10.
  Whoever when arrested upon a warrant of a magistrate issued against him for an
  alleged offense against the laws of this state, and whoever when arrested by a
  sheriff, deputy sheriff , constable, police officer, or watchman, while committing a
  criminal offense against the laws of this state, or a breach or disturbance of the
  public peace, is armed with, or has on his person, slung shot, metallic knuckles,
  bills, or other dangerous weapon, shall be punished by fine . . .

  1850 Mass. Gen. Law, chap. 194, §§ 1, 2 as codified in Mass. Gen. Stat., chap. 164
  (1873) § 11.
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  Whoever manufactures, or causes to be manufactured, or sells, or exposes for sale,
  any instrument or weapon of the kind usually known as slung shot, or metallic
  knuckles, shall be punished by fine not less than fifty dollars, or by imprisonment
  in the jail not exceeding six months.

  Third Annual Report of the Park Commissioners of the City of Lynn for the year
  ending December 20, 1891, at 23, Ordinances. 1891
  The Board of Park Commissioners of the City of Lynn , by virtue of its authority to
  make rules for the use and government of the Public Parks of said City, and for
  breaches of such rules to affix penalties, hereby ordains that within the limits of
  Lynn Woods, Meadow Park and Oceanside, except with the prior consent of the
  Board, it is forbidden: . . .
  3. To throw stones or other missiles; to discharge or carry firearms, except by
  members of the police force in the discharge of their duties; to discharge or carry
  fire – crackers, torpedoes or fireworks; to make fires; to have any intoxicating
  beverages; to sell, to offer or expose for sale any goods or wares; to post or display
  signs, placards, flags or advertising devices; to solicit subscriptions or
  contributions; to play games of chance, or have possession of instruments of
  gambling; to utter profane, threatening, abusive or indecent language, or to do any
  obscene or indecent act; to bathe or fish; to solicit the acquaintance of, or follow,
  or otherwise annoy other visitors.

  Rules and Regulations Governing the Public Parks within the City of Lowell, at 58
  (1903)
  The Board of Park Commissioners of the City of Lowell, by virtue of its authority
  to make rules and regulations for the use and government of the Public Parks and
  Commons of said City, and to fix penalties for breaches of rules and regulations,
  hereby ordains that, within such Public Parks and Commons, except by and with
  the consent of the Board: . . .
  3. It is forbidden to throw stones, balls or other missiles; to discharge or carry
  firearms, fire crackers, torpedoes or fire-works; to make fires; to have any
  intoxicating beverages; to sell, offer or expose for sale any goods or wares; to post
  or display signs, placards, flags or advertising devices; to solicit subscriptions or
  contributions, to play games of chance, or to have possession of instruments of
  gambling; to utter profane, threatening, abusive or indecent language, or to commit
  any obscene or indecent act; to solicit the acquaintance of, or to follow, or in any
  way annoy visitors to said Parks and Commons.

  1927 Mass. Acts 416, An Act Relative to Machine Guns and Other Firearms, ch.
  326, § 5 (amending §10)
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  Carrying Weapons | Massachusetts | 1927
  Whoever, except as provided by law, carries on his person, or carries on his person
  or under his control in a vehicle, a pistol or revolver, loaded or unloaded, or
  possesses a machine gun as defined in section one hundred and twenty-one of
  chapter one hundred and forty… or whoever so carries any stiletto, dagger, dirk
  knife, slung shot, metallic knuckles or sawed off shotgun, or whoever, when
  arrested upon a warrant for an alleged crime or when arrested while committing a
  crime or a breach or disturbance of the public peace, is armed with, or has on his
  person, or has on his person or under his control in a vehicle, a billy or dangerous
  weapon other than those herein mentioned, shall be punished by imprisonment for
  not less than six months nor more than two and a half years in a jail . . .

  MICHIGAN

  1887 Mich. Pub. Acts 144, An Act to Prevent The Carrying Of Concealed
  Weapons, And To Provide Punishment Therefore, § 1.
  It shall be unlawful for any person, except officers of the peace and night-watches
  legitimately employed as such, to go armed with a dirk, dagger, sword, pistol, air
  gun, stiletto, metallic knuckles, pocket-billy, sand bag, skull cracker, slung shot,
  razor or other offensive and dangerous weapon or instrument concealed upon his
  person.

  1891 Mich. Pub. Acts 409, Police Department, pt 15:. . . . And all persons who
  shall carry concealed on or about their persons, any pistol, revolver, bowie knife,
  dirk, slung shot, billie, sand bag, false knuckles, or other dangerous weapon, or
  who shall lay in wait , lurk or be concealed, with intent to do injury to any person
  or property, who shall threaten to beat or kill another or injure him in his person or
  property . . . shall be deemed a disorderly person, and upon conviction thereof may
  be punished by a fine not exceeding one hundred dollars and the costs of
  prosecution, and in imposition of any such fine and costs the court may make a
  further sentence that in default of payment, such offender be imprisoned in the city
  prison. . .

  1913 Mich. Pub. Acts 452, An Act Defining the Crime of Felonious Assault and
  Prescribing Punishment Therefor, § 1.
  Whoever shall assault another with a gun, revolver, pistol, knife, iron bar, club,
  brass knuckles or other dangerous weapon, but without intending to commit the
  crime of murder, and without intending to inflict great bodily harm less than the
  crime of murder, shall be deemed guilty of a felonious assault, and upon conviction
  shall be punished by imprisonment in the State Prison for a term not exceeding
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  three years or by imprisonment in the county jail for a term not exceeding one
  year, in the discretion of the court.

  1927 Mich. Pub. Acts 888-89, An Act to Regulate and License the Selling,
  Purchasing, Possessing and Carrying of Certain Firearms, § 3.
  Dangerous or Unusual Weapons | Michigan | 1927
  It shall be unlawful within this state to manufacture, sell, offer for sale, or possess
  any machine gun or firearm which can be fired more than sixteen times without
  reloading, or any muffler, silencer or device for deadening or muffling the sound of
  a discharged firearm, or any bomb or bombshell, or any blackjack, slung shot,
  billy, metallic knuckles, sandclub, sandbag or bludgeon. Any person convicted of a
  violation of this section shall be guilty of a felony and shall be punished by a fine
  not exceeding one thousand dollars or imprisonment in the state prison not more
  than five years, or by both such fine and imprisonment in the discretion of the
  court. . . .

  1929 Mich. Pub. Acts 529, An Act to Regulate and License the Selling,
  Purchasing, Possessing and Carrying of Certain Firearms, § 3.
  Dangerous or Unusual Weapons | Michigan | 1929
  It shall be unlawful within this state to manufacture, sell, offer for sale or possess
  any machine gun or firearm which can be fired more than sixteen times without
  reloading or any muffler, silencer, or device for deadening or muffling the sound of
  a discharged firearm, or any bomb, or bomb shell, blackjack, slung shot, billy,
  metallic knuckles, sand club, sand bag, or bludgeon or any gas ejecting device,
  weapon, cartridge, container, or contrivance designed or equipped for or capable of
  ejecting any gas which will either temporarily or permanently disable, incapacitate,
  injure or harm any person with whom it comes in contact.

  MINNESOTA

  W. P. Murray, The Municipal Code of Saint Paul: Comprising the Laws of the
  State of Minnesota Relating to the City of Saint Paul, and the Ordinances of the
  Common Council; Revised to December 1, 1884 Page 289, Image 295 (1884)
  available at The Making of Modern Law: Primary Sources.
  Concealed Weapons – License, § 1.
  It shall be unlawful for any person, within the limits of the city of St. Paul, to carry
  or wear under his clothes, or concealed about his person, any pistol or pistols, dirk,
  dagger, sword, slungshot, cross-knuckles, or knuckles of lead, brass or other metal,
  bowie-knife, dirk-knife or razor, or any other dangerous or deadly weapon. § 2.
  Any such weapons or weapons, duly adjudged by the municipal court of said city
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  to have been worn or carried by any person, in violation of the first section of this
  ordinance, shall be forfeited or confiscated to the said city of St. Paul, and shall be
  so adjudged. § 3. Any policeman of the city of St. Paul, may, within the limits of
  said city, without a warrant, arrest any person or persons, whom such policeman
  may find in the act of carrying or wearing under their clothes, or concealed about
  their person, any pistol or pistols, dirk, dagger, sword, slungshot, cross-knuckles,
  or knuckles of lead, brass or other metal, bowie-knife, dirk-knife or razor, or any
  other dangerous or deadly weapon, and detain him, her or them in the city jail,
  until a warrant can be procured, or complaint made for the trial of such person or
  persons, as provided by the charter of the city of St. Paul, for other offenses under
  said charter, and for the trial of such person or persons, and for the seizure and
  confiscation of such of the weapons above referred to, as such person or persons
  may be found in the act of carrying or wearing under their clothes, or concealed
  about their persons.

  George Brooks Young. General Statutes of the State of Minnesota in Force January
  1, 1889 Page 1006, Image 1010 (Vol. 2, 1888) available at The Making of Modern
  Law: Primary Sources.
  Dangerous or Unusual Weapons | Minnesota | 1888
  Making, Selling, etc., Dangerous Weapons, §§ 333-334.
  § 333. A person who manufactures, or causes to be manufactured, or sells, or keeps
  for sale, or offers or gives or disposes of any instrument or weapon of the kind
  usually known as slung-shot, sand-club, or metal knuckles, or who, in any city of
  this state, without the written consent of a magistrate, sells or gives any pistol or
  fire-arm to any person under the age of eighteen years, is guilty of a misdemeanor.
  Carrying, using, etc., certain Weapons . . . .
  § 334. A person who attempts to use against another, or who, with intent so to use,
  carries, conceals, or possesses any instrument or weapon of the kind commonly
  known as a slung-shot, sand-club, or metal knuckles, or a dagger, dirk, knife, pistol
  or other fire-arm, or any dangerous weapon, is guilty of a misdemeanor.

  MISSISSIPPI

  1799 Miss. Laws 113, A Law For The Regulation Of Slaves. No Negro or mulatto
  shall keep or carry any gun, powder, shot, club or other weapon whatsoever,
  offensive or defensive; but all and every gun, weapon and ammunition found in the
  possession or custody of any negro or mulatto may be seized by any person . . .
  every such offender shall have and receive by order of such justice, any number of
  lashes not exceeding thirty-nine, on his or her bare back, well laid on, for every
  such offense.
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  1804 Miss. Laws 90, An Act Respecting Slaves, § 4. No Slave shall keep or carry
  any gun, powder, shot, club or other weapon whatsoever offensive or defensive,
  except tools given him to work with . . .

  1837 Miss. Law 289-90, An Act To Prevent The Evil Practice Of Dueling In This
  State And For Other Purposes, § 5.
  That if any person or persons shall be guilty of fighting in any corporate city or
  town, or any other town or public place, in this state, and shall in such fight use
  any rifle, shot gun, sword, sword cane, pistol, dirk, bowie knife, dirk knife, or any
  other deadly weapon; or if any person shall be second or aid in such fight, the
  persons so offending shall be fined not less than three hundred dollars, and shall be
  imprisoned not less than three months; and if any person shall be killed in such
  fight, the person so killing the other may also be prosecuted and convicted as in
  other cases of murder.

  Laws of the State of Mississippi ; embracing all Acts of a Public Nature from
  January Session, 1824, to January Session 1838, Inclusive Page 736, Image 738
  (Jackson, 1838) available at The Making of Modern Law: Primary Sources, 1838.
  An Act to Prevent the Evil Practice of Dueling in this State, and for other Purposes,
  § 5. Be it further enacted, That if any person or persons shall be guilty of fighting
  in any corporate city or town, or any other town, or public place, in this state, and
  shall in such fight use any rifle, shot gun, sword, sword cane, pistol, dirk, bowie
  knife, dirk knife, or any other deadly weapon; or if any persons shall be second or
  aid in such fight, the persons so offending shall be fined not less than three
  hundred dollars, and shall be imprisoned not less than three months; and if any
  person shall be killed in such fight, the person so killing the other may also be
  prosecuted and convicted as in other cases of murder.

  Volney Erskine Howard, The Statutes of the State of Mississippi of a Public and
  General Nature, with the Constitutions of the United States and of this State: And
  an Appendix Containing Acts of Congress Affecting Land Titles, Naturalization,
  &c, and a Manual for Clerks, Sheriffs and Justices of the Peace Page 676, Image
  688 (1840) available at The Making of Modern Law: Primary Sources. 1840
  Crimes, Misdemeanors and Criminal Prosecution, § 55. If any person having or
  carrying any dirk, dirk knife, Bowie knife, sword, sword cane, or other deadly
  weapon, shall, in the presence of three or more persons, exhibit the same in a rude,
  angry and threatening manner, not in necessary self-defense, or shall in any
  manner unlawfully use the same in any fight or quarrel, the person or persons so
  offending, upon conviction thereof in the circuit or criminal court of the proper
                                           47
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  county, shall be fined in a sum not exceeding five hundred dollars, and be
  imprisoned not exceeding three months.

  1878 Miss. Laws 175, An Act To Prevent The Carrying Of Concealed Weapons
  And For Other Purposes, § 1.
  That any person not being threatened with or havin good and sufficient reason to
  apprehend an attack, or traveling (not being a tramp) or setting out on a long
  journey, or peace officers, or deputies in discharge of their duties, who carries
  concealed in whole or in part, any bowie knife, pistol, brass knuckles, slung shot or
  other deadly weapon of like kind or description shall be deemed guilty of a
  misdemeanor, and on conviction, shall be punished for the first offense by a fine of
  not less than five dollars nor more than one hundred dollars . . .

  MISSOURI

  Organic Laws:-Laws of Missouri Territory, (Alphabetically Arranged):-Spanish
  Regulations for the Allotment of Lands:- Laws of the United States, for Adjusting
  Titles to Lands, &c. to Which are Added, a Variety of Forms, Useful to
  Magistrates Page 374, Image 386 (1818) available at The Making of Modern Law:
  Primary Sources. 1818.
  Slaves, § 3. No slave or mulatto whatsoever, shall keep or carry a gun, powder,
  shot, club or other weapon whatsoever, offensive or defensive; but all and every
  gun weapon and ammunition found in the possession or custody of any negro or
  mulatto, may be seized by any person and upon due proof made before any justice
  of the peace of the district [county] where such seizure shall be, shall by his order
  be forfeited to the seizor, for his own use, and moreover, every such offender shall
  have and receive by order of such justice any number of lashes not exceeding thirty
  nine on his or her bare back well laid on for every such offence. § 4. Every free
  negro or mulatto, being a housekeeper may be permitted to keep one gun, powder
  and shot; and all negroes or mulattoes bond or free, living at any frontier
  plantation, may be permitted to keep and use guns, powder shot and weapons,
  offensive and defensive, by license from a justice of the peace of the district
  [county] wherein such plantation lies, to be obtained upon the application of free
  negroes or mulattoes or of the owners of such as are slaves.

  Everett Wilson Pattison, The Revised Ordinance of the City of St. Louis, Together
  with the Constitution of the United States, and of the State of Missouri; the Charter
  of the City; and a Digest of the Acts of the General Assembly, Relating to the City
  Page 491-492, Image 499-500 (1871) available at The Making of Modern Law:
  Primary Sources.
                                           48
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  Carrying Weapons | Missouri | 1871
  Ordinances of the City of St. Louis, Misdemeanors, §§ 9-10.
  § 9. Hereafter it shall not be lawful for any person to wear under his clothes, or
  concealed about his person, any pistol, or revolver, colt, billy, slung shot, cross
  knuckles, or knuckles of lead, brass or other metal, bowie knife, razor, dirk knife,
  dirk, dagger, or any knife resembling a bowie knife, or any other dangerous or
  deadly weapon, within the City of St. Louis, without written permission from the
  Mayor; and any person who shall violate this section shall be deemed guilty of a
  misdemeanor, and, upon conviction thereof, be fined not less than ten nor more
  than five hundred dollars for each and every offence.
  § 10. Nothing in the preceding section shall be so construed as to prevent any
  United States, State, county or city officer, or any member of the city government,
  from carrying or wearing such weapons as may be necessary in the proper
  discharge of his duties.

  1883 Mo. Laws 76, An Act To Amend Section 1274, Article 2, Chapter 24 Of The
  Revised Statutes Of Missouri, Entitled “Of Crimes And Criminal Procedure”
  § 1274.
  If any person shall carry concealed, upon or about his person, any deadly or
  dangerous weapon, or shall go into any church or place where people have
  assembled for religious worship, or into any school room or place where people are
  assembled for educational, literary or social purposes, or to any election precinct
  on any election day, or into any court room during the siting of court, or into any
  other public assemblage of persons met for any lawful purpose other than for
  militia drill or meetings called under the militia law having upon or about his
  person any kind of fire arms, bowie knife, dirk, dagger, slung-shot, or other deadly
  weapon, or shall in the presence of one or more persons shall exhibit and such
  weapon in a rude, angry or threatening manner, or shall have or carry any such
  weapon upon or about his person when intoxicated or under the influence of
  intoxicating drinks, or shall directly or indirectly sell or deliver, loan or barter to
  any minor any such weapon, without the consent of the parent or guardian of such
  minor, he shall, upon conviction be punished by a fine of not less than twenty-five
  nor more than two hundred dollars, or by imprisonment in the county jail not
  exceeding six months, or by both such fine and imprisonment.

  William K. Amick, The General Ordinances of the City of Saint Joseph (A City of
  the Second Class) Embracing all Ordinances of General Interest in Force July 15,
  1897, together with the Laws of the State of Missouri of a General Nature
  Applicable to the City of St. Joseph. Compiled and Arranged Page 508, Image 515
  (1897) available at The Making of Modern Law: Primary Sources.
                                            49
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  Carrying Weapons | Missouri | 1897
  Concealed Weapons – Carrying of, § 7.
  Any person who shall in this city wear under his clothes or carry concealed upon or
  about his person, or be found having upon or about his person concealed, any
  pistol or revolver, colt, billy, slung shot, cross knuckles or knuckles of lead, brass
  or other metal, dirk, dagger, razor, bowie knife, or any knife resembling a bowie
  knife, or any other dangerous or deadly weapon, shall be deemed guilty of a
  misdemeanor.

  Joplin Code of 1917, Art. 67, § 1201. Missouri. Weapons; Deadly.
  If any person shall carry concealed upon or about his person a dangerous or deadly
  weapon of any kind or description, or shall go into any church or place where
  people have assembled for religious worship, or into any school room or place
  where people are assembled for educational, political, literary or social purposes,
  or to any election precinct on any election day, or into any court room during the
  sitting of court, or into any other public assemblage of persons met for any lawful
  purpose other than for militia drill, or meetings called under militia law of this
  state, having upon or about his person, concealed or exposed, any kind of firearms,
  bowie knife, spring-back knife, razor, knuckles, bill, sword cane, dirk, dagger,
  slung shot, or other similar deadly weapons, or shall, in the presence of one or
  more persons, exhibit any such weapon in a rude, angry or threatening manner, or
  shall have any such weapons in his possession when intoxicated, or directly or
  indirectly shall sell or deliver, loan or barter, to any minor any such weapon,
  without the consent of the parent or guardian of such minor, he shall be deemed
  guilty of a misdemeanor. Provided, that nothing contained in this section shall
  apply to legally qualified sheriffs, police officers, and other persons whose bona
  fide duty is to execute process, civil or criminal, make arrests, or aid in conserving
  the public peace, nor to persons traveling in a continuous journey peaceably
  through this state.

  1923 Mo. Laws 241-42, An Act to Provide the Exercise of the Police Powers of the
  State by and through Prohibiting the Manufacture, Possession, Transportation, Sale
  and Disposition of Intoxicating Liquors. . .§ 17.
  Sensitive Places and Times | Missouri | 1923
  Any person, while in charge of, or a passenger thereon, who shall carry on his
  person, or in, on, or about, any wagon, buggy, automobile, boat, aeroplane, or
  other conveyance or vehicle whatsoever, in, or upon which any intoxicating liquor,
  including wine or beer, is carried, conveyed or transported in violation of any
  provision of the laws of this state, any revolver, gun or other firearm, or explosive,
  any bowie knife, or other knife having a blade of more than two and one-half
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  inches in length, any sling shot, brass knucks [sic], billy, club or other dangerous
  weapon, article or thing which could, or might, be used in inflicting bodily injury
  or death upon another, shall be deemed guilty of a felony, and, upon conviction
  thereof, shall be punished by the imprisonment in the state penitentiary for a term
  of not less than two years. Provided, that this section shall not apply to any person
  or persons transporting intoxicating liquor for personal use and not for sale in
  violation of law. Provided, that this section shall not apply to any person or
  passenger who did not know that such vehicle or conveyance was being used for
  unlawful purposes.

  MONTANA

  1864 Mont. Laws 355, An Act to Prevent the Carrying of Concealed Deadly
  Weapons in the Cities and Towns of This Territory, § 1.
  If any person shall within any city, town, or village in this territory, whether the
  same is incorporated or not, carry concealed upon his or her person any pistol,
  bowie-knife, dagger, or other deadly weapon, shall, on conviction thereof before
  any justice of the peace of the proper county, be fined in any sum not less than
  twenty five dollars, nor more than one hundred dollars.

  1879 Mont. Laws 359, Offences against the Lives and Persons of Individuals, ch.
  4, § 23.
  If any person shall, by previous appointment or agreement, fight a duel with a rifle,
  shot-gun, pistol, bowie-knife, dirk, small-sword, back-sword, or other dangerous
  weapon, and in so doing shall kill his antagonist, or any person or persons, or shall
  inflict such wound as that the party or parties injured shall die thereof within one
  year thereafter, every such offender shall be deemed guilty of murder in the first
  degree, and, upon conviction thereof, shall be punished accordingly [death by
  hanging].

  1885 Mont. Laws 74, Deadly Weapons, An Act to Amend § 62 of Chapter IV of
  the Fourth Division of the Revised Statutes, § 62-63.
  Every person in this territory having, carrying, or procuring from another person,
  any dirk, dirk-knife, sword, sword-cane, pistol, gun, or other deadly weapon, who
  shall in the presence of one or more persons, draw or exhibit any of said deadly
  weapons in a rude or angry or threatening manner, not in necessary self defense, or
  who shall in any manner unlawfully use the same in any fight or quarrel, the
  person or persons so offending, upon conviction thereof in any criminal court in
  any county in this territory shall be fined in any sum not less than ten dollars nor
  more than one hundred dollars, or imprisoned in the county jail not less than one
                                            51
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  month nor more than three months, at the discretion of the court, or by both such
  fine and imprisonment, together with the costs of prosecution, which said costs
  shall in all cases be computed and collected in the same manner as costs in civil
  cases; and all fines and forfeitures arising under the provisions of this act shall be
  paid into the county treasury for school purposes: Provided, that no sheriff, deputy
  sheriff, constable, marshal, or other peace officer, shall be held to answer, under
  the provisions of this act, for drawing or exhibiting any of the weapons
  hereinbefore mentioned while in the lawful discharge of his or their duties.

  1887 Mont. Laws 549, Criminal Laws, § 174.
  If any person shall have upon him or her any pistol, gun, knife, dirk-knife,
  bludgeon, or other offensive weapon, with intent to assault any person, every such
  person, on conviction, shall be fined not more than one hundred dollars, or
  imprisoned in the county jail not more than three months.

  NEBRASKA

  1858 Neb. Laws 69, An Act To Adopt And Establish A Criminal code For The
  Territory Of Nebraska, § 135.
  And if any person shall have upon him any pistol, gun, knife, dirk, bludgeon or
  other offensive weapon with intent to assault any person, every such person, on
  conviction, shall be fined in a sum not exceeding one hundred dollars. . .

  Gilbert B. Colfield, Laws, Ordinances and Rules of Nebraska City, Otoe County,
  Nebraska Page 36, Image 36 (1872) available at The Making of Modern Law:
  Primary Sources.
  Carrying Weapons | Nebraska | 1872
  Ordinance No. 7, An Ordinance Prohibiting the Carrying of Fire Arms and
  Concealed Weapons, § 1.
  Be it ordained by the Mayor and Councilmen of the City of Nebraska City, That it
  shall be, and it is hereby declared to be unlawful for any person to carry, openly or
  concealed, any musket, rifle, shot gun, pistol, sabre, sword, bowie knife, dirk,
  sword cane, billy slung shot, brass or other metallic knuckles, or any other
  dangerous or deadly weapons, within the corporate limits of Nebraska City, Neb;
  Provided, that nothing herein contained shall prevent the carrying of such weapon
  by a civil or military officer, or by a soldier in the discharge of his duty, nor by any
  other person for mere purposes of transportation from one place to another.

  W. J. Connell, The Revised Ordinances of the City of Omaha, Nebraska,
  Embracing All Ordinances of a General Nature in Force April 1, 1890, Together
                                            52
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  with the Charter for Metropolitan Cities, the Constitution of the United States and
  the Constitution of the State of Nebraska Page 344, Image 356 (1890) available at
  The Making of Modern Law: Primary Sources.
  Carrying Weapons | Nebraska | 1890
  Ordinances of Omaha, Concealed Weapons, § 10.
  It shall be unlawful for any person to wear under his clothes, or concealed about
  his person, any pistol or revolver, colt, billy, slung-shot, brass knuckles or knuckles
  of lead, dirk, dagger, or any knife resembling a bowie knife, or any other
  dangerous or deadly weapon within the corporate limits of the city of Omaha. Any
  person guilty of a violation of this section shall, on conviction, be fined not
  exceeding one hundred ($100) dollars for each and every offense; nothing in this
  section, however, shall be so construed as to prevent the United States Marshals
  and their deputies, sheriffs and their deputies, regular or special police officers of
  the city, from carrying or wearing such weapons as may be deemed necessary in
  the proper discharge of their duties. Provided, however, If it shall be proved from
  the testimony on the trial of any such case, that the accused was, at the time of
  carrying any weapon as aforesaid, engaged in the pursuit of lawful business,
  calling or employment and the circumstances in which he was placed at the time
  aforesaid were such as to justify a prudent man in carrying the weapon or weapons
  aforesaid, for the defense of his person, property or family, the accused shall be
  acquitted.

  Compiled Ordinances of the City of Fairfield, Clay County, Nebraska Page 34,
  Image 34 (1899) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Nebraska | 1899
  Ordinance No. 20, An Ordinance to Prohibit the Carrying of Concealed Weapons
  and Fixing a Penalty for the violations of the same. Be it ordained by the Mayor
  and Council of the City of Fairfield, Nebraska: § 1.
  It shall be unlawful for any person to carry upon his person any concealed pistol,
  revolver, dirk, bowie knife, billy, sling shot, metal knuckles, or other dangerous or
  deadly weapons of any kind, excepting only officers of the law in the discharge or
  their duties; and any person so offending shall be deemed guilty of a misdemeanor,
  and on conviction thereof, shall be subject to the penalty hereinafter provided. § 2.
  Any such weapon or weapons, duly adjudged by the Police Judge of said city to
  have been worn or carried by any person in violation of the first section of this
  ordinance, shall be forfeited or confiscated to the City of Fairfield and shall be so
  adjudged.




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  NEVADA

  Bonnifield, The Compiled Laws of the State of Nevada. Embracing Statutes of
  1861 to 1873, Inclusive Page 563, Image 705 (Vol. 1, 1873) available at The
  Making of Modern Law: Primary Sources.
  Of Crimes and Punishments, §§ 35-36.
  § 35. If any person shall by previous appointment or agreement, fight a duel with a
  rifle, shotgun, pistol, bowie knife, dirk, smallsword, backsword, or other dangerous
  weapon, and in doing shall kill his antagonist, or any person or persons, or shall
  inflict such wound as that the party or parties injured shall die thereof within one
  year thereafter, every such offender shall be deemed guiltily of murder in the first
  degree and upon conviction thereof shall be punished accordingly.
  § 36. Any person who shall engage in a duel with any deadly weapon although no
  homicide ensue or shall challenge another to fight such duel, or shall send or
  deliver any verbal or written message reporting or intending to be such challenge,
  although no duel ensue, shall be punished by imprisonment in the State prison not
  less than two nor more than ten years, and shall be incapable of voting or holding
  any office of trust or profit under the laws of this State.

  David E. Baily, The General Statutes of the State of Nevada. In Force. From 1861
  to 1885, Inclusive. With Citations of the Decisions of the Supreme Court Relating
  Thereto Page 1077, Image 1085 (1885) available at The Making of Modern Law:
  Primary Sources.
  Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
  Nevada | 1881
  An Act to prohibit the carrying of concealed weapons by minors. § 1.
  Every person under the age of twenty-one (21) years who shall wear or carry any
  dirk, pistol, sword in case, slung shot, or other dangerous or deadly weapon
  concealed upon his person, shall be deemed guilty of a misdemeanor, and shall,
  upon conviction thereof, be fined not less than twenty nor more than two hundred
  ($200) dollars, or by imprisonment in the county jail not less than thirty days nor
  more than six months or by both such fine and imprisonment.

  NEW JERSEY

  The Grants, Concessions, And Original Constitutions Of The Province Of New
  Jersey Page 289-290 (1881) (1686)
  An Act Against Wearing Swords, Etc. Whereas there hath been great complaint by
  the inhabitants of this Province, that several persons wearing swords, daggers,
  pistols, dirks, stilettoes, skeines, or any other unusual or unlawful weapons, by
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  reason of which several persons in this Province, receive great abuses, and put in
  great fear and quarrels, and challenges made, to the great abuse of the inhabitants
  of this Province. . . And be it further enacted by the authority aforesaid, that no
  person or persons after publication hereof, shall presume privately to wear any
  pocket pistol, skeines, stilettoes, daggers or dirks, or other unusual or unlawful
  weapons within this Province, upon penalty for the first offence five pounds, and to
  be committed by any justice of the peace, his warrant before whom proof thereof
  shall be made, who is hereby authorized to enquire of and proceed in the same, and
  keep in custody till he hath paid the said five pounds, one half to the public
  treasury for the use of this Province, and the other half to the informer: And if such
  person shall again offend against this law, he shall be in like manner committed
  upon proof thereof before any justice of the peace to the common jail, there to
  remain till the next sessions, and upon conviction thereof by verdict of twelve men,
  shall receive judgment to be in prison six month, and pay ten pounds for the use
  aforesaid. And be it further enacted by the authority aforesaid, that no planter shall
  ride or go armed with sword, pistol or dagger, upon the penalty of five pounds, to
  be levied as aforesaid, excepting all officers, civil and military, and soldiers while
  in actual service, as also all strangers, travelling upon their lawful occasions
  through this Province, behaving themselves peaceably.

  Charles Nettleton, Laws of the State of New-Jersey Page 474, Image 501 (1821)
  available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | New Jersey | 1799
  [An Act to Describe, Apprehend and Punish Disorderly Persons (1799)], § 2.
  And whereas diverse ill disposed persons are frequently apprehended, having upon
  them implements for house-breaking, or offensive weapons, or are found in or
  upon houses, warehouses, stables, barns or out-houses, areas of houses, coach-
  houses, smoke-houses, enclosed yards, or gardens belonging to houses, with intent
  to commit theft, misdemeanors or other offences; and although their evil purposes
  are thereby manifested, the power of the justices of the peace to demand of them
  sureties for their good behavior hath not been of sufficient effect to prevent them
  from carrying their evil purpose into execution; Be it further enacted, That if any
  person shall be apprehended, having upon him or her any picklock, key, crow,
  jack, bit or other implement, with an intent to break and enter into any dwelling-
  house or out-house; or shall have upon him or her any pistol, hanger, cutlass,
  bludgeon, or other offensive weapon, with intent to assault any person; or shall be
  found in or upon any dwelling-house, ware-house, stable, barn, coach-house,
  smoke-house or out-house, or in any enclosed yard or garden, or area belonging to
  any house, with an intent to steal any goods or chattels, then he or she shall be
  deemed and adjudged to be a disorderly person.
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  Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
  under the Act Entitled “An Act to Re-organize the Local Government of Jersey
  City,” Passed March 31, 1871, and the Supplements Thereto Page 41, Image 41
  (1874) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | New Jersey | 1871
  An Ordinance To Prevent the Carrying of Loaded or Concealed Weapons within
  the Limits of Jersey City. The Mayor and Aldermen of Jersey City do ordain as
  follows: § 1.
  That it shall not be lawful for any person or persons (excepting policemen and
  private watchmen when on duty), within the corporate limits of Jersey City, to
  carry, have, or keep concealed on his or her person any instrument or weapon
  commonly known as a slung-shot, billy, sand-club or metal knuckles, and any dirk
  or dagger (not contained as a blade of a pocket-knife), and loaded pistol or other
  dangerous weapon, under the penalty of not exceeding twenty dollars for each
  offense. § 2. That it shall not be lawful for any person or persons (excepting
  policemen and private watchmen when on duty), within the corporate limits of
  Jersey City, to carry or wear any sword in a cane, or air-gun, under the penalty of
  not exceeding twenty dollars for each offense. § 3. Any forfeiture on penalty
  arising under this ordinance may be recovered in the manner specified by the City
  Charter, and all persons violating any of the provisions aforesaid shall, upon
  conviction, stand committed until the same be paid.

  Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
  under the Act Entitled “An Act to Re-organize the Local Government of Jersey
  City,” Passed March 31, 1871, and the Supplements Thereto Page 86- 87, Image
  86-87 (1874) available at The Making of Modern Law: Primary Sources.

  Ordinances of Jersey City, Passed By The Board Of Aldermen since May 1, 1871,
  under the Act Entitled “An Act to Re-organize the Local Government of Jersey
  City,” Passed March 31, 1871, and the Supplements Thereto Page 41, Image 41
  (1874) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | New Jersey | 1871
  An Ordinance To Prevent the Carrying of Loaded or Concealed Weapons within
  the Limits of Jersey City. The Mayor and Aldermen of Jersey City do ordain as
  follows: § 1.
  That it shall not be lawful for any person or persons (excepting policemen and
  private watchmen when on duty), within the corporate limits of Jersey City, to
  carry, have, or keep concealed on his or her person any instrument or weapon
  commonly known as a slung-shot, billy, sand-club or metal knuckles, and any dirk
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  or dagger (not contained as a blade of a pocket-knife), and loaded pistol or other
  dangerous weapon, under the penalty of not exceeding twenty dollars for each
  offense. § 2. That it shall not be lawful for any person or persons (excepting
  policemen and private watchmen when on duty), within the corporate limits of
  Jersey City, to carry or wear any sword in a cane, or air-gun, under the penalty of
  not exceeding twenty dollars for each offense. § 3. Any forfeiture on penalty
  arising under this ordinance may be recovered in the manner specified by the City
  Charter, and all persons violating any of the provisions aforesaid shall, upon
  conviction, stand committed until the same be paid.
  Carrying Weapons, Registration and Taxation | New Jersey | 1873
  An Ordinance In Relation to the Carrying of Dangerous Weapons. The Mayor and
  Aldermen of Jersey City do ordain as follows: § 1. That with the exceptions made
  in the second section of this ordinance, no person shall, within the limits of Jersey
  City, carry, have or keep on his or her person concealed, any slung-shot, sand-club,
  metal knuckles, dirk or dagger not contained as a blade of a pocket knife, loaded
  pistol or other dangerous weapon. § 2. That policemen of Jersey City, when
  engaged in the performance of police duty, the sheriff and constables of the County
  of Hudson, and persons having permits, as hereinafter provided for, shall be and
  are excepted from the prohibitions of the first section of this ordinance. § 3. The
  Municipal Court of Jersey City may grant permits to carry any of the weapons
  named in the first section to such persons as should, from the nature of their
  profession, business or occupation, or from peculiar circumstances, be allowed so
  to do; and may, in granting such permits, impose such conditions and restrictions
  in each case as to the court shall seem proper. All applications for permits shall be
  made in open court, by the applicant in person, and in all cases the court shall
  require a written endorsement of the propriety of granting a permit from at least
  three reputable freeholders; nor shall any such permit be granted to any person
  until the court is satisfied that such person is temperate, of adult age, and capable
  of exercising self-control . Permits shall not be granted for a period longer than one
  year, and shall be sealed by the seal of the court. The possession of a permit shall
  not operate as an excuse unless the terms of the same are strictly complied with. In
  cases of emergency, permits may be granted by a single Justice of the Municipal
  Court, or by the Chief of Police, to be in force not longer than thirty days, but such
  permit shall not be renewable. §4. That no person shall, within the limits of Jersey
  City, carry any air gun or any sword cane. § 5. The penalty for a violation of this
  ordinance shall be a fine not exceeding fifty dollars, or imprisonment in the city
  prison not exceeding ten days, or both fine and imprisonment not exceeding the
  aforesaid amount and time, in the discretion of the court.



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Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 680 of 926 PageID:
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  Mercer Beasley, Revision of the Statutes of New Jersey: Published under the
  Authority of the Legislature; by Virtue of an Act Approved April 4, 1871 Page
  304, Image 350 (1877) available at The Making of Modern Law: Primary Sources.
  Sentence Enhancement for Use of Weapon | New Jersey | 1877
  An Act Concerning Disorderly Persons, § 2.
  And whereas, diverse ill-disposed persons are frequently apprehended, having
  upon them implements for house-breaking, or offensive weapons, or are found in
  or upon houses, warehouses, stables, barns or out-houses, areas of houses, coach-
  houses, smoke-houses, enclosed yards, or gardens belonging to houses (as well as
  places of public resort or assemblage), with intent to commit theft, misdemeanors
  or other offences; and although their evil purposes are thereby manifested, the
  power of the justices of the peace to demand of them sureties for their good
  behavior hath not been of sufficient effect to prevent them from carrying their evil
  purposes into execution; if any person shall be apprehended, having upon him or
  her any picklock, key, crow, jack, bit or other implement with an intent to break
  and enter into any building: or shall have upon him or her any pistol, hanger,
  cutlass, bludgeon, or other offensive weapon, with intent to assault any person; or
  shall be found in or near any dwelling house, warehouse, stable, barn, coach-house,
  smoke-house, or out-house, or in any enclosed yard or garden, or area belonging to
  any house, or in any place of public resort or assemblage for business, worship,
  amusement, or other lawful purposes with intent to steal any goods or chattels, then
  he or she shall be deemed and adjudged a disorderly person.

  1905 N.J. Laws 324-25, A Supplement to an Act Entitled “An Act for the
  Punishment of Crimes,” ch. 172, § 1.
  Any person who shall carry any revolver, pistol or other deadly, offensive or
  dangerous weapon or firearm or any stiletto, dagger or razor or any knife with a
  blade of five inches in length or over concealed in or about his clothes or person,
  shall be guilty of a misdemeanor, and upon conviction thereof shall be punishable
  by a fine not exceeding two hundred dollars or imprisonment at hard labor, not
  exceeding two years, or both;. . . .

  1927 N.J. Laws 742, A Further Supplement to an Act Entitled, “An Act for the
  Punishment of Crimes,” ch. 321, § 1.
  Manufacturing, Inspection and Sale of Gunpowder and Firearms | New Jersey |
  1927
  No pawnbroker shall hereafter sell or have in his possession for sale or to loan or
  give away, any machine gun, automatic rifle, revolver, pistol, or other firearm, or
  other instrument of any kind known as a blackjack, slungshot, billy, sandclub,
  sandbag, bludgeon, metal knuckles, dagger, dirk, dangerous knife, stiletto, bomb or
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  other high explosive. Any pawnbroker violating the provisions of this act shall be
  guilty of a high misdemeanor and punished accordingly.

  NEW MEXICO

  1852 N.M. Laws 67, An Act Prohibiting the Carrying a Certain Class of Arms,
  within the Settlements and in Balls, § 1.
  That each and every person is prohibited from carrying short arms such as pistols,
  daggers, knives, and other deadly weapons, about their persons concealed, within
  the settlements, and any person who violates the provisions of this act shall be
  fined in a sum not exceeding ten dollars, nor less than two dollars, or shall be
  imprisoned for a term not exceeding fifteen days nor less than five days.

  1853 N.M. Laws 406, An Act Prohibiting The Carrying Of Weapons Concealed Or
  Otherwise, § 25.
  That from and after the passage of this act, it shall be unlawful for any person to
  carry concealed weapons on their persons, or any class of pistols whatever, bowie
  knife, cuchillo de cinto (belt buckle knife), Arkansas toothpick, Spanish dagger,
  slung shot, or any other deadly weapon, of whatever class or description that may
  be, no matter by what name they may be known or called under the penalties and
  punishment which shall hereinafter be described.

  1859 N.M. Laws 94, § 1-2.
  § 1. That from and after the passage of this act, it shall be unlawful for any person
  to carry concealed weapons on their persons, of any class of pistols whatever,
  bowie knife (cuchillo de cinto), Arkansas toothpick, Spanish dagger, slung-shot, or
  any other deadly weapon, of whatever class or description they may be, no matter
  by what name they may be known or called, under the penalities and punishment
  which shall hereinafter be described. § 2. Be it further enacted: That if any person
  shall carry about his person, either concealed or otherwise, any deadly weapon of
  the class and description mentioned in the preceeding section, the person or
  persons who shall so offend, on conviction, which shall be by indictment in the
  district court, shall be fined in any sum not less than fifty dollars, nor more than
  one hundred dollars, at the discretion of the court trying the cause, on the first
  conviction under this act; and for the second conviction, the party convicted shall
  be imprisoned in the county jail for a term of not less than three months, nor more
  than one year, also at the discretion of the court trying the cause.




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  1864-1865 N.M. Laws 406-08, An Act Prohibiting the Carrying of Weapons
  Concealed or Otherwise, ch. 61, § 25, 1864.
  That from and after the passage of this act, it shall be unlawful for any person to
  carry concealed weapons on their persons, or any class of pistols whatever, bowie
  knife (cuchillo de cinto), Arkansas toothpick, Spanish dagger, slungshot, or any
  other deadly weapon, of whatever class or description that may be, no matter by
  what name they may be known or called, under the penalties and punishment
  which shall hereinafter be described.

  An Act to Prohibit the Unlawful Carrying and Use of Deadly Weapons, Feb. 18,
  1887, reprinted in Acts of the Legislative Assembly of the Territory of New
  Mexico, Twenty-Seventh Session 55, 58 (1887).
  Brandishing, Carrying Weapons, Dangerous or Unusual Weapons, Firing
  Weapons, Transportation | New Mexico | 1887
  § 8. Deadly weapons, within the meaning of this act, shall be construed to mean all
  kinds and classes of pistols, whether the same be a revolved, repeater, derringer, or
  any kind or class of pistol or gun; any and all kinds of daggers, bowie knives,
  poniards, butcher knives, dirk knives, and all such weapons with which dangerous
  cuts can be given, or with which dangerous thrusts can be inflicted, including
  sword canes, and any kind of sharp pointed canes; as also slung shots, bludgeons
  or any other deadly weapons with which dangerous wounds can be inflicted. . . .

  NEW YORK

  The Colonial Laws Of New York From The Year 1664 To The Revolution,
  Including The Charters To The Duke Of York, The Commissions And Instructions
  To Colonial Governors, The Dukes Laws, The Laws Of The Dongan And Leisler
  Assemblies, The Charters Of Albany And New York And The Acts Of The
  Colonial Legislatures From 1691 To 1775 Inclusive Page 687, Image 689 (1894)
  available at The Making of Modern Law: Primary Sources.
  Race and Slavery Based | New York | 1664
  Laws of the Colony of New York. And be it further enacted by the authority
  aforesaid that it shall not be lawful for any slave or slave to have or use any gun,
  pistol, sword, club or any other kind of weapon whatsoever, but in the presence or
  by the direction of his her or their Master or Mistress, and in their own ground on
  Penalty of being whipped for the same at the discretion of the Justice of the Peace
  before whom such complaint shall come or upon the view of the said justice not
  exceeding twenty lashes on the bare back for every such offense.



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Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 683 of 926 PageID:
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  Montgomery Hunt Throop, The Revised Statutes of the State of New York; As
  Altered by Subsequent Legislation; Together with the Other Statutory Provisions
  of a General and Permanent Nature Now in Force, Passed from the Year 1778 to
  the Close of the Session of the Legislature of 1881, Arranged in Connection with
  the Same or kindred Subjects in the Revised Statutes; To Which are Added
  References to Judicial Decisions upon the Provisions Contained in the Text,
  Explanatory Notes, and a Full and Complete Index Page 2512, Image 677 (Vol. 3,
  1882) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | New York | 1866
  An Act to Prevent the Furtive Possession and use of slung-shot and other
  dangerous weapons. Ch. 716, § 1.
  Every person who shall within this state use, or attempt to use or with intent to use
  against any other person shall knowingly and secretly conceal on his person, or
  with like intent shall willfully and furtively possess any possess any instrument or
  weapon of the kind commonly known as slung-shot, billy, sand club or metal
  knuckles, and any dirk or dagger (not contained as a blade of a pocket knife), or
  sword-cane or air-gun shall be deemed guilty of felony, and on conviction thereof
  be punished by imprisonment in the state prison, or penitentiary or county jail, for
  a term not more than one year, or by a fine not exceeding five hundred dollars, or
  by both such fine and imprisonment. § 2. The having possession of any of the
  weapons mentioned in the first section of this act by any other than a public
  officer, willfully and secretly concealed on the person or knowingly and furtively
  carried thereon, shall be presumptive evidence of so concealing and possessing or
  carrying the same with the intent to use the same in violation of the provisions of
  this act.

  George S. Diossy, The Statute Law of the State of New York: Comprising the
  Revised Statutes and All Other Laws of General Interest, in Force January 1, 1881,
  Arranged Alphabetically According to Subjects Page 321, Image 324 (Vol. 1,
  1881) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | New York | 1881
  Offenses Against Public Decency; Malicious Mischief, and Other Crimes not
  Before Enumerated, Concealed Weapons, § 9.
  Every person who shall within this state use, or attempt to use, or with intent to use
  against any other person, shall knowingly and secretly conceal on his person, or
  with like intent shall willfully and furtively possess any instrument or weapon of
  the kind commonly known as a slung-shot, billy, sand club or metal knuckles, and
  any dirk shall be deemed guilty of felony, and on conviction thereof may be
  punished by imprisonment in the state prison, or penitentiary or county jail, for a


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  term not more than one year, or by a fine not exceeding five hundred dollars, or by
  both such fine and imprisonment.

  George R. Donnan, Annotated Code of Criminal Procedure and Penal Code of the
  State of New York as Amended 1882-5 Page 172, Image 699 (1885) available at
  The Making of Modern Law: Primary Sources.
  Carrying, Using, Etc., Certain Weapons, § 410.
  A person who attempts to use against another, or who, with intent so to use,
  carries, conceals or possesses any instrument or weapon of the kind commonly
  known as the slung-shot, billy, sand –club or metal knuckles, or a dagger, dirk or
  dangerous knife, is guilty of a felony. Any person under the age of eighteen years
  who shall have, carry or have in his possession in any public street, highway or
  place in any city of this state, without a written license from a police magistrate of
  such city, any pistol or other fire-arm of any kind, shall be guilty of a
  misdemeanor. This section shall not apply to the regular and ordinary
  transportation of fire-arms as merchandise, or for use without the city limits. § 411.
  Possession, Presumptive Evidence. The possession, by any person other than a
  public officer, of any of the weapons specified in the last section, concealed or
  furtively carried on the person, is presumptive evidence of carrying, or concealing,
  or possessing, with intent to use the same in violation of that section.

  Charter and Ordinances of the City of Syracuse: Together with the Rules of the
  Common Council, the Rules and Regulations of the Police and Fire Departments,
  and the Civil Service Regulations Page 215, Image 216 (1885) available at The
  Making of Modern Law: Primary Sources.
  [Offenses Against the Public Peace and Quiet,] § 7.
  Any person who shall carry about his or her person any dirk, bowie knife, sword or
  spear cane, pistol, revolver, slung shot, jimmy, brass knuckles, or other deadly or
  unlawful weapon, or shall use any deadly or unlawful weapon, with intent to do
  bodily harm to any person, shall be subject to a fine of not less than twenty-five
  nor more than one hundred dollars, or to imprisonment in the penitentiary of the
  county for not less than thirty days nor longer than three months, or to both such
  fine and imprisonment.

  1900 N.Y. Laws 459, An Act to Amend Section Four Hundred and Nine of the
  Penal Code, Relative to Dangerous Weapons, ch. 222, § 1.
  Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
  New York | 1900
  Making, et cetera, dangerous weapons. – A person who manufactures, or causes to
  be manufactured, or sells or keeps for sale, or offers, or gives, or disposes of any
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  instrument or weapon of the kind usually known as slunghsot, billy, sand-club or
  metal knuckes, or who, in any city or incorporated village in this state, without the
  written consent of the police magistrate, sells or gives any pistol or other firearm,
  to any person under the age of eighteen years or without a like consent sells or
  gives away any air-gun, or spring-gun, or other instrument or weapon in which the
  propelling force is a spring or air to any person under the age of twelve years, or
  who sells or gives away any instrument or weapon commonly known as a toy
  pistol, in or upon which any loaded or blank cartridges are used or may be used, to
  any person under the age of sixteen years, is guilty of a misdemeanor.

  1911 N.Y. Laws 442, An Act to Amend the Penal Law, in Relation to the Sale and
  Carrying of Dangerous Weapons. ch. 195, § 1.
  Possession by, Use of, and Sales to Minors and Others Deemed Irresponsible |
  New York | 1911
  Section[] eighteen hundred and ninety-six . . . [is] hereby amended . . . § 1896.
  Making and disposing of dangerous weapons. A person who manufactures, or
  causes to be manufactured, or sells or keeps for sale, or offers, or gives, or disposes
  of any instrument or weapon of the kind usually known as a blackjack, slungshot,
  billy, sandclub, sandbag, bludgeon, or metal knuckles, to any person; or a person
  who offers, sells, loans, leases or gives any gun, revolver, pistol or other firearm or
  any airgun, spring-gun or other instrument or weapon in which the propelling force
  is a spring or air or any instrument or weapon commonly known as a toy pistol or
  in or upon which any loaded or blank cartridges are used, or may be used, or any
  loaded or blank cartridges or ammunition therefor, to any person under the age of
  sixteen years, is guilty of a misdemeanor.




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  1911 N.Y. Laws 442-43, An Act to Amend the Penal Law, in Relation to the Sale
  and Carrying of Dangerous Weapons. ch. 195, § 1.
  Section . . . eighteen hundred and ninety-seven . . . [is] hereby amended to read as
  follows: § 1897. Carrying and use of dangerous weapons. A person who attempts
  to use against another, or who carries, or possesses any instrument or weapon of
  the kind commonly known as a blackjack, slunghsot, billy, sandclub, sandbag,
  metal knuckles or bludgeon, or who with intent to use the same unlawfully against
  another, carries or possesses a dagger, dirk, dangerous knife, razor, stiletto, or any
  other dangerous or deadly instrument or weapon, is guilty of a felony. Any person
  under the age of sixteen years, who shall have, carry, or have in his possession, any
  of the articles named or described in the last section, which is forbidden therein to
  offer, sell, loan, lease or give to him, shall be guilty of a misdemeanor. . . . Any
  person over the age of sixteen years, who shall have or carry concealed upon his
  person in any city, village, or town of this state, any pistol, revolver, or other
  firearm without a written license therefor, theretofore issued to him by a police
  magistrate of such city or village, or by a justice of the peace of such town, or in
  such manner as may be prescribed by ordinance of such city, village or town, shall
  be guilty of a felony.

  1913 N.Y. Laws 1627-30, vol. III, ch. 608, § 1, Carrying and Use of Dangerous
  Weapons
  Carrying Weapons, Dangerous or Unusual Weapons | New York | 1913
  § 1. A person who attempts to use against another, or who carries or possesses, any
  instrument or weapon of the kind commonly known as a blackjack, slungshot,
  billy, sandclub, sandbag, metal knuckles, bludgeon, bomb or bombshell, or who,
  with intent to use the same unlawfully against another, carries or possesses a
  dagger, dirk, dangerous knife, razor, stiletto, or any other dangerous or deadly
  instruments or weapon, is guilty of a felony.

  1931 N.Y. Laws 1033, An Act to Amend the Penal Law in Relation to Carrying
  and Use of Glass Pistols, ch. 435, § 1.
  Dangerous or Unusual Weapons | New York | 1931
  A person who attempts to use against another an imitation pistol, or who carries or
  possesses any instrument or weapon of the kind commonly known as a black-jack,
  slungshot, billy, sand club, sandbag, metal knuckles, bludgeon, or who, with intent
  to use the same unlawfully against another, carries or possesses a dagger, dirk,
  dangerous knife, razor, stiletto, imitation pistol, machine gun, sawed off shot-gun,
  or any other dangerous or deadly instrument, or weapon is guilty of a
  misdemeanor, and if he has been previously convicted of any crime he is guilty of
  a felony.
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  NORTH CAROLINA

  James Iredell, A Digested Manual of the Acts of the General Assembly of North
  Carolina, from the Year 1838 to the Year 1846, Inclusive, Omitting All the Acts of
  a Private and Local Nature, and Such as were Temporary and Whose Operation
  Has Ceased to Exist Page 73, Image 73 (1847) available at The Making of Modern
  Law: Primary Sources, 1840.
  Crimes and Punishments, 1840 – 1. – Ch. 30, If any free negro, mulatto, or free
  person of color shall wear, or carry about his or her person, or keep in his or her
  house, any shot gun, musket, rifle, pistol, sword, dagger, or bowie knife, unless he
  or she shall have obtained a license therefor from the Court of Pleas and Quarter
  Sessions of his or her county, within one year preceding the wearing, keeping or
  carrying thereof, he or she shall be guilty of a misdemeanor and may be indicted
  therefor.

  James Iredell, A Digested Manual of the Acts of the General Assembly of North
  Carolina, from the Year 1838 to the Year 1846, Inclusive, Omitting All the Acts of
  a Private and Local Nature, and Such as were Temporary and Whose Operation
  Has Ceased to Exist Page 75, Image 75 (1847) available at The Making of Modern
  Law: Primary Sources, 1846.
  Crimes and Punishments, 1846 – 7- Ch. 42. It shall not be lawful for any person or
  persons to sell or barter and deliver, to any slave, or slaves, any gun cotton, fire
  arms, swords, dirks or other side arms, unless those articles be for the owner or
  employer, and by the written order of the owner or employer of such slave or
  slaves, under the penalty of one hundred dollars for each offence, to be recovered,
  by warrant, before any Justice of the Peace, and applied, one half to the use of the
  party suing for the same, and the other half to the wardens of the poor of the
  county; and, moreover, may be indicted in the County or Superior Courts of Law;
  and the defendant, on conviction, shall be fined or imprisoned at the discretion of
  the Court; the fine, however, not to exceed fifty dollars, or the imprisonment three
  months.

  1858-1859 N.C. Sess. Laws 34-36, Pub. Laws, An Act Entitled Revenue, chap. 25,
  § 27, pt. 15.
  The following subjects shall be annually listed, and be taxed the amounts specified:
  . . . Every dirk, bowie-knife, pistol, sword-cane, dirk-cane and rifle cane, used or
  worn about the person of any one at any time during the year, one dollar and
  twenty-five cents. Arms used for mustering shall be exempt from taxation.


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  1856-1857 N.C. Sess. Laws 34, Pub. Laws, An Act Entitled “Revenue,” ch. 34, §
  23, pt. 4, 1856.
  On every pistol, except such as are used exclusively for mustering, and on every
  bowie-knife, one dollar and twenty five cents; on dirks and swordcanes, sixty five
  cents: Provided, however, That of said arms, only such shall be taxable, as at some
  time within the year have been used, worn or carried about the person of the
  owner, or of some other, by his consent.

  1858-1859 N.C. Sess. Laws 34-36, Pub. Laws, An Act Entitled Revenue, chap. 25,
  § 27, pt. 15, 1858.
  The following subjects shall be annually listed, and be taxed the amounts specified:
  . . . Every dirk, bowie-knife, pistol, sword-cane, dirk-cane and rifle cane, used or
  worn about the person of any one at any time during the year, one dollar and
  twenty-five cents. Arms used for mustering shall be exempt from taxation.

  1860-1861 N.C. Sess. Laws 68, Pub. Laws, An Act to Amend Chapter 107,
  Section 66, of the Revised Code, Relating to Free Negroes Having Arms, ch. 34, §
  1, 1860.
  That chapter 107, section 66, of the Revised Code be amended to read as follows:
  If any free negro shall wear or carry about his person or keep in his house any shot
  gun, musket, rifle, pistol, sword, sword cane, dagger, bowie knife, powder or shot,
  he shall be guilty of a misdemeanor, and upon conviction fined not less than fifty
  dollars.

  North Carolina: N.C. Sess. Laws (1879) chap. 127, as codified in North Carolina
  Code, Crim. Code, chap. 25 (1883) § 1005, Concealed weapons, the carrying or
  unlawfully, a misdemeanor.
  If any one, except when on his own premises, shall carry concealed about his
  person any pistol, bowie knife, dirk, dagger, slungshot, loaded case, brass, iron or
  metallic knuckes or razor or other deadly weapon or like kind, he shall be guilty of
  a misdemeanor, and be fined or imprisoned at the discretion of the court. And if
  anyone not being on his own lands, shall have about his person any such deadly
  weapon, such possession shall be prima facie evidence of the concealment thereof.
  ..

  NORTH DAKOTA

  1895 N.D. Rev. Codes 1293, Penal Code, Crimes Against the Public Health and
  Safety, ch. 40, §§ 7312-13.


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  § 7312. Carrying or using slung shot. Every person who carries upon his person,
  whether concealed or not, or uses or attempts to use against another, any
  instrument or weapon of the kind usually known as slung shot, or of any similar
  kind, is guilty of a felony.
  § 7313. Carrying concealed weapons. Every person who carries concealed about
  his person any description of firearms, being loaded or partly loaded, or any sharp
  or dangerous weapon, such as is usually employed in attack or defense of the
  person, is guilty of a misdemeanor.

  1915 N.D. Laws 96, An Act to Provide for the Punishment of Any Person Carrying
  Concealed Any Dangerous Weapons or Explosives, or Who Has the Same in His
  Possession, Custody or Control, unless Such Weapon or Explosive Is Carried in
  the Prosecution of a Legitimate and Lawful Purpose, ch. 83, §§ 1-3, 5.
  § 1. Any person other than a public officer, who carries concealed in his clothes
  any instrument or weapon of the kind usually known as a black-jack, slung-shot,
  billy, sand club, sand bag, bludgeon, metal knuckles, or any sharp or dangerous
  weapon usually employed in attack or defense of the person, or any gun, revolver,
  pistol or other dangerous fire arm loaded or unloaded, or any person who carries
  concealed nitro-glycerin, dynamite, or any other dangerous or violent explosive, or
  has the same in his custody, possession or control, shall be guilty of a felony. . . .

  OHIO

  1788-1801 Ohio Laws 20, A Law Respecting Crimes and Punishments . . . , ch. 6.
  Sentence Enhancement for Use of Weapon | Ohio | 1788
  Burglary . . . If the person or persons so breaking and entering any dwelling house,
  shop, store or vessel as aforesaid, shall commit, or attempt to commit any personal
  abuse, force, or violence, or shall be so armed with any dangerous weapon or
  weapons as clearly to indicate a violent intention, he, she or they so offending,
  upon conviction thereof, shall moreover, forfeit all his, her or their estate, real and
  personal, to this territory, out of which the party injured shall be recompensed as
  aforesaid, and the offender shall also be committed to any gaol [jail] in the territory
  for a term not exceeding forty years.

  1859 Ohio Laws 56, An Act to Prohibit the Carrying or Wearing of Concealed
  Weapons, § 1.
  Carrying Weapons | Ohio | 1859
  [W]hoever shall carry a weapon or weapons, concealed on or about his person,
  such as a pistol, bowie knife, dirk, or any other dangerous weapon, shall be
  deemed guilty of a misdemeanor, and on conviction of the first offense shall be
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  fined not exceeding two hundred dollars, or imprisoned in the county jail not more
  than thirty days; and for the second offense, not exceeding five hundred dollars, or
  imprisoned in the county jail not more than three months, or both, at the discretion
  of the court.

  Joseph Rockwell Swan, The Revised Statutes of the State of Ohio, of a General
  Nature, in Force August 1, 1860. With Notes of the Decisions of the Supreme
  Court Page 452, Image 464 (1860) available at The Making of Modern Law:
  Primary Sources.
  Carrying Weapons | Ohio | 1859
  An Act to Prohibit the Carrying or Wearing of Concealed Weapons, §§ 1-2.
  § 1. Be it enacted by the General Assembly of the State of Ohio, that whoever shall
  carry a weapon or weapons, concealed on or about his person, such as a pistol,
  bowie knife, dirk, or any other dangerous weapon, shall be deemed guilty of a
  misdemeanor, and on conviction of the first offense shall be fined not exceeding
  two hundred dollars, or imprisoned in the county jail not more than thirty days; and
  for the second offense, not exceeding five hundred dollars, or imprisoned in the
  county jail not more than three months, or both, at the discretion of the court. Sec.
  § 2. If it shall be proved to the jury, from the testimony on the trial of any case
  presented under the [section of this act banning the carrying of concealed
  weapons], that the accused was, at the time of carrying any of the weapon or
  weapons aforesaid, engaged in the pursuit of any lawful business, calling, or
  employment, and that the circumstances in which he was placed at the time
  aforesaid were such as to justify a prudent man in carrying the weapon or weapons
  aforesaid for the defense of his person, property or family, the jury shall acquit the
  accused.

  Michael Augustus Daugherty, The Revised Statutes and Other Acts of a General
  Nature of the State of Ohio: In Force January 1, 1880 Page 1633, Image 431 (Vol.
  2, 1879) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Ohio | 1880
  Offences Against Public Peace, § 6892.
  Whoever carries any pistol, bowie-knife, dirk, or other dangerous weapon,
  concealed on or about his person, shall be fined not more than two hundred dollars,
  or imprisoned not more than five hundred dollars, or imprisoned not more than
  three months, or both.

  OKLAHOMA

  1890 Okla. Laws 495, art. 47
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  Brandishing, Carrying Weapons, Hunting, Possession by, Use of, and Sales to
  Minors and Others Deemed Irresponsible | Oklahoma | 1890
  § 1. It shall be unlawful for any person in the Territory of Oklahoma to carry
  concealed on or about his person, saddle, or saddle bags, any pistol, revolver,
  bowie knife, dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any
  other kind of knife or instrument manufactured or sold for the purpose of defense
  except as in this article provided.
  § 2. It shall be unlawful for any person in the Territory of Oklahoma, to carry upon
  or about his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy,
  metal knuckles, or any other offensive or defensive weapon, except as in this
  article provided.
  § 3. It shall be unlawful for any person within this Territory, to sell or give to any
  minor any of the arms or weapons designated in sections one and two of this
  article.
  § 4. Public officers while in the discharge of their duties or while going from their
  homes to their place of duty, or returning therefrom, shall be permitted to carry
  arms, but at no other time and under to other circumstances: Provided, however,
  That if any public officer be found carrying such arms while under the influence of
  intoxicating drinks, he shall be deemed guilty of a violation of this article as
  though he were a private person.
  § 5. Persons shall be permitted to carry shot-guns or rifles for the purpose of
  hunting, having them repaired, or for killing animals, or for the purpose of using
  the same in public muster or military drills, or while traveling or removing from
  one place to another, and not otherwise.
  § 7. It shall be unlawful for any person, except a peace officer, to carry into any
  church or religious assembly, any school room or other place where persons are
  assembled for public worship, for amusement, or for educational or scientific
  purposes, or into any circus, show or public exhibition of any kind, or into any ball
  room, or to any social party or social gathering, or to any election, or to any place
  where intoxicating liquors are sold, or to any political convention, or to any other
  public assembly, any of the weapons designated in sections one and two of this
  article.
  § 8. It shall be unlawful for any person in this Territory to carry or wear any deadly
  weapons or dangerous instrument whatsoever, openly or secretly, with the intent or
  for the avowed purpose of injuring his fellow man.
  § 9. It shall be unlawful for any person to point any pistol or any other deadly
  weapon whether loaded or not, at any other person or persons either in anger or
  otherwise.



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  1890 Okla. Sess. Laws 475, Crimes Against The Public Health And Safety,
  §§ 18-19.
  § 18. Every person who manufactures or causes to be manufactured, or sells or
  offers or keeps for sale, or gives or disposes of any instrument or weapon of the
  kind usually known as slung shot, or of any similar kind is guilty of a
  misdemeanor.
  § 19. Every person who carries upon his person, whether concealed or not or uses
  or attempts to use against another, any instrument or weapon of the kind usually
  known as slung shot, or of any similar kind, is guilty of a felony.

  General Laws Relating to Incorporated Towns of Indian Territory Page 37, Image
  33 (1890) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Oklahoma | 1890
  Revised Ordinances of the Town of Checotah, Ordinance No. 11, § 3.
  To wear or carry any pistol of any kind whatever, or any dirk, butcher knife or
  bowie knife, or a sword, or a spear in a cane, brass or metal knuckles or a razor,
  slung shot, sand bag, or a knife with a blade over three inches long, with a spring
  handle, as a weapon.

  Leander G. Pitman, The Statutes of Oklahoma, 1890. (From the Laws Passed by
  the First Legislative Assembly of the Territory) Page 495-496, Image 511-512
  (1891) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Oklahoma | 1891
  Concealed Weapons, §§ 1, 2, 4-10.
  § 1. It shall be unlawful for any person in the Territory of Oklahoma to carry
  concealed on or about his person, saddle, or saddle bags, any pistol, revolver,
  bowie knife, dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any
  other kind of knife or instrument manufactured or sold for the purpose of defense
  except as in this article provided.
  § 2. It shall be unlawful for any person in this territory of Oklahoma, to carry upon
  or about his person any pistol, revolver, bowie knife, dirk knife, loaded cane, billy,
  metal knuckles, or any other offensive or defensive weapon, except as in this
  article provided.
  § 4. Public officers while in the discharge of their duties or while going from their
  homes to their place of duty, or returning therefrom, shall be permitted to carry
  arms, but at no other time and under no other circumstances: Provided, however
  That if any public officer be found carrying such arms while under the influence of
  intoxicating drinks, he shall be deemed guilty of a violation of this article as
  though he were a private person.


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  § 5. Persons shall be permitted to carry shot-guns or rifles for the purpose of
  hunting, having them repaired, or for killing animals, or for the purpose of using
  the same in public muster or military drills, or while travelling or removing from
  one place to another, and not otherwise.
  § 6. Any person violating the provisions of any one of the forgoing sections, shall
  on the first conviction be adjudged guilty of a misdemeanor and be punished by a
  fine of not less than twenty-five dollars nor more than fifty dollars, or by
  imprisonment in the county jail not to exceed thirty days or both at the discretion
  of the court. On the second and every subsequent conviction, the party offending
  shall on conviction be fined not less than fifty dollars nor more than two hundred
  and fifty dollars or be imprisoned in the county jail not less than thirty days nor
  more than three months or both, at the discretion of the court.
  § 7. It shall be unlawful for any person, except a peace officer, to carry into any
  church or religious assembly, any school room or other place where persons are
  assembled for public worship, for amusement, or for educational or scientific
  purposes, or into any circus, show or public exhibition of any kind, or into any ball
  room, or to any social party or social gathering, or to any election, or to any place
  where intoxicating liquors are sold, or to any political convention, or to any other
  public assembly, any of the weapons designated in sections one and two of this
  article.
  § 8. It shall be unlawful for any person in this territory to carry or wear any deadly
  weapons or dangerous instrument whatsoever, openly or secretly, with the intent or
  for the avowed purpose of injuring his fellow man.
  § 9. It shall be unlawful for any person to point any pistol or any other deadly
  weapon whether loaded or not, at any other person or persons either in anger or
  otherwise.
  § 10. Any person violating the provisions of section seven, eight, or nine of this
  article; shall on conviction, be punished by a fine of not less than fifty dollars, nor
  more than five hundred and shall be imprisoned in the county jail for not less than
  three nor more than twelve months.

  Wilson's Rev. & Ann. St. Okla.(1903) § 583, c. 25.
  It shall be unlawful for any person in the territory of Oklahoma to carry concealed
  on or about his person, saddle, or saddle bags, any pistol, revolver, bowie knife,
  dirk, dagger, slung-shot, sword cane, spear, metal knuckles, or any other kind of
  knife or instrument manufactured or sold for the purpose of defense except as in
  this article provided.

  OREGON


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  1885 Or. Laws 33, An Act to Prevent Persons from Carrying Concealed Weapons
  and to Provide for the Punishment of the Same, §§ 1-2.
  § 1. It shall be unlawful for any person to carry concealed about his person in any
  manner whatever any revolver, pistol, or other fire-arm, or any knife (other than an
  ordinary pocket knife), or any dirk or dagger, slung-shot or metal knuckles, or any
  instrument by the use of which injury could be inflicted upon the person or
  property of any other person.
  § 2. Any person violating any of the provisions of section one of this act shall be
  deemed guilty of a misdemeanor, and, upon conviction thereof, shall be punished
  by a fine of not less than ten dollars nor more than two hundred dollars, or by
  imprisonment in the county jail not less than five days nor more than one hundred
  days, or by both fine and imprisonment, in the discretion of the court.

  Laws of Oregon (1885), An Act to Prevent Persons from Carrying Concealed
  Weapons, § 1-4, p. 33, as codified in Ore. Code, chap. 8 (1892) § 1969.
  It shall be unlawful for any person to carry concealed about his person in any
  manner whatever any revolver, pistol, or other fire-arm, or any knife (other than an
  ordinary pocket knife), or any dirk or dagger, slung-shot or metal knuckles, or any
  instrument by the use of which injury could be inflicted upon the person or
  property of any other person.

  The Charter of Oregon City, Oregon, Together with the Ordinances and Rules of
  Order Page 259, Image 261 (1898) available at The Making of Modern Law:
  Primary Sources.
  Carrying Weapons | Oregon | 1898
  An Ordinance Providing for the Punishment of Disorderly Persons, and Keepers
  and Owners of Disorderly Houses, § 2.
  It shall be unlawful for any person to carry any sling shot, billy, dirk, pistol or any
  concealed deadly weapon or to discharge any firearms, air gun, sparrow gun,
  flipper or bean shooter within the corporate limits of the city, unless in self-
  defense, in protection of property or an officer in the discharge of his duty;
  provided, however, permission may be granted by the mayor to any person to carry
  a pistol or revolver when upon proper representation it appears to him necessary or
  prudent to grant such permission.

  1917 Or. Sess. Laws 804-808, An Act Prohibiting the manufacture, sale,
  possession, carrying, or use of any blackjack, slungshot, billy, sandclub, sandbag,
  metal knuckles, dirk, dagger or stiletto, and regulating the carrying and sale of
  certain firearms, and defining the duties of certain executive officers, and
  providing penalties for violation of the provisions of this Act, §§ 7-8.
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  Carrying Weapons | Oregon | 1917
  § 7. Any person who attempts to use, or who with intent to use the same
  unlawfully against another, carries or possesses a dagger, dirk, dangerous knife,
  razor, stiletto, or any loaded pistol, revolver or other firearm, or any instrument or
  weapon of the kind commonly known as a blackjack, slung-shot, billy, sandclub,
  sandbag, metal knuckles, bomb or bomb-shell, or any other dangerous or deadly
  weapon or instrument, is guilty of a felony. The carrying or possession of any of
  the weapons specified in this section by any person while committing, or
  attempting or threatening to commit a felony, or a breach of the peace, or any act
  of violence against the person or property of another, shall be presumptive
  evidence of carrying or possessing such weapon with intent to use the same in
  violation of this section.
  Any person who violates the provisions of this section shall be deemed guilty of a
  felony, and upon conviction thereof shall be punished by a fine of not less than
  $50.00 nor more than $500.00, or by imprisonment in the county jail for not less
  than one month nor more than six months, or by imprisonment in the penitentiary
  for not exceeding five years.
  § 8. Whenever any person shall be arrested and it shall be discovered that such
  person possesses or carries or has possessed or carried upon his person any loaded
  pistol, revolver or other firearm, or any weapon named or enumerated in Section 7
  of this Act, in violation of any of the sections of this Act, it shall be the duty of the
  person making the arrest to forthwith lay an information for a violation of said
  section or sections against the person arrested before the nearest or most accessible
  magistrate having jurisdiction of the offense, and such magistrate must entertain
  and examine such information and act thereon in the manner prescribed by law.
  Section 11. Any person not a citizen of the United States of America, who shall be
  convicted of carrying a deadly weapon, as described in Sections 1, 2 and 7 of this
  Act, shall be guilty of a felony and on conviction thereof shall be punished by
  imprisonment in the State prison for a period not exceeding five years.

  PENNSYLVANIA

  1851 Pa. Laws 382, An Act Authorizing Francis Patrick Kenrick, Bishop Of
  Philadelphia, To Convey Certain Real Estate In The Borough Of York, And A
  supplement To The Charter Of Said Borough, § 4.
  That any person who shall willfully and maliciously carry any pistol, gun, dirk
  knife, slung shot, or deadly weapon in said borough of York ,shall be deemed
  guilty of a felon, and being thereof convicted shall be sentenced to undergo an
  imprisonment at hard labor for a term not less than 6 months nor more than one


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  year and shall give security for future good behavior for such sum and for such
  time as the court before whom such conviction shall take place may fix . . . .

  Laws of the City of Johnstown, Pa., Embracing City Charter, Act of Assembly of
  May 23, 1889, for the Government of Cities of the Third Class, General and
  Special Ordinances, Rules of Select and Common Councils and Joint Sessions
  Page 86, Image 86 (1897) available at The Making of Modern Law: Primary
  Sources.
  Carrying Weapons | Pennsylvania | 1897
  An Ordinance for the Security of Persons and Property of the Inhabitants of the
  City of Johnstown; The preservation of the Public Peace and Good Order of the
  City, and Prescribing Penalties for Offenses Against the Same, § 12.
  No person shall willfully carry concealed upon his or her person any pistol, razor,
  dirk or bowie-knife, black jack, or handy billy, or other deadly weapon, and any
  person convicted of such offense shall pay a fine of not less than five dollars or
  more than fifty dollars with costs.

  RHODE ISLAND

  1893 R.I. Pub. Laws 231, An Act Prohibiting The Carrying Of Concealed
  Weapons, chap. 1180, § 1.
  No person shall wear or carry in this state any dirk, bowie knife, butcher knife,
  dagger, razor, sword in cane, air gun, billy, brass or metal knuckles, slung shot,
  pistol or fire arms of any description, or other weapons of like kind and description
  concealed upon his persons . . . [additional fine provided if intoxicated while
  concealed carrying].

  1893 R.I. Pub. Laws 231, An Act Prohibiting The Carrying Of Concealed
  Weapons, chap. 1180, §§1-3.
  Carrying Weapons, Sentence Enhancement for Use of Weapon | Rhode Island |
  1893
  § 1. No person shall wear or carry in this state any dirk, bowie knife, butcher knife,
  dagger, razor, sword in cane, air gun, billy, brass or metal knuckles, slung shot,
  pistol or fire arms of any description, or other weapons of like kind and description
  concealed upon his person: Provided, that officers or watchmen whose duties
  require them to make arrests or to keep and guard prisoners or property, together
  with the persons summoned by such officers to aid them in the discharge of such
  duties, while actually engaged in such duties, are exempted from the provisions of
  this act.


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  § 2. Any person convicted of a violation of the provisions of section 1 shall be
  fined not less than twenty dollars nor more than two hundred dollars, or be
  imprisoned not less than six months nor more than one year.
  § 3. Whenever any person shall be arrested charged with any crime or
  misdemeanor, or for being drunk or disorderly, or for any breach of the peace, and
  shall have concealed upon his person any of the weapons mentioned in section 1,
  such person, upon complaint and conviction , in addition to the penalties provided
  in section 2, shall be subject to a fine of not less than five dollars nor more than
  twenty five dollars, and the confiscation of the weapon so found.

  General Laws of the State of Rhode Island and Providence Plantations to Which
  are Prefixed the Constitutions of the United States and of the State Page 1010-
  1011, Image 1026-1027 (1896) available at The Making of Modern Law: Primary
  Sources.
  Carrying Weapons | Rhode Island | 1896
  Offences Against Public Policy, §§ 23, 24, 26.
  § 23. No person shall wear or carry in this state any dirk, bowie-knife, butcher
  knife, dagger, razor, sword-in-cane, air-gun, billy, brass or metal knuckles, slung-
  shot, pistol or fire-arms of any description, or other weapons of like kind and
  description concealed upon his person: provided, that officers or watchmen whose
  duties require them to make arrests or to keep and guard prisoners or property,
  together with the persons summoned by such officers to aid them in the discharge
  of such duties, while actually engaged in such duties, are exempted from the
  provisions of this and the two following sections.
  § 24. Any person convicted of a violation of the provisions of the preceding section
  shall be fined not less than ten nor more than twenty dollars, or be imprisoned not
  exceeding three months, and the weapon so found concealed shall be confiscated
  ....
  § 26. No negative allegations of any kind need be averred or proved in any
  complaint under the preceding three sections, and the wearing or carrying of such
  concealed weapons or weapons shall be evidence that the wearing or carrying of
  the same is unlawful; but the respondent in any such case my show any fact that
  would render the carrying of the same lawful under said sections.

  1908 (January Session) R.I. Pub. Laws 145, An Act in Amendment of section 23
  of chapter 283 of the General Laws
  Carrying Weapons | Rhode Island | 1908
  § 23. No person shall wear or carry in this state any dirk, dagger, razor, sword-in-
  cane, bowie knife, butcher knife, or knife of any description having a blade of
  more than three inches in length, measuring from the end of the handle, where the
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  blade is attached to the end of said blade, any air gun, billy, brass or metal
  knuckles, slung-shot, pistol or firearms of any description, or other weapons of like
  kind and description, concealed upon his person: Provided, that officers or
  watchmen whose duties require them to arrest or to keep and guard prisoners or
  property, together with the persons summoned by such officers to aid them in the
  discharge of such duties, while actually engaged in such duties, are exempted from
  the provision of this and the two other following sections.

  SOUTH CAROLINA

  1880 S.C. Acts 448, § 1, as codified in S.C. Rev. Stat. (1894). § 129 (2472.)
  § 1. Be it enacted by the Senate and House of Representatives of the State of South
  Carolina, not met and sitting in General Assembly, and by the authority of the
  same, That any person carrying a pistol , dirk, dagger, slung shot, metal knuckles,
  razor, or other deadly weapon usually used for the infliction of personal injury,
  concealed about his person shall be guilty of a misdemeanor and upon conviction
  thereof, before a Court of competent jurisdiction shall forfeit to the County the
  weapon so carried concealed and be fined in a sum not more than two hundred
  dollars, or imprisoned for not more than twelve months, or both, in the discretion
  of the Court.
  § 2. It shall be the duty of every Trial Justice, Sheriff, Constable, or other peace
  officer, to cause all persons violating this Act to be prosecuted therefor whenever
  they shall discover a violation hereof.

  Act of Feb. 20, 1901, ch. 435, §1, 1901 S.C. Acts 748
  Sec. 1. Be it enacted by the General Assembly of the State of South Carolina: That
  from and after the first day of July 1902 it shall be unlawful for any one to carry
  about the person whether concealed or not any pistol less than 20 inches long and 3
  pounds in weight. And it shall be unlawful for any person, firm or corporation to
  manufacture, sell or offer for sale, or transport for sale or use into this State, any
  pistol of less length and weight. Any violation of this Section shall be punished by
  a fine of not more than one hundred dollars, or imprisonment for not more than
  thirty days and in case of a violation by a firm or corporation it shall forfeit the
  sum of one hundred dollars to and for the use of the school fund of the County
  wherein the violation takes place to be recovered as other fines and forfeitures:
  Provided, this Act shall not apply to peace officers in the actual discharge of their
  duties, or to persons while on their own premises.

  1923 S.C. Acts 221


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  If any person shall knowingly sell, offer for sale, give, or in any way dispose of to
  a minor any pistol or pistol cartridge, brass knucks, bowie knife, dirk, loaded cane
  or sling shot, he shall be guilty of a misdemeanor. Any person being the parent or
  guardian, of or attending in loco parentis to any child under the age of twelve years
  who shall knowingly permit such child to have the possession or custody of, or use
  in any manner whatever any gun, pistol, or other dangerous firearm, whether such
  firearm be loaded or unloaded, or any person who shall knowingly furnish such
  child any firearm, shall be guilty of a misdemeanor, and, upon conviction, shall be
  fined not exceeding Fifty Dollars or imprisoned not exceeding thirty days.

  SOUTH DAKOTA

  S.D. Terr. Pen. Code (1877), § 457 as codified in S.D. Rev. Code, Penal Code
  (1903), §§ 470-471.
  § 470. Every person who carries upon his person, whether concealed or not, or uses
  or attempt to use against another, any instrument or weapon of the kind usually
  known as slung shot, or of any similar kind, is guilty of a felony.
  § 471. Every person who carries concealed about his person any description of
  firearms, being loaded or partly loaded, or any sharp or dangerous weapons, such
  as is usually employed in attack or defense of the person, is guilty of a
  misdemeanor.

  S.D. Rev. Code, Penal Code 1150 (1903) §§ 470, 471
  § 470. Every person who carries upon his person, whether concealed or not, or uses
  or attempt to use against another, any instrument or weapon of the kind usually
  known as slung shot, or of any similar kind, is guilty of a felony.
  § 471. Every person who carries concealed about his person any description of
  firearms, being loaded or partly loaded, or any sharp or dangerous weapons, such
  as is usually employed in attack or defense of the person, is guilty of a
  misdemeanor.




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  TENNESSEE

  1837-38 Tenn. Pub. Acts 200-01, An Act to Suppress the Sale and Use of Bowie
  Knives and Arkansas Tooth Picks in this State, ch 137, § 2.
  That if any person shall wear any Bowie knife, Arkansas tooth pick, or other knife
  or weapon that shall in form, shape or size resemble a Bowie knife or Arkansas
  toothpick under his clothes, or keep the same concealed about his person, such
  person shall be guilty of a misdemeanor, and upon conviction thereof shall be fined
  in a sum not less than two hundred dollars, nor more than five hundred dollars, and
  shall be imprisoned in the county jail not less than three months and not more than
  six months.

  1837-1838 Tenn. Pub. Acts 200, An Act to Suppress the Sale and Use of Bowie
  Knives and Arkansas Tooth Picks in this State, ch. 137, § 1.
  That if any merchant, . . . shall sell, or offer to sell . . . any Bowie knife or knives,
  or Arkansas tooth picks . . . such merchant shall be guilty of a misdemeanor, and
  upon conviction thereof upon indictment or presentment, shall be fined in a sum
  not less than one hundred dollars, nor more than five hundred dollars, and shall be
  imprisoned in the county jail for a period not less than one month nor more than
  six months.

  1837-1838 Tenn. Pub. Acts 201, An Act to Suppress the Sale and Use of Bowie
  Knives and Arkansas Tooth Picks in the State, ch. 137, § 4.
  That if any person carrying any knife or weapon known as a Bowie knife,
  Arkansas tooth pick, or any knife or weapon that shall in form, shape or size
  resemble a Bowie knife, on a sudden rencounter [sic], shall cut or stab another
  person with such knife or weapon, whether death ensues or not, such person so
  stabbing or cutting shall be guilty of a felony, and upon conviction thereof shall be
  confined in the jail and penitentiary house of this state, for a period of time not less
  than three years, nor more than fifteen years.

  Seymour Dwight Thompson, A Compilation of the Statute Laws of the State of
  Tennessee, of a General and Permanent Nature, Compiled on the Basis of the Code
  of Tennessee, With Notes and References, Including Acts of Session of 1870-1871
  Page 125, Image 794 (Vol. 2, 1873) available at The Making of Modern Law:
  Primary Sources. [1856]
  Offences Against Public Policy and Economy. § 4864.
  Any person who sells, loans, or gives, to any minor a pistol, bowie-knife, dirk,
  Arkansas tooth-pick, hunter’s knife, or like dangerous weapon, except a gun for
  hunting or weapon for defense in traveling, is guilty of a misdemeanor, and shall
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  be fined not less than twenty-five dollars, and be imprisoned in the county jail at
  the discretion of the court.

  William H. Bridges, Digest of the Charters and Ordinances of the City of
  Memphis, Together with the Acts of the Legislature Relating to the City, with an
  Appendix Page 190, Image 191 (1863) available at The Making of Modern Law:
  Primary Sources.
  Offences Affecting Public Safety: Carrying Concealed Weapons, § 3.
  It shall not be lawful for any person or persons to carry concealed about his or their
  persons any pistol, Bowie-knife, dirk, or any other deadly weapon; and any person
  so offending, shall upon conviction thereof before the Recorder, be fined not less
  than ten nor more than fifty dollars for each and every offence.

  William H. Bridges, Digest of the Charters and Ordinances of the City of
  Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
  Relating to the City, with an Appendix Page 44, Image 44 (1867) available at The
  Making of Modern Law: Primary Sources.
  Police Regulations Of The State, Offences Against Public Peace, §§ 4746, 4747,
  4753, 4757.
  § 4746. Any person who carries under his clothes or concealed about his person, a
  bowie-knife, Arkansas tooth-pick or other knife or weapon of like form and shape
  or size, is guilty of a misdemeanor.
  § 4747. It is a misdemeanor to sell, or offer to sell, or to bring into the State for the
  purpose of selling, giving away or otherwise disposing of any knife or weapon
  mentioned in the preceding section.
  § 4753. No person shall ride or go armed to the terror of the people, or privately
  carry any dirk, large knife, pistol or any dangerous weapon, to the fear or terror of
  any person.
  § 4757. No person shall either publicly or privately carry a dirk, sword-cane,
  Spanish stiletto, belt or pocket pistol, except a knife, conspicuously on the strap of
  a shot-pouch, or on a journey to a place out of his county or State.

  William H. Bridges, Digest of the Charters and Ordinances of the City of
  Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
  Relating to the City, with an Appendix Page 50, Image 50 (1867) available at The
  Making of Modern Law: Primary Sources.
  Police Regulations of the State. Selling Liquors or Weapons to Minors. § 4864.
  Any person who sells, loans or gives to any minor a pistol, bowie-knife, dirk,
  Arkansas toothpick, hunter’s knife, or like dangerous weapon, except a gun for
  hunting or weapon for defense in traveling, is guilty of a misdemeanor and shall be
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  fined not less than twenty-five dollars, and imprisoned in the county jail at the
  discretion of the court.

  William H. Bridges, Digest of the Charters and Ordinances of the City of
  Memphis, from 1826 to 1867, Inclusive, Together with the Acts of the Legislature
  Relating to the City, with an Appendix Page 44, Image 44 (1867) available at The
  Making of Modern Law: Primary Sources.
  Police Regulations Of the State. Offences Against Public Peace. Concealed
  Weapons. §§ 4746-4747.
  § 4746. Any person who carries under his clothes or concealed about his person, a
  bowie-knife, Arkansas tooth-pick or other knife or weapon of like form and shape
  or size, is guilty of a misdemeanor. Selling such weapons misdemeanor.
  § 4747. It is a misdemeanor to sell, or offer to sell, or to bring into the state for the
  purpose of selling, giving away or otherwise disposing of any knife or weapon
  mentioned in the preceding Section.

  James H. Shankland Public Statutes of the State of Tennessee, since the Year 1858.
  Being in the Nature of a Supplement to the Code Page 108, Image 203 (Nashville,
  1871) available at The Making of Modern Law: Primary Sources. 1869
  Elections.
  § 2. That it shall not be lawful for any qualified voter or other person attending any
  election in this State, or for any person attending any fair, race course, or other
  public assembly of the people, to carry about his person, concealed or otherwise,
  any pistol, dirk, Bowie-knife, Arkansas toothpick, or weapon in form, shape, or
  size resembling a Bowie knife or Arkansas tooth-pick, or other deadly or
  dangerous weapon.
  § 3. That all persons convicted under the second section of this act shall be
  punished by fine of not less than fifty dollars, and by imprisonment, or both, at the
  discretion of the court.

  Tenn. Pub. Acts (1879), chap. 186, as codified in Tenn. Code (1884). 5533: It shall
  not be lawful for any person to carry, publicly or privately, any dirk, razor
  concealed about his person, sword cane, loaded cane, slung-shot or brass knucks,
  Spanish stiletto, belt or pocket pistol, revolver, or any kind of pistol, except the
  army or navy pistol used in warfare, which shall be carried openly in hand.




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  William King McAlister Jr., Ordinances of the City of Nashville, to Which are
  Prefixed the State Laws Chartering and Relating to the City, with an Appendix
  Page 340-341, Image 345-346 (1881) available at The Making of Modern Law:
  Primary Sources.
  Ordinances of the City of Nashville, Carrying Pistols, Bowie-Knives, Etc., § 1.
  That every person found carrying a pistol, bowie-knife, dirk-knife, slung-shot,
  brass knucks or other deadly weapon, shall be deemed guilty of a misdemeanor,
  and, upon conviction of such first offense, shall be fined form ten to fifty dollars, at
  the discretion of the court, but upon conviction of every such subsequent offense,
  shall be fined fifty dollars; Provided, however, that no ordinary pocket knife and
  common walking-canes shall be construed to be deadly weapons.

  Claude Waller, Digest of the Ordinances of the City of Nashville, to Which are
  Prefixed the State Laws Incorporating, and Relating to, the City, with an Appendix
  Containing Various Grants and Franchises Page 364-365, Image 372-373 (1893)
  available at The Making of Modern Law: Primary Sources.
  Ordinances of the City of Nashville, § 738.
  Every person found carrying a pistol, bowie-knife, dirk-knife, slung-shot, brass
  knucks, or other deadly weapon, shall be deemed guilty of a misdemeanor, and,
  upon conviction of such first offense, shall be fined from ten to fifty dollars, at the
  discretion of the court; but, upon conviction of every subsequent offense, shall be
  fined fifty dollars; Provided, however, That no ordinary pocket-knife and common
  walking canes shall be construed to be deadly weapons. . .

  TEXAS

  A Digest of the General Statute Laws of the State of Texas: to Which Are
  Subjoined the Repealed Laws of the Republic and State of Texas (Austin, Texas:
  Williamson S. Oldham & George W. White, comp., 1859)
  Texas, Chapter 3, Act of August 28, 1856
  Art. 493. If any person shall assault another with intent to murder, he shall be
  punished by confinement in the Penitentiary, not less than two years, nor more than
  seven years. If the assault be made with a bowie-knife, or dagger, the punishment
  shall be doubled. Page 520
  https://babel.hathitrust.org/cgi/pt?id=mdp.39015073228879&view=1up&seq=538
  &q1=bowie%20knife
  Art. 610. If any person be killed with a bowie knife or dagger, under circumstances
  which would otherwise render the homicide a case of manslaughter, the killing
  shall nevertheless be deemed murder, and punished accordingly. [emphasis in
  original] Page 534
                                            81
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  Article 611. A "bowie-knife" or "dagger," as the terms are here and elsewhere
  used, means any knife intended to be worn on the person, which is capable of
  inflicting death, and not commonly known as a pocket knife. Page 534
  https://babel.hathitrust.org/cgi/pt?id=mdp.39015073228879&view=1up&seq=552
  &q1=bowie%20knife

  1871 Tex. Laws 25, An Act to Regulate the Keeping and Bearing of Deadly
  Weapons.
  § 1. Be it enacted by the Legislature of the State of Texas, That any person
  carrying on or about his person, saddle, or in his saddle bags, any pistol, dirk,
  dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other
  kind of knife manufactured or sold for the purposes of offense or defense, unless
  he had reasonable grounds for fearing an unlawful attack on his person, and that
  such ground of attack shall be immediate and pressing; or unless having or
  carrying the same on or about his person for the lawful defense of the State, as a
  militiaman in actual service, or as a peace officer or policeman, shall be guilty of a
  misdemeanor, and on conviction thereof shall, for the first offense, be punished by
  fine of not less then than twenty-five nor more than one hundred dollars, and shall
  forfeit to the county the weapon or weapons so found on or about his person; and
  for every subsequent offense may, in addition to such fine and forfeiture, be
  imprisoned in the county jail for a term not exceeding sixty days; and in every case
  of fine under this section the fined imposed and collected shall go into the treasury
  of the county in which they may have been imposed; provided, that this section
  shall not be so contrued as to prohibit any person from keeping or bearing arms on
  his or her own premises, or at his or her own place of business, nor to prohibit
  sheriffs or other revenue officers, and other civil officers, from keeping or bearing
  arms while engaged in the discharge of their official duties, nor to prohibit persons
  traveling in the State from keeping or carrying arms with their baggage; provided
  further, that members of the Legislature shall not be included under the term “civil
  officers” as used in this act.
  § 2. Any person charged under the first section of this act, who may offer to prove,
  by way of defense, that he was in danger of an attack on his person, or unlawful
  interference with his property, shall be required to show that such danger was
  immediate and pressing, and was of such a nature as to alarm a person of ordinary
  courage; and that the weapon so carried was borne openly and not concealed
  beneath the clothing; and if it shall appear that this danger had its origin in a
  difficulty first commenced by the accused, it shall not be considered as a legal
  defense.

  Tex. Act of Apr. 12, 1871, as codified in Tex. Penal Code (1879).
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  Art. 163.
  If any person other than a peace officer, shall carry any gun, pistol, bowie knife, or
  other dangerous weapon, concealed or unconcealed, on any day of election , during
  the hours the polls are open, within the distance of one-half mile of any poll or
  voting place, he shall be punished as prescribed in article 161 of the code.

  1879 Tex. Crim. Stat. tit. IX, Ch. 4 (Penal Code)
  Art. 318. If any person in this state shall carry on or about his person, saddle, or in
  his saddle-bags, any pistol, dirk, dagger, slung-shot, sword-cane, spear, brass-
  knuckles, bowie-knife, or any other kind of knife manufactured or sold for the
  purposes of offense or defense, he shall be punished by fine of not less than
  twenty-five nor more than one hundred dollars; and, in addition thereto, shall
  forfeit to the county in which he is convicted, the weapon or weapons so carried.
  Art. 319. The preceding article shall not apply to a person in actual service as a
  militiaman, nor to a peace officer or policeman, or person summoned to his aid, not
  to a revenue or other civil officer engaged in the discharge of official duty, not to
  the carrying of arms on one’s own premises or place of business, nor to persons
  traveling, nor to one who has reasonable ground for fearing an unlawful attack
  upon his person, and the danger is so imminent and threatening as not to admit of
  the arrest of the party about to make such attack, upon legal process.
  Art. 320. If any person shall go into any church or religious assembly, any school
  room, or other place where persons are assembled for amusement or for
  educational or scientific purposes, or into any circus, show, or public exhibition of
  any kind, or into a ball-room, social party, or social gathering, or to any election
  precinct on the day or days of any election, where any portion of the people of this
  state are collected to vote at any election, or to any other place where people may
  be assembled to muster, or to perform any other public duty, or to any other public
  assembly, and shall have or carry about his person a pistol or other fire-arm, dirk,
  dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie-knife, or any other
  kind of a knife manufactured and sold for the purposes of offense and defense, he
  shall be punished by fine not less than fifty nor more than five hundred dollars, and
  shall forfeit to the county the weapon or weapons so found on his person.
  Art. 321. The preceding article shall not apply to peace officers, or other persons
  authorized or permitted by law to carry arms at the places therein designated.
  Art. 322. Any person violating any of the provisions of articles 318 and 320, may
  be arrested without warrant by any peace officer, and carried before the nearest
  justice of the peace for trial; and any peace officer who shall fail to refuse to arrest
  such person on his own knowledge, or upon information from some credible
  person, shall be punished by fine not exceeding five hundred dollars.


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  Art. 323. The provisions of this chapter shall not apply to or be enforced in any
  county which the governor may designate, by proclamation, as a frontier county
  and liable to incursions by hostile Indians.

  1897 Tex. Gen. Laws 221, An Act To Prevent The Barter, Sale And Gift Of Any
  Pistol, Dirk, Dagger, Slung Shot, Sword Cane, Spear, Or Knuckles Made Of Any
  Metal Or Hard Substance To Any Minor Without The Written Consent Of The
  Parent Or Guardian Of Such Minor. . ., chap. 155.
  That if any person in this State shall knowingly sell, give or barter, or cause to be
  sold, given or bartered to any minor, any pistol, dirk, dagger, slung shot, sword-
  cane, spear or knuckles made of any metal or hard substance, bowie knife or any
  other knife manufactured or sold for the purpose of offense or defense, without the
  written consent of the parent or guardian of such minor, or of someone standing in
  lieu thereof, he shall be punished by fine of not less then twenty-five nor more than
  two hundred dollars, or by imprisonment in the county jail not less than ten nor
  more than thirty days, or by both such fine and imprisonment and during the time
  of such imprisonment such offender may be put to work upon any public work in
  the county in which such offense is submitted.

  Theodore Harris, Charter and Ordinances of the City of San Antonio. Comprising
  All Ordinances of a General Character in Force August 7th, Page 220, Image 225
  (1899) available at The Making of Modern Law: Primary Sources.
  Brandishing | Texas | 1899
  Ordinances of the City of San Antonio, Ordinances, ch. 22, § 4.
  If any person shall, within the city limits, draw any pistol, gun, knife, sword-cane,
  club or any other instrument or weapon whereby death may be caused, in a
  threatening manner, or for the purpose of intimidating others, such person shall be
  deemed guilty of an offense.

  UTAH

  Dangerous and Concealed Weapon, Feb. 14, 1888, reprinted in The Revised
  Ordinances Of Salt Lake City, Utah 283 (1893) (Salt Lake City, Utah). § 14.
  Any person who shall carry and slingshot, or any concealed deadly weapon,
  without the permission of the mayor first had and obtained, shall, upon conviction,
  be liable to a fine not exceeding fifty dollars.

  Chapter 5: Offenses Against the Person, undated, reprinted in The Revised
  Ordinances Of Provo City, Containing All The Ordinances In Force 105, 106-7
  (1877) (Provo, Utah).
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  § 182: Every person who shall wear, or carry upon his person any pistol, or other
  firearm, slungshot, false knuckles, bowie knife, dagger or any other dangerous or
  deadly weapon, is guilty of an offense, and liable to a fine in any sum not
  exceeding twenty-five dollars; Provided, that nothing in this section, shall be
  construed to apply to any peace officer, of the United States, the Territory of Utah,
  or of this city.1

  VERMONT

  No. 85.—An Act Against Carrying Concealed Weapons, Ch. 85, p. 95. 1892.
  Section 1. A person who shall carry a dangerous or deadly weapon, openly or
  concealed, with the intent or avowed purpose of injuring a fellow man, shall, upon
  conviction thereof, be punished by a fine not exceeding two hundred dollars, or by
  imprisonment not exceeding two years, or both, in the discretion of the court.
  Sec. 2. A person who shall carry or have in his possession while a member of and
  in attendance upon any school, any firearms, dirk knife, bowie knife, dagger or
  other dangerous or deadly weapon shall, upon conviction thereof, be fined not
  exceeding twenty dollars.
  Approved November 19, 1892.
  https://www.google.com/books/edition/Acts_and_Laws_Passed_by_the_Legislatur
  e/DXFOAQAAIAAJ?hl=en&gbpv=1&dq=Vermont+%22while+a+member+of+an
  d+in+attendance+upon+any+school,%22++%22any+firearms,+dirk+knife,+bowie
  +knife,+dagger+or+other+dangerous+or+deadly+weapon%22%C2%A0&pg=PA9
  5&printsec=frontcover

  Ordinances of the City of Barre, Vermont
  Carrying Weapons, Firing Weapons | Vermont | 1895
  CHAPTER 16, § 18.
  No person, except on his own premises, or by the consent and permission of the
  owner or occupant of the premises, and except in the performance of some duty
  required by law, shall discharge any gun, pistol, or other fire arm loaded with ball
  or shot, or with powder only, or firecrackers, serpent, or other preparation whereof
  gunpowder or other explosive substance is an ingredient, or which consists wholly
  of the same, nor shall make any bonfire in or upon any street, lane, common or
  public place within the city, except by authority of the city council.
  CHAPTER 38, SEC. 7. No person shall carry within the city any steel or brass
  knuckles, pistol, slung shot, stilletto, or weapon of similar character, nor carry any
  1
   See http://www.supremecourt.gov/DocketPDF/18/18-
  280/99640/20190514123503867_Charles%20Appendix.pdf.

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  weapon concealed on his person without permission of the mayor or chief of police
  in writing.2




  2
   See http://www.supremecourt.gov/DocketPDF/18/18-
  280/99640/20190514123503867_Charles%20Appendix.pdf.

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  VIRGINIA

  1786 Va. Laws 33, ch. 21, An Act forbidding and punishing Affrays.
  Be it enacted by the General Assembly, that no man, great nor small, of what
  condition soever he be, except the Ministers of Justice in executing the precepts of
  the Courts of Justice, or in executing of their office, and such as be in their
  company assisting them, be so hardy to come before the Justices of any Court, or
  other of their Ministers of Justice, doing their office, with force and arms, on pain,
  to forfeit their armour to the Commonwealth, and their bodies to prison, at the
  pleasure of a Court; nor go nor ride armed by night nor by day, in fair or markets,
  or in other places, in terror of the Country, upon pain of being arrested and
  committed to prison by any Justice on his own view, or proof of others, there to
  abide for so long a time as a Jury, to be sworn for that purpose by the said Justice
  shall direct, and in like manner to forfeit his armour to the commonwealth; but no
  person shall be imprisoned for such offence by a longer space of time than one
  month.

  Collection of All Such Acts of the General Assembly of Virginia, of a Public and
  Permanent Nature, as Are Now in Force; with a New and Complete Index. To
  Which are Prefixed the Declaration of Rights, and Constitution, or Form of
  Government Page 187, Image 195 (1803) available at The Making of Modern Law:
  Primary Sources.
  Race and Slavery Based | Virginia | 1792
  [An Act to Reduce into one, the Several Acts Concerning Slaves, Free Negroes,
  and Mulattoes (1792),] §§ 8-9.
  §8. No negro or mulatto whatsoever shall keep or carry any gun, powder, shot,
  club, or other weapon whatsoever, offensive or defensive, but all and every gun,
  weapon, and ammunition found in the possession or custody of any negro or
  mulatto, may be seized by any person, and upon due proof thereof made before any
  Justice of the Peace of the County or Corporation where such seizure shall be, shall
  by his order be forfeited to the seizor for his own use ; and moreover, every such
  offender shall have and receive by order of such Justice, any number of lashes not
  exceeding thirty-nine, on his or her bare back, well laid on, for every such offense.
  § 9. Provided, nevertheless, That every free negro or mulatto, being a house-
  keeper, may be permitted to keep one gun, powder and shot; and all negroes and
  mulattoes, bond or free, living at any frontier plantation, may be permitted to keep
  and use guns, powder, shot, and weapons offensive or defensive, by license from a
  Justice of Peace of the County wherein such plantation lies, to be obtained upon
  the application of free negroes or mulattoes, or of the owners of such as are slaves.


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  Acts of the General Assembly of Virginia, Passed at the Session of 1838, chap.
  101, at 76; 1838.
  Be it enacted by the general assembly, That if any person shall hereafter habitually
  or generally keep or carry about his person any pistol, dirk, bowie knife, or any
  other weapon of the like kind, from this use of which the death of any person might
  probabily ensue, and the same be hidden or concealed from common observation,
  and he be thereof convicted, he shall for every such offense forfeit and pay the sum
  of not less than fifty dollars nor more than five hundred dollars, or be imprisoned
  in the common jail for a term not less than one month nor more than six months,
  and in each instance at the discretion of the jury; and a moiety of the penalty
  recovered in any prosecution under this act, shall be given to any person who may
  voluntarily institute the same.

  1847 Va. Laws 127, c. 14, § 16.
  If any person shall go armed with any offensive or dangerous weapon without
  reasonable cause to fear an assault or other injury, or violence to his person, or to
  his family or property, he may be required to find sureties for keeping the peace for
  a term not exceeding twelve months, with the right of appealing as before
  provided.

  Staunton, The Charter and General Ordinances of the Town of Lexington, Virginia
  Page 87, Image 107 (1892) available at The Making of Modern Law: Primary
  Sources, 1867.
  Ordinances of The Town of Lexington, VA, Of Concealed Weapons and
  Cigarettes, § 1. If any person carrying about his person, hid from common
  observation, any pistol, dirk, bowie-knife, razor, slung-shot, or any weapon of the
  like kind, he shall be fined not less than twenty dollars nor more than one hundred
  dollars; and any of such weapons mentioned shall be forfeited to the town. Nothing
  in this section shall apply to any officer of the town, county or state while in the
  discharge of his duty.

  The Code of Virginia: With the Declaration of Independence and the Constitution
  of the United States; and the Constitution of Virginia Page 897, Image 913 (1887)
  available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Virginia | 1887
  Offences Against the Peace, § 3780. Carrying Concealed Weapons, How Punished.
  Forfeiture and Sale of Weapons. If any person carry about his person, hid from
  common observation, any pistol, dirk, bowie-knife, razor, slung-shot, or any
  weapon of the like kind, he shall be fined not less than twenty nor more than one
  hundred dollars, and such pistol, dirk, bowie-knife, razor, slung-shot, or any
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  weapon of the like kind, shall be forfeited to the commonwealth and may be seized
  by an officer as forfeited; and upon the conviction of the offender the same shall be
  sold and the proceeds accounted for and paid over as provided in section twenty-
  one hundred and ninety: Provided, that this section shall not apply to any police
  officer, town or city sergeant, constable, sheriff, conservator of the peace, or
  collecting officer, while in the discharge of his official duty.

  WASHINGTON

  1854 Wash. Sess. Law 80, An Act Relative to Crimes and Punishments, and
  Proceedings in Criminal Cases, ch. 2, § 30.
  Brandishing | Washington | 1854
  Every person who shall, in a rude, angry, or threatening manner, in a crowd of two
  or more persons, exhibit any pistol, bowie knife, or other dangerous weapon, shall
  on conviction thereof, be imprisoned in the county jail not exceeding one year, and
  be fined in any sum not exceeding five hundred dollars.

  1859 Wash. Sess. Laws 109, An Act Relative to Crimes and Punishments, and
  Proceedings in Criminal Cases, ch. 2, § 30.
  Brandishing | Washington | 1859
  Every person who shall, in a rude, angry or threatening manner, in a crowd of two
  or more persons, exhibit any pistol, bowie knife or other dangerous weapon, shall,
  on conviction thereof, be imprisoned in the county jail not exceeding one year, and
  be fined in any sum not exceeding five hundred dollars.

  1869 Wash. Sess. Laws 203-04, An Act Relative to Crimes and Punishments, and
  Proceedings in Criminal Cases, ch. 2, § 32.
  Brandishing | Washington | 1869
  Every person who shall, in a rude, angry or threatening manner, in a crowd of two
  or more persons, exhibit any pistol, bowie knife, or other dangerous weapon, shall
  on conviction thereof, be imprisoned in the county jail not exceeding one year and
  be fined in any sum not exceeding five hundred dollars.

  1881 Wash. Code 181, Criminal Procedure, Offenses Against Public Policy,
  ch. 73, § 929.
  Carrying Weapons | Washington | 1881
  If any person carry upon his person any concealed weapon, he shall be deemed
  guilty of a misdemeanor, and, upon conviction, shall be fined not more than one
  hundred dollars, or imprisoned in the county jail not more than thirty days[.]


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  1881 Wash. Sess. Laws 76, An Act to Confer a City Govt. on New Tacoma, ch. 6,
  § 34, pt. 15.
  Carrying Weapons | Washington | 1881
  [T]o regulate the transportation, storage and sale of gunpowder, giant powder,
  dynamite, nitro-glycerine, or other combustibles, and to provide or license
  magazines for the same, and to prevent by all possible and proper means, danger or
  risk of injury or damages by fire arising from carelessness, negligence or otherwise
  . . . to regulate and prohibit the carrying of deadly weapons in a concealed manner;
  to regulate and prohibit the use of guns, pistols and firearms, firecrackers, and
  detonation works of all descriptions[.]

  William Lair Hill, Ballinger’s Annotated Codes and Statutes of Washington,
  Showing All Statutes in Force, Including the Session Laws of 1897 Page 1956,
  Image 731 (Vol. 2, 1897) available at The Making of Modern Law: Primary
  Sources.
  Brandishing | Washington | 1881
  Flourishing Dangerous Weapon, etc. Every person who shall in a manner likely to
  cause terror to the people passing, exhibit or flourish, in the streets of an
  incorporated city or unincorporated town, any dangerous weapon, shall be deemed
  guilty of a misdemeanor, and on conviction thereof shall be punished by a fine in
  any sum not exceeding twenty-five dollars. Justices of the peace shall have
  exclusive original jurisdiction of all offenses arising under the last two preceding
  sections.

  1883 Wash. Sess. Laws 302, An Act to Incorporate the City of Snohomish, ch. 6,
  § 29, pt. 15.
  Carrying Weapons | Washington | 1883
  [The city has power] to regulate and prohibit the carrying of deadly weapons in a
  concealed manner; to regulate and prohibit the use of guns, pistols, and fire-arms,
  fire crackers, bombs and detonating works of all descriptions . . . .

  Albert R. Heilig, Ordinances of the City of Tacoma, Washington Page 333-334,
  Image 334-335 (1892) available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Washington | 1892
  Ordinances of the City of Tacoma, An Ordinance Defining Disorderly Persons and
  Prescribing the Punishment for Disorderly Conduct Within the City of Tacoma. All
  persons (except police officers and other persons whose duty it is to execute
  process or warrants or make arrests) who shall carry upon his person any concealed
  weapon consisting of a revolver, pistol or other fire arms or any knife (other than
  an ordinary pocket knife) or any dirk or dagger, sling shot or metal knuckles, or
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  any instrument by the use of which injury could be inflicted upon the person or
  property of any other person.

  Rose M. Denny, The Municipal Code of the City of Spokane, Washington.
  Comprising the Ordinances of the City (Excepting Ordinances Establishing Street
  Grades) Revised to October 22, 1896 Page 309-310, Image 315-316 (1896)
  available at The Making of Modern Law: Primary Sources.
  Carrying Weapons | Washington | 1896
  Ordinances of Spokane, An Ordinance to Punish the Carrying of Concealed
  Weapons within the City of Spokane, § 1.
  If any person within the City of Spokane shall carry upon his person any concealed
  weapon, consisting of either a revolver, pistol or other fire-arms, or any knife
  (other than an ordinary pocket knife) or any dirk or dagger, sling-shot or metal
  knuckles, or any instrument by the use of which injury could be inflicted upon the
  person or property of any other person, shall be deemed guilty of a misdemeanor,
  and upon conviction thereof shall be fined not less than twenty dollars, nor more
  than one hundred dollars and costs of prosecution, and be imprisoned until such
  fine and costs are paid; provided, that this section shall not apply to police officers
  and other persons whose duty is to execute process or warrants or make arrests, or
  persons having a special written permit from the Superior Court to carry weapons

  Richard Achilles Ballinger, Ballinger’s Annotated Codes and Statutes of
  Washington: Showing All Statutes in Force, Including the Session Laws of 1897
  Page 1956-1957, Image 731-732 (Vol. 2, 1897) available at The Making of
  Modern Law: Primary Sources.
  Carrying Weapons | Washington | 1897
  Carrying Concealed Weapons, § 7084.
  If any person shall carry upon his person any concealed weapon, consisting of
  either a revolver, pistol, or other fire-arms, or any knife, (other than an ordinary
  pocket knife), or any dirk or dagger, sling-shot, or metal knuckles, or any
  instrument by the use of which injury could be inflicted upon the person or
  property of any other person, shall be deemed guilty of a misdemeanor, and upon
  conviction thereof shall be fined not less than twenty dollars nor more than one
  hundred dollars, or imprisonment in the county jail not more than thirty days, or by
  both fine and imprisonment, in the discretion of the court: Provided, That this
  section shall not apply to police officers and other persons whose duty it is to
  execute process or warrants or make arrests.




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  WEST VIRGINIA

  1870 W. Va. Code 692, Of Offenses against the Peace, ch. 148, § 7.
  If any person, habitually, carry about his person, hid from common observation,
  any pistol, dirk, bowie knife, or weapon of the like kind, he shall be fined fifty
  dollars. The informers shall have one half of such fine.

  1870 W. Va. Code 703, For Preventing the Commission of Crimes, ch. 153, § 8.
  If any person go armed with a deadly or dangerous weapon, without reasonable
  cause to fear violence to his person, family, or property, he may be required to give
  a recognizance, with the right of appeal, as before provided, and like proceedings
  shall be had on such appeal.

  1882 W. Va. Acts 421–22
  Carrying Weapons | West Virginia | 1882
  If a person carry about his person any revolver or other pistol, dirk, bowie knife,
  razor, slung shot, billy, metalic or other false knuckles, or any other dangerous or
  deadly weapon of like kind or character, he shall be guilty of a misdemeanor, and
  fined not less that twenty-five nor more than two hundred dollars, and may, at the
  discretion of the court, be confined in jail not less than one, nor more than twelve
  months; and if any person shall sell or furnish any such weapon as is hereinbefore
  mentioned to a person whom he knows, or has reason, from his appearance or
  otherwise, to believe to be under the age of twenty-one years, he shall be punished
  as hereinbefore provided; but nothing herein contained shall be so construed as to
  prevent any person from keeping or carrying about his dwelling house or premises
  any such revolver or other pistol, or from carrying the same from the place of
  purchase to his dwelling house, or from his dwelling house to any place where
  repairing is done, to have it repaired, and back again. And if upon the trial of an
  indictment for carrying any such pistol, dirk, razor or bowie knife, the defendant
  shall prove to the satisfaction of the jury that he is a quiet and peacable citizen, of
  good character and standing in the community in which he lives, and at the time he
  was found with such pistol, dirk, razor or bowie knife, as charged in the
  indictment, he had good cause to believe and did believe that he was in danger of
  death or great bodily harm at the hands of another person, and that he was, in good
  faith, carrying such weapon for self-defense and for no other purpose, the jury shall
  find him not guilty. But nothing in this section contained shall be construed as to
  prevent any officer charged with the execution of the laws of the state from
  carrying a revolver or other pistol, dirk or bowie knife.

  1891 W. Va. Code 915, Of Offences Against the Peace, ch. 148, § 7.
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  Carrying Weapons | West Virginia | 1891
  If a person carry about his person any revolver or other pistol, dirk, bowie knife,
  razor, slung shot, billy, metallic or other false knuckles, or any other dangerous or
  deadly weapon of like kind or character, he shall be guilty of a misdemeanor, and
  fined not less than twenty-five nor more than two hundred dollars, and may, at the
  discretion of the court, be confined in jail not less than one nor more than twelve
  months; and if any person shall sell or furnish any such weapon as is hereinbefore
  mentioned to a person whom he knows, or has reason, from his appearance or
  otherwise, to believe to be under the age of twenty-one years, he shall be punished
  as hereinbefore provided; but nothing herein contained shall be so construed as to
  prevent any person from keeping or carrying about his dwelling house or premises,
  any such revolver or other pistol, or from carrying the same from the place of
  purchase to his dwelling house, or from his dwelling house to any place where
  repairing is done, to have it repaired and back again. And if upon the trial of an
  indictment for carrying any such pistol, dirk, razor or bowie knife, the defendant
  shall prove to the satisfaction of the jury that he is a quiet and peaceable citizen, of
  good character and standing in the community in which he lives, and at the time he
  was found with such pistol, dirk, razor or bowie knife, as charged in the indictment
  he had good cause to believe and did believe that he was in danger of death or
  great bodily harm at the hands of another person, and that he was in good faith,
  carrying such weapon for self-defense and for no other purpose, the jury shall find
  him not guilty. But nothing in this section contained shall be so construed as to
  prevent any officer charged with the execution of the laws of the State, from
  carrying a revolver or other pistol, dirk or bowie knife.

  1925 W.Va. Acts 25-30, 1st Extraordinary Sess., An Act to Amend and Re-Enact
  Section Seven . . . Relating to Offenses Against the Peace; Providing for the
  Granting and Revoking of Licenses and Permits Respecting the Use,
  Transportation and Possession of Weapons and Fire Arms. . . , ch. 3, § 7, pt. a.
  Carrying Weapons, Possession by, Use of, and Sales to Minors and Others Deemed
  Irresponsible, Registration and Taxation | West Virginia | 1925
  § 7 (a). If any person, without a state license therefor, carry about his person any
  revolver or other pistol, dirk, bowie-knife, slung shot, razor, billy, metallic or other
  false knuckles, or any other dangerous or deadly weapon of like kind or character,
  he shall be guilty of a misdemeanor and upon conviction thereof be confined in the
  county jail for a period of not less than six nor more than twelve months for the
  first offense; but upon conviction of the same person for the second offense in this
  state, he shall be guilty of a felony and be confined in the penitentiary not less than
  one or more than five years, and in either case fined not less than fifty nor more
  than two hundred dollars, in the discretion of the court. . . .
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  WISCONSIN

  1858 Wis. Rev. Stat. 985, Of Proceedings to Prevent the Commission of Crime, ch.
  175, § 18.
  If any person shall go armed with a dirk, dagger, sword, pistol or pistols, or other
  offensive and dangerous weapon, without reasonable cause to fear an assault or
  other injury or violence to his person, or to his family or property, he may, on
  complaint of any other person having reasonable cause to fear an injury or breach
  of the peace, be required to find sureties for keeping the peace, for a term not
  exceeding six months, with the right of appealing as before provided.

  1872 Wis. Sess. Laws 17, ch. 7, § 1, An Act to prohibit and prevent the carrying of
  concealed weapons.
  SECTION 1. If any person shall go armed with a concealed dirk, dagger, sword,
  pistol, or pistols, revolver, slung-shot, brass knuckles, or other offensive and
  dangerous weapon, he shall, on conviction thereof, be adjudged guilty of a
  misdemeanor, and shall be punished by imprisonment in the state prison for a term
  of not more than two years, or by imprisonment in the county jail of the proper
  county not more than twelve months, or by fine not exceeding five hundred dollars,
  together with the costs of prosecution, or by both said fine and costs and either of
  said imprisonments; and he may also be required to find sureties for keeping the
  peace and against the further violation of this act for a term not exceeding two
  years: provided, that so going armed shall not be deemed a violation of this act
  whenever it shall be made to appear that such person had reasonable cause to fear
  an assault or other injury or violence to his person, or to his family or property, or
  to any person under his immediate care or custody, or entitled to his protection or
  assistance, or if it be made to appear that his possession of such weapon was for a
  temporary purpose, and with harmless intent.

  1883 Wis. Sess. Laws 713, An Act to Revise, consolidate And Amend The Charter
  Of The City Of Oshkosh, The Act Incorporating The City, And The Several Acts
  Amendatory Thereof, chap. 6, § 3, pt. 56.
  To regulate or prohibit the carrying or wearing by any person under his clothes or
  concealed about his person any pistol or colt, or slung shot, or cross knuckles or
  knuckles of lead, brass or other metal or bowie knife, dirk knife, or dirk or dagger,
  or any other dangerous or deadly weapon and to provide for the confiscation or
  sale of such weapon.



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  Charter and Ordinances of the City of Superior; Also Harbor Act, Municipal Court
  Act, Rules of the Common Council and Board of Education Page 390, Image 481
  (1896) available at The Making of Modern Law: Primary Sources. 1896
  Ordinances of the City of Superior, Carrying Concealed Weapons, § 18. It shall be
  unlawful for any person, other than a policeman or other officer authorized to
  maintain the peace or to serve process, to carry or wear any pistol, sling-shot,
  knuckles, bowie knife, dirk, dagger or any other dangerous weapon within the
  limits of the City of Superior, and any person convicted of a violation of this
  section shall be punished by a fine of not less than ten (10) dollars nor more than
  one hundred (100) dollars.

  WYOMING

  1876 Wyo. Comp. Laws 352, An Act to Prevent the Carrying of Fire Arms and
  Other Deadly Weapons, ch. 52, § 1-3.
  § 1. That hereafter it shall be unlawful for any resident of any city, town or village,
  or for any one not a resident of any city, town or village, in said territory, but a
  sojourner therein, to bear upon his person, concealed or openly, any fire arm or
  other deadly weapon, within the limits of any city, town or village. § 2. That if any
  person not a resident of any town, city or village of Wyoming Territory, shall, after
  being notified of the existence of the last preceding section by a proper peace
  officer, continue to carry or bear upon his person any fire arm or other deadly
  weapon, he or she, shall be deemed to be guilty of a violation of the provisions of
  said section and shall be punished accordingly. § 3. Any person violating any of
  the provisions of this act shall be deemed guilty of misdemeanor, and upon
  conviction thereof, shall be punished by a fine of not less than five dollars nor
  more than fifty dollars, and, in the default of the payment of any fine which may be
  assessed against him, shall be imprisoned in the county jail for not less than five
  days nor more than twenty days.

  1884 Wyo. Sess. Laws, chap. 67, § 1, as codified in Wyo. Rev. Stat., Crimes
  (1887): Exhibiting deadly weapon in angry manner. § 983.
  Whoever shall, in the presence of one or more persons, exhibit any kind of fire-
  arms, Bowie Knife, dirk, dagger, slung-shot or other deadly weapon, in a rude,
  angry or threatening manner not necessary to the defense of his person, family or
  property, shall be deemed guilty of misdemeanor, and on conviction thereof, shall
  be punished by a fine not less than ten dollars, nor more than one hundred dollars,
  or by imprisonment in the county jail not exceeding six months . . . .



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  Wyo. Comp. Laws (1876) chap. 35 § 127, as codified in Wyo. Rev. Stat., Crimes
  (1887) Having possession of offensive weapons. § 1027.
  If any person or persons have upon him any pistol, gun, knife, dirk, bludgeon or
  other offensive weapon, with intent to assault any person, every such person, on
  conviction, shall be fined in any sum not exceeding five hundred dollars, or
  imprisoned in the county jail not exceeding six months.

  A. McMicken, City Attorney, The Revised Ordinances of the City of Rawlins,
  Carbon County, Wyoming Page 131-132; Image 132-133 (1893) available at The
  Making of Modern Law: Primary Sources.
  Carrying Weapons | Wyoming | 1893
  Revised Ordinances of the City of Rawlins, Article VII, Carrying Firearms and
  Lethal Weapons, § 1.
  It shall be unlawful for any person in said city to keep or bear upon the person any
  pistol, revolver, knife, slungshot, bludgeon or other lethal weapon, except the
  officers of the United States, of the State of Wyoming, of Carbon County and of
  the City of Rawlins. § 2. Any person convicted of a violation of the preceding
  section shall be fined not exceeding one hundred dollars, or imprisoned in the city
  jail not exceeding thirty days. § 3. Persons not residing in said city shall be notified
  of this Ordinance by the police or any citizen, and after thirty minutes from the
  time of notification, shall be held liable to the penalties of this article, in case of its
  violation. § 4. The city marshal and policemen of the city shall arrest, without
  warrant, all persons found violating the provisions of this article, and are hereby
  authorized to take any such weapon from the person of the offender and to
  imprison the offender for trial, as in case of violations of other Ordinances of said
  city.

  SOURCE: https://firearmslaw.duke.edu/repository/search-the-repository/




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                               EXHIBIT F
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                                        EXHIBIT F

                              TRAP GUN RESTRICTIONS1


  MARYLAND:

  1910 Md. Laws 521, § 16c.
  Sensitive Places and Times | Maryland | 1910
  § 16c. That it shall be unlawful for any person to hunt, pursue or kill any of the
  birds or animals named in Section 12, 13, 14 and 14A of this Act, or any
  insectivorous birds (excepting English sparrows), in Allegany County on Sunday,
  or on election days, and it shall be prima facie evidence of a violation of this Act if
  any person is found in the fields or woods with on a gun on Sunday or on election
  days, or to hunt or kill in any trap or destroy any of the birds . . .

  MICHIGAN:

  1875 Mich. Pub. Acts 136, An Act To Prevent The Setting Of Guns And Other
  Dangerous Devices, § 1.
  Dangerous or Unusual Weapons | Michigan | 1875
  [I]f any person shall set any spring or other gun, or any trap or device operating by
  the firing or explosion of gunpowder or any other explosive, and shall leave or
  permit the same to be left, except in the immediate presence of some competent
  person, he shall be deemed to have committed a misdemeanor; and the killing of
  any person by the firing of a gun or device so set shall be deemed to be
  manslaughter.

  1931 Mich. Pub. Acts 671, The Michigan Penal Code, ch. 37, § 236.
  Dangerous or Unusual Weapons | Michigan | 1931
  Setting spring guns, etc.–Any person who shall set any spring or other gun, or any
  trap or device operating by the firing or explosion of gunpowder or any other
  explosive, and shall leave or permit the same to be left, except in the immediate
  presence of some competent person, shall be guilty of a misdemeanor, punishable
  by imprisonment in the county jail not more than one year, or by a fine of not more
  than five hundred dollars, and the killing of any person by the firing of a gun or
  device so set shall be manslaughter.



  1
      Further research may yield additional laws regulating trap guns.

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  MINNESOTA:

  The Statutes at Large of the State of Minnesota: Comprising the General Statutes
  of 1866 as Amended by Subsequent Legislation to the Close of the Session of
  1873: Together with All Laws of a General Nature in Force, March 7, A.D. 1873
  with References to Judicial Decisions of the State of Minnesota, and of Other
  States Whose Statutes are Similar to Which are Prefixed the Constitution of the
  United States, the Organic Act, the Act Authorizing a State Government, and the
  Constitution of the State of Minnesota Page 993, Image 287 (Vol. 2, 1873)
  available at The Making of Modern Law: Primary Sources.
  Dangerous or Unusual Weapons | Minnesota | 1873
  Of Crimes and Their Punishment, Setting Spring Guns Unlawful, § 64-65.
  § 64. The setting of a so-called trap or spring gun, pistol, rifle, or other deadly
  weapon in this state is hereby prohibited and declared to be unlawful.
  § 65. Any person offending against the foregoing section shall be punished as
  follows: If no injury results therefrom to any person, the person so offending shall
  be punished by imprisonment in the county jail of the proper county for a period
  not less than six months, or by fine not exceeding five hundred dollars, or by both
  fine and imprisonment, at the discretion of the court. If death results to any human
  being from the discharge of a weapon so unlawfully set, the person so offending
  shall, upon conviction thereof, be punished by imprisonment in the state prison for
  a term not exceeding fifteen nor less than ten years. If any person is injured, but
  not fatally, by the discharge of any weapon so unlawfully set, the person so
  offending, upon conviction thereof, shall be punished by imprisonment in the state
  prison for a term not exceeding five years, in the discretion of the court.

  MISSOURI:

  “Shot by a Trap-Gun,” The South Bend Tribune, Feb. 11, 1891: “Chillicothe, Mo.,
  Feb. 11 – In the circuit court George Dowell, a young farmer, was fined $50 under
  an old law for setting a trap-gun. Dowell set the gun in his corn-crib to catch a
  thief, but his wife was the first person to visit the crib and on opening the door was
  shot dead.”2




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      See https://bit.ly/3CtZsfk.

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  NEW HAMPSHIRE:

  1915 N.H. Laws 180-81, An Act to Revise and Amend the Fish and Game Laws,
  ch. 133, pt. 2, § 18.
  Dangerous or Unusual Weapons | New Hampshire | 1915
  A person who violates a provision of this part is guilty of a misdemeanor and shall
  be fined as follows . . . [p]rovided, however, that a person violating the prohibition
  against setting a spring gun the object of which is to discharge a firearm, shall be
  fined not more than five hundred dollars nor less than fifty dollars, and shall be
  liable for twice the amount of the damage caused by his act, to be recovered by the
  person sustaining the injury or loss.

  NEW JERSEY:

  1763-1775 N.J. Laws 346, An Act for the Preservation of Deer and Other Game,
  and to Prevent Trespassing with Guns, ch. 539, § 10.
  Dangerous or Unusual Weapons | New Jersey | 1771
  And Whereas a most dangerous Method of setting Guns has too much prevailed in
  this Province, Be it Enacted by the Authority aforesaid, That if any Person or
  Persons within this Colony shall presume to set any loaded Gun in such Manner as
  that the same shall be intended to go off or discharge itself, or be discharged by
  any String, Rope, or other Contrivance, such Person or Persons shall forfeit and
  pay the Sum of Six Pounds; and on Non-payment thereof shall be committed to the
  common Gaol of the County for Six Months.

  NEW YORK:

  “The Man Trap,” The Buffalo Commercial, Nov. 1, 1870: “Coroner Flynn and the
  jury previously impaneled yesterday morning concluded the inquest on the body of
  George Tweedle, the burglar, who was shot by the trap-gun in the shop of Joseph J.
  Agostino . . . . A Springfield musket was fastened to the sill, inside, with the
  muzzle three inches from the shutter. The other end of the barrel rested on a block
  of wood, and one end of a string was tied to the hammer, passed over a small
  pulley, and the other end fastened to the shutter, so that, on opening the latter, the
  discharge would follow. . . . The jury retired, and in a short time returned with a
  verdict setting forth the cause of death to have been a musket shot wound from a
  weapon placed as a trap by Joseph D. Agostino. As there is a statute against the
  use of such infernal machines, which might cause loss of life to some innocent



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  person, the jury censured Agostino. He will not be released, however, but will be
  held under $2,000 bail.”3

  NORTH DAKOTA:

  1891 N.D. Laws 193, An Act to Amend Sections 1 and 2 of Chapter 63 of the
  General Laws of 1883, ch. 70, § 1.
  Dangerous or Unusual Weapons | North Dakota | 1891
  That it shall be unlawful for any person or persons to kill, ensnare or trap in any
  form or manner, or by any device whatever, or for any purpose, any buffalo, elk,
  deer, antelope or mountain sheep between the 1st day of January and the 1st day of
  September of each and every year. And it shall be unlawful for any person or
  persons, at any time, to use or employ any hound or dogs of any kind in running or
  driving any buffalo, elk, deer, antelope or mountain sheep, or to set any gun or
  guns or gun trap to be discharged upon or by, any buffalo, elk, deer, antelope or
  mountain sheep as driven or pursued in any manner whatever.

  The Revised Codes of the State of North Dakota 1895 Together with the
  Constitution of the United States and of the State of North Dakota with the
  Amendments Thereto Page 1259, Image 1293 (1895) available at The Making of
  Modern Law: Primary Sources.
  Dangerous or Unusual Weapons | North Dakota | 1895
  Setting Spring Gun, Trap or Device. Every person who sets any spring or other gun
  or trap or device operating by the firing or exploding of gunpowder or any other
  explosive, and leaves or permits the same to be left, except in the immediate
  presence of some competent person, shall be deemed to have committed a
  misdemeanor; and the killing of any person by the firing of a gun or other device
  so set shall be deemed to be manslaughter in the first degree.

  OREGON:

  1925 Or. Laws 42, An Act Prohibiting the Placing of Spring-Guns or Set-Guns;
  and Providing a Penalty Therefor, ch. 31, §§ 1-2.
  Dangerous or Unusual Weapons | Oregon | 1925
  § 1. It shall be unlawful for any person to place or set any loaded spring-gun or set-
  gun, or any gun or firearm or other device of any kind designed for containing or
  firing explosives in any place whatsoever where the same may be fired, exploded
  or discharged by the contract of any person or animal with any string, wire, rod,
  3
      See https://bit.ly/3yUSGNF.

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  stick, spring or other contrivance affixed thereto or connected therewith or with the
  trigger thereof.
  § 2. Any person who shall violate any of the provisions of this act shall be deemed
  guilty of a misdemeanor and shall be punished by a fine of not less than $100 nor
  more than $500, or by imprisonment in the county jail not less than thirty days nor
  more than six months, or by both such fine and imprisonment; provided, however,
  that this act shall not apply to any loaded spring-gun or set-gun or firearm or any
  device placed for the purpose of destroying gophers, moles or other burrowing
  rodents.


  RHODE ISLAND:

  1890 R.I. Pub. Laws 17, An Act In Amendment Of And IN Addition to Chapter 94
  Of The Public Statutes Of Birds, § 6;
  1892 R.I. Pub. Laws 14, An Act In Amendment Of Chapter 92 Of The Public
  Statutes, Entitled “Of Firearms And Fireworks, § 6.
  Hunting | Rhode Island | 1890, 1892
  § 6. Every person who shall at any time of year, take, kill or destroy any quail or
  partridge, by means of any trap, snare, net or spring, or who shall construct, erect,
  set, repair, maintain or tend any trap, snare, net, or spring for the purpose of taking,
  killing or destroying any quail or patridge, or who shall shoot any water fowl by
  means or by the use of any battery, swivel, punt or pivot gun, shall be fined for
  each offence, twenty dollars. Provided, however, that at such seasons as the taking,
  killing or destroying of such birds is prohibited by this chapter, any person may
  snare on his own land.

  SOUTH CAROLINA:

  Edmund William McGregor Mackey, The Revised Statutes of the State of South
  Carolina, Prepared by Commissioners under an Act of the General Assembly,
  Approved March 9, 1869, to Which is Prefixed the Constitution of the United
  States and the Constitution of South Carolina Page 404, Image 482 (1873)
  available at The Making of Modern Law: Primary Sources.
  Hunting | South Carolina | 1855
  Hunting, General Provisions, § 21.
  That it shall not be lawful for any non-resident of this State to use a gun, set a trap
  or decoy, or to employ any other device for killing or taking deer, turkeys, ducks or
  other game, not to set a trap, seine, or net, or draw or use the same, or any other
  contrivance for taking or killing fish, within the territorial limits of this State.
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  1931 S.C. Acts 78, An Act Declaring it unlawful for any person, firm, or
  corporation to place a loaded trap gun, spring gun, or any like devise in any
  building, or in any place, and providing punishment for the violation thereof: § 1.
  Dangerous or Unusual Weapons | South Carolina | 1931
  Be it enacted by the General Assembly of the State of South Carolina: That it shall
  be unlawful for any person, firm, or corporation to construct, set, or place a loaded
  trap gun, spring gun, or any like device in any manner in any building, or in any
  place within this State, and any violation to the provisions of this Act shall be
  deemed a misdemeanor and punished by fine of not less than One Hundred
  ($100.00) Dollars and not more than Five Hundred ($500.00) Dollars, or by
  imprisonment of not less than thirty (30) days nor more than one (1) year, or by
  both fine and imprisonment, in the discretion of the Court.

  SOUTH DAKOTA:

  1909 S.D. Sess. Laws 450, An Act for the Preservation, Propagation, Protection,
  Taking, Use and Transportation of Game and Fish and Establishing the Office of
  State Game Warden and Defining His Duties, ch. 240, §§ 21-22.
  Hunting | South Dakota | 1909
  § 21. No person shall at any time catch, take or kill any of the birds or animals
  mentioned in this chapter in any other manner than by shooting them with a gun
  held to the shoulder of the person discharging the same.
  § 22. No person shall at any time set, lay or prepare or have in possession, any trap,
  snare, artificial light, net, bird line, swivel gun or set gun or any contrivance
  whatever for the purpose of catching, taking or killing any of the same animals or
  birds in this chapter mentioned, except that decoys and stationary blinds may be
  used in hunting wild geese, brant and ducks. The use of rifles in the hunting of said
  birds is prohibited.

  UTAH:

  An Act in relation to Crimes and Punishment, Ch. XXII, Title VII, Sec. 102, in
  Acts, Resolutions and Memorials Passed at the Several Annual Sessions of the
  Legislative Assembly of the Territory of Utah 59 (Henry McEwan 1866).
  Sentence Enhancement for Use of Weapon | Utah | 1865
  § 102. If any person maliciously injure, deface or destroy any building or fixture
  attached thereto, or wilfully and maliciously injure, destroy or secrete any goods,
  chattels or valuable paper of another, or maliciously, prepare any dead fall, or dig
  any pit, or set any gun, or arrange any other trap to injure another’s person or
                                            6
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  property, he shall be imprisoned not more than one year, or fined not exceeding
  five hundred dollars, or both fined and imprisoned at the discretion of the court;
  and is liable to the party injured in a sum equal to three times the value of the
  property so destroyed or injured or damage sustained, in a civil action.

  1901 Utah Laws 97-98, An Act Defining an Infernal Machine, and Prescribing
  Penalties for the Construction or Contrivance of the Same, or Having Such
  Machine in Possession, or Delivering Such Machine to Any Person . . . , ch. 96,
  §§ 1-3. Dangerous or Unusual Weapons | Utah | 1901
  § 1. Infernal machine defined. That an infernal machine is any box, package,
  contrivance or apparatus, containing or arranged with an explosive or acid or
  poisonous or inflammable substance, chemical, or compound, or knife, or loaded
  pistol or gun or other dangerous or harmful weapon or thing constructed, contrived
  or arranged so as to explode, ignite or throw forth its contents, or to strike with any
  of its parts, unexpectedly when moved, handled or open, or after the lapse of time,
  or under conditions, or in a manner calculated to endanger health, life, limb or
  property.
  § 2. That every person who delivers or causes to be delivered, to any express or
  railway company or other common carrier to any person any infernal machine,
  knowing it to be such, without informing such common carrier or person of the
  nature therof, or sends the same through mail, or throws or places the same on or
  about the premises or property of another, or in any place where another may be
  injured thereby, in his person or property, is guilty of a felony, and upon conviction
  thereof, shall be punished by imprisonment in the state prison for a term not
  exceeding twenty-five years.
  § 3. Penalty for constructing or having in possession – That every person who
  knowingly constructs or contrives any infernal machine, or with intent to injure
  another in his person or property, has any infernal machine in his possession, is
  guilty of a felony, and upon conviction thereof, shall be punished by imprisonment
  in the state prison for a term not exceeding five years.

  VERMONT:

  1884 Vt. Acts & Resolves 74, An Act Relating To Traps, § 1
  Dangerous or Unusual Weapons | Vermont | 1884
  A person who sets a spring gun trap, or a trap whose operation is to discharge a
  gun or firearm at an animal or person stepping into such trap, shall be fined not less
  than fifty nor more than five hundred dollars, and shall be further liable to a person
  suffering damage to his own person or to his domestic animals by such traps, in a
  civil action, for twice the amount of such damage. If the person injured dies, his
                                            7
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  personal representative may have the action, as provided in sections two thousand
  one hundred and thirty-eight and two thousand one hundred and thirty-nine of the
  Revised Laws.

  1912 Vt. Acts and Resolves 261
  Dangerous or Unusual Weapons | Vermont | 1912
  . . . and provided further that a person violating the prohibition against setting a
  spring gun or other device the object of which is to discharge a firearm shall be
  fined not more than five hundred dollars nor less than fifty dollars, and shall also
  be liable for twice the amount of the damage caused by his act to be recovered by
  the person sustaining the injury or loss, in an action on this section.


  WASHINGTON:

  1909 Wash. Sess. Laws 973, An Act Relating to Crimes and Punishments and the
  Rights and Custody of Persons Accused or Convicted of Crime, and Repealing
  Certain Acts, ch. 249, ch. 7, §266, pts. 1-3.
  Dangerous or Unusual Weapons | Washington | 1909
  § 266. Setting Spring Guns. Every person who shall set a so-called trap, spring
  pistol, rifle, or other deadly weapon, shall be punished as follows: 1. If no injury
  result therefrom to any human being, by imprisonment in the county jail for not
  more than one year or by a fine of not more than one thousand dollars, or by both.
  2. If injuries not fatal result therefrom to any human being, by imprisonment in the
  state penitentiary for not more than twenty years. 3. If the death of a human being
  results therefrom, by imprisonment in the state penitentiary for not more than
  twenty years.




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  WISCONSIN:

  David Taylor, The Revised Statutes of the State of Wisconsin, as Altered and
  Amended by Subsequent Legislation, Together with the Unrepealed Statutes of a
  General Nature Passed from the Time of the Revision of 1858 to the Close of the
  Legislature of 1871, Arranged in the Same Manner as the Statutes of 1858, with
  References, Showing the Time of the Enactment of Each Section, and Also
  References to Judicial Decisions, in Relation to and Explanatory of the Statutes
  Page 1964, Image 859 (Vol. 2, 1872) available at The Making of Modern Law:
  Primary Sources.
  Dangerous or Unusual Weapons | Wisconsin | 1872
  Offenses Cognizable Before Justices, Miscellaneous. § 53. Any person or persons
  in this State who shall hereafter set any gun, pistol or revolver, or any other
  firearms, for the purpose of killing deer or any other game, or for any other
  purpose, shall be deemed guilty of a misdemeanor, and upon conviction shall be
  fined in a sum not exceeding fifty dollars, and shall be imprisoned in the county
  jail of the proper county for a term of not less than twenty days.

  1921 Wis. Sess. Laws 870, An Act . . . Relating to Wild Animals, ch. 530, § 1.
  Hunting | Wisconsin | 1921
  (29.22)(1) No person shall hunt game with any means other than the use of a gun
  held at arm’s length and discharged from the shoulder; or place, spread or set any
  net, pitfall, spring gun, pivot gun, swivel gun, or other similar contrivance for the
  purpose of catching, or which might catch, take or ensnare game . . . and no person
  shall carry with him in any automobile any gun or rifle unless the same is
  unloaded, and knocked down or unloaded and inclosed within a carrying case[.]




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Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 729 of 926 PageID:
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                               EXHIBIT G
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 730 of 926 PageID:
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                                             EXHIBIT H
                                  EXHIBIT H: BOWIE KNIFE LAWS BY TYPE#
STATE           No Concealed No Carry      Greater    Tax/Punish Tax        No Sale to No
                Carry                      Criminal   for Sale   Owner-     Barred     brandish
                                           Penalty               ship       Groups*
Alabama         1839,1841                  1837       1837,1897 1837,1867   1876
                1876,1879
Alaska
Arizona         1893,1901      1889
Arkansas        1875           1881        1871       1881
California      1896                                                        1896       1855,1858
Colorado        1862,1877      1881
Connecticut
Delaware
District of     1871
Columbia
                                                                                                                                       3521




Florida                                               1838a
Georgia         1837***,1873                          1837***               1860
Hawaii                         1852,1913
Idaho           1909           1879
Illinois        1876,1881                                                   1881
                1883
Indiana                        1859
Iowa            1882,1887
                1900
Kansas          1862,1863                                                   1883
                1887
Kentucky                                                                    1859
Louisiana       1855           1870
Maine
Maryland        1872,1884
                1886,1890
Massachusetts
                                                                                                   Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 733 of 926 PageID:
Michigan        1891
Minnesota       1884
Mississippi     1878,1896^               1837,1838           1841**                1840
Missouri        1871,1883    1917,1923
                1890,1897
Montana         1864                     1879
Nebraska        1890,1899    1872
Nevada                                   1873
New
Hampshire
New Jersey
New Mexico      1859,1887
New York                     1885
North           1879                                         1856,1858 1846b
Carolina
North Dakota
Ohio            1859,1880
Oklahoma        1890,1903    1890,1891
                                                                                                                                   3522




Oregon
Pennsylvania    1897
Rhode Island    1893,1896
                1908
South                                                                  1923
Carolina
South Dakota
Tennessee       1838,1863    1869,1881 1838,1856 1838,1867             1856,1867
                1867         1893
Texas                        1871      1856                            1897
Utah                         1877
Vermont
Virginia        1838,1867,               1838
                1887
Washington                                                                         1854,1859
                                                                                   1869
West Virginia   1870         1882,1891
                                                                                               Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 734 of 926 PageID:
                                  1925
 Wisconsin         1883
 Wyoming                                                                                         1884
Source: https://firearmslaw.duke.edu/repository/search-the-repository/ unless otherwise noted.

*Barred groups included Native Americans/Indians, African Americans/Enslaved, minors.

#Table excludes laws that punish carry/use of “knives” or “sharp or dangerous weapons” but do not mention Bowie knives by name.

** 1841 Miss. Chap. 1, p. 52. See https://reason.com/volokh/2022/11/20/bowie-knife-statutes-1837-1899/

^ 1896 Miss. L. chap. 104, pp. 109-10. See https://reason.com/volokh/2022/11/20/bowie-knife-statutes-1837-1899/

***https://dlg.galileo.usg.edu/georgiabooks/pdfs/gb0439.pdf, pp. 210-211.

a 1838 Fla. Laws ch. 24, p. 36 (Feb. 10, 1838). See https://reason.com/volokh/2022/11/20/bowie-knife-statutes-1837-1899/

b 1846 N.C. L. chap. 42. See https://reason.com/volokh/2022/11/20/bowie-knife-statutes-1837-1899/
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                                                                                                                                  Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 735 of 926 PageID:
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 736 of 926 PageID:
                                    3524




                                  EXHIBIT I
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 737 of 926 PageID:
                                    3525
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 738 of 926 PageID:
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                                  EXHIBIT J
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 739 of 926 PageID:
                                    3527
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                      EXHIBIT “H”




                      EXHIBIT “H”
Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 741 of 926 PageID:
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


  ASSOCIATION OF NEW JERSEY
  RIFLE
  & PISTOL CLUBS, INC., et al.,

       Plaintiffs,
                                       Civil Action No. 3:18-cv-10507
  v.

  PLATKIN, et al.,

     Defendants.
  CHEESEMAN, et al.,

       Plaintiffs,

  v.                                   Civil Action No. 1:22-cv-4360

  PLATKIN, et al.,

     Defendants.
  ELLMAN, et al.,

       Plaintiffs,

  v.                                   Civil Action No. 3:22-cv-04397

  PLATKIN, et al.,

       Defendants.



                         Expert Report of Daniel W. Webster




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         Pursuant to 28 U.S.C. § 1746, I, Daniel W. Webster, declare and state as follows:

          1.     I am over the age of eighteen (18) years, competent to testify to the matters

  contained in this report, and testify based on my personal knowledge and information.

          2.     I am Bloomberg Professor of American Health in Violence Prevention in the

  Department of Health Policy and Management at the Johns Hopkins Bloomberg School of Public

  Health. For 21 years, I served as director or co-director of an academic center focused on

  research to inform firearm policy. I currently serve as Distinguished Scholar for the Johns

  Hopkins Center for Gun Violence Solutions. I previously served as Co-Director of the Johns

  Hopkins Center for the Prevention of Youth Violence.

          3.     I have been asked by the Attorney General’s Office for the state of New Jersey to

  provide information about current research on gun violence and its prevention, particularly as it

  relates to policies to restrict large capacity magazines and assault weapons. I have provided my

  services at the hourly rate of $600.

                                BACKGROUND AND QUALIFICATIONS

          4.     I began my career in public safety research in 1985 as a Research Associate at the

  University of Michigan’s School of Public Health, and I have devoted most of my research since

  then to gun-related violence and its prevention. I have a Master of Public Health degree from the

  University of Michigan and a doctorate in Health Policy and Management from the Johns

  Hopkins School of Public Health. This graduate training included many advanced courses in

  epidemiology, research methods, and statistical analysis.

          5.     Immediately prior to joining the faculty at Johns Hopkins, I directed a program on

  violence research at the Washington (D.C.) Hospital Center. I joined the faculty of the Johns

  Hopkins School of Public Health in 1992, and since 2010 have been a tenured Professor of



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  Health Policy and Management. I teach graduate courses on violence prevention. Previously, I

  taught courses in research and evaluation methods at Johns Hopkins, directed the Ph.D. program

  in Health and Public Policy, and served on the steering committee of a pre- and post-doctoral

  training program in violence prevention research funded by the National Institutes of Health.

          6.     I have directed numerous studies related to gun violence and its prevention. I

  have published 149 scientific articles and nine invited commentaries in academic peer-reviewed

  journals, the vast majority of these addressed some aspect of violence and/or firearm injuries and

  their prevention. I am the lead editor of a book entitled Reducing Gun Violence in America:

  Informing Policy with Evidence and Analysis by Johns Hopkins University Press (2013), and I

  am the lead author for two chapters and co-author on three other chapters in this book. In

  addition, I recently served as special editor or co-editor of three special issues on gun violence

  for top tier public health journals. A true and correct copy of my curriculum vitae, detailing my

  qualifications and these publications, is attached as Exhibit A to this report.

                                                  OPINIONS

  I.     LARGE-CAPACITY MAGAZINES AND FEATURES OF ASSAULT WEAPONS INCREASE
         VICTIMIZATION FROM MASS SHOOTINGS AND FATAL SHOOTINGS OF LAW
         ENFORCEMENT OFFICERS

          7.     There are data that indicate that design and capabilities of firearms can potentially

  affect the likelihood that an intended target or bystander at a shooting will be wounded as well as

  the severity of wounds resulting from criminal shootings. Particularly relevant is the capacity of

  a firearm’s ammunition feeding device. In comparison to other magazines which feed

  ammunition to semi-automatic firearms, large capacity magazines (LCMs)—often defined as

  those that hold more than 10 rounds—increase the number of rounds that can be fired without the

  shooter having to take the time to reload.



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          8.     Assault weapons have been defined in laws as semi-automatic firearms capable of

  accepting LCMs in addition to one or more deemed useful in military or criminal applications,

  especially mass shootings. These include pistol grips on rifles, folding rifle stocks (to make

  rifles more concealable), threaded barrels for attaching silencers, and barrel shrouds on pistols.

          9.     There is evidence that the design features of assault weapons make them

  especially appealing to criminals and to those who commit mass shootings. When mass

  shootings occur in public, especially shootings that take place in public places, the shooter often

  selects an assault weapon or another firearm with an LCM. Data on 15 public mass shootings in

  the U.S. from 1984 to 1993 collected by Gary Kleck revealed that six (40%) involved assault

  weapons or other firearms equipped with LCMs.1, 2 A collection of data by Mother Jones

  magazine on 62 mass shootings in public places by lone shooters from 1982 through 2012 found

  that 33 perpetrators (53.2%) used firearms or LCMs that were or would have been banned by the

  federal ban of assault weapons and LCMs.3

          10.    Reviewing data on fatal mass shootings (4 or more victim fatalities) compiled by

  Everytown for Gun safety for the period 2009-2020, an assault weapon was used in at least 30 of

  these events resulting in 347 deaths (25% of all victims killed in mass shootings) and 719

  individuals with nonfatal gunshot wounds (76% of the total). Fatal mass shootings during this



  1
   Kleck, Gary. Targeting Guns: Firearms and Their Control. New York: Aldine de Gruyter, pp.
  124-126 (1997).
  2
    Koper, Christopher S. An Updated Assessment of the Federal Assault Weapons Ban: Impacts
  on Gun Markets and Gun Violence, 1994-2003. Philadelphia: University of Pennsylvania. p. 14
  (2004).
  3
    Mother Jones Magazine, US Mass Shootings, 1982-2012. Data from Mother Jones’
  Investigation, available at http://www.motherjones.com/politics/2012/12/mass-shootings-mother-
  jones-full-data (2014).

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  time period that were carried out with an assault weapon accounted for 6 times as many people

  shot as fatal mass shootings committed with other firearms.4 In these same data, a total of 42

  fatal mass shootings were committed with firearms with an LCM, resulting in 422 deaths and an

  additional 710 with nonfatal gunshot wounds. In comparison with the 34 fatal mass shootings in

  which there was information indicating that the firearm did not have an LCM, the average

  number of people shot was 4.4 times higher in shootings with firearms with LCMs (26.6 vs. 6.0).

          11.    Similarly, criminologist Christopher Koper’s re-analysis of data from Mother

  Jones magazine’s study of public mass murders with firearms from 1982 to2012 revealed that

  mass shootings with assault weapons, compared with mass shootings with other firearms,

  involved more fatalities per incident (a mean of 10.4 vs. 7.4) and more victims with nonfatal

  gunshot wounds (mean of 13.5 vs. 6.4).5 Luke Dillon’s 2013 research also reported that,

  compared with assaults carried out with firearms that did not have LCMs, mass shootings in

  which firearms with LCMs were used had 60% more fatalities on average (a mean of 10.19 vs.

  6.35) and more than 3 times as many persons with nonfatal gunshot wounds (12.39 vs. 3.55).

  These findings are consistent with those from a study of criminal shootings in Jersey City, NJ,

  which found that, compared to shootings with revolvers, shootings with semi-automatic pistols—




  4
   Everytown Research & Policy. Mass Shootings in America.
  https://everytownresearch.org/maps/mass-shootings-in-america/#mass-shootings-involving-
  assault-weapons-or-high-capacity-magazines-were-far-deadlier
  5
   Dillon, Luke, Mass Shootings in the United States: An Exploratory Study of the Trends from
  1982-2012, Thesis for Master of Arts in Criminology, Law and Society, George Mason
  University, September 2013; Koper, Christopher S., Supplemental affidavit submitted on January
  6, 2014 in Shew v. Malloy, Civil Action No. 3:13-CV-00739-AVC (D. Conn).

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  which tend to hold significantly more bullets than revolvers—had more shots fired and more

  victims wounded.6

          12.    A 2017 study led by Dr. Koper and colleagues gather a variety of kinds of data

  from law enforcement agencies on the use of LCMs and assault weapons in various types of

  crime.7 This study found that firearms with LCMs accounted for 15 to 36% of firearms recovered

  by law enforcement across ten cities with detailed data on firearm characteristics between 2001

  and 2014, 40.6% of firearms used to murder police nationally between 2009 and 2013, and as

  much as 57.4% of firearms used in mass shootings involving 4 or more victim deaths for the

  period 2009-2015. In this same study, Dr. Koper and his colleagues reported that assault

  weapons accounted for between 2.6 and 8.5% of firearms recovered by 10 large city police

  departments between 2001 and 2014, 13.2% of murders of police involving firearms, and up to

  35.7% of fatal mass shootings nationally 2009-2015. In a separate study published in

  Criminology & Public Policy in 2019 that drew upon a wider set of data on fatal mass shootings,

  Dr. Koper found that about half of all firearms used in fatal mass shootings8 and two-thirds of the




  6
    Reedy, Darin C., and Christopher S. Koper, Impact of handgun types on gun assault outcomes:
  a comparison of gun assaults involving semiautomatic pistols and revolvers, Injury Prevention
  9:151-155 (2003).
  7
   Koper, Christopher S., William D. Johnson, Jordan L. Nichols, Ambrozine Ayers, and Natalie
  Mullins. Criminal Use of Assault Weapons and High-Capacity Semiautomatic Firearms: An
  Updated Examination of Local and National Sources. Journal of Urban Health (2017), DOI
  10.1007/s11524-017-0205-7
  8
   Koper, Christopher S. Assessing the Potential to Reduce Deaths and Injuries from Mass
  Shootings through Restrictions on Assault Weapons and Other High-Capacity Semiautomatic
  Firearms. Criminology & Public Policy. 19(1): 147-170 (2020), https://doi.org/10.1111/1745-
  9133.12485

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  most deadly shootings were committed with semiautomatic firearms with LCMs.9 When details

  on the weapons used in fatal mass shootings was available, just over one quarter involved the use

  of an assault weapon.10

            13.    As a point of comparison, it is estimated that assault weapons accounted for about

  3 percent of all firearms in civilian hands in 2013. Thus, the research discussed above indicates

  semiautomatic firearms with LCMs and assault weapons specifically are used in crime, lethal

  violence against law enforcement officers, and in fatal mass shootings at percentages five to ten

  times higher than would be by chance or if weapon features played no role in these acts of

  violence. A study using data from handgun purchasers in California and subsequent crimes

  committed with those handguns prior to the state banning assault-style pistols found that the

  share of handguns purchased which were assault pistols was 2% if the purchaser had no criminal

  history, 4.6% if the purchaser had a history of minor criminal offenses, 6.6% for those with a

  previous criminal gun charge, and 10% for those who had previously been charged with two or

  more serious violent offenses.11 These findings are consistent with the thesis that design features

  of assault style firearms, including LCMs, are attractive to those who are most likely to use

  firearms in crime.




  9
   Klarevas, Louis. Rampage Nation: Securing America from Mass Shootings. Amherst, NY:
  Prometheus Books (2016).
  10
       Koper (2019) and Klarevas (2016) in footnotes 8 and 9.
  11
    Wintemute, Garen J, Mona A Wright, Carrie A Parham, Christiana M Drake, and James J
  Beaumont. (1998) Criminal activity and assault-type handguns: A study of young adults. Annals
  of Emergency Medicine 32(1):44-50. doi.org/10.1016/S0196-0644(98)70098-8



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  II.    BANS OF LARGE-CAPACITY MAGAZINES AND ASSAULT WEAPONS REDUCE FATAL
         MASS SHOOTINGS

          14.    Available evidence indicates that bans of LCMs and assault weapons reduce the

  incidence of fatal mass shootings and the number of people shot in such shootings. In a study

  that I led that was published in Criminology & Public Policy (a journal of the American Society

  of Criminology) my team analyzed data on fatal mass shootings by state over the period 1984-

  2017 to assess independent associations between state and federal firearm laws and the incidence

  of fatal mass shootings. Using regression analyses to control for other factors in addition to

  firearm laws, we found that state bans on LCMs were associated with a statistically significant

  48 percent lower incidence of fatal mass shootings when contrasted with state-years in which

  there was no LCM ban.12 Our statistical models also indicated that LCM bans were associated

  with 70% fewer deaths from fatal mass shootings per capita; however, there was a wide

  confidence interval around that estimate. Another study, using similar data and methods also

  published in 2020 likewise found that LCM bans were associated with significantly lower rates

  of fatal mass shootings.13 In 2019, Dr. Louis Klarevas led a study published in the American

  Journal of Public Health using data from 1990-2017 and reported that the incidence of high-

  fatality mass shootings (6 or more victim deaths) in non-LCM ban states was more than double

  the rate than in LCM ban states; the annual number of deaths from these shootings per capita was

  more than 3 times higher. Statistical models also found a significant association between LCM


  12
    Webster, Daniel W., Alexander D. McCourt, Cassandra K. Crifasi, Marisa Doll Booty, and
  Elizabeth A. Stuart. Evidence Concerning the Regulation of Firearms Design, Sale, and Carrying
  on Fatal Mass Shootings in the United States. Criminology & Public Policy, 19:171–212 (2020),
  doi.org/10.1111/1745-9133.12487.
  13
    Siegel M, Goder-Rieser M, Duwe G, Rocque M, Fox JA. The Relation Between State Gun
  Laws and the Incidence and Severity of Mass Public Shootings in the United States, 1976–2018.
  Law and Human Behavior. 44(5): 34t-360 (2020), http://dx.doi.org/10.1037/lhb0000378

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  bans and lower rates of high-fatality mass shootings.14 From the available research evidence, I

  conclude that state bans of LCMs are associated with lower rates of fatal mass shootings and

  mass shooting deaths.

          15.    I have also conducted and synthesized research on the estimated effects of bans of

  assault weapons on fatal mass shootings. First, there is evidence that the federal ban of assault

  weapons and LCMs reduced the incidence of the criminal use of banned guns. Christopher

  Koper and colleagues’ study of the federal ban that used a variety of data revealed about a one

  third reduction in the share of crime guns recovered and traced by law enforcement that were

  assault weapons.15

          16.    The study that I led on firearm laws and fatal mass shootings estimated the

  independent association between state assault weapons bans and fatal mass shootings. Our point

  estimates suggested that assault weapon bans were associated with a 29 to 36% lower rate of

  fatal mass shootings after controlling for the effects of LCM bans and other firearm laws.

  However, there was significant uncertainty surrounding those estimates and they were not

  statistically significant. The relatively large confidence interval surrounding these estimates for

  the effect of state bans of assault weapons is likely due to 1) the relatively few (three) state

  assault weapons bans that were not enacted simultaneously with LCM bans; and 2) the large

  number of policies whose effects were simultaneously assessed in the statistical models. Another

  study that was more narrowly focused on the effects of assault weapons bans generated estimates


  14
    Klarevas, Louis, A Conner, David Hemenway. The effect of large-capacity magazine bans on
  high-fatality mass shootings, 1990-2017. American Journal of Public Health. 109(12):1754-1761
  (2019), doi: 10.2105/AJPH.2019.305311
  15
    Christopher S. Koper, Daniel J. Woods, and Jeffrey A. Roth, “An Updated Assessment of the
  Federal Assault Weapons Ban: Impacts on Gun Markets and Gun Violence, 1994–2003,”
  National Institute of Justice, US Department of Justice (June 2004).

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  that were statistically significant. In a 2015 study of public fatal mass shootings during 1982-

  2011 and the association with federal and state assault weapon bans, economist Mark Gius found

  statistically significant negative associations between assault weapon bans and fatalities from

  public mass shootings.16

          17.    A recent study used the most comprehensive data collected to date on fatal mass

  shootings in public places17 to assess the effects of the federal ban on assault weapons and LCMs

  and the sunsetting of that law in 2004. In a 2022 study, prominent firearm policy researchers

  Philip Cook and John Donohue found that fatalities from shootings with banned weapons

  decreased during the second half of the ban and then surged after the ban expired. From 2015 to

  2019, five of the top ten deadliest mass public shootings in U.S. history occurred and each was

  committed with an assault weapon. The number of fatalities resulting from mass public

  shootings with other weapons has remained relatively flat (Figure below).18




  16
    Mark Gius. The Impact of State and Federal Assault Weapons Bans on Public Mass
  Shootings. Applied Economics Letters 22(2):281–284 (2015).
  17
    Violence Project. Mass shooter database: version
  5.0. https://www.theviolenceproject.org/mass-shooter-database/
  18
    Cook, Philip J. and John J. Donohue. Regulating Assault Weapons and Large-Capacity
  Magazines for Ammunition. JAMA. 2022;328(12):1191-1192 (2022),
  doi:10.1001/jama.2022.17120

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          18.    Researchers Lori Post and colleagues recently published a research article using

  data on fatal mass shootings (four or more victim deaths) in public places with data from The

  Violence Project for the years 1966-2019. The researchers used a regression discontinuity study

  design and controlled for population growth and homicides, in general, to estimate

  discontinuities in levels and trends in fatal mass shootings in public places associated with the

  beginning and the end of the Federal ban on assault weapons and LCMs.19 The statistical models



  19
    Post, Lori, Maryann Mason, Lauren Nadya Singh, and colleagues. (2021) Impact of Firearm
  Surveillance on Gun Control Policy: Regression Discontinuity Analysis. JMIR Public Health
  Surveillance, 22;7(4):e26042. DOI: https://doi.org/10.2196/26042


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Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 753 of 926 PageID:
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                       Exhibit A
    Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 754 of 926 PageID:
                                        3542
                                                                                                           Webster 1
                                                                                                           May 2023
                                               CURRICULUM VITAE
                                         Daniel William Webster, ScD, MPH


PROFESSIONAL DATA
       Business Address:         Johns Hopkins Bloomberg School of Public Health
                                 Department of Health Policy & Management
                                 624 N. Broadway, Room 580, Baltimore, MD 21205
                                 office: 410.955.0440
       E-mail:                   dwebster@jhu.edu
       Twitter:                  @DanielWWebster1


EDUCATION AND TRAINING
       Doctor of Science, 1991                  The Johns Hopkins University School of Hygiene and Public Health
                                                Department of Health Policy and Management
       Masters of Public Health, 1985           The University of Michigan School of Public Health
                                                Department of Health Planning and Administration
       Bachelors of Arts, 1982                  The University of Northern Colorado Psychology


PROFESSIONAL EXPERIENCE
Johns Hopkins University
 Academic Appointments
       Bloomberg Professor of American Health in Violence Prevention, 2018 – present
       Professor, Health Policy & Management, Bloomberg School of Public Health, 2010 – present
       Professor, Division of Public Safety Leadership, School of Education, 2010 – present
       Associate Professor, Health Policy & Management, Bloomberg School of Public Health, 2001-2010
       Assist Professor, Health Policy & Management, Bloomberg School of Public Health, 1995-2001
       Instructor, Health Policy & Management, Bloomberg School of Public Health, 1992-1995
  Academic Leadership
       Director, Health & Public Policy PhD Program, Bloomberg School of Public Health, 2013 – 2015
       Team Co-Lead, Violence Prevention Workgroup, Bloomberg American Health Initiative, 2016 – 2022
 Research Center Positions

       Co-Director (2022) and Distinguished Scholar (2023- ), Johns Hopkins Center for Gun Violence Solutions.
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                                                                                                            May 2023

       Director, Center for Gun Violence Prevention and Policy/Center for Gun Policy and Research, Bloomberg
       School of Public Health, 2012 – 2022.

       Co-Director, Center for Gun Policy and Research, 2001-2012

       Core Faculty, Center for Mental Health and Substance Abuse Policy Research, 2016 – present
       Deputy Director for Research, Center for the Prevention of Youth Violence, 2005 – 2017
       Core Faculty, Center for the Prevention of Youth Violence, 2000 – 2017
       Core Faculty, Center for Injury Research and Policy, 1992 – present
       Co-Director, Center for Gun Violence Solutions, Bloomberg School of Public Health, 2001 – 2012
Other Non-JHU Professional Experience
       Director of Violence Research, Washington Hospital Center, Trauma, Surgical Critical Care, and Emergency
       Medicine Department, Washington, DC., 1990 – 1992
       Guest Researcher, National Institute on Aging; Epidemiology, Demography, and Biometry Program, Bethesda,
       MD, 1988
       Injury Control Analyst, American National Red Cross, Washington, DC., 1986 – 1987
       Research Associate II, Program for Urban Health Research, Department of Epidemiology, School of Public
       Health, The University of Michigan, Ann Arbor, 1985 – 1986
       Research Associate I, Systems Analysis Division, The University of Michigan Transportation Research Institute,
       Ann Arbor, 1984 – 1985
       Research Assistant I, Department of Health Behavior and Health Education, School of Public Health, The
       University of Michigan, Ann Arbor, 1983 – 1984
       Social Worker, Department for Social Services, Cabinet for Human Resources, Commonwealth of Kentucky,
       Warsaw, Kentucky, 1982 – 1983


PROFESSIONAL ACTIVITIES
Society Membership and Leadership - Participation on Advisory Panels and Boards
       Scientific and Expert Advisory Board, Building Blocks DC and Washington, DC’s Office of Gun Violence
       Prevention., 2021-present.
       Member, Council on Criminal Justice, Violent Crime Working Group, 2021- present.
       Co-Chair of Policy Workgroup and Executive Session Member, West Creek Community of Practice for a Fair and
       Just Response to Gun Violence, 2019-present.
       John Jay College Research Advisory Group on Preventing and Reducing Community Violence, 2020
       Expert Panel on Firearms Data Infrastructure for NORC of the University of Chicago, 2019-2020
       Founding member and Co-Chair, advisory board for Safe Streets Baltimore, Baltimore City Health Department
       and Mayor’s Office for Criminal Justice, 2016 - 2020
       Director, Johns Hopkins-Baltimore Collaborative for Violence Reduction, 2016 –2019
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 756 of 926 PageID:
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       Director, Baltimore Homicide Review Commission. City of Baltimore, 2014 – 2015
       Advisory Committee on Violent Media and Gun Violence to the Directorate of the Social, Behavioral and
       Economic Sciences Division, National Science Foundation, 2013
       Institute of Medicine, Planning Committee for Workshop on Evidentiary Base for Violence Prevention across the
       Lifespan and Around the World, 2012-2013
       Invited participant to the Baltimore City GunStat project to provide technical assistance to law enforcement
       officials on gun law enforcement strategies, 2007 – present
       Expert reviewer, Child Death Review Capacity Building Project, Harborview (University of Washington) Injury
       Prevention and Research Center, 2006
       Advisory Council, California Department of Justice for planning gun violence prevention campaign, 2005 - 2009
       Lethality Assessment Committee, advisory group for the Maryland Network Against Domestic Violence to
       develop a model lethality assessment protocol for police and providers of services to victims of intimate partner
       violence, 2003 - 2009
       Johns Hopkins Univ. President’s Council on Urban Health, Violence Working Group, 1998-2000
       Baltimore City Task Force on Gunshot Wound Lethality, 1996-1997


EDITORIAL AND OTHER PEER REVIEW ACTIVITIES
Journal Peer Review Activities
       American Journal of Epidemiology
       American Journal of Preventive Medicine
       American Journal of Public Health
       Annals of Emergency Medicine
       Annual Reviews of Public Health, Special Symposium Editor, 2014-2015
       Archives of Pediatric and Adolescent Medicine Canadian Medical Association Journal
       Epidemiologic Reviews, Special Issue Editor 2015-2016
       Guide to Clinical and Preventive Services
       Health Education and Behavior, Special Issue Editorial Board Member
       Health Education Research
       Injury Prevention, Editorial Board, 2005-2010
       JAMA, Journal of the American Medical Association
       Journal of Crime and Delinquency
       Journal of Criminal Justice
       Journal of General and Internal Medicine
       Journal of Health Politics, Policy, and Law
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      Journal of Interpersonal Violence
      Journal of Policy Analysis & Management
      Journal of Quantitative Criminology
      Journal of Trauma
      Journal of Urban Health
      Journal of Women’s Health
      New England Journal of Medicine
      Pediatrics
      Politics and Policy
      Preventive Medicine, Co-editor, special issue on gun violence, 2015; co-editor special issue on gun violence 2022
      Social Science & Medicine
      Sothern Economic Journal
      Western Criminology Review


Grant Review
      National Center for Injury Control and Prevention, Centers for Disease Control and Prevention, Youth Violence
      Prevention Through Community-Level Change, April 2004
      National Center for Injury Control and Prevention, Centers for Disease Control and Prevention, May 2001
      National Institutes of Health, Clinical Sciences Special Emphasis Panel, Small Business Innovation Research
      Program, March 1999
      National Center for Injury Control and Prevention, Centers for Disease Control Review Panel, June 1998
      National Institute for Mental Health, Behavioral Science Track Award for Rapid Transition B/START Program,
      April 1998


HONORS AND AWARDS
      Inaugural (Endowed) Bloomberg Professor of American Health, 2018
      Johns Hopkins University Distinguished Alumni Award, 2017
      Injury Free Coalition for Kids, Pioneer Award, 2017
      Leon Robertson Award for best 2016 article in Injury Epidemiology, co-author, 2017
      Baltimore City Health Equity Leadership Award, 2016
      David Rall Award for Science-Based Advocacy, American Public Health Association, 2015
      Finalist for The Baltimore Sun’s award for Marylander of the Year, 2013
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 758 of 926 PageID:
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                                                                                                              May 2023
        Selected for Institute of Medicine Planning Committee for the Evidentiary Base for Violence Prevention Across
        the Lifespan and Around the World Workshop, 2012
        Delta Omega Honorary Society in Public Health – Alpha Chapter, Johns Hopkins Bloomberg School of Public
        Health, Faculty induction, 2005
        Education Award from the Maryland Network Against Domestic Violence, 2004
        Delta Omega Honorary Society - Alpha Chapter Certificate of Merit, 1989
        William Haddon Memorial Fellowship, The Johns Hopkins School of Public Health, 1988-1989
        Public Health Traineeship, The Johns Hopkins School of Public Health, 1987-1989


PUBLICATIONS
Journal Articles, Peer Reviewed

150. Examining a hypothesized causal chain for the effects of the 2007 repeal of the permit-to-purchase
licensing law in Missouri: homicide guns recovered in state and within a year of purchase. Journal of Urban
Health, 2023
149. Ward JA, Uzzi M, Hudson T, Webster DW, Crifasi CK. Differences in perceptions of gun-related safety by race
and gun ownership in the United States. Journal of Law, Medicine, and Ethics, 2023; 51:14-31.

148. Kagawa R, Charbonneau, McCort C, McCourt A, Vernick J, Webster D, Wintemute G. Effects of
comprehensive background check policies on firearm fatalities in four states. American Journal of
Epidemiology, accepted Dec. 22, 2022.
147. Webster DW, Richardson J Jr., Meyerson N, St. Vil C, Topazian R. Observations and recommendations based on a
review of research on the effects of hospital-based violence intervention programs on risks for future violence. ANNALS
of Political and Social Sciences, forthcoming in 2023.

146. Stone EM, Crifasi CK, Ward JA, Vernick JS, Webster DW, McGinty EE, Barry CL. National Support for Gun
Policies Among U.S. Adults in 2019 and 2021. Preventive Medicine, 2022 Sep 7:107242. doi:
10.1016/j.ypmed.2022.107242. Online ahead of print. PMID: 36087625.
145. Webster DW, Gostin LO. The Supreme Court Expands Second Amendment Rights as the Nation
Experiences Historic Levels of Firearms Violence. JAMA, 2022; 328(12):1187-1188. doi:
10.1001/jama.2022.14073. PMID: 36166019
144. Doucette ML, McCourt AD, Crifasi CK, Webster DW. Impact of Changes to Concealed Carry Weapons Laws on
Fatal and Non-Fatal Violent Crime, 1980-2019. American Journal of Epidemiology, 2022 Sep 14:kwac160. doi:
10.1093/aje/kwac160. Online ahead of print. PMID: 36104849
143. Ward JA, McGinty EE, Hudson T, Stone EM, Barry CL, Webster DW, Crifasi CK. Reimagining public safety:
Public opinion on police reform and gun violence prevention by race and gun ownership in the United States. Preventive
Medicine 2022; 107180, ISSN 0091-7435, https://doi.org/10.1016/j.ypmed.2022.107180
142. Doucette ML, Ward JA, McCourt AD, Webster D, Crifasi CK. Officer-involved shootings and concealed carry
firearm laws: An analysis of Gun Violence Archive data, 2014-2020. J Urban Health. 2022 Jun;99(3):373-384. doi:
10.1007/s11524-022-00627-5. PMID: 35536393 -Awarded best article of the year in J Urban Health (2022)
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141. Crifasi CK, William RG, Booty MD, Owens-Young JL, Webster DW, Buggs SAL. Community Perspectives on
Gun Violence and Safety: The Role of Policing in Baltimore City. Journal of Criminal Justice. 2022
https://doi.org/10.1016/j.jcrimjus.2022.101964
140. Crifasi CK, Ward JA, McGinty EE, Barry CL, Webster DW. Public Opinion on Laws Regulating Public Gun
Carrying. Preventive Medicine. 2022; vol. 159 https://doi.org/10.1016/j.ypmed.2022.107067.
139. Webster DW. Public health approaches to reducing community gun violence. Daedalus, Reimagining Justice: The
Challenges of Violence & Punitive Excess. (Winter) 2022; 151:38-48. https://doi.org/10.1162/DAED_a_01886
138. Crifasi CK, Ward JA, McGinty EE, Webster DW, Barry CL. Gun purchasing behaviours during the initial days of
the COVID-19 pandemic, March to mid-July 2020. International Review of Psychiatry. 2021 Nov;33(7):593-597. doi:
10.1080/09540261.2021.1901669
137. Crifasi CK, Ward JA, McGinty EE, Webster DW, Barry CL. Public Opinion on Gun Policy by Race and Gun
Ownership Status. Preventive Medicine. 2021; 149:106607. doi: 10.1016/j.ypmed.2021.106607. .PMID: 33984373
136. Zeoli AM, Paruk J, Branas CC, Carter PM, Cunningham R, Heinze J, Webster DW. Use of Extreme Risk Protection
Orders to Reduce Gun Violence in Oregon. Criminology & Public Policy 2021; 20:243-261. https://doi.org/10.1111/1745-
9133.12544
135. Crifasi CK, Ward JA, McGinty EE, Webster DW, and Barry CL. Gun Purchasing Behaviors during the Initial Phase
of the COVID-19 Pandemic, March to mid-July 2020. International Review of Psychiatry, Published online 24 June 2021
https://doi.org/10.1080/09540261.2021.1901669
134. Merrill-Frances M, McGinty EE, Barry CL, Webster DW, Crifasi CK. Association between gun owner attitudes and
their behavior in private firearm sales. Preventive Medicine 2021 Feb 10;147:106454. doi: 10.1016/j.ypmed.2021.106454.
Online ahead of print.PMID: 33581183
133. Buggs SAL, Webster DW, Crifasi CK. Using synthetic control methodology to estimate effects of a Cure Violence
intervention in Baltimore, Maryland. Injury Prevention Published Online First: 08 February 2021.
http://dx.doi.org/10.1136/injuryprev-2020-044056
132. Frattaroli S, Zeoli AM, Webster DW. Armed, Prohibited and Violent at Home: Implementation and enforcement of
restrictions on gun possession by domestic violence offenders in four U.S. localities. Journal of Family Violence, 2021
https://doi.org/10.1007/s10896-020-00241-6
131. Crifasi CK, Boot MD, Buggs SAL, Webster DW, Sherman SG. Worth the risk? Gun carrying and perceived
criminal justice responses in Baltimore. Injury Prevention, 2020 injuryprev-2020-043917. doi: 10.1136/injuryprev-2020-
043917. Online ahead of print. PMID: 33303560
130. Abelow H, Crifasi C, Webster DW. The legal and empirical case for firearm purchaser licensing. The Journal of
Law, Medicine & Ethics, 2020; 48(S2):17-24. doi: 10.1177/1073110520979397. PMID: 33404297
129. McCourt AD, Crifasi CK, Stuart ES, Vernick JS, Kagawa RMC, Wintemute GJ, Webster DW. Effects of Purchaser
Licensing and Point-of-Sale Background Check Laws on Firearm Homicide and Suicide in Four States. American Journal
of Public Health 2020;110:1546-1552. doi: 10.2105/AJPH.2020.305822. Epub 2020 Aug 20. PMID: 32816544
128. Webster DW, McCourt AD, Crifasi CK, Booty MD, Stuart EA. Evidence Concerning the Regulation of Firearms
Design, Sale, and Carrying on Fatal Mass Shootings in the United States. Criminology & Public Policy, 2020;19:171–212.
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                                                                                                   May 2023
126. Crifasi CK, Buggs SAL, Booty MD, Webster DW, Sherman SG. Baltimore’s Underground Gun Market: availability
of and access to guns. Violence and Gender 2020 https://doi.org/10.1089/vio.2019.0054
125. Booty M, O’Dwyer J, Webster D, McCourt A, Crifasi C. Describing a “mass shooting”: the role of databases in
understanding burden. Injury Epidemiology, 2019;6:47. doi:10.1186/s40621-019-0226-7
124. Stone E, Barry CL, Crifasi CK, Webster DW, Vernick JS, McGinty EE. Support for Gun Policies among Young
Adults in the U.S., 2017-2019. Preventive Medicine 2020;135:106094. doi: 10.1016/j.ypmed.2020.106094
123. Castillo-Carniglia A, Webster DW, Wintemute GJ. Effect on background checks of newly enacted comprehensive
background check policies in Oregon and Washington: a synthetic control approach. Injury Epidemiology. 2019;6:45.
Published 2019 Nov 27. doi:10.1186/s40621-019-0225-8
122. Barry CL, Stone E, Crifasi CK, Vernick JS, Webster DW, McGinty EE. Trends in Americans’ Support for Gun
Policies. Health Affairs 2019; 38:1727-34. doi: 10.1377/hlthaff.2019.00576
121. Crifasi CK, Stone EM, McGinty B, Vernick JS, Barry CL, Webster DW. Differences in public support for handgun
purchaser licensing. Injury Prevention 2019 Sep 6. pii: injuryprev-2019-043405. doi: 10.1136/injuryprev-2019-043405
120. Crifasi CK, O'Dwyer JK, McGinty EE, Webster DW, Barry CL. Desirability of personalized guns among current
gun owners. American Journal of Preventive Medicine. 2019 Jun 7. pii: S0749-3797(19)30155-2. doi:
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Concerns about History Interacting with Group: Evaluating Missouri's Handgun Purchaser Law. Epidemiology 2019
May;30(3):371-379. doi: 10.1097/EDE.0000000000000989. PMID: 30969945 Paper was runner-up for Rothman Prize for
best article in 2019
118. Zeoli AM, Webster DW. Firearm policies that work. JAMA. 2019 Feb 25. doi: 10.1001/jama.2019.0706
117. Decker MR, Wilcox HC, Holliday CN, Webster DW. An integrated public health approach to interpersonal
violence and suicide prevention and response. Public Health Rep. 2018 Nov/Dec;133(1_suppl):65S-79S. doi:
10.1177/0033354918800019. PMID: 30426878
116. Crifasi CK, McCourt AD, Booty MD, Webster DW. Polices to Prevent Illegal Acquisition of Firearms: Impacts on
Diversions of Gun for Criminal Use, Violence, and Suicide. Current Epidemiology Reports 2019; 6:238–247
115. Castillo -Carniglia A, Webster DW, Cerdá M, Kagawa R, Vernick JS, Wintemute GJ, Crifasi CK. California’s
comprehensive background check and misdemeanor violence prohibition policies, and firearm mortality. Annals of
Epidemiology 2019; 30:50-56. doi: https://doi.org/10.1016/ j.annepidem.2018.10.001
114. Trangenstein PJ, Curriero FC, Webster D, Jennings JM, Latkin C, Eck R, Jernigan DH. Outlet type, access to
alcohol, and violent crime. Alcoholism: Clinical and Experimental Research 2018 Nov;42(11):2234-2245. doi:
10.1111/acer.13880. Epub 2018 Sep 26. PMID: 30256427
113. Crifasi CK, Merrill-Francis M, McCourt A, Vernick JS, Wintemute GJ, Webster DW. Association between Firearm
Laws and Homicide in Large, Urban U.S. Counties, Journal of Urban Health 2018 Jun;95(3):383-390. doi:
10.1007/s11524-018-0273-3. Correction: Oct 2018; 95 (5):773-776. 10.1007/s11524-018-0306-y
112. Barry CL, Webster DW, Stone E, Crifasi CK, Vernick JS, McGinty EE. Five Years after Newton: Public Support
for Gun Violence Prevention Policies among Gun Owners and Non-Gun Owners. American Journal of Public Health.
Published online ahead of print May 17, 2018: e1-e4. Doi:10.2105/AJPH.2018.304432)
111. Crifasi CK, McGinty EE, Douchette M, Webster DW, Barry CL. Storage practices of U.S. gun owners in 2016.
American Journal of Public Health, 2018; 108:532-537. doi: 10.2105/AJPH.2017.304262. Epub 2018 Feb 22. PMID:
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                                                                                                          May 2023
110. Crifasi CK, Frances M, Vernick JS, Webster DW. Changes in the legal environment and enforcement of firearm
transfer laws in Pennsylvania and Maryland. Injury Prevention January 13, 2018 [Epub ahead of print] as
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109. Zeoli AM, McCourt A, Buggs S, Lilley D, Frattaroli S, Webster DW. Analysis of the strength of legal firearms
restrictions for perpetrators of domestic violence and their impact on intimate partner homicide. American Journal of
Epidemiology 2018;187(11):2365–2371. doi: 10.1093/aje/kwy174
108. Kagawa RM, Rudolph KE, Cerda M, Castillo AC, Shev BA, Webster D, Vernick JS, Crifasi CK, Wintemute GJ.
Repeal of comprehensive background check policies and firearm homicide and suicide. Epidemiology 2018;29:494-502.
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Policy and Firearm Background Checks in Three States. Injury Prevention 2017; doi:10.1136/injuryprev‐2017‐042475
106. Webster DW, Buggs SAL.* Can an Efficacious Strategy for Curtailing Illegal Drug Sales Be Counted on to Reduce
Violent Crime? Criminology & Public Policy 2017;16: 821-825
105. Stuart EA, Crifasi C, McCourt A, Vernick JS, Webster D. Differing perspectives on analyzing data related to
firearms and suicide. American Journal of Public Health. 2017 Aug;107(8):e26. doi: 10.2105/AJPH.2017.303890
104. Crifasi CK, Choksey S, Buggs S,* Webster DW. The initial impact of Maryland’s Firearm Safety Act of 2013 on
the supply of crime guns in Baltimore. The Russel Sage Foundation Journal for the Social Sciences 2017;3(5):128-140.
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103. Crifasi CK, Pollack K, Webster DW. Assaults against U.S. law enforcement officers in the line-of duty: Situational
context and predictors of lethality. Injury Epidemiology 2016; 3:29. PMID: 27885587
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0.08g/dl Blood Alcohol Concentration Laws. Injury Prevention 2016 Oct 31. doi: 10.1136/injuryprev-2016-042087.
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18. Braga AA, Webster DW, White MD, Saizow H. Gun Violence: Smart Policing Initiative Spotlight on Evidence-
Based Strategies and Impacts. Alexandria, VA: CNA Analysis & Solutions, Mar. 2014
17. Bushman B, Newman K, Calvert S, Downey G, Dredze M, Gottfredson M, Jablonski NG, Masten A, Morrill C, Neil
DB, Romber D, Webster D. Predictors of Youth Violence. Report prepared at the request of the National Sciences
Foundation, December 2013
16. American Psychological Association Panel of Experts Report – Cornell D, Evans AC Jr., Guerra NG, Kinscherff R,
Mankowski E, Randazzo MR, Scrivner E, Sorenson SB, Tynan WD, Webster DW. Gun Violence: Prediction,
Prevention and Policy. American Psychological Association, Washington, DC, December 2013
15. Consortium for Risk-Based Firearm Policy, DW Webster contributing member. Guns, Public Health, and Mental
Illness: An Evidence-Based Approach to State Policy. December 2013
14. Consortium for Risk-Based Firearm Policy, DW Webster contributing member. Guns, Public Health, and Mental
Illness: An Evidence-Based Approach to Federal Policy. December 2013
13. Webster DW. Evaluation of Baltimore’s Strategies for Reducing Gun Violence. Report prepared for the Baltimore
Police Department, Smart Policing Initiative grant, U.S. Bureau of Justice Assistance, Aug. 2013
12. Webster DW, Vernick JS, Vittes KA, McGinty EE, Teret SP, Frattaroli S. The Case for Gun Policy Reforms in
America. Johns Hopkins Center for Gun Policy and Research, Johns Hopkins Bloomberg School of Public Health,
Baltimore, MD, October 2012
11. Webster DW. Whitehill JM, Vernick JS, Parker E. Evaluation of Baltimore’s Safe Streets Program: Effects on
Attitudes, Participants’ Experiences, and Gun Violence. Johns Hopkins Center for the Prevention of Youth Violence,
January 2012
10. Webster DW, Illangasekare SL. Best Practices for the Prevention Youth Homicide and Serious Violence. Johns
Hopkins Urban Health Institute, October 2010
9. Webster DW, Vernick JS, Mendel J. Interim Evaluation of Baltimore’s Safe Streets Program. Johns Hopkins Center
for the Prevention of Youth Violence, Jan. 2009
8. Webster DW, Vittes KA. Using GunStat Data to Assess Progress on the Prosecution of Gun Cases in Baltimore City.
Center for Gun Policy and Research, Johns Hopkins Bloomberg School of Public Health, December 2009
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 770 of 926 PageID:
                                         3558
                                                                                                        Webster 17
                                                                                                         May 2023
7. Webster DW, Mendel J. Effects of Baltimore’s Operation Safe Kids on Re-Arrest. Johns Hopkins Center for the
Prevention of Youth Violence, June 2008
6. Webster DW. Interventions to reduce deaths and injuries associated with youth violence. White paper commissioned
by the Robert Wood Johnson Foundation. May 2006
5. Webster DW. Preventing intimate partner violence. White paper commissioned by the Robert Wood Johnson
Foundation. June 2006
4. Webster DW, Vernick JS, Teret SP. How Cities Can Reduce Illegal Guns and Gun Violence. Johns Hopkins Center
for Gun Policy and Research, April 2006. Updated January 2008
3. Campbell JC, Webster DW, O’Sullivan C, Roehl J, Mahoney P, White M, Guertin K. Intimate Violence Risk
Assessment Validation Study. Report submitted to the National Institute of Justice, September 2004. 2000WTVX0011
2. Webster DW, Kim A. Evaluation of the Maryland Gun Violence Act of 1996: Effects on the Illicit Gun Market.
Prepared for the U.S. Bureau of Alcohol, Tobacco, and Firearms, September 2003
1. Webster DW, Vernick JS, Kaljee L, Cameron DD, Frattaroli S, Johnson S. Public attitudes About New Law
Enforcement Technologies and Related to Strategies to Reduce Gun Violence. Report by the Johns Hopkins Center for
Gun Policy and Research to the National Institute of Justice, 2002


Consultations or Collaborations with Policymakers, Community Groups, and Other Stakeholders
13. Firearm Data Infrastructure Working Group. Safe States Alliance, 2022- present.
12. Center for Research and Evaluation of the John Jay College for Criminal Justice, Research Advisory Group on
Preventing and Reducing Community Violence, 2020.
11. National Opinion Research Center, University of Chicago, 2019-2020. Expert advisor on project to develop
recommendations for building a data infrastructure for gun violence research. Funded by the National Collaborative for
Gun Violence Research.
10. Consultant and Participant, Square One Justice Project to Reimagine Criminal Justice, Columbia University, 2019-
2020.
9. Violence Prevention Research Program, University of California, Davis, 2014–2018. Identify state background check
policies for firearm purchasers and develop plans for evaluating the laws’ effects on violence and injuries
8. John Jay School of Criminal Justice, 2017 –2019. Advise team evaluating Cure Violence public health interventions in
New York to reduce shootings and other serious violence
7. Police Executive Research Forum, 2012-2014. Advise PERF and law enforcement officials in four cities on strategies
to combat gun violence as part of a USDOJ Bureau of Justice Assistance project
6. California Dept. of Justice, Firearms Division, 2005-2006. Provide advice about how the state should use funds from
its litigation against Wal-Mart to advance gun violence prevention
5. The Robert Wood Johnson Foundation, 2005-2006. Prepare advice and white papers on the prevention of youth
violence and the prevention of intimate partner violence
4. National Association for the Advancement of Colored People, 1999-2000. Assistance with gun violence victimization
survey of NAACP members for use in lawsuit against the gun industry
3. Duke University and Georgetown University, 1998-1999. Consultation on project to estimate the economic costs
associated with firearm injuries
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 771 of 926 PageID:
                                         3559
                                                                                                         Webster 18
                                                                                                          May 2023
2. Consortium of Virginia Urban Municipalities on strategies to reduce violence, 1992
1. Center to Prevent Handgun Violence, Washington, DC, 1991-1993. Conducted survey of pediatricians on materials
being developed for education families about firearm injury prevention


Media Dissemination
Frequently interviewed and quoted by major news media outlets including CNN, MSNBC, CBS, PBS News Hour, National
Public Radio, The New York Times, The Washington Post, USA Today, US News and World Report, TIME, Newsweek,
The Guardian, Newsweek, Vox, Newsy.
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                                        3560
                                                                               Webster 19
                                                                                May 2023
                                                         PART II
TEACHING
Academic Advisees, Johns Hopkins University
       Erin Boguski, MPH (parttime), 2021 – present
       Jennifer Styles, MPH (parttime), 2021 – present
       Yaniris Gomez, MPH (parttime), 2021 – present
       Simimidele Badero, MPH (parttime), 2021 - present
       Rev. Wendy Calderon-Payne, MPH (parttime), 2021 – present
       Kristina Singleton, MPH (parttime) 2021 - present
       Lyndsey O’Rourke, MPH (parttime), 2021 – Present
       Carly Pysher, MPH (parttime), 2021 - Present
       Caroline Palmer (parttime), MPH, 2021 – Present
       Nargus Narounzadeh (parttime), MPH, 2021 - Present
       Cailin Crocket, MPH (parttime), 2020 – Present
       Nicholas Meyerson, PhD, 2020 – Present
       Don Hedrick, DrPH, 2020 – Present
       Eric Cumberbach, MPH, 2020 – Present
       Kelly Burke, MPH (parttime), 2019 – Present
       Josh Peterson, MPH (parttime), 2018 – 2022
       Amanda Capitummino, MPH 2018-2019
       Alexander McCourt, PhD, 2014-2018
       Christine McKenna, MPH, 2013-2014
       Shani Buggs, PhD, 2013 – 2018
       Cassandra Kercher, PhD, 2011–2014
       Dara Johnson, MPH, 2011 – 2012
       Janis Sethness, MPH, 2011 – 2012
       Donald Chalfin, MPH, 2010 – 2014
       Jeane Garcia Davis, MPH, 2008-2011
       Summer Venable, MPH, 2008-2010
       Jillian Fry, PhD, 2007 – 2012
       Gayle Nelson, MPH, 2007-2009
       James Saltzman, MPH, 2007-2008
    Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 773 of 926 PageID:
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                                                                                May 2023
       Jennifer Mendel Whitehill, PhD, 2006 – 2011
       Elizabeth Saylor, PhD candidate, 2003 - 2007
       April Zeoli, PhD, 2002 – 2007
       Allegra Kim, PhD 2001 – 2006
       Jennifer Manganello, PhD, 1999-2003
       Kim Ammann Howard, PhD, 1997


Co-Advisees, Johns Hopkins University
       Julia Ward, PhD, 2019 – 2023
       Emma (Beth) McGinty, PhD, 2010 – 2013
       Rachel Garfield (MHS Health Policy), 1998 –
       Leonardo Goe (MHS Health Policy), 1997-98


Thesis Committees, Johns Hopkins University
       Sara Solomon, DrPH, 2023
       John Thorn, PhD, 2020
       Pamela Trangenstein, PhD, 2019
       Joceyln Kelly, 2015
       Erin Person, PhD, 2015
       Lian-Yu Chen, PhD, 2014
       Nicole Lunardi, MSPH, 2014
       Elizabeth Parker, PhD, 2013
       Michael Kim, PhD, 2013
       Gregory Tung, PhD, 2012
       Lareina La Flair, PhD, 2012
       Mahua Mandel, PhD, 2012
       Susan Ganbarpour, DrPH, 2011
       Vanessa Kuhn, PhD in HPM, 2010
       Donna Ansara, PhD in PFHS, 2008
       Anne Outwater, PhD in Nursing, 2007
       April Zeoli, PhD in HPM, 2007
       Maria Bulzacchelli, PhD in HPM, 2006
       Swapnil P. Maniar, PhD in PFHS, 2005
       Lisa Hepburn, PhD in HPM, 2001
       Marsha Rosenberg, PhD in Mental Hygiene,2001
       Li-Hui Chen, PhD in HPM, 1999
       Shannon Frattaroli, PhD in HPM, 1998
       Kathleen Roche, PhD in MCH, 1998


Preliminary Oral Exam Committees, Johns Hopkins University
    Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 774 of 926 PageID:
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                                                                                                            May 2023
       Shannon Frattaroli, Marguerite Roe, Li-Hui Chen, Mary Beth Skupien, Monique Shepard, Beth Hooten, Farfifteh
       Duffy, Mary Garza, Lisa Hepburn, Marc Starnes, Jennifer Manganello, Allegra Kim, Christina Pallitto, Swapnil
       Maniar, Christine Koth, Maria Bulzacchelli, Margaret Haynes, Frank Franklin, Donna Ansara, Vanessa Kuhn,
       Susan Ghanbarpour, Greg Tung, Adam, Milam, Michael Kim, Beth McGinty, Erin Pearson


Post-Doctoral Mentoring, Johns Hopkins University
       Lareina LaFlair, NIDA Drug Dependency Epidemiology, 2012-2013
       Erica Sutton, MD, NIMH Violence Research Fellow, 2003-2005
       Barry Solomon, MD, Pediatric Fellow, 1999-2002
       Shannon Frattaroli, Kellogg Community Health Scholar, 1999-2000
       Lorraine Freed, MD, MPH, RWJ Clinical Scholar 1996-98
Online Instruction, Johns Hopkins University
       Lead Instructor; Reducing Gun Violence in America: Evidence for Change, Coursera, 2019 – Present


Classroom Instruction, Johns Hopkins University
       Instructor; Understanding and Preventing Violence, 1993 – Present
       Instructor; Crafting Effective Solutions to Gun Violence: Problem Solving Seminar, 2021 – Present
       Instructor; Graduate Seminar in Injury Research and Policy, 2005 – 2018
       Instructor; Graduate Seminar in Health and Public Policy, 2012 – 2014
       Co-Instructor; Research and Evaluation Methods for Health Policy, 2008 – 2010
       Lead Instructor; Research and Evaluation Methods for Health Policy, 2011-2015


Lecturer, Johns Hopkins University
       Epidemiology and Evidence-Based Policy Public Health Policy
       Health Policy I: Social & Economic Determinants of Health
       Proposal Writing (Health Policy & Management)
       Introduction to Urban Health
       Suicide as a Public Health Problem
       Adolescence and Adolescent Health
       Issues in Injury and Violence Prevention
       Methodological Issues in Injury and Violence
       Applications in Program Monitoring and Evaluation
       Alcohol, Society, and Health
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          Baltimore and “The Wire”: A Focus on Major Urban Issues
          Community Health Practicum


Program Management & Training Program Involvement, Johns Hopkins University
          Core Faculty, Drug Dependency Epidemiology Program (pre- and post-doctoral training program funded by
          NIDA), 2011 – Present
          Program Head, PhD program in Health and Public Policy, 2006–2007; 2012 -2014
          Executive Committee and Core Faculty, Interdisciplinary Research Training Program on Violence Research, pre-
          and post-doctoral training program funded by NICHD, 2008-2015
          Faculty Director, Certificate Program in Injury Control, 1999- 2012
          Executive Committee and Core Faculty, Interdisciplinary Research Training Program on Violence (pre- and post-
          doctoral training program funded by NIMH), 1999-2008
          Resource Faculty, Alcohol, Injury and Violence Training Program (pre-doctoral training program funded by
          NIAAA), 2001-2007


RESEARCH GRANT PARTICIPATON
Research and Training to Advance Equitable Solutions to Reduce Gun Violence that are Supported by Impacted
Communities
Dates:                    11/15/22 – 11/14/27
Sponsoring Agency:        Robert Wood Johnson Foundation
Amount:                   $5,000,000
Principal Investigator: Co-PIs: Daniel Webster, Cassandra Crifasi
Effort:                   10% year 1, 15% year 2, 20% years 3-5
Main Objectives:          Increase diversity, equity, and inclusion in gun violence prevention research. Complete several
                          research projects at the intersection of gun violence prevention and equity.

Evaluating and Enhancing Community Violence Intervention Effectiveness in the Nation’s Capital City
Dates:                    1/1/2023 – 12/31/2027
Sponsoring Agency: Arnold Ventures
Amount:                   $1,841,961
Principal Investigator: CoPIs: Daniel Webster, Joseph Richardson, Jr.
Effort:                   25% year 1, 30% years 2-4
Main Objectives:          Describe community violence intervention implementation, assess CVI workers’ and
                          program participants’ experiences, and estimate program effects on gun violence.
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                                         3564
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                                                                                                             May 2023
Estimating the Effects of Handgun Purchaser Licensing and Right to Carry Laws on Arrests,
Incarceration, and Racial Disparities
Dates:                 1/1/22 – 12/31/23
Sponsoring Agency: The Joyce Foundation
Role:                  PI
Effort:                15%
Main Objectives:       Derive valid estimates of the association between permit-to-purchase handgun laws and
right to carry laws on arrests for weapons and violent offenses, incarceration, and racial disparities in these
outcomes.
The Role of Permit-to-Purchase in the Primary Prevention of Multiple Forms of Violence
Dates:                 09/30/2021 – 09/29/2024
Sponsoring Agency: Centers for Disease Control and Prevention (CDC) - 1U01CE003368-01
Amount:                $1,049,998
Role:                  Co-Investigator (Cassandra Crifasi, PI)
Main Objective:        To assess the impact of Permit-to-Purchase laws on youth violence victimization and
perpetration, youth suicide, intimate partner homicide, and familicide.


Forecasting the impacts of permit-to-purchase handgun laws on firearm-related mortality in Oregon for Effective
Gun Violence Prevention Advocacy
Dates:                 7/1/22 – 6/30/24
Sponsoring Agency:     Bloomberg American Health Initiative
Amount:                $382.070
Principal Investigator: Co-PI: Daniel Webster and Joshua Horwitz
Effort:                $25% in year 1
Main Objective:        Generate data on estimated effects of handgun purchaser licensing law in Oregon based on effects
of PTP in Connecticut and provide evidence-based advocacy for effective policies to prevent gun violence in Oregon.


Review of Research Relevant to the Effectiveness of Hospital-based Violence Intervention Programs with
Recommendations for Future Research and Policy
Dates:                1/1/21 – 12/31/21
Sponsoring Agency:    Arnold Ventures
Principal Investigator: Daniel W. Webster
Amount:               $83,167
Role/Effort:          PI / 15%
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Main Objectives:      Evaluate the scientific rigor of studies to evaluate the impacts of hospital-
                      based violence intervention programs, synthesize findings from those studies,
                      and develop recommendations for enhancing the programs and research.


Expanding and Improving Data on Nonfatal Gun Crime Incidents for Research on Gun Violence and Its
Prevention
Dates:                9/1/2020 – 6/30/2023
Principal Investigator: Daniel W. Webster
Sponsoring Agency: National Collaborative for Gun Violence Research
Amount:               $255,247
Effort:              20%
Main Objectives:     Expand data on nonfatal criminal shootings, estimate biases in the FBI’s UCR
                     data on nonfatal gun crime, estimate gun law effects on nonfatal gun violence.


Estimating the Effects of Community Violence Intervention on Gun Violence in Baltimore City
Dates:                  10/1/21 – 9/30/22
Sponsoring Agency:      Baltimore City Mayor’s Office for Neighborhood Safety and Engagement
Amount:                 $126,429
Impact of Criminal Justice and Community-Based Interventions on Gun Violence Reduction
Dates:               12/01/2020 – 5/31/2023
Principal Investigator: Daniel W. Webster (for subaward from Urban Institute)
Sponsoring Agency:    New York City’s Mayor’s Office for Criminal Justice
Amount:               $255,247
Effort:               25%
Main Objectives:      Estimate the impact of community prevention programs and law enforcement initiatives to reduce
                       gun violence.


Comprehensive Background Check Policies and Firearm Violence: Identifying Effective Design, Implementation,
and Enforcement Strategies - subaward
Dates:                7/1/2019 – 6/30/2022
Principal Investigator: Daniel W. Webster (of subaward)
Sponsoring Agency:    University of California, Davis - the National Collaborative for Gun Violence Research
Amount:                 $122,612
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                                         3566
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                                                                                                                May 2023
Effort:                5%
Main Objectives:        Identify aspects of systems for background checks that affect efforts to prevent high-risk
                       individuals from acquiring firearms.


Evaluating the Effects of Legal Standards for Civilian Concealed Gun Carrying
Dates:                 4/11/2018 – 8/31/2021
Principal Investigator: Daniel W. Webster
Sponsoring Agency:     The Joyce Foundation
Amount                  $407,000
Effort:                20%
Main Objectives:       Estimate the impacts of various type of state laws governing civilian gun carrying in relations to
                       legal qualifications and standards of legal carriers.


Effects of Permitless Concealed Carry-On Violent Crime
Dates:                 10/1/2019 - 3/31/2021
Principal Investigator: Cassandra Crifasi
Sponsoring Agency:     New Venture Fund – Fund for Safer Future
Amount:                $250,000
Effort:                5%
Main Objective:        To assess the impacts of deregulating civilian gun carrying on violent crime.


Development and Testing of a Virtual Reality Experience for Civilian Carriers of Concealed Firearms
Dates:                 1/1/2020 – 12/31/2021
Principal Investigator: Cassandra Crifasi
Sponsoring Agency:      The Davide and Lucille Packard Foundation
Amount:                 $500,000
Effort:                5%
Main Objective:        Develop and test a system for evaluating the performance of civilian gun carriers under realistic
                       situations.


Core Support for Johns Hopkins Center for Gun Policy and Research and Youth Education on Evidence-Based
Gun Violence Prevention
Dates:                  7/1/2018 – 6/30/2020
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                                                                                                              May 2023
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    David and Lucille Packard Foundation
Amount:               $750,000
Effort:               25%
Main Objectives:      Conduct and translate research to inform gun violence prevention. Develop Open Online Course
                      and Summer Youth Institute on gun violence prevention.


Johns Hopkins-Baltimore Collaborative for Violence Reduction
Dates:                1/1/16 – 9/30/19
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    The Abell Foundation and The Annie E. Casey Foundation
Funding Level:        $875,000
Effort:               30%
Main Objectives:      Assess police efforts to reduce violent crime and enhance training to promote more effective
                      policing.


Study of Baltimore’s Underground Gun Market
Dates:                7/1//15 –6/30/17
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    Everytown for Gun Safety
Funding Level:        $240,245
Effort:               15%
Main Objectives:      Collect and analyze data from surveys of offenders, crime gun trace data, and gun-related arrests
                      to describe Baltimore’s underground gun market and assess evidence that 2013 state gun laws
                      affected the diversion of guns to criminals.
Effects of Universal Background Check Laws for Handgun Sales in Maryland and Pennsylvania
Dates:                8/1//15 – 7/31/18
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    The Joyce Foundation
Funding Level:        $357,000
Effort:               18%
Main Objectives:      Describe the implementation and enforcement of universal background check laws for handgun
                      purchases in Maryland and Pennsylvania and estimate the effects of the laws and enforcement
                      practices on gun violence.
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                                                                                                                May 2023


Estimating Effects of Gun Policies on Intimate Partner Homicides
Dates:                    8/1/15 – 6/30/17
Principal Investigator: Daniel W. Webster, subcontract to Michigan State University
Sponsoring Agency:        The Joyce Foundation
Funding Level:            $267,276
Effort:                   10%
Main Objectives:          To estimate the impact of firearm sales laws on intimate partner homicides and examine factors
                          relevant to successful enforcement of those laws.


Promoting Evidence-based Policies to Reduce Domestic Violence Involving Guns
Dates:                    7/1/15 – 6/30/16
Principal Investigator: Daniel W. Webster
Sponsoring Agency:        Norman Raab Foundation
Funding Level:            $25,000
Effort:                   2%


Analysis of the Strength of Legal Firearms Restrictions for Perpetrators of Domestic Violence and their Impact on
Intimate Partner Homicide
Dates:                    8/1/15 – 1/31/18
Principal Investigator:   Daniel W. Webster
Sponsoring Agency:        The Joyce Foundation
Funding Level:            $176,389
Effort:                   10%
Main Objectives:          Describe the implementation and enforcement of domestic violence related firearm laws and their
                          impact on intimate partner homicides.


Baltimore Homicide Review Commission
Dates:                    9/1/14 – 12/31/15
Principal Investigator: Daniel W. Webster
Sponsoring Agency:        Baltimore City Mayor’s Office
Funding Level:            $135,000
Effort:                   15%
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                                                                                                                 May 2023
Main Objectives:        Conduct in-depth reviews of homicides in three police districts in Baltimore to identify
                        determinants of lethal violence and develop recommendations for policies, procedures, and
                        programs to prevent homicides.


Study of Baltimore’s Underground Gun Market
Dates:                  7/1//14 – 6/30/15
Principal Investigator: Daniel W. Webster
Sponsoring Agency:      The Norman Raab Foundation
Funding Level:          $50,000
Effort:                 5%
Main Objectives:        Gather data about how criminals access firearms, how they connect with suppliers, what barriers
                        they face, and their perceptions of gun laws.


Effects of Drug and Gun Law Enforcement on Violence in Baltimore
Dates:                  1/1/14 – 12/31/15
Principal Investigator: Daniel W. Webster
Sponsoring Agency:      The Abell Foundation
Funding Level:          $144,918
Effort:                 15%
Main Objectives:        Estimate the effects of law enforcement activities directed at drug and gun law violations on
                        violent crime in Baltimore from 1986 through 2012.


Gun Owners Perspectives on Safe Gun Ownership and Sales Practices
Dates:                  10/01/2013 – 03/31/16
Principal Investigator: Daniel W. Webster
Sponsoring Agency:      Harold B. Simmons Foundation
Funding Level:          $411,421
Effort:                 20%
Main Objectives:        Study gun owners’ attitudes relevant to safe firearm sales and storage.


Johns Hopkins Center for the Prevention of Youth Violence
Dates:                  9/15/11 – 9/14/16
Principal Investigator: Philip Leaf
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                                         3570
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                                                                                                              May 2023
Sponsoring Agency:     Centers for Disease Control and Prevention
Funding Level:         $6 million
Effort:                20% to 25%
Main Objectives:       Develop, implement, and evaluate a comprehensive community intervention to prevent youth
                       violence in the Park Heights neighborhood of Baltimore.


Prescription Opioid Addiction Research Study
Dates:                 9/01/2012 – 8/31/2014
Principal Investigator: Colleen L. Barry
Sponsoring Agency:     AIG
Funding Level:         $430,655
Effort:                10%
Main Objectives:       To assess of the growing problem of prescription opioid addiction, and to identify promising
                       policy and clinical approaches to address the problem.


National Gun Violence Research Center - subcontract
Dates:                  5/01/13 – 5/31/14
Principal Investigator: Daniel W. Webster
Sponsoring Agency:     Police Executive Research Forum
Funding Level:         $41,762
Effort:                20%
Main Objectives:       Assist PERF with designing and conducting studies of innovative policing strategies to combat
                       gun violence.


Evaluation of the Effects of Permit to Purchase Handgun Laws
Dates:                 9/1/12 - 8/31/14
Principal Investigator: Daniel W. Webster
Sponsoring Agency:     The Joyce Foundation
Funding Level:         $222,242
Effort:                25%
Main Objectives:       To evaluate the effects of changes in permit to purchase handgun laws in Connecticut and
                       Missouri on homicides and the diversion of guns to criminals.
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                                                                                                                May 2023
Gun Violence Reduction Program
Dates:                 1/01/11 – 12/31/13
Principal Investigator: Daniel W. Webster
Sponsoring Agency:     Bloomberg Philanthropies
Funding Level:         $500,000
Effort:                5% to 40%
Main Objectives:       Conduct research, policy analysis, and technical assistance to inform efforts to reduce the
                       availability of illegal guns and gun violence.


Evaluation of Baltimore Policing Strategies to Reduce Gun Violence
Dates:                 10/1/2010 – 3/31/2012.
Principal Investigator: Daniel W. Webster
Sponsoring Agency:     U.S. Dept. of Justice, Bureau of Justice Assistance
Funding Level:         $60,000
Effort:                15%
Main Objectives:       Develop unbiased estimates of the impact of 3 strategies being implemented by
                       Baltimore police to reduce violence.


Impact of Safe Streets’ Outreach Workers on the Lives of Their Clients
Dates:                 12/1/09 – 6/30/10
Principal Investigator: Daniel W. Webster
Sponsoring Agency:     Baltimore City Health Department
Funding Level: $       72,000
Effort:                25%
Main Objectives:       Measure the impact of the Safe Streets program on program participants and analyze of the
                       relationships between program activities and gun violence.


Effects of the Lethality Assessment Program on Intimate Partner Violence
Dates:                 3/15/10 – 3/14/12
Principal Investigator: Daniel Webster
Sponsoring Agency:     Centers for Disease Control and Prevention (through Center grant to JHU)
Funding Level:         $388,282
Effort:                20%
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                                         3572
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                                                                                                            May 2023
Main Objectives:      Estimate the effects of the Maryland Lethality Assessment program on intimate partner homicide
                      and repeat intimate partner violence.


Gun Violence Reduction Program
Dates:                1/01/08 – 12/31/10
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    Anonymous donor
Funding Level:        $500,000
Effort:               25%
Main Objectives:      Conduct research, policy analysis, and technical assistance to inform efforts to reduce the
                      availability of illegal guns and gun violence.


Analyzing and Developing Policies to Limit Firearm Access by High-Risk People
Dates:                5/1/09 – 4/30/11
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    The Joyce Foundation
Funding Level:        $179,971
Main Objectives:      Research and describe state laws pertaining the potential public safety gains for expanding
                      current prohibition categories for firearm purchase and possession.


Data for Combating Illegal Guns
Dates:                1/01/08 – 12/31/08
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    Maryland Governor’s Office for Crime Control and Prevention
Funding Level:        $75,419
Main Objectives:      Assist Baltimore and Maryland State Police to collect and analyze data on crime guns and illegal
                      gun trafficking.


Analyzing & Assisting Innovative City-Level Efforts to Prevent Gun Violence
Dates:                5/1/07 – 4/30/09
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    The Joyce Foundation
Funding Level:        $175,000
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                                         3573
                                                                                                             Webster 32
                                                                                                               May 2023
Main Objectives:      Analyze data on illegal gun trafficking and provide consultation to enhance data to inform efforts
                      to stem gun trafficking in Milwaukee. Case study of Chicago Police Department’s efforts to
                      thwart gun trafficking.


Evaluation of the California Firearms Domestic Violence Intervention Project
Dates:                1/15/07 – 1/14/10
Principal Investigator: Garen Wintemute (UC Davis) and Shannon Frattaroli (JHBSPH)
Sponsoring Agency:    California Department of Justice
Funding Level:        $31,481 subcontract from UC Davis for first year
Effort:               10%
Main Objectives:      Evaluate a program in 2 California counties to enhance implementation of state laws prohibiting
                      certain domestic violence offenders from possessing firearms.


Baseline Data for Evaluating a Community Initiative to Reduce Youth Homicides
Dates:                3/01/07 – 2/28/09
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    Baltimore City Health Department
Funding Level:        $75,122
Effort:               6%
Main Objectives:      Collect and analyze baseline data on violent crime and youths’ attitudes relevant to gun violence
                      in intervention and comparison neighborhoods.


Evaluation of a community gun violence prevention initiative in Baltimore.
Dates:                9/1/05 – 8/31/10
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    Centers for Disease Control and Prevention
Funding Level:        $745,352
Effort:               25%-30%
Main Objectives:      Estimate the impact of the initiative on youth gun violence victimization and perpetration and
                      attitudes and behaviors of high-risk youth.


Effects of a Formal Danger Assessment and Risk Communication Intervention on Actions Taken to Reduce Risks
of Intimate Partner Violence
Dates:                9/1/04 – 8/31/09
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 786 of 926 PageID:
                                         3574
                                                                                                             Webster 33
                                                                                                              May 2023
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    Centers for Disease Control and Prevention
Funding Level:        $485,000
Effort:               20%-25%
Main Objectives:      Determine whether a formal, quantitative assessment of danger, and a standard protocol for
                      communicating the assessed risk of future partner violence and scientific support for protection
                      strategies is more effective than current procedures in motivating protective actions and lowers
                      risk for future violence.


Reducing Illegal Gun Trafficking Through Research and Technical Assistance
Dates:                5/1/05 – 4/30/08
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    The Joyce Foundation
Funding Level:        $181,117
Effort:               25%-30%
Main Objective:       Disseminate research findings to law enforcement agencies, advocates, and the media on policies
                      shown to reduce illegal gun trafficking.


Effects of Police Stings of Gun Dealers on the Illegal Gun Market
Dates:                11/1/03 - 10/31/04
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    The Overbrook Foundation
Funding Level:        $37,000
Effort:               20%
Main Objectives:      Assess the impact of police stings of 12 gun dealers suspected of making illegal gun sales in
                      Chicago on the flow of new guns into the illicit gun market.
Evaluating and Developing Policies to Regulate Licensed Gun Dealers
Dates:                4/1/02 - 3/31/04
Principal Investigator: Daniel W. Webster
Sponsoring Agency:    The John D. and Catherine T. MacArthur Foundation
Funding Level:        $260,000
Effort:               35%
Main Objectives:      1) Document state policies and practices for regulation and oversight of licensed gun dealers; 2)
                      Assess effects of those measures on gun trafficking; and 3) Recommend strategies for deterring
                      diversions of guns to criminals.
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 787 of 926 PageID:
                                         3575
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                                                                                                               May 2023


Working with Health Commissioners to Reduce Gun Violence
Dates:                 7/01/03 - 6/30/04
Principal Investigator: Jon S. Vernick
Sponsoring Agency:     Richard and Rhoda Goldman Fund
Funding Level:         $100,000
Effort:                15%
Main Objective:        Identify and provide technical assistance to city or county health commissioners in order to use
                       public health powers to shut down corrupt gun dealers who endanger the public’s health.


Separating Kids from Guns Program
Dates:                 10/01/01 - 9/30/03
Principal Investigator: Shannon Frattaroli
Co-PI:                 Daniel W. Webster
Sponsoring Agency: The David and Lucille Packard Foundation
Funding Level:         $300,000
Effort:                25%
Main Objective:        Conduct research, perform policy analysis, disseminate information relevant to protecting
                       children and adolescents from unsupervised access to guns.


Johns Hopkins Center for Gun Policy and Research
Dates:                 01/01/99 - 4/30/04
Sponsoring Agency:     The Joyce Foundation
Principal Investigator: Stephen P. Teret (1995-2001), Jon S. Vernick (2001-present)
Co-Prin. Invest.:      Daniel W. Webster (2001-present)
Funding Level:         2001-2003: $600,000
Effort:                15% (05/01/03 - 4/30/04)
                       35% (05/01/01 - 4/30/03)
                       25% (01/01/00 - 4/30/01)
                       35% (01/01/96 - 12/31/99)
                       20% (01/01/95 - 12/31/96)
Main Objective:        Develop and analyze policies to reduce firearm injuries.
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                                         3576
                                                                                                               Webster 35
                                                                                                                May 2023
Responsibilities:      Co-direct Center, initiate and conduct research and analysis relevant to gun policy; develop and
                       analyze gun policy surveys; assist groups working to reduce gun violence; serve as resource to
                       media and policymakers.


Effects of Minimum Age Restrictions on Handgun Purchase and Possession – Center for the Prevention of Youth
Violence
Dates:                 10/01/00 - 9/30/05
Principal Investigator: Daniel W. Webster
Sponsoring Agency:     Centers for Disease Control and Prevention
Funding Level:         $306,695
Main Objective:        Estimate the effects of minimum age restrictions on handgun purchases and possession on youth
                       homicide offending and suicides


Evaluation of Instruments to Assess Risk for Intimate Partner Violence
Dates:                 8/01/00 - 3/31/04
Principal Investigator: Jacquelyn C. Campbell
Sponsoring Agency:     National Institute of Justice
Funding Level:         $619,792
Effort:                20%
Main Objective:        Determine the sensitivity, specificity, and predictive value of four instruments designed to assess
                       future risk for violent victimization by an intimate partner.


The Center for Injury Research and Policy:
Dates:                 1987-2005
Sponsoring Agency:     Centers for Disease Control and Prevention
Principal Investigator: Ellen MacKenzie
Funding Level:         1999-2003: $750,000 per year
Effort:                10% (09/03/03 - 8/31/04)
                       10% (09/01/00 - 8/31/01)
                       20% (09/01/99 - 8/31/00)
                       10% (09/01/98 - 08/31/99)
                       25% (09/01/94 - 08/31/98)
                       20% (04/01/94 - 08/31/94)
                       50% (07/01/92 - 03/31/94)
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 789 of 926 PageID:
                                         3577
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                                                                                                                 May 2023
                       100% (04/01/92 - 06/30/93)
Main Objective:        One of the eight regional injury control research centers.
Responsibilities:      Evaluate state-level gun policies, direct study of risk factors for serious injuries from intimate
                       partner assaults, develop research proposals, serve as resource to students, media, practitioners,
                       and policy makers.


Developing and Analyzing Data for Effective Gun Law Enforcement
Dates:                 3/01/01 - 2/28/02
Principal Investigator: Daniel W. Webster
Sponsoring Agency:     Governor’s Office of Crime Control and Prevention
Funding Level:         $102,911
Effort:                35%
Main Objective:        Develop databases for information about the sources of crime guns and the prosecution of gun
                       crimes


Developing a Dataset of State Gun Laws
Dates:                 12/01/00 - 11/30/01
Principal Investigator: Jon S. Vernick
Sponsoring Agency:     Annie E. Casey Foundation
Funding Level:         $45,000
Effort:                10%
Main Objective:        Determine the presence and effective dates of specific types of gun laws in
                       each of the 50 U.S. states and the DC and share with interested researchers.
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 790 of 926 PageID:
                                         3578
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                                                                                                                   May 2023
Effects of Personalized Guns in Maryland
Dates:                    9/1/99 - 8/31/00
Sponsoring Agency:        The Abell Foundation
Funding Level:            $40,533
Principal Investigator: Stephen Teret
Effort:                   10%
Main Objective:           Assess likely effects of a law to require personalized guns in Maryland


Risk Factors for Homicide in Violent Intimate Relationships
Dates:                    9/01/96 - 2/28/00
Sponsoring Agency:        NIDA, NIMH, CDC, NIJ, NIA
Principal Investigator:   Jacquelyn Campbell
Funding Level:            $1,267,744
Effort:                   10% (09/01/99 - 02/28/00)
                          25% (09/01/98 - 08/31/99)
                          10% (09/01/97 - 08/31/98)
                          15% (09/01/96 - 08/31/97)
Main Objective:           Determine risk factors for homicide or attempted homicide among women involved in violent
                          intimate relationships and develop predictive screening devices for clinicians, shelter workers,
                          and the courts.


Preventing Firearm Suicide and Unintentional Deaths Through Safer Gun Design
Dates:                    1/01/00 - 12/31/00
Principal Investigator: Jon S. Vernick
Sponsoring Agency:        Funders' Collaborative for Gun Violence Prevention
Funding Level:            $176,755
Effort:                   10%
Main Objective:           Evaluate potential benefits of safer gun designs


Public Attitudes About New Law Enforcement Technologies
Dates:                    06/01/97 – 05/31/99
Sponsoring Agency:        National Institute of Justice
Principal Investigator: Daniel W. Webster
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                                         3579
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                                                                                                                  May 2023
Funding Level:           $266,625
Main Objectives:         Assess public attitudes relevant to law enforcement strategies to detect concealed weapons in
                         high-crime areas including the use of new technology, concerns about safety, privacy, and
                         fairness in the way that law enforcement officials apply new technology. Qualitative study of
                         residents of a high-crime neighborhood in Baltimore and a national phone survey of urban
                         residents.


Evaluation of the California Violence Prevention Initiative
Dates:                   7/01/93 - 4/15/96
Sponsoring Agency:       The California Wellness Foundation
Principal Investigator: Stephen P. Teret
Co-Prin. Investigator:   Daniel W. Webster Funding
Level:                   $3.1 million
Effort:                  50%
Main Objectives:         Conduct process and outcome evaluation of a statewide violence prevention initiative.


Evaluation of Violence Prevention Public Education Campaign
Dates:                   4/01/94 - 3/31/95
Sponsoring Agency:       The California Wellness Foundation
Principal Investigator: Daniel W. Webster
Funding Level:           $40,000
Effort:                  20%
Main Objectives:         The describe all facets of the campaign and the political and social context in which the campaign
                         is conducted and evaluate the effects of the campaign on public opinion, opinion leaders, the
                         media, and policy makers.


Planning "The Consortium on Gun Policy and Information"
Dates:                   4/01/94 - 10/31/94
Sponsoring Agency:       The Joyce Foundation
Principal Investigator: Stephen P. Teret
Funding Level:           $40,000
Effort:                  10%
Main Objectives:         To assess the need for a "Consortium on Gun Policy and Information" that would provide factual
                         information on firearms and the public's health to various consumers.
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 792 of 926 PageID:
                                         3580
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                                                                                                            May 2023
ACADEMIC SERVICE
Johns Hopkins University
       Finance Committee, Health Policy and Management, 2020 – Present
       Appointments and Promotions Committee, School of Public Health, 2012 – 2015
       Conflict of Interest Committee, School of Public Health, 2011 – 2012
       Academic Policy and Admissions Committee, Health Policy and Management, 2006 – 2007, 2012 – 2014
       Faculty Development Committee, Health Policy and Management, 2010 – Present
       Qualifying Exam Committee, Health Policy and Management, 1998- 1999, 2001 – 2008
       Qualifying Exam Committee, Health Policy and Management, Chair 2004 – 2008
       Health Policy and Management, Doctoral Admissions Committee, 2006 – 2007
       Affirmative Action Committee, School, 2005 – 2010
       9 Ad Hoc Committees for Appointments and Promotions, 2006 – Present
       Search Committee, Leon Robertson Chair in Injury Control, 2005 – 2006
       Academic Policy and Admissions Committee, Health Policy and Management, 1997- 1999
       Ad-Hoc Committee on Statistics Training, Health Policy and Management, 1997-1998
       Research Policy Committee, Health Policy and Management, 1995-97


PRESENTATIONS
Scientific Meetings
Webster DW. Evidence-Based Public Health Approaches to Reducing Violence with Less Reliance on Police and
Prisons. Presentation before the Workshop on Addressing the Drivers of Criminal Justice Involvement to Advance Racial
Equity for the Committee on Reducing Racial Inequalities in the Criminal Justice System, National Academy of Science,
Engineering, and Medicine, March 2021.

Webster DW. The Role of Firearms and Firearm Policy in Fatal Shootings by Police. Annual FACTS (Firearm Safety
Among Children and Teens) Symposium, the University of Michigan, 2020.

Webster DW. Strengthening the science of firearm policy evaluations. Research Symposium: Preventing Firearm
Injuries among Children and Teens: The State of the Science. University of Michigan, October 2019.

Webster DW. Public Health Approaches to Preventing Gun Violence. Plenary session presentation at the Annual
meeting of the American Society of Criminology, Atlanta, GA, November 2018.

Webster DW. Research and public safety collaborations focused on reducing gun violence in Baltimore. Presented at
the Annual meeting of the American Society of Criminology, New Orleans, November 2016.

Webster DW. What have we learned about the impact of states’ gun policies. Plenary session presentation at the annual
meeting of the American Public Health Association, Denver, Nov. 2016.
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 793 of 926 PageID:
                                         3581
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                                                                                                               May 2023

Webster DW, Crifasi CK, Meyers JS, Vernick JS. Effects of changes in permit-to-purchase handgun laws on suicide
rates. Presented at the Annual Meeting of the American College of Epidemiology, Atlanta, GA, September 29, 2015.

Webster DW, Meyers JS, Buggs S. Access to firearms among youth in the United States: Patterns, consequences, and
prevention strategies. Presented at the Institute of Medicine’s Forum on Global Violence Prevention, Workshop on Lethal
Means of Violence, Washington, DC, December 18, 2014.

Webster DW. State of the science and need for additional research to prevent gun violence in America. Presentation at
the Martha May Elliott Forum at the American Public Health Association Annual Meetings, New Orleans, November
2014.

Webster DW. Community Involvement in the Evaluation of Baltimore’s Safe Streets Program to Reduce Youth
Violence. Presented at the annual meetings of the Society for Prevention Research, Washington, DC May 29, 2014.

Webster DW. Mental health and means of violence. Presented at Workshop on Violence and Mental Health:
Opportunities for Prevention and Early Intervention, Institute of Medicine’s Forum on Global Violence Prevention,
February 26, 2014.

Webster DW. Effects of Missouri’s permit to purchase handgun licensing law on the diversion of firearms to criminals
and homicides. Presented at the annual meetings of the American Public Health Association, Boston, November 2013.

Vittes KA, Webster DW, Vernick JS. Associations between state gun sales laws and the source of criminals’ handguns
they used to commit crime. Presented at the annual meetings of the American Public Health Association, Boston,
November 2013.

Webster DW. Effects of Baltimore’s Safe Streets Program on Gun Violence and Youth Attitudes toward Resolving
Conflicts with Guns. Presented at the World Health Summit, Berlin, Germany, October 2013.

Webster DW. Safe Streets Baltimore – program effects on gun violence, youth attitudes, and the lives of program
participants. Presented at the meetings of the Society for the Advancement of Violence and Injury Research, Baltimore,
June 2013.

Parker EM, Gielen AC, Castillo R, Webster DW. Intimate Partner Violence and Patterns of Safety Strategy Use among
Women Seeking Temporary Protective Orders: A Latent Class Analysis. Presented at the meetings of the Society for the
Advancement of Violence and Injury Research, Baltimore, June 2013.

Webster DW. Priorities for public health efforts to reduce gun violence. Presentation to the Institute of Medicine’s
Workshop on Priorities for Public Health Research Agenda to Reduce Firearm-Related Violence, Washington, DC, April
2, 2013

Webster DW. State gun laws’ effects on the intra- and interstate diversion of guns used by criminals. Presented at the
annual meetings of the American Society of Criminology, Washington, DC, November 2011.
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 794 of 926 PageID:
                                         3582
                                                                                                             Webster 41
                                                                                                              May 2023
Webster DW. Effects of state gun sales laws on the exportation of guns used by criminals. Presented at the annual
meetings of the American Public Health Association Meetings, Washington, DC, November 2011.

Webster DW, Mendel JS, Vernick. Evaluating Baltimore’s Safe Streets Program’s effects on violence. Presented at the
annual meetings of the Amer. Public Health Assoc., Denver, Nov. 2010.

Webster DW, Vernick JS, Mendel JS. Interim evaluation of Baltimore's Safe Streets initiative: Effects on gun violence.
Presented at the Annual Meetings of the American Public Health Association, Philadelphia, November 2009.

Webster DW. Impact of danger assessment screening and safety education on abused women's perceived risk of serious
re-abuse. Presented at the Annual Meetings of the American Public Health Association, Philadelphia, November 2009.

Mendel JS, Webster DW, Vernick JS. Street outreach to prevent gun violence in Baltimore: An analysis of high-risk
conflict mediation. Presented at the Annual Meetings of the American Public Health Association, Philadelphia,
November 2009.

Vernick JS, Webster DW. An environmental approach to preventing firearm violence: targeting illegal gun trafficking.
Annual Meetings of Amer. Public Health Assoc., Philadelphia, Nov. 2009.

Vittes KA, Webster DW. Potential effects of expanding firearm prohibitions in the U.S.: analysis of data from a national
survey of prisoners. Presented at the Annual Meetings of the American Public Health Association, Philadelphia,
November 2009.

Webster DW, Vernick JS, Bulzacchelli MT. Effects of Policies to Promote Firearm Dealer and Owner Accountability on
Firearm Trafficking. Presented at the Annual Meeting of the American Public Health Association, Washington, DC,
November 2007.

Webster DW. Firearm violence roundtable: Data collection, data quality, and data access. Roundtable discussion led at
the Annual Meeting of the American Public Health Association, Washington, DC, November 2007.

Webster DW, Vernick JS. Implementation of a Community Gun Violence Prevention Program: A Focus on Outreach
Workers' Efforts. Presented at the Annual Meeting of the American Public Health Association, Washington, DC,
November 2007.

Webster DW, Mahoney P, Campbell JC, Ghanbarpou S, Stockman J. Factors associated with seeking a long term
protective order and staying away among women seeking temporary protective orders against a male partner. Presented at
the Annual Meeting of the American Public Health Association, Washington, DC, November 2007.

Webster DW, Mahoney P, Campbell JC, Ghanbarpou S. Communicating empirically-based information about risks and
protection strategies to survivors of intimate partner violence. Presented at the Annual Meeting of the American Public
Health Association, Washington, DC, Nov. 2007.

Webster DW, Vernick JS, Bulzacchelli MT. Association Between Regulations and Oversight of Firearm Dealers and
Gun Trafficking. Presented at the Annual Meeting of the American Society of Criminology, Atlanta, November 2007.
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 795 of 926 PageID:
                                         3583
                                                                                                            Webster 42
                                                                                                             May 2023
Campbell JC, O’Sullivan C, Roehl J, Webster DW, Mahoney P, White M, Eliacin J, Guertin K. What battered women
know and do to protect themselves from abuse: results and methodological challenges from the domestic violence risk
assessment validation experiment. Paper presented at the 9th International Family Violence Research Conference,
Portsmouth, NH, July 2005.

Webster DW, Vernick JS, Manganello JA, Zeoli AM. Effects of youth-focused firearm laws on youth suicides. Paper
presented at the annual meeting of the American Public Health Association, Washington, DC, November 2004.

Vernick JS, Webster DW, Pierce MW, Johnson SB, Frattaroli S. Judging the constitutionality of injury interventions
using empirical data: The case of concealed weapons detectors. Paper presented at the annual meeting of the American
Public Health Association, Washington, DC, November 2004.

Vernick JS, Lewin NL, Beilenson PL, Mair JS, Lindamood MM, Teret SP, Webster DW. Using local public health
powers as a tool for gun violence prevention: The Baltimore Youth Ammunition Initiative. Paper to be presented at the
annual meeting of the American Public Health Association, Washington, DC, November 2004.

Webster DW. Cracking down on corrupt gun dealers in Chicago: Effects on the illicit gun market. Paper presented at the
annual meeting of the American Public Health Association, San Francisco, November 2003.

Campbell JC, Webster DW, Mahoney P, Rhoel J, O’Sullivan C. Domestic violence risk assessment and history of injury.
Presented at the Annual Meeting of the American Public Health Association, San Francisco, November 2003.

Kim A, Webster DW. Effects of a one-gun-a-month purchase limit on illicit gun trafficking and availability. Presented at
the Annual Meeting of the American Public Health Association, San Francisco, November 2003.

Campbell JC, Webster DW, Chouaf K, et al. “If I can’t have you, no one can”: Further exploration of estrangement
increasing risk of intimate partner femicide. Presented at the Annual Meetings of the American Society of Criminology,
Chicago, November 2002.

Kim A, Webster DW. The effects of the 1996 Maryland Gun Violence Prevention Act on Illicit Gun Markets. Presented
at the Annual Meeting of Amer. Public Health Assoc., Philadelphia, Nov. 2002.

Webster DW, Vernick JS, Hepburn L. The association between licensing, registration, and other gun sales laws and the
state-of-origin of crime guns. Presented at the National Association for Injury Control Research Centers meeting,
Pittsburgh, May 2001.

Webster DW, Vernick JS, Hepburn L. The association between licensing, registration, and other complementary gun
sales laws and the state-of-origin of crime guns. Presented at the annual meetings of the American Public Health
Association, Boston, November 2000.

Campbell JC, Webster DW, et al. Risk factors for intimate partner femicide among women in physically abusive
relationships. Presented at the annual meetings of the American Public Health Association, Boston, November 2000.

Webster DW, Vernick JS, Hepburn L. Can comprehensive gun control and enforcement keep guns from being used in
crime? Presented at the annual meetings of the American Society of Criminology, Toronto, Ont., November 1999.
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 796 of 926 PageID:
                                         3584
                                                                                                           Webster 43
                                                                                                            May 2023

Roche K, Webster DW, Alexander C, Ensminger M. Neighborhood effects on the association between parenting and
youth fighting. Presented at the American Sociological Association Annual Meetings, 1999.

Webster DW. Assessing sources of data on risk factors for intimate partner homicide: Proxy respondent surveys versus
police records. Femicide Research Working Meeting, Chapel Hill NC, February 1999.

Webster DW, Campbell JC, Curry MA. Issues of using proxy informants in femicide research. Annual meetings of the
American Society of Criminology, Washington DC, November 1998.

McFarlane J, Webster DW, Campbell JC, Block CR, Ulrich Y. Femicide with and without suicide by an intimate
partner: A comparative analysis. Annual meetings of the American Society of Criminology, Washington DC, November
1998.

Webster DW, Vernick JS, Huang K. The effects of Maryland’s law banning Saturday Night Specials on homicides.
American Public Health Assoc. Annual Meeting, Washington DC, Nov. 1998. Vernick JS, Webster DW, Huang K.
Maryland’s 1988 law banning Saturday Night Special handguns: Effects on intermediate outcomes. American Public
Health Association Annual Meeting, Washington DC, November 1998.

Webster DW. Investigating a sudden increase in the lethality of shootings in Baltimore: A case study. American Public
Health Association Annual Meeting, Indianapolis IN, November 1997.

Freed LH, Wilson MHS, Longwell JJ, Carrese J, Webster DW. Deterrent to gun carrying among incarcerated adolescent
males. Presented at the Annual Meeting of the Robert Wood Johnson Clinical Scholars Meeting, November 1998.

Webster DW, Kaljee L, Vernick JS, Cameron DD. Attitudes about new law enforcement technologies and strategies for
detecting concealed weapons in a high-crime urban community. Presented at the National Institute of Justice Annual
Research and Evaluation Meetings, Washington DC, July 1998.

Webster DW, Campbell JC. Issues in using case-control methods in homicide research. Annual Meetings of the
American Society of Criminology, San Diego CA, November 1997.

Webster DW. Methodological challenges to evaluating the Brady Law. Annual Meetings of the Homicide Research
Working Group, Shepherdstown, WV, June 9 1997.

Webster DW. Modifying guns tor reduce child and adolescent mortality: A Risk Analysis. American Public Health
Association Annual Meeting, New York, November 1996.

Webster DW. School-based efforts to reduce adolescent violence. Presented at Children Harmed and Harmful: Risks
and Risk-Taking Among 10-15 Year-Olds, Working Conference. Chicago, September 1994.

Webster DW. Tackling the problem of gun carrying among youth: Behavior change vs. environmental change. Paper
presented at the National Conference on Risk-Taking Behaviors Among Children and Adolescents. Arlington, VA, June
1994.
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 797 of 926 PageID:
                                         3585
                                                                                                        Webster 44
                                                                                                         May 2023
Webster DW. Individual vs. community perspective on the study and prevention of youth weapon carrying. Public
Health Service Annual Professional Meetings, Baltimore, MD, April 1994.

Webster DW, Wilson MEH. The role of primary care pediatricians in preventing firearm injuries to children and youth.
Johnson & Johnson Pediatric Institute Conference on the Pediatrician's Role in Violence Prevention, Dulles, VA, March
1994.

Webster DW, Gainer PS, Champion, HR. Determinants of weapon carrying within a sample of inner city junior high
school students. Paper to be presented at the American Public Health Association Annual Meetings, Washington, DC,
November 1992.

Webster DW. Short-term effects of a primary prevention program for youth violence. American Psychiatric Association
Annual Meetings, Washington, DC, May 1992.

Webster DW, Sykes L, Champion HR, Gainer PS. The effects of Washington D.C.'s epidemic of gun violence on trauma
center admissions and wound profiles. American Public Health Association Annual Meetings, Atlanta, GA, November
1991.

Champion HR, Oschner MG, Webster DW. A retrospective review of over 300 abdominal gunshot wounds at an urban
Level I trauma center. International Society of Surgery Conference, Stockholm, Sweden, August 1991.

Wilson MEH, Webster DW, Duggan AK, Pakula LC. Firearm injury prevention counseling: are pediatricians and
parents ready? American College of Physicians Annual Meetings, April 1991.

Webster DW, Wilson MEH, Duggan AK. Parental beliefs and practices concerning firearm injury prevention. American
Public Health Association Annual Meetings, New York, October 1990.

Webster DW, Wilson MH, Duggan AK. Determinants of pediatrician firearm injury prevention counseling practices.
American Public Health Assoc. Annual Meetings, New York, October 1990.

Webster DW, Wilson MH, Duggan AK. Pediatrician attitudes and practices concerning firearm injury prevention
counseling. Amer. Pediatric Soc./Soc. Pediatric Research Meetings, Chicago, 1990.

Waller AE, Webster DW, Baker SP. Homicide and suicide among children, United States, 19801985. American Public
Health Association Annual Meeting, Chicago, October 1989.
Keyl PM, Webster DW, Smith GS, Baker SP. The effect of Maryland's seat belt law on fatality risks. SAE Conference
on the Evaluation of Trends in Auto Safety, National Highway Traffic Safety Administration, Washington, DC, May
1989.

Invited Presentations, Seminars & Webinars

Public Health Models and Evidence to Guide the Prevention of Gun Violence. 2nd Annual Sarah and Erin Braner
Endowed Lecture for the Department of Pediatrics at Oregon Health and Science University’s (OHSU) Doernbecher
Children’s Hospital, Portland. November 2019.
     Case 3:18-cv-10507-PGS-JBD Document 176-1 Filed 10/06/23 Page 798 of 926 PageID:
                                         3586
                                                                                                   Webster 45
                                                                                                    May 2023
A Roadmap for Reducing Gun Violence in America. 28th Annual Herbert Lourie Memorial Lecture on Health Policy,
Maxwell School of Citizenship and Public Affairs, Syracuse University, Oct. 2016.

Gun Violence in America: How Culture and Politics Shape Our Response. Public Health Models for Reducing
Gun Violence. 22nd Annual Rosemary Flanigan Lecture, Center for Practical Bioethics, KU School of Medicine, The
University of Kansas, August 2016.

Lessons from Baltimore’s Safe Streets Program on Community Efforts to Reduce Gun Violence. National
Academies of Science, Engineering, and Medicine Workshop on Community Violence Prevention. Brooklyn, NY, June
16, 2016.

Effects of Extending Background Check Requirements to Firearm Sales by Private Gun Owners. White House
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Maryland State School Health Council, Ocean City MD, April 1998.

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Bethesda Memorial Hospital, Boynton Beach, FL, February 1998.

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Conference, Annapolis MD, May 1996.

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The Limitations of Conflict Resolution Curricula for Adolescents. National Symposium on Violence, Safety, and
Health in Urban Schools. Sponsored by the Council of Great City Schools, Washington, DC, December 1993.

The Role of Public Health in Violence Prevention. JHU Seminar sponsored by the Department of Mental Hygiene and
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sponsored by the Baltimore Urban League and the YMCA. Baltimore, April 6, 1993.

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Communities: First or Last Resort? Symposium sponsored by the Student National Medical Association of The Johns
Hopkins School of Medicine. Baltimore, MD, April 3, 1993.
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Keeping Kids Safe: Strategies for Preventing Violence and Injury, Columbia, MD, November 19, 1992.

A Legislative Agenda for Violence Reduction. Consortium of Virginia Urban Municipalities, Williamsburg, VA, July
10, 1992.

The Epidemiology of Violence and Public Health Approaches to the Problem. Keynote Address, 13th Annual
Institute of the Virginia Organization of Health Care Social Workers, Richmond, June 1992.


ADDITIONAL INFORMATION
Personal Statement
       that synthesizes your research, policy, and practice goals, objectives and impact [This section allows you to “tell
       your story” and “connect the dots” – very important, particularly for faculty doing a wide range of tasks that are
       not captured through traditional “academic metrics”. Keep it concise (no more than half a page)]


Keywords
       violence, violence prevention, firearm injuries, gun policy, domestic violence, substance abuse


Research Objectives
       To study the causes and prevention of interpersonal and self-inflicted violence and associated injuries; to study
       the effectiveness interventions intended to reduce severe forms of violence; to develop and assess instruments
       designed to assess the risk for future violence.


Community Involvement
       Coach, Bethesda-Chevy Chase Baseball Youth League 2001- 2010
       Served as Co-Chair of Social Justice Committee and as a member of the Board of Trustees at Temple Emanuel,
       Kensington, MD, 2004- 2007
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                       Exhibit B
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                                    3593



  Cases on which Dr. Daniel W. Webster produced reports 2018-2023.



  UNITED STATES DISTRICT COURT EASTERN DISTRICT OF WASHINGTON.
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  FERGUSON, Attorney General of the State of Washington, Defendant. Case No. 2:23-cv-00113-
  MKD.


  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA.
  ANDREW HANSON, et al., Plaintiffs v. DISTRICT OF COLUMBIA, et al., Defendants. Case
  No. 1:22-cv-02256-RC.


  CIRCUIT COURT OF THE SEVENTH JUDICIAL CIRCUIT SANGAMON COUNTY,
  ILLINOIS – CHANCERY DIVISION. GUNS SAVE LIFE, INC., Plaintiff, v. KWAME
  RAOUL (Attorney General for Illinois) and BRENDAN KELLY (Acting Director of the Illinois
  State Police) Defendants. Case No. 2019 CH 180.



  SUPERIOR COURT OF THE STATE OF CALIFORNIA COUNTY OF SAN DIEGO.
  DOE BRANDEIS, et al., Plaintiffs, v. ROB BONTA (Attorney General of California),
  Defendant. Case No. 37-2019-00038820-CU-TT-CTL.


  UNITED STATES DISTRICT COURT FOR the WESTERN DISTRICT OF TEXAS, San
  Antonio Division. Holcombe et al. vs. the United States of America. C as e No. 5: 18-C V-
  0 0 5 5 5 -XR (consolidated cases).



  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND.
  MARYLAND SHALL ISSUE, INC., et al., Plaintiffs v. LAWRENCE HOGAN, et al.,
  Defendants. Case No. 16-cv-3311-ELH.
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                        EXHIBIT “I”




                        EXHIBIT “I”
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY



 ASSOCIATION OF NEW JERSEY RIFLE
 & PISTOL CLUBS, INC., et al.,

      Plaintiffs,

 v.                                   Civil Action No. 3:18-cv-10507

 PLATKIN, et al.,

    Defendants.
 CHEESEMAN, et al.,

      Plaintiffs,

 v.                                   Civil Action No. 1:22-cv-4360

 PLATKIN, et al.,

    Defendants.
 ELLMAN, et al.,

      Plaintiffs,

 v.                                   Civil Action No. 3:22-cv-04397

 PLATKIN, et al.,

      Defendants.




                        Expert Report of James E. Yurgealitis




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  I, James E. Yurgealitis, declare as follows:

          1.   I am currently Self Employed as a Legal and Forensic Consultant providing firearms

  related technical and public policy consulting, forensic case reviews and testing and training

  services to corporations, legal counsel, and the public sector. During my previous 26-year career

  as a Federal Law Enforcement Officer, I have been recognized, and testified as, an expert witness

  in numerous local, state and federal courts. I have toured numerous firearms and ammunition

  manufacturer’s facilities both in the United States and overseas. I maintain a personal library of

  firearms and ammunition related books and periodicals and maintain contact with other

  recognized experts in the field. My final assignment in government service was as Senior Special

  Agent / Program Manager for Forensic Services for the Bureau of Alcohol, Tobacco, Firearms

  and Explosives (ATF), U.S. Department of Justice, a position I held for nine years. During that

  time, I was responsible for all Bureau firearms and forensic firearms related training and research

  at the ATF National Laboratory Center in Ammendale, Maryland.

          2.   My credentials, training, background and experience are stated in my curriculum

  vitae, a true and correct copy of which is attached as Exhibit A. My credentials, training,

  background and experience as an expert witness are detailed on my Statement of Qualifications, a

  true and correct copy of which is attached as Exhibit B.

          3.   I have been retained by the Office of the Attorney General of the State of New Jersey

  to provide expert testimony in litigation challenging various aspects of New Jersey Statute 2C,

  Section 39-1 (the “Statute”). As of the date of this declaration, the scope of my engagement

  includes providing expert testimony in the following cases: Association Of New Jersey Rifle &

  Pistol Clubs, Inc. et al. v. Platkin et al., Docket No. 3:18-cv-10507; Cheeseman et al. v. Platkin et

  al., Docket No. 1:22-cv-04360; Ellman et al. v. Platkin et al., Docket No. 3:22-cv-04397. I have



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  reviewed the provisions of the Statute being challenged in these cases. I am being compensated at

  a rate of $400 per hour for my work in these cases, and $1600 per travel + work day.

                                              OPINIONS

         4.    As discussed in this report, many of the firearms covered by the Statute can directly

  trace their origins to weapons developed for use in combat. As such, they were never initially

  intended for general distribution / sale to the public.

         5.    As tragically demonstrated by recent mass shootings such as the Pulse Nightclub in

  Orlando Florida in 2016 (49 fatalities, 50+ wounded), the 2017 Las Vegas shooting (60 fatalities,

  400+ wounded), the 2022 Uvalde Texas School shooting (21 fatalities, 17 wounded) and the July

  4th 2022 shooting in Highland Park (7 fatalities, 48 wounded), the “assault firearms” as defined

  under the Statute (also commonly referred to as assault weapons) are capable of inflicting

  significant carnage upon civilians in a short period of time, especially in conjunction with large

  capacity magazines.

         6.    Additionally, assault weapons as prohibited under the Statute pose a significant risk

  to law enforcement officers. It has been my experience that soft body armor issued to most

  Uniformed Officers has a “Level II” or “Level IIIA” National Institute of Justice (NIJ) protection

  rating. These two ratings are suitable for protection against most handgun bullets as those

  projectiles range up to a 1200FPS (+ or -) velocity. Rifle caliber assault weapons (AR & AK type)

  can, as stated in more detail below in this report, achieve muzzle velocities of 3200FPS (+ or -)

  which can readily penetrate Level II & IIIA Body Armor (as well as some Level III hard body

  armor which is not universal standard issue amongst law enforcement agencies nationwide). Not

  only do the firearms banned under the Statute pose a threat to overall public safety, but they also

  increase the likelihood that first responders charged with stopping such a threat may be injured or

  killed in the performance of their duty.

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                                              DISCUSSION

    I.      Firearms Terminology, Types, And Operation.

                A. Handguns And Long Guns.

          7.    Modern firearms as currently manufactured for civilian ownership fall into two

  general types: handguns and long guns (or shoulder weapons).

                    i. Handguns.

          8.    Handguns. Handguns are generally defined as a firearm having a short stock (grip),

  and are designed to be held, and fired, with one hand. The term “handgun” defines two distinct

  types of modern firearms: the revolver and the semi-automatic pistol.

          9.    Revolver. A revolver is a handgun designed and manufactured with a revolving

  cylinder to contain, chamber, and feed multiple rounds of ammunition. In a modern double action

  revolver, pulling the trigger rotates the cylinder bringing an unfired cartridge of ammunition in

  line with the barrel and firing pin. Pulling the trigger also cocks the hammer and then releases it

  either directly (or indirectly via a firing pin) to strike the primer of the cartridge initiating the

  firing sequence as stated previously. In this type of revolver, the trigger must again be pulled to

  rotate the cylinder in order to fire another cartridge. When all cartridges have been fired, the

  cylinder is unlocked from the frame and swings out to facilitate removal of expended cartridge

  casings and insertion of unfired cartridges. The cylinder is then closed and relocked within the

  frame and the handgun is again ready to fire when the trigger is pulled.

          10.   Semi-automatic pistol. A semi-automatic pistol is a handgun designed and

  manufactured with the firing chamber as an integral part of the barrel and utilizes a “box”

  magazine to contain and feed multiple rounds of ammunition. In this type of handgun, generally,

  the box magazine is inserted into the firearm, the slide or bolt is pulled back and released which

  springs forward and a loads a cartridge into the chamber. When the trigger is pulled, a firing pin

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  or striker is released which impacts the primer of the cartridge and initiates the firing sequence of

  the ammunition. In most pistols, a portion of the recoil or gas pressure generated by firing the

  cartridge is utilized to move the slide rearward, extracts and ejects the expended cartridge case and

  chambers another round from the magazine. This sequence can be repeated by pulling the trigger

  once for each shot. The pistol can then be reloaded by removing the empty magazine and inserting

  a loaded magazine.

                    ii. Long Guns.

          11.    In terms of modern firearms manufacture, long guns are generally of two distinct

  types: rifles and shotguns.

          12.    Rifle. A rifle is a firearm which is designed and intended to be fired from the

  shoulder. It fires a single shot through a rifled bore for each pull of the trigger.

          13.    Shotgun. A shotgun is a firearm that is also designed and intended to be fired from

  the shoulder. It fires either a number of ball shot (commonly termed “buckshot” or “birdshot”) or

  a single projectile (commonly termed a “slug”) through a smooth (non rifled) bore for each pull of

  the trigger.

          14.    In terms of “types” of rifle there are numerous variations. All of these variations,

  generally speaking, are defined and distinguished by the way they are loaded and reloaded.

          15.    Single-shot rifle. For example, single-shot rifles fire one shot for each pull of the

  trigger. They have no internal or external magazine capacity and must be reloaded with a new

  unfired cartridge by hand for each consecutive shot. Many of these have a hinged or “break open”

  receiver to facilitate loading and unloading.

          16.    Pump Action rifle. A pump action rifle requires the operator to manually

  manipulate a forearm piece which is traditionally found underneath the barrel. After firing, the

  forearm is pulled backward which unlocks the bolt, extracts and ejects the fired cartridge case.

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  Pushing the slide forward feeds an unfired cartridge from the magazine, cocks the firearm

  mechanism and locks the bolt for a successive shot. Pump action rifles have been manufactured

  with both tubular and detachable box magazines.

         17.   Bolt Action rifle. Bolt action rifles require the operator to manually manipulate the

  bolt of the rifle. After firing, the bolt is first unlocked from the chamber and then moved

  rearward. This action also extracts and ejects the expended cartridge case. The bolt is then moved

  forward which feeds an unfired cartridge from the magazine into the chamber. Once the bolt is

  then again locked by the operator, it is ready to fire. Bolt action rifles usually have an internal

  fixed magazine or tubular magazine which will facilitate reloading via manipulation of the bolt

  until that capacity is exhausted. Bolt action rifles were generally the choice among hunters and

  military forces through the end of World War II.

         18.   Lever Action rifle. A lever action rifle is similar to the bolt action rifle in that the

  operator is required to manipulate the mechanism of the firearm. A lever at the bottom of the

  receiver of the rifle is manipulated in and up and down motion in order to unlock the bolt and

  move it rearward, extract and eject the expended cartridge case, feed an unfired cartridge into the

  chamber and lock it. This action is required by the operator for each shot fired through the rifle.

  Generally speaking lever action rifles have historically been manufactured with tubular magazines

  which will vary in capacity depending on the caliber of the firearm.

         19.   Semi-automatic rifle. A semi-automatic rifle utilizes the energy generated by the

  firing of the cartridge to power the cycle of fire. This is accomplished by siphoning off a portion

  of the gases generated by firing to operate the mechanism or by utilizing the recoil generated by

  firing much as in a semi-automatic pistol as described previously. Once loaded, the operation of

  this cycle of fire is not dependent on the operator to effect any portion of the process other than to

  pull the trigger. Semi-automatic rifles are, and have been previously, manufactured with both

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  fixed internal magazines and a capacity to accept detachable external magazines. As such this

  type of rifle is capable of firing with each pull of the trigger until the supply of ammunition is

  exhausted. As stated previously, the majority of military firearms through World War II were bolt

  action. The exception to this rule was the United States entering the war with the semi-automatic

  M1 (Garand) .30-06 caliber rifle as standard issue. The Garand had a fixed internal magazine with

  an eight round capacity.

          20.   Modern shotguns, as stated previously in regard to rifles, are generally classified by

  their operating system, (i.e. the manner in which they function, are loaded and are reloaded).

  Additionally, in the case of shotguns with multiple barrels they are defined by placement or

  orientation of same.

          21.   Single-shot shotguns. Single-shot shotguns function similarly to the single-shot

  rifle. They may have a hinged receiver which allows the operator to open the action at chamber

  area to facilitate loading and unloading of the firearm. There are also single shot models that are

  loaded and unloaded through a bolt action mechanism and have no additional magazine capacity.

          22.   Bolt action shotguns. Bolt action shotguns are manufactured, as stated above for

  rifles, as single shot, or with internal or detachable magazines to facilitate easier and faster

  reloading. They function in the same way as a bolt action rifle and require manual manipulation of

  the bolt by the operator to unload and reload.

          23.   Level action shotguns. Level action shotguns again function in the same fashion as a

  similarly designed rifle. Manual manipulation of the lever is required for successive shots.

          24.   Pump action shotguns. Pump action shotguns have the same general operating

  system as a similarly designed rifle. The “action” of the shotgun must be worked forward and back

  by the operator to unlock the bolt, extract and eject the expended shotgun shell, reload and relock

  the bolt for firing.

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          25.      Semi-automatic shotguns. Semi-automatic shotguns, as with their rifle caliber

  counterparts, utilize energy (either recoil or gas pressure) generated by firing ammunition to

  “power” the operating system of the firearm. These are manufactured with a number of different

  magazines, both internal and fixed, as well as external and detachable. They are capable of firing a

  single shot with each pull of the trigger until the supply of ammunition in the magazine is

  exhausted.

          26.      Break open, double barrel, and “tip up” shotguns. Break open, double barrel,

  and “tip up” shotguns have a hinged receiver which facilitates access to the rear of the chamber

  for unloading and reloading. They are manufactured in single shot and double barrel variations.

  Double barrel variations are further delineated by the placement of their barrels. Side-by-side

  shotguns have two barrels situated next to one another in a horizontal arrangement. Over-and-

  under shotguns have two barrels superimposed upon one another in a vertical plane. The

  mechanisms in each of these allow staggered firing of each of the two barrels with a separate pull

  of the trigger. When the hinged action is opened, the expended shotgun shell hulls can be

  manually extracted by the operator although more complex designs with auto ejectors perform

  that function when “opened.”

                   B. General Firearms Definitions.

          27.      In discussing modern firearms, it is important to understand how they are defined

  under statute, how they function and the differences between types commonly found and available

  to the public.

          28.      Additional terms often used when discussing modern firearms are semi-automatic,

  full-automatic, select fire, rifling, caliber and gauge. I define these terms as follows:




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           29.    Semi-Automatic. Semi-automatic fire refers to a repeating firearm that fires one shot

    for each pull of the trigger until the ammunition supply is exhausted. The energy of the fired

    cartridge is utilized to cycle the mechanism of the firearm to feed and chamber the next shot.

           30.    Full-automatic. Full-automatic refers to a firearm that will continuously fire

    successive shots when the trigger is pulled and will only stop when the trigger is released or the

    supply of ammunition is exhausted. Commonly referred to, and defined and classified as a

    machine gun, under N.J.S.A. 2C:39-1(i).

           31.    Select Fire. A select fire firearm is capable of switching between and functioning in

    either full- or semi-automatic fire mode.

           32.    Rifling. Rifling refers to a series of grooves cut or impressed inside the barrel in a

    spiral pattern. The “high” portions of these patterns are called “lands.” The “lower” portion of this

    pattern are called “grooves.” When a projectile (or bullet) is fired in a “rifled” firearm, it comes

    into contact with the lands as it leaves the chamber and begins to travel down the barrel. Because

    the lands are oriented in a spiral pattern, the rifling imparts a spin to the projectile which improves

    stability and accuracy.

           33.    Caliber. Caliber is a dimensional measurement of the inside (or bore) of a rifled

    barrel. In the United States, caliber is traditionally expressed in fractions of an inch. For example,

    a .22 caliber firearm is designed to chamber and fire a projectile which measures .22 inches (or

    slightly less than a quarter of an inch). A .50 caliber firearm chambers and fires a projectile which

    is approximately a half inch in diameter.1




1
  In Europe, and. the majority of other countries utilizing the metric system, caliber has historically been expressed in
millimeters (mm). Therefore a 9mm firearm is designed to chamber and fire a projectile with a diameter of 9mm.
European caliber designations may also include measurement of the length of the cartridge case (9x19mm, 7.62x39mm
etc.). A number of firearm calibers widely manufactured have two separate caliber designations, one in inch
measurements and one in metric, which are equivalent and interchangeable. For example .380 ACP caliber ammunition
in the US is referred to as 9x17mm caliber in Europe.
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         34.   It is important to note for the purposes of this report that the caliber designation of

  any given ammunition cartridge usually refers only to the diameter of the projectile (bullet) and

  not the relative “power” of the cartridge itself (in terms of muzzle energy, effective range and

  muzzle velocity). For example, there is an important distinction between cartridges commonly

  referred to as .22 caliber and cartridges commonly referred to as .223 caliber.

         35.   .22 caliber ammunition is a popular and relatively low power cartridge developed in

  the 1880’s. It is also known as “.22 rimfire” as the primer mixture in the cartridge is seated in the

  rim of the cartridge and not contained in a separate primer cup in the cartridge base. It is

  commonly used for target shooting as well as hunting small game and can be fired from both

  handguns and rifles chambered in that caliber. Bullet weights for .22 caliber projectiles / bullets

  are typically between 30-60 grains (0.08 to 0.13 ounces). Muzzle velocities are usually in the

  1100-1300 feet per second (fps) range.

         36.   .223 caliber ammunition by comparison is a high velocity cartridge developed in the

  1950’s in part for use in the original AR-15 and M-16 assault rifles. It is a “centerfire cartridge.”

  Although the diameter of the projectile / bullet is only slightly greater (approximately the width of

  a human hair) than the .22 caliber cartridge mentioned previously, it is a vastly more powerful

  cartridge in terms of muzzle velocity and range. This caliber ammunition is also somewhat

  interchangeable with 5.56mm ammunition. Here is a side-by-side comparison of .223 (left) and

  .22 caliber cartridges (right) with a quarter for size reference:




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         37.   Common bullet weights for .223 / 5.56mm caliber projectiles are 50 to 62 grains +

  or- (0.11 to 0.14 ounces)—heavier than .22 caliber projectiles. Common muzzle velocities are

  approximately 3,200 to 3,500 feet per second—about three times as fast as .22 caliber projectiles.

  A heavier bullet and increased velocity equate to more of the cartridge’s energy being transferred

  to the target. The National Rifle Association (NRA) American Rifleman Magazine tested the U.S.

  Army’s new .223 caliber cartridge (M855Al) in 2014 and the results are published here:

  https://www.americanrifleman.org/content/testing-the-army-s-m855a1-standard-ball-cartridge/.

         38.   Gauge. Gauge is a dimensional measurement which is traditionally used to denote

  the bore of a non-rifled or “smoothbore” firearm (i.e. a shotgun). Shotguns were initially designed

  to fire a mass of round shot as opposed to one solid projectile, and therefore a caliber designation

  is not readily applicable. Gauge refers to the number of lead spheres which will fit inside the bore

  and equal one pound. For example, in a 12 gauge shotgun, you can fit 12 spheres of lead, which

  are approximately 18.52mm or .73 inches in diameter, the total weight of which will equal one

  pound. If the diameter of the spheres are increased, it will require less of them to equal one pound.



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  Therefore the smaller the “gauge” the larger the dimension of the bore. The exception to this

  measurement system is the .410 gauge shotgun which is actually a caliber designation.

   II.     Recent Development And Evolution Of Firearms With Features
           Designed for Military Purposes.

         39.     In recent years, there has been an increase in the popularity and availability of semi-

  automatic rifles, pistols, and shotguns with features initially designed (or patterned after those

  designed) for a military purpose. It is important to discuss the history of the development and

  evolution of firearms with these features. In regard to the design and manufacture of military

  small arms it is important to note that ‘form follows function’ and the design and inclusion of

  features are intended to increase the effectiveness of the individual combatant in battle.

                 A. Assault Rifle Development and Evolution.

         40.     The first “assault rifle” or “assault weapon” was the German StG 44 (Sturmgewehr

  Model 1944), which appeared in production form late in World War II. Earlier pre-production

  variants included the MP 42 and MP 43 (Machinenpistol 1942 and 1943 respectively). The

  Germans termed the rifle “Sturmgewehr,” literally “Storm Rifle,” and a number of the features

  included utilization of a portion of the gas generated by the burning cartridge propellant to operate

  the rifle, extensive use of steel stampings in its construction, a detachable magazine, a separate

  pistol style grip (not integrated with the shoulder stock), a bayonet mounting jug and a threaded

  barrel to facilitate the attachment of a grenade launcher. It fired a cartridge that was smaller

  dimensionally and less “powerful” (in terms of muzzle velocity and foot pounds of energy) than

  the standard 8mm Mauser cartridge in use by the German Army in their issued bolt action Mauser

  K-98 rifles.




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           41.   It is important to note that the features designed into the German StG 44 were

    intended to increase the effectiveness of the individual soldier in combat and allow for simplified

    manufacture:

           42.   Gas-powered semiautomatic fire. Gas-powered semiautomatic fire enabled more

    rapid fire than was possible using standard-issue bolt action rifles.

           43.   Steel stampings. Steel stampings made for a lighter weapon increasing the amount

    of ammunition an individual combatant could carry and / or increasing mobility. Additionally

    they were easier and less expensive to manufacture than machined steel forgings.

           44.   Detachable magazine. Detachable magazines allow more rapid re-loading than

    previous standard issue bolt action firearms.

           45.   Separate pistol style grip. A separate pistol style grip enhanced the ability of

    combat soldiers to quickly maneuver their firearms into firing position and retain stability for

    subsequent shots.




2
 Image source –Peter Suciu, “Sturmgewehr, the First Assault Rifle,” Recoil: The Ultimate Firearms Destination for the
Gun Lifestyle, June 19, 2016, available at https://www.recoilweb.com/sturmgewehr-the-first-assault-rifle-100907.html
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           46.   Barrel shroud. A barrel shroud encircles and protects the end of the barrel, keeping

    the barrel safe from damage caused by collision with objects and giving the soldier using the

    firearm an auxiliary grip on the barrel without burning his hand.

           47.   Bayonet mounting lug. This feature provided combat soldiers with an additional

    weapon for use in close combat.

           48.   Threaded Barrel. A threaded barrel allowed for the attachment of grenade launcher

    (on this particular rifle), providing combat soldiers with an additional weapon, albeit for use at a

    greater distance.

           49.   Following the end of the war, captured StG 44’s were analyzed by the Allies and

    although there was reluctance to move to a smaller caliber cartridge, a number of the features of

    the StG 44 found favor in the design of successive European, American, and Eastern Bloc military

    rifles. Noted firearm expert and historian Jim Supica wrote in his forward to the book “Guns”:

                   Most military establishments hesitated to “downsize” the range and
                   power of their primary rifles in the early Cold War years. The semi-
                   auto detachable magazine concept was an obvious success and there
                   was something to be said for full auto capability.3

           He further writes:

                   However the assault rifle concept wouldn’t go away. The Soviet
                   Union accepted the lower power round idea in its fixed magazine
                   semi-auto chambered for an intermediate power 7.62 x 39 mm round
                   in 1945, the SKS, which saw wide distribution and production in
                   Soviet client states.4

           50.   Two years later in 1947, the USSR followed the SKS with what Supica terms “the

    quintessential assault rifle - the Kalashnikov designed AK-47.”5




3
  Supica, Guns (TAJ Books 2006). PP. 26-28
4
  Id.
5
  Id.
                                                     14
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         51.   The design of the AK-47 carried forward a number of the features introduced on the

  German StG 44. These features include a gas powered operating system, use of steel stampings in

  its construction, a separate pistol grip, separate shoulder stock, a detachable magazine, a bayonet

  lug and provision for attachment of a grenade launcher. Due to the separate stock and pistol grip

  the AK, much like the StG 44, also utilized a barrel shroud / or foregrip on the forward third of

  the rifle. Some variations of the early AK-47s (AKM) also featured a “compensator” at the

  muzzle that deflected gas upward and to the right to compensate for the rifle’s tendency to kick up

  and to the right with every shot.

         52.   In the 1950’s, many countries sought to replace World War I and World War II

  vintage bolt action and semi-automatic rifles with these newer and more effective designs. With

  the birth of the North Atlantic Treaty Organization (NATO) however, utilization of Soviet Bloc

  AK or SKS assault rifles was not possible. Accordingly, a number of firearms manufacturers

  outside the Soviet sphere of influence developed military rifles that carried forward these same

  features to one extent or another. Fabrique Nationale (FN) of Herstal, Belgium and Heckler Koch

  (HK) of Oberndorf, Germany are two noteworthy examples.

         53.   FN developed the FN-FAL (Fusil Automatique Leger) and HK the G3 which found a

  ready market amongst nations that did not favor the Soviet AK type designs. Both incorporated

  features which like the AK, were derived directly from the StG 44. Their designs featured some

  parts made from metal stampings as opposed to heavier and more expensive machined steel

  pieces. A separate pistol grip, shoulder stock, detachable magazine, and barrel shroud followed

  the basic design of the StG 44. A flash hider and / or muzzle brake have appeared in production

  variations of both rifles. These rifles were destined from inception to become widely exported as

  the domestic market in both countries was relatively limited. The FN-FAL and G3 have been in



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  production since the 1950’s and both FN and HK have licensed production to numerous countries

  in South America, Africa, and the Middle East.

         54.   In the United States, progress in this arena moved at a significantly slower pace. The

  prevailing wisdom in the United States was to stay away from lighter, smaller rifle calibers and

  cartridges as the .30-06 cartridge used in the M-1 Garand Rifle during World War II had proven

  to be more than successful. Their initial answer to the burgeoning move towards assault rifles was

  a variation of the basic M-1 Garand operating system, the T44, or M-14. Outwardly, the M-14

  retained a full length wood stock as did the Garand; however, it featured a detachable magazine,

  select fire (both semi-automatic and full automatic) capability, and a flash hider. It competed

  directly against the FN-FAL (designated T88) in U.S. Army trials and was selected in 1957.

         55.   In the mid 1950’s, Eugene Stoner, the chief Engineer of the American company

  ArmaLite Corporation, developed a number of lightweight assault rifle designs which resulted in

  the AR-10 in .308 caliber. Its design closely followed what was now becoming standard assault

  rifle design, i.e., light weight (aluminum forged receivers as opposed to machined steel), separate

  pistol grip and shoulder stock, foregrip / barrel shroud, detachable magazine, and numerous flash

  hider / muzzle brake variations. ArmaLite continued to refine the basic design of the AR-10

  which resulted in the AR-15. The AR-15 was designed to chamber and fire the 5.56 x 45mm

  cartridge (somewhat interchangeable with .223 Remington caliber).

         56.   In 1961, the Department of Defense purchased a quantity of AR-15 rifles from Colt

  for evaluation. A number of these were subsequently shipped to US Army advisors in Vietnam to

  test their suitability for issue to South Vietnamese Army forces. Following the field evaluation the

  Department of Defense Advanced Research Projects Agency prepared a report (AD-343778,

  dated August 20, 1962) summarizing the results. Amongst the data compiled via surveys of the

  US Army Advisors are a number of comments regarding actual use in the field and the results.

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    These comments describe various catastrophic injuries to Viet Cong Combatants who were shot

    by AR-15, including severing of limbs and decapitation.6

           57.   This rifle was adopted as standard issue by the U.S. Army in the mid 1960’s. The

    production of the rifle had been licensed to Colt, and initially the model designation was, as

    produced, AR-15. Later, after a series of engineering changes, the standard U.S. military

    designation was changed to M-16. When first deployed as a standard issue rifle for US Military

    Forces, the AR-15 / M-16 platform was maligned as unreliable and prone to jamming. This was

    due, in part, to inadequate maintenance by the operators themselves. Once the problems were

    addressed and rectified, the rifle proved to be as reliable and accurate as the AK type rifles

    deployed by the North Vietnamese and Viet Cong.

           58.   The 5.56mm cartridge has a muzzle velocity of approximately 3200 feet per second

    (fps) (for reference a 9mm pistol cartridge has a muzzle velocity of approximately 1100 fps).

    5.56mm bullets, upon contacting tissue will “yaw” (begin to rotate on its axis) which contributes

    to the creation of both temporary and permanent large wound cavities. Handgun bullets, because

    they are heavier and travelling at a lower velocity, do not typically yaw upon contact with tissue

    and do not create as large of a wound cavity nor commensurate destruction of tissue. The yaw

    movement of a 5.56mm / .223 caliber bullet can also cause it to fragment upon striking bone

    which contributes to additional tissue damage not immediately adjacent to the cavity itself.




6
 Advanced Research Projects Agency, Office of the Secretary of Defense, Field Test Report, AR-15 Armalite Rifle, at
24 (July 31, 1962), available at https://apps.dtic.mil/sti/pdfs/AD0343778.pdf.
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          59.   Noted Wound Ballistics expert Vincent DiMaio in “Gunshot Wounds” writes:

                  As the bullet enters, the body, there is ‘tail splash’ or backward
                  hurling of injured tissue. This material may be ejected from the
                  entrance. The bullet passes through the target, creating a large
                  temporary cavity whose maximum diameter is up to 11-12.5 times
                  the diameter of the projectile. The maximum diameter of the cavity
                  occurs at the point at which the maximum rate of loss of kinetic
                  energy occurs. This occurs at the point where the bullet is at
                  maximum yaw, i.e., turned sideways (at a 90-degree angle to the
                  path) and / or when it fragments. If fragmentation does not occur
                  and the path is long enough, the yawing continues until the bullet
                  rotates 180 degrees and ends up in a base-forward position. The
                  bullet will continue traveling base first with little or no yaw as this
                  position puts the center of mass forward.7

                  The temporary cavity will undulate for 5-10 msec before coming to
                  rest as a permanent track. Positive and negative pressures alternate
                  in the wound track, with resultant sucking of foreign material and
                  bacteria into the track from both entrance and exit. In high-velocity
                  centerfire rifle wounds, the expanding walls of the temporary cavity
                  are capable of doing severe damage. There is compression,
                  stretching and shearing of the displaced tissue. Injuries to blood
                  vessels, nerves, or organs not struck by the bullet, and a distance
                  from the path, can occur as can fractures of bones, though, in the
                  case of fractures, this is relatively rare. In the author’s experience,
                  fractures usually occur when the bullet perforates an intercostal
                  space fracturing ribs above and below the bullet path.8

          60.   Demaio further states,

                  Projectile fragmentation can amplify the effects of the temporary
                  cavity increasing the severity of a wound. This is the reason for the
                  effectiveness of the 5.56 x 45-mm cartridge and the M-16 rifle.9

          61.   This video graphically illustrates the temporary wound cavity as described by

    DeMaio: https://www.youtube.com/watch?v=8HM96wpPVoQ.




7
  DiMaio, Gunshot Wounds, 2d (CRC Press LLC, 1999). P. 54
8
  Id., P.55
9
  Id., P.56
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             62.   Because of the propensity of the 5.56mm/.223 caliber round to create significant

     damage upon impacting living tissue, it is not generally considered nor favored as a hunting

     cartridge.

                   B. Pistol Caliber Firearms Evolution And Development.

             63.   It is important in terms of this particular case also to address the evolution and

     development of firearms that chamber and fire pistol caliber ammunition, including those known

     as submachine guns. Submachineguns are defined as machineguns that fire “sub caliber” (i.e.

     pistol caliber) ammunition. A number of the handguns that are banned under the Statute are direct

     evolutionary descendants of submachine guns initially designed and produced for military use.

             64.   Many of the construction and design features attributed to assault weapons, and the

     StG 44, were first utilized in the design and manufacture of mid-20th century submachine guns.

     Nazi Germany entered World War II with the Innovative Maschinenpistole 38 (MP38). It was

     chambered in 9mm and later, after a number of engineering changes, re-designated as the MP40.

     It has design features commonly found in later assault weapons including an adjustable stock,

     separate pistol grip, a detachable magazine and use of steel stampings in its construction.




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     Image source: http://firearmshistory.blogspot.com/2015/09/the-mp40-submachine-gun.html
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         65.   While the United States initially entered World War II with a military variant of the

  Thompson .45 caliber sub machinegun, it was heavy and expensive to manufacture because a

  number of the major components were machined from solid steel. Before the end of the war, the

  Thompson had been supplemented by the M3 “Greasegun” initially produced by General Motors.

  The receiver was a stamped and welded sheet metal assembly with an adjustable sliding shoulder

  stock. Like the MP38 / MP40, it had a separate pistol grip, a sliding / adjustable shoulder stock

  and a detachable box magazine with a 30 round capacity. In a utilitarian sense it was as effective

  as the Thompson and, at approximately $20, it was less than half as expensive.

         66.   The United Kingdom produced over one million Sten submachine guns during

  World War II. A rugged and reliable firearm made largely from welded steel stampings, it was

  utility, reliability and ease of manufacture both combined and perfected. Features shared with the

  M3 and MP38/MP40 included an adjustable shoulder stock, separate detachable box magazine

  and, on some variations, a barrel shroud allowing the operator to utilize the area surrounding the

  barrel as an auxiliary grip point without touching a heated barrel.

         67.   Prior to and during World War II, a number of other nations developed submachine

  guns which followed the same design and construction philosophy. Notable examples include the

  Soviet PPSH41, the Italian Beretta Model 38/42, and the Swedish Carl Gustav Model 45.

         68.   Following World War II, most new submachine gun designs continued the design

  philosophy which combined utility, ease of manufacture and the features of wartime firearms. In

  the early 1960’s, HK introduced the MP5 which became an immensely popular choice for military

  and law enforcement agencies worldwide due to its inherent reliability and accuracy. It was

  produced in multiple iterations to include a semi-automatic civilian version as well as a pistol

  variant without a provision for a shoulder stock (HK SP89).



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             69.    Israeli Military Industries also successfully marketed their UZI sub machinegun for

     export in select fire, and in civilian semi-automatic variants.




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             70.    Additionally, a number of submachine gun designs proved unsuccessful in terms of

     military and government sales but nonetheless found a ready market when re-engineered as a


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  Image source: https://www.gunsinternational.com/guns-for-sale-online/pistols/9mm-pistols/excellent-condition-
factory-german-hk-sp89-9mm-pistol.cfm?gun_id=101037518
12
     Image source: https://www.military-today.com/firearms/uzi_pistol.htm
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     semiautomatic pistol. Notable examples include the Cobray MAC-10 (and successive variants)

     and the Intratec TEC-9, which began life as a Swedish designed submachine gun, the

     Interdynamic MP-9.




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13
     Image source: https://www.armslist.com/posts/11522946/st-louis-missouri-handguns-for-sale--vulcan-mac-10
14
     Image source: https://www.egunner.com/intratec-tec-dc9-9mmpara,name,11952922,auction_id,auction_details
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                C. Proliferation of the AR & AK Platforms for the civilian market

          71.   Since the late 1950’s through the late 1960’s the move towards adoption of

  semiautomatic and select fire rifles by military forces became a global phenomenon. Soviet

  Bloc nations rearmed with AK type rifles (and their variants) while NATO Nations adopted a

  number of designs from Colt, HK and FN, as stated previously, around a standardized caliber

  rifle cartridge.

          72.   Several companies adapted these weapons, without changing their basic construction

  or design features, for civilian use. For example, in the early 1960’s, Colt sought to capitalize on

  the military acceptance of the AR-15 /M-16 andbegan to produce rifles, incorporating the same

  construction techniques and configuration as the AR-15 for sale on the civilian market. The only

  difference between the Colt-produced military and civilian versions was removal of select fire

  capability and relocation of assembly/ disassembly pins in the lower receiver as stated previously.

          73.   These civilian versions, including the Colt·AR-15, retained the performance

  capacities of the military weapons they were based on, including the effective range, muzzle

  velocity and semiautomatic rate of fire. In addition, the weapons retained the capability to

  accommodate large capacity magazines (more than ten rounds) as originally issued for military

  use. Again however, the basic configuration, appearance, construction and operation of the

  internal gas operating system (as designed) has remained unchanged since its initial design and

  introduction as a military weapon.

          74.   The expiration of Colt’s patents in the late 1970’s naturally spawned competition in

  the marketplace. Throughout the design’s lifespan many of the internal fire control components

  have remained unchanged and their specifications standardized industry wide. There are multiple

  internal parts that are completely interchangeable between military M16’s manufactured in the

  1960’s by Colt and an AR-15 type rifle produced today by any one of hundreds of U.S.

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  manufacturers that produce either receivers or internal operating parts. For example, a Bolt

  Carrier manufactured in 1967 by Colt will fit, and function as designed, in an AR copy

  manufactured in 2023. Additionally, the overall configuration of “copycat” AR rifles remains

  essentially identical to the original production design of the early 1960’s. The overall design

  configuration (two piece hinged receiver (shown below), shoulder stock in line with the chamber

  and barrel, placement of the magazine, external switches and other features) are identical or

  nearly so.

         75.   While employed at the ATF NLC I was a custodian of the Laboratory’s Firearms

  Reference Collection. The firearms in the collection were regularly used by students in the

  National Firearms Examiner Academy and often required repair. I have personally replaced

  internal parts in older Colt AR type rifles and Eastern Bloc manufactured AK rifles with recently

  manufactured parts from aftermarket vendors. The parts fit without issue and the firearms

  functioned as designed after the repair.

         76.   Due to their modular construction AR type rifles are easily constructed / configured

  with parts made by other manufacturers to suit the owner’s personal preference. The rifle receiver

  itself is designed as a two-piece unit and the “upper receiver” and “lower receiver” can be

  swapped out for other interchangeable pieces made by the same or another manufacturer with

  ease. The design also facilitates replacement of internal fire control components and assemblies.

         77.   Individual component pieces can be purchased allowing the individual to build a

  custom AR type rifle from the “ground up” as opposed to purchasing a complete firearm due to the

  standardization and interchangeability of parts and subassemblies (under Federal Law the lower

  receiver of the AR platform is considered the “firearm” and requires a serial number). A good

  illustration of this ease of customization, and the plethora of interchangeable parts and accessories,

  is the fact that Brownell’s Inc., an established gun supply retailer in Iowa, currently devotes the

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     first 107 pages of their “Big Book” (74th edition) catalog of parts and accessories to AR type rifles

     alone. 15

             78.    The same holds true for AK type rifles and, more recently, pistols available in the

     civilian market. Although the design (and variants) of the AK-47 are more numerous than the

     AR type rifle (as far as military production and use is concerned), it lags behind the AR in

     regard to domestic civilian popularity. Nonetheless whether the AK Type rifle is of Russian,

     Chinese or other former Eastern Bloc manufacture, there is a robust secondary market in the

     United States for accessories, parts, sub- assemblies etc. Although not as easily modified as

     an AR style rifle due to its less “modular” design there are customization options available

     including a variety of shoulder stocks, sighting and illumination, etc.

             79.    Additionally, much as with AR type rifles, there are numerous vendors selling all

     the necessary component parts needed for an individual to build an AK style rifle from “the

     ground up” as opposed to purchasing a complete rifle and subsequently modifying the

     firearm. In actuality, the receiver of many AK rifles is simply a stamped metal “flat” which is

     available from numerous vendors online for as little as $14.99.




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     Links to view the catalog are available at this website: https://www.brownells.com/order-a-catalog/
16
     Image source: https://www.buymilsurp.com/ak-receiver-flat-and-rails-p-3028.html
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             80.    The AK ‘flat’ is bent into the correct configuration using a jig which can also be

     found from numerous vendors.




                                                                                             17


             81.    As with the AR, the general configuration and specifications of internal AK

     operating parts and assemblies have remained consistent. Regardless of the place of manufacture

     there are numerous internal fire control, feeding and gas operating system components that

     are interchangeable between AK rifles produced by manufacturers over the past 40-plus years.

     Again, as with AR type rifles, the overall configuration of the AK rifle receiver, internal operating

     systems and their parts, and performance (in terms of semiautomatic rate of fire, muzzle velocity,

     range etc.) are comparable to the military versions from which they evolved.

             82.    As stated previously, the expiration of Colt’s AR patent in the late 1970’s spawned

     numerous “copycat” rifles from other vendors. A similar situation occurred with respect to AK

     type rifles on an international scale. These foreign manufacturers, Norinco (China), Romarm

     (Romania) and Valmet (Finland), were or still are state owned enterprises and tens of thousands

     of complete AK copies were imported into the U.S. by a number of foreign manufacturers before


17
     Image source: https://ak-builder.com/images/detailed/1/ak_builder_flat_bending_die_set.jpg
                                                            26
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  additional Federal regulation, Title 18, Section 922(r), required that a certain percentage of the

  rifle’s parts be manufactured domestically.

         83.   Regulation of imports however has not slowed the demand for AK “copycat rifles”

  and numerous domestic manufacturers are producing rifles in the U.S. based on the original

  design and operating system.

         84.   In my opinion, the performance characteristics of Assault Firearms in regard to

  semi automatic rate of fire, muzzle velocity, effective range have not changed since their

  initial incarnation as military weapons.

               D. Marketing of Assault Weapons

         85.   Contrary to claims of political contrivance, the term “assault weapon” had already

  entered common use in the firearms community as early as 1986 when the “Gun Digest Book of

  Assault Weapons” was first published. Edited by Jack Lewis the front cover states that it contains:

  “A detailed analysis of Assault Type Weapons: Test Reports – Firing the latest in full and Semi

  Autos, centerfires, rimfires and shotguns.”




         86.   On Pages 88-93 Lewis reviews and test fires the Springfield SAR-48 which is a

  reproduction of the Fabrique Nationale (FN) FAL Rifle mentioned above. In the article on page

  89 he refers to it as “a weapon of war.”


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             87.    On Page103, Lewis states: “Whatever a shooter’s reasons may be for wanting one,

     he’ll be able to find one of these civilian-legal semi-auto assault weapons on dealer’s shelves. A

     number of them are detailed on the following pages.”

             88.    The firearms industry has also promoted the similarities between semi automatic

     versions of their full / select fire battle rifles for marketing purposes.




                                                                                     18




18
     Image source: https://gearsofguns.com/old-ar-15-ads/
                                                            28
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19
     Image source: “The Black Rifle,” P.98.
                                              29
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             89.    Essentially Assault Weapons can be simply defined (under numerous State and local

     statutes) as semi automatic copies of fully automatic (or select fire) firearms designed and

     intended for use by the military. They retain features and performance characteristics (in terms of

     muzzle velocity, range etc.) originally designed and intended for use on the battlefield.

             90.    Following the passage of the Federal and numerous State and local Assault Weapon

     Bans in the 1990’s, the firearm industry via the National Shooting Sports Foundation (NSSF, a

     firearm industry trade and lobbying organization) reversed course and coined the moniker

     “Modern Sporting Rifle” to describe semi automatic variants of the fully automatic / select fire M-

     16.

                    E. Military origins of Large Capacity Magazines

             91.    Large capacity magazines were not initially designed or intended for the civilian

     marketplace. The lineage and refinement of large capacity detachable magazines and belt feeding

     mechanisms can be traced directly to a military heritage. Various belt & clip fed medium machine

     gun designs by Hiram Maxim (1885) and John Browning (1890) debuted before the end of the

     19th Century;20 however, it wasn’t until the advent of WWI that development and refinement of

     large capacity feeding devices for machineguns gained increased importance.

             92.    In regard to standard issue rifles, the U.S. and other combatant nations entered,

     deployed, and exited WWI with bolt action rifles as standard issue to the individual soldier.

             93.    By contrast, magazine fed semi-automatic pistols first appeared in the early 1890s.

     Numerous models designed and manufactured by Salvator Dormus, Hugo Borchardt and Paul

     Mauser featured both internal fixed and detachable box magazines of varying capacities although

     only Mauser’s C96 (1896) design proved commercially viable and was manufactured until the late



20
     Hogg, Ian V., The Story of the Gun, (St. Martin’s Press, 1996), PP. 83-99
                                                             30
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     1930’s. Initially designed with a 10 round internal fixed magazine later variants included the

     ability to accept detachable magazines.21

             94.    In addition to use of the Mauser C98 in WWI, Germany also issued the P08 (1908)

     “Luger” pistol with an 8 round detachable magazine. Similarly U.S. Forces fielded the Colt Model

     1911 with a 7 round detachable magazine. One exception to the “under 10” magazine capacity

     was the introduction of the Belgian FN “Hi-Power” (1935) 9mm pistol which featured a

     detachable magazine holding 13 rounds.22

             95.    In the interwar years, a number of advancements in arms technology & design

     facilitated practical semi-automatic rifles for standard issue. Accordingly, the U.S. Forces in

     WWII were issued the Springfield Armory M-1 “Garand’ rifle with an 8 round internal magazine.

     The U.S. also deployed the M-1 carbine in .30 caliber which featured a 15 round detachable box

     magazine; however, this was intended for issue to support personnel behind the front lines. It was

     not until the M-14 was adopted in the late 1950s that a rifle with a detachable magazine was

     adopted for standard issue to front line troops. The M-14 was issued with a 20 round magazine.23

             96.    When the AR-15 (later designated M-16) was first purchased and issued to U.S.

     Forces in the early 1960s it was intended to be utilized, and was issued, with 20 round detachable

     magazines.24

             97.    However, when the first semi-automatic variants of the M-16, the Colt AR-15 SP1

     Sporter, became available for sale to the public in 1964 it came supplied with two five round

     magazines, not the military issue 20 round magazines.



21
     Zhuk, A.B., The Illustrated Encyclopedia of Handguns, (Greenhill Books, 1995), PP. 207-211
22
     Hogg, Ian V., The Story of the Gun, (St. Martin’s Press, 1996), PP. 115-122
23
     Hogg, Ian V. & Weeks, John S., Military Small Arms of the 20 th Century, 7th Ed., (Krause Publications, 2000), P. 291
24
     Stevens, R. Blake & Ezell, Edward C., The Black Rifle (Collector Grade Publications, 2004), P. 108
                                                             31
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             98.    As stated by Christopher R. Bartocci in his book The Black Rifle II:

             Initially, Colt simply added a five round limitation spacer to the 20-round
             magazine which could be installed or removed at will by simply removing
             the floor plate of the magazine. This was primarily intended for hunters, in
             compliance with the laws in most states which limit magazines in the field
             to a five-round capacity for hunting. With the introduction of the Colt
             Sporter series, the configuration of this magazine was altered by the
             addition of a permanent rivet in the floorplate to prevent the removal of
             the spacer, thus making this a magazine of dedicated five-round capacity
             for hunting applications. 26




25
     Source: https://thecoltar15resource.com/1964-catalog/
26
     Bartocci, Christopher R., The Black Rifle II (Collector Grade Publications, 2004), P. 263

                                                             32
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              99.   As shown in the image above, Colt continued to provide five round magazines with

     their AR-15 rifles as late as 1987.27

              100. Postwar development of semi-automatic pistols continued after WWII; however,

     magazine capacities generally remained under 10 rounds. Notable examples include the Beretta

     Model 1951 (8 rounds), Sig Sauer P220 (1975, 7-10 rounds depending on caliber), Heckler Koch

     P7 (1978, 8 rounds).

              101. It was not until the early 1980s the U.S. Military sought to replace the Colt 1911, a

     .45 ACP caliber pistol with a seven round magazine, and standardize the sidearms (handguns)

     issued to U.S. Forces in a caliber common to all NATO member nations. The resultant winner of

     numerous competitions was the Beretta Model 92SB, a 9mm caliber pistol with a 15 round

     magazine. Following a few minor functional changes, the Beretta was accepted and designated the

     M-9.28

              102. During the latter half of the 1980s, numerous manufacturers, both domestic and

     foreign, began developing and offering numerous semi-automatic models with magazine

     capacities equaling, or exceeding, that of the Beretta M-9.




27
     Colt Firearms 1987 Catalog, (Colt Industries Inc., 1986), P.15
28
     Wilson, R.L., The World of Beretta, An International Legend, (Random House, 2000), PP. 227-253
                                                             33
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               103. In 1994, Congress adopted the Violent Crime Control and Law Enforcement Act,

     (which included provisions also known as the Federal Assault Weapons Ban or “AWB”), which

     limited the maximum capacity of a detachable magazine to ten rounds.29 As a result, numerous

     firearm manufacturers, as well as aftermarket magazine manufacturers, initiated production of

     what were colloquially termed “post ban” magazines to conform to the new legislation.

     Magazines with a capacity of over ten rounds were termed “Large Capacity Magazines.”30 The

     post ban magazines were modified, or retooled, versions of existing large capacity magazines in

     order to keep their dimensions identical and ensure that the 10-round magazines functioned

     identically to existing magazines of 11 rounds or more in their firearms. For example, pictured

     below is a ‘pre ban’ 10-round magazine for a Browning 9mm caliber “Hi Power” semi-automatic

     pistol:




                                                                                         31


29
     https://www.congress.gov/bill/103rd-congress/house-bill/3355/text
30
  The definition of “Large Capacity Magazine” under the Federal AWB included any magazine with a capacity of over
10 rounds where under Colorado Law it defines a magazine with a capacity of over 15 rounds.
31
     Image source: https://www.brownells.com/magazines/handgun-magazines/magazines/magazine-high-capacity
                                                            34
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            104. And shown below is a ‘post ban’ magazine for the same pistol. You will note the 10-

     round magazine differs as a portion of the metal magazine body is replaced with a molded

     polymer plug. This modification effectively limits the interior volume and capacity of the

     magazine to 10 rounds. Manufacturers have also utilized various other methods to restrict

     magazine capacity, including dimpling the lower quadrant of the magazine body inwards, placing

     rivets in the magazine body, or thickening the walls of polymer bodied magazines to reduce

     capacity.




                                                                                       32



            105. Following the expiration of the Federal Assault Weapons Ban, numerous states and

     localities enacted their own legislation, which also contained magazine capacity limitations. As a

     result, many manufacturers of popular semi-automatic handguns and rifles during the Federal




32
  Image Source: https://www.brownells.com/magazines/handgun-magazines/magazines/magazine-10-round-browning-
high-power
                                                    35
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     Assault Weapons Ban continued to offer “state compliant” versions to customers in states so

     affected. Manufacturers such as Glock, Sig Sauer (SIG), FN USA, Beretta, and Smith & Wesson,

     among numerous others, offer handguns and rifles compliant with individual state regulations.

     Most major firearm manufacturers offer models that come “standard” with 10-round magazines.

             106. Shown here is a page from the online catalog of FN USA (the U.S. based subsidiary

     of Belgian arms manufacturer Fabrique Nationale) showing the “California Compliant” version of

     their “Five-seveN” pistol.




                                                                                                     33



             107. This is a page from Smith & Wesson’s online catalog showing their AR-15 type rifle

     which is marketed as a “compliant” model and is sold with a 10-round capacity magazine:



33
     Image Source: https://fnamerica.com/catalog-and-wallpapers/
                                                           36
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     34



             108. And a “California Compliant” Glock Model 19 9mm pistol available from

     Sportsman’s Warehouse:




     35




34
     Image Source: https://www.smith-wesson.com/product/m-p-15-sport-ii-compliant
35
  Image Source: https://www.sportsmans.com/shooting-gear-gun-supplies/handguns/glock-19-9mm-luger-402in-black-
nitrite-pistol-101-rounds-california-compliant/p/1155366
                                                         37
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             109. Additionally, there are numerous well respected aftermarket manufacturers who

     offer 10-round magazines specifically for use in handguns that come with LCMs. Mec-Gar and

     ProMag are two of many:




                                                                                                         36




                                                                                                              37




36
     Image Source: https://mec-gar.com/shop/magazines/sig-sauer/sig-sauer-p229-1-9mm-10-round/
37
     Image Source: https://promagindustries.com/fits-the-glock-model-17-19-26-9mm-10-rd-black-polymer/
                                                         38
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           110. In my opinion, the ability to fire an increased quantity of cartridges without

  reloading increases the lethality and effectiveness of small arms in combat or the military would

  not have incorporated this feature. Less time required to reload can equate to more time spent

  acquiring targets or shooting. As stated previously form follows function in regard to equipment

  designed and intended for military use.

    III.    Features of Assault Rifles/Assault Weapons Under the Statute.

           111. Based on my experience and my training and research regarding the conception,

  design, history, and purpose of assault weapons, the assault weapons as described in the Statute

  are ill-suited for civilian self-defense.

           112. Many of the assault weapons available for purchase by the public and prohibited by

  the Statute, are near identical copies of military firearms, save for the lack of select fire capability.

  As such, they retain a number of features originally designed to maximize their effectiveness in

  battle. Other firearms available to the public and prohibited by the Statute, which were not

  initially intended for sale to government or military customers, incorporate features which mimic

  those found on military firearms. Moreover, there are countless accessories available to add to

  firearms traditionally considered “sporting firearms” (i.e. those initially designed and

  manufactured for target shooting or hunting), which brings their functionality more towards the

  military side of the spectrum and away from the sporting side.

                A. Prohibited Firearms And Features Under the Statute.

                     i. Prohibited Firearms

           113. The Statute, enumerates 36 specific types of weapons that are considered “assault

  firearms,” including AR-15 style and AK type rifles. N.J. Stat. Ann. § 2C:39-1(w)(1).

           114. The types of firearms classified as assault firearms under the Statute, including AR

  and AK type rifles, are direct developmental descendants of Military weapons designed for use in
                                                 39
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  combat. The ‘civilian’ AR-15 type rifles in .223 / 5.56mm retain the same performance

  characteristics (in terms of muzzle velocity, range, etc.) as does the military M-16 and its variants

  (M-16A2, M-4 etc.). For example, according to the US Army Manual 3-22.9 “Rifle

  Marksmanship M-16A1, M-16A2/3, M-16A4, and M4 Carbine, April 2003,” the maximum range

  of these rifles is 2650-3000 meters. They were not designed, nor are they suitable, for home

  defense in short range close quarter situations.




         115. The Statute also bans certain weapons based on magazine capacity. I discuss

  magazine capacity below.

         116. Finally, the Statute restricts shotguns with revolving cylinders. Such shotguns are

  known as “street sweeper” shotguns, and are of a design that has not been accepted or adopted for

  military or law enforcement use by any nation or agency that I am aware of. In terms of legitimate

  sporting use for either hunting or target shooting or self-defense, I cannot conceive of it having
                                                   40
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  any utility. Shotguns of this type have been classified as a “Destructive Device” by ATF and are

  subject to additional restrictions under the National Firearms Act of 1935.

                   ii. Prohibited Features

         117. Included in the Statute’s definition of “Assault firearm,” at N.J.S.A. 2C:39-1(w)(2)

  to (5), are a number of features which, when added to certain firearms, bring those firearms under

  the statutory definition of Assault weapons. The Statute, at under N.J.S.A. 2C:39-1(w)(2) states

  that a weapon is an assault firearm if it is “substantially identical” to any of the 36 types of

  weapons listed in N.J. Stat. Ann. § 2C:39-1(w)(1).

         118. In 1996, the New Jersey Attorney General issued Guidelines “to provide guidance to

  the prosecutors” about when a semi-automatic firearm should be considered to be “substantially

  identical” to a named assault weapon in N.J.S.A. 2C:39-1(w)(1).

  https://www.state.nj.us/lps/dcj/agguide/assltf.htm

         119. The Guidelines mirror the definition of “semiautomatic assault weapons” in the

  1994 federal “Public Safety and Recreational Firearms Act” which was part of a larger

  omnibus crime reduction act. Commonly known as the Federal “Assault Weapons Ban”

  (AWB) the act banned the possession, transfer or importation of “semiautomatic assault

  weapons.”

         120. Specifically, the Guidelines state that when two or more of certain listed features are

  present in a weapon, it should be considered “substantially identical” to an assault firearm under

  N.J.S.A. 2C:39-1(w)(1) and (2).

         121. As I explain below, each of the features listed in the Statute and Guidelines, whether

  incorporated into the firearm by the manufacturer as standard equipment or subsequently added

  by the owner as an accessory, can generally be considered capable of increasing the firearm’s

  effectiveness in a combat scenario.

                                                    41
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         122. A pistol grip or thumbhole stock (for rifles and shotguns). A semiautomatic rifle

  or shotgun that includes a pistol grip (or does not include a shoulder stock) somewhat increases

  the ability of the operator to conceal the rifle or shotgun and to maneuver the firearm in confined

  space such as a vehicle. The pistol grip also facilitates easier firing from positions other than the

  shoulder (firing from the hip or a point position directly in front of the operator).

         123. Forward handgrip (rifles, shotguns, pistols). Forward handgrips allow increased

  stability of the firearm by the operator. This allows the operator to better control recoil and

  muzzle climb thus increasing the hit probability of successive shots. A protruding foregrip is not a

  feature found on traditional sporting firearms. It appeared on some versions of AK based rifles;

  however, it was not until the advent of the Rail Attachment Systems (RAS) and acceptance by the

  US Military of same that foregrips for semi-automatic rifles became more widespread. A foregrip

  on a pistol is considered “any other weapon” under the National Firearms Act and subject to more

  restrictive controls to include registration in a national database.

         124. Folding/telescoping stocks (rifles and shotguns). Folding and / or telescoping stocks

  allow the operator to more easily conceal or maneuver the rifle in a confined space such as a

  vehicle. They also facilitate easier or more comfortable firing from positions other than the

  shoulder. U.S. Military origins for this type of stock can be found on the M1 carbine in World

  War II when modified for paratrooper use.

         125. Flash suppressors. A flash suppressor reduces the muzzle flash, allowing the

  operator to more easily maintain vision in low light conditions and also helps to conceal the flash

  from view. This allows the operator to more easily acquire additional targets in a shorter period

  of time without having to wait for their vision to adjust to a brighter muzzle flash as well as helps

  conceal the shooter’s position.



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           126. Grenade launchers. Without question a grenade launcher has neither a sporting

  lineage nor a practical application on a civilian firearm. Obviously a grenade is an offensive

  military weapon which could result in mass casualties if deployed during a civilian event or public

  space.

           127. Barrel shroud. Military semi-automatic and select fire rifles have featured a shroud

  or hand guard that encircles the barrel since before the onset of World War II. The M1 “Garand”

  Rifle utilized by the US Military during that conflict incorporated a traditional wooden stock

  similar to most hunting and sporting rifles of the period. However, it also featured a wooden

  handguard which covered the top 2/3rds of the barrel. Therefore this design feature is not a recent

  development. Enclosing the barrel in a shroud serves multiple purposes. In a modern gas operated

  semi-automatic military rifle, it serves to protect the gas tube / piston mechanism from inadvertent

  damage. It also provides additional grip space for the operator to steady and control the rifle

  during rapid, repeat firing without getting burned by the hot barrel.

           128. Threaded barrel. A threaded barrel allows for attachment of a suppressor

  (commonly referred to as a silencer) which allows the operator to better conceal themselves from

  their target by reducing the report of their firearm. It also allows the attachment of some flash

  suppressors with the resultant effect mentioned previously.

           129. Buffer tube, arm brace, or the like. Attachment of a brace, when affixed to a rifle

  caliber pistol effectively mimics the characteristics of a short-barreled rifle (a type of weapon

  restricted under the National Firearms Act) as it can allow the operator to fire it from the shoulder

  increasing stability while maintaining concealability.

           130. “Bump stocks.” A bump stock is a device which replaces the shoulder stock on a

  firearm and utilizes the recoil generated by firing to rapidly ‘bump’ the trigger against the

  operators finger. The resultant effect is a dramatic increase in the cyclic rate (number of rounds

                                                   43
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  fired per minute) above that which would be normally be achieved by the unmodified firearm. For

  example, a semi-automatic AR type rifle equipped with a bump stock can fire between 600-700

  rounds per minute, a cyclic rate which is roughly equivalent to that of a full-automatic M-16.

                 B. Prohibited “Large Capacity Magazines” Under The Statute.

            131. The Statute further defines an “assault firearm” as “[a] semi-automatic rifle with a

  fixed magazine capacity exceeding 10 rounds.” N.J. Stat. Ann. § 2C:39-1(w)(4). And the Statute

  separately prohibits possession of large-capacity magazines, which are ammunition magazines

  capable of holding more than 10 rounds of ammunition. Id. § 2C: 39-1(y).

            132. Generally speaking, modern semi-automatic rifles that are designed, manufactured

  and marketed as “hunting rifles” traditionally have an internal magazine capacity of less than 10

  rounds depending on caliber. For example, the Browning BAR in .30-06 caliber as currently

  manufactured has an internal magazine capacity of four (4) rounds. The Remington Model 1100, a

  semi-automatic shotgun, has an internal magazine capacity of 5 rounds.

            133. Semi-automatic pistols from numerous manufacturers are sold with magazines that

  would be permitted under the Statute. For example, 9mm caliber pistols are available with

  standard magazines with a capacity of 15, 10, or as few as 7 rounds.

  https://www.sportsmans.com/shooting-gear-gun-supplies/handguns/handguns/c/cat-9mm-luger-

  pistols

            134. Detachable magazines are available with varying capacities from 5-100 rounds.

  Generally speaking any firearm designed for a detachable magazine with a capacity exceeding 10

  rounds will function as designed with a magazine with a smaller maximum capacity.




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       IV.     Rifle Caliber Assault Firearms and Self / Home Defense.

             135. At numerous points throughout their complaint the Plaintiffs allege that self-defense

     is one of the primary reasons for the purchase of a firearm regulated by the Statute. It is my

     opinion that an AR, AK, or other banned assault weapon is a poor choice for this task.

             136. I have been asked on numerous occasions over the past 35 years what firearm I

     would recommend for home or self-defense. My recommendation is based upon my inquiry in

     return regarding the individual’s (and their family members’) personal experience and comfort

     level with firearms. In over 25-plus years, I have never recommended an AR, AK or other rifle as

     a home defense weapon.

             137. Home defense and / or self-defense situations are rarely, if ever, lengthy shootouts at

     long ranges with extensive exchanges of gunfire. Assault firearms banned under the Statute were

     designed to be effective at battlefield ranges of up to 500 yards. The typical muzzle velocity of a

     .223 caliber bullet is 3,200 feet per second (+ or -). Projectiles travelling at velocities found in

     banned weapons pose a serious risk of over-penetration in most home construction materials such

     as gypsum board / sheet rock, and typical 2x4 lumber. When this cartridge was designed for the

     AR-16 / M-16, it was intended to kill or incapacitate enemy combatants at distances of hundreds

     of yards not dozens of feet.

             138. In August 2014 the National Rifle Association’s “American Rifleman” published an

     article by Stanton Wormley: “The AR-15 for Home Defense: Penetration Tests.”38 Wormley

     conducted penetration tests on nine different types of .223 / 5.56mm ammunition by firing them

     through simulated wall sections constructed of gypsum board / sheet rock and wooden 2x4 studs.

     When fired at a 90-degree angle to the walls all nine (including “frangible” rounds designed to




38
     https://www.americanrifleman.org/content/the-ar-15-for-home-defense-penetration-tests/
                                                           45
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     disintegrate when hitting a hard surface) easily penetrated the wall section as well as water jugs

     placed three feet behind:

                    But just how much energy did the penetrating projectiles carry? All
                    the loads, including the Glaser, exploded one-gallon water jugs
                    placed 3 feet behind the wall sections.39

            139. The tests conducted by Wormley also included firing longitudinally through the wall

     sections resulting in the penetration of three successive 2” thick 2x4 studs by a number of the

     projectiles. These tests vividly highlight the inherent dangers of utilizing assault weapons with

     high velocity ammunition in a home defense scenario.

            140. In reference to the NRA American Rifleman article mentioned earlier in this report,

     current U.S. Army issue .223 caliber ammunition is capable of penetrating 3/8” hardened steel at

     350 yards. Potential over-penetration in a confined environment is problematic in terms of risk to

     bystanders or family members outside the target location. Most jacketed commercially available

     .223 / 5.56mm ammunition has impressive penetration capabilities in this regard. Additionally,

     the (former) NATO issue M855 SS109 5.56mm is readily available for purchase by civilians. This

     ammunition was designed to penetrate up to 3mm of “soft,” (non-hardened) steel. This capability

     is certainly unnecessary and poses substantial risks to individuals in adjoining rooms, neighboring

     apartments or other attached dwelling units.

            141. In my opinion, assault firearms, as defined under the Statute, are a poor choice for

     home defense or personal protection. Many enumerated in the Statute require two hands to

     effectively aim and shoot. In a home defense situation, an individual may be required to use one

     hand to call 911 while attempting to operate a “two handed” firearm with one hand. Such a

     situation would also preclude the homeowner from utilizing their “non-gun hand” to pick up or

     guide a small child, elderly, or vulnerable adult during such an event. During a stressful situation


39
     Id.
                                                     46
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  such as a home invasion or break-in, there may be multiple steps required by the operator to bring

  the weapon from a “safe” condition to a firing condition. Manipulation of a charging handle,

  safety switch, or inserting a magazine may be difficult to accomplish under stress, particularly if

  the operator has not adequately trained or practiced with their firearm. Other family members may

  not be familiar with bringing the weapon to a firing condition or fail to complete adequate steps to

  do so under duress.

         142. Unloaded, an AR-platform rifle weighs approximately 6.5 to 7 pounds. It also

  requires two hands to aim and fire. In a home-defense scenario, a homeowner would likely be

  attempting to call 911 while addressing the intruder, which is difficult if not impossible while

  wielding their AR-15 effectively and safely. Additionally, it would hamper, if not prevent, leading

  a vulnerable adult away from danger or guiding/carrying a small child. By comparison, common

  handgun weights are between 2 and 3 pounds and require only one hand to operate.

         143. While employed as a Special Agent with ATF, the agency transitioned to an AR type

  rifle in the early 2000’s. Each Agent was required to attend, and successfully complete, a one

  week / 40 plus hour transition training class in order to familiarize themselves, and qualify, with

  the firearm. The training included repetitive live fire drills under stressful conditions.

  Additionally, we were required to requalify with these firearms quarterly and repeat the same

  drills as during the initial transition training. Nonetheless, I witnessed Agents make errors that

  resulted in a failure of the weapon to fire during those drills, even though those Agents had

  performed the drills repeatedly under stress. It is worth noting here that the M4 carbines issued to

  ATF Field Offices were select fire rifles (i.e. machineguns capable of full automatic fire) that

  were converted to semi-automatic fire only.

         144. Additionally, I am not of the opinion that an abundance of ammunition is a substitute

  for weapons familiarization and shot placement. Repeated practice and shooting with your chosen

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     firearm will make you a more effective deterrent than the capability to fire more rounds, should

     deadly force be required. The operation (or cycle of fire) of any firearm designed and

     manufactured to accept a detachable magazine will function regardless of the maximum capacity

     of the magazine itself.

             145. For example, firearms such as the Glock Model 17 semi-automatic pistol and AR-15

     type semi-automatic rifle will function as designed whether the operator utilizes a magazine

     limited to 10 rounds or one of greater capacity. Generally speaking, any firearm designed to

     accept a detachable magazine holding more than 10 rounds will also accept a magazine with a

     maximum capacity legal under the statute. This includes the vast majority of handguns and

     shoulder-fired firearms designed and manufactured to utilize detachable magazines. Magazine

     capacity is not a determinant of firearm operability.

             146. Home defense and / or street / commercial robbery situations between citizens and

     criminals are rarely lengthy protracted shootouts with extensive exchanges of gunfire. The

     National Rifle Association Institute for Legislative Action (NRA ILA) regularly publishes

     newsclips on their “Armed Citizen” webpage highlighting examples of defensive use of firearms

     by citizens.40

             147. Claude Werner, a firearm instructor and writer, conducted a detailed statistical

     analysis of 482 incidents provided by the NRA ILA on their website from 1997 to 2001. He

     determined, from the information provided, that the average number of shots fired by an armed

     citizen in a defensive scenario was 2.2.41




40
      https://www.nraila.org/gun-laws/armed-citizen/
41
      https://www.defensivecarry.com/attachments/tac-5-year-w-tables-pdf.107045
                                                          48
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         148. Lucy Allen conducted a similar statistical analysis of the “Armed Citizen” newsclips

  for the period January 2011 – May 2017. Her analysis revealed that the average number of shots

  fired in a self-defense scenario was identical to that determined by Werner: 2.2 shots.

         149. I am of the opinion that an overabundance of ammunition and a “spray and pray”

  mentality is a poor substitute for training and competent marksmanship with your chosen self-

  defense firearm. In fact accurate shot placement will prove a more effective deterrent than the

  number of rounds in your magazine should deadly force be required.

         150. If the individual preferred shoulder weapons, I have recommended, depending on

  what is legal in the appropriate jurisdiction, a pump action 12 or 20-gauge shotgun (Remington

  870, Mossberg 500 etc.) loaded with 00 Buckshot and stored with the “hammer dropped” on an

  empty chamber, safety off. The only action required to bring the shotgun from a safe unloaded

  condition to a firing condition is to work the pump action of the shotgun. The advantages of this

  type of firearm and storage condition are unmatched stopping power, low probability of over

  penetration (as compared to rifle caliber and velocity projectiles) and zero manipulation of safety

  mechanisms required in high stress situations. The loading / chambering process itself is an

  audible deterrent. Training and familiarization with this type of a firearm is simple and

  straightforward.

         151. For a handgun, my first inclination is to recommend an eight shot revolver in .38 +P

  caliber / .357 Magnum (Similar to S&W Model 627, Taurus Model 608, etc.) loaded with hollow

  point bullets, depending on what is legal in each jurisdiction. As with my rationale for

  recommending a pump action shotgun there are no complicated safety mechanisms to manipulate

  in a high stress situation, low probability of over penetration and ease of reloading with a speed

  loader should more than eight shots be required. Revolvers are also easier and less complicated

  for other family members to learn to operate especially if they have less familiarity with firearms.

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            152. In terms of a carry handgun, I value concealability over ammunition capacity. The

  advantage of concealed carry is protection without broadcasting the fact. In a street robbery

  scenario, I believe the best course of action is to quickly extricate yourself from the “kill zone”

  and not engage in a protracted gunfight. When I was employed as a Special Agent with ATF, we

  were issued a Sig Sauer P229 in .40 S&W caliber as a primary duty weapon. We were also given

  the choice of a Sig Sauer P239 in .40 S&W or a five shot Smith and Wesson Model 640 in .357

  Magnum as a backup firearm. When off duty, I carried the S&W 640 and a speed loader

  extensively as opposed to the P229. I found it easy to conceal and am of the opinion that ten (10)

  rounds was an adequate amount of ammunition to enable me, or myself and my wife, or child, to

  extricate myself from a street or retail location robbery should I encounter one. Consequently, I

  have most often recommended either a lightweight small revolver (S&W Bodyguard, Ruger LCR,

  Smith and Wesson Model 36, 640 or variant) carried with a speed loader or a low profile small

  semiautomatic pistol (Sig Sauer P236, Ruger LCP, Colt Pocketlite etc.) with a spare magazine.

            153. In my opinion, based upon my training, knowledge, experience and research, assault

  firearms were not designed for traditional hunting purposes. Pistol caliber firearms (.380, 9mm,

  .45) are not a popular hunting caliber. Neither was the .223/ 5.56 caliber cartridge developed for

  civilian hunting applications. Due to .223 caliber / 5.56 mm bullets proven record of causing

  considerable tissue damage (when fired from an AR type rifle or pistol) it is a counterintuitive

  choice.

   V.        Assault Weapons As A General Threat To Public Safety

            154. As mentioned previously in this report, many of the firearms prohibited by statute

  directly trace their origins to those developed for use in combat. As such they were never initially

  intended for general distribution / sale to the public.



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         155. As tragically demonstrated by recent mass shootings such as the Pulse Nightclub in

  Orlando Florida in 2016 (49 fatalities, 50+ wounded), the 2017 Las Vegas shooting (60 fatalities,

  400+ wounded), the 2022 Uvalde Texas School shooting (21 fatalities + 17 wounded) and the

  July 4th 2022 shooting in Highland Park (7 fatalities + 48 wounded), the assault weapons (in

  conjunction with high capacity magazines) as defined under the Statute are capable of inflicting

  significant carnage upon civilians in a short period of time.

         156. Rifle caliber Assault Firearms as regulated under the Statute pose a significant risk to

  Law Enforcement Officers. It has been my experience that soft body armor issued to most

  Uniformed Officers has a “Level II” or “Level IIIA” National Institute of Justice (NIJ) protection

  rating. These two ratings are suitable for protection against most handgun bullets as those

  projectiles range up to a 1200FPS (+ or -) velocity. Rifle caliber Assault Weapons (AR & AK

  type) can, as stated previously in this report, achieve muzzle velocities of 3200FPS (+ or -) which

  can readily penetrate Level II & IIIA Body Armor (as well as some Level III hard body armor

  which is not universal standard issue amongst Law Enforcement Agencies nationwide). Not only

  do the firearms subject to the Statute pose a threat to overall public safety they increase the

  likelihood that first responders charged with stopping such a threat, or attending to wounded

  citizens, may be injured or killed in the performance of their duty.

         157. This online video illustrates the capability of commonly available .223 / 5.56mm

  caliber ammunition to penetrate Level III body armor. The author / narrator states that this test

  was performed at a distance of “about seven yards.”

  https://www.youtube.com/watch?v=oMYkEMhPsO8

         158. The argument that commercially available AR type rifles are somehow less

  dangerous or lethal simply because they fire only in semi-automatic mode is misleading. They

  retain the identical performance capabilities and characteristics (save full-automatic capability) as

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                  Exhibit A
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                                       James E. Yurgealitis
                              5004 Roller Rd., Manchester, Maryland 21102
                                    24 Hour Mobile: (443) 452-7248
                                     Email: jyurgealitis@gmail.com
  _____________________________________________________________________________________________

  SUMMARY:

  Self employed as a Legal and Public Policy Consultant providing Technical Firearms and Forensic
  Consulting, Testing and Policy Research / Training Services to Corporations, Legal Counsel and the
  Public Sector

  EDUCATION:

  B.A., Political Science and Psychology, St. John Fisher University, Rochester, New York – May 1985

  PROFESSIONAL EXPERIENCE:

  December 2012 to Present: Independent Legal and Policy Consultant / Subject Matter Expert

  Currently provide independent consulting services to Corporations, Legal Counsel and Governmental
  entities in regard to Public Policy and Technical matters relating to Firearms, Firearms Policy, Forensics
  and Law Enforcement. Current and former clients include the Office of the District Attorney for Cook
  County Illinois, The City of Sunnyvale, California, The City of Highland Park, Illinois, The Office of the
  Attorney General for the Commonwealth of Massachusetts and the Center for American Progress,
  Washington D.C. I have provided sound policy and technical assistance for my clients to include expert
  testimony which successfully endured the opposition’s legal appeals to the U.S. Circuit Court of Appeals
  and the U.S. Supreme Court.

  December 2003 to December 2012: Senior Special Agent / Program Manager for Forensic Services
  ATF National Laboratory Center (NLC), Beltsville, Maryland. U. S Department of Justice, Bureau of
  Alcohol, Tobacco, Firearms and Explosives (ATF)

  Directed the administration and management of ATF’s Forensic Training Programs to include the
  National Firearms Examiner Academy (NFEA) a 12-month training program for State and Local Forensic
  Firearm Examiner Trainees. Also managed two additional forensic training programs. Administered a
  $1M + budget in accordance with strict ATF and National Institute of Justice (NIJ) guidelines and
  reporting requirements. Responsible for oversight of all Forensic Firearms related research at the NLC.
  Supervised a full and part time cadre of fifty-two (52) instructors and administrative personnel.
  Maintained liaison with commercial firearms and ammunition manufacturers and subject matter experts
  and ensure that lesson plans and curriculum reflected the latest technical developments in firearms
  manufacture, forensics and their application to federal and state law. Applied for, received and managed
  in excess of $2M in external grants to facilitate uninterrupted delivery of training during internal budget
  shortfalls. Detailed to the Department of Homeland Security Command Center in 2005 with overall
  responsibility to coordinate and direct Federal, State and Local Law Enforcement assets during and
  following Hurricanes “Irene” and “Katrina” and again in 2010 for “Andrew” and “Danielle”.

  June 1997 - December 2003: Special Agent / Violent Crime Coordinator, ATF Baltimore Field Division,
  Baltimore, Maryland
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  Responsible for management of ATF’s “Project Disarm”, a joint law enforcement initiative between ATF,
  The United States Attorney’s office for the District of Maryland (USAO), the Baltimore City Police
  Department, the Baltimore City States Attorney’s Office and the Maryland State Police. Duties included
  reviewing over 400 state and local firearms related arrests annually for subsequent referral to the USAO
  and Federal Prosecution. Managed a caseload of 75 – 100 criminal cases annually. Responsible for
  selection, referral, follow - up investigation and subsequent indictment and prosecution of armed career
  criminals. Testified in front of Federal Grand Juries in excess of 75 times annually. Was recognized, and
  testified, as an expert witness in the Identification, Operability and origin of Firearms and Ammunition in
  three Federal Judicial Districts. Toured over 25 firearms and ammunition manufacturing facilities in
  Europe and the United States. Temporarily assigned in 2001 for three months to the 9-11 Task Force
  investigation in conjunction with FBI Assets. Temporarily assigned to the D.C. Sniper Task Force
  Intelligence Group in 2002 for two months.

  June 1990 – June 1997:
  Special Agent, ATF Baltimore Field Division, Baltimore, Maryland

  Served in various capacities as a street-level Special Agent. Acted as Group Supervisor and Assistant
  Special Agent in Charge on numerous occasions. Served on the Washington – Baltimore High Intensity
  Drug Trafficking Area (HIDTA) task force from 1995 – 1999. Investigated armed narcotics trafficking
  organizations, seized assets, authored and executed Federal and state search and arrest warrants,
  conducted surveillance, interviews / interrogations, testified in Federal and state courts as a fact witness,
  purchased firearms, explosives and narcotics while in an undercover capacity, investigated fatal bombings
  and arsons, firearms trafficking, alcohol and tobacco trafficking, homicide, fraud and gun store burglaries.
  Also while detailed for 8 months as the Public Information Officer authored press releases, provided
  interviews to local and national print and television media outlets and made presentations to local and
  national public and special interest groups and associations.

  April 1989 – June 1990 and July 1986 – March 1987: Special Agent, United States Department of State,
  Diplomatic Security Service (DSS), Washington Field Office, Rossyln, VA

  Conducted investigations of violations of Federal Law under the department’s purview to include
  Passport and Visa Fraud, Illegal trafficking of restricted firearms and war materials to prohibited
  countries, human trafficking, seized assets, authored and executed State, local and Federal Arrest and
  Search Warrants, testified in Federal Court as a fact witness, detailed on an as needed basis to the
  Dignitary Protection Division as Agent in Charge of multiple protective details for visiting and resident
  foreign dignitaries, temporarily assigned to support Physical and Personal Protective Security in various
  U.S. Embassies overseas on an as needed basis, detailed to the Secretary of State Protective Division on
  an as needed basis to supervise agents assigned to augment the permanent protective detail.

  March 1987-February 1989: Special Agent, DSS, Secretary of State Protective Division, Washington, DC

  Served in various capacities as Acting Agent in Charge, Acting Shift Leader, Lead Advance Agent and
  Shift Agent. Responsibilities included close personal protection of the Secretary of State both
  domestically and overseas, extensive foreign travel to facilitate and prepare security arrangements for
  overseas visits to include Presidential Summit meetings, liaison with foreign host government officials to
  plan and solicit assistance with security arrangements, supervision of agents temporarily assigned to
  augment the detail, liaison with U.S Government Intelligence Agencies and other Federal, State and Local
  Law Enforcement Agencies to identify and protect against potential threats to the Secretary of State.

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  CLEARANCES: Top Secret March 1986 valid through February 2015. Numerous prior SCI Clearances.

  TEACHING EXPERIENCE:

     -   Instructed at the Federal Law Enforcement Training Center (FLETC), for ATF and other Federal
         Law Enforcement Agencies
     -   Instructed at the International Law Enforcement Academy (ILEA) in Budapest, Hungary
     -   Instructed for numerous State, local and / or regional law enforcement agencies both in the United
         States, Canada and Central America

  LINKEDIN PROFILE AND ENDORSEMENTS:

  https://www.linkedin.com/in/james-jim-yurgealitis-68618464?trk=nav_responsive_tab_profile_pic

  REFERENCES:

  Available upon request




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                  Exhibit B
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                       Professional Qualifications of James E. Yurgealitis
                   Independent Legal, Public Policy and Forensic Consultant

  I, James E. Yurgealitis, being duly sworn, depose and state:

  1.) That I was previously employed as a Senior Special Agent / Program Manager with
      the Bureau of Alcohol, Tobacco Firearms & Explosives, (ATF) United States
      Department of Justice, and had been so employed since 1990. Prior to 1990 I was
      employed as a Special Agent with the Bureau of Diplomatic Security, (DSS) United
      States Department of State and had been so employed since 1986.

  2.) I have a Bachelor of Arts Degree in Political Science and Psychology from St. John
      Fisher College, Rochester, New York.

  3.) I am a graduate of the Federal Law Enforcement Training Center, Glynco, Georgia,
      the Criminal Investigator Training Program, Bureau of Diplomatic Security New
      Agent Training, and the Bureau of ATF New Agent Training Program.

  4.) I have completed the Firearms Interstate Nexus Training Program conducted by the
      Firearms Technology Branch, ATF Headquarters, Washington, D.C.

  5.) I have completed both Advanced Interstate and European Nexus Training conducted
      by ATF in conjunction with several domestic and European firearm manufacturers.

  6.) I have testified in excess of 200 times before Federal Grand Juries regarding the
      classification, operability, and commerce of firearms and / or ammunition.

  7.) I have previously qualified as an expert witness regarding the origin, operability /
      classification and interstate movement of firearms and ammunition in U.S. District
      Court for the District of Maryland, U.S. District Court for the District of Delaware
      and the Circuit Court For Baltimore City, Maryland.

  8.) I have conducted regular training for local, state and federal law enforcement
      agencies both domestically and overseas regarding firearms classification,
      operability and firearms statutes.

  9.) I maintain a personal library of books, printed material and documents that relate to
      the field of firearms, ammunition, and firearms classification, attend local and
      national trade shows and professional association meetings, and regularly review
      periodicals relating to firearms and ammunition.

  10.) I attend trade shows, maintain contact with, and regularly consult with other
       persons, to include published authors and recognized experts in the origin,
       identification and classification of firearms and ammunition.

  11.) I have, during my tenure with ATF, personally examined in excess of five thousand
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  Qualifications Of James E. Yurgealitis contd.

  firearms to determine their origin and classification and operability, and to facilitate
  the tracing of those firearms.

  I have toured production facilities for numerous firearms and ammunition manufacturers. The
  tours were conducted by corporate historians, corporate officers, or production engineering
  personnel.

  Domestic Firearm Manufacturers:
  Bushmaster Firearms, Ilion, NY, USA
  Colt, New Haven CT, USA (4x)
  H&R 1871 Inc., Chicopee, MA, USA (2x)
  Marlin, North Haven CT, USA (4x)
  O.F. Mossberg & Sons, North Haven, CT, USA (4x)
  Remington Firearms, Ilion, NY, USA
  Savage Arms Inc., Westfield, MA, USA (4x)
  Sig-Sauer / SIGARMS Inc., Exeter, NH, USA (3x)
  Smith and Wesson, Springfield, MA, USA (4x)
  Sturm Ruger, Newport, NH, USA (4x)
  Yankee Hill Machining, Florence, MA, USA

  Foreign Firearm Manufacturers:
  Carl Walther GmbH, Ulm, Germany
  Ceska Zbrojovka (CZ), Uhersky Brod, Czech Republic
  Fegarmy (FEG), Budapest, Hungary
  F.N Herstal S.A., Herstal, Belgium
  Glock GmbH, Deutsch-Wagram, Austria
  Heckler & Koch GmbH, Oberndorf au Neckar, Germany
  J.P. Sauer & Sohn GmbH, Eckernforde, Germany

  Domestic Ammunition Manufacturers:
  Fiocchi Ammunition, Ozark, MO, USA
  PMC, Boulder City, NV, USA
  Remington, Lonoke, AR, USA (4x)
  Sierra, Sedalia, MO, USA
  Starline Brass, Sedalia, MO, USA

  European Proof Houses
  Beschussamt Ulm, (Ulm Proofhouse) Ulm, Germany
  Beschusstelle Eckernforde, (Eckernforde Proofhouse) Eckernforde, Germany
  Czech Republic Proofhouse, Uhersky Brod, Czech Republic
  Liege Proofhouse, Liege, Belgium


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  Qualifications Of James E. Yurgealitis contd.

  I have been allowed regular access to the following reference collections:
  Bureau of Alcohol, Tobacco Firearms and Explosives Reference Collection, Martinsburg, West
  Virginia, USA consisting of 5,000+ firearms

  Liege Proofhouse, Liege, Belgium consisting of 1,000+ ammunition cartridges

  Springfield Armory National Historic Site Firearms Collection, Springfield, MA, USA
  consisting of 10,000+ Firearms

  Smithsonian Institution (Museum of American History) Firearms Reference Collection
  Washington, DC, USA, consisting of 4000+ firearms

  Wertechnische Studiensammlung des BWB, (Federal Defense Procurement Bureau Museum)
  Koblenz, Germany consisting of 10,000+ Firearms

  I have toured the following museums:
  Heeresgeschichtliches Museum, (Museum of Military History), Vienna, Austria
  Hungarian Military Museum, Budapest, Hungary
  Springfield Armory National Historic Site, Springfield, MA, USA
  United States Air Force Museum, Dayton, OH, USA
  United States Army Ordnance Museum, Aberdeen Proving Ground, Aberdeen, MD, USA
  United States Military Academy Museum, West Point, NY, USA
  United States Naval Academy Museum, Annapolis, MD, USA
  Wertechnische Studiensammlung des BWB, (Federal Defense Procurement Bureau Museum)
  Koblenz, Germany

  Membership in Professional Organizations:

  Member, International Ammunition Association (IAA)
  Technical Advisor (pending approval), Association of Firearm and Toolmark Examiners (AFTE)
  Member, Federal Law Enforcement Officers Association (FLEOA)




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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY



 ASSOCIATION OF NEW JERSEY RIFLE
 & PISTOL CLUBS, INC., et al.,

      Plaintiffs,

 v.                                   Civil Action No. 3:18-cv-10507

 PLATKIN, et al.,

    Defendants.
 CHEESEMAN, et al.,

      Plaintiffs,

 v.                                   Civil Action No. 1:22-cv-4360

 PLATKIN, et al.,

    Defendants.
 ELLMAN, et al.,

      Plaintiffs,

 v.                                   Civil Action No. 3:22-cv-04397

 PLATKIN, et al.,

      Defendants.




                        Expert Report of James E. Yurgealitis




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  I, James E. Yurgealitis, declare as follows:

          1.   I am currently Self Employed as a Legal and Forensic Consultant providing firearms

  related technical and public policy consulting, forensic case reviews and testing and training

  services to corporations, legal counsel, and the public sector. During my previous 26-year career

  as a Federal Law Enforcement Officer, I have been recognized, and testified as, an expert witness

  in numerous local, state and federal courts. I have toured numerous firearms and ammunition

  manufacturer’s facilities both in the United States and overseas. I maintain a personal library of

  firearms and ammunition related books and periodicals and maintain contact with other

  recognized experts in the field. My final assignment in government service was as Senior Special

  Agent / Program Manager for Forensic Services for the Bureau of Alcohol, Tobacco, Firearms

  and Explosives (ATF), U.S. Department of Justice, a position I held for nine years. During that

  time, I was responsible for all Bureau firearms and forensic firearms related training and research

  at the ATF National Laboratory Center in Ammendale, Maryland.

          2.   My credentials, training, background and experience are stated in my curriculum

  vitae, a true and correct copy of which is attached as Exhibit A. My credentials, training,

  background and experience as an expert witness are detailed on my Statement of Qualifications, a

  true and correct copy of which is attached as Exhibit B.

          3.   I have been retained by the Office of the Attorney General of the State of New Jersey

  to provide expert testimony in litigation challenging various aspects of New Jersey Statute 2C,

  Section 39-1 (the “Statute”). As of the date of this declaration, the scope of my engagement

  includes providing expert testimony in the following cases: Association Of New Jersey Rifle &

  Pistol Clubs, Inc. et al. v. Platkin et al., Docket No. 3:18-cv-10507; Cheeseman et al. v. Platkin et

  al., Docket No. 1:22-cv-04360; Ellman et al. v. Platkin et al., Docket No. 3:22-cv-04397. I have



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  reviewed the provisions of the Statute being challenged in these cases. I am being compensated at

  a rate of $400 per hour for my work in these cases, and $1600 per travel + work day.

                                              OPINIONS

         4.    As discussed in this report, many of the firearms covered by the Statute can directly

  trace their origins to weapons developed for use in combat. As such, they were never initially

  intended for general distribution / sale to the public.

         5.    As tragically demonstrated by recent mass shootings such as the Pulse Nightclub in

  Orlando Florida in 2016 (49 fatalities, 50+ wounded), the 2017 Las Vegas shooting (60 fatalities,

  400+ wounded), the 2022 Uvalde Texas School shooting (21 fatalities, 17 wounded) and the July

  4th 2022 shooting in Highland Park (7 fatalities, 48 wounded), the “assault firearms” as defined

  under the Statute (also commonly referred to as assault weapons) are capable of inflicting

  significant carnage upon civilians in a short period of time, especially in conjunction with large

  capacity magazines.

         6.    Additionally, assault weapons as prohibited under the Statute pose a significant risk

  to law enforcement officers. It has been my experience that soft body armor issued to most

  Uniformed Officers has a “Level II” or “Level IIIA” National Institute of Justice (NIJ) protection

  rating. These two ratings are suitable for protection against most handgun bullets as those

  projectiles range up to a 1200FPS (+ or -) velocity. Rifle caliber assault weapons (AR & AK type)

  can, as stated in more detail below in this report, achieve muzzle velocities of 3200FPS (+ or -)

  which can readily penetrate Level II & IIIA Body Armor (as well as some Level III hard body

  armor which is not universal standard issue amongst law enforcement agencies nationwide). Not

  only do the firearms banned under the Statute pose a threat to overall public safety, but they also

  increase the likelihood that first responders charged with stopping such a threat may be injured or

  killed in the performance of their duty.

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                                              DISCUSSION

    I.      Firearms Terminology, Types, And Operation.

                A. Handguns And Long Guns.

          7.    Modern firearms as currently manufactured for civilian ownership fall into two

  general types: handguns and long guns (or shoulder weapons).

                    i. Handguns.

          8.    Handguns. Handguns are generally defined as a firearm having a short stock (grip),

  and are designed to be held, and fired, with one hand. The term “handgun” defines two distinct

  types of modern firearms: the revolver and the semi-automatic pistol.

          9.    Revolver. A revolver is a handgun designed and manufactured with a revolving

  cylinder to contain, chamber, and feed multiple rounds of ammunition. In a modern double action

  revolver, pulling the trigger rotates the cylinder bringing an unfired cartridge of ammunition in

  line with the barrel and firing pin. Pulling the trigger also cocks the hammer and then releases it

  either directly (or indirectly via a firing pin) to strike the primer of the cartridge initiating the

  firing sequence as stated previously. In this type of revolver, the trigger must again be pulled to

  rotate the cylinder in order to fire another cartridge. When all cartridges have been fired, the

  cylinder is unlocked from the frame and swings out to facilitate removal of expended cartridge

  casings and insertion of unfired cartridges. The cylinder is then closed and relocked within the

  frame and the handgun is again ready to fire when the trigger is pulled.

          10.   Semi-automatic pistol. A semi-automatic pistol is a handgun designed and

  manufactured with the firing chamber as an integral part of the barrel and utilizes a “box”

  magazine to contain and feed multiple rounds of ammunition. In this type of handgun, generally,

  the box magazine is inserted into the firearm, the slide or bolt is pulled back and released which

  springs forward and a loads a cartridge into the chamber. When the trigger is pulled, a firing pin

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  or striker is released which impacts the primer of the cartridge and initiates the firing sequence of

  the ammunition. In most pistols, a portion of the recoil or gas pressure generated by firing the

  cartridge is utilized to move the slide rearward, extracts and ejects the expended cartridge case and

  chambers another round from the magazine. This sequence can be repeated by pulling the trigger

  once for each shot. The pistol can then be reloaded by removing the empty magazine and inserting

  a loaded magazine.

                    ii. Long Guns.

          11.    In terms of modern firearms manufacture, long guns are generally of two distinct

  types: rifles and shotguns.

          12.    Rifle. A rifle is a firearm which is designed and intended to be fired from the

  shoulder. It fires a single shot through a rifled bore for each pull of the trigger.

          13.    Shotgun. A shotgun is a firearm that is also designed and intended to be fired from

  the shoulder. It fires either a number of ball shot (commonly termed “buckshot” or “birdshot”) or

  a single projectile (commonly termed a “slug”) through a smooth (non rifled) bore for each pull of

  the trigger.

          14.    In terms of “types” of rifle there are numerous variations. All of these variations,

  generally speaking, are defined and distinguished by the way they are loaded and reloaded.

          15.    Single-shot rifle. For example, single-shot rifles fire one shot for each pull of the

  trigger. They have no internal or external magazine capacity and must be reloaded with a new

  unfired cartridge by hand for each consecutive shot. Many of these have a hinged or “break open”

  receiver to facilitate loading and unloading.

          16.    Pump Action rifle. A pump action rifle requires the operator to manually

  manipulate a forearm piece which is traditionally found underneath the barrel. After firing, the

  forearm is pulled backward which unlocks the bolt, extracts and ejects the fired cartridge case.

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  Pushing the slide forward feeds an unfired cartridge from the magazine, cocks the firearm

  mechanism and locks the bolt for a successive shot. Pump action rifles have been manufactured

  with both tubular and detachable box magazines.

         17.   Bolt Action rifle. Bolt action rifles require the operator to manually manipulate the

  bolt of the rifle. After firing, the bolt is first unlocked from the chamber and then moved

  rearward. This action also extracts and ejects the expended cartridge case. The bolt is then moved

  forward which feeds an unfired cartridge from the magazine into the chamber. Once the bolt is

  then again locked by the operator, it is ready to fire. Bolt action rifles usually have an internal

  fixed magazine or tubular magazine which will facilitate reloading via manipulation of the bolt

  until that capacity is exhausted. Bolt action rifles were generally the choice among hunters and

  military forces through the end of World War II.

         18.   Lever Action rifle. A lever action rifle is similar to the bolt action rifle in that the

  operator is required to manipulate the mechanism of the firearm. A lever at the bottom of the

  receiver of the rifle is manipulated in and up and down motion in order to unlock the bolt and

  move it rearward, extract and eject the expended cartridge case, feed an unfired cartridge into the

  chamber and lock it. This action is required by the operator for each shot fired through the rifle.

  Generally speaking lever action rifles have historically been manufactured with tubular magazines

  which will vary in capacity depending on the caliber of the firearm.

         19.   Semi-automatic rifle. A semi-automatic rifle utilizes the energy generated by the

  firing of the cartridge to power the cycle of fire. This is accomplished by siphoning off a portion

  of the gases generated by firing to operate the mechanism or by utilizing the recoil generated by

  firing much as in a semi-automatic pistol as described previously. Once loaded, the operation of

  this cycle of fire is not dependent on the operator to effect any portion of the process other than to

  pull the trigger. Semi-automatic rifles are, and have been previously, manufactured with both

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  fixed internal magazines and a capacity to accept detachable external magazines. As such this

  type of rifle is capable of firing with each pull of the trigger until the supply of ammunition is

  exhausted. As stated previously, the majority of military firearms through World War II were bolt

  action. The exception to this rule was the United States entering the war with the semi-automatic

  M1 (Garand) .30-06 caliber rifle as standard issue. The Garand had a fixed internal magazine with

  an eight round capacity.

          20.   Modern shotguns, as stated previously in regard to rifles, are generally classified by

  their operating system, (i.e. the manner in which they function, are loaded and are reloaded).

  Additionally, in the case of shotguns with multiple barrels they are defined by placement or

  orientation of same.

          21.   Single-shot shotguns. Single-shot shotguns function similarly to the single-shot

  rifle. They may have a hinged receiver which allows the operator to open the action at chamber

  area to facilitate loading and unloading of the firearm. There are also single shot models that are

  loaded and unloaded through a bolt action mechanism and have no additional magazine capacity.

          22.   Bolt action shotguns. Bolt action shotguns are manufactured, as stated above for

  rifles, as single shot, or with internal or detachable magazines to facilitate easier and faster

  reloading. They function in the same way as a bolt action rifle and require manual manipulation of

  the bolt by the operator to unload and reload.

          23.   Level action shotguns. Level action shotguns again function in the same fashion as a

  similarly designed rifle. Manual manipulation of the lever is required for successive shots.

          24.   Pump action shotguns. Pump action shotguns have the same general operating

  system as a similarly designed rifle. The “action” of the shotgun must be worked forward and back

  by the operator to unlock the bolt, extract and eject the expended shotgun shell, reload and relock

  the bolt for firing.

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          25.      Semi-automatic shotguns. Semi-automatic shotguns, as with their rifle caliber

  counterparts, utilize energy (either recoil or gas pressure) generated by firing ammunition to

  “power” the operating system of the firearm. These are manufactured with a number of different

  magazines, both internal and fixed, as well as external and detachable. They are capable of firing a

  single shot with each pull of the trigger until the supply of ammunition in the magazine is

  exhausted.

          26.      Break open, double barrel, and “tip up” shotguns. Break open, double barrel,

  and “tip up” shotguns have a hinged receiver which facilitates access to the rear of the chamber

  for unloading and reloading. They are manufactured in single shot and double barrel variations.

  Double barrel variations are further delineated by the placement of their barrels. Side-by-side

  shotguns have two barrels situated next to one another in a horizontal arrangement. Over-and-

  under shotguns have two barrels superimposed upon one another in a vertical plane. The

  mechanisms in each of these allow staggered firing of each of the two barrels with a separate pull

  of the trigger. When the hinged action is opened, the expended shotgun shell hulls can be

  manually extracted by the operator although more complex designs with auto ejectors perform

  that function when “opened.”

                   B. General Firearms Definitions.

          27.      In discussing modern firearms, it is important to understand how they are defined

  under statute, how they function and the differences between types commonly found and available

  to the public.

          28.      Additional terms often used when discussing modern firearms are semi-automatic,

  full-automatic, select fire, rifling, caliber and gauge. I define these terms as follows:




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           29.    Semi-Automatic. Semi-automatic fire refers to a repeating firearm that fires one shot

    for each pull of the trigger until the ammunition supply is exhausted. The energy of the fired

    cartridge is utilized to cycle the mechanism of the firearm to feed and chamber the next shot.

           30.    Full-automatic. Full-automatic refers to a firearm that will continuously fire

    successive shots when the trigger is pulled and will only stop when the trigger is released or the

    supply of ammunition is exhausted. Commonly referred to, and defined and classified as a

    machine gun, under N.J.S.A. 2C:39-1(i).

           31.    Select Fire. A select fire firearm is capable of switching between and functioning in

    either full- or semi-automatic fire mode.

           32.    Rifling. Rifling refers to a series of grooves cut or impressed inside the barrel in a

    spiral pattern. The “high” portions of these patterns are called “lands.” The “lower” portion of this

    pattern are called “grooves.” When a projectile (or bullet) is fired in a “rifled” firearm, it comes

    into contact with the lands as it leaves the chamber and begins to travel down the barrel. Because

    the lands are oriented in a spiral pattern, the rifling imparts a spin to the projectile which improves

    stability and accuracy.

           33.    Caliber. Caliber is a dimensional measurement of the inside (or bore) of a rifled

    barrel. In the United States, caliber is traditionally expressed in fractions of an inch. For example,

    a .22 caliber firearm is designed to chamber and fire a projectile which measures .22 inches (or

    slightly less than a quarter of an inch). A .50 caliber firearm chambers and fires a projectile which

    is approximately a half inch in diameter.1




1
  In Europe, and. the majority of other countries utilizing the metric system, caliber has historically been expressed in
millimeters (mm). Therefore a 9mm firearm is designed to chamber and fire a projectile with a diameter of 9mm.
European caliber designations may also include measurement of the length of the cartridge case (9x19mm, 7.62x39mm
etc.). A number of firearm calibers widely manufactured have two separate caliber designations, one in inch
measurements and one in metric, which are equivalent and interchangeable. For example .380 ACP caliber ammunition
in the US is referred to as 9x17mm caliber in Europe.
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         34.   It is important to note for the purposes of this report that the caliber designation of

  any given ammunition cartridge usually refers only to the diameter of the projectile (bullet) and

  not the relative “power” of the cartridge itself (in terms of muzzle energy, effective range and

  muzzle velocity). For example, there is an important distinction between cartridges commonly

  referred to as .22 caliber and cartridges commonly referred to as .223 caliber.

         35.   .22 caliber ammunition is a popular and relatively low power cartridge developed in

  the 1880’s. It is also known as “.22 rimfire” as the primer mixture in the cartridge is seated in the

  rim of the cartridge and not contained in a separate primer cup in the cartridge base. It is

  commonly used for target shooting as well as hunting small game and can be fired from both

  handguns and rifles chambered in that caliber. Bullet weights for .22 caliber projectiles / bullets

  are typically between 30-60 grains (0.08 to 0.13 ounces). Muzzle velocities are usually in the

  1100-1300 feet per second (fps) range.

         36.   .223 caliber ammunition by comparison is a high velocity cartridge developed in the

  1950’s in part for use in the original AR-15 and M-16 assault rifles. It is a “centerfire cartridge.”

  Although the diameter of the projectile / bullet is only slightly greater (approximately the width of

  a human hair) than the .22 caliber cartridge mentioned previously, it is a vastly more powerful

  cartridge in terms of muzzle velocity and range. This caliber ammunition is also somewhat

  interchangeable with 5.56mm ammunition. Here is a side-by-side comparison of .223 (left) and

  .22 caliber cartridges (right) with a quarter for size reference:




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         37.   Common bullet weights for .223 / 5.56mm caliber projectiles are 50 to 62 grains +

  or- (0.11 to 0.14 ounces)—heavier than .22 caliber projectiles. Common muzzle velocities are

  approximately 3,200 to 3,500 feet per second—about three times as fast as .22 caliber projectiles.

  A heavier bullet and increased velocity equate to more of the cartridge’s energy being transferred

  to the target. The National Rifle Association (NRA) American Rifleman Magazine tested the U.S.

  Army’s new .223 caliber cartridge (M855Al) in 2014 and the results are published here:

  https://www.americanrifleman.org/content/testing-the-army-s-m855a1-standard-ball-cartridge/.

         38.   Gauge. Gauge is a dimensional measurement which is traditionally used to denote

  the bore of a non-rifled or “smoothbore” firearm (i.e. a shotgun). Shotguns were initially designed

  to fire a mass of round shot as opposed to one solid projectile, and therefore a caliber designation

  is not readily applicable. Gauge refers to the number of lead spheres which will fit inside the bore

  and equal one pound. For example, in a 12 gauge shotgun, you can fit 12 spheres of lead, which

  are approximately 18.52mm or .73 inches in diameter, the total weight of which will equal one

  pound. If the diameter of the spheres are increased, it will require less of them to equal one pound.



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  Therefore the smaller the “gauge” the larger the dimension of the bore. The exception to this

  measurement system is the .410 gauge shotgun which is actually a caliber designation.

   II.     Recent Development And Evolution Of Firearms With Features
           Designed for Military Purposes.

         39.     In recent years, there has been an increase in the popularity and availability of semi-

  automatic rifles, pistols, and shotguns with features initially designed (or patterned after those

  designed) for a military purpose. It is important to discuss the history of the development and

  evolution of firearms with these features. In regard to the design and manufacture of military

  small arms it is important to note that ‘form follows function’ and the design and inclusion of

  features are intended to increase the effectiveness of the individual combatant in battle.

                 A. Assault Rifle Development and Evolution.

         40.     The first “assault rifle” or “assault weapon” was the German StG 44 (Sturmgewehr

  Model 1944), which appeared in production form late in World War II. Earlier pre-production

  variants included the MP 42 and MP 43 (Machinenpistol 1942 and 1943 respectively). The

  Germans termed the rifle “Sturmgewehr,” literally “Storm Rifle,” and a number of the features

  included utilization of a portion of the gas generated by the burning cartridge propellant to operate

  the rifle, extensive use of steel stampings in its construction, a detachable magazine, a separate

  pistol style grip (not integrated with the shoulder stock), a bayonet mounting jug and a threaded

  barrel to facilitate the attachment of a grenade launcher. It fired a cartridge that was smaller

  dimensionally and less “powerful” (in terms of muzzle velocity and foot pounds of energy) than

  the standard 8mm Mauser cartridge in use by the German Army in their issued bolt action Mauser

  K-98 rifles.




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           41.   It is important to note that the features designed into the German StG 44 were

    intended to increase the effectiveness of the individual soldier in combat and allow for simplified

    manufacture:

           42.   Gas-powered semiautomatic fire. Gas-powered semiautomatic fire enabled more

    rapid fire than was possible using standard-issue bolt action rifles.

           43.   Steel stampings. Steel stampings made for a lighter weapon increasing the amount

    of ammunition an individual combatant could carry and / or increasing mobility. Additionally

    they were easier and less expensive to manufacture than machined steel forgings.

           44.   Detachable magazine. Detachable magazines allow more rapid re-loading than

    previous standard issue bolt action firearms.

           45.   Separate pistol style grip. A separate pistol style grip enhanced the ability of

    combat soldiers to quickly maneuver their firearms into firing position and retain stability for

    subsequent shots.




2
 Image source –Peter Suciu, “Sturmgewehr, the First Assault Rifle,” Recoil: The Ultimate Firearms Destination for the
Gun Lifestyle, June 19, 2016, available at https://www.recoilweb.com/sturmgewehr-the-first-assault-rifle-100907.html
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           46.   Barrel shroud. A barrel shroud encircles and protects the end of the barrel, keeping

    the barrel safe from damage caused by collision with objects and giving the soldier using the

    firearm an auxiliary grip on the barrel without burning his hand.

           47.   Bayonet mounting lug. This feature provided combat soldiers with an additional

    weapon for use in close combat.

           48.   Threaded Barrel. A threaded barrel allowed for the attachment of grenade launcher

    (on this particular rifle), providing combat soldiers with an additional weapon, albeit for use at a

    greater distance.

           49.   Following the end of the war, captured StG 44’s were analyzed by the Allies and

    although there was reluctance to move to a smaller caliber cartridge, a number of the features of

    the StG 44 found favor in the design of successive European, American, and Eastern Bloc military

    rifles. Noted firearm expert and historian Jim Supica wrote in his forward to the book “Guns”:

                   Most military establishments hesitated to “downsize” the range and
                   power of their primary rifles in the early Cold War years. The semi-
                   auto detachable magazine concept was an obvious success and there
                   was something to be said for full auto capability.3

           He further writes:

                   However the assault rifle concept wouldn’t go away. The Soviet
                   Union accepted the lower power round idea in its fixed magazine
                   semi-auto chambered for an intermediate power 7.62 x 39 mm round
                   in 1945, the SKS, which saw wide distribution and production in
                   Soviet client states.4

           50.   Two years later in 1947, the USSR followed the SKS with what Supica terms “the

    quintessential assault rifle - the Kalashnikov designed AK-47.”5




3
  Supica, Guns (TAJ Books 2006). PP. 26-28
4
  Id.
5
  Id.
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         51.   The design of the AK-47 carried forward a number of the features introduced on the

  German StG 44. These features include a gas powered operating system, use of steel stampings in

  its construction, a separate pistol grip, separate shoulder stock, a detachable magazine, a bayonet

  lug and provision for attachment of a grenade launcher. Due to the separate stock and pistol grip

  the AK, much like the StG 44, also utilized a barrel shroud / or foregrip on the forward third of

  the rifle. Some variations of the early AK-47s (AKM) also featured a “compensator” at the

  muzzle that deflected gas upward and to the right to compensate for the rifle’s tendency to kick up

  and to the right with every shot.

         52.   In the 1950’s, many countries sought to replace World War I and World War II

  vintage bolt action and semi-automatic rifles with these newer and more effective designs. With

  the birth of the North Atlantic Treaty Organization (NATO) however, utilization of Soviet Bloc

  AK or SKS assault rifles was not possible. Accordingly, a number of firearms manufacturers

  outside the Soviet sphere of influence developed military rifles that carried forward these same

  features to one extent or another. Fabrique Nationale (FN) of Herstal, Belgium and Heckler Koch

  (HK) of Oberndorf, Germany are two noteworthy examples.

         53.   FN developed the FN-FAL (Fusil Automatique Leger) and HK the G3 which found a

  ready market amongst nations that did not favor the Soviet AK type designs. Both incorporated

  features which like the AK, were derived directly from the StG 44. Their designs featured some

  parts made from metal stampings as opposed to heavier and more expensive machined steel

  pieces. A separate pistol grip, shoulder stock, detachable magazine, and barrel shroud followed

  the basic design of the StG 44. A flash hider and / or muzzle brake have appeared in production

  variations of both rifles. These rifles were destined from inception to become widely exported as

  the domestic market in both countries was relatively limited. The FN-FAL and G3 have been in



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  production since the 1950’s and both FN and HK have licensed production to numerous countries

  in South America, Africa, and the Middle East.

         54.   In the United States, progress in this arena moved at a significantly slower pace. The

  prevailing wisdom in the United States was to stay away from lighter, smaller rifle calibers and

  cartridges as the .30-06 cartridge used in the M-1 Garand Rifle during World War II had proven

  to be more than successful. Their initial answer to the burgeoning move towards assault rifles was

  a variation of the basic M-1 Garand operating system, the T44, or M-14. Outwardly, the M-14

  retained a full length wood stock as did the Garand; however, it featured a detachable magazine,

  select fire (both semi-automatic and full automatic) capability, and a flash hider. It competed

  directly against the FN-FAL (designated T88) in U.S. Army trials and was selected in 1957.

         55.   In the mid 1950’s, Eugene Stoner, the chief Engineer of the American company

  ArmaLite Corporation, developed a number of lightweight assault rifle designs which resulted in

  the AR-10 in .308 caliber. Its design closely followed what was now becoming standard assault

  rifle design, i.e., light weight (aluminum forged receivers as opposed to machined steel), separate

  pistol grip and shoulder stock, foregrip / barrel shroud, detachable magazine, and numerous flash

  hider / muzzle brake variations. ArmaLite continued to refine the basic design of the AR-10

  which resulted in the AR-15. The AR-15 was designed to chamber and fire the 5.56 x 45mm

  cartridge (somewhat interchangeable with .223 Remington caliber).

         56.   In 1961, the Department of Defense purchased a quantity of AR-15 rifles from Colt

  for evaluation. A number of these were subsequently shipped to US Army advisors in Vietnam to

  test their suitability for issue to South Vietnamese Army forces. Following the field evaluation the

  Department of Defense Advanced Research Projects Agency prepared a report (AD-343778,

  dated August 20, 1962) summarizing the results. Amongst the data compiled via surveys of the

  US Army Advisors are a number of comments regarding actual use in the field and the results.

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    These comments describe various catastrophic injuries to Viet Cong Combatants who were shot

    by AR-15, including severing of limbs and decapitation.6

           57.   This rifle was adopted as standard issue by the U.S. Army in the mid 1960’s. The

    production of the rifle had been licensed to Colt, and initially the model designation was, as

    produced, AR-15. Later, after a series of engineering changes, the standard U.S. military

    designation was changed to M-16. When first deployed as a standard issue rifle for US Military

    Forces, the AR-15 / M-16 platform was maligned as unreliable and prone to jamming. This was

    due, in part, to inadequate maintenance by the operators themselves. Once the problems were

    addressed and rectified, the rifle proved to be as reliable and accurate as the AK type rifles

    deployed by the North Vietnamese and Viet Cong.

           58.   The 5.56mm cartridge has a muzzle velocity of approximately 3200 feet per second

    (fps) (for reference a 9mm pistol cartridge has a muzzle velocity of approximately 1100 fps).

    5.56mm bullets, upon contacting tissue will “yaw” (begin to rotate on its axis) which contributes

    to the creation of both temporary and permanent large wound cavities. Handgun bullets, because

    they are heavier and travelling at a lower velocity, do not typically yaw upon contact with tissue

    and do not create as large of a wound cavity nor commensurate destruction of tissue. The yaw

    movement of a 5.56mm / .223 caliber bullet can also cause it to fragment upon striking bone

    which contributes to additional tissue damage not immediately adjacent to the cavity itself.




6
 Advanced Research Projects Agency, Office of the Secretary of Defense, Field Test Report, AR-15 Armalite Rifle, at
24 (July 31, 1962), available at https://apps.dtic.mil/sti/pdfs/AD0343778.pdf.
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          59.   Noted Wound Ballistics expert Vincent DiMaio in “Gunshot Wounds” writes:

                  As the bullet enters, the body, there is ‘tail splash’ or backward
                  hurling of injured tissue. This material may be ejected from the
                  entrance. The bullet passes through the target, creating a large
                  temporary cavity whose maximum diameter is up to 11-12.5 times
                  the diameter of the projectile. The maximum diameter of the cavity
                  occurs at the point at which the maximum rate of loss of kinetic
                  energy occurs. This occurs at the point where the bullet is at
                  maximum yaw, i.e., turned sideways (at a 90-degree angle to the
                  path) and / or when it fragments. If fragmentation does not occur
                  and the path is long enough, the yawing continues until the bullet
                  rotates 180 degrees and ends up in a base-forward position. The
                  bullet will continue traveling base first with little or no yaw as this
                  position puts the center of mass forward.7

                  The temporary cavity will undulate for 5-10 msec before coming to
                  rest as a permanent track. Positive and negative pressures alternate
                  in the wound track, with resultant sucking of foreign material and
                  bacteria into the track from both entrance and exit. In high-velocity
                  centerfire rifle wounds, the expanding walls of the temporary cavity
                  are capable of doing severe damage. There is compression,
                  stretching and shearing of the displaced tissue. Injuries to blood
                  vessels, nerves, or organs not struck by the bullet, and a distance
                  from the path, can occur as can fractures of bones, though, in the
                  case of fractures, this is relatively rare. In the author’s experience,
                  fractures usually occur when the bullet perforates an intercostal
                  space fracturing ribs above and below the bullet path.8

          60.   Demaio further states,

                  Projectile fragmentation can amplify the effects of the temporary
                  cavity increasing the severity of a wound. This is the reason for the
                  effectiveness of the 5.56 x 45-mm cartridge and the M-16 rifle.9

          61.   This video graphically illustrates the temporary wound cavity as described by

    DeMaio: https://www.youtube.com/watch?v=8HM96wpPVoQ.




7
  DiMaio, Gunshot Wounds, 2d (CRC Press LLC, 1999). P. 54
8
  Id., P.55
9
  Id., P.56
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             62.   Because of the propensity of the 5.56mm/.223 caliber round to create significant

     damage upon impacting living tissue, it is not generally considered nor favored as a hunting

     cartridge.

                   B. Pistol Caliber Firearms Evolution And Development.

             63.   It is important in terms of this particular case also to address the evolution and

     development of firearms that chamber and fire pistol caliber ammunition, including those known

     as submachine guns. Submachineguns are defined as machineguns that fire “sub caliber” (i.e.

     pistol caliber) ammunition. A number of the handguns that are banned under the Statute are direct

     evolutionary descendants of submachine guns initially designed and produced for military use.

             64.   Many of the construction and design features attributed to assault weapons, and the

     StG 44, were first utilized in the design and manufacture of mid-20th century submachine guns.

     Nazi Germany entered World War II with the Innovative Maschinenpistole 38 (MP38). It was

     chambered in 9mm and later, after a number of engineering changes, re-designated as the MP40.

     It has design features commonly found in later assault weapons including an adjustable stock,

     separate pistol grip, a detachable magazine and use of steel stampings in its construction.




                                                                                              10




10
     Image source: http://firearmshistory.blogspot.com/2015/09/the-mp40-submachine-gun.html
                                                          19
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         65.   While the United States initially entered World War II with a military variant of the

  Thompson .45 caliber sub machinegun, it was heavy and expensive to manufacture because a

  number of the major components were machined from solid steel. Before the end of the war, the

  Thompson had been supplemented by the M3 “Greasegun” initially produced by General Motors.

  The receiver was a stamped and welded sheet metal assembly with an adjustable sliding shoulder

  stock. Like the MP38 / MP40, it had a separate pistol grip, a sliding / adjustable shoulder stock

  and a detachable box magazine with a 30 round capacity. In a utilitarian sense it was as effective

  as the Thompson and, at approximately $20, it was less than half as expensive.

         66.   The United Kingdom produced over one million Sten submachine guns during

  World War II. A rugged and reliable firearm made largely from welded steel stampings, it was

  utility, reliability and ease of manufacture both combined and perfected. Features shared with the

  M3 and MP38/MP40 included an adjustable shoulder stock, separate detachable box magazine

  and, on some variations, a barrel shroud allowing the operator to utilize the area surrounding the

  barrel as an auxiliary grip point without touching a heated barrel.

         67.   Prior to and during World War II, a number of other nations developed submachine

  guns which followed the same design and construction philosophy. Notable examples include the

  Soviet PPSH41, the Italian Beretta Model 38/42, and the Swedish Carl Gustav Model 45.

         68.   Following World War II, most new submachine gun designs continued the design

  philosophy which combined utility, ease of manufacture and the features of wartime firearms. In

  the early 1960’s, HK introduced the MP5 which became an immensely popular choice for military

  and law enforcement agencies worldwide due to its inherent reliability and accuracy. It was

  produced in multiple iterations to include a semi-automatic civilian version as well as a pistol

  variant without a provision for a shoulder stock (HK SP89).



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             69.    Israeli Military Industries also successfully marketed their UZI sub machinegun for

     export in select fire, and in civilian semi-automatic variants.




                                                                                                      12


             70.    Additionally, a number of submachine gun designs proved unsuccessful in terms of

     military and government sales but nonetheless found a ready market when re-engineered as a


11
  Image source: https://www.gunsinternational.com/guns-for-sale-online/pistols/9mm-pistols/excellent-condition-
factory-german-hk-sp89-9mm-pistol.cfm?gun_id=101037518
12
     Image source: https://www.military-today.com/firearms/uzi_pistol.htm
                                                           21
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     semiautomatic pistol. Notable examples include the Cobray MAC-10 (and successive variants)

     and the Intratec TEC-9, which began life as a Swedish designed submachine gun, the

     Interdynamic MP-9.




                                                                                  13




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13
     Image source: https://www.armslist.com/posts/11522946/st-louis-missouri-handguns-for-sale--vulcan-mac-10
14
     Image source: https://www.egunner.com/intratec-tec-dc9-9mmpara,name,11952922,auction_id,auction_details
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                C. Proliferation of the AR & AK Platforms for the civilian market

          71.   Since the late 1950’s through the late 1960’s the move towards adoption of

  semiautomatic and select fire rifles by military forces became a global phenomenon. Soviet

  Bloc nations rearmed with AK type rifles (and their variants) while NATO Nations adopted a

  number of designs from Colt, HK and FN, as stated previously, around a standardized caliber

  rifle cartridge.

          72.   Several companies adapted these weapons, without changing their basic construction

  or design features, for civilian use. For example, in the early 1960’s, Colt sought to capitalize on

  the military acceptance of the AR-15 /M-16 andbegan to produce rifles, incorporating the same

  construction techniques and configuration as the AR-15 for sale on the civilian market. The only

  difference between the Colt-produced military and civilian versions was removal of select fire

  capability and relocation of assembly/ disassembly pins in the lower receiver as stated previously.

          73.   These civilian versions, including the Colt·AR-15, retained the performance

  capacities of the military weapons they were based on, including the effective range, muzzle

  velocity and semiautomatic rate of fire. In addition, the weapons retained the capability to

  accommodate large capacity magazines (more than ten rounds) as originally issued for military

  use. Again however, the basic configuration, appearance, construction and operation of the

  internal gas operating system (as designed) has remained unchanged since its initial design and

  introduction as a military weapon.

          74.   The expiration of Colt’s patents in the late 1970’s naturally spawned competition in

  the marketplace. Throughout the design’s lifespan many of the internal fire control components

  have remained unchanged and their specifications standardized industry wide. There are multiple

  internal parts that are completely interchangeable between military M16’s manufactured in the

  1960’s by Colt and an AR-15 type rifle produced today by any one of hundreds of U.S.

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  manufacturers that produce either receivers or internal operating parts. For example, a Bolt

  Carrier manufactured in 1967 by Colt will fit, and function as designed, in an AR copy

  manufactured in 2023. Additionally, the overall configuration of “copycat” AR rifles remains

  essentially identical to the original production design of the early 1960’s. The overall design

  configuration (two piece hinged receiver (shown below), shoulder stock in line with the chamber

  and barrel, placement of the magazine, external switches and other features) are identical or

  nearly so.

         75.   While employed at the ATF NLC I was a custodian of the Laboratory’s Firearms

  Reference Collection. The firearms in the collection were regularly used by students in the

  National Firearms Examiner Academy and often required repair. I have personally replaced

  internal parts in older Colt AR type rifles and Eastern Bloc manufactured AK rifles with recently

  manufactured parts from aftermarket vendors. The parts fit without issue and the firearms

  functioned as designed after the repair.

         76.   Due to their modular construction AR type rifles are easily constructed / configured

  with parts made by other manufacturers to suit the owner’s personal preference. The rifle receiver

  itself is designed as a two-piece unit and the “upper receiver” and “lower receiver” can be

  swapped out for other interchangeable pieces made by the same or another manufacturer with

  ease. The design also facilitates replacement of internal fire control components and assemblies.

         77.   Individual component pieces can be purchased allowing the individual to build a

  custom AR type rifle from the “ground up” as opposed to purchasing a complete firearm due to the

  standardization and interchangeability of parts and subassemblies (under Federal Law the lower

  receiver of the AR platform is considered the “firearm” and requires a serial number). A good

  illustration of this ease of customization, and the plethora of interchangeable parts and accessories,

  is the fact that Brownell’s Inc., an established gun supply retailer in Iowa, currently devotes the

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     first 107 pages of their “Big Book” (74th edition) catalog of parts and accessories to AR type rifles

     alone. 15

             78.    The same holds true for AK type rifles and, more recently, pistols available in the

     civilian market. Although the design (and variants) of the AK-47 are more numerous than the

     AR type rifle (as far as military production and use is concerned), it lags behind the AR in

     regard to domestic civilian popularity. Nonetheless whether the AK Type rifle is of Russian,

     Chinese or other former Eastern Bloc manufacture, there is a robust secondary market in the

     United States for accessories, parts, sub- assemblies etc. Although not as easily modified as

     an AR style rifle due to its less “modular” design there are customization options available

     including a variety of shoulder stocks, sighting and illumination, etc.

             79.    Additionally, much as with AR type rifles, there are numerous vendors selling all

     the necessary component parts needed for an individual to build an AK style rifle from “the

     ground up” as opposed to purchasing a complete rifle and subsequently modifying the

     firearm. In actuality, the receiver of many AK rifles is simply a stamped metal “flat” which is

     available from numerous vendors online for as little as $14.99.




                                                                                      16



15
     Links to view the catalog are available at this website: https://www.brownells.com/order-a-catalog/
16
     Image source: https://www.buymilsurp.com/ak-receiver-flat-and-rails-p-3028.html
                                                             25
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             80.    The AK ‘flat’ is bent into the correct configuration using a jig which can also be

     found from numerous vendors.




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             81.    As with the AR, the general configuration and specifications of internal AK

     operating parts and assemblies have remained consistent. Regardless of the place of manufacture

     there are numerous internal fire control, feeding and gas operating system components that

     are interchangeable between AK rifles produced by manufacturers over the past 40-plus years.

     Again, as with AR type rifles, the overall configuration of the AK rifle receiver, internal operating

     systems and their parts, and performance (in terms of semiautomatic rate of fire, muzzle velocity,

     range etc.) are comparable to the military versions from which they evolved.

             82.    As stated previously, the expiration of Colt’s AR patent in the late 1970’s spawned

     numerous “copycat” rifles from other vendors. A similar situation occurred with respect to AK

     type rifles on an international scale. These foreign manufacturers, Norinco (China), Romarm

     (Romania) and Valmet (Finland), were or still are state owned enterprises and tens of thousands

     of complete AK copies were imported into the U.S. by a number of foreign manufacturers before


17
     Image source: https://ak-builder.com/images/detailed/1/ak_builder_flat_bending_die_set.jpg
                                                            26
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  additional Federal regulation, Title 18, Section 922(r), required that a certain percentage of the

  rifle’s parts be manufactured domestically.

         83.   Regulation of imports however has not slowed the demand for AK “copycat rifles”

  and numerous domestic manufacturers are producing rifles in the U.S. based on the original

  design and operating system.

         84.   In my opinion, the performance characteristics of Assault Firearms in regard to

  semi automatic rate of fire, muzzle velocity, effective range have not changed since their

  initial incarnation as military weapons.

               D. Marketing of Assault Weapons

         85.   Contrary to claims of political contrivance, the term “assault weapon” had already

  entered common use in the firearms community as early as 1986 when the “Gun Digest Book of

  Assault Weapons” was first published. Edited by Jack Lewis the front cover states that it contains:

  “A detailed analysis of Assault Type Weapons: Test Reports – Firing the latest in full and Semi

  Autos, centerfires, rimfires and shotguns.”




         86.   On Pages 88-93 Lewis reviews and test fires the Springfield SAR-48 which is a

  reproduction of the Fabrique Nationale (FN) FAL Rifle mentioned above. In the article on page

  89 he refers to it as “a weapon of war.”


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             87.    On Page103, Lewis states: “Whatever a shooter’s reasons may be for wanting one,

     he’ll be able to find one of these civilian-legal semi-auto assault weapons on dealer’s shelves. A

     number of them are detailed on the following pages.”

             88.    The firearms industry has also promoted the similarities between semi automatic

     versions of their full / select fire battle rifles for marketing purposes.




                                                                                     18




18
     Image source: https://gearsofguns.com/old-ar-15-ads/
                                                            28
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19
     Image source: “The Black Rifle,” P.98.
                                              29
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             89.    Essentially Assault Weapons can be simply defined (under numerous State and local

     statutes) as semi automatic copies of fully automatic (or select fire) firearms designed and

     intended for use by the military. They retain features and performance characteristics (in terms of

     muzzle velocity, range etc.) originally designed and intended for use on the battlefield.

             90.    Following the passage of the Federal and numerous State and local Assault Weapon

     Bans in the 1990’s, the firearm industry via the National Shooting Sports Foundation (NSSF, a

     firearm industry trade and lobbying organization) reversed course and coined the moniker

     “Modern Sporting Rifle” to describe semi automatic variants of the fully automatic / select fire M-

     16.

                    E. Military origins of Large Capacity Magazines

             91.    Large capacity magazines were not initially designed or intended for the civilian

     marketplace. The lineage and refinement of large capacity detachable magazines and belt feeding

     mechanisms can be traced directly to a military heritage. Various belt & clip fed medium machine

     gun designs by Hiram Maxim (1885) and John Browning (1890) debuted before the end of the

     19th Century;20 however, it wasn’t until the advent of WWI that development and refinement of

     large capacity feeding devices for machineguns gained increased importance.

             92.    In regard to standard issue rifles, the U.S. and other combatant nations entered,

     deployed, and exited WWI with bolt action rifles as standard issue to the individual soldier.

             93.    By contrast, magazine fed semi-automatic pistols first appeared in the early 1890s.

     Numerous models designed and manufactured by Salvator Dormus, Hugo Borchardt and Paul

     Mauser featured both internal fixed and detachable box magazines of varying capacities although

     only Mauser’s C96 (1896) design proved commercially viable and was manufactured until the late



20
     Hogg, Ian V., The Story of the Gun, (St. Martin’s Press, 1996), PP. 83-99
                                                             30
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     1930’s. Initially designed with a 10 round internal fixed magazine later variants included the

     ability to accept detachable magazines.21

             94.    In addition to use of the Mauser C98 in WWI, Germany also issued the P08 (1908)

     “Luger” pistol with an 8 round detachable magazine. Similarly U.S. Forces fielded the Colt Model

     1911 with a 7 round detachable magazine. One exception to the “under 10” magazine capacity

     was the introduction of the Belgian FN “Hi-Power” (1935) 9mm pistol which featured a

     detachable magazine holding 13 rounds.22

             95.    In the interwar years, a number of advancements in arms technology & design

     facilitated practical semi-automatic rifles for standard issue. Accordingly, the U.S. Forces in

     WWII were issued the Springfield Armory M-1 “Garand’ rifle with an 8 round internal magazine.

     The U.S. also deployed the M-1 carbine in .30 caliber which featured a 15 round detachable box

     magazine; however, this was intended for issue to support personnel behind the front lines. It was

     not until the M-14 was adopted in the late 1950s that a rifle with a detachable magazine was

     adopted for standard issue to front line troops. The M-14 was issued with a 20 round magazine.23

             96.    When the AR-15 (later designated M-16) was first purchased and issued to U.S.

     Forces in the early 1960s it was intended to be utilized, and was issued, with 20 round detachable

     magazines.24

             97.    However, when the first semi-automatic variants of the M-16, the Colt AR-15 SP1

     Sporter, became available for sale to the public in 1964 it came supplied with two five round

     magazines, not the military issue 20 round magazines.



21
     Zhuk, A.B., The Illustrated Encyclopedia of Handguns, (Greenhill Books, 1995), PP. 207-211
22
     Hogg, Ian V., The Story of the Gun, (St. Martin’s Press, 1996), PP. 115-122
23
     Hogg, Ian V. & Weeks, John S., Military Small Arms of the 20 th Century, 7th Ed., (Krause Publications, 2000), P. 291
24
     Stevens, R. Blake & Ezell, Edward C., The Black Rifle (Collector Grade Publications, 2004), P. 108
                                                             31
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             98.    As stated by Christopher R. Bartocci in his book The Black Rifle II:

             Initially, Colt simply added a five round limitation spacer to the 20-round
             magazine which could be installed or removed at will by simply removing
             the floor plate of the magazine. This was primarily intended for hunters, in
             compliance with the laws in most states which limit magazines in the field
             to a five-round capacity for hunting. With the introduction of the Colt
             Sporter series, the configuration of this magazine was altered by the
             addition of a permanent rivet in the floorplate to prevent the removal of
             the spacer, thus making this a magazine of dedicated five-round capacity
             for hunting applications. 26




25
     Source: https://thecoltar15resource.com/1964-catalog/
26
     Bartocci, Christopher R., The Black Rifle II (Collector Grade Publications, 2004), P. 263

                                                             32
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              99.   As shown in the image above, Colt continued to provide five round magazines with

     their AR-15 rifles as late as 1987.27

              100. Postwar development of semi-automatic pistols continued after WWII; however,

     magazine capacities generally remained under 10 rounds. Notable examples include the Beretta

     Model 1951 (8 rounds), Sig Sauer P220 (1975, 7-10 rounds depending on caliber), Heckler Koch

     P7 (1978, 8 rounds).

              101. It was not until the early 1980s the U.S. Military sought to replace the Colt 1911, a

     .45 ACP caliber pistol with a seven round magazine, and standardize the sidearms (handguns)

     issued to U.S. Forces in a caliber common to all NATO member nations. The resultant winner of

     numerous competitions was the Beretta Model 92SB, a 9mm caliber pistol with a 15 round

     magazine. Following a few minor functional changes, the Beretta was accepted and designated the

     M-9.28

              102. During the latter half of the 1980s, numerous manufacturers, both domestic and

     foreign, began developing and offering numerous semi-automatic models with magazine

     capacities equaling, or exceeding, that of the Beretta M-9.




27
     Colt Firearms 1987 Catalog, (Colt Industries Inc., 1986), P.15
28
     Wilson, R.L., The World of Beretta, An International Legend, (Random House, 2000), PP. 227-253
                                                             33
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               103. In 1994, Congress adopted the Violent Crime Control and Law Enforcement Act,

     (which included provisions also known as the Federal Assault Weapons Ban or “AWB”), which

     limited the maximum capacity of a detachable magazine to ten rounds.29 As a result, numerous

     firearm manufacturers, as well as aftermarket magazine manufacturers, initiated production of

     what were colloquially termed “post ban” magazines to conform to the new legislation.

     Magazines with a capacity of over ten rounds were termed “Large Capacity Magazines.”30 The

     post ban magazines were modified, or retooled, versions of existing large capacity magazines in

     order to keep their dimensions identical and ensure that the 10-round magazines functioned

     identically to existing magazines of 11 rounds or more in their firearms. For example, pictured

     below is a ‘pre ban’ 10-round magazine for a Browning 9mm caliber “Hi Power” semi-automatic

     pistol:




                                                                                         31


29
     https://www.congress.gov/bill/103rd-congress/house-bill/3355/text
30
  The definition of “Large Capacity Magazine” under the Federal AWB included any magazine with a capacity of over
10 rounds where under Colorado Law it defines a magazine with a capacity of over 15 rounds.
31
     Image source: https://www.brownells.com/magazines/handgun-magazines/magazines/magazine-high-capacity
                                                            34
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            104. And shown below is a ‘post ban’ magazine for the same pistol. You will note the 10-

     round magazine differs as a portion of the metal magazine body is replaced with a molded

     polymer plug. This modification effectively limits the interior volume and capacity of the

     magazine to 10 rounds. Manufacturers have also utilized various other methods to restrict

     magazine capacity, including dimpling the lower quadrant of the magazine body inwards, placing

     rivets in the magazine body, or thickening the walls of polymer bodied magazines to reduce

     capacity.




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            105. Following the expiration of the Federal Assault Weapons Ban, numerous states and

     localities enacted their own legislation, which also contained magazine capacity limitations. As a

     result, many manufacturers of popular semi-automatic handguns and rifles during the Federal




32
  Image Source: https://www.brownells.com/magazines/handgun-magazines/magazines/magazine-10-round-browning-
high-power
                                                    35
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     Assault Weapons Ban continued to offer “state compliant” versions to customers in states so

     affected. Manufacturers such as Glock, Sig Sauer (SIG), FN USA, Beretta, and Smith & Wesson,

     among numerous others, offer handguns and rifles compliant with individual state regulations.

     Most major firearm manufacturers offer models that come “standard” with 10-round magazines.

             106. Shown here is a page from the online catalog of FN USA (the U.S. based subsidiary

     of Belgian arms manufacturer Fabrique Nationale) showing the “California Compliant” version of

     their “Five-seveN” pistol.




                                                                                                     33



             107. This is a page from Smith & Wesson’s online catalog showing their AR-15 type rifle

     which is marketed as a “compliant” model and is sold with a 10-round capacity magazine:



33
     Image Source: https://fnamerica.com/catalog-and-wallpapers/
                                                           36
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                                    3691




     34



             108. And a “California Compliant” Glock Model 19 9mm pistol available from

     Sportsman’s Warehouse:




     35




34
     Image Source: https://www.smith-wesson.com/product/m-p-15-sport-ii-compliant
35
  Image Source: https://www.sportsmans.com/shooting-gear-gun-supplies/handguns/glock-19-9mm-luger-402in-black-
nitrite-pistol-101-rounds-california-compliant/p/1155366
                                                         37
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             109. Additionally, there are numerous well respected aftermarket manufacturers who

     offer 10-round magazines specifically for use in handguns that come with LCMs. Mec-Gar and

     ProMag are two of many:




                                                                                                         36




                                                                                                              37




36
     Image Source: https://mec-gar.com/shop/magazines/sig-sauer/sig-sauer-p229-1-9mm-10-round/
37
     Image Source: https://promagindustries.com/fits-the-glock-model-17-19-26-9mm-10-rd-black-polymer/
                                                         38
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           110. In my opinion, the ability to fire an increased quantity of cartridges without

  reloading increases the lethality and effectiveness of small arms in combat or the military would

  not have incorporated this feature. Less time required to reload can equate to more time spent

  acquiring targets or shooting. As stated previously form follows function in regard to equipment

  designed and intended for military use.

    III.    Features of Assault Rifles/Assault Weapons Under the Statute.

           111. Based on my experience and my training and research regarding the conception,

  design, history, and purpose of assault weapons, the assault weapons as described in the Statute

  are ill-suited for civilian self-defense.

           112. Many of the assault weapons available for purchase by the public and prohibited by

  the Statute, are near identical copies of military firearms, save for the lack of select fire capability.

  As such, they retain a number of features originally designed to maximize their effectiveness in

  battle. Other firearms available to the public and prohibited by the Statute, which were not

  initially intended for sale to government or military customers, incorporate features which mimic

  those found on military firearms. Moreover, there are countless accessories available to add to

  firearms traditionally considered “sporting firearms” (i.e. those initially designed and

  manufactured for target shooting or hunting), which brings their functionality more towards the

  military side of the spectrum and away from the sporting side.

                A. Prohibited Firearms And Features Under the Statute.

                     i. Prohibited Firearms

           113. The Statute, enumerates 36 specific types of weapons that are considered “assault

  firearms,” including AR-15 style and AK type rifles. N.J. Stat. Ann. § 2C:39-1(w)(1).

           114. The types of firearms classified as assault firearms under the Statute, including AR

  and AK type rifles, are direct developmental descendants of Military weapons designed for use in
                                                 39
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  combat. The ‘civilian’ AR-15 type rifles in .223 / 5.56mm retain the same performance

  characteristics (in terms of muzzle velocity, range, etc.) as does the military M-16 and its variants

  (M-16A2, M-4 etc.). For example, according to the US Army Manual 3-22.9 “Rifle

  Marksmanship M-16A1, M-16A2/3, M-16A4, and M4 Carbine, April 2003,” the maximum range

  of these rifles is 2650-3000 meters. They were not designed, nor are they suitable, for home

  defense in short range close quarter situations.




         115. The Statute also bans certain weapons based on magazine capacity. I discuss

  magazine capacity below.

         116. Finally, the Statute restricts shotguns with revolving cylinders. Such shotguns are

  known as “street sweeper” shotguns, and are of a design that has not been accepted or adopted for

  military or law enforcement use by any nation or agency that I am aware of. In terms of legitimate

  sporting use for either hunting or target shooting or self-defense, I cannot conceive of it having
                                                   40
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  any utility. Shotguns of this type have been classified as a “Destructive Device” by ATF and are

  subject to additional restrictions under the National Firearms Act of 1935.

                   ii. Prohibited Features

         117. Included in the Statute’s definition of “Assault firearm,” at N.J.S.A. 2C:39-1(w)(2)

  to (5), are a number of features which, when added to certain firearms, bring those firearms under

  the statutory definition of Assault weapons. The Statute, at under N.J.S.A. 2C:39-1(w)(2) states

  that a weapon is an assault firearm if it is “substantially identical” to any of the 36 types of

  weapons listed in N.J. Stat. Ann. § 2C:39-1(w)(1).

         118. In 1996, the New Jersey Attorney General issued Guidelines “to provide guidance to

  the prosecutors” about when a semi-automatic firearm should be considered to be “substantially

  identical” to a named assault weapon in N.J.S.A. 2C:39-1(w)(1).

  https://www.state.nj.us/lps/dcj/agguide/assltf.htm

         119. The Guidelines mirror the definition of “semiautomatic assault weapons” in the

  1994 federal “Public Safety and Recreational Firearms Act” which was part of a larger

  omnibus crime reduction act. Commonly known as the Federal “Assault Weapons Ban”

  (AWB) the act banned the possession, transfer or importation of “semiautomatic assault

  weapons.”

         120. Specifically, the Guidelines state that when two or more of certain listed features are

  present in a weapon, it should be considered “substantially identical” to an assault firearm under

  N.J.S.A. 2C:39-1(w)(1) and (2).

         121. As I explain below, each of the features listed in the Statute and Guidelines, whether

  incorporated into the firearm by the manufacturer as standard equipment or subsequently added

  by the owner as an accessory, can generally be considered capable of increasing the firearm’s

  effectiveness in a combat scenario.

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         122. A pistol grip or thumbhole stock (for rifles and shotguns). A semiautomatic rifle

  or shotgun that includes a pistol grip (or does not include a shoulder stock) somewhat increases

  the ability of the operator to conceal the rifle or shotgun and to maneuver the firearm in confined

  space such as a vehicle. The pistol grip also facilitates easier firing from positions other than the

  shoulder (firing from the hip or a point position directly in front of the operator).

         123. Forward handgrip (rifles, shotguns, pistols). Forward handgrips allow increased

  stability of the firearm by the operator. This allows the operator to better control recoil and

  muzzle climb thus increasing the hit probability of successive shots. A protruding foregrip is not a

  feature found on traditional sporting firearms. It appeared on some versions of AK based rifles;

  however, it was not until the advent of the Rail Attachment Systems (RAS) and acceptance by the

  US Military of same that foregrips for semi-automatic rifles became more widespread. A foregrip

  on a pistol is considered “any other weapon” under the National Firearms Act and subject to more

  restrictive controls to include registration in a national database.

         124. Folding/telescoping stocks (rifles and shotguns). Folding and / or telescoping stocks

  allow the operator to more easily conceal or maneuver the rifle in a confined space such as a

  vehicle. They also facilitate easier or more comfortable firing from positions other than the

  shoulder. U.S. Military origins for this type of stock can be found on the M1 carbine in World

  War II when modified for paratrooper use.

         125. Flash suppressors. A flash suppressor reduces the muzzle flash, allowing the

  operator to more easily maintain vision in low light conditions and also helps to conceal the flash

  from view. This allows the operator to more easily acquire additional targets in a shorter period

  of time without having to wait for their vision to adjust to a brighter muzzle flash as well as helps

  conceal the shooter’s position.



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           126. Grenade launchers. Without question a grenade launcher has neither a sporting

  lineage nor a practical application on a civilian firearm. Obviously a grenade is an offensive

  military weapon which could result in mass casualties if deployed during a civilian event or public

  space.

           127. Barrel shroud. Military semi-automatic and select fire rifles have featured a shroud

  or hand guard that encircles the barrel since before the onset of World War II. The M1 “Garand”

  Rifle utilized by the US Military during that conflict incorporated a traditional wooden stock

  similar to most hunting and sporting rifles of the period. However, it also featured a wooden

  handguard which covered the top 2/3rds of the barrel. Therefore this design feature is not a recent

  development. Enclosing the barrel in a shroud serves multiple purposes. In a modern gas operated

  semi-automatic military rifle, it serves to protect the gas tube / piston mechanism from inadvertent

  damage. It also provides additional grip space for the operator to steady and control the rifle

  during rapid, repeat firing without getting burned by the hot barrel.

           128. Threaded barrel. A threaded barrel allows for attachment of a suppressor

  (commonly referred to as a silencer) which allows the operator to better conceal themselves from

  their target by reducing the report of their firearm. It also allows the attachment of some flash

  suppressors with the resultant effect mentioned previously.

           129. Buffer tube, arm brace, or the like. Attachment of a brace, when affixed to a rifle

  caliber pistol effectively mimics the characteristics of a short-barreled rifle (a type of weapon

  restricted under the National Firearms Act) as it can allow the operator to fire it from the shoulder

  increasing stability while maintaining concealability.

           130. “Bump stocks.” A bump stock is a device which replaces the shoulder stock on a

  firearm and utilizes the recoil generated by firing to rapidly ‘bump’ the trigger against the

  operators finger. The resultant effect is a dramatic increase in the cyclic rate (number of rounds

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  fired per minute) above that which would be normally be achieved by the unmodified firearm. For

  example, a semi-automatic AR type rifle equipped with a bump stock can fire between 600-700

  rounds per minute, a cyclic rate which is roughly equivalent to that of a full-automatic M-16.

                 B. Prohibited “Large Capacity Magazines” Under The Statute.

            131. The Statute further defines an “assault firearm” as “[a] semi-automatic rifle with a

  fixed magazine capacity exceeding 10 rounds.” N.J. Stat. Ann. § 2C:39-1(w)(4). And the Statute

  separately prohibits possession of large-capacity magazines, which are ammunition magazines

  capable of holding more than 10 rounds of ammunition. Id. § 2C: 39-1(y).

            132. Generally speaking, modern semi-automatic rifles that are designed, manufactured

  and marketed as “hunting rifles” traditionally have an internal magazine capacity of less than 10

  rounds depending on caliber. For example, the Browning BAR in .30-06 caliber as currently

  manufactured has an internal magazine capacity of four (4) rounds. The Remington Model 1100, a

  semi-automatic shotgun, has an internal magazine capacity of 5 rounds.

            133. Semi-automatic pistols from numerous manufacturers are sold with magazines that

  would be permitted under the Statute. For example, 9mm caliber pistols are available with

  standard magazines with a capacity of 15, 10, or as few as 7 rounds.

  https://www.sportsmans.com/shooting-gear-gun-supplies/handguns/handguns/c/cat-9mm-luger-

  pistols

            134. Detachable magazines are available with varying capacities from 5-100 rounds.

  Generally speaking any firearm designed for a detachable magazine with a capacity exceeding 10

  rounds will function as designed with a magazine with a smaller maximum capacity.




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       IV.     Rifle Caliber Assault Firearms and Self / Home Defense.

             135. At numerous points throughout their complaint the Plaintiffs allege that self-defense

     is one of the primary reasons for the purchase of a firearm regulated by the Statute. It is my

     opinion that an AR, AK, or other banned assault weapon is a poor choice for this task.

             136. I have been asked on numerous occasions over the past 35 years what firearm I

     would recommend for home or self-defense. My recommendation is based upon my inquiry in

     return regarding the individual’s (and their family members’) personal experience and comfort

     level with firearms. In over 25-plus years, I have never recommended an AR, AK or other rifle as

     a home defense weapon.

             137. Home defense and / or self-defense situations are rarely, if ever, lengthy shootouts at

     long ranges with extensive exchanges of gunfire. Assault firearms banned under the Statute were

     designed to be effective at battlefield ranges of up to 500 yards. The typical muzzle velocity of a

     .223 caliber bullet is 3,200 feet per second (+ or -). Projectiles travelling at velocities found in

     banned weapons pose a serious risk of over-penetration in most home construction materials such

     as gypsum board / sheet rock, and typical 2x4 lumber. When this cartridge was designed for the

     AR-16 / M-16, it was intended to kill or incapacitate enemy combatants at distances of hundreds

     of yards not dozens of feet.

             138. In August 2014 the National Rifle Association’s “American Rifleman” published an

     article by Stanton Wormley: “The AR-15 for Home Defense: Penetration Tests.”38 Wormley

     conducted penetration tests on nine different types of .223 / 5.56mm ammunition by firing them

     through simulated wall sections constructed of gypsum board / sheet rock and wooden 2x4 studs.

     When fired at a 90-degree angle to the walls all nine (including “frangible” rounds designed to




38
     https://www.americanrifleman.org/content/the-ar-15-for-home-defense-penetration-tests/
                                                           45
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     disintegrate when hitting a hard surface) easily penetrated the wall section as well as water jugs

     placed three feet behind:

                    But just how much energy did the penetrating projectiles carry? All
                    the loads, including the Glaser, exploded one-gallon water jugs
                    placed 3 feet behind the wall sections.39

            139. The tests conducted by Wormley also included firing longitudinally through the wall

     sections resulting in the penetration of three successive 2” thick 2x4 studs by a number of the

     projectiles. These tests vividly highlight the inherent dangers of utilizing assault weapons with

     high velocity ammunition in a home defense scenario.

            140. In reference to the NRA American Rifleman article mentioned earlier in this report,

     current U.S. Army issue .223 caliber ammunition is capable of penetrating 3/8” hardened steel at

     350 yards. Potential over-penetration in a confined environment is problematic in terms of risk to

     bystanders or family members outside the target location. Most jacketed commercially available

     .223 / 5.56mm ammunition has impressive penetration capabilities in this regard. Additionally,

     the (former) NATO issue M855 SS109 5.56mm is readily available for purchase by civilians. This

     ammunition was designed to penetrate up to 3mm of “soft,” (non-hardened) steel. This capability

     is certainly unnecessary and poses substantial risks to individuals in adjoining rooms, neighboring

     apartments or other attached dwelling units.

            141. In my opinion, assault firearms, as defined under the Statute, are a poor choice for

     home defense or personal protection. Many enumerated in the Statute require two hands to

     effectively aim and shoot. In a home defense situation, an individual may be required to use one

     hand to call 911 while attempting to operate a “two handed” firearm with one hand. Such a

     situation would also preclude the homeowner from utilizing their “non-gun hand” to pick up or

     guide a small child, elderly, or vulnerable adult during such an event. During a stressful situation


39
     Id.
                                                     46
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  such as a home invasion or break-in, there may be multiple steps required by the operator to bring

  the weapon from a “safe” condition to a firing condition. Manipulation of a charging handle,

  safety switch, or inserting a magazine may be difficult to accomplish under stress, particularly if

  the operator has not adequately trained or practiced with their firearm. Other family members may

  not be familiar with bringing the weapon to a firing condition or fail to complete adequate steps to

  do so under duress.

         142. Unloaded, an AR-platform rifle weighs approximately 6.5 to 7 pounds. It also

  requires two hands to aim and fire. In a home-defense scenario, a homeowner would likely be

  attempting to call 911 while addressing the intruder, which is difficult if not impossible while

  wielding their AR-15 effectively and safely. Additionally, it would hamper, if not prevent, leading

  a vulnerable adult away from danger or guiding/carrying a small child. By comparison, common

  handgun weights are between 2 and 3 pounds and require only one hand to operate.

         143. While employed as a Special Agent with ATF, the agency transitioned to an AR type

  rifle in the early 2000’s. Each Agent was required to attend, and successfully complete, a one

  week / 40 plus hour transition training class in order to familiarize themselves, and qualify, with

  the firearm. The training included repetitive live fire drills under stressful conditions.

  Additionally, we were required to requalify with these firearms quarterly and repeat the same

  drills as during the initial transition training. Nonetheless, I witnessed Agents make errors that

  resulted in a failure of the weapon to fire during those drills, even though those Agents had

  performed the drills repeatedly under stress. It is worth noting here that the M4 carbines issued to

  ATF Field Offices were select fire rifles (i.e. machineguns capable of full automatic fire) that

  were converted to semi-automatic fire only.

         144. Additionally, I am not of the opinion that an abundance of ammunition is a substitute

  for weapons familiarization and shot placement. Repeated practice and shooting with your chosen

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     firearm will make you a more effective deterrent than the capability to fire more rounds, should

     deadly force be required. The operation (or cycle of fire) of any firearm designed and

     manufactured to accept a detachable magazine will function regardless of the maximum capacity

     of the magazine itself.

             145. For example, firearms such as the Glock Model 17 semi-automatic pistol and AR-15

     type semi-automatic rifle will function as designed whether the operator utilizes a magazine

     limited to 10 rounds or one of greater capacity. Generally speaking, any firearm designed to

     accept a detachable magazine holding more than 10 rounds will also accept a magazine with a

     maximum capacity legal under the statute. This includes the vast majority of handguns and

     shoulder-fired firearms designed and manufactured to utilize detachable magazines. Magazine

     capacity is not a determinant of firearm operability.

             146. Home defense and / or street / commercial robbery situations between citizens and

     criminals are rarely lengthy protracted shootouts with extensive exchanges of gunfire. The

     National Rifle Association Institute for Legislative Action (NRA ILA) regularly publishes

     newsclips on their “Armed Citizen” webpage highlighting examples of defensive use of firearms

     by citizens.40

             147. Claude Werner, a firearm instructor and writer, conducted a detailed statistical

     analysis of 482 incidents provided by the NRA ILA on their website from 1997 to 2001. He

     determined, from the information provided, that the average number of shots fired by an armed

     citizen in a defensive scenario was 2.2.41




40
      https://www.nraila.org/gun-laws/armed-citizen/
41
      https://www.defensivecarry.com/attachments/tac-5-year-w-tables-pdf.107045
                                                          48
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         148. Lucy Allen conducted a similar statistical analysis of the “Armed Citizen” newsclips

  for the period January 2011 – May 2017. Her analysis revealed that the average number of shots

  fired in a self-defense scenario was identical to that determined by Werner: 2.2 shots.

         149. I am of the opinion that an overabundance of ammunition and a “spray and pray”

  mentality is a poor substitute for training and competent marksmanship with your chosen self-

  defense firearm. In fact accurate shot placement will prove a more effective deterrent than the

  number of rounds in your magazine should deadly force be required.

         150. If the individual preferred shoulder weapons, I have recommended, depending on

  what is legal in the appropriate jurisdiction, a pump action 12 or 20-gauge shotgun (Remington

  870, Mossberg 500 etc.) loaded with 00 Buckshot and stored with the “hammer dropped” on an

  empty chamber, safety off. The only action required to bring the shotgun from a safe unloaded

  condition to a firing condition is to work the pump action of the shotgun. The advantages of this

  type of firearm and storage condition are unmatched stopping power, low probability of over

  penetration (as compared to rifle caliber and velocity projectiles) and zero manipulation of safety

  mechanisms required in high stress situations. The loading / chambering process itself is an

  audible deterrent. Training and familiarization with this type of a firearm is simple and

  straightforward.

         151. For a handgun, my first inclination is to recommend an eight shot revolver in .38 +P

  caliber / .357 Magnum (Similar to S&W Model 627, Taurus Model 608, etc.) loaded with hollow

  point bullets, depending on what is legal in each jurisdiction. As with my rationale for

  recommending a pump action shotgun there are no complicated safety mechanisms to manipulate

  in a high stress situation, low probability of over penetration and ease of reloading with a speed

  loader should more than eight shots be required. Revolvers are also easier and less complicated

  for other family members to learn to operate especially if they have less familiarity with firearms.

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            152. In terms of a carry handgun, I value concealability over ammunition capacity. The

  advantage of concealed carry is protection without broadcasting the fact. In a street robbery

  scenario, I believe the best course of action is to quickly extricate yourself from the “kill zone”

  and not engage in a protracted gunfight. When I was employed as a Special Agent with ATF, we

  were issued a Sig Sauer P229 in .40 S&W caliber as a primary duty weapon. We were also given

  the choice of a Sig Sauer P239 in .40 S&W or a five shot Smith and Wesson Model 640 in .357

  Magnum as a backup firearm. When off duty, I carried the S&W 640 and a speed loader

  extensively as opposed to the P229. I found it easy to conceal and am of the opinion that ten (10)

  rounds was an adequate amount of ammunition to enable me, or myself and my wife, or child, to

  extricate myself from a street or retail location robbery should I encounter one. Consequently, I

  have most often recommended either a lightweight small revolver (S&W Bodyguard, Ruger LCR,

  Smith and Wesson Model 36, 640 or variant) carried with a speed loader or a low profile small

  semiautomatic pistol (Sig Sauer P236, Ruger LCP, Colt Pocketlite etc.) with a spare magazine.

            153. In my opinion, based upon my training, knowledge, experience and research, assault

  firearms were not designed for traditional hunting purposes. Pistol caliber firearms (.380, 9mm,

  .45) are not a popular hunting caliber. Neither was the .223/ 5.56 caliber cartridge developed for

  civilian hunting applications. Due to .223 caliber / 5.56 mm bullets proven record of causing

  considerable tissue damage (when fired from an AR type rifle or pistol) it is a counterintuitive

  choice.

   V.        Assault Weapons As A General Threat To Public Safety

            154. As mentioned previously in this report, many of the firearms prohibited by statute

  directly trace their origins to those developed for use in combat. As such they were never initially

  intended for general distribution / sale to the public.



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         155. As tragically demonstrated by recent mass shootings such as the Pulse Nightclub in

  Orlando Florida in 2016 (49 fatalities, 50+ wounded), the 2017 Las Vegas shooting (60 fatalities,

  400+ wounded), the 2022 Uvalde Texas School shooting (21 fatalities + 17 wounded) and the

  July 4th 2022 shooting in Highland Park (7 fatalities + 48 wounded), the assault weapons (in

  conjunction with high capacity magazines) as defined under the Statute are capable of inflicting

  significant carnage upon civilians in a short period of time.

         156. Rifle caliber Assault Firearms as regulated under the Statute pose a significant risk to

  Law Enforcement Officers. It has been my experience that soft body armor issued to most

  Uniformed Officers has a “Level II” or “Level IIIA” National Institute of Justice (NIJ) protection

  rating. These two ratings are suitable for protection against most handgun bullets as those

  projectiles range up to a 1200FPS (+ or -) velocity. Rifle caliber Assault Weapons (AR & AK

  type) can, as stated previously in this report, achieve muzzle velocities of 3200FPS (+ or -) which

  can readily penetrate Level II & IIIA Body Armor (as well as some Level III hard body armor

  which is not universal standard issue amongst Law Enforcement Agencies nationwide). Not only

  do the firearms subject to the Statute pose a threat to overall public safety they increase the

  likelihood that first responders charged with stopping such a threat, or attending to wounded

  citizens, may be injured or killed in the performance of their duty.

         157. This online video illustrates the capability of commonly available .223 / 5.56mm

  caliber ammunition to penetrate Level III body armor. The author / narrator states that this test

  was performed at a distance of “about seven yards.”

  https://www.youtube.com/watch?v=oMYkEMhPsO8

         158. The argument that commercially available AR type rifles are somehow less

  dangerous or lethal simply because they fire only in semi-automatic mode is misleading. They

  retain the identical performance capabilities and characteristics (save full-automatic capability) as

                                                   51
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                  Exhibit A
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  _____________________________________________________________________________________________

  SUMMARY:

  Self employed as a Legal and Public Policy Consultant providing Technical Firearms and Forensic
  Consulting, Testing and Policy Research / Training Services to Corporations, Legal Counsel and the
  Public Sector

  EDUCATION:

  B.A., Political Science and Psychology, St. John Fisher University, Rochester, New York – May 1985

  PROFESSIONAL EXPERIENCE:

  December 2012 to Present: Independent Legal and Policy Consultant / Subject Matter Expert

  Currently provide independent consulting services to Corporations, Legal Counsel and Governmental
  entities in regard to Public Policy and Technical matters relating to Firearms, Firearms Policy, Forensics
  and Law Enforcement. Current and former clients include the Office of the District Attorney for Cook
  County Illinois, The City of Sunnyvale, California, The City of Highland Park, Illinois, The Office of the
  Attorney General for the Commonwealth of Massachusetts and the Center for American Progress,
  Washington D.C. I have provided sound policy and technical assistance for my clients to include expert
  testimony which successfully endured the opposition’s legal appeals to the U.S. Circuit Court of Appeals
  and the U.S. Supreme Court.

  December 2003 to December 2012: Senior Special Agent / Program Manager for Forensic Services
  ATF National Laboratory Center (NLC), Beltsville, Maryland. U. S Department of Justice, Bureau of
  Alcohol, Tobacco, Firearms and Explosives (ATF)

  Directed the administration and management of ATF’s Forensic Training Programs to include the
  National Firearms Examiner Academy (NFEA) a 12-month training program for State and Local Forensic
  Firearm Examiner Trainees. Also managed two additional forensic training programs. Administered a
  $1M + budget in accordance with strict ATF and National Institute of Justice (NIJ) guidelines and
  reporting requirements. Responsible for oversight of all Forensic Firearms related research at the NLC.
  Supervised a full and part time cadre of fifty-two (52) instructors and administrative personnel.
  Maintained liaison with commercial firearms and ammunition manufacturers and subject matter experts
  and ensure that lesson plans and curriculum reflected the latest technical developments in firearms
  manufacture, forensics and their application to federal and state law. Applied for, received and managed
  in excess of $2M in external grants to facilitate uninterrupted delivery of training during internal budget
  shortfalls. Detailed to the Department of Homeland Security Command Center in 2005 with overall
  responsibility to coordinate and direct Federal, State and Local Law Enforcement assets during and
  following Hurricanes “Irene” and “Katrina” and again in 2010 for “Andrew” and “Danielle”.

  June 1997 - December 2003: Special Agent / Violent Crime Coordinator, ATF Baltimore Field Division,
  Baltimore, Maryland
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  Responsible for management of ATF’s “Project Disarm”, a joint law enforcement initiative between ATF,
  The United States Attorney’s office for the District of Maryland (USAO), the Baltimore City Police
  Department, the Baltimore City States Attorney’s Office and the Maryland State Police. Duties included
  reviewing over 400 state and local firearms related arrests annually for subsequent referral to the USAO
  and Federal Prosecution. Managed a caseload of 75 – 100 criminal cases annually. Responsible for
  selection, referral, follow - up investigation and subsequent indictment and prosecution of armed career
  criminals. Testified in front of Federal Grand Juries in excess of 75 times annually. Was recognized, and
  testified, as an expert witness in the Identification, Operability and origin of Firearms and Ammunition in
  three Federal Judicial Districts. Toured over 25 firearms and ammunition manufacturing facilities in
  Europe and the United States. Temporarily assigned in 2001 for three months to the 9-11 Task Force
  investigation in conjunction with FBI Assets. Temporarily assigned to the D.C. Sniper Task Force
  Intelligence Group in 2002 for two months.

  June 1990 – June 1997:
  Special Agent, ATF Baltimore Field Division, Baltimore, Maryland

  Served in various capacities as a street-level Special Agent. Acted as Group Supervisor and Assistant
  Special Agent in Charge on numerous occasions. Served on the Washington – Baltimore High Intensity
  Drug Trafficking Area (HIDTA) task force from 1995 – 1999. Investigated armed narcotics trafficking
  organizations, seized assets, authored and executed Federal and state search and arrest warrants,
  conducted surveillance, interviews / interrogations, testified in Federal and state courts as a fact witness,
  purchased firearms, explosives and narcotics while in an undercover capacity, investigated fatal bombings
  and arsons, firearms trafficking, alcohol and tobacco trafficking, homicide, fraud and gun store burglaries.
  Also while detailed for 8 months as the Public Information Officer authored press releases, provided
  interviews to local and national print and television media outlets and made presentations to local and
  national public and special interest groups and associations.

  April 1989 – June 1990 and July 1986 – March 1987: Special Agent, United States Department of State,
  Diplomatic Security Service (DSS), Washington Field Office, Rossyln, VA

  Conducted investigations of violations of Federal Law under the department’s purview to include
  Passport and Visa Fraud, Illegal trafficking of restricted firearms and war materials to prohibited
  countries, human trafficking, seized assets, authored and executed State, local and Federal Arrest and
  Search Warrants, testified in Federal Court as a fact witness, detailed on an as needed basis to the
  Dignitary Protection Division as Agent in Charge of multiple protective details for visiting and resident
  foreign dignitaries, temporarily assigned to support Physical and Personal Protective Security in various
  U.S. Embassies overseas on an as needed basis, detailed to the Secretary of State Protective Division on
  an as needed basis to supervise agents assigned to augment the permanent protective detail.

  March 1987-February 1989: Special Agent, DSS, Secretary of State Protective Division, Washington, DC

  Served in various capacities as Acting Agent in Charge, Acting Shift Leader, Lead Advance Agent and
  Shift Agent. Responsibilities included close personal protection of the Secretary of State both
  domestically and overseas, extensive foreign travel to facilitate and prepare security arrangements for
  overseas visits to include Presidential Summit meetings, liaison with foreign host government officials to
  plan and solicit assistance with security arrangements, supervision of agents temporarily assigned to
  augment the detail, liaison with U.S Government Intelligence Agencies and other Federal, State and Local
  Law Enforcement Agencies to identify and protect against potential threats to the Secretary of State.

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  CLEARANCES: Top Secret March 1986 valid through February 2015. Numerous prior SCI Clearances.

  TEACHING EXPERIENCE:

     -   Instructed at the Federal Law Enforcement Training Center (FLETC), for ATF and other Federal
         Law Enforcement Agencies
     -   Instructed at the International Law Enforcement Academy (ILEA) in Budapest, Hungary
     -   Instructed for numerous State, local and / or regional law enforcement agencies both in the United
         States, Canada and Central America

  LINKEDIN PROFILE AND ENDORSEMENTS:

  https://www.linkedin.com/in/james-jim-yurgealitis-68618464?trk=nav_responsive_tab_profile_pic

  REFERENCES:

  Available upon request




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                  Exhibit B
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                       Professional Qualifications of James E. Yurgealitis
                   Independent Legal, Public Policy and Forensic Consultant

  I, James E. Yurgealitis, being duly sworn, depose and state:

  1.) That I was previously employed as a Senior Special Agent / Program Manager with
      the Bureau of Alcohol, Tobacco Firearms & Explosives, (ATF) United States
      Department of Justice, and had been so employed since 1990. Prior to 1990 I was
      employed as a Special Agent with the Bureau of Diplomatic Security, (DSS) United
      States Department of State and had been so employed since 1986.

  2.) I have a Bachelor of Arts Degree in Political Science and Psychology from St. John
      Fisher College, Rochester, New York.

  3.) I am a graduate of the Federal Law Enforcement Training Center, Glynco, Georgia,
      the Criminal Investigator Training Program, Bureau of Diplomatic Security New
      Agent Training, and the Bureau of ATF New Agent Training Program.

  4.) I have completed the Firearms Interstate Nexus Training Program conducted by the
      Firearms Technology Branch, ATF Headquarters, Washington, D.C.

  5.) I have completed both Advanced Interstate and European Nexus Training conducted
      by ATF in conjunction with several domestic and European firearm manufacturers.

  6.) I have testified in excess of 200 times before Federal Grand Juries regarding the
      classification, operability, and commerce of firearms and / or ammunition.

  7.) I have previously qualified as an expert witness regarding the origin, operability /
      classification and interstate movement of firearms and ammunition in U.S. District
      Court for the District of Maryland, U.S. District Court for the District of Delaware
      and the Circuit Court For Baltimore City, Maryland.

  8.) I have conducted regular training for local, state and federal law enforcement
      agencies both domestically and overseas regarding firearms classification,
      operability and firearms statutes.

  9.) I maintain a personal library of books, printed material and documents that relate to
      the field of firearms, ammunition, and firearms classification, attend local and
      national trade shows and professional association meetings, and regularly review
      periodicals relating to firearms and ammunition.

  10.) I attend trade shows, maintain contact with, and regularly consult with other
       persons, to include published authors and recognized experts in the origin,
       identification and classification of firearms and ammunition.

  11.) I have, during my tenure with ATF, personally examined in excess of five thousand
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  Qualifications Of James E. Yurgealitis contd.

  firearms to determine their origin and classification and operability, and to facilitate
  the tracing of those firearms.

  I have toured production facilities for numerous firearms and ammunition manufacturers. The
  tours were conducted by corporate historians, corporate officers, or production engineering
  personnel.

  Domestic Firearm Manufacturers:
  Bushmaster Firearms, Ilion, NY, USA
  Colt, New Haven CT, USA (4x)
  H&R 1871 Inc., Chicopee, MA, USA (2x)
  Marlin, North Haven CT, USA (4x)
  O.F. Mossberg & Sons, North Haven, CT, USA (4x)
  Remington Firearms, Ilion, NY, USA
  Savage Arms Inc., Westfield, MA, USA (4x)
  Sig-Sauer / SIGARMS Inc., Exeter, NH, USA (3x)
  Smith and Wesson, Springfield, MA, USA (4x)
  Sturm Ruger, Newport, NH, USA (4x)
  Yankee Hill Machining, Florence, MA, USA

  Foreign Firearm Manufacturers:
  Carl Walther GmbH, Ulm, Germany
  Ceska Zbrojovka (CZ), Uhersky Brod, Czech Republic
  Fegarmy (FEG), Budapest, Hungary
  F.N Herstal S.A., Herstal, Belgium
  Glock GmbH, Deutsch-Wagram, Austria
  Heckler & Koch GmbH, Oberndorf au Neckar, Germany
  J.P. Sauer & Sohn GmbH, Eckernforde, Germany

  Domestic Ammunition Manufacturers:
  Fiocchi Ammunition, Ozark, MO, USA
  PMC, Boulder City, NV, USA
  Remington, Lonoke, AR, USA (4x)
  Sierra, Sedalia, MO, USA
  Starline Brass, Sedalia, MO, USA

  European Proof Houses
  Beschussamt Ulm, (Ulm Proofhouse) Ulm, Germany
  Beschusstelle Eckernforde, (Eckernforde Proofhouse) Eckernforde, Germany
  Czech Republic Proofhouse, Uhersky Brod, Czech Republic
  Liege Proofhouse, Liege, Belgium


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  Qualifications Of James E. Yurgealitis contd.

  I have been allowed regular access to the following reference collections:
  Bureau of Alcohol, Tobacco Firearms and Explosives Reference Collection, Martinsburg, West
  Virginia, USA consisting of 5,000+ firearms

  Liege Proofhouse, Liege, Belgium consisting of 1,000+ ammunition cartridges

  Springfield Armory National Historic Site Firearms Collection, Springfield, MA, USA
  consisting of 10,000+ Firearms

  Smithsonian Institution (Museum of American History) Firearms Reference Collection
  Washington, DC, USA, consisting of 4000+ firearms

  Wertechnische Studiensammlung des BWB, (Federal Defense Procurement Bureau Museum)
  Koblenz, Germany consisting of 10,000+ Firearms

  I have toured the following museums:
  Heeresgeschichtliches Museum, (Museum of Military History), Vienna, Austria
  Hungarian Military Museum, Budapest, Hungary
  Springfield Armory National Historic Site, Springfield, MA, USA
  United States Air Force Museum, Dayton, OH, USA
  United States Army Ordnance Museum, Aberdeen Proving Ground, Aberdeen, MD, USA
  United States Military Academy Museum, West Point, NY, USA
  United States Naval Academy Museum, Annapolis, MD, USA
  Wertechnische Studiensammlung des BWB, (Federal Defense Procurement Bureau Museum)
  Koblenz, Germany

  Membership in Professional Organizations:

  Member, International Ammunition Association (IAA)
  Technical Advisor (pending approval), Association of Firearm and Toolmark Examiners (AFTE)
  Member, Federal Law Enforcement Officers Association (FLEOA)




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